Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 1 of 685 PageID #:54
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                                                                                                                                            HOME

                                                                                                                                            HOME DECOR
                                                                                                                                                                                           0
                                                                                                                                            CAR CHARMS                                               CAD
                                                                                                                                            JEWELRY                                                  CAD

                                                                                                                                            BLOGS

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                       Whimsical Butterfly Sun Catcher / Car Charm                                                                                                                       Share




                 Sun Catcher



               WHIMSICAL BUTTERFLY SUN CATCHER / CAR CHARM
               $38.00 CAD

               Color: PINK

                Pink

               Quantity

                                                                                                              1



                                                                                                     ADD TO CART




                                                                                                   Deal of the Day ends in


                                                                                                  00 :         8 : 4

                                                                                               Secure and trusted checkout with


                                                                                       
               Description:

               Pretty acrylic butterfly, embellished with a delicate 18k gold plated chain, one small AB clover crystal bead, and finished with two octagon crystal beads. The other style has some extra
               chain and two extra small teardrop faceted crystals.

               This sun catcher decor could be hung in your car, to the headboard of a bed, next to a window in your home or office to enjoy amazing little rainbows dancing around the room, when the
               sunlight shines directly on it.

               For indoor use only.

               Dimension

               Height 11-12 inches

                  Share




                                                                                       YOU MAY ALSO LIKE




               T CAT HEAD                                                               AMETHYST UNICORN                              MUSHROOM SUN
               CHER - FOR                UMBRELLA SUN CATCHER
                                                                                          SUN CATCHER                                    CATCHER
               W OR CAR                             $70.00 CAD
                                                                                               $60.00 CAD                                  $80.00 CAD
               00 CAD
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 2 of 685 PageID #:55


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                                                                                                                                            HOME

                                                                                                                                            HOME DECOR
                                                                                                                                                                                           0
                                                                                                                                            CAR CHARMS                                               CAD
                                                                                                                                            JEWELRY                                                  CAD

                                                                                                                                            BLOGS

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                      Whimsical Butterfly Sun Catcher / Car Charm                                                                                                                        Share




                 Sun Catcher



               WHIMSICAL BUTTERFLY SUN CATCHER / CAR CHARM
               $38.00 CAD

               Color: TURQUOISE

                 Tur uoise



                                                                                                        SOLD OUT


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               Description:

               Pretty acrylic butterfly, embellished with a delicate 18k gold plated chain, one small AB clover crystal bead, and finished with two octagon crystal beads. The other style has some extra
               chain and two extra small teardrop faceted crystals.

               This sun catcher decor could be hung in your car, to the headboard of a bed, next to a window in your home or office to enjoy amazing little rainbows dancing around the room, when the
               sunlight shines directly on it.

               For indoor use only.

               Dimension

               Height 11-12 inches

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                                                                                       YOU MAY ALSO LIKE




               T CAT HEAD                                                               AMETHYST UNICORN                              MUSHROOM SUN
               CHER - FOR                  UMBRELLA SUN CATCHER
                                                                                          SUN CATCHER                                    CATCHER
               W OR CAR                             $70.00 CAD
                                                                                               $60.00 CAD                                  $80.00 CAD
               00 CAD
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 4 of 685 PageID #:57


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                                                                                                                                            HOME

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                                                                                                                                                                                           0
                                                                                                                                            CAR CHARMS                                               CAD
                                                                                                                                            JEWELRY                                                  CAD

                                                                                                                                            BLOGS

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                        Whimsical Butterfly Sun Catcher / Car Charm                                                                                                                      Share




                 Sun Catcher



               WHIMSICAL BUTTERFLY SUN CATCHER / CAR CHARM
               $38.00 CAD

               Color: BLUE

                 Blue



                                                                                                        SOLD OUT


                                                                                                   Deal of the Day ends in


                                                                                                  00 :             : 1

                                                                                               Secure and trusted checkout with


                                                                                       
               Description:

               Pretty acrylic butterfly, embellished with a delicate 18k gold plated chain, one small AB clover crystal bead, and finished with two octagon crystal beads. The other style has some extra
               chain and two extra small teardrop faceted crystals.

               This sun catcher decor could be hung in your car, to the headboard of a bed, next to a window in your home or office to enjoy amazing little rainbows dancing around the room, when the
               sunlight shines directly on it.

               For indoor use only.

               Dimension

               Height 11-12 inches

                  Share




                                                                                       YOU MAY ALSO LIKE




               T CAT HEAD                                                               AMETHYST UNICORN                              MUSHROOM SUN
               CHER - FOR                  UMBRELLA SUN CATCHER
                                                                                          SUN CATCHER                                    CATCHER
               W OR CAR                             $70.00 CAD
                                                                                               $60.00 CAD                                  $80.00 CAD
               00 CAD
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 6 of 685 PageID #:59


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                         Account
                         hahavsgood@gmail.com


                         Ship to
                         jeff howard, 1 N LA SALLE ST, CHICAGO IL 60602-3902, US, 5885655231


                         Shipping method

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                         Payment
                         All transactions are secure and encrypted.


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                             4041 1789 5899 9192


                             Expiration date (MM / YY)
                             12 / 28


                             Security code
                             591


                             Name on card
                             jeff howard

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                                   PayPal



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                                   Save my information for a faster checkout


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2024/9/30 17:30
                                   Case: 1:24-cv-11674Seasonal
                                                         Document                #: 6-5 Filed: 11/19/24 Page 8 of 685 PageID #:61
                                                               Sales, Car Decorative Pendant Dream Acrylic Flat Pendant for Home Decorations Akmoler Purple - Walmart.com




           Clearance

            Akomler
            Seasonal Sales, Car Decorative Pendant Dream Acrylic Flat Pendant for Home Decorations Akmoler Purple
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             Free 30-day returns



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            Price when purchased online 



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                                                    Shipping                                                                 Pickup                                                              Delivery
                                                  Arrives Oct 18                                                       Not available                                                            Not available
                                                       $2.99



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                    67 seller reviews
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           Clearance                                                                                                                                                                          Clearance



                                                                                                                                                                                                                          




             Options                                                                           Add                                                                                             Options

                                                           +5 options

          Now $3.49 $4.59 +$3.99 shipping                                                     $8.92                                                                                          Now $3.39 $10.81 +$4.90 shipping
          More options from $2.99                                                                                                                                                            More options from $1.24
                                                                                              Purple Dream Catcher Dream Catchers for Bedroom Dream Catcher for Wall Hanging Decor Art
          TUTUnaumb 2022 Winter Handmade Lace Dream Catcher Feather Bead Hanging Decoration   Ornament Craft Gifts                                                                           Yubnlvae Hangs Color Acrylic Sunshade Ukrainian Colo
          Ornament Gift -White                                                                Shipping, arrives in 3+ days                                                                   Hanging Ornament, Christmas Decorations
          Shipping, arrives in 3+ days                                                                                                                                                        1
                                                                                                                                                                                             Shipping, arrives in 3+ days




         About this item



https://www.walmart.com/ip/Seasonal-Sales-Car-Decorative-Pendant-Dream-Acrylic-Flat-Pendant-for-Home-Decorations-Akmoler-Purple/6634059118?classType=REGULAR&athbdg=L1400&from=/search                                                              1/3
2024/9/30 17:30
                                 Case: 1:24-cv-11674Seasonal
                                                       Document                #: 6-5 Filed: 11/19/24 Page 9 of 685 PageID #:62
                                                             Sales, Car Decorative Pendant Dream Acrylic Flat Pendant for Home Decorations Akmoler Purple - Walmart.com



            Product details
                                                                                                                                                                                                                                                                                                            
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
            to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
            variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
            create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
            They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
            Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
            pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
            elegance and refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  Seasonal Sales, Car Decorative Pendant Dream Acrylic Flat Pendant for Home Decorations Akmoler Purple
                  💎 storage; storage and organization; storage bins; organization and storage; storage organizer; almacenamiento; atorage; organizer; kitchen storage; storage containers; storage organization; storage box; organizers and storage; closet organizers and storage;
                  home storage; organization storage; storage containers for organizing; stackable storage; plastic storage bins; clothes storage; storeage; containers for organizing; storage container; storage organizers; stroage; kitchen organizers and storage; storage
                  organizer bins; organizer storage; clothes storage bins; storage bins with lids; storage for clothes; large storage; organizers; stackable storage containers; storage bin; storage containers with lids; storage bins for clothes; bathroom organizers and storage;
                  organizer and storage; storage containers for clothes; bathroom storage organizer; home storage and organization; kitchen storage organizer; stackable storage bins; bathroom storage; closet storage; contenedores de almacenamiento; clothing storage;
                  foldable storage
                  💎 school supplies; supplies for school; school supply; school suplies; school; back to school supplies; school supplie; utiles escolares; materiales escolares; school supplies for teachers; material escolar; school supplies bulk; office supplies; bulk school supplies;
                  útiles escolares; teacher school supplies; college school supplies; school supplies clearance; school supplies college; clearance school supplies; high school supplies; for school; school supplies pack; school supplies for high school students; school supplies for
                  college students; teacher supplies; school supplies high school; cheap school supplies; supplies; bulk school supplies for teachers; supply; supplies for teachers; classroom supplies; school office supplies; escolar; escolares; school supplies college students;
                  school supplies for college; middle school supplies; teacher supply; school supplies cheap; teachers supplies; school supplies for kids; college essentials school supplies; college supplies for students; teacher supplies for classroom; office & school supplies; high
                  school essentials; office supply; office supplies clearance sale
                  💎 organizer; organizers; bathroom organizer; storage organizer; organizers and storage; storage; closet organizers and storage; organization and storage; storage and organization; organizador; orgainzer; organizadores; bathroom organizers and storage; desk
                  organizer; kitchen storage; makeup organizer; orginizers; cabinet organizer; bathroom storage; kitchen organizers and storage; oganizer; orginizer; orgnizer; bathroom organizers; storage organizers; drawer organizer; closet organizer; organizer bathroom;
                  bathroom storage organizer; desk organizers; organizers for bathroom; organizer for bathroom; kitchen organizer; cabinet organizers and storage
                  💎 flashlight; flaslight; flashlights for; glashlight; flashlights; flashlights high lumens; flash light; led flashlight; flashligh; rechargeable flashlights; flashligjt; flashlight high lumens; flashlights led; flashlight led; falshlight; tactical flashlight; flash lights; rechargeable
                  flashlight; super bright flashlight; high lumen flashlight; rechargable flashlight; flashlights high lumens rechargeable; led flashlights; handheld flashlights; rechargable flashlights; handheld flashlight; flaslights; flashlights'; powerful flashlight; flashlight
                  rechargeable; best flashlight; led flashlights high lumens; flashlight high lumen; led rechargeable flashlight; flahlight; flashlight tactical; rechargeable led flashlight; flashlights rechargeable; high powered flashlight; small powerful flashlight; tactical flashlights;
                  led flash light; flashlight rechargeable high lumen; rechargeable flashlights high lumens; bright flashlight; rechargable led flashlight; high lumens flashlight; bright led flashlight; torch flashlight; waterproof flashlight
                  💎 home decor; food scale; can opener; ground beef; kitchen; scissors; cutting boards for kitchen; meat thermometer; vegetable chopper; cheese grater; home; measuring cups; salad spinner; cutting board; kitchen utensils set; kitchen essentials; oven mitts;
                  kitchen gadgets; garlic press; hand mixer; meat thermometer digital; chicken shredder tool twist; lemon squeezer; knife; apartment essentials; kitchen scale; kitchen decor; mandoline slicer; kitchen knife set; kitchen scissors; veggie chopper; home essentials;
                  spatula; fridge organizer; strainer; camping accessories; watermelon cutter; kitchen storage; cooking utensils set; kitchen utensils; can opener manual; can opener electric; meat tenderizer; chopper vegetable cutter; house warming gifts new home; food
                  chopper; food scales for kitchen; bottle opener; silicone spatula; measuring cups and spoons set

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                                            
            Brand
            Akomler

            Assembled Product Weight
            50 g

            Manufacturer
            Akomler

            Manufacturer Part Number
            ZWFMWT240605003_Akmoler_240620


            More details




            Warranty
                                                                                                                                                                                                                                                                                                            
            Warranty information
            Feel free to reach out with any questions you might have. We are committed to ensuring your complete satisfaction and are here to help you at every step. Thank you for choosing to shop with us, and we hope you enjoy your experience!


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            'C t t ll ' f t           th thi d    t M k t l        ll ' i f       ti          d       t th it '           t t        i t       h

            More details



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          Now $4.49 $4.99 +$2.00 shipping                                                                                        Now $3.99 $4.99 +$3.00 shipping                                                                                       Now $4.44 $4.99 +$1.99 shipping
          HKEJIAOI Home Essentials Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                     LYUCRAZ Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                   Dream Pendant Car Decorative Pendant Acrylic Flat Pe
          Shipping, arrives in 3+ days                                                                                           Shipping, arrives in 3+ days                                                                                          Shipping, arrives in 3+ days




https://www.walmart.com/ip/Seasonal-Sales-Car-Decorative-Pendant-Dream-Acrylic-Flat-Pendant-for-Home-Decorations-Akmoler-Purple/6634059118?classType=REGULAR&athbdg=L1400&from=/search                                                                                                                             2/3
2024/9/30 17:30
                          Case: 1:24-cv-11674Seasonal
                                              Document                #: 6-5 Filed: 11/19/24 Page 10 of 685 PageID #:63
                                                      Sales, Car Decorative Pendant Dream Acrylic Flat Pendant for Home Decorations Akmoler Purple - Walmart.com




             Report:    Report seller    Report suspected stolen goods (to CA Attorney General)


         Home / Decor / Decorative Accents / Decorative Ornaments




https://www.walmart.com/ip/Seasonal-Sales-Car-Decorative-Pendant-Dream-Acrylic-Flat-Pendant-for-Home-Decorations-Akmoler-Purple/6634059118?classType=REGULAR&athbdg=L1400&from=/search   3/3
2024/9/30 17:31
                         Case: 1:24-cv-11674 Document #: 6-5 Filed:       11/19/24 Page 11 of 685 PageID #:64
                                                              Review your order - Walmart.com




                        Shipping, arrives by Thu, Oct 17


         steven howard                                                                                                              Edit                        Place order for $7.59
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                            By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                            Use

         Delivery instructions (optional)                                                                                           Edit
                                                                                                                                           Subtotal (1 item)                                                $4.37
         House
                                                                                                                                           Savings                                                       -$0.48

                                                                                                                                                                                                            $3.89
         Items details                                                                                                     Hide details

                                                                                                                                           Seller shipping                                                      $2.99
         Arrives by Thu, Oct 17                                                                                                   1 item

         Sold and shipped by Akmoler Pro Seller                                                                                            Estimated taxes                                                      $0.71
         $2.99 seller shipping fee

                           Seasonal Sales, Car Decorative Pendant Dream
                                                                                                                                                    Want to support the National Fish and Wildlife 
                           Acrylic Flat Pendant for Home Decorations…
                                                                                                                                                    Foundation’s Acres for America program with
                                                                                                                                                    a $0.41 donation?
                           $0.48 from savings                                                                                                       Spark Good Round Up is an easy way to help conserve
                                                                                                                                                    land for wildlife and increase public access to the great
                                                               $3.89
                                                                 $4.37                                                                              outdoors.

                                                                                                    Remove                   1      
                                                                                                                                             Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                             Foundation (NFWF)


                                                                                                                                                $1.00           $2.00         $5.00


                       Payment method
                                                                                                                                           Estimated total                                                 $7.59


                                                                                                                                           Have a promo code?
                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                                          $7.59

            + Add new payment                                                                                  Change payment




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         much more*
         *$35 order min. Restrictions apply.

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                  Send to (xxx) xxx-5923
                  Send to a different phone number

         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.



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2024/9/30 17:31
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:       11/19/24 Page 12 of 685 PageID #:65
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https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                            2/2
9/5/24, 12:59 PM
                                 Case:    1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 13 of 685 PageID #:66
                                    Butterfly Car Hanging Ornament, Hanging Charm Home Decoration Keepsake, Butterfly Car Accessories Pendant for Rear View Mirror Christmas Valentine's Day Car Gifts for Men Women - Walmart.com


                               Redefine your wardrobe                                                                                                                                                                 Sponsored 




            Ruziyoog
            Butterfly Car Hanging Ornament, Hanging Charm Home Decoration Keepsake, Butterfly Car Accessories Pendant for Rear View Mirror Christmas Valentine's Day Car Gifts for Men Women

             Free 30-day returns



          $2.79
            Price when purchased online 



                                                                            Buy now

                                                                           Add to cart


            Actual Color: Blue




                                 $2.79




            How do you want your item?



                                                         Shipping                                                                                 Pickup                                             Delivery
                                                    Arrives Sep 20                                                                           Not available                                          Not available
                                                         $2.99



            Delivery to 1 N La Salle St



                   Sold and shipped by Ruziyoog flash deals

                     6 seller reviews
                    View seller information

                    Free 30-day returns Details




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                                                        Sponsored

                                                        $10.29
                                                        Zone Tech Car Decorative Hanging Mirror Fuzzy Dice Pair Accessories, Black and White 3”

                                                         26

                                                        3+ day shipping




                                                                                     Add

                                                                                                                                                                                                                            
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                     +   3
                    View all




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                                                                                                        Sponsored

            $8.93                                                                                       $149.99                                              Now $19.98 $24.99



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9/5/24, 12:59 PM
                                 Case:    1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 14 of 685 PageID #:67
                                    Butterfly Car Hanging Ornament, Hanging Charm Home Decoration Keepsake, Butterfly Car Accessories Pendant for Rear View Mirror Christmas Valentine's Day Car Gifts for Men Women - Walmart.com


            Pluokvzr Car Hanging Charm Bling Car Rear View Mirror Hanging Ornament Retro               NAVISKAUTO 10.1" Portable DVD Player for Car Dual Screen with 2 Headrest                  Angel View Wide Angle Rearview Mirror, Fits Most Cars
            Imitation Pearl Cross Hanging Decoration Auto Interior Hanging                             Mount, Last Memory, AV Out&in, Support USB/SD/Sync TV                                      213
             4                                                                                     2
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          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Butterfly Car Hanging Ornament, Hanging Charm Home Decoration Keepsake, Butterfly Car Accessories Pendant for Rear View Mirror Christmas Valentine's Day Car Gifts for Men Women

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Blue

             Brand
             Ruziyoog

             Manufacturer Part Number
             FLASHDEALSOFTHEDAYOUTSIDEFURNITURE



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                   Learn more.




              Drive in comfort




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                                                 




              Options                                                                                                     Options                                                                                                     Add
                                                         +3 options                                                                                                   +3 options

           $4.04 +$2.99 shipping                                                                                       $7.19                                                                                                        $2.61 +$3.99 shipping
           Rokment Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant               Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor And                  QuLuJing Dream Pendant Car Decorative Pendant Acr
           Gift Pendant For Party Decoration The Butterfly Pendant Gift                                                Outdoor Decorative Accessories Garden Decoration Pendant                                                     Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days




https://www.walmart.com/ip/Butterfly-Car-Hanging-Ornament-Charm-Home-Decoration-Keepsake-Accessories-Pendant-Rear-View-Mirror-Christmas-Valentine-s-Day-Gifts-Men-Women/7282719489                                                                                                           2/3
9/5/24, 12:59 PM
                          Case:    1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 15 of 685 PageID #:68
                             Butterfly Car Hanging Ornament, Hanging Charm Home Decoration Keepsake, Butterfly Car Accessories Pendant for Rear View Mirror Christmas Valentine's Day Car Gifts for Men Women - Walmart.com




             Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


          Auto & Tires / Automotive Replacement Parts / Replacement Auto Parts




https://www.walmart.com/ip/Butterfly-Car-Hanging-Ornament-Charm-Home-Decoration-Keepsake-Accessories-Pendant-Rear-View-Mirror-Christmas-Valentine-s-Day-Gifts-Men-Women/7282719489                                            3/3
9/5/24, 12:59 PM
                         Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 16 of 685 PageID #:69
                                                              Review your order - Walmart.com




                        Shipping, arrives by Fri, Sep 20
                                                                                                                                                     Place order for $6.37

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $2.79

                                                                                                                                Seller shipping                                                               $2.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.59




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.63 donation?
          Arrives by Fri, Sep 20                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by Ruziyoog flash deals
                                                                                                                                         outdoors.
          $2.99 seller shipping fee

                            Butterfly Car Hanging Ornament, Hanging Charm
                            Home Decoration Keepsake, Butterfly Car…                                                              Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Actual Color: Blue

                                                               $2.79                                                                 $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                                Estimated total                                                          $6.37


                                                                                                                                Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.37

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 12:59 PM
                          Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 17 of 685 PageID #:70
                                                               Review your order - Walmart.com




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/24/24, 1:24 PM
                                 Case:   1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 18 of 685 PageID #:71
                                    Byikun Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Stylish Design Adds Elegance to Any Space, Versatile Accessories for Home or Office Decor, Thoughtful Gift Choice - Walmart.com


                               Built for tough drives                                                                                                                                                                    Sponsored 




           Clearance

            Byikun
            Byikun Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Stylish Design Adds Elegance to Any Space, Versatile Accessories for Home or Office Decor, Thoughtful Gift Choice

             Free 30-day returns



          Now $5.59 $6.99 
           You save $1.40
            Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


            Actual Color: Purple




                                 $5.59




            How do you want your item?



                                                         Shipping                                                                        Pickup                                                Delivery
                                                        Arrives Oct 4                                                                  Not available                                         Not available
                                                            $0.99



            Delivery to 3200 N Lake Shore Dr



                   Sold and shipped by Xecvkr

                     24 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                             Add to list                                                                                Add to registry


                                                        Sponsored

                                                        $8.99
                                                        Feng Shui Car Décor Handmade Natural Crystal Car Ornaments Home Decor Feng Shui Ornaments Yoga Meditation

                                                        3+ day shipping




                                                                                             Add



                                                                                                                                                                                                                               




                                                                                                                                                                                  




                     +    3
                    View all




            Best seller                                                                                                                                                                     Best seller



                                                                                                                                                                                                            




            Add                                                                                                     Add                                                                   Add


https://www.walmart.com/ip/Byikun-Dream-Pendant-Car-Decorative-Acrylic-Flat-Pendant-Stylish-Design-Adds-Elegance-Any-Space-Versatile-Accessories-Home-Office-Decor-Thoughtful-Gi/6421120442                                             1/3
9/24/24, 1:24 PM
                                Case:   1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 19 of 685 PageID #:72
                                   Byikun Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Stylish Design Adds Elegance to Any Space, Versatile Accessories for Home or Office Decor, Thoughtful Gift Choice - Walmart.com


           $4.47 $4.47/in                                                                                                  $8.93                                                                                                          Now $19.98 $24.99
           Bling Ring Auto Interior Jewelry Applies to Most Vehicle Interiors - 3 Pack                                     Pluokvzr Car Hanging Charm Bling Car Rear View Mirror Hanging Ornament Retro Imitation Pearl                   Angel View Wide Angle Rearview Mirror, Fits Most Car
            87                                                                                                        Cross Hanging Decoration Auto Interior Hanging                                                                  214

           Save with                                                                                                        4                                                                                                        Save with
                                                                                                                           Shipping, arrives in 3+ days
           Pickup today                                                                                                                                                                                                                   Shipping, arrives in 2 days
           Delivery today
           Shipping, arrives in 3+ days




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Byikun Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Stylish Design Adds Elegance to Any Space, Versatile Accessories for Home or Office Decor, Thoughtful Gift Choice



             Features:
             1. Instant : Our 10-pack ice-cold patch is specifically designed for the summer heat, providing an instant sensation to your skin. Whether you're outdoors, exercising, shopping, or working in a hot environment, these patches are effective in relieving discomfort
             caused by overheating. 2. Versatile use: These ice-cold patches can not be applied directly to your body for soothing relief, but can also be conveniently attached to your phone or other device to help dissipate heat and overheating damage. Wherever you go,
             enjoy a refreshing and cool experience! 3. Mitigation and protection: Experience the ultimate solution for reducing fever and heat dissipation. Our ice-cold patches offer benefits, providing therapeutic to your body while protecting your equipment from
             potential damage caused by overheating. Stay calm and keep your gadgets safe at the same time! 4. Long-lasting effects: our 10 ice patches will keep you energized and ice applied throughout the summer. Each cold patch is designed to provide hours of
             refreshing relief, ensuring you stay comfortably cool even on the hottest days. 5. Quality: assured that our ice patches are made of materials that adhere firmly to skin or any surface. These patches are designed with your comfort in mind and are easy to apply
             and without leaving any behind. Choose us to find the ideal solution for you. Product Description:
             Product Specifications:
             Material: The skin contact part is gel
             Color: Three themes to choose from
             size: 5*12cm/1.9*4.7in
             Package includes:
             One packet of ice cream (10 tablets inside)

                   ❤Stylish and sophisticated design: Our acrylic pendants boast elegant beauty and intricate designs, crafted from premium acrylic material to elevate any space with a touch of sophistication.
                   ❤Versatile accessories: From living rooms to offices, these pendants breathe life into any area with their diverse styles and colors, including floral, geometric, and abstract patterns, effortlessly infusing artistic flair into your surroundings.
                   ❤Thoughtful gift choices: Our acrylic pendant collection offers unique and thoughtful gifts for your loved ones, showcasing your care and distinctive taste, while they appreciate the beauty and craftsmanship of these pendants.
                   ❤Home enhancement: Whether decorating your space or setting a romantic ambiance, our acrylic pendants enrich your everyday life with stylish and artistic designs, transforming your living space into a haven of elegance and beauty.
                   ❤Quality craftsmanship: Each pendant is meticulously crafted to exude gorgeous textures and enduring quality, ensuring longevity and timeless appeal, making them a worthwhile investment for enhancing your home decor.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Assembled Product Weight
             0.11 lb

             Brand
             Byikun

             Manufacturer Part Number
             CUTECARACCESSORIESFORWOMEN


             More details




             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
                 WARNING: None



               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                                  Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                  Learn more.




              Timeless style for him




                                                                                                                                                                                                                                                                                 Sponsored 




                                                                                                                             Clearance




https://www.walmart.com/ip/Byikun-Dream-Pendant-Car-Decorative-Acrylic-Flat-Pendant-Stylish-Design-Adds-Elegance-Any-Space-Versatile-Accessories-Home-Office-Decor-Thoughtful-Gi/6421120442                                                                                                      2/3
9/24/24, 1:24 PM
                             Case:   1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 20 of 685 PageID #:73
                                Byikun Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Stylish Design Adds Elegance to Any Space, Versatile Accessories for Home or Office Decor, Thoughtful Gift Choice - Walmart.com



                                                                                                                                                                                                                                




             Options                                                                                         Options                                                                                       Add

           $5.59 +$1.99 shipping                                                                           Now $2.99 $3.99 +$3.99 shipping                                                                $5.26 +$1.99 shipping
           Xinduolei Colorful Butterflies Acrylic Decoration Pendant Funny 2D Decoration Pendant Pendant   tangyuanzzz Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant   Colorful Butterflies Acrylic Decoration Pendant Funny




              Report:      Report seller     Report suspected stolen goods (to CA Attorney General)


          Auto & Tires / Automotive Replacement Parts / Replacement Auto Parts




https://www.walmart.com/ip/Byikun-Dream-Pendant-Car-Decorative-Acrylic-Flat-Pendant-Stylish-Design-Adds-Elegance-Any-Space-Versatile-Accessories-Home-Office-Decor-Thoughtful-Gi/6421120442                                                                       3/3
9/24/24, 1:25 PM
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 21 of 685 PageID #:74
                                                             Review your order - Walmart.com




                                                                                                                                                       You're saving $1.40 today!
                       Shipping, arrives by Fri, Oct 4

                                                                                                                                                    Place order for $7.25
          Michael Boldt                                                                                                 Edit       By placing this order, you agree to our Privacy Policy and Terms of Use
          3200 N Lake Shore Dr, Apt 701, Chicago, IL 60657

                                                                                                                               Subtotal (1 item)                                                         $6.99
          Delivery instructions (optional)                                                                              Edit   Savings                                                                 -$1.40
          Apartment                                                                                                                                                                                      $5.59


                                                                                                                               Seller shipping                                                               $0.99
          Items details                                                                                        Hide details

                                                                                                                               Estimated taxes                                                               $0.67
          Arrives by Fri, Oct 4                                                                                       1 item

          Sold and shipped by Xecvkr
          $0.99 seller shipping fee                                                                                                     Want to support the National Fish and Wildlife 
                                                                                                                                        Foundation’s Acres for America program with
                           Byikun Dream Pendant Car Decorative Pendant                                                                  a $0.75 donation?
                           Acrylic Flat Pendant, Stylish Design Adds Eleganc…                                                           Spark Good Round Up is an easy way to help conserve
                           Actual Color: Purple                                                                                         land for wildlife and increase public access to the great
                                                                                                                                        outdoors.

                           $1.40 from savings

                                                               $5.59                                                             Donate a whole dollar to National Fish and Wildlife 
                                                                 $6.99
                                                                                                                                 Foundation (NFWF)
                                                                                            Remove              1       
                                                                                                                                    $1.00            $2.00            $5.00



                                                                                                                               Estimated total                                                          $7.25


                       Payment method                                                                                          Have a promo code?




                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 1950                                                                             $7.25

             + Add new payment                                                                       Change payment




                              $15 cash back when you spend $15+                                             Sign up


                        Add any credit or debit card & stack cash back




                      Free 30-day trial




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                            1/2
9/24/24, 1:25 PM
                          Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 22 of 685 PageID #:75
                                                               Review your order - Walmart.com




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 1:20 PM
                                Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 23 of 685 PageID #:76
                                                          Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                                 Sponsored 




           Clearance

             Wibazai
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant


          Now $2.68 $3.01 
           You save $0.33
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart



             How do you want your item?



                                                        Shipping                                                                              Pickup                                                              Delivery
                                                   Arrives Sep 20                                                                           Not available                                                        Not available
                                                        $3.59



             Delivery to 1 N La Salle St



                  Sold and shipped by Wibazai

                    2 seller reviews
                   View seller information




                                                                             Add to list                                                                                                 Add to registry


                                                       Sponsored

                                                       $264.00
                                                       Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                       3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                                            
                                                                                                                                                                                                                                                            




                                                                                                                                                                                                      




                    +   3
                   View all




                                                                                                                                                                                                           




             Add                                                                                       Add                                                                   Add

            $59.99                                                                                     $314.99                                                                $7.99 +$1.98 shipping
            Maxax Outdoor Hanging Light, Metal Pendant Light with Clear Glass                          Chic Silver Ceiling Lamp with Crystal Accents and Silver Shade         iju7gthy 4th of July Indoor Sun Acrylic Pendant Light Refraction Home Decor
                                                                                                                                                                              Pendant Fun Gift For Window Decoration




          About this item


https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5971531552                                                                                                                                                                    1/3
9/5/24, 1:20 PM
                                Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 24 of 685 PageID #:77
                                                          Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Brand
             Wibazai

             Features
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant



             Directions
                                                                                                                                                                                                                                                                                        
             Fabric Care Instructions
             Machine Washable; Hand Wash



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Pride always has a place




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                         Clearance



                                                                                                                                                                                                                                                                 




              Options                                                                                                    Add                                                                                                          Options

                                                         +3 options                                                                                                                                                                                                                +3 options

           $8.99 +$0.99 shipping                                                                                       Now $5.50 $7.76 +$1.99 shipping                                                                              $11.88
           WalGRHFR 2024 Colorful Butterflies Acrylic Decoration Pendant Funny 2D Decoration Pendant                   Vxdvou Dream Pendant Car Decoration, Acrylic Flat Pendant Art, Elegant Purple Wall Decor,                    Colorful Butterflies Acrylic Decoration Pendant Funny
           Gift Pendant For Party Decoration The Pendant Gift                                                          Artistic Home Accessory Gift.                                                                                Pendant for Party Decoration The Butterfly Pendant G
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




              Report:        Report seller      Report suspected stolen goods (to CA Attorney General)



https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5971531552                                                                                                                                                                                                 2/3
9/5/24, 1:20 PM
                           Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 25 of 685 PageID #:78
                                                     Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



          Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Modern Pendant Lights




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5971531552                                3/3
9/5/24, 1:21 PM
                         Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 26 of 685 PageID #:79
                                                             Review your order - Walmart.com




                                                                                                                                                        You're saving $0.33 today!
                        Shipping, arrives by Fri, Sep 20

                                                                                                                                                     Place order for $6.91
          Steven kal                                                                                                     Edit       By placing this order, you agree to our Privacy Policy and Terms of Use
          1 N La Salle St, Chicago, IL 60602

                                                                                                                                Subtotal (1 item)                                                             $3.01
          Delivery instructions (optional)                                                                               Add    Savings                                                                -$0.33
          Add access codes or other necessary information.                                                                                                                                                $2.68


                                                                                                                                Seller shipping                                                               $3.59
          Items details                                                                                         Hide details

                                                                                                                                Estimated taxes                                                               $0.64
          Arrives by Fri, Sep 20                                                                                       1 item

          Sold and shipped by Wibazai
          $3.59 seller shipping fee                                                                                                      Want to support the National Fish and Wildlife 
                                                                                                                                         Foundation’s Acres for America program with
                            Dream Pendant Car Decorative Pendant Acrylic                                                                 a $0.09 donation?
                            Flat Pendant                                                                                                 Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
                                                                                                                                         outdoors.
                            $0.33 from savings

                                                               $2.68
                                                                 $3.01
                                                                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                                                            Remove              1               Foundation (NFWF)


                                                                                                                                     $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                           $6.91
                       Payment method
                                                                                                                                Have a promo code?
                                                                                                                                                                                                               
                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.91

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up


                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:21 PM
                         Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 27 of 685 PageID #:80
                                                             Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
2024/9/30 17:32
                               Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 28 of 685 PageID #:81
                                                     HKEJIAOI Home Essentials Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




            HKEJIAOI
            HKEJIAOI Home Essentials Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
          (No ratings yet)

             Free 30-day returns



         Now $4.49 $4.99 
          You save $0.50
            Price when purchased online 



                                                                        Buy now

                                                                    Add to cart


            Actual Color: Purple




                              $4.49




            How do you want your item?



                                                   Shipping                                                                              Pickup                                                                 Delivery
                                                 Arrives Oct 22                                                                     Not available                                                              Not available
                                                      $2.00



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by HKEJIAOI

                    1 seller review
                   View seller information

                   Free 30-day returns Details




                                                                    Add to list                                                                                                         Add to registry


                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                      




                                                                                                                                                                                                   




                    +   3
                   View all




           Clearance



                                                                                                                                                                                                                                         




             Options                                                                                         Options                                                                                           Options

                                                                  +21                                                                                           +7

          Now $3.39 $10.81 +$4.90 shipping                                                                $6.39 +$4.90 shipping                                                                             Now $2.45 $3.19 +$3.99 shipping
          More options from $1.24                                                                         More options from $3.59
                                                                                                                                                                                                            YODETEY Decorations for Home Sea Turtle Color Acry
          Yubnlvae Hangs Color Acrylic Sunshade Ukrainian Color Acrylic Color Acrylic Window Decoration   Ncandy 1*Mushroom Shaped Toilet Handle, Desktop Ornament Big Sale! Toilet Caps Toilet Covers      Shipping, arrives in 3+ days
          Hanging Ornament, Christmas Decorations                                                         Decorative Fun Ceramics Toilet Covers Screw Cover Caps Toilet Caps for Bathroom

           1
                                                                                                          Decor(Combination)

          Shipping, arrives in 3+ days                                                                    Shipping, arrives in 3+ days




https://www.walmart.com/ip/HKEJIAOI-Home-Essentials-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9641909222?classType=VARIANT&from=/search                                                                                                          1/3
2024/9/30 17:32
                               Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 29 of 685 PageID #:82
                                                     HKEJIAOI Home Essentials Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




         About this item


            Product details
                                                                                                                                                                                                                                                                                       
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
            display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
            and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
            personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
            the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated,
            artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been
            carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
            Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  Versatile and captivating, this product is the ultimate decoration for any occasion or setting. From formal events to cozy gatherings, it seamlessly blends into the backdrop, enhancing the overall ambiance and creating a memorable visual impact. Whether
                  you're dressing up your home for a special holiday, adding a touch of sophistication to a corporate event, or simply looking to elevate the everyday with a stylish accent, this product delivers. Its timeless design and impeccable craftsmanship ensure that it
                  stands out as a conversation piece, making it the perfect addition to any space that demands attention to detail and a touch of elegance.
                  Ideal for celebrating special occasions and enhancing any festive ambiance, this product is the perfect gift for loved ones or a stylish addition to your own home decor. Crafted with meticulous attention to detail, it exudes elegance and charm, making it a
                  standout choice for holiday gift-giving.
                  Materials:Acrylic
                  At HKEJIAOI, we pride ourselves on exceptional customer service, even after your purchase. If you encounter any issues or are not fully satisfied with your product, please don't hesitate to reach out to our dedicated after-sales team. We offer hassle-free
                  returns, prompt replacements, and are always here to provide solutions that meet your satisfaction. Your happiness is our top priority, and we're committed to making every shopping experience with us seamless and enjoyable.
                  Home Essentials Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Features
            Popular, Easy to Use, Wide Range of Uses

            Brand
            HKEJIAOI

            Assembled Product Weight
            0.11 lb

            Manufacturer
            HKEJIAOI


            More details




            Directions
                                                                                                                                                                                                                                                                                       
            Fabric Care Instructions
            Hand Wash



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            If you have any problem when you purchase the product or after receiving the product please feel free to contact us, we will reply and provide the solution within 24 hours. If you think our products have any advantages or disadvantages, you can choose to make co


            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the…
            'C t t ll ' f t           th thi d    t M k t l        ll ' i f       ti          d       t th it '           t t        i t       h

            More details




            Warnings
                                                                                                                                                                                                                                                                                       
                WARNING: None



              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet



                                                                                               Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




           Clearance



                                                                                                                                                                                                                                                             




           Add                                                                                                           Add                                                                                                        Add

          Now $3.99 $4.99 +$3.00 shipping                                                                               Now $4.44 $4.99 +$1.99 shipping                                                                              $3.37 +$1.89 shipping



https://www.walmart.com/ip/HKEJIAOI-Home-Essentials-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9641909222?classType=VARIANT&from=/search                                                                                                                                    2/3
2024/9/30 17:32
                               Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 30 of 685 PageID #:83
                                                     HKEJIAOI Home Essentials Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


          LYUCRAZ Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant           Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments Gifts for Women   Cevemin Dream Pendant Car Decorative Pendant Acry
          Shipping, arrives in 3+ days                                                                  Shipping, arrives in 3+ days                                                                  DIY Crafting
                                                                                                                                                                                                      Shipping, arrives in 3+ days




              Report:       Report seller    Report suspected stolen goods (to CA Attorney General)


         Home / Decor / Decorative Accents / Decorative Ornaments




https://www.walmart.com/ip/HKEJIAOI-Home-Essentials-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9641909222?classType=VARIANT&from=/search                                                                                                   3/3
2024/9/30 17:32
                         Case: 1:24-cv-11674 Document #: 6-5 Filed:       11/19/24 Page 31 of 685 PageID #:84
                                                              Review your order - Walmart.com




                        Shipping, arrives by Mon, Oct 21


         steven howard                                                                                                Edit                        Place order for $7.16
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                              By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                              Use

         Delivery instructions (optional)                                                                             Edit
                                                                                                                             Subtotal (1 item)                                               $4.99
         House
                                                                                                                             Savings                                                       -$0.50

                                                                                                                                                                                             $4.49
         Items details                                                                                       Hide details

                                                                                                                             Seller shipping                                                  $2.00
         Arrives by Mon, Oct 21                                                                                     1 item

         Sold and shipped by HKEJIAOI                                                                                        Estimated taxes                                                      $0.67
         $2.00 seller shipping fee

                           HKEJIAOI Home Essentials Dream Pendant Car
                                                                                                                                      Want to support the National Fish and Wildlife 
                           Decorative Pendant Acrylic Flat Pendant
                                                                                                                                      Foundation’s Acres for America program with
                           Actual Color: Purple                                                                                       a $0.84 donation?
                                                                                                                                      Spark Good Round Up is an easy way to help conserve
                           $0.50 from savings                                                                                         land for wildlife and increase public access to the great
                                                                                                                                      outdoors.
                                                              $4.49
                                                                $4.99

                                                                                            Remove             1              Donate a whole dollar to National Fish and Wildlife 
                                                                                                                               Foundation (NFWF)


                                                                                                                                  $1.00           $2.00         $5.00




                       Payment method                                                                                        Estimated total                                                  $7.16


                                                                                                                             Have a promo code?

                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                            $7.16

            + Add new payment                                                                        Change payment




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         much more*
         *$35 order min. Restrictions apply.

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                  Send to a different phone number




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                 1/2
2024/9/30 17:32
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:       11/19/24 Page 32 of 685 PageID #:85
                                                             Review your order - Walmart.com


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         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                2/2
9/4/24, 4:14 PM
                                Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 33 of 685 PageID #:86
                                                      Gogusuu Clearance Sale Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                                           Sponsored 




             Gogusuu
             Gogusuu Clearance Sale Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          Now $2.77 $4.99 
           You save $2.22
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart



             How do you want your item?



                                                        Shipping                                                                              Pickup                                                                        Delivery
                                                       Arrives Sep 19                                                                      Not available                                                                   Not available
                                                            $1.97



             Delivery to 1 N La Salle St



                  Sold and shipped by LIG87

                    23 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                          Add to registry


                                                       Sponsored

                                                       $20.37 $36.38/kg
                                                       Better Homes & Gardens 57" Architectural Pendant Light, Adjustable Cord, G40 LED Decorative bulb

                                                       2-day shipping




                                                                                            Add


                                                                                                                                                                                                                                                                     
                                                                                                                                                                                                                                                                     




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                    +   3
                   View all




                                                                                                                                                                                                                     




             Add                                                                                      Add                                                                              Add
                                                                                                      Sponsored

            $89.00                                                                                    Now $9.90 $21.90                                                                  $24.99
            DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom                   Elinkume Pendant Lighting, Adjustable Ceiling Light, Pendant Lights Fixture for   Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White
            Living Room US                                                                            Kitchen Home Decor

                                                                                                      Save with




https://www.walmart.com/ip/Gogusuu-Clearance-Sale-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/7510862234                                                                                                                                                       1/3
9/4/24, 4:14 PM
                                Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 34 of 685 PageID #:87
                                                      Gogusuu Clearance Sale Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                     
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of
             styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
             appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
             sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
             collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   We are adhering to the concept of preferential customer first, our products to achieve good quality and low price, has been favored by customers. If you have any questions about the product or after-sales problems, you can contact us at any time through the
                   reception email.
                   Affordable Prices: High-quality products at competitive prices, offering excellent value for money.
                   Comprehensive After-sales Service: Professional customer service team ensures worry-free after-sales support.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                     
             Color
             Purple

             Size
             Free Size

             Brand
             Gogusuu

             Features
             Clearance Sale



             Warranty
                                                                                                                                                                                                                                                                                     
             Warranty information
             Please be free to contact us if you have any questions, we promise that we will give you all satisfied solution. By the way, please check with our item description very carefully, for saving you time and get exactly what you want, thank you and enjoy your shopping.


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             'C t t ll ' f t           th thi d    t M k t l        ll ' i f       ti          d       t th it '           t t        i t       h

             More details



                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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              Pride always has a place




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                                                 




              Options                                                                                                     Options                                                                                                      Options

                                                                                                                                                                                                                                                                                  +3 options

           $6.99 +$0.98 shipping                                                                                       $8.95 +$1.98 shipping                                                                                        Now $6.40 $7.19
           iju7gthy Back to School Supplies Colorful Butterflies Acrylic ration Pendant Funny 2D ration                iju7gthy Colorful Butterflies Acrylic ration Pendant Funny 2D ration Pendant Pendant for Party               2024&Hanging Indoor Ornaments Funny Acrylic Anima
           Pendant Pendant for Party ration The Pendant                                                                ration The Pendant                                                                                           Decoration Pendant Indoor And Outdoor Decorative A
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/Gogusuu-Clearance-Sale-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/7510862234                                                                                                                                                                         2/3
9/4/24, 4:14 PM
                           Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 35 of 685 PageID #:88
                                                 Gogusuu Clearance Sale Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




              Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




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9/4/24, 4:14 PM
                         Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 36 of 685 PageID #:89
                                                             Review your order - Walmart.com




                        Shipping, arrives by Thu, Sep 19
                                                                                                                                                     Place order for $5.23

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $4.99
                                                                                                                                Savings                                                                -$2.22
          Delivery instructions (optional)                                                                               Add
                                                                                                                                                                                                          $2.77
          Add access codes or other necessary information.

                                                                                                                                Seller shipping                                                               $1.97


          Items details                                                                                         Hide details    Estimated taxes                                                               $0.49


          Arrives by Thu, Sep 19                                                                                       1 item
                                                                                                                                         Want to support the National Fish and Wildlife 
          Sold and shipped by LIG87
                                                                                                                                         Foundation’s Acres for America program with
          $1.97 seller shipping fee
                                                                                                                                         a $0.77 donation?
                            Gogusuu Clearance Sale Dream Pendant Car                                                                     Spark Good Round Up is an easy way to help conserve

                            Decorative Pendant Acrylic Flat Pendant                                                                      land for wildlife and increase public access to the great
                                                                                                                                         outdoors.

                            $2.22 from savings

                                                               $2.77                                                              Donate a whole dollar to National Fish and Wildlife 
                                                                 $4.99
                                                                                                                                  Foundation (NFWF)
                                                                                            Remove              1       
                                                                                                                                     $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                          $5.23

              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                               

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $5.23

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up


                         Add any credit or debit card & stack cash back




                       Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/4/24, 4:14 PM
                         Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 37 of 685 PageID #:90
                                                             Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/18/24, 2:43 PM
                                Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 38 of 685 PageID #:91
                                                           Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                             Be on the cutting edge                                                                                                                                                                                                                    Sponsored 




             bmange
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

              Free 30-day returns



          $3.99
             Price when purchased online 



                                                                            Buy now

                                                                          Add to cart


             Actual Color: Purple

                                              Purple
                                              $3.99




             How do you want your item?



                                                        Shipping                                                                                        Pickup                                                                     Delivery
                                                       Arrives Oct 3                                                                              Not available                                                                  Not available
                                                           $3.00



             Delivery to 1 N La Salle St



                   Sold and shipped by bmange

                     16 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                              Add to list                                                                                                                  Add to registry


                                                       Sponsored

                                                       $198.00
                                                       Luxury Traditional Indoor Pendant, 9.50''H x 8.00''W, with Classic Style Elements, Vintage Design, Brushed Nickel Finish and Clear Seeded Glass, UQL3661

                                                       3+ day shipping




                                                                                                              Add



                                                                                                                                                                                                                                                                              




                                                                                                                                                                                                                    




                                                                                                                                                                                                                                                            




            Add                                                                                                          Add                                                                                                  Add

           $62.00                                                                                                        $89.00                                                                                                $5.99 +$3.99 shipping
           Acrylic Circular Ring LED Dimmable Chandelier Remote Ceiling Light Hanging Lamp                               DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom Living Room US                Light Diffuser Light-transmitting Plate Acrylic Diffuser
           Shipping, arrives in 3+ days                                                                                  Shipping, arrives in 3+ days                                                                          Shipping, arrives in 3+ days



https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10015071917                                                                                                                                                                                          1/3
9/18/24, 2:43 PM
                               Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 39 of 685 PageID #:92
                                                          Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                         
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
             or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
             floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
             your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
             feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
             Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
             pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
                   or any other, making them a visual for your home decor.
                   2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract
                   art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized .
                   3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and
                   craftsmanship of these pendants and feel the warmth of your and attention.
                   4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life. Turn your living space into a place of
                   and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .
                   5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your
                   home space filled with and refinement.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                         
             Brand
             bmange



             Warranty
                                                                                                                                                                                                                                                                                         
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                         
                 WARNING: None



               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                                 Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              It's more than a toy




                                                                                                                                                                                                                                                                                   Sponsored 




                                                                                                                                                                                                                                                                




              Options                                                                                                        Options                                                                                                       Options

                                                                                                                                                                         +3 options                                                                                                    +3 options

           $7.99 +$1.00 shipping                                                                                          $5.99 +$1.89 shipping                                                                                         $5.88 +$1.99 shipping
           BFYSFBAIG Funny Acrylic Animal Decoration Pendant 2D Butterfly Decoration Pendant indoor and                   WIQUOKETT Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant                    Fall Decor Funny Acrylic Animal Decoration Pendant C
           Outdoor Decorative Accessories Garden Decoration Pendant Car Ornaments for                                     Indoor and Outdoor Decorative Accessories Garden Decoration Pendant                                           Indoor And Outdoor Decorative Accessories Garden D



https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10015071917                                                                                                                                                                                                    2/3
9/18/24, 2:43 PM
                                Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 40 of 685 PageID #:93
                                                           Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com

           Shipping, arrives in 3+ days                                                                  Shipping, arrives in 3+ days   Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10015071917                                                                       3/3
9/18/24, 2:43 PM
                         Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 41 of 685 PageID #:94
                                                              Review your order - Walmart.com




                        Shipping, arrives by Thu, Oct 3
                                                                                                                                                       Place order for $7.71

                                                                                                                                     By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                      Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                 Subtotal (1 item)                                                         $3.99

                                                                                                                                 Seller shipping                                                               $3.00
          Delivery instructions (optional)                                                                                Add

          Add access codes or other necessary information.
                                                                                                                                 Estimated taxes                                                               $0.72




                                                                                                                                          Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                          Foundation’s Acres for America program with
                                                                                                                                          a $0.29 donation?
          Arrives by Thu, Oct 3                                                                                         1 item
                                                                                                                                          Spark Good Round Up is an easy way to help conserve
                                                                                                                                          land for wildlife and increase public access to the great
          Sold and shipped by bmange
                                                                                                                                          outdoors.
          $3.00 seller shipping fee

                            Dream Pendant Car Decorative Pendant Acrylic
                            Flat Pendant                                                                                           Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                   Foundation (NFWF)
                            Actual Color: Purple

                                                               $3.99                                                                  $1.00            $2.00            $5.00

                                                                                            Remove               1        
                                                                                                                                 Estimated total                                                           $7.71


                                                                                                                                 Have a promo code?


                        Payment method


                            We'll look for smart ways to pay
                            We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                               $7.71

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




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          much more*
          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                              1/2
9/18/24, 2:43 PM
                          Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 42 of 685 PageID #:95
                                                               Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/24/24, 2:22 PM
                                 Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 43 of 685 PageID #:96
                                                            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Built for tough drives                                                                                                                                                                                         Sponsored 




            VRELL
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $2.09
            Price when purchased online 



                                                                             Buy now

                                                                           Add to cart


            Actual Color: Purple




                                 $2.09




            How do you want your item?



                                                         Shipping                                                                               Pickup                                                       Delivery
                                                        Arrives Oct 4                                                                         Not available                                                Not available
                                                            $3.99



            Delivery to 3200 N Lake Shore Dr



                   Sold and shipped by FANX

                     10 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                               Add to list                                                                                           Add to registry


                                                        Sponsored

                                                        $10.08
                                                        Zone Tech Vehicle Light Green Hanging Dice for Car, Mirror Fuzzy Soft Plush Decorative 3" - a Pair GA35

                                                         27

                                                        2-day shipping



                                                                                              Add


                                                                                                                                                                                                                                                     




                                                                                                                                                                                               




                     +    2
                    View all




            Best seller                                                                                                                                                                                   Best seller



                                                                                                                                                                                                                               




            Add                                                                                                          Add                                                                            Add

           $4.47 $4.47/in                                                                                                $15.97                                                                          Now $19.98 $24.99
           Bling Ring Auto Interior Jewelry Applies to Most Vehicle Interiors - 3 Pack                                   Auto Drive Black 12-Volt 6" Car Clip-on or Dash Mount Fan                       Angel View Wide Angle Rearview Mirror, Fits Most Car



https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9994072079                                                                                                                                                                 1/3
9/24/24, 2:22 PM
                                Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 44 of 685 PageID #:97
                                                           Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


            87                                                                                                     310                                                                                                     214
           Save with                                                                                                   Save with                                                                                                    Save with

           Pickup today                                                                                                Shipping, arrives in 2 days                                                                                  Shipping, arrives in 2 days
           Delivery today
           Shipping, arrives in 3+ days




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
             or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
             floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
             your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
             feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
             Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
             pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Christmas Clearance
                   Christmas Clearance
                   Christmas Clearance

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Assembled Product Weight
             0.11 lb

             Brand
             VRELL

             Manufacturer Part Number
             Christmas Clearance



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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              Timeless style for him




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                                                  




                                                                                                                          Options                                                                                                      Options

                                                                                                                                                                                  +7

                                                                                                                       $7.30 +$3.00 shipping                                                                                        $8.79 +$2.99 shipping
                                                                                                                       QNFEPKG Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant                     Funny Acrylic Animal Decoration Pendant Creative 2D
                                                                                                                       Indoor And Outdoor Decorative Accessories Garden Decoration Pendant                                          Outdoor Decorative Accessories Garden Decoration P
                                                                                                                       Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9994072079                                                                                                                                                                                              2/3
9/24/24, 2:22 PM
                          Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 45 of 685 PageID #:98
                                                     Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


          Auto & Tires / Automotive Replacement Parts / Replacement Auto Parts




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9994072079                                3/3
9/24/24, 2:23 PM
                         Case: 1:24-cv-11674 Document #: 6-5 Filed:      11/19/24 Page 46 of 685 PageID #:99
                                                              Review your order - Walmart.com




                        Shipping, arrives by Fri, Oct 4
                                                                                                                                                    Place order for $6.70

                                                                                                                                   By placing this order, you agree to our Privacy Policy and Terms of Use
          Michael Boldt                                                                                                 Edit
          3200 N Lake Shore Dr, Apt 701, Chicago, IL 60657
                                                                                                                               Subtotal (1 item)                                                         $2.09

                                                                                                                               Seller shipping                                                               $3.99
          Delivery instructions (optional)                                                                              Edit

          Apartment
                                                                                                                               Estimated taxes                                                               $0.62




                                                                                                                                        Want to support the National Fish and Wildlife 
          Items details                                                                                        Hide details
                                                                                                                                        Foundation’s Acres for America program with
                                                                                                                                        a $0.30 donation?
          Arrives by Fri, Oct 4                                                                                       1 item
                                                                                                                                        Spark Good Round Up is an easy way to help conserve
                                                                                                                                        land for wildlife and increase public access to the great
          Sold and shipped by FANX
                                                                                                                                        outdoors.
          $3.99 seller shipping fee

                           Dream Pendant Car Decorative Pendant Acrylic
                           Flat Pendant                                                                                          Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                 Foundation (NFWF)
                           Actual Color: Purple

                                                               $2.09                                                                $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                               Estimated total                                                          $6.70


                                                                                                                               Have a promo code?


                       Payment method


                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 1950                                                                            $6.70

             + Add new payment                                                                       Change payment




                              $15 cash back when you spend $15+                                             Sign up



                        Add any credit or debit card & stack cash back




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                            1/2
9/24/24, 2:23 PM
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 47 of 685 PageID #:100
                                                             Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 1:03 PM
                              Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 48 of 685 PageID #:101
                                                   Clearance!FWOVF Hanging Decor,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                             Redefine your wardrobe                                                                                                                                                                                                                     Sponsored 
                                                                                                                                                                                                                          More seller options


             FWOVF                                                                                                                                                                                                                       Clearance!FWOVF Hanging Decor,Dream
                                                                                                                                                                                                                                         Pendant Car Decorative Pendant Acrylic
             Clearance!FWOVF Hanging Decor,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                                                                                                                                                                                                                                         Flat Pendant

             Free 30-day returns



             See more seller options                                                                                                                                                                                      Shipping to Chicago, 60602

                                                                                                                                                                                                                          $5.87
                                                                                                                                                                                                                          One-time purchase
             Actual Color: Purple
                                                                                                                                                                                                                          Shipping ($2.99), arrives by Fri, Sep 20 to 1 N La Salle St

                                                                                                                                                                                                                             Sold and shipped by shenzhenshinanchengdi

                   See more seller options                                                                                                                                                                                View seller information

                                                                                                                                                                                                                              Free 30-day returns Details


                                                                            Add to list                                                                                                                Add to registry                                                  Add to cart



             More seller options (1)
             Starting from $5.87 Compare all sellers




                                                      Sponsored

                                                      $9.90
                                                      Elinkume Pendant Lighting, Adjustable Ceiling Light, Pendant Lights Fixture for Kitchen Home Decor

                                                      2-day shipping




                                                                                           Add


                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                




                                                                                                                                                                                                                   




                   +   3
                  View all




                                                                                                                                                                                                                           




             Add                                                                                       Add                                                                                  Add

            $89.00                                                                                    $24.99                                                                                 $85.00
            DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom                   Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White       110V LED Ceiling Light Modern Acrylic LED Ceiling Light 6 Rings Chandelier
            Living Room US                                                                                                                                                                   Dimmable Living Room Fixture




          About this item


             Product details
                                                                                                                                                                                                                                                                                 
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide



https://www.walmart.com/ip/Clearance-FWOVF-Hanging-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5967333867                                                                                                                                                           1/2
9/5/24, 1:03 PM
                              Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 49 of 685 PageID #:102
                                                   Clearance!FWOVF Hanging Decor,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to More   seller
                                                                                                                                                                                                                              your and familyoptions
                                                                                                                                                                                                                                              to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
                                                                                                                                                                                                                                            Clearance!FWOVF
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch   your home spaceHanging
                                                                                                                                                                                                                                                                    filled withDecor,Dream
             elegance and refinement. Product Description:                                                                                                                                                                                  Pendant Car Decorative Pendant Acrylic
             Product Specifications:                                                                                                                                                                                                        Flat Pendant
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
                                                                                                                                                                                                                              Shipping to Chicago, 60602
             Package includes:
             1 pendant
                                                                                                                                                                                                                                $5.87
                   Durable Material                                                                                                                                                                                             One-time purchase
                   Easy to Care
                   Room Decor Aesthetic                                                                                                                                                                                         Shipping ($2.99), arrives by Fri, Sep 20 to 1 N La Salle St
                   Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   We provide 100% Customer Satisfaction, message will respond within 9386 hours, Any problems will be handled properly.                                                                                          Sold and shipped by shenzhenshinanchengdi
                                                                                                                                                                                                                                View seller information
                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer
                                                                                                                                                                                                                                    Free 30-day returns
             Specifications
                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                Add to cart
             Size
             AS SHOW

             Brand
             FWOVF



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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              Debit with rewards




                                                                                                                                                                                                                                                                                 Sponsored 




            Clearance                                                                                                    Clearance                                                                                                    Reduced price



                                                                                                                                                                                                                                                                 




            Add                                                                                                          Options                                                                                                       Options



           Now $3.43 $5.72 +$4.99 shipping                                                                             Now $5.89 $7.36 +$1.99 shipping                                                                              Now $1.99 $6.99 +$4.99 shipping
           Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                                   Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift                   Door Hanging Beads Hanging Decorations for Home F
           Shipping, arrives in 3+ days                                                                                Pendant For Party Decoration The Butterfly Pendant Gift                                                      Creative 2D Butterfly Decoration Pendant Indoor And
                                                                                                                       Shipping, arrives in 3+ days                                                                                 Decorating
                                                                                                                                                                                                                                    Shipping, arrives in 3+ days




              Report:        Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Clearance-FWOVF-Hanging-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5967333867                                                                                                                                                                  2/2
9/5/24, 1:04 PM
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 50 of 685 PageID #:103
                                                             Review your order - Walmart.com




                        Shipping, arrives by Fri, Sep 20
                                                                                                                                                     Place order for $9.77

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $5.87

                                                                                                                                Seller shipping                                                               $2.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.91




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.23 donation?
          Arrives by Fri, Sep 20                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by shenzhenshinanchengdi
                                                                                                                                         outdoors.
          $2.99 seller shipping fee

                            Clearance!FWOVF Hanging Decor,Dream Pendant
                            Car Decorative Pendant Acrylic Flat Pendant                                                           Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Actual Color: Purple

                                                               $5.87                                                                 $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                                Estimated total                                                          $9.77


                                                                                                                                Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $9.77

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:04 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 51 of 685 PageID #:104
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
                  Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 52 of 685 PageID #:105


 Electricseller
 Electricseller Pendant Garden Decoration in Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant


 Free 30-day returns 




$4.09
 Price when purchased online 



                                                                   Buy now

                                                                Add to cart


 Actual Color: Purple

                                   Purple
                                   $4.09




 How you'll get this item:



                                             Shipping                                                                     Pickup                                          Delivery
                                            Arrives Oct 18                                                              Not available                                    Not available
                                                 $1.99



 1 N LA SALLE ST Change

 Arrives by Fri, Oct 18 | More options

 Shipping fee $1.99



     Sold and shipped by Electricseller

        6 seller reviews
       View seller information

       Free 30-day returns Details




                                                                    Add to list                                                                      Add to registry


                                            Sponsored

                                            Now $13.75 $20.24
                                            6-inch christmas red beaded berry wreath candlering candle ring ornament

                                             2-day shipping



                                                                     Add




                                                                                                                                                                                             




                                                                                                                                                              




        +   3
       View all




Clearance



                                                                                                                                                                                       




 Options                                                                                                      Options                                                    Options

                                                              +2                                                                        +2 options                                           +8 options
                   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 53 of 685 PageID #:106
Now $4.49 $6.99                                                                                               $6.99                                                                                                        $1.13 +$4.99 shipping
More options from $2.99                                                                                       Options from $6.99 – $9.61
                                                                                                                                                                                                                           Bouanq Christmas Decorations Xmas Tree Decor Christ
Holloyiver 2024 Chicken Ornament Christmas Tree Decoration Acrylic Materia Farmhouse Decor,                   24pcs Grinch Christmas Ornaments for Tree Decorations Christmas Ornaments Resin Miniatures for               Hanging Ornament Christmas Tree Christmas Tree Orn
Christmas Tree Decoration Flat Pendant 3.15 Inches                                                            Craft Christmas Decor                                                                                        Shipping, arrives in 3+ days
 41                                                                                                       117
Shipping, arrives in 3+ days                                                                                  Shipping, arrives in 3+ days




                                                                                                                                                                                                                




 Add                                                                                       Add                                                                                        Add

$99.00                                                                                     $25.97 $17.09/kg                                                                           $22.87
Avec Cerise Collection Luxe Brushed Gold Pendant Light                                     Better Homes & Gardens 55" Adjustable Architectural Single Head Pendant Light,             Better Homes & Gardens 126" Architectural Bare Pendant, Satin Nickel Metal Base
 22
                                                                                           White Finish                                                                               Adjustable Cord
                                                                                            59                                                                                    28
 2-day shipping
                                                                                            2-day shipping                                                                             Pickup   Delivery 3+ day shipping




About this item


  Product details
                                                                                                                                                                                                                                                                             
  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
  Features:
  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
  display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
  and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
  personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
  appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
  sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
  collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
  refinement. Product Description:
  Product Specifications:
  Material: Acrylic
  Color: Purple
  size: 8*8*0.37cm
  Package includes:
  1 pendant

       MULTIFUNCTIONAL DECORATIONS:Suitable for placement on an indoor table or outdoor grass, these adorable decorations are a whimsical addition to any home or garden setting and are sure to bring pleasure wherever they go.
       BEAUTIFUL DECORATION: They have an elegant holiday look and show fantastic styling when you use them as decorations. Lovely decoration for any special occasion except Christmas, New Year's party.
       ADD A SENSE OF AMBIENCE: This is a great in addition to enhancing the ambiance while keeping any room in your home. Our beautiful decorations provide great home décor for the interior.
       UNIQUE GIFT: It's a unique gift, whether it's for yourself, your kids or neighbors, this decoration is a great choice for you.
       WIDELY USED:Can be used as party, nursery, christening, holiday celebration decorations, photography backdrops, dessert table decorations, cake decorations or refrigerator stickers. Suitable for placing in children's bedrooms, also suitable for decorating
       parties, weddings and so on.

       We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



  Specifications
                                                                                                                                                                                                                                                                             
  Features
  Multi-Function

  Brand
  Electricseller

  Assembled Product Weight
  0.11 lb

  Manufacturer
  Pendant Garden Decoration

  More details




  Directions
                                                                                                                                                                                                                                                                             
  Fabric Care Instructions
  Easy to Clean



  Warranty
                                                                                                                                                                                                                                                                             
  Warranty information
  Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
  'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




    Report incorrect product information




Customer ratings & reviews
 (0 reviews)




This item does not have any reviews yet
                   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 54 of 685 PageID #:107

                                                                             Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.   Learn more.




 Clearance



                                                                                                                                                                                                                            




 Add                                                                                              Add                                                                                         Add

Now $4.56 $5.12 +$2.00 shipping                                                                   $7.60 +$3.99 shipping                                                                        $2.98 +$2.99 shipping
IBaodan Home Decor Clearance sale Housewarming Gift Dream Pendant Car Decorative Pendant          2025 New home decor on clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant   DMDUOU Acrylic Pendant,Elegant Acrylic Dream Pen
Acrylic Flat Pendant                                                                              Shipping, arrives in 3+ days                                                                 Design for Hanging Art, Versatile Interior Accent & Du
Shipping, arrives in 3+ days                                                                                                                                                                   Shipping, arrives in 3+ days




   Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


Home / Holiday Decor / Christmas Decor / Christmas Tree Decorations / Shop All Christmas Tree Decorations
             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 55 of 685 PageID #:108



              Shipping, arrives by Thu, Oct 17
                                                                                                                                                     Place order for $6.70

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                                            Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                        $4.09

                                                                                                                                Seller shipping                                                               $1.99
Delivery instructions (optional)                                                                                         Edit

House
                                                                                                                                Estimated taxes                                                               $0.62




                                                                                                                                         Want to support the National Fish and Wildlife 
Items details                                                                                                   Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.30 donation?
Arrives by Thu, Oct 17                                                                                                1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
Sold and shipped by Electricseller
                                                                                                                                         outdoors.
$1.99 seller shipping fee

                 Electricseller Pendant Garden Decoration in
                 Clearance Dream Pendant Car Decorative Penda…                                                                    Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                 Actual Color: Purple

                                                    $4.09                                                                            $1.00            $2.00            $5.00

                                                                                         Remove                  1      
                                                                                                                                Estimated total                                                          $6.70


                                                                                                                                Have a promo code?


             Payment method


                 We'll look for smart ways to pay
                 We’ll suggest payment methods that work best with eligible items in your cart.



                Ending in 9192                                                                                       $6.70

   + Add new payment                                                                               Change payment




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much more*
*$35 order min. Restrictions apply.

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      Send to a different phone number

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rates may apply. By continuing, you agree to our Mobile Alert Terms.
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 56 of 685 PageID #:109
                  Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 57 of 685 PageID #:110


 YULANBI
 2025 New home decor on clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant


 Free 30-day returns 




$7.60
 Price when purchased online 



                                                                 Buy now

                                                                Add to cart


 Actual Color: Purple

                                   Purple
                                   $7.60




 How you'll get this item:



                                             Shipping                                                                             Pickup                             Delivery
                                            Arrives Oct 18                                                                      Not available                       Not available
                                                 $3.99



 1 N LA SALLE ST Change

 Arrives by Fri, Oct 18 | More options

 Shipping fee $3.99



     Sold and shipped by YULANBI

        5 seller reviews
       View seller information

       Free 30-day returns Details




                                                                   Add to list                                                                  Add to registry


  Reduced price                             Sponsored

                                            Now $10.99 $15.99
                                            Tied Ribbons Ganesh Statue Sculpture for Car Dashboard Home Temple Decor | 2"x 2.3" | Resin

                                             2-day shipping



                                                                            Add




                                                                                                                                                                                        




                                                                                                                                                          




Clearance                                                                                                    Best seller



                                                                                                                                                                                  




 Options                                                                                                     Add                                                   Add
                       Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 58 of 685 PageID #:111
                                                           +21
Now $3.39 $10.81 +$4.90 shipping                                                                              $13.99                                                                                                     $4.99 +$5.00 shipping
More options from $1.24
                                                                                                              6 Pack Round Metal Floral Wire Wreath Frame 12 inch Ring for Christmas New Year Home                       DIY Handmade Dream Catcher Fairy String Decoration
Yubnlvae Hangs Color Acrylic Sunshade Ukrainian Color Acrylic Color Acrylic Window Decoration                 Decoration                                                                                                 Shipping, arrives in 3+ days
Hanging Ornament, Christmas Decorations                                                                        25
 1                                                                                                       Save with
Shipping, arrives in 3+ days
                                                                                                              Shipping, arrives in 2 days




                                                                                             Best seller



                                                                                                                                                                                                              




 Add                                                                                        Add                                                                                       Add

$22.87                                                                                      $27.97                                                                                    $25.97 $17.09/kg
Better Homes & Gardens 126" Architectural Bare Pendant, Satin Nickel Metal Base             Better Homes & Gardens 12" Architectural Woven Pendant Light, Natural Rattan              Better Homes & Gardens 55" Adjustable Architectural Single Head Pendant Light,
Adjustable Cord                                                                             Shade                                                                                     White Finish

 28                                                                                     55                                                                                   59

 Pickup     Delivery   3+ day shipping                                                       2-day shipping                                                                            2-day shipping




About this item


  Product details
                                                                                                                                                                                                                                                                             
  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
  Features:
  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
  display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or of fice, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
  and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
  personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
  the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated,
  artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been
  carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
  Description:
  Product Specifications:
  Material: Acrylic
  Color: Purple
  size: 8*8*0.37cm
  Package includes:
  1 pendant

       clearance under $15
       Online service within 48 hours
       Create a warm ambiance: our decorative products can create a warm ambiance. Make your home full of happiness and warmth.
       Ideas and happiness coexist: our decorative products are not beautiful, but also add a sense of happiness and freshness to life, so that the daily home life more colourful.
       Enhance home beauty: our home decoration in the design of the beauty effect, shape design, and other considerations, you can make your home new life and vitality.

       We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



  Specifications
                                                                                                                                                                                                                                                                             
  Brand
  YULANBI

  Assembled Product Weight
  0.11 lb

  Manufacturer
  Home Decor

  Color
  Purple


  More details




  Warranty
                                                                                                                                                                                                                                                                             
  Warranty information
  Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
  'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




    Report incorrect product information




Customer ratings & reviews
 (0 reviews)




This item does not have any reviews yet
                   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 59 of 685 PageID #:112

                                                                                   Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.   Learn more.




                                                                                                         Clearance



                                                                                                                                                                                                                              




 Add                                                                                                    Add                                                                                     Add

$2.98 +$2.99 shipping                                                                                   Now $1.69 $1.99 +$4.99 shipping                                                          $2.80 +$3.99 shipping
DMDUOU Acrylic Pendant,Elegant Acrylic Dream Pendant,Stylish Home Décor & Gift Idea, Flat               Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Clearance                      Yishangzhng Dream Pendant Car Decorative Pendant A
Design for Hanging Art, Versatile Interior Accent & Durable Craftsmanship Purple                        Shipping, arrives in 3+ days                                                             Kitchen Appliances
Shipping, arrives in 3+ days                                                                                                                                                                     Shipping, arrives in 3+ days




   Report:        Report seller    Report suspected stolen goods (to CA Attorney General)
             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 60 of 685 PageID #:113



              Shipping, arrives by Thu, Oct 17
                                                                                                                                                    Place order for $12.78

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                                            Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $7.60

                                                                                                                                Seller shipping                                                               $3.99
Delivery instructions (optional)                                                                                         Edit

House
                                                                                                                                Estimated taxes                                                               $1.19




                                                                                                                                         Want to support the National Fish and Wildlife 
Items details                                                                                                   Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.22 donation?
Arrives by Thu, Oct 17                                                                                                1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
Sold and shipped by YULANBI
                                                                                                                                         outdoors.
$3.99 seller shipping fee

                 2025 New home decor on clearance Dream
                 Pendant Car Decorative Pendant Acrylic Flat…                                                                     Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                 Actual Color: Purple

                                                     $7.60                                                                           $1.00            $2.00            $5.00

                                                                                         Remove                  1      
                                                                                                                                Estimated total                                                        $12.78


                                                                                                                                Have a promo code?


             Payment method


                 We'll look for smart ways to pay
                 We’ll suggest payment methods that work best with eligible items in your cart.



                Ending in 9192                                                                                    $12.78

   + Add new payment                                                                               Change payment




            Free 30-day trial




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much more*
*$35 order min. Restrictions apply.

Try Walmart+ free for 30 days




        Text updates for this order


      Send to (xxx) xxx-5923
      Send to a different phone number

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Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 61 of 685 PageID #:114
9/19/24, 3:47 PM
                                Case: 1:24-cv-11674USUPDD
                                                     Document              #: 6-5 Filed: 11/19/24 Page 62 of 685 PageID #:115
                                                          Cute Car Accessories (Purple), Car Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Be on the cutting edge                                                                                                                                                                          Sponsored 




             USUPDD
             USUPDD Cute Car Accessories (Purple), Car Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

              Free shipping        Free 30-day returns



          $4.39
             Price when purchased online 



                                                                             Buy now

                                                                            Add to cart



             How do you want your item?



                                                          Shipping                                                                              Pickup                                         Delivery
                                                         Arrives Oct 2                                                                    Not available                                      Not available
                                                              Free



             Delivery to 1 N La Salle St



                   Sold and shipped by UsDCYM

                     1 seller review
                    View seller information

                    Free 30-day returns Details




                                                                               Add to list                                                                             Add to registry


                                                         Sponsored

                                                         $179.99
                                                         UEEYAC Modern Home Dining Room Decor Rattan Pendant Light Handmade Hanging Lampshade

                                                         3+ day shipping




                                                                                          Add



                                                                                                                                                                                                                                      




                                                                                                                                                                                 




                     +   3
                    View all




                                                                                                                   Clearance                                                                Best seller



                                                                                                                                                                                                                        




              Options                                                                                              Add                                                                     Add
                                                               +2 options

           $9.99                                                                                                 Now $2.83 $3.18 +$3.97 shipping                                           $4.97 49.7 ¢/count
           Costyle USB Car Accessories Interior Atmosphere Star Sky Lamp Ambient Night Light, Purple             Waterproof LED Light Strip 12V Car Decorative White                       Auto Drive Translucent & Durable RV Awning Hooks 10
           Shipping, arrives in 3+ days                                                                          Shipping, arrives in 3+ days                                               25

                                                                                                                                                                                           Save with

                                                                                                                                                                                           Shipping, arrives in 3+ days




https://www.walmart.com/ip/USUPDD-Cute-Car-Accessories-Purple-Car-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9511214338                                                                                                     1/3
9/19/24, 3:47 PM
                              Case: 1:24-cv-11674USUPDD
                                                   Document              #: 6-5 Filed: 11/19/24 Page 63 of 685 PageID #:116
                                                        Cute Car Accessories (Purple), Car Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
             display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
             and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
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             carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
             Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant



             【】

                   USUPDD Cute Car Accessories (Purple), Car Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   Unique design, the cute pendant will shake gently when the car is moving. Very interesting. Fashionable and cute, it is a good thing to decorate cars and houses.
                   Perfect for hanging car rearview mirrors, a beautiful decorative piece in your home or car.
                   It is small and exquisite, and will not affect the driving sight. The main part should not be too long to avoid collision with the glass when braking, and it shakes slightly when driving, which can well reduce the driver's visual fatigue.
                   Even if life gets in your way, be brave and keep going. Car pendants are a kind of culture, carrying some blessings and expectations, reflecting the personality and aesthetics of the car owner, and coordinating with the interior decoration.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple 9L9

             Brand
             USUPDD



             Directions
                                                                                                                                                                                                                                                                                        
             Fabric Care Instructions
             USUPDD Cute Car Accessories (Purple), Car Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                                Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




              It Starts with eading




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                                                   




              Options                                                                                                       Options                                                                                                    Add

           $6.99 +$2.99 shipping                                                                                         $8.99                                                                                                        $1.99 +$3.90 shipping
           Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor and                   DUAONETS Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant                    Teissuly Dream Pendant Car Decorative Pendant Acryli
           Outdoor Decorative Accessories Garden Decoration Pendant Stained Glass Birds on A Wire Window                 Indoor and Outdoor Decorative Accessories Garden Decoration Pendant                                          Shipping, arrives in 3+ days
           Panel Gamer                                                                                                   Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days




https://www.walmart.com/ip/USUPDD-Cute-Car-Accessories-Purple-Car-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9511214338                                                                                                                                                 2/3
9/19/24, 3:47 PM
                         Case: 1:24-cv-11674USUPDD
                                              Document              #: 6-5 Filed: 11/19/24 Page 64 of 685 PageID #:117
                                                   Cute Car Accessories (Purple), Car Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Report:     Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/USUPDD-Cute-Car-Accessories-Purple-Car-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9511214338                          3/3
9/19/24, 3:47 PM
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 65 of 685 PageID #:118
                                                             Review your order - Walmart.com




                        Free shipping, arrives by Wed, Oct 2
                                                                                                                                                     Place order for $4.84

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $4.39
                                                                                                                                Shipping                                                                      Free
          Delivery instructions (optional)                                                                               Add
                                                                                                                                Estimated taxes                                                               $0.45
          Add access codes or other necessary information.


                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details             Foundation’s Acres for America program with
                                                                                                                                         a $0.16 donation?
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
          Arrives by Wed, Oct 2                                                                                        1 item
                                                                                                                                         land for wildlife and increase public access to the great
                                                                                                                                         outdoors.
          Sold and shipped by UsDCYM
          Free shipping

                            USUPDD Cute Car Accessories (Purple), Car                                                             Donate a whole dollar to National Fish and Wildlife 
                            Decor Dream Pendant Car Decorative Pendant…                                                           Foundation (NFWF)

                                                               $4.39                                                                 $1.00            $2.00            $5.00
                                                                                            Remove               1       

                                                                                                                                Estimated total                                                         $4.84


                                                                                                                                Have a promo code?

                        Payment method


                            We'll look for smart ways to pay
                            We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                          $4.84

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




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          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/19/24, 3:47 PM
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 66 of 685 PageID #:119
                                                             Review your order - Walmart.com




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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
2024/9/30 17:20
                              Case: 1:24-cv-11674    Document #: 6-5 Filed: 11/19/24 Page 67 of 685 PageID #:120
                                              SHIMELE Car Decorative Pendant, Dreamcatcher Pendant, Acrylic Flat Hanging Ornament, Auto Rearview Mirror Decoration - Walmart.com




            SHIMELE
            SHIMELE Car Decorative Pendant, Dreamcatcher Pendant, Acrylic Flat Hanging Ornament, Auto Rearview Mirror Decoration
          (No ratings yet)

            Free 30-day returns



         $0.77
            Price when purchased online 



                                                                            Buy now

                                                                           Add to cart


            Size: 3.15" x 3.15" x 0.15"

                                          3.15" x 3.15" x 0.15"
                                                 $0.77

            Actual Color: Purple




            How do you want your item?



                                                            Shipping                                         Pickup                                                            Delivery
                                                          Arrives Oct 17                                   Not available                                                      Not available
                                                              $4.99



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by SHIMELE |  Pro Seller 

                    5 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                            Add to list                                                                   Add to registry


                                                                                                                                                                                              
                                                                                                                                                                                              




                                                                                                                                                                    




                    +   3
                   View all




https://www.walmart.com/ip/SHIMELE-Car-Decorative-Pendant-Dreamcatcher-Pendant-Acrylic-Flat-Hanging-Ornament-Auto-Rearview-Mirror-Decoration/7334069401?classType=VARIANT&from=/search            1/3
2024/9/30 17:20
                             Case: 1:24-cv-11674    Document #: 6-5 Filed: 11/19/24 Page 68 of 685 PageID #:121
                                             SHIMELE Car Decorative Pendant, Dreamcatcher Pendant, Acrylic Flat Hanging Ornament, Auto Rearview Mirror Decoration - Walmart.com




         About this item


            Product details
                                                                                                                                                                                                                                                                                       
            Features:

                  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them
                  easy to display on walls, curtains or any other, making them a visual impact for your home decor.

                  2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and
                  abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized artistic .

                  3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the
                  beauty and craftsmanship of these pendants and feel the warmth of your love and attention.

                  4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a
                  place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .

                  5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch
                  your home space filled with elegance and refinement.

            Product Description:

            Product Specifications:

            Material: Acrylic

            Color: Purple

            size: 8*8*0.37cm

            Package includes:

            1 pendant

                  High-quality material with good durability, able to withstand daily use and long time wear and tear.
                  Comfortable and pleasant to use experience, giving you a kind and warm feeling.
                  Wide range of uses to meet your needs and lifestyle.
                  Aesthetically pleasing and complements your home style, enhances the visual effect of the space and creates a cosy and welcoming atmosphere.
                  Good quality and inexpensive, perfect for gifting to friends and family.

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Brand
            SHIMELE

            Assembled Product Weight
            0.11 lb

            Manufacturer
            SHIMELE Home

            Manufacturer Part Number
            SHIMELE Home & Decoration


            More details




            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
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            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




            Warnings
                                                                                                                                                                                                                                                                                       
                WARNING: None



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         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet



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           Clearance                                                                                                     Clearance                                                                                                   Clearance



                                                                                                                                                                                                                                                            




           Add                                                                                                          Add                                                                                                        Add

          Now $5.38 $6.12 +$1.99 shipping                                                                               Now $2.42 $2.69 +$1.99 shipping                                                                             Now $0.99 $2.99 +$4.99 shipping



https://www.walmart.com/ip/SHIMELE-Car-Decorative-Pendant-Dreamcatcher-Pendant-Acrylic-Flat-Hanging-Ornament-Auto-Rearview-Mirror-Decoration/7334069401?classType=VARIANT&from=/search                                                                                                     2/3
2024/9/30 17:20
                             Case: 1:24-cv-11674    Document #: 6-5 Filed: 11/19/24 Page 69 of 685 PageID #:122
                                             SHIMELE Car Decorative Pendant, Dreamcatcher Pendant, Acrylic Flat Hanging Ornament, Auto Rearview Mirror Decoration - Walmart.com


          Naittoop Summer Clearance Home Decor, Home Decor Clearance, Home Decor Aesthetics Dream        Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat Charm Accessory for a Touch of Whimsy on the   AOMXGD Dream Pendant Car Decorative Pendant Acr
          Pendant Car Decorative Pendant Acrylic Flat Pendant                                            Road, Hanging Ornaments Sale Savings(Purple)                                                 Purple
          Shipping, arrives in 3+ days                                                                   Shipping, arrives in 3+ days                                                                 Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)




            Related pages

            Tesla Fenders                                                                                                               Tesla Interior Lights

            Tesla Sun Visor                                                                                                             Tesla License Plate Frames

            Tesla Grilles


         Party & Occasions / Christmas Trees & Christmas Decor / Christmas Decor / Indoor Christmas Decor / Christmas Ornaments / Character Ornaments




https://www.walmart.com/ip/SHIMELE-Car-Decorative-Pendant-Dreamcatcher-Pendant-Acrylic-Flat-Hanging-Ornament-Auto-Rearview-Mirror-Decoration/7334069401?classType=VARIANT&from=/search                                                                  3/3
2024/9/30 17:21
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 70 of 685 PageID #:123
                                                             Review your order - Walmart.com




                        Shipping, arrives by Wed, Oct 16


         steven howard                                                                                                             Edit                        Place order for $6.35
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                           By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                           Use

         Delivery instructions (optional)                                                                                          Edit
                                                                                                                                          Subtotal (1 item)                                                $0.77
         House
                                                                                                                                          Seller shipping                                                  $4.99


         Items details                                                                                                   Hide details     Estimated taxes                                                  $0.59


         Arrives by Wed, Oct 16                                                                                                 1 item
                                                                                                                                                   Want to support the National Fish and Wildlife 
         Sold and shipped by SHIMELE |  Pro Seller                                                                                               Foundation’s Acres for America program with
         $4.99 seller shipping fee                                                                                                                 a $0.65 donation?
                                                                                                                                                   Spark Good Round Up is an easy way to help conserve
                           SHIMELE Car Decorative Pendant, Dreamcatcher                                                                            land for wildlife and increase public access to the great
                           Pendant, Acrylic Flat Hanging Ornament, Auto…                                                                           outdoors.
                           Size: 3.15x3.15x0.15in, Actual Color: Purple

                                                               $0.77
                                                                                                                                            Donate a whole dollar to National Fish and Wildlife 
                                                                                                   Remove                  1               Foundation (NFWF)


                                                                                                                                               $1.00           $2.00         $5.00



                                                                                                                                          Estimated total                                                 $6.35

                       Payment method
                                                                                                                                          Have a promo code?



                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                                        $6.35

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https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                          1/2
2024/9/30 17:21
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 71 of 685 PageID #:124
                                                            Review your order - Walmart.com




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                    2/2
9/19/24, 3:22 PM
                              Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 72 of 685 PageID #:125
                                                        PeiBai Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                             Comfort & confidence                                                                                                                                                                    Sponsored 




             PeiBaiShun
             PeiBai Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free shipping       Free 30-day returns



          $6.64
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Actual Color: Purple




                              $6.64




             How do you want your item?



                                                        Shipping                                                                             Pickup                               Delivery
                                                       Arrives Oct 5                                                                      Not available                          Not available
                                                            Free



             Delivery to 1 N La Salle St



                   Sold and shipped by PeiBaiShun
                    View seller information

                    Free 30-day returns Details




                                                                             Add to list                                                                   Add to registry


                                                       Sponsored

                                                       $79.97
                                                       Jessica Galbreth Mauve Dream Fairy Sterling Silver Pendant Peter Stone Jewelry

                                                       3+ day shipping




                                                                                                                                                                                                                           




                                                                                                                                                                    




            Reduced price                                                                                               Best seller



                                                                                                                                                                                                      




           Sponsored

           Now $19.00 $104.00                                                                                          $5.01                                                   $4.64
           Options from $19.00 – $22.00
                                                                                                                       14K Herringbone Flat Necklace 20"                       4 Piece Silver Tone Multi Chain Necklaces
                                                                                                                        115                                                25



https://www.walmart.com/ip/PeiBai-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10546202946                                                                                                                            1/3
9/19/24, 3:22 PM
                             Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 73 of 685 PageID #:126
                                                       PeiBai Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


           JeenMata Gift multipack 6 pc Women Necklace Pendant Jewelry Gift, Choker, Snake Chain, Curb                   Shipping, arrives in 3+ days                                                                                Save with

           Link, Trendy Layered Necklace, Adjustable Necklace Gift Set for Women
                                                                                                                                                                                                                                     Shipping, arrives in 3+ days
            110

           Save with




          About this item


             Product details
                                                                                                                                                                                                                                                                                        

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:

                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls,
                   curtains or any other, making them a visual for your home decor.

                   2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and
                   abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized .

                   3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and
                   craftsmanship of these pendants and feel the warmth of your and attention.

                   4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life. Turn your living space into a place of
                   and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .

                   5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your
                   home space filled with and refinement.

             Product Description:

             Product Specifications:

             Material: Acrylic

             Color: Purple

             size: 8*8*0.37cm

             Package includes:

             1 pendant

                   Good quality: The product comes from a good manufacturer and has good quality
                   Fair price: The product is of good quality and affordable price
                   Service Guarantee: We will answer your questions as soon as possible and issue a refund as soon as there are any quality issues with the product

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Gender
             Unisex

             Brand
             PeiBaiShun

             Material
             Acrylic

             Age Group
             Adult, Teen



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
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               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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              Build the galaxy




                                                                                                                                                                                                                                                                                Sponsored 




            Reduced price




https://www.walmart.com/ip/PeiBai-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10546202946                                                                                                                                                                                       2/3
9/19/24, 3:22 PM
                          Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 74 of 685 PageID #:127
                                                    PeiBai Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



                                                                                                                                                                                                                               




           Now $3.60 $5.20 +$2.60 shipping                                                                $2.00 +$4.99 shipping                                                                          $5.98 +$1.89 shipping
           Artificial Holly Garland Outdoor Decorated Christmas Garland Pie Beads Chain Beads for Vases   NGHnuifg Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant      ZAROYEAX Funny Acrylic Animal Decoration Pendant
           Antique Stained Glass Window Panel Funny Acrylic Animal Decoration Pendant Creative 2D         Indoor And Outdoor Decorative Accessories Lovebird Eggs Hanging Teardrop Glass Stained Glass   Indoor and Outdoor Decorative Accessories Garden De




              Report:     Report seller       Report suspected stolen goods (to CA Attorney General)


          Jewelry / Womens Jewelry & Watches / Womens Jewelry / Womens Necklaces / Fashion Necklaces & Pendants




https://www.walmart.com/ip/PeiBai-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10546202946                                                                                                                                                        3/3
9/19/24, 3:23 PM
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 75 of 685 PageID #:128
                                                             Review your order - Walmart.com




                        Free shipping, arrives by Sat, Oct 5
                                                                                                                                                     Place order for $7.32

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $6.64
                                                                                                                                Shipping                                                                      Free
          Delivery instructions (optional)                                                                               Add
                                                                                                                                Estimated taxes                                                               $0.68
          Add access codes or other necessary information.


                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details             Foundation’s Acres for America program with
                                                                                                                                         a $0.68 donation?
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
          Arrives by Sat, Oct 5                                                                                        1 item
                                                                                                                                         land for wildlife and increase public access to the great
                                                                                                                                         outdoors.
          Sold and shipped by PeiBaiShun
          Free shipping

                            PeiBai Dream Pendant Car Decorative Pendant                                                           Donate a whole dollar to National Fish and Wildlife 
                            Acrylic Flat Pendant                                                                                  Foundation (NFWF)
                            Actual Color: Purple
                                                                                                                                     $1.00            $2.00            $5.00
                                                               $6.64

                                                                                            Remove               1       
                                                                                                                                Estimated total                                                          $7.32


                                                                                                                                Have a promo code?



                        Payment method


                            We'll look for smart ways to pay
                            We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $7.32

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/19/24, 3:23 PM
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 76 of 685 PageID #:129
                                                             Review your order - Walmart.com




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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/24/24, 2:25 PM
                                Case: 1:24-cv-11674   Document #: 6-5 Filed: 11/19/24 Page 77 of 685 PageID #:130
                                                 YFKFYTG Clearance Sales Today Deals Prime Home Decor,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Cook with Clean Ceramic™                                                                                                                                                                                                      Sponsored 




           Clearance

             YFKFYTG
             YFKFYTG Clearance Sales Today Deals Prime Home Decor,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

              Free 30-day returns



          Now $2.99 $3.39 
           You save $0.40
             Price when purchased online 



                                                                         Buy now

                                                                        Add to cart



             How do you want your item?



                                                      Shipping                                                                                      Pickup                                                                   Delivery
                                                     Arrives Oct 9                                                                            Not available                                                                Not available
                                                         $2.99



             Delivery to 3200 N Lake Shore Dr



                   Sold and shipped by DDGXJGI

                     4 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                           Add to list                                                                                                               Add to registry


                                                     Sponsored

                                                     $59.00
                                                     Elk Home 12-Inch Wide Star Pendant, Traditional, Oil Rubbed Bronze

                                                     3+ day shipping




                                                                           Add



                                                                                                                                                                                                                                                                    




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                     +   3
                    View all




                                                                                                                                                                                                                                                      




            Add                                                                                                      Add                                                                                                Add

           $85.96                                                                                                    $66.00                                                                                              $61.00
           DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom Living Room US                    Indoor Modern LED Round Acrylic Ceiling Lamp Warm Light Personality Bedroom Modern LED              Miumaeov Modern Rectangle Ceiling Light Fixture Acr
           Shipping, arrives in 3+ days                                                                              Round Ceiling Lamp Warm Light Living Room Acrylic Lighting Fixture Round Ceiling Light Acrylic      Bedroom Living Room Decoration
                                                                                                                     LED Pedant Lamp                                                                                     Shipping, arrives in 3+ days
                                                                                                                      1
                                                                                                                     Shipping, arrives in 3+ days




https://www.walmart.com/ip/YFKFYTG-Clearance-Sales-Today-Deals-Prime-Home-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9617850568                                                                                                                           1/3
9/24/24, 2:25 PM
                             Case: 1:24-cv-11674   Document #: 6-5 Filed: 11/19/24 Page 78 of 685 PageID #:131
                                              YFKFYTG Clearance Sales Today Deals Prime Home Decor,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


            Product details
                                                                                                                                                                                                                                                                                         
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
            display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
            and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
            personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
            the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated,
            artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been
            carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
            Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                   YFKFYTG Clearance Sales Today Deals Prime Home Decor,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   Please be free to contact us if you have any questions, we promise that we will give you all satisfied solution.By the way, please check with our item description very carefully, for saving you time and get exactly what you want, thank you and enjoy your
                   shopping.
                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
                   display on walls, curtains or any other, making them a visual impact for your home decor.
                   2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract
                   art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized artistic .
                   3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and
                   craftsmanship of these pendants and feel the warmth of your love and attention.
                   4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a
                   place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .
                   5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch
                   your home space filled with elegance and refinement.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                         
            Color
            Purple

            Brand
            YFKFYTG



            Directions
                                                                                                                                                                                                                                                                                         
            Fabric Care Instructions
            Hand Wash



            Warranty
                                                                                                                                                                                                                                                                                         
            Warranty information
            Please be free to contact us if you have any questions, we promise that we will give you all satisfied solution. By the way, please check with our item description very carefully, for saving you time and get exactly what you want, thank you and enjoy your shopping.


            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the…
            'C t t ll ' f t           th thi d    t M k t l        ll ' i f       ti          d       t th it '           t t        i t       h

            More details




            Warnings
                                                                                                                                                                                                                                                                                         
                 WARNING: None



               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                                 Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Timeless style for him




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https://www.walmart.com/ip/YFKFYTG-Clearance-Sales-Today-Deals-Prime-Home-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9617850568                                                                                                                                             2/3
9/24/24, 2:25 PM
                            Case: 1:24-cv-11674   Document #: 6-5 Filed: 11/19/24 Page 79 of 685 PageID #:132
                                             YFKFYTG Clearance Sales Today Deals Prime Home Decor,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



                                                                                                                                                                                             




                 Options                                                                                   Add                                                             Options

                                                     +3 options                                                                                                                                                +2 options

           $8.29 +$2.00 shipping                                                                          $2.09 +$3.99 shipping                                       $6.89
           DssFDGR Funny Acrylic Animal Decoration Pendant Novel 2D Butterfly Decoration Pendant Indoor   Dream Pendant Car Decorative Pendant Acrylic Flat Pendant   GARENAS Car Decor Funny Acrylic Animal Decoration
           and Outdoor Decorative Accessories Garden Decoration Pendant Washable                          Shipping, arrives in 3+ days                                Outdoor Decorative Accessories Garden Decoration P
           Shi    i    i   i 3+ d                                                                                                                                     Shi    i    i   i 3+ d




                 Report:    Report seller    Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/YFKFYTG-Clearance-Sales-Today-Deals-Prime-Home-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9617850568                                                                        3/3
9/24/24, 2:26 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 80 of 685 PageID #:133
                                                            Review your order - Walmart.com




                                                                                                                                                       You're saving $0.40 today!
                        Shipping, arrives by Wed, Oct 9

                                                                                                                                                    Place order for $6.59
          Michael Boldt                                                                                                 Edit       By placing this order, you agree to our Privacy Policy and Terms of Use
          3200 N Lake Shore Dr, Apt 701, Chicago, IL 60657

                                                                                                                               Subtotal (1 item)                                                         $3.39
          Delivery instructions (optional)                                                                              Edit   Savings                                                                -$0.40
          Apartment                                                                                                                                                                                      $2.99


                                                                                                                               Seller shipping                                                               $2.99
          Items details                                                                                        Hide details

                                                                                                                               Estimated taxes                                                               $0.61
          Arrives by Wed, Oct 9                                                                                       1 item

          Sold and shipped by DDGXJGI
          $2.99 seller shipping fee                                                                                                     Want to support the National Fish and Wildlife 
                                                                                                                                        Foundation’s Acres for America program with
                           YFKFYTG Clearance Sales Today Deals Prime                                                                    a $0.41 donation?
                           Home Decor,Dream Pendant Car Decorative…                                                                     Spark Good Round Up is an easy way to help conserve
                                                                                                                                        land for wildlife and increase public access to the great
                                                                                                                                        outdoors.
                           $0.40 from savings

                                                               $2.99
                                                                 $3.39
                                                                                                                                 Donate a whole dollar to National Fish and Wildlife 
                                                                                            Remove              1               Foundation (NFWF)


                                                                                                                                    $1.00            $2.00            $5.00



                                                                                                                               Estimated total                                                          $6.59

                       Payment method
                                                                                                                               Have a promo code?



                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 1950                                                                            $6.59

             + Add new payment                                                                       Change payment




                              $15 cash back when you spend $15+                                             Sign up


                        Add any credit or debit card & stack cash back




                      Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                            1/2
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                        Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 81 of 685 PageID #:134
                                                             Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
8/28/24, 3:10 PM
                                Case: 1:24-cv-11674 Document                #: 6-5 Filed: 11/19/24 Page 82 of 685 PageID #:135
                                                     Big Savings! Anckoeil Home Decoration Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Take control of your skin                                                                                                       Sponsored 




             Anckoeil
             Big Savings! Anckoeil Home Decoration Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

              Free 30-day returns



          $3.69
             Price when purchased online 



                                                                             Buy now

                                                                            Add to cart



             How do you want your item?



                                                            Shipping                                                                                Pickup                                                                      Delivery
                                                       Arrives Sep 13                                                                         Not available                                                                   Not available
                                                            $1.99



             Delivery to 1 N La Salle St



                   Sold and shipped by Anckoeil Fashion Home

                     1 seller review
                    View seller information

                    Free 30-day returns Details




                                                                               Add to list                                                                                                              Add to registry


                                                       Sponsored

                                                       $20.37
                                                       Better Homes & Gardens 57" Architectural Pendant Light, Adjustable Cord, G40 LED Decorative bulb
                                                        45

                                                           2-day shipping




                                                                                              Add

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                     +   3
                    View all




                                                                                                                                                                                                                                                         




              Options                                                                                                  Add                                                                                                  Add

           $7.99 +$0.99 shipping                                                                                     $12.49                                                                                                 $14.99
           AaSFJEG Colorful Butterflies Acrylic Decoration Pendant Funny 2D Decoration Pendant Gift                  Maxpert Weekly Pill Organizer Case - 7 Day AM PM Push Button Pill Planner - Easy Open Arthritis        MEDca 7 Day AM PM Pill Organizer Large Painfully Pla
           Pendant For Party Decoration The Pendant Gift 2024                                                        Friendly Medicine Organizer - Large Pill Case for Medication, Vitamins, Fish Oil, Supplements          Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days                                                                               3
                                                                                                                     Shipping, arrives in 3+ days




https://www.walmart.com/ip/Big-Savings-Anckoeil-Home-Decoration-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6667805973                                                                                                                                               1/3
8/28/24, 3:10 PM
                              Case: 1:24-cv-11674 Document                #: 6-5 Filed: 11/19/24 Page 83 of 685 PageID #:136
                                                   Big Savings! Anckoeil Home Decoration Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
             our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   VIBRANT VISUAL BALANCE: These home decorations are colorful and various, which can create a beautiful visual balance for your living space.
                   EXQUISITE CRAFTSMANSHIP: Our decorations are crafted with exquisite craftsmanship and delicate appearance, which can add some artistic flavor to your home.
                   Material: our home decorations are made of high quality materials, safe and reliable, you can rest assured to buy.
                   BEST GIFT: These decorations are of high quality and low price, which is the best gift for your family, friends and children, or as a housewarming gift for your friends.
                   If you have any questions about the products, please do not hesitate to contact us!

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Size
             Free Size

             Brand
             Anckoeil



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
                 WARNING: None




                                                                                                                                                                                                                                      Clearance



                                                                                                                                                                                                                                                                 




            Add                                                                                                            Add                                                                                                      Add

           $89.00                                                                                                         $7.99 +$1.98 shipping                                                                                     Now $14.19 $15.79 +$6.96 shipping
           DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom Living Room US                         iju7gthy 4th of July Indoor Sun Acrylic Pendant Light Refraction Home Decor Pendant Fun Gift For          Ynlkorvg Ornaments Clearance, Lampshade Home Han
           Shipping, arrives in 3+ days                                                                                   Window Decoration                                                                                         Home Decor Home Decor
                                                                                                                          Shipping, arrives in 3+ days                                                                              Shipping, arrives in 3+ days




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet
          Be the first to write a review

             Write a review




                                                                                                 Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.              Learn more.




https://www.walmart.com/ip/Big-Savings-Anckoeil-Home-Decoration-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6667805973                                                                                                                                                        2/3
8/28/24, 3:10 PM
                           Case: 1:24-cv-11674 Document                #: 6-5 Filed: 11/19/24 Page 84 of 685 PageID #:137
                                                Big Savings! Anckoeil Home Decoration Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Celebrate with easy meals




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             Report:      Report seller     Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




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8/28/24, 3:10 PM
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 85 of 685 PageID #:138
                                                             Review your order - Walmart.com




                        Shipping, arrives by Fri, Sep 13
                                                                                                                                                     Place order for $6.26

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $3.69

                                                                                                                                Seller shipping                                                               $1.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.58



                                                                                                                                Estimated total                                                          $6.26
          Items details                                                                                         Hide details

                                                                                                                                Have a promo code?
          Arrives by Fri, Sep 13                                                                                       1 item                                                                                  
          Sold and shipped by Anckoeil Fashion Home
          $1.99 seller shipping fee

                            Big Savings! Anckoeil Home Decoration Dream
                            Pendant Car Decorative Pendant Acrylic Flat…

                                                               $3.69

                                                                                            Remove              1       




              Payment method

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.26

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
8/28/24, 3:10 PM
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 86 of 685 PageID #:139
                                                             Review your order - Walmart.com




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
                   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 87 of 685 PageID #:140


 Yishangzhng
 Yishangzhng Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Room Decor for Men, Kitchen Appliances


  Free 30-day returns 




$2.80
 Price when purchased online 



                                                               Buy now

                                                              Add to cart


 Actual Color: Purple

                                  Purple
                                  $2.80




 How you'll get this item:



                                            Shipping                                                                          Pickup                                               Delivery
                                           Arrives Oct 16                                                                   Not available                                         Not available
                                                $3.99



 1 N LA SALLE ST Change

 Arrives by Wed, Oct 16 | More options

 Shipping fee $3.99



      Sold and shipped by Yishangzhng

         1 seller review
        View seller information

        Free 30-day returns Details




                                                                 Add to list                                                                                  Add to registry


                                           Sponsored

                                           $17.58
                                           DIY Diamond Pendant, Diamond Art Painting Butterfly Acrylic Home Decoration Pendant (Single-Sided Diamond)-SS003

                                            3+ day shipping




                                                                                   Add



                                                                                                                                                                                                      
                                                                                                                                                                                                      




                                                                                                                                                                        




         +     3
        View all




 Best seller



                                                                                                                                                                                                




 Add                                                                                                    Add                                                                     Add
Sponsored
                   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 88 of 685 PageID #:141
$10.99                                                                                                        $11.99                                                                                                     $24.99 +$5.99 shipping
Likegreen Sustain Pedal for Pianos Electronic Keyboard Universal Design Black SP-1                            Unique Bargains Pair Black Rubber Nonslip Motorcycle Front Left Right Brake Pedal Cover for CG             Nektar NP-2 Universal Metal Footswitch Pedal
 2                                                                                                       Shipping, arrives in 3+ days                                                                               Shipping, arrives in 3+ days

Save with

Shipping, arrives in 2 days




About this item


  Product details
                                                                                                                                                                                                                                                                             

  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
  Features:

       1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls,
       curtains or any other, making them a visual for your home decor.

       2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and
       abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized .

       3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and
       craftsmanship of these pendants and feel the warmth of your and attention.

       4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life. Turn your living space into a place of
       and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .

       5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your
       home space filled with and refinement.

  Product Description:

  Product Specifications:

  Material: Acrylic

  Color: Purple

  size: 8*8*0.37cm

  Package includes:

  1 pendant

       Yishangzhng Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Room Decor for Men, Kitchen Appliances
       Quality Without Worry: Made with safe quality assurance, you will get full satisfaction from this order.
       Forward-Thinking: Innovation is the power that drives us forward. Contemporary design that exemplifies value and quality.
       Affordable Price: Although the product does not have fancy performance, it has the necessary features and is affordable.
       Refund Promise: Your smile is the greatest affirmation to us. If you found anything dissatisfied with the item please contact us for full refund.
       for the home;home essential;home products;apartment essential;home accessories;home product;new home essential;home essential for new apartment;home items;essential for new home;household essential for new home;new home essential must
       haves;house items for new home;house items;small apartment essential;must have home essential;house essential;home organizer
       new home needs;apartment organization;apartment must haves;home things;house essential for new home;apartment accessories;new home must haves;home organizers;things for home;house accessories for home;house organization;apartment organization
       must haves;home necessities;house essential must haves;house essential;home organization and storage;apartment stuff;home storage and organization
       household essential;house necessities;household items for new home;kitchen needs for new home;new apartment essential;home essential for new home;must haves for home;house gadgets;modern home essential;house needs;home organizers and
       storage;home supplies;first home essential;housing essential;stuff for apartments;apartments essential;home organizing

       We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



  Specifications
                                                                                                                                                                                                                                                                             
  Assembled Product Dimensions (L x W x H)
  3.15 x 3.15 x 0.15 Inches



  Warranty
                                                                                                                                                                                                                                                                             
  Warranty information
  Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
  'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




    Report incorrect product information




                                                                                                                                                                                                              




 Add                                                                                        Add                                                                                       Add

$14.23                                                                                     $14.47                                                                                     $12.73
DIY Diamond Pendant Diamond Art Painting Cardinal Bird Creative Design Acrylic             Moon Dream Catchers with Crystal Tree of Life Dream Catcher Pendant Garden Sun             DIY Diamond Pendant Diamond Art Painting Cardinal Bird Creative Design Acrylic
Hollow Home Decoration Pendant (Single Side Diamond)                                       Catcher Hanging Decoration Gift for Girls,Boys, Kids                                       Hollow Home Decoration Pendant (Single Side Diamond)

 3+ day shipping                                                                            3+ day shipping                                                                            3+ day shipping




Customer ratings & reviews
 (0 reviews)
                   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 89 of 685 PageID #:142

This item does not have any reviews yet
                                                                             Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.   Learn more.




                                                                                                   Clearance                                                                                  Clearance



                                                                                                                                                                                                                          




 Add                                                                                              Add                                                                                       Add

$1.81 +$3.99 shipping                                                                             Now $4.56 $5.12 +$2.00 shipping                                                            Now $1.29 $1.49 +$4.99 shipping
YuXinYang Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant,Home Decor,Room         IBaodan Home Decor Clearance sale Housewarming Gift Dream Pendant Car Decorative Pendant   PNNJI Room Decor - Dream Pendant Car Decorative P
Decor                                                                                             Acrylic Flat Pendant                                                                       Decorations for Home Clearance(Z)
Shipping, arrives in 3+ days                                                                      Shipping, arrives in 3+ days                                                               Shipping, arrives in 3+ days




   Report:        Report seller    Report suspected stolen goods (to CA Attorney General)
             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 90 of 685 PageID #:143



              Shipping, arrives by Tue, Oct 15
                                                                                                                                                     Place order for $7.49

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                                            Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $2.80

                                                                                                                                Seller shipping                                                               $3.99
Delivery instructions (optional)                                                                                         Edit

House
                                                                                                                                Estimated taxes                                                               $0.70




                                                                                                                                         Want to support the National Fish and Wildlife 
Items details                                                                                                   Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.51 donation?
Arrives by Tue, Oct 15                                                                                                1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
Sold and shipped by Yishangzhng
                                                                                                                                         outdoors.
$3.99 seller shipping fee

                 Yishangzhng Dream Pendant Car Decorative
                 Pendant Acrylic Flat Pendant, Room Decor for…                                                                    Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                 Actual Color: Purple

                                                    $2.80                                                                            $1.00            $2.00            $5.00

                                                                                         Remove                  1      
                                                                                                                                Estimated total                                                          $7.49


                                                                                                                                Have a promo code?


             Payment method


                 We'll look for smart ways to pay
                 We’ll suggest payment methods that work best with eligible items in your cart.



                Ending in 9192                                                                                       $7.49

   + Add new payment                                                                               Change payment




            Free 30-day trial




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much more*
*$35 order min. Restrictions apply.

Try Walmart+ free for 30 days




        Text updates for this order


      Send to (xxx) xxx-5923
      Send to a different phone number

If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
preference.
Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
rates may apply. By continuing, you agree to our Mobile Alert Terms.
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 91 of 685 PageID #:144
2024/9/30 17:10
                              Case: 1:24-cv-11674         Document #: 6-5 Filed: 11/19/24 Page 92 of 685 PageID #:145
                                          Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat Charm Accessory for a Touch of Whimsy on the Road, Hanging Ornaments Sale Savings(Purple) - Walmart.com




           Clearance

            Rwvbm
            Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat Charm Accessory for a Touch of Whimsy on the Road, Hanging Ornaments Sale Savings(Purple)
          (No ratings yet)

             Free 30-day returns



         Now $2.42 $2.69 
          You save $0.27
            Price when purchased online 



                                                                        Buy now

                                                                      Add to cart



            How do you want your item?



                                                    Shipping                                                              Pickup                                                                 Delivery
                                                  Arrives Oct 17                                                     Not available                                                              Not available
                                                       $1.99



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by WKWeiS

                    80 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                       Add to list                                                                                       Add to registry




                                                                                                                                                                                                                                         




                                                                                                                                                                                    




                      +   3
                   View all




           In 50+ people's carts                                                                                                                                                              Reduced price



                                                                                                                                                                                                                          




           Add                                                                               Options                                                                                           Options

                                                                                                                                                 +1
          $4.47 $4.47/in                                                                   $9.41                                                                                             Now $6.09 $9.09 +$3.00 shipping
                                                                                           More options from $5.82
          Bling Ring Auto Interior Jewelry Applies to Most Vehicle Interiors - 3 Pack                                                                                                        Hloma 2Pcs Shiny Rhinestones Car Vehicle Interior Doo
                                                                                           SPRING PARK 2Pcs Shiny Rhinestones Car Vehicle Interior Door Lock Knob Pull Pins Decoration
           87                                                                                                                                                                           Shipping, arrives in 3+ days

          Save with                                                                        Shipping, arrives in 3+ days


          Pickup today
          Delivery today
          Shipping, arrives in 3+ days




         About this item



https://www.walmart.com/ip/Rwvbm-Dreamy-Drive-Acrylic-Car-Pendant-Flat-Charm-Accessory-for-a-Touch-of-Whimsy-on-the-Road-Hanging-Ornaments-Sale-Savings-Purple/6750101110?classType=REGULAR&athbdg=L1400&from=/search                                1/3
2024/9/30 17:10
                             Case: 1:24-cv-11674         Document #: 6-5 Filed: 11/19/24 Page 93 of 685 PageID #:146
                                         Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat Charm Accessory for a Touch of Whimsy on the Road, Hanging Ornaments Sale Savings(Purple) - Walmart.com



            Product details
                                                                                                                                                                                                                                                                                   
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
            to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
            variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
            create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
            They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
            Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
            our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
            refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat Charm Accessory for a Touch of Whimsy on the Road, Hanging Ornaments Sale Savings
                           Our product philosophy: Let you buy with confidence, use with joy, and serve your life and home with high quality!
                     Stylish & Functional Design: Crafted with a perfect blend of elegance and practicality, this home product seamlessly integrates into any American household. Making it a must-have for modern living.
                     Versatile Use: Whether you're looking to spruce up your living room, bedroom, or office, this versatile piece fits right in. Offering multiple uses and configurations to suit your lifestyle and preferences.
                        The most suitable gift to give to your beloved TA is to express your love. TA will definitely love this gift and create a festive atmosphere. It is the best choice.
                        Limited-Time Promotion Deals: Premium quality, unbeatable sale savings clearance on home upgrades. Act fast!
                        Customers rest assured is our purpose, please rest assured that the purchase, there is a problem at any time to contact us~

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                   
            Color
            Purple,Free Size

            Brand
            Rwvbm

            Manufacturer Part Number
            HANGINGORNAMENTS



            Directions
                                                                                                                                                                                                                                                                                   
            Fabric Care Instructions
            Hand washing or machine washing. Can be dried, not bleached. When washing brightly colored clothes for the first time, it is recommended to add a small amount of salt to water for 30 minutes, which can effectively prevent the clothes from fading.



            Warranty
                                                                                                                                                                                                                                                                                   
            Warranty information
            Please be free to contact us if you have any questions, we promise that we will give you all satisfied solution. By the way, please check with our item description very carefully, for saving you time and get exactly what you want, thank you and enjoy your shopping.
            product problems. We will be happy to solve the problem for you and avoid unnecessary refund processes. We are committed to ensuring your satisfaction, thank you for your support and trust!
            …
            Pl     b         th t th         t t         it     ff d f      l b thi d     t M k t l            ll        diff f      th     di l d i thi       ti (if    ) T      fi          t t             it     ff d f      l b thi d     t M k t l         ll    l        th

            More details




            Warnings
                                                                                                                                                                                                                                                                                   
                WARNING: None



              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet


                                                                                                Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




           Clearance



                                                                                                                                                                                                                                                                   




           Add                                                                                                           Add                                                                                                         Add

          Now $0.99 $2.99 +$4.99 shipping                                                                                $3.37 +$1.89 shipping                                                                                        $6.59 +$0.99 shipping
          AOMXGD Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Home Decor on Clearance,                     Cevemin Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Car Hanging Ornament for                  Keeplus Dream Pendant Car Decorative Pendant Acryl
          Purple                                                                                                         DIY Crafting                                                                                                 Home Decoration
          Shipping, arrives in 3+ days                                                                                   Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/Rwvbm-Dreamy-Drive-Acrylic-Car-Pendant-Flat-Charm-Accessory-for-a-Touch-of-Whimsy-on-the-Road-Hanging-Ornaments-Sale-Savings-Purple/6750101110?classType=REGULAR&athbdg=L1400&from=/search                                                                      2/3
2024/9/30 17:10
                        Case: 1:24-cv-11674         Document #: 6-5 Filed: 11/19/24 Page 94 of 685 PageID #:147
                                    Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat Charm Accessory for a Touch of Whimsy on the Road, Hanging Ornaments Sale Savings(Purple) - Walmart.com


             Report:    Report seller     Report suspected stolen goods (to CA Attorney General)


         Auto & Tires / Automotive Replacement Parts / Replacement Auto Parts




https://www.walmart.com/ip/Rwvbm-Dreamy-Drive-Acrylic-Car-Pendant-Flat-Charm-Accessory-for-a-Touch-of-Whimsy-on-the-Road-Hanging-Ornaments-Sale-Savings-Purple/6750101110?classType=REGULAR&athbdg=L1400&from=/search   3/3
2024/9/30 17:14
                        Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 95 of 685 PageID #:148
                                                             Review your order - Walmart.com




                        Shipping, arrives by Wed, Oct 16


         steven howard                                                                                                               Edit                        Place order for $4.86
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                             By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                             Use

         Delivery instructions (optional)                                                                                            Edit
                                                                                                                                            Subtotal (1 item)                                                $2.69
         House
                                                                                                                                            Savings                                                        -$0.27

                                                                                                                                                                                                            $2.42
         Items details                                                                                                     Hide details

                                                                                                                                            Seller shipping                                                      $1.99
         Arrives by Wed, Oct 16                                                                                                    1 item

         Sold and shipped by WKWeiS                                                                                                         Estimated taxes                                                  $0.45
         $1.99 seller shipping fee

                           Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat
                                                                                                                                                     Want to support the National Fish and Wildlife 
                           Charm Accessory for a Touch of Whimsy on the…
                                                                                                                                                     Foundation’s Acres for America program with
                                                                                                                                                     a $0.14 donation?
                           $0.27 from savings                                                                                                        Spark Good Round Up is an easy way to help conserve
                                                                                                                                                     land for wildlife and increase public access to the great
                                                              $2.42
                                                                 $2.69                                                                               outdoors.

                                                                                                    Remove                   1       
                                                                                                                                              Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                              Foundation (NFWF)


                                                                                                                                                 $1.00           $2.00         $5.00


                       Payment method
                                                                                                                                            Estimated total                                                $4.86


                                                                                                                                            Have a promo code?
                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                                          $4.86

            + Add new payment                                                                                  Change payment




                      Free 30-day trial




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         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number

         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.



https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                                1/2
2024/9/30 17:14
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 96 of 685 PageID #:149
                                                            Review your order - Walmart.com


         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                            2/2
9/18/24, 4:10 PM
                              Case: 1:24-cv-11674 DocumentDream
                                                            #: Pendant
                                                                6-5 CarFiled:      11/19/24 Page 97 of 685 PageID #:150
                                                                        Decorative Pendant Acrylic Flat Pendant - Walmart.com


                             Be on the cutting edge                                                                                                                                                                                                             Sponsored 




             LUOzoyuans
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

              Free 30-day returns



          $3.99
             Price when purchased online 



                                                                           Buy now

                                                                         Add to cart


             Actual Color: Purple

                                              Purple
                                              $3.99




             How do you want your item?



                                                        Shipping                                                                                     Pickup                                                                      Delivery
                                                       Arrives Oct 3                                                                           Not available                                                                   Not available
                                                           $3.00



             Delivery to 1 N La Salle St



                   Sold and shipped by LUOzoyuans

                     3 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                             Add to list                                                                                                                 Add to registry


                                                       Sponsored

                                                       $499.99
                                                       Crystorama Lighting Group Car-9206 Carlyn 6 Light 24" Wide Pendant - Black

                                                       3+ day shipping




                                                                               Add



                                                                                                                                                                                                                                                                       




                                                                                                                                                                                                                  




                                                                                                                                                                                                                                                          




            Add                                                                                                       Add                                                                                                   Add
           Sponsored

           Now $11.99 $15.99                                                                                          $24.99                                                                                                 $89.00
           Ceiling Light Fixture with Teardrop Glass Shade Semi Flush Mount Indoor Lighting                           Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White                       DENEST Acrylic LED Chandelier Lamp Ceiling Pendant
           Shipping, arrives in 3+ days                                                                               Shipping, arrives in 3+ days                                                                           Shipping, arrives in 3+ days



https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10169402915                                                                                                                                                                                  1/3
9/18/24, 4:10 PM
                              Case: 1:24-cv-11674 DocumentDream
                                                            #: Pendant
                                                                6-5 CarFiled:      11/19/24 Page 98 of 685 PageID #:151
                                                                        Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                         
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
             or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
             floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
             your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
             feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
             Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
             pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
                   or any other, making them a visual for your home decor.
                   2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract
                   art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized .
                   3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and
                   craftsmanship of these pendants and feel the warmth of your and attention.
                   4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life. Turn your living space into a place of
                   and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .
                   5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your
                   home space filled with and refinement.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                         
             Brand
             LUOzoyuans



             Warranty
                                                                                                                                                                                                                                                                                         
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                         
                 WARNING: None



               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                                 Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              It's more than a toy




                                                                                                                                                                                                                                                                                   Sponsored 




                                                                                                                                                                                                                                                                




            Add                                                                                                             Options                                                                                                     Add

           $3.28                                                                                                          $5.33 +$3.99 shipping                                                                                         $6.12 +$3.99 shipping
           Lilixerw Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                   kitchen decor Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant                SKBEY Decorated Garland Outdoor Flocked Lambs Ear
           Shipping, arrives in 3+ days                                                                                   Indoor And Outdoor Decorative Accessories Garden Decoration Pendant                                           Wedding Ornament Glass Funny Acrylic Animal Decora



https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10169402915                                                                                                                                                                                                 2/3
9/18/24, 4:10 PM
                         Case: 1:24-cv-11674 DocumentDream
                                                       #: Pendant
                                                           6-5 CarFiled:      11/19/24 Page 99 of 685 PageID #:152
                                                                   Decorative Pendant Acrylic Flat Pendant - Walmart.com

                                                                                                       Shipping, arrives in 3+ days   Shipping, arrives in 3+ days




             Report:     Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10169402915                                                                     3/3
9/18/24, 4:10 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 100 of 685 PageID #:153
                                                              Review your order - Walmart.com




                        Shipping, arrives by Thu, Oct 3
                                                                                                                                                       Place order for $7.71

                                                                                                                                     By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                      Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                 Subtotal (1 item)                                                         $3.99

                                                                                                                                 Seller shipping                                                               $3.00
          Delivery instructions (optional)                                                                                Add

          Add access codes or other necessary information.
                                                                                                                                 Estimated taxes                                                               $0.72




                                                                                                                                          Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                          Foundation’s Acres for America program with
                                                                                                                                          a $0.29 donation?
          Arrives by Thu, Oct 3                                                                                         1 item
                                                                                                                                          Spark Good Round Up is an easy way to help conserve
                                                                                                                                          land for wildlife and increase public access to the great
          Sold and shipped by LUOzoyuans
                                                                                                                                          outdoors.
          $3.00 seller shipping fee

                            Dream Pendant Car Decorative Pendant Acrylic
                            Flat Pendant                                                                                           Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                   Foundation (NFWF)
                            Actual Color: Purple

                                                               $3.99                                                                  $1.00            $2.00            $5.00

                                                                                            Remove               1        
                                                                                                                                 Estimated total                                                           $7.71


                                                                                                                                 Have a promo code?


                        Payment method


                            We'll look for smart ways to pay
                            We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                               $7.71

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                              1/2
9/18/24, 4:10 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 101 of 685 PageID #:154
                                                              Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 1:35 PM
                              Case: 1:24-cv-11674 DocumentDream
                                                           #: Pendant
                                                                6-5 Car
                                                                      Filed:      11/19/24 Page 102 of 685 PageID #:155
                                                                        Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                         Sponsored 




           Clearance

             DGOO
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          Now $2.24 $2.52 
           You save $0.28
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Actual Color: Purple

                                             Purple
                                             $2.24




             How do you want your item?



                                                         Shipping                                                                             Pickup                                                          Delivery
                                                       Arrives Sep 23                                                                       Not available                                                    Not available
                                                            $4.99



             Delivery to 1 N La Salle St



                  Sold and shipped by Zelnk

                    10 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                             Add to registry


                                                       Sponsored

                                                       $264.00
                                                       Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                        3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                   
                                                                                                                                                                                                                                   




                                                                                                                                                                                               




                    +   2
                   View all




                                                                                                                                                                                                       




             Add                                                                                       Add                                                                  Add
                                                                                                       Sponsored




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5944439324                                                                                                                                            1/3
9/5/24, 1:35 PM
                            Case: 1:24-cv-11674 DocumentDream
                                                         #: Pendant
                                                              6-5 Car
                                                                    Filed:      11/19/24 Page 103 of 685 PageID #:156
                                                                      Decorative Pendant Acrylic Flat Pendant - Walmart.com


            $24.99                                                                                     $139.99                                                                                   $89.00
            Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White           MELUCEE 5-Light Pendant Light Fixtures Ceiling Hanging Cluster Chandelier Black           DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom
                                                                                                       with Clear Glass Shade                                                                    Living Room US




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Brand
             DGOO



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Gear u
                   p & go




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                         Clearance



                                                                                                                                                                                                                                                                 




              1                                                                                                           Options                                                                                                      Options



           $6.14                                                                                                       Now $5.10 $6.60 +$1.50 shipping                                                                              $7.19
           Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift                  Acrylic Garland 99 Ft Christmas Berries Clear Stretch Cord .8mm 50 Ft Hanging Easter Decorations             Home Decor Accents Colorful Butterflies Acrylic Deco
           Pendant For Party Decoration The Butterfly Pendant Gift                                                     Hat Christmas Ornament Clear Beads Garland Funny Acrylic Animal Decoration Pendant                           Decoration Pendant Gift Pendant For Party Decoration
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5944439324                                                                                                                                                                                              2/3
9/5/24, 1:35 PM
                        Case: 1:24-cv-11674 DocumentDream
                                                     #: Pendant
                                                          6-5 Car
                                                                Filed:      11/19/24 Page 104 of 685 PageID #:157
                                                                  Decorative Pendant Acrylic Flat Pendant - Walmart.com




              Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5944439324                           3/3
9/5/24, 1:36 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 105 of 685 PageID #:158
                                                             Review your order - Walmart.com




                                                                                                                                                        You're saving $0.28 today!
                        Shipping, arrives by Mon, Sep 23

                                                                                                                                                     Place order for $7.97
          Steven kal                                                                                                     Edit       By placing this order, you agree to our Privacy Policy and Terms of Use
          1 N La Salle St, Chicago, IL 60602

                                                                                                                                Subtotal (1 item)                                                         $2.52
          Delivery instructions (optional)                                                                               Add    Savings                                                                -$0.28
          Add access codes or other necessary information.                                                                                                                                                $2.24


                                                                                                                                Seller shipping                                                               $4.99
          Items details                                                                                         Hide details

                                                                                                                                Estimated taxes                                                               $0.74
          Arrives by Mon, Sep 23                                                                                       1 item

          Sold and shipped by Zelnk
          $4.99 seller shipping fee                                                                                                      Want to support the National Fish and Wildlife 
                                                                                                                                         Foundation’s Acres for America program with
                            Dream Pendant Car Decorative Pendant Acrylic                                                                 a $0.03 donation?
                            Flat Pendant                                                                                                 Spark Good Round Up is an easy way to help conserve
                            Actual Color: Purple                                                                                         land for wildlife and increase public access to the great
                                                                                                                                         outdoors.

                            $0.28 from savings

                                                               $2.24                                                              Donate a whole dollar to National Fish and Wildlife 
                                                                 $2.52
                                                                                                                                  Foundation (NFWF)
                                                                                            Remove              1       
                                                                                                                                     $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                           $7.97

              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                               

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $7.97

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:36 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 106 of 685 PageID #:159
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 1:26 PM
                              Case: 1:24-cv-11674 DocumentDream
                                                           #: Pendant
                                                                6-5 Car
                                                                      Filed:      11/19/24 Page 107 of 685 PageID #:160
                                                                        Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                                       Sponsored 




             WMIIE
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $1.90
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Actual Color: Purple

                                             Purple
                                             $1.90




             How do you want your item?



                                                         Shipping                                                                             Pickup                                                                   Delivery
                                                       Arrives Sep 23                                                                       Not available                                                             Not available
                                                            $4.99



             Delivery to 1 N La Salle St



                  Sold and shipped by yanmin

                    1 seller review
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                    Add to registry


                                                       Sponsored

                                                       $264.00
                                                       Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                        3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                                                   
                                                                                                                                                                                                                                                                   




                                                                                                                                                                                                         




                    +   3
                   View all




                                                                                                                                                                                                               




             Add                                                                                       Add                                                                      Add

            $24.99                                                                                     $89.00                                                                    $5.99 +$3.99 shipping
            Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White           DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom   Light Diffuser Light-transmitting Plate Acrylic Diffuser Ceiling Light Shade Diffuser
                                                                                                       Living Room US


https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6712903329                                                                                                                                                                          1/3
9/5/24, 1:26 PM
                            Case: 1:24-cv-11674 DocumentDream
                                                         #: Pendant
                                                              6-5 Car
                                                                    Filed:      11/19/24 Page 108 of 685 PageID #:161
                                                                      Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
             our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Brand
             WMIIE

             Assembled Product Dimensions (L x W x H)
             3.15 x 3.15 x 0.15 Inches



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




               rganic gardening




                                                                                                                                                                                                                                                                               Sponsored 




            Clearance                                                                                                    Clearance



                                                                                                                                                                                                                                                                 




              Options                                                                                                     Options                                                                                                     Add

           Now $5.99 $6.99 +$1.98 shipping                                                                             Now $3.99 $4.99 +$3.99 shipping                                                                              $4.99 +$5.00 shipping
           Options from $5.99 – $6.99
                                                                                                                       Hangs Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift             Dream Pendant Car Decorative Pendant Acrylic Flat Pe
           XZZjjl Household Tools Funny Acrylic Animal Decoration Pendant 2D Butterflies Decoration Pendant            Pendant For Party Decoration The Good Butterfly Pendant Gift                                                 Shipping, arrives in 3+ days
           Indoor and Outdoor Decorative Accessories Garden Decoration Pendant Ornament String                         Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6712903329                                                                                                                                                                                              2/3
9/5/24, 1:26 PM
                        Case: 1:24-cv-11674 DocumentDream
                                                     #: Pendant
                                                          6-5 Car
                                                                Filed:      11/19/24 Page 109 of 685 PageID #:162
                                                                  Decorative Pendant Acrylic Flat Pendant - Walmart.com


              Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6712903329                           3/3
9/5/24, 1:27 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 110 of 685 PageID #:163
                                                             Review your order - Walmart.com




                        Shipping, arrives by Mon, Sep 23
                                                                                                                                                     Place order for $7.60

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $1.90

                                                                                                                                Seller shipping                                                               $4.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.71




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.40 donation?
          Arrives by Mon, Sep 23                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by yanmin
                                                                                                                                         outdoors.
          $4.99 seller shipping fee

                            Dream Pendant Car Decorative Pendant Acrylic
                            Flat Pendant                                                                                          Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Actual Color: Purple

                                                                $1.90                                                                $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                                Estimated total                                                          $7.60


                                                                                                                                Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $7.60

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:27 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 111 of 685 PageID #:164
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 1:24 PM
                              Case: 1:24-cv-11674 DocumentDream
                                                           #: Pendant
                                                                6-5 Car
                                                                      Filed:      11/19/24 Page 112 of 685 PageID #:165
                                                                        Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                                     Sponsored 




             XINDISNusfo
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $4.99
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Actual Color: Purple

                                             Purple
                                             $4.99




             How do you want your item?



                                                        Shipping                                                                              Pickup                                                                  Delivery
                                                      Arrives Sep 20                                                                        Not available                                                           Not available
                                                           $4.99



             Delivery to 1 N La Salle St



                  Sold and shipped by XINDISNusfo

                    8 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                    Add to registry


                                                       Sponsored

                                                       $264.00
                                                       Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                       3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                                                 
                                                                                                                                                                                                                                                                 




                                                                                                                                                                                                         




                    +   3
                   View all




                                                                                                                                                                                                              




             Add                                                                                       Add                                                                       Options



            $65.00                                                                                     $89.00                                                                    $8.10 +$1.00 shipping
            Acrylic Circular Ring LED Dimmable Chandelier Remote Ceiling Light Hanging                 DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom   Ceiling Drapes for Weddings with Lights Electrician Tool Pendant Double Sided
            Lamp                                                                                       Living Room US                                                            Acrylic Decorative Pendant


https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9392058601                                                                                                                                                                        1/3
9/5/24, 1:24 PM
                              Case: 1:24-cv-11674 DocumentDream
                                                           #: Pendant
                                                                6-5 Car
                                                                      Filed:      11/19/24 Page 113 of 685 PageID #:166
                                                                        Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
             display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
             and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
             the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated,
             artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been
             carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
             Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             XINDISNusfo



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
                  WARNING: None



                 Report incorrect product information




                                                                                                                                                                                                                         




            Add                                                                                       Add                                                                                        Add

           $148.00                                                                                    $264.00                                                                                    $410.92
           Luxury Transitional Indoor Pendant, 7''H x 5.125''W, with Modern Style Elements,           Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight        Contemporary 4-Light Led Pendant with Frosted Acrylic 3.25 X 4.25 inches
           Contemporary Design, Brushed Bronze Finish and Glass, UHP2309                              Black, UHP4276 by Urban Ambiance                                                           Pendants Bailey Street Home 79-Bel-2041389

            3+ day shipping                                                                            3+ day shipping                                                                            3+ day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Celebrate all year-round




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                      Clearance




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9392058601                                                                                                                                                                                              2/3
9/5/24, 1:24 PM
                        Case: 1:24-cv-11674 DocumentDream
                                                     #: Pendant
                                                          6-5 Car
                                                                Filed:      11/19/24 Page 114 of 685 PageID #:167
                                                                  Decorative Pendant Acrylic Flat Pendant - Walmart.com



                                                                                                                                                           




             Options                                                                                     Options                     Add
                                                     +3 options                                                        +3 options

           $6.68                                                                                       $7.66                        Now $2.68 $3.01 +$3.59 shipping




              Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9392058601                                                                       3/3
9/5/24, 1:24 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 115 of 685 PageID #:168
                                                             Review your order - Walmart.com




                        Shipping, arrives by Fri, Sep 20
                                                                                                                                                    Place order for $11.00

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $4.99

                                                                                                                                Seller shipping                                                               $4.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $1.02




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $1.00 donation?
          Arrives by Fri, Sep 20                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by XINDISNusfo
                                                                                                                                         outdoors.
          $4.99 seller shipping fee

                            Dream Pendant Car Decorative Pendant Acrylic
                            Flat Pendant                                                                                          Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Actual Color: Purple

                                                               $4.99                                                                 $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                                Estimated total                                                        $11.00


                                                                                                                                Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                          $11.00

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:24 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 116 of 685 PageID #:169
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 1:18 PM
                              Case: 1:24-cv-11674   Document #: 6-5 Filed: 11/19/24 Page 117 of 685 PageID #:170
                                               Vxdvou Dream Pendant Car Decoration, Acrylic Flat Pendant Art, Elegant Purple Wall Decor, Artistic Home Accessory Gift. - Walmart.com


                              Redefine your wardrobe                                                                                                                                            Sponsored 




           Clearance

             Vxdvou
             Vxdvou Dream Pendant Car Decoration, Acrylic Flat Pendant Art, Elegant Purple Wall Decor, Artistic Home Accessory Gift.

             Free 30-day returns



          Now $5.50 $7.76 
           You save $2.26
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Size: Free Size

                                           Free Size
                                             $5.50

             Actual Color: Purple




             How do you want your item?



                                                         Shipping                                                                           Pickup                               Delivery
                                                       Arrives Sep 20                                                                     Not available                         Not available
                                                            $1.99



             Delivery to 1 N La Salle St



                  Sold and shipped by Vxdvou

                    2 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                    Add to registry


              Reduced price                            Sponsored

                                                       Now $34.99 $39.99
                                                       Valiha 3D Engraved Crystal 3D Engraved Crystal Keepsake/Gift/Decor/Collectible/Souvenir

                                                        3+ day shipping




                                                                                     Add



                                                                                                                                                                                                      
                                                                                                                                                                                                      




                                                                                                                                                                      




                    +   3
                   View all




https://www.walmart.com/ip/Vxdvou-Dream-Pendant-Car-Decoration-Acrylic-Flat-Pendant-Art-Elegant-Purple-Wall-Decor-Artistic-Home-Accessory-Gift/7607061707                                                     1/3
9/5/24, 1:18 PM
                            Case: 1:24-cv-11674   Document #: 6-5 Filed: 11/19/24 Page 118 of 685 PageID #:171
                                             Vxdvou Dream Pendant Car Decoration, Acrylic Flat Pendant Art, Elegant Purple Wall Decor, Artistic Home Accessory Gift. - Walmart.com



                                                                                                                                                                                                                                 




              Add                                                                                      Add                                                                                        Options




          About this item


             Product details
                                                                                                                                                                                                                                                                                      
             Welcome To Vxdvou Store (◕ᴗ◕✿)

             Wish you a pleasant shopping experience in Vxdvou Which is committed to providing high-quality home products and accessories.

             ☎24 Hours Online:If you have any questions, please feel free to contact the Vxdvou service team, we will solve it for you.

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of
             styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
             appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
             sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
             collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   【Unparalleled Range of Products】: Walmart Home Store boasts an unparalleled range of products to suit every home and every taste. Whether you're looking for traditional or contemporary furniture, vibrant bedding sets, or kitchen essentials, we have it all.
                   Our diverse collection ensures that you'll find the perfect item to complement your lifestyle and decor.
                   【Trusted Brands at Affordable Prices】:At Walmart Home Store, you can trust that you're getting quality products from well-known brands. We offer competitive prices on top-notch brands, so you don't have to compromise on quality to fit your budget. Our
                   commitment to offering the best value for your money is what sets us apart.
                   【Exceptional Customer Service】:We pride ourselves on providing exceptional customer service that goes above and beyond. Our friendly and knowledgeable staff is always ready to assist you with any questions or concerns. From helping you find the right
                   product to offering post-purchase support, we're here to make your shopping experience seamless and enjoyable.
                   【Convenient Shopping Experience】:Shopping at Walmart Home Store is convenient in every way. Our stores are designed for easy navigation, so you can find what you need quickly. Our online store offers a hassle-free shopping experience with detailed
                   product information, customer reviews, and fast delivery options. No matter how you choose to shop, we ensure a smooth and convenient experience.
                   【Quality Assurance and Satisfaction Guarantee】:At Walmart Home Store, we stand by the quality of our products. We offer a satisfaction guarantee on all our items, ensuring that you're fully satisfied with your purchase. If you're not happy with your
                   product, we'll make it right. Our commitment to quality assurance gives you the confidence to shop with us knowing that you're getting the best value for your money.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                      
             Brand
             Vxdvou

             Assembled Product Weight
             0.11 lb

             Manufacturer
             Vxdvou Home & Garden

             Manufacturer Part Number
             Vxdvou Hanging Ornaments


             More details




             Directions
                                                                                                                                                                                                                                                                                      
             Fabric Care Instructions
             Dream Pendant Car Decorative Pendant Acrylic Flat PendantFeatures: 1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for
             adding a of elegance to any space. The graphic design makes them easy to display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection
             brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings.
             Hang on walls, doors, , lamps or interior furniture to create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your
             and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our
             new collection of acrylic pendants is ideal. Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5.
             Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your
             home space filled with elegance and refinement. Product Description:Product Specifications:Material: AcrylicColor: Purplesize: 8*8*0.37cmPackage includes:1 pendant



             Warranty
                                                                                                                                                                                                                                                                                      
             Warranty information
             Dream Pendant Car Decorative Pendant Acrylic Flat PendantFeatures: 1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for
             adding a of elegance to any space. The graphic design makes them easy to display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection
             brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings.…
             H            ll d         l        i t i f it         t      t             li d ti ti 3 Ch i          L ki f              i l ift f     l  d     ? St l ki ! O               i    f     li     d t     k th       htf l d i          ift Gi th      b   tif l    d t t

             More details




             Warnings
                                                                                                                                                                                                                                                                                      
                  WARNING: None



                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




https://www.walmart.com/ip/Vxdvou-Dream-Pendant-Car-Decoration-Acrylic-Flat-Pendant-Art-Elegant-Purple-Wall-Decor-Artistic-Home-Accessory-Gift/7607061707                                                                                                                                    2/3
9/5/24, 1:18 PM
                            Case: 1:24-cv-11674   Document #: 6-5 Filed: 11/19/24 Page 119 of 685 PageID #:172
                                             Vxdvou Dream Pendant Car Decoration, Acrylic Flat Pendant Art, Elegant Purple Wall Decor, Artistic Home Accessory Gift. - Walmart.com



          This item does not have any reviews yet


                                                                                         Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.       Learn more.




             Gear up & go




                                                                                                                                                                                                                                                   Sponsored 




            Clearance                                                                                          Clearance                                                                                     Clearance



                                                                                                                                                                                                                                         




              Options                                                                                            Options                                                                                     Add
                                                      +3 options                                                                                         +3 options

           Now $2.29 $3.99 +$3.99 shipping                                                                    Now $7.49 $9.80 +$2.99 shipping                                                               Now $3.59 $4.03 +$2.99 shipping
           Hangs Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift   Bead Garland Valentines Christmas Picks for Trees Funny Acrylic Animal Decoration Pendant     Tiitstoy Dream Pendant Car Decorative Pendant Acryli
           Pendant For Party Decoration The Good Butterfly Pendant Gift                                       Creative 2D Butterfly Decoration Pendant Indoor And Outdoor Decorative Acrylic Diamonds for   Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days                                                                       Decorating
                                                                                                              Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Party & Occasions / Christmas Trees & Christmas Decor / Christmas Decor / Indoor Christmas Decor / Christmas Ornaments / Character Ornaments




https://www.walmart.com/ip/Vxdvou-Dream-Pendant-Car-Decoration-Acrylic-Flat-Pendant-Art-Elegant-Purple-Wall-Decor-Artistic-Home-Accessory-Gift/7607061707                                                                                                          3/3
9/5/24, 1:18 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 120 of 685 PageID #:173
                                                             Review your order - Walmart.com




                                                                                                                                                        You're saving $2.26 today!
                        Shipping, arrives by Fri, Sep 20

                                                                                                                                                     Place order for $8.26
          Steven kal                                                                                                     Edit       By placing this order, you agree to our Privacy Policy and Terms of Use
          1 N La Salle St, Chicago, IL 60602

                                                                                                                                Subtotal (1 item)                                                             $7.76
          Delivery instructions (optional)                                                                               Add    Savings                                                                -$2.26
          Add access codes or other necessary information.                                                                                                                                                $5.50


                                                                                                                                Seller shipping                                                               $1.99
          Items details                                                                                         Hide details

                                                                                                                                Estimated taxes                                                               $0.77
          Arrives by Fri, Sep 20                                                                                       1 item

          Sold and shipped by Vxdvou
          $1.99 seller shipping fee                                                                                                      Want to support the National Fish and Wildlife 
                                                                                                                                         Foundation’s Acres for America program with
                            Vxdvou Dream Pendant Car Decoration, Acrylic                                                                 a $0.74 donation?
                            Flat Pendant Art, Elegant Purple Wall Decor,…                                                                Spark Good Round Up is an easy way to help conserve
                            Size: Free Size, Actual Color: Purple                                                                        land for wildlife and increase public access to the great
                                                                                                                                         outdoors.

                            $2.26 from savings

                                                               $5.50                                                              Donate a whole dollar to National Fish and Wildlife 
                                                                 $7.76
                                                                                                                                  Foundation (NFWF)
                                                                                            Remove              1       
                                                                                                                                     $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                         $8.26

              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                               

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $8.26

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:18 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 121 of 685 PageID #:174
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
2024/9/30 17:03
                              Case: 1:24-cv-11674           Document #: 6-5 Filed: 11/19/24 Page 122 of 685 PageID #:175
                                        Konghyp Dream Pendant Car Decor – Acrylic Flat Pendant for Stylish Car Decoration; Adds a Touch of Elegance and Personalization to Your Vehicle’s Interior. - Walmart.com




            Konghyp
            Konghyp Dream Pendant Car Decor – Acrylic Flat Pendant for Stylish Car Decoration; Adds a Touch of Elegance and Personalization to Your Vehicle’s Interior.
           (No ratings yet)

             Free 30-day returns



          $6.50
            Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


            Size: Free Size

                                             Free Size
                                              $6.50

            Actual Color: Purple

                                              Purple




            How do you want your item?



                                                           Shipping                                                              Pickup                                                                  Delivery
                                                         Arrives Oct 12                                                      Not available                                                              Not available
                                                             $2.99



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by Konghyp

                    16 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                           Add to list                                                                                           Add to registry


                                                                                                                                                                                                                                                 
                                                                                                                                                                                                                                                 




                                                                                                                                                                                           




                    +   3
                   View all




                                                                                                                                                                                                                                  




            Add                                                                                      Options                                                                                         Add
          Sponsored                                                                                Sponsored

          $7.99                                                                                    Now $7.99 $9.99                                                                                   $25.92
          Assorted LED Light Cover Strips And Privacy Stickers                                     XUKEY 16ft Universal Car Seal Edge Trim Lock Rubber Auto Door Guard Molding Strip Edge            Dupli-Color Acrylic Clear Perfect Match Automotive To
          Shipping, arrives in 3+ days                                                             Protector                                                                                         Items)

                                                                                                    12                                                                                           4

                                                                                                   Save with                                                                                         Shipping, arrives in 3+ days

                                                                                                   Shipping, arrives in 2 days




https://www.walmart.com/ip/Konghyp-Dream-Pendant-Car-Decor-Acrylic-Flat-Stylish-Decoration-Adds-Touch-Elegance-Personalization-Your-Vehicle-s-Interior/10885312077?classType=VARIANT&from=/search                                                            1/2
2024/9/30 17:03
                           Case: 1:24-cv-11674           Document #: 6-5 Filed: 11/19/24 Page 123 of 685 PageID #:176
                                     Konghyp Dream Pendant Car Decor – Acrylic Flat Pendant for Stylish Car Decoration; Adds a Touch of Elegance and Personalization to Your Vehicle’s Interior. - Walmart.com




          About this item


            Product details
                                                                                                                                                                                                                                                                                       
            ---Welcome to Konghyp shop---

            Our shop mainly deals with household products and toys, we provide customers with satisfactory products and services, welcome you to come to our shop at any time to choose the products you need! Our shop has a wide range of
            products:https://www.walmart.com/search?q=Konghyp&facet=brand:Konghyp">Spring Savings/Home Decor Savings Clearance/New Arrival

            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
            or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
            floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
            your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
            feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
            Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
            pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  Stylish and Sophisticated Design: Our acrylic flat pendants feature elegant designs that can elevate the aesthetic of any space, offering a refined decorative accent for walls, curtains, or other surfaces.
                  Versatile Decorative Solution: Suitable for a variety of settings including living rooms, bedrooms, offices, and more, these pendants provide a versatile decorative solution that can enhance the atmosphere of any space.
                  Unique Gift Idea: With their beautiful design and quality craftsmanship, our acrylic flat pendants make a thoughtful and unique gift for loved ones, demonstrating care and excellent taste.
                  Enhanced Visual Appeal: These pendants are designed to be hung on walls, doors, windows, lamps, or furniture, helping to create a personalized decor style that adds visual appeal and character to your home.
                  Durable and High-Quality Material: Crafted from durable acrylic material, our pendants are made to withstand the test of time, ensuring long-lasting beauty and sophistication in your decor.

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Directions
                                                                                                                                                                                                                                                                                       
            Fabric Care Instructions
            Konghyp Dream Pendant Car Decor – Acrylic Flat Pendant for Stylish Car Decoration; Adds a Touch of Elegance and Personalization to Your Vehicle’s Interior.



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




            Warnings
                                                                                                                                                                                                                                                                                       
                WARNING: Konghyp Dream Pendant Car Decor – Acrylic Flat Pendant for Stylish Car Decoration; Adds a Touch of Elegance and Personalization to Your Vehicle’s Interior.



              Report incorrect product information




          Customer ratings & reviews
                       0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




                                                                                                                                                                                                                                                                




              Options                                                                                                     Options                                                                                                     Options

                                                                                                                                                                     +3 options

          $7.74                                                                                                        $7.88                                                                                                       $7.82
          Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor And                  Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift                  Colorful Butterflies Acrylic Decoration Pendant Funny
          Outdoor Decorative Accessories Garden Decoration Pendant                                                     Pendant For Party Decoration The Butterfly Pendant Gift                                                     Pendant For Party Decoration The Butterfly Pendant G
          Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days




              Report:       Report seller       Report suspected stolen goods (to CA Attorney General)




https://www.walmart.com/ip/Konghyp-Dream-Pendant-Car-Decor-Acrylic-Flat-Stylish-Decoration-Adds-Touch-Elegance-Personalization-Your-Vehicle-s-Interior/10885312077?classType=VARIANT&from=/search                                                                                          2/2
2024/9/30 17:04
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 124 of 685 PageID #:177
                                                             Review your order - Walmart.com




                        Shipping, arrives by Fri, Oct 11


         steven howard                                                                                                            Edit                     Place order for $10.46
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                          By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                          Use

         Delivery instructions (optional)                                                                                         Edit
                                                                                                                                         Subtotal (1 item)                                               $6.50
         House
                                                                                                                                         Seller shipping                                                      $2.99


         Items details                                                                                                   Hide details    Estimated taxes                                                      $0.97


         Arrives by Fri, Oct 11                                                                                                1 item
                                                                                                                                                  Want to support the National Fish and Wildlife 
         Sold and shipped by Konghyp                                                                                                              Foundation’s Acres for America program with
         $2.99 seller shipping fee                                                                                                                a $0.54 donation?
                                                                                                                                                  Spark Good Round Up is an easy way to help conserve
                           Konghyp Dream Pendant Car Decor – Acrylic Flat                                                                         land for wildlife and increase public access to the great
                           Pendant for Stylish Car Decoration; Adds a Touch…                                                                      outdoors.
                           Size: Free Size, Actual Color: Purple

                                                              $6.50
                                                                                                                                           Donate a whole dollar to National Fish and Wildlife 
                                                                                                   Remove                  1              Foundation (NFWF)


                                                                                                                                              $1.00           $2.00         $5.00



                                                                                                                                         Estimated total                                               $10.46

                       Payment method
                                                                                                                                         Have a promo code?



                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                                    $10.46

            + Add new payment                                                                                Change payment




                      Free 30-day trial




         Try Walmart+ to save with free delivery from stores + so
         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number

         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.



https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                             1/2
2024/9/30 17:04
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 125 of 685 PageID #:178
                                                           Review your order - Walmart.com




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                   2/2
9/5/24, 1:12 PM
                              Case: 1:24-cv-11674 Document     #: 6-5 Filed: 11/19/24 Page 126 of 685 PageID #:179
                                                        Tiitstoy Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                               Sponsored 




           Clearance

             TIITSTOY
             Tiitstoy Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          Now $3.59 $4.03 
           You save $0.44
             Price when purchased online 



                                                                          Buy now

                                                                         Add to cart



             How do you want your item?



                                                        Shipping                                                                          Pickup                                                                     Delivery
                                                       Arrives Sep 18                                                                   Not available                                                               Not available
                                                           $2.99



             Delivery to 1 N La Salle St



                  Sold and shipped by Tiitstoy

                    53 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                            Add to list                                                                                                    Add to registry


                                                       Sponsored

                                                       $18.99
                                                       Longwin Golden Round Mirror Wall Hanging Mirror Craft Photo Props Living Room Decoration Pendant

                                                       2-day shipping




                                                                                           Add


                                                                                                                                                                                                                                                         
                                                                                                                                                                                                                                                         




                                                                                                                                                                                                     




                    +   3
                   View all




                                                                                                                                                                               Clearance



                                                                                                                                                                                                              




               Options                                                                                Add                                                                      Options



            $74.85                                                                                   $4.46 +$2.49 shipping                                                    Now $2.45 $3.19 +$3.99 shipping
            Efavormart 13" Round Iridescent Blue Glitter Acrylic Plastic Charger Plates for Table    UUWENDA Diy Name Car Pendant Colorful Acrylic Pendant Cute Dog Tag Pet   YODETEY Decorations for Home Sea Turtle Color Acrylic Interior Pendant
            Decor -Set of 24                                                                         Acrylic Pendant Commemorative Pet Hanging Window Pendant Sun Acrylic     Decoration
                                                                                                     Catcher Pet Pendant Gift




https://www.walmart.com/ip/Tiitstoy-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5950442256                                                                                                                                                         1/3
9/5/24, 1:12 PM
                            Case: 1:24-cv-11674 Document     #: 6-5 Filed: 11/19/24 Page 127 of 685 PageID #:180
                                                      Tiitstoy Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Tiitstoy Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   Product Specifications: Material: Acrylic Color: Purple size: 8*8*0.37cm Package includes: 1 pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             TIITSTOY

             Assembled Product Weight
             0.11 lb

             Manufacturer
             Tiitstoy

             Manufacturer Part Number
             2024-06-03


             More details




             Directions
                                                                                                                                                                                                                                                                                        
             Fabric Care Instructions
             Machine Washable; Hand Wash



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                               Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




              Be a tailgate MVP




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                           Clearance



                                                                                                                                                                                                                                                                 




            Add                                                                                                             Options                                                                                                  Add

           $12.99 +$3.99 shipping                                                                                         Now $4.33 $5.41 +$1.98 shipping                                                                           $4.99
           Taylonsss Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                  Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift                Somuwie Clearance Dream Pendant Car Decorative Pe
           Shipping, arrives in 3+ days                                                                                   Pendant For Party Decoration The Butterfly Pendant Gift                                                   Shipping, arrives in 3+ days
                                                                                                                          Shipping, arrives in 3+ days




https://www.walmart.com/ip/Tiitstoy-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5950442256                                                                                                                                                                                     2/3
9/5/24, 1:12 PM
                        Case: 1:24-cv-11674 Document     #: 6-5 Filed: 11/19/24 Page 128 of 685 PageID #:181
                                                  Tiitstoy Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




              Report:    Report seller    Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Decorative Accents / Decorative Ornaments




https://www.walmart.com/ip/Tiitstoy-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5950442256                             3/3
9/5/24, 1:13 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 129 of 685 PageID #:182
                                                             Review your order - Walmart.com




                                                                                                                                                        You're saving $0.44 today!
                        Shipping, arrives by Wed, Sep 18

                                                                                                                                                     Place order for $7.25
          Steven kal                                                                                                     Edit       By placing this order, you agree to our Privacy Policy and Terms of Use
          1 N La Salle St, Chicago, IL 60602

                                                                                                                                Subtotal (1 item)                                                         $4.03
          Delivery instructions (optional)                                                                               Add    Savings                                                                -$0.44
          Add access codes or other necessary information.                                                                                                                                                $3.59


                                                                                                                                Seller shipping                                                               $2.99
          Items details                                                                                         Hide details

                                                                                                                                Estimated taxes                                                               $0.67
          Arrives by Wed, Sep 18                                                                                       1 item

          Sold and shipped by Tiitstoy
          $2.99 seller shipping fee                                                                                                      Want to support the National Fish and Wildlife 
                                                                                                                                         Foundation’s Acres for America program with
                            Tiitstoy Dream Pendant Car Decorative Pendant                                                                a $0.75 donation?
                            Acrylic Flat Pendant                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
                                                                                                                                         outdoors.
                            $0.44 from savings

                                                               $3.59
                                                                 $4.03
                                                                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                                                            Remove              1               Foundation (NFWF)


                                                                                                                                     $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                          $7.25
                       Payment method
                                                                                                                                Have a promo code?
                                                                                                                                                                                                               
                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $7.25

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up


                         Add any credit or debit card & stack cash back




                       Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:13 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 130 of 685 PageID #:183
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 1:11 PM
                              Case: 1:24-cv-11674 DocumentDream
                                                           #: Pendant
                                                                6-5 Car
                                                                      Filed:      11/19/24 Page 131 of 685 PageID #:184
                                                                        Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                                    Sponsored 




             TFHENGQQ
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



           $3.01
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart



             How do you want your item?



                                                        Shipping                                                                              Pickup                                                                       Delivery
                                                   Arrives Sep 20                                                                           Not available                                                                 Not available
                                                        $2.99



             Delivery to 1 N La Salle St



                  Sold and shipped by TFHENGQQ

                    11 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                          Add to registry


                                                       Sponsored

                                                       $264.00
                                                       Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                       3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                              




                                                                                                                                                                                                            




                    +   3
                   View all




                                                                                                                                                                                                                    




             Add                                                                                         Options                                                                      Add
                                                                                                       Sponsored

            Now $417.34 $521.43                                                                        $45.30                                                                         $116.69
            Kalalou CQ7411 20 x 20 in. Two Tiered Round Pendant Light with Glass Chimes                Better Homes & Gardens 25" Architectural 3-Light Island Pendant Light, Black   Globe Electric Malay Natural Twine 1-Light Pendant Light, 60530
                                                                                                       Finish Clear Glass Shades
                                                                                                                                                                                      Save with
                                                                                                        51

                                                                                                        Save with




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6800202283                                                                                                                                                                       1/3
9/5/24, 1:11 PM
                            Case: 1:24-cv-11674 DocumentDream
                                                         #: Pendant
                                                              6-5 Car
                                                                    Filed:      11/19/24 Page 132 of 685 PageID #:185
                                                                      Decorative Pendant Acrylic Flat Pendant - Walmart.com



           About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Brand
             TFHENGQQ

             Features
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant



             Directions
                                                                                                                                                                                                                                                                                        
             Fabric Care Instructions
             Machine Washable; Hand Wash



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




           Customer ratings & reviews
            (0 reviews)




           This item does not have any reviews yet

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            Clearance



                                                                                                                                                                                                                                                                 




               Options                                                                                                   Add                                                                                                          Options



           Now $4.33 $5.41 +$1.98 shipping                                                                             $4.99                                                                                                        $7.19 +$0.99 shipping
           Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift                  Somuwie Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Best Gift                        Funny Acrylic Animal Decoration Pendant Creative 2D
           Pendant For Party Decoration The Butterfly Pendant Gift                                                     Shipping, arrives in 3+ days                                                                                 Outdoor Decorative Accessories Garden Decoration P
           Shipping, arrives in 3+ days                                                                                                                                                                                             Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6800202283                                                                                                                                                                                              2/3
9/5/24, 1:11 PM
                         Case: 1:24-cv-11674 DocumentDream
                                                      #: Pendant
                                                           6-5 Car
                                                                 Filed:      11/19/24 Page 133 of 685 PageID #:186
                                                                   Decorative Pendant Acrylic Flat Pendant - Walmart.com


              Report:     Report seller       Report suspected stolen goods (to CA Attorney General)


           Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Kitchen Island Pendant Lights




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6800202283                                    3/3
9/5/24, 1:11 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 134 of 685 PageID #:187
                                                             Review your order - Walmart.com




                        Shipping, arrives by Fri, Sep 20
                                                                                                                                                     Place order for $6.62

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                             $3.01

                                                                                                                                Seller shipping                                                               $2.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.62




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.38 donation?
          Arrives by Fri, Sep 20                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by TFHENGQQ
                                                                                                                                         outdoors.
          $2.99 seller shipping fee

                            Dream Pendant Car Decorative Pendant Acrylic
                            Flat Pendant                                                                                          Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                                                                $3.01
                                                                                                                                     $1.00            $2.00            $5.00
                                                                                            Remove              1       


                                                                                                                                Estimated total                                                          $6.62


                                                                                                                                Have a promo code?                                                             
               Payment method

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.62

              + Add new payment                                                                        Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:11 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 135 of 685 PageID #:188
                                                            Review your order - Walmart.com




           Text updates for this order
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                  Send to a different phone number

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          preference.
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          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/24/24, 1:28 PM
                           Case: 1:24-cv-11674 Document      #: 6-5 Filed: 11/19/24 Page 136 of 685 PageID #:189
                                                   Tepsmf Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Home Decor - Walmart.com


                           Get blown away                                                                                                                                                                                      Sponsored 




            TEPSMF
            Tepsmf Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Home Decor

             Free 30-day returns



          $4.12
            Price when purchased online 



                                                                          Buy now

                                                                         Add to cart


            Actual Color: Purple

                                              Purple
                                              $4.12




            How do you want your item?



                                                        Shipping                                                                   Pickup                                                         Delivery
                                                       Arrives Oct 9                                                         Not available                                                       Not available
                                                           $3.00



            Delivery to 3200 N Lake Shore Dr



                   Sold and shipped by Tepsmf

                     29 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                            Add to list                                                                                    Add to registry


                                                       Sponsored

                                                       $5.63
                                                       YiFudd Christmas Pendant

                                                       3+ day shipping




                                                             Add



                                                                                                                                                                                                                                     




                                                                                                                                                                                                                     




            Add                                                                                     Add                                                                                       Add

           $6.49 +$4.99 shipping                                                                    $4.99 +$5.00 shipping                                                                      $9.90 +$5.59 shipping
           Frehsky home decor Handmade Dream Catcher With Feathers Car Or Wall Hanging Decoration   DIY Handmade Dream Catcher Fairy String Decoration Ornament Home Car                       Baocc Dream Catchers Handmade Ornament Dream G
           Ornament                                                                                 Shipping, arrives in 3+ days                                                               Home Decor



https://www.walmart.com/ip/Tepsmf-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Home-Decor/10584516765                                                                                                                              1/3
9/24/24, 1:28 PM
                            Case: 1:24-cv-11674 Document      #: 6-5 Filed: 11/19/24 Page 137 of 685 PageID #:190
                                                    Tepsmf Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Home Decor - Walmart.com

           Shipping, arrives in 3+ days                                                                                                                                                                                              Shipping, arrives in 3+ days




          About this item


             Product details
                                                                                                                                                                                                                                                                                        

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:

                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls,
                   curtains or any other, making them a visual for your home decor.

                   2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and
                   abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized .

                   3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and
                   craftsmanship of these pendants and feel the warmth of your and attention.

                   4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life. Turn your living space into a place of
                   and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .

                   5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your
                   home space filled with and refinement.

             Product Description:

             Product Specifications:

             Material: Acrylic

             Color: Purple

             size: 8*8*0.37cm

             Package includes:

             1 pendant

                   Tepsmf Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Home Decor
                   Affordable Price: Although the product does not have fancy performance, it has the necessary features and is affordable.
                   Customer Satisfaction.If you have any questions about our products, please contact us in time, and we will provide you with the best solution.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             TEPSMF

             Assembled Product Weight
             0.11 lb

             Manufacturer
             Tepsmf

             Assembled Product Dimensions (L x W x H)
             3.15 x 3.15 x 0.15 Inches



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                                Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




              Timeless style for him




                                                                                                                                                                                                                                                                                Sponsored 




                                                                                                                                                                                                                                      Clearance




https://www.walmart.com/ip/Tepsmf-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Home-Decor/10584516765                                                                                                                                                                            2/3
9/24/24, 1:28 PM
                         Case: 1:24-cv-11674 Document      #: 6-5 Filed: 11/19/24 Page 138 of 685 PageID #:191
                                                 Tepsmf Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Home Decor - Walmart.com



                                                                                                                                                                                                                                




             Options                                                                                        Options                                                                                       Add
                                                                                                                                                     +3 options

           $3.35 +$4.99 shipping                                                                          $10.77 +$3.99 shipping                                                                         Now $5.59 $6.99 +$0.99 shipping
           Weerihhol Ceramic Bunny Decorations Colorful Butterflies Acrylic Decoration Pendant Funny 2D   Wyzesi Clear Rubber Ornaments Various Sizes Funny Acrylic Animal Decoration Pendant Creative   Byikun Dream Pendant Car Decorative Pendant Acrylic
           Decoration Pendant Pendant For Party Decoration The Pendant                                    2D Butterfly Decoration Pendant Indoor and Outdoor Decorative Accessories Garden Decoration    to Any Space, Versatile Accessories for Home or Office




              Report:      Report seller     Report suspected stolen goods (to CA Attorney General)




https://www.walmart.com/ip/Tepsmf-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Home-Decor/10584516765                                                                                                                                                3/3
9/24/24, 1:28 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 139 of 685 PageID #:192
                                                             Review your order - Walmart.com




                        Shipping, arrives by Wed, Oct 9
                                                                                                                                                    Place order for $7.85

                                                                                                                                   By placing this order, you agree to our Privacy Policy and Terms of Use
          Michael Boldt                                                                                                 Edit
          3200 N Lake Shore Dr, Apt 701, Chicago, IL 60657
                                                                                                                               Subtotal (1 item)                                                             $4.12

                                                                                                                               Seller shipping                                                               $3.00
          Delivery instructions (optional)                                                                              Edit

          Apartment
                                                                                                                               Estimated taxes                                                               $0.73




                                                                                                                                        Want to support the National Fish and Wildlife 
          Items details                                                                                        Hide details
                                                                                                                                        Foundation’s Acres for America program with
                                                                                                                                        a $0.15 donation?
          Arrives by Wed, Oct 9                                                                                       1 item
                                                                                                                                        Spark Good Round Up is an easy way to help conserve
                                                                                                                                        land for wildlife and increase public access to the great
          Sold and shipped by Tepsmf
                                                                                                                                        outdoors.
          $3.00 seller shipping fee

                           Tepsmf Dream Pendant Car Decorative Pendant
                           Acrylic Flat Pendant Home Decor                                                                       Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                 Foundation (NFWF)
                           Actual Color: Purple

                                                               $4.12                                                                $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                               Estimated total                                                          $7.85


                                                                                                                               Have a promo code?


                       Payment method


                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 1950                                                                            $7.85

             + Add new payment                                                                       Change payment




                              $15 cash back when you spend $15+                                             Sign up



                        Add any credit or debit card & stack cash back




                      Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                            1/2
9/24/24, 1:28 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 140 of 685 PageID #:193
                                                              Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/19/24, 3:43 PM
                               Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 141 of 685 PageID #:194
                                                         Teissuly Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Be on the cutting edge                                                                                                                                        Sponsored 




            Teissuly
            Teissuly Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $1.99
            Price when purchased online 



                                                                            Buy now

                                                                          Add to cart


            Size: Free Size

                                            Free Size
                                              $1.99

            Actual Color: Purple




            How do you want your item?



                                                          Shipping                                                                     Pickup                             Delivery
                                                        Arrives Oct 10                                                               Not available                       Not available
                                                             $3.90



            Delivery to 1 N La Salle St



                   Sold and shipped by Teissuly Direct

                     15 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                              Add to list                                                            Add to registry


                                                        Sponsored

                                                        $499.99
                                                        Crystorama Lighting Group Car-9206 Carlyn 6 Light 24" Wide Pendant - Black

                                                         2-day shipping



                                                                                Add



                                                                                                                                                                                                   




                                                                                                                                                               




                     +   3
                    View all




                                                                                                                                                                                       




            Add                                                                                                        Add                                             Add


https://www.walmart.com/ip/Teissuly-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6351607389                                                                                                   1/3
9/19/24, 3:43 PM
                            Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 142 of 685 PageID #:195
                                                      Teissuly Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com

           Sponsored
                                                                                                                       $89.00                                                                                                       $24.99
           Now $11.99 $15.99
                                                                                                                       DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom Living Room US                       Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lam
           Ceiling Light Fixture with Teardrop Glass Shade Semi Flush Mount Indoor Lighting
                                                                                                                       Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Teissuly Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Teissuly Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   Features:
                   Product Specifications:
                   Color: Purple
                   Package includes:

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Size
             Free Size

             Brand
             Teissuly

             Features
             Teissuly Dream Pendant Car Decorative Pendant Acrylic Flat Pendant



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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              Build the galaxy




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                                                                                                                                                                                                                                                                 




              Options                                                                                                     Options                                                                                                      Options



https://www.walmart.com/ip/Teissuly-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6351607389                                                                                                                                                                                     2/3
9/19/24, 3:43 PM
                            Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 143 of 685 PageID #:196
                                                      Teissuly Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                                                                                                                                                  +3 options

           $3.81 +$2.99 shipping                                                                         Now $5.01 $6.68 +$0.99 shipping                                                              $9.66 +$1.99 shipping
                                                                                                                                                                                                      Options from $9.66 – $11.88
           Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor And   Modern Home Decor Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration
           Outdoor Decorative Accessories Garden Decoration Pendant Swinging Bear Car Ornament           Pendant Indoor And Outdoor Decorative Accessories Garden Decoration Pendant                  SIfdSeng Funny Acrylic Animal Decoration Pendant Cre
           Shipping, arrives in 3+ days                                                                  Shipping, arrives in 3+ days                                                                 Indoor and Outdoor Decorative Accessories Garden De
                                                                                                                                                                                                      Wife
                                                                                                                                                                                                      Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Teissuly-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6351607389                                                                                                                                                     3/3
9/19/24, 3:43 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 144 of 685 PageID #:197
                                                              Review your order - Walmart.com




                        Shipping, arrives by Thu, Oct 10
                                                                                                                                                     Place order for $6.49

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                             $1.99

                                                                                                                                Seller shipping                                                               $3.90
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.60




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.51 donation?
          Arrives by Thu, Oct 10                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by Teissuly Direct
                                                                                                                                         outdoors.
          $3.90 seller shipping fee

                            Teissuly Dream Pendant Car Decorative Pendant
                            Acrylic Flat Pendant                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Size: Free Size, Actual Color: Purple

                                                                $1.99                                                                $1.00            $2.00            $5.00

                                                                                            Remove               1       
                                                                                                                                Estimated total                                                         $6.49


                                                                                                                                Have a promo code?


                        Payment method


                            We'll look for smart ways to pay
                            We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.49

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/19/24, 3:43 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 145 of 685 PageID #:198
                                                              Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 1:10 PM
                              Case: 1:24-cv-11674 Document        #: 6-5 Filed: 11/19/24 Page 146 of 685 PageID #:199
                                                      Taylonsss Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                          Sponsored 




             Taylonsss
             Taylonsss Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $12.99
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Size: Free Size

                                           Free Size
                                             $12.99

             Actual Color: Purple




             How do you want your item?



                                                         Shipping                                                Pickup                                        Delivery
                                                       Arrives Sep 25                                          Not available                                  Not available
                                                            $3.99



             Delivery to 1 N La Salle St



                  Sold and shipped by Taylonsss

                    9 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                              Add to registry


                                                       Sponsored

                                                       Now $170.00 $200.00
                                                       Kalco Carson 26 Inch Pendant

                                                        3+ day shipping




                                                               Add


                                                                                                                                                                                    
                                                                                                                                                                                    




                                                                                                                                                




                    +   3
                   View all




                                                                                                                                                        




             Add                                                                           Add                               Add

https://www.walmart.com/ip/Taylonsss-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6348157822                                                                         1/3
9/5/24, 1:10 PM
                           Case: 1:24-cv-11674 Document        #: 6-5 Filed: 11/19/24 Page 147 of 685 PageID #:200
                                                   Taylonsss Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



            $24.99                                                                                     $89.00                                                                                    $5.99 +$3.99 shipping
            Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White           DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom                   Light Diffuser Light-transmitting Plate Acrylic Diffuser Ceiling Light Shade Diffuser
                                                                                                       Living Room US




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Taylonsss Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Taylonsss Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   Features:
                   Product Specifications:
                   Color: Purple
                   Package includes:

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Size
             Free Size

             Brand
             Taylonsss

             Features
             Taylonsss Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                                            




            Add                                                                                                          Options                                                                                                      Options

                                                                                                                                                                                                                                                                                   +3 options

           $4.99                                                                                                        $7.19 +$0.99 shipping                                                                                       $4.99 +$0.99 shipping


https://www.walmart.com/ip/Taylonsss-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6348157822                                                                                                                                                                             2/3
9/5/24, 1:10 PM
                            Case: 1:24-cv-11674 Document        #: 6-5 Filed: 11/19/24 Page 148 of 685 PageID #:201
                                                    Taylonsss Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


           Somuwie Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Best Gift         Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor And   Home Decor Kits Colorful Butterflies Acrylic Decoratio
           Shipping, arrives in 3+ days                                                                  Outdoor Decorative Accessories Garden Decoration Pendant                                      Pendant Gift Pendant For Party Decoration The Butter
                                                                                                         Shipping, arrives in 3+ days                                                                  Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Taylonsss-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6348157822                                                                                                                                             3/3
9/5/24, 1:11 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 149 of 685 PageID #:202
                                                             Review your order - Walmart.com




                        Shipping, arrives by Wed, Sep 25
                                                                                                                                                    Place order for $18.72

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                        $12.99

                                                                                                                                Seller shipping                                                               $3.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $1.74




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.28 donation?
          Arrives by Wed, Sep 25                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by Taylonsss
                                                                                                                                         outdoors.
          $3.99 seller shipping fee

                            Taylonsss Clearance Dream Pendant Car
                            Decorative Pendant Acrylic Flat Pendant                                                               Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Size: Free Size, Actual Color: Purple

                                                              $12.99                                                                 $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                                Estimated total                                                        $18.72


                                                                                                                                Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                          $18.72

              + Add new payment                                                                        Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:11 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 150 of 685 PageID #:203
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
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          rates may apply. By continuing, you agree to our Mobile Alert Terms.




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9/19/24, 3:42 PM
                               Case: 1:24-cv-11674      Document #: 6-5 Filed: 11/19/24 Page 151 of 685 PageID #:204
                                                Tainini Fashion Butterfly Pendants, Acrylic Butterflies Pendants Keychain Necklace Pendants for Women DIY,Car Decoration - Walmart.com


                               Next Level Moves                                                                                                                                                                                                 Sponsored 




           Clearance

             Tainini
             Tainini Fashion Butterfly Pendants, Acrylic Butterflies Pendants Keychain Necklace Pendants for Women DIY,Car Decoration

              Free 30-day returns



          Now $1.07 $3.47 
           You save $2.40
             Price when purchased online 



                                                                   Add to cart


             Actual Color: Purple




                                 $1.07




             How do you want your item?



                                                   Shipping                                                                             Pickup                                                                Delivery
                                                  Arrives Oct 8                                                                   Not available                                                             Not available
                                                      $3.99



             Delivery to 1 N La Salle St



                   Sold and shipped by tainini

                     9 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                       Add to list                                                                                                    Add to registry


                                                                                                                                                                                                                                                       




                                                                                                                                                                                                  




                     +   3
                    View all




                                                                                                                                                                                                           Clearance



                                                                                                                                                                                                                                       




           $4.09 +$2.59 shipping                                                                         $7.54                                                                                            Now $2.14 $4.13 +$1.99 shipping
                                                                                                                                                                                                          More options from $1.99
           Tnobhg Faux Pearls Sparkling Rhinestones Choker Necklace Adjustable Extension Chain Elegant   Pretty Crystal Frog Keychain Pendant Handbag Keyring Key Chain Car Key Holder for Women Gifts
           Butterflies Decor Women Necklace Jewelry Accessories                                          Fashion                                                                                          Acrylic Butterfly Pendant Necklace Clavicle Chain Jew
           Shipping, arrives in 3+ days                                                                  Shipping, arrives in 3+ days                                                                     Necklaces for Women Necklaces Diamond Choker Pen
                                                                                                                                                                                                          Heart Necklace
                                                                                                                                                                                                          Shipping, arrives in 3+ days




https://www.walmart.com/ip/Tainini-Fashion-Butterfly-Pendants-Acrylic-Butterflies-Pendants-Keychain-Necklace-Pendants-for-Women-DIY-Car-Decoration/8027702528                                                                                                     1/3
9/19/24, 3:42 PM
                            Case: 1:24-cv-11674      Document #: 6-5 Filed: 11/19/24 Page 152 of 685 PageID #:205
                                             Tainini Fashion Butterfly Pendants, Acrylic Butterflies Pendants Keychain Necklace Pendants for Women DIY,Car Decoration - Walmart.com



          About this item


             Product details
                                                                                                                                                                                                                                                                                     
             Tainini Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
             display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
             and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
             appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
             sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
             collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Home Savings Outdoor/Indoor Decoration Clearance Home Decor
                   Home Decoration for Living Room Kitchen Bedroom Bathroom Patio Garden Yard
                   Home, Garden & Tools Deals Spring Cleaning Supplies Office & School Supplies Party Supplies Clearance Household Essentials
                   Spring savings summer savings autumn savings winter savings Fall Decor Bathroom Accessories Home/Bath/Bathroom Rugs & Bath Mats/Bathroom Rugs & Bath Mats Bathroom Supplies
                   Kitchen & Dining Savings Kitchen Tools & Gadgets Deals Storage & Organization Closet Organization Food & Kitchen Storage Garage Storage Laundry Storage Office Storage Shelving Storage Containers

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                     
             Brand
             Tainini

             Size
             Free Size

             Assembled Product Weight
             0.11 lb

             Manufacturer
             Tainini Home Decor


             More details




             Warranty
                                                                                                                                                                                                                                                                                     
             Warranty information
             Decoration


             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the…
             'C t t ll ' f t           th thi d    t M k t l        ll ' i f       ti          d       t th it '           t t        i t       h

             More details



               Report incorrect product information




                                                                                                                                                                                                                         




           $11.99                                                                                     $14.59                                                                                     $15.99
           Butterfly Keychain, Kvago Leather Woven Car Key Chain for Women with Rhinestone            SPOKKI 10Pcs DIY Diamond Painting Keychain, DIY Art Craft Animal and Love Heart            VINCHIC 26 Letter Keychain Initial Keyring Alphabet Resin Flower Key Chain with
           Butterfly Shape Bling Crystal Cute Keychain for Girls Ladies Gift (White)                  Diamond Painting Kits for Women Girls Purse/Key Pendant/Bag Decor (A)                      Butterfly Tassel Pendant Handbag Purse Charm Pink Petal
            1                                                                                                                                                                                1
                                                                                                      2-day shipping

           2-day shipping                                                                                                                                                                         2-day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet


                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Build the galaxy




                                                                                                                                                                                                                                                                               Sponsored 




https://www.walmart.com/ip/Tainini-Fashion-Butterfly-Pendants-Acrylic-Butterflies-Pendants-Keychain-Necklace-Pendants-for-Women-DIY-Car-Decoration/8027702528                                                                                                                                2/3
9/19/24, 3:42 PM
                            Case: 1:24-cv-11674      Document #: 6-5 Filed: 11/19/24 Page 153 of 685 PageID #:206
                                             Tainini Fashion Butterfly Pendants, Acrylic Butterflies Pendants Keychain Necklace Pendants for Women DIY,Car Decoration - Walmart.com




                                                                                                                                                                                                                                       




                                                      +3 options

           Now $5.01 $6.68 +$0.99 shipping                                                               $9.66 +$1.99 shipping                                                                            $4.35 +$3.99 shipping
                                                                                                         Options from $9.66 – $11.88
           Modern Home Decor Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration                                                                                                     Funny Acrylic Animal Decoration Pendant Creative 2D
           Pendant Indoor And Outdoor Decorative Accessories Garden Decoration Pendant                   SIfdSeng Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant        Outdoor Decorative Accessories Garden Decoration P
           Shipping, arrives in 3+ days                                                                  Indoor and Outdoor Decorative Accessories Garden Decoration Pendant Gifts for Fathers Day From   Shipping, arrives in 3+ days
                                                                                                         Wife
                                                                                                         Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Clothing / Jewelry & Accessories




https://www.walmart.com/ip/Tainini-Fashion-Butterfly-Pendants-Acrylic-Butterflies-Pendants-Keychain-Necklace-Pendants-for-Women-DIY-Car-Decoration/8027702528                                                                                                   3/3
2024/9/30 17:26
                              Case: 1:24-cv-11674 Document           #: 6-5 Filed: 11/19/24 Page 154 of 685 PageID #:207
                                                   Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments Gifts for Women - Walmart.com




            YINAVEN
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments Gifts for Women
          (No ratings yet)

             Free 30-day returns



         Now $4.44 $4.99 
          You save $0.55
            Price when purchased online 



                                                                      Buy now

                                                                    Add to cart


            Actual Color: Purple




                               $4.44




            How do you want your item?



                                                   Shipping                                                                     Pickup                                                               Delivery
                                                 Arrives Oct 22                                                           Not available                                                             Not available
                                                      $1.99



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by YINAVEN

                    3 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                     Add to list                                                                                             Add to registry


                                                                                                                                                                                                                                           
                                                                                                                                                                                                                                           




                                                                                                                                                                                         




                    +   2
                   View all




                                                                                                                                                                                                  Clearance



                                                                                                                                                                                                                              




           Add                                                                                   Add                                                                                              Options



          $45.99                                                                                 $10.12                                                                                          Now $3.75 $4.19 +$4.90 shipping
                                                                                                                                                                                                 More options from $1.24
          Acrylic wedding cards Box ,Clear Decorative Centerpiece ,Wishing case ,post Gift       10PCS Diamond Pendant Ornaments, Shatterproof Acrylic for Christmas Tree Party Outdoor
          Shipping, arrives in 3+ days                                                           Decorations                                                                                     Yubnlvae Hangs Window Creative Painted Peacock Win
                                                                                                 Shipping, arrives in 3+ days                                                                    Pendant Pendant Home Decor Home Decoration

                                                                                                                                                                                                  1
                                                                                                                                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Hanging-Ornaments-Gifts-for-Women/8990760710?classType=VARIANT&from=/search                                                                                      1/3
2024/9/30 17:26
                           Case: 1:24-cv-11674 Document           #: 6-5 Filed: 11/19/24 Page 155 of 685 PageID #:208
                                                Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments Gifts for Women - Walmart.com




         About this item


            Product details
                                                                                                                                                                                                                                                                                       
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
            display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
            and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
            personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
            the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated,
            artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been
            carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
            Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments Gifts for Women

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Features
            Removable Cover

            Brand
            YINAVEN

            Assembled Product Weight
            0.11 lb

            Manufacturer
            Hanging Ornaments



            Directions
                                                                                                                                                                                                                                                                                       
            Fabric Care Instructions
            Machine Washable



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




            Warnings
                                                                                                                                                                                                                                                                                       
                WARNING: None



              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet



                                                                                             Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




                                                                                                                                                                                                                                                                




           Add                                                                                                          Options                                                                                                    Add

          $3.37 +$1.89 shipping                                                                                       $0.59 +$4.80 shipping                                                                                        $0.77 +$4.99 shipping
          Cevemin Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Car Hanging Ornament for                 Qianying Summer Promotion,Clearance,Dream Pendant Car Decorative Pendant Acrylic Flat                        SHIMELE Car Decorative Pendant, Dreamcatcher Pend
          DIY Crafting                                                                                                Pendant                                                                                                      Rearview Mirror Decoration
          Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Hanging-Ornaments-Gifts-for-Women/8990760710?classType=VARIANT&from=/search                                                                                                                           2/3
2024/9/30 17:26
                       Case: 1:24-cv-11674 Document           #: 6-5 Filed: 11/19/24 Page 156 of 685 PageID #:209
                                            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments Gifts for Women - Walmart.com


             Report:    Report seller    Report suspected stolen goods (to CA Attorney General)


         Home / Decor / Decorative Accents / Decorative Ornaments




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Hanging-Ornaments-Gifts-for-Women/8990760710?classType=VARIANT&from=/search   3/3
2024/9/30 17:26
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 157 of 685 PageID #:210
                                                             Review your order - Walmart.com




                        Shipping, arrives by Mon, Oct 21


         steven howard                                                                                                 Edit                        Place order for $7.09
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                               By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                               Use

         Delivery instructions (optional)                                                                              Edit
                                                                                                                              Subtotal (1 item)                                               $4.99
         House
                                                                                                                              Savings                                                       -$0.55

                                                                                                                                                                                              $4.44
         Items details                                                                                       Hide details

                                                                                                                              Seller shipping                                                      $1.99
         Arrives by Mon, Oct 21                                                                                     1 item

         Sold and shipped by YINAVEN                                                                                          Estimated taxes                                                  $0.66
         $1.99 seller shipping fee

                           Dream Pendant Car Decorative Pendant Acrylic
                                                                                                                                       Want to support the National Fish and Wildlife 
                           Flat Pendant Hanging Ornaments Gifts for Women
                                                                                                                                       Foundation’s Acres for America program with
                           Actual Color: Purple                                                                                        a $0.91 donation?
                                                                                                                                       Spark Good Round Up is an easy way to help conserve
                           $0.55 from savings                                                                                          land for wildlife and increase public access to the great
                                                                                                                                       outdoors.
                                                              $4.44
                                                                $4.99

                                                                                            Remove             1               Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                Foundation (NFWF)


                                                                                                                                   $1.00           $2.00         $5.00




                       Payment method                                                                                         Estimated total                                                 $7.09


                                                                                                                              Have a promo code?

                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                            $7.09

            + Add new payment                                                                        Change payment




                      Free 30-day trial




         Try Walmart+ to save with free delivery from stores + so
         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                  1/2
2024/9/30 17:26
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 158 of 685 PageID #:211
                                                           Review your order - Walmart.com


         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                2/2
2024/9/30 17:27
                               Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 159 of 685 PageID #:212
                                                      LYUCRAZ Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




           Clearance

            LYUCRAZ
            LYUCRAZ Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
          (No ratings yet)

               Free 30-day returns



         Now $3.99 $4.99 
          You save $1.00
            Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


            Size: Free Size

                                             Free Size
                                         Now $3.99

            Actual Color: Purples




            How do you want your item?



                                                           Shipping                                                                            Pickup                                                              Delivery
                                                         Arrives Oct 22                                                                  Not available                                                            Not available
                                                              $3.00



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by LYUCRAZ |  Pro Seller 

                     9 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                           Add to list                                                                                                     Add to registry


                                                                                                                                                                                                                                                           
                                                                                                                                                                                                                                                           




                                                                                                                                                                                                     




                     +   2
                    View all




                                                                                                                                                                                                                Clearance



                                                                                                                                                                                                                                            




               Options                                                                                           Add                                                                                             Options



          $74.85                                                                                                $4.46 +$2.49 shipping                                                                          Now $3.39 $10.81 +$4.90 shipping
                                                                                                                                                                                                               More options from $1.24
          Efavormart 13" Round Iridescent Blue Glitter Acrylic Plastic Charger Plates for Table Decor -Set of   UUWENDA Diy Name Car Pendant Colorful Acrylic Pendant Cute Dog Tag Pet Acrylic Pendant
          24                                                                                                    Commemorative Pet Hanging Window Pendant Sun Acrylic Catcher Pet Pendant Gift                  Yubnlvae Hangs Color Acrylic Sunshade Ukrainian Colo
          Shipping, arrives in 3+ days                                                                          Shipping, arrives in 3+ days                                                                   Hanging Ornament, Christmas Decorations
                                                                                                                                                                                                                1
                                                                                                                                                                                                               Shipping, arrives in 3+ days



https://www.walmart.com/ip/LYUCRAZ-Hanging-Ornaments-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6560405056?classType=VARIANT&athbdg=L1400&from=/search                                                                                                 1/3
2024/9/30 17:27
                           Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 160 of 685 PageID #:213
                                                  LYUCRAZ Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




         About this item


            Product details
                                                                                                                                                                                                                                                                                       
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
            to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
            variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
            create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
            They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
            Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
            our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
            refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  Hanging Ornaments Powerful, can meet a variety of user needs
                  Hanging Ornaments Stylish design to match modern trends
                  Hanging Ornaments Easy to operate, easy to use, easy to use
                  Hanging Ornaments Cost-effective, affordable, value for money
                  Hanging Ornaments Provide perfect after-sales service to solve user problems
                  Hanging Ornaments It is highly practical and can fully solve the problems you encounter

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Features
            Has Handles

            Brand
            LYUCRAZ

            Manufacturer
            LYUCRAZ

            Manufacturer Part Number
            Hanging Ornaments



            Directions
                                                                                                                                                                                                                                                                                       
            Fabric Care Instructions
            Hand Wash Dry Clean Only



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




            Warnings
                                                                                                                                                                                                                                                                                       
                WARNING: None



              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet



                                                                                             Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




                                                                                                                                                                                                                                                                




           Add                                                                                                         Add                                                                                                          Options



          Now $4.44 $4.99 +$1.99 shipping                                                                             $3.37 +$1.89 shipping                                                                                        $0.59 +$4.80 shipping
          Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments Gifts for Women                 Cevemin Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Car Hanging Ornament for                  Qianying Summer Promotion,Clearance,Acrylic Flat Ca
          Shipping, arrives in 3+ days                                                                                DIY Crafting                                                                                                 Decorations
                                                                                                                      Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days



https://www.walmart.com/ip/LYUCRAZ-Hanging-Ornaments-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6560405056?classType=VARIANT&athbdg=L1400&from=/search                                                                                                                      2/3
2024/9/30 17:27
                       Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 161 of 685 PageID #:214
                                              LYUCRAZ Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Report:    Report seller    Report suspected stolen goods (to CA Attorney General)


         Home / Decor / Decorative Accents / Decorative Ornaments




https://www.walmart.com/ip/LYUCRAZ-Hanging-Ornaments-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6560405056?classType=VARIANT&athbdg=L1400&from=/search   3/3
2024/9/30 17:28
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 162 of 685 PageID #:215
                                                             Review your order - Walmart.com




                        Shipping, arrives by Mon, Oct 21


         steven howard                                                                                                Edit                        Place order for $7.71
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                              By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                              Use

         Delivery instructions (optional)                                                                             Edit
                                                                                                                             Subtotal (1 item)                                               $4.99
         House
                                                                                                                             Savings                                                        -$1.00

                                                                                                                                                                                              $3.99
         Items details                                                                                       Hide details

                                                                                                                             Seller shipping                                                  $3.00
         Arrives by Mon, Oct 21                                                                                     1 item

         Sold and shipped by LYUCRAZ |  Pro Seller                                                                         Estimated taxes                                                      $0.72
         $3.00 seller shipping fee

                           LYUCRAZ Hanging Ornaments Dream Pendant Car
                                                                                                                                      Want to support the National Fish and Wildlife 
                           Decorative Pendant Acrylic Flat Pendant
                                                                                                                                      Foundation’s Acres for America program with
                           Size: Free Size, Actual Color: Purples                                                                     a $0.29 donation?
                                                                                                                                      Spark Good Round Up is an easy way to help conserve
                           $1.00 from savings                                                                                         land for wildlife and increase public access to the great
                                                                                                                                      outdoors.
                                                               $3.99
                                                                $4.99

                                                                                            Remove             1              Donate a whole dollar to National Fish and Wildlife 
                                                                                                                               Foundation (NFWF)


                                                                                                                                  $1.00           $2.00         $5.00




                       Payment method                                                                                        Estimated total                                                  $7.71


                                                                                                                             Have a promo code?

                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                            $7.71

            + Add new payment                                                                        Change payment




                      Free 30-day trial




         Try Walmart+ to save with free delivery from stores + so
         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                 1/2
2024/9/30 17:28
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 163 of 685 PageID #:216
                                                           Review your order - Walmart.com


         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                2/2
9/5/24, 1:03 PM
                              Case: 1:24-cv-11674 Document       #: 6-5 Filed: 11/19/24 Page 164 of 685 PageID #:217
                                                      Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                   Sponsored 




           Clearance

             Ywindl
             Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          Now $5.94 $6.99 
           You save $1.05
             Price when purchased online 



                                                                           Buy now

                                                                         Add to cart


             Actual Color: color

                                             color
                                             $5.94




             How do you want your item?



                                                         Shipping                                                                         Pickup                                        Delivery
                                                       Arrives Sep 23                                                                   Not available                                  Not available
                                                            Free



             Delivery to 1 N La Salle St



                  Sold and shipped by SHENZHENSHIJIANGJINGWANJUYOU XIANGONGSI

                    5 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                       Add to registry


              Reduced price                            Sponsored

                                                       Now $399.99 $499.99
                                                       Crystorama Lighting Group Car-9206 Carlyn 6 Light 24" Wide Pendant - Black

                                                        2-day shipping




                                                                               Add



                                                                                                                                                                                                             
                                                                                                                                                                                                             




                                                                                                                                                                         




                    +   2
                   View all




                                                                                                                                                                                 




             Add                                                                                        Options                                        Add

https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6646658519                                                                                                                      1/3
9/5/24, 1:03 PM
                              Case: 1:24-cv-11674 Document       #: 6-5 Filed: 11/19/24 Page 165 of 685 PageID #:218
                                                      Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



            $89.00                                                                                     $14.99 +$1.98 shipping                                                                    $65.00
            DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom                    iju7gthy Christmas Decorative Lights Holiday Room Window Hanging Lights Shine             Acrylic Circular Ring LED Dimmable Chandelier Remote Ceiling Light Hanging
            Living Room US                                                                             Star Pendant                                                                              Lamp




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
             our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             color

             Brand
             Ywindl



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




                                                                                                                                                                                                                         




            Add                                                                                       Add                                                                                        Add

           $148.00                                                                                    $410.92                                                                                    $148.00
           Luxury Transitional Indoor Pendant, 7''H x 5.125''W, with Modern Style Elements,           Contemporary 4-Light Led Pendant with Frosted Acrylic 3.25 X 4.25 inches                   Luxury Transitional Indoor Pendant, 7''H x 5.125''W, with Modern Style Elements,
           Contemporary Design, Brushed Bronze Finish and Glass, UHP2309                              Pendants Bailey Street Home 79-Bel-2041389                                                 Contemporary Design, Polished Chrome Finish and Glass, UHP2307

            3+ day shipping                                                                            3+ day shipping                                                                            3+ day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




               onoring serv
                          ice




                                                                                                                                                                                                                                                                               Sponsored 




            Clearance                                                                                                    Reduced price




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6646658519                                                                                                                                                                                              2/3
9/5/24, 1:03 PM
                         Case: 1:24-cv-11674 Document       #: 6-5 Filed: 11/19/24 Page 166 of 685 PageID #:219
                                                 Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



                                                                                                                                                                                                                                 




             Options                                                                                       Options                                                                                           Options



           Now $5.89 $7.36 +$1.99 shipping                                                               Now $1.99 $6.99 +$4.99 shipping                                                                   $5.29 +$0.98 shipping
           Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift    Door Hanging Beads Hanging Decorations for Home Funny Acrylic Animal Decoration Pendant           Hbdhejl Colorful Butterflies Acrylic Decoration Pendan
           Pendant For Party Decoration The Butterfly Pendant Gift                                       Creative 2D Butterfly Decoration Pendant Indoor And Christmas Fireplace Decal Christmas outside   Gift Pendant For Party Decoration The Good Butterfly




              Report:     Report seller       Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6646658519                                                                                                                                                                     3/3
9/5/24, 1:03 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 167 of 685 PageID #:220
                                                             Review your order - Walmart.com




                                                                                                                                                        You're saving $1.05 today!
                        Free shipping, arrives by Mon, Sep 23

                                                                                                                                                     Place order for $6.55
          Steven kal                                                                                                     Edit       By placing this order, you agree to our Privacy Policy and Terms of Use
          1 N La Salle St, Chicago, IL 60602

                                                                                                                                Subtotal (1 item)                                                         $6.99
          Delivery instructions (optional)                                                                               Add    Savings                                                                 -$1.05
          Add access codes or other necessary information.                                                                                                                                                $5.94

                                                                                                                                Shipping                                                                      Free
          Items details                                                                                         Hide details
                                                                                                                                Estimated taxes                                                               $0.61

          Arrives by Mon, Sep 23                                                                                       1 item

          Sold and shipped by SHENZHENSHIJIANGJINGWANJUYOU XIANGONGSI                                                                    Want to support the National Fish and Wildlife 
          Free shipping                                                                                                                  Foundation’s Acres for America program with
                                                                                                                                         a $0.45 donation?
                            Christmas Clearance Dream Pendant Car                                                                        Spark Good Round Up is an easy way to help conserve
                            Decorative Pendant Acrylic Flat Pendant                                                                      land for wildlife and increase public access to the great
                            Actual Color: color                                                                                          outdoors.


                            $1.05 from savings
                                                                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                               $5.94
                                                                                                                                  Foundation (NFWF)
                                                                 $6.99

                                                                                            Remove              1                  $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                          $6.55


              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                              


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.55

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:03 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 168 of 685 PageID #:221
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 1:02 PM
                             Case: 1:24-cv-11674 DocumentDream
                                                          #: Pendant
                                                               6-5 Car
                                                                     Filed:      11/19/24 Page 169 of 685 PageID #:222
                                                                       Decorative Pendant Acrylic Flat Pendant - Walmart.com


                             Redefine your wardrobe                                                                                                                                                                                                                       Sponsored 
                                                                                                                                                                                                                             More seller options


             WOUKN                                                                                                                                                                                                                          Dream Pendant Car Decorative Pendant
                                                                                                                                                                                                                                            Acrylic Flat Pendant
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



             See more seller options                                                                                                                                                                                         Shipping to Chicago, 60602

                                                                                                                                                                                                                             $3.43
                                                                                                                                                                                                                             One-time purchase
             Actual Color: Purple
                                                                                                                                                                                                                             Shipping ($4.99), arrives by Mon, Sep 23 to 1 N La Salle St
                                            Purple
                                    See more seller options                                                                                                                                                                      Sold and shipped by SHENZHENSHI kaixiangyu
                                                                                                                                                                                                                            jiajuyongpinyouxianGONGSI
                                                                                                                                                                                                                             View seller information

                                                                            Add to list                                                                                                                   Add to registry Free 30-day returns Details


                                                                                                                                                                                                                                                                            Add to cart
             More seller options (1)
             Starting from $3.43 Compare all sellers




                                                      Sponsored

                                                      $264.00
                                                      Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                      3+ day shipping




                                                                                               Add


                                                                                                                                                                                                                                                                                 
                                                                                                                                                                                                                                                                                 




                                                                                                                                                                                                                      




                   +   2
                  View all




                                                                                                                                                                                                                              




             Add                                                                                      Add                                                                                      Add

            $89.00                                                                                    $24.99                                                                                   $138.00
            DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom                   Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White         Denest Pendant Light LED Ceiling Lamps Ceiling Light 16-Petal Flower Home Decor
            Living Room US                                                                                                                                                                     Light




          About this item


             Product details
                                                                                                                                                                                                                                                                                   
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.



https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5940037883                                                                                                                                                                                            1/3
9/5/24, 1:02 PM
                              Case: 1:24-cv-11674 DocumentDream
                                                           #: Pendant
                                                                6-5 Car
                                                                      Filed:      11/19/24 Page 170 of 685 PageID #:223
                                                                        Decorative Pendant Acrylic Flat Pendant - Walmart.com


             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
                                                                                                                                                                                                                             More seller
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants      options
                                                                                                                                                                                                                                     and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic                                                                                                                                                                                                                  Dream Pendant Car Decorative Pendant
             Color: Purple                                                                                                                                                                                                                      Acrylic Flat Pendant
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                                                                                                                                          Shipping to Chicago, 60602

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer                                              $3.43
                                                                                                                                                                                                                                One-time purchase
             Specifications
                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                Shipping ($4.99), arrives by Mon, Sep 23 to 1 N La Salle St

             Brand                                                                                                                                                                                                                 Sold and shipped by SHENZHENSHI kaixiangyu
             WOUKN                                                                                                                                                                                                            jiajuyongpinyouxianGONGSI

             Assembled Product Dimensions (L x W x H)                                                                                                                                                                           View seller information
             3.15 x 3.15 x 0.15 Inches                                                                                                                                                                                              Free 30-day returns



             Warranty                                                                                                                                                                                                                                                          Add to cart
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




                                                                                                                                                                                                                         




            Add                                                                                       Add                                                                                        Add

           $148.00                                                                                    $264.00                                                                                    $410.92
           Luxury Transitional Indoor Pendant, 7''H x 5.125''W, with Modern Style Elements,           Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight        Contemporary 4-Light Led Pendant with Frosted Acrylic 3.25 X 4.25 inches
           Contemporary Design, Brushed Bronze Finish and Glass, UHP2309                              Black, UHP4276 by Urban Ambiance                                                           Pendants Bailey Street Home 79-Bel-2041389

            3+ day shipping                                                                            3+ day shipping                                                                            3+ day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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              Beef u
                   p Game Day




                                                                                                                                                                                                                                                                               Sponsored 




            Reduced price



                                                                                                                                                                                                                                                                 




              Options                                                                                                     Add                                                                                                        Add

           Now $1.99 $6.99 +$4.99 shipping                                                                               $2.79 +$2.99 shipping                                                                                      $4.05 +$1.99 shipping
           Door Hanging Beads Hanging Decorations for Home Funny Acrylic Animal Decoration Pendant                       Butterfly Car Hanging Ornament, Hanging Charm Home Decoration Keepsake, Butterfly Car                      Ruhiku GW Dream Pendant Car Decorative Pendant Ac
           Creative 2D Butterfly Decoration Pendant Indoor And Christmas Fireplace Decal Christmas outside               Accessories Pendant for Rear View Mirror Christmas Valentine's Day Car Gifts for Men Women                 Shipping, arrives in 3+ days
           Decorating                                                                                                    Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5940037883                                                                                                                                                                                               2/3
9/5/24, 1:02 PM
                        Case: 1:24-cv-11674 DocumentDream
                                                     #: Pendant
                                                          6-5 Car
                                                                Filed:      11/19/24 Page 171 of 685 PageID #:224
                                                                  Decorative Pendant Acrylic Flat Pendant - Walmart.com


              Report:    Report seller      Report suspected stolen goods (to CA Attorney General)    More seller options


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures                                                  Dream Pendant Car Decorative Pendant
                                                                                                                       Acrylic Flat Pendant




                                                                                                        Shipping to Chicago, 60602

                                                                                                        $3.43
                                                                                                        One-time purchase
                                                                                                        Shipping ($4.99), arrives by Mon, Sep 23 to 1 N La Salle St

                                                                                                            Sold and shipped by SHENZHENSHI kaixiangyu
                                                                                                       jiajuyongpinyouxianGONGSI
                                                                                                        View seller information

                                                                                                            Free 30-day returns


                                                                                                                                                       Add to cart




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/5940037883                                                                       3/3
9/5/24, 1:02 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 172 of 685 PageID #:225
                                                             Review your order - Walmart.com




                                                                                                                                                        You're saving $2.29 today!
                        Shipping, arrives by Mon, Sep 23

                                                                                                                                                     Place order for $9.28
          Steven kal                                                                                                     Edit       By placing this order, you agree to our Privacy Policy and Terms of Use
          1 N La Salle St, Chicago, IL 60602

                                                                                                                                Subtotal (1 item)                                                         $5.72
          Delivery instructions (optional)                                                                               Add    Savings                                                                -$2.29
          Add access codes or other necessary information.                                                                                                                                                $3.43


                                                                                                                                Seller shipping                                                               $4.99
          Items details                                                                                         Hide details

                                                                                                                                Estimated taxes                                                               $0.86
          Arrives by Mon, Sep 23                                                                                       1 item

          Sold and shipped by SHENZHENSHI kaixiangyu jiajuyongpinyouxianGONGSI
          $4.99 seller shipping fee                                                                                                      Want to support the National Fish and Wildlife 
                                                                                                                                         Foundation’s Acres for America program with
                            Dream Pendant Car Decorative Pendant Acrylic                                                                 a $0.72 donation?
                            Flat Pendant                                                                                                 Spark Good Round Up is an easy way to help conserve
                            Actual Color: Purple                                                                                         land for wildlife and increase public access to the great
                                                                                                                                         outdoors.

                            $2.29 from savings

                                                               $3.43                                                              Donate a whole dollar to National Fish and Wildlife 
                                                                 $5.72
                                                                                                                                  Foundation (NFWF)
                                                                                            Remove              1       
                                                                                                                                     $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                          $9.28

              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                               

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $9.28

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:02 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 173 of 685 PageID #:226
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/24/24, 1:30 PM
                               Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 174 of 685 PageID #:227
                                                         Saleteraj Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Built for tough drives                                                                                                                                                                                                         Sponsored 




             Saleteraj
             Saleteraj Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

              Free 30-day returns



          $6.99
             Price when purchased online 



                                                                           Add to cart


             Actual Color: Purple

                                               Purple
                                               $6.99




             How do you want your item?



                                                          Shipping                                                                            Pickup                                                                         Delivery
                                                        Arrives Oct 10                                                                      Not available                                                                  Not available
                                                             Free



             Delivery to 3200 N Lake Shore Dr



                   Sold and shipped by Saleteraj

                     7 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                              Add to list                                                                                                            Add to registry


                                                        Sponsored

                                                        $15.99
                                                        AFANQI 2X Coasters Car Accessories LED Interior Decorative Lights 7 Colors

                                                         3+ day shipping




                                                                                Add



                                                                                                                                                                                                                                                                     




                                                                                                                                                                                                               




                     +   3
                    View all




                                                                                                                        Best seller                                                                                       Best seller



                                                                                                                                                                                                                                               




            Add                                                                                                        Add                                                                                              Add
           Sponsored

           $29.99                                                                                                      $4.47 $4.47/in                                                                                    Now $19.98 $24.99
           Heavy Duty Trailer Spare Tire Wheel Mount Holder Bracket Carrier for 4 & 5 lugs wheels - 27010              Bling Ring Auto Interior Jewelry Applies to Most Vehicle Interiors - 3 Pack                       Angel View Wide Angle Rearview Mirror, Fits Most Car
            35                                                                                                     87                                                                                           214
           Shipping, arrives in 2 days                                                                                 Save with                                                                                         Save with




https://www.walmart.com/ip/Saleteraj-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6599259139                                                                                                                                                                       1/3
9/24/24, 1:30 PM
                           Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 175 of 685 PageID #:228
                                                     Saleteraj Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com

                                                                                                                          Pickup today                                                                                             Shipping, arrives in 2 days
                                                                                                                          Delivery today
                                                                                                                          Shipping, arrives in 3+ days




          About this item


            Product details
                                                                                                                                                                                                                                                                                       
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
            to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
            variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
            create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
            They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
            Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
            pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
            elegance and refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                   Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   clearance under $5
                   ☎ If any problem with shipping or service, please feel free to contact us.We will reply you within 24 working hours.
                   ☎ In general, the item will be delivered in 7 - 12 days. Please notice the shipping time so as not to delay your arrangement.
                   ☎ Commitment within 30 days can be returned for free, please rest assured that the purchase.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Features
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

            Color
            Purple

            Brand
            Saleteraj

            Manufacturer Part Number
            NECKFAN



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                                 Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.             Learn more.




              Timeless style for him




                                                                                                                                                                                                                                                                              Sponsored 




https://www.walmart.com/ip/Saleteraj-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6599259139                                                                                                                                                                                   2/3
9/24/24, 1:30 PM
                       Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 176 of 685 PageID #:229
                                                 Saleteraj Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


          Auto & Tires / Automotive Replacement Parts / Replacement Auto Parts




https://www.walmart.com/ip/Saleteraj-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6599259139                            3/3
9/5/24, 12:58 PM
                               Case: 1:24-cv-11674 Document     #: 6-5 Filed: 11/19/24 Page 177 of 685 PageID #:230
                                                         Ruhiku GW Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Redefine your wardrobe                                                                                                                                                                                                        Sponsored 




            Ruhiku GW
            Ruhiku GW Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $4.05
            Price when purchased online 



                                                                            Buy now

                                                                           Add to cart



            How do you want your item?



                                                         Shipping                                                                              Pickup                                                                      Delivery
                                                        Arrives Sep 18                                                                       Not available                                                                Not available
                                                             $1.99



            Delivery to 1 N La Salle St



                   Sold and shipped by Ruhiku GW

                     13 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                              Add to list                                                                                                        Add to registry


                                                        Sponsored

                                                        $264.00
                                                        Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                        3+ day shipping




                                                                                                 Add


                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                             




                     +   3
                    View all




                                                                                                                                                                                                                   




             Add                                                                                          Options                                                                      Add
                                                                                                        Sponsored

            $29.99                                                                                      $45.30                                                                         $97.95
            3 Pack Pendant Light Hanging Pendant Lighting for Kitchen Island Decor E26 E27              Better Homes & Gardens 25" Architectural 3-Light Island Pendant Light, Black   CHLOE Theros Tiffany-style 2 Light Mission Hanging Pendant Fixture 18" Shade
            Base Ceiling Light Fixture Lamp Home Decor                                                  Finish Clear Glass Shades                                                       1
             7                                                                                      51

                                                                                                         Save with




https://www.walmart.com/ip/Ruhiku-GW-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6706764067                                                                                                                                                                  1/3
9/5/24, 12:58 PM
                           Case: 1:24-cv-11674 Document     #: 6-5 Filed: 11/19/24 Page 178 of 685 PageID #:231
                                                     Ruhiku GW Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



          About this item


            Product details
                                                                                                                                                                                                                                                                                       
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
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            Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
            our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
            refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                   Ruhiku GW Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   zep cleanerbaseball decorationsbaby bottle cleanerdeep cleansing oilpaw patrol cake decorationswestern birthday party decorationstineco cordless vacuum cleanerleather shoe cleanerteddy bear baby shower decorationsliving room wall decortineco
                   cleanercleaning brushes small spacespower scrubbers for cleaning bathroomfourth of july decorations19th birthday decorationscurious george birthday decorationsleather couch cleanertable decorationsaffresh washing machine cleaner tabletshanging wall
                   decoraquarium magnet glass cleanerevil eye decorplumas para decoracionesbeauty and the beast decorcleaning supply caddyready clean protein barsgreen leaves for decorationjura cleaning tabletscarpet cleaner for petssunflower bathroom decoreyelid
                   cleanserkorean face cleansersolar garden decorations
                   shower scrubber for cleaning electric spincow birthday party decorationsvegetable cleanerguitar cleaning kitpink wall decorparty supply decorationsfortnite birthday decorationsbirthday decorations for boyscoffee pot cleaneroxy cleaner sprayflat screen tv
                   cleanerprimera comunion decoracionclean towels clean skin clubwindow steam cleanersteam carpet cleanerlash cleaning kitsprayway stainless steel cleanergarage door decorative hardwarewheel cleaner spraylighthouse outdoor decoroutdoor cleaner10th
                   birthday decorations for girlanime room decorcleaning supplies30 seconds outdoor cleanerlysol toilet bowl cleaner gelclorox toilet bowl cleaneroh yuk jetted tub system cleaner25th anniversary decorationssmall vacuum cleaner cordlesssoftymo cleansing
                   oiladministrative professional day decorationshoover carpet cleaner solution

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Color
            Purple

            Brand
            Ruhiku GW

            Features
            Ruhiku GW Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

            Assembled Product Dimensions (L x W x H)
            3.15 x 3.15 x 0.15 Inches



            Directions
                                                                                                                                                                                                                                                                                       
            Fabric Care Instructions
            Machine Washable; Hand Wash



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet

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              Pride always has a place




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                                                                                                                                                                                                                                                                 




                                                                                                                        Add                                                                                                         Add

                                                                                                                      $2.61 +$3.99 shipping                                                                                        $3.99 +$3.00 shipping
                                                                                                                      QuLuJing Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Must Haves for Home                      Dream Pendant Car Decorative Pendant Acrylic Flat Pe
                                                                                                                      Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/Ruhiku-GW-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6706764067                                                                                                                                                                                   2/3
9/5/24, 12:58 PM
                        Case: 1:24-cv-11674 Document     #: 6-5 Filed: 11/19/24 Page 179 of 685 PageID #:232
                                                  Ruhiku GW Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




                                  




             Report:     Report seller       Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Kitchen Island Pendant Lights




https://www.walmart.com/ip/Ruhiku-GW-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6706764067                             3/3
9/5/24, 12:58 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 180 of 685 PageID #:233
                                                              Review your order - Walmart.com




                        Shipping, arrives by Wed, Sep 18
                                                                                                                                                     Place order for $6.66

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                        $4.05

                                                                                                                                Seller shipping                                                               $1.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.62




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.34 donation?
          Arrives by Wed, Sep 18                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by Ruhiku GW
                                                                                                                                         outdoors.
          $1.99 seller shipping fee

                            Ruhiku GW Dream Pendant Car Decorative
                            Pendant Acrylic Flat Pendant                                                                          Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                                                               $4.05
                                                                                                                                     $1.00            $2.00            $5.00
                                                                                            Remove              1       


                                                                                                                                Estimated total                                                          $6.66


                                                                                                                                Have a promo code?                                                             
              Payment method

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.66

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 12:58 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 181 of 685 PageID #:234
                                                              Review your order - Walmart.com




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
2024/9/30 17:09
                              Case: 1:24-cv-11674            Document #: 6-5 Filed: 11/19/24 Page 182 of 685 PageID #:235
                                          Naittoop Summer Clearance Home Decor, Home Decor Clearance, Home Decor Aesthetics Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




           Clearance

            Visit the Naittoop Store
            Naittoop Summer Clearance Home Decor, Home Decor Clearance, Home Decor Aesthetics Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
          (No ratings yet)

             Free 30-day returns



         Now $5.38 $6.12 
          You save $0.74
            Price when purchased online 



                                                                      Buy now

                                                                       1 added                                                

            How you'll get this item:



                                                      Shipping                                                                      Pickup                                                                Delivery
                                                    Arrives Oct 22                                                            Not available                                                              Not available
                                                         $1.99



            1 N LA SALLE ST Change

            Arrives by Tue, Oct 22 | More options

            Shipping fee $1.99



                  Sold and shipped by SHenZHenShiTAIdiwanjuyouxianGONGSI

                    1 seller review
                   View seller information

                   Free 30-day returns Details




                                                                      Add to list                                                                                                 Add to registry


                                                                                                                                                                                                                                                   
                                                                                                                                                                                                                                                   




                                                                                                                                                                                            




                    +   3
                   View all




           Clearance



                                                                                                                                                                                                                                   




           Add                                                                                         Options                                                                                        Add
                                                                                                                                               +5 options

          Now $14.19 $15.79 +$6.96 shipping                                                          $4.75 +$3.99 shipping                                                                            $24.99
                                                                                                     Options from $4.75 – $4.92
          Ynlkorvg Ornaments Clearance, Lampshade Home Hand-Woven Decoration Bohemian Soft Pendant                                                                                                    Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lam
          Home Decor Home Decor                                                                      Welcome to Carnival Night!!HHEN Colored Glass Light Catcher Window Hanging Acrylic Wall Art      Shipping, arrives in 3+ days
          Shipping, arrives in 3+ days                                                               Light Catcher Decoration Garden Pendant

                                                                                                      1
                                                                                                     Shipping, arrives in 3+ days




https://www.walmart.com/ip/Naittoop-Summer-Clearance-Home-Decor-Home-Decor-Clearance-Home-Decor-Aesthetics-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/8366663697?classType=REGULAR&athbdg=L1400&from…                                           1/2
2024/9/30 17:09
                            Case: 1:24-cv-11674            Document #: 6-5 Filed: 11/19/24 Page 183 of 685 PageID #:236
                                        Naittoop Summer Clearance Home Decor, Home Decor Clearance, Home Decor Aesthetics Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



         About this item


            Product details
                                                                                                                                                                                                                                                                                        
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
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            refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  Naittoop Summer Clearance Home Decor, Home Decor Clearance, Home Decor Aesthetics Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
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                  your home space filled with elegance and refinement.

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                        
            Color
            Purple

            Size
            Free Size

            Brand
            Naittoop



            Warranty
                                                                                                                                                                                                                                                                                        
            Warranty information
            Customer first.If you have any questions about the product of the garment please feel free to contact us, and we provide 30days free return service(Please ensure that the packaging of the product is intact and does not affect our secondary sales),if you need to
            return the first time to contact us!Please contact me at the following email：@163.com. I've been here, thanks!
            …
            Pl     b          th t th        t t         it     ff d f        l b thi d  t M k t l         ll        diff f     th    di l d i thi        ti (if    ) T     fi          t t            it    ff d f        l b thi d      t M k t l         ll    l         th

            More details



              Report incorrect product information




         Customer ratings & reviews
                        0 ratings | 0 reviews




         This item does not have any reviews yet
                                                                                                Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




           Clearance                                                                                                      Clearance



                                                                                                                                                                                                                                                                    




           Add                                                                                                           Add                                                                                                          Add

          Now $2.42 $2.69 +$1.99 shipping                                                                                Now $0.99 $2.99 +$4.99 shipping                                                                               $3.37 +$1.89 shipping
          Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat Charm Accessory for a Touch of Whimsy on the                     AOMXGD Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Home Decor on Clearance,                    Cevemin Dream Pendant Car Decorative Pendant Acry
          Road, Hanging Ornaments Sale Savings(Purple)                                                                   Purple                                                                                                        DIY Crafting
          Shipping, arrives in 3+ days                                                                                   Shipping, arrives in 3+ days                                                                                  Shipping, arrives in 3+ days




              Report:        Report seller       Report suspected stolen goods (to CA Attorney General)


         Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Naittoop-Summer-Clearance-Home-Decor-Home-Decor-Clearance-Home-Decor-Aesthetics-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/8366663697?classType=REGULAR&athbdg=L1400&from…                                                                           2/2
2024/9/30 17:10
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 184 of 685 PageID #:237
                                                             Review your order - Walmart.com




                        Shipping, arrives by Mon, Oct 21


         steven howard                                                                                                              Edit                        Place order for $8.13
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                            By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                            Use

         Delivery instructions (optional)                                                                                           Edit
                                                                                                                                           Subtotal (1 item)                                                $6.12
         House
                                                                                                                                           Savings                                                       -$0.74

                                                                                                                                                                                                            $5.38
         Items details                                                                                                     Hide details

                                                                                                                                           Seller shipping                                                      $1.99
         Arrives by Mon, Oct 21                                                                                                   1 item

         Sold and shipped by SHenZHenShiTAIdiwanjuyouxianGONGSI                                                                            Estimated taxes                                                      $0.76
         $1.99 seller shipping fee

                           Naittoop Summer Clearance Home Decor, Home
                                                                                                                                                    Want to support the National Fish and Wildlife 
                           Decor Clearance, Home Decor Aesthetics Dream…
                                                                                                                                                    Foundation’s Acres for America program with
                                                                                                                                                    a $0.87 donation?
                           $0.74 from savings                                                                                                       Spark Good Round Up is an easy way to help conserve
                                                                                                                                                    land for wildlife and increase public access to the great
                                                              $5.38
                                                                 $6.12                                                                              outdoors.

                                                                                                    Remove                   1      
                                                                                                                                             Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                             Foundation (NFWF)


                                                                                                                                                $1.00           $2.00         $5.00


                       Payment method
                                                                                                                                           Estimated total                                                 $8.13


                                                                                                                                           Have a promo code?
                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                                          $8.13

            + Add new payment                                                                                  Change payment




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         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number

         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.



https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                               1/2
2024/9/30 17:10
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 185 of 685 PageID #:238
                                                           Review your order - Walmart.com


         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                            2/2
                   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 186 of 685 PageID #:239


Clearance

 Serperior
 Dream Pendant Christmas Decorations Indoor Christmas Decorations Christmas Decor Car Outdoor Christmas Decorations Decorative Pendant Christmas Clearance Acrylic Flat Pendant


  Free 30-day returns 




Now $16.41 $18.65 
You save $2.24
 Price when purchased online 



                                                                Buy now

                                                               Add to cart


 Actual Color: Purple

                                  Purple
                                  $16.41




 How you'll get this item:



                                             Shipping                                                                          Pickup                                                                        Delivery
                                           Arrives Oct 22                                                                    Not available                                                                  Not available
                                                $4.99



 1 N LA SALLE ST Change

 Arrives by Tue, Oct 22 | More options

 Shipping fee $4.99



      Sold and shipped by ZUOZUOFANGQAQ

         16 seller reviews
        View seller information

        Free 30-day returns Details




                                                                 Add to list                                                                                                            Add to registry


   Reduced price                           Sponsored

                                           Now $16.99 $29.99
                                           Ayieyill Christmas Window Decorations, Christmas Window Clings Christmas Decorations with Suction Cup, Window Christmas Lights Decorations

                                            2-day shipping



                                                                                             Add




                                                                                                                                                                                                                            
                                                                                                                                                                                                                            




                                                                                                                                                                                                  




         +     2
        View all




 Best seller
                  Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 187 of 685 PageID #:240

                                                                                                                                                                                                                                                 




 Add                                                                                                          Options                                                                                                      Options



$28.99                                                                                                       $6.90                                                                                                       Now $8.45 $10.57




About this item


  Product details
                                                                                                                                                                                                                                                                             
  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
  Features:
  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
  or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
  floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
  your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
  feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
  Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
  pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
  Product Specifications:
  Material: Acrylic
  Color: Purple
  size: 8*8*0.37cm
  Package includes:
  1 pendant

       Christmas Decor
       Christmas Ornaments
       Christmas Decorations

       We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



  Specifications
                                                                                                                                                                                                                                                                             
  Brand
  Serperior

  Assembled Product Weight
  0.11 lb

  Manufacturer Part Number
  Christmas Gifts



  Warranty
                                                                                                                                                                                                                                                                             
  Warranty information
  Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
  'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




    Report incorrect product information


 Reduced price



                                                                                                                                                                                                              




 Add                                                                                       Add                                                                                        Add

Now $16.99 $29.99                                                                          $1,248.00                                                                                  $157.99
Ayieyill Christmas Window Decorations, Christmas Window Clings Christmas                   Eurofase Lighting - Yasmin - 6 Light Outdoor Pendant in Vintage Style 17.75                Luxury Transitional Indoor Pendant, 7''H x 3.875''W, with Modern Style Elements,
Decorations with Suction Cup, Window Christmas Lights Decorations                                                                                                                     Contemporary Design, Midnight Black Finish and Glass, UHP2308
                                                                                            2-day shipping
 2-day shipping                                                                                                                                                                        3+ day shipping




Customer ratings & reviews
 (0 reviews)




This item does not have any reviews yet



                                                                                   Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




                                                                                                                                                                                                                           Clearance
                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 188 of 685 PageID #:241

                                                                                                                                                                                                                  




 Add                                                                                          Add                                                                                         Add

$0.49 +$4.99 shipping                                                                         $4.09 +$1.99 shipping                                                                        Now $4.56 $5.12 +$2.00 shipping
dvypyn Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Purple                       Electricseller Pendant Garden Decoration in Clearance Dream Pendant Car Decorative Pendant   IBaodan Home Decor Clearance sale Housewarming G
Shipping, arrives in 3+ days                                                                  Acrylic Flat Pendant                                                                         Acrylic Flat Pendant




   Report:        Report seller    Report suspected stolen goods (to CA Attorney General)
            Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 189 of 685 PageID #:242



              Shipping, arrives by Mon, Oct 21
                                                                                                                                     Place order for $23.59

                                                                                                                     By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                             Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                 Subtotal (1 item)                                                        $18.65
                                                                                                                 Savings                                                                -$2.24
Delivery instructions (optional)                                                                          Edit
                                                                                                                                                                                          $16.41
House

                                                                                                                 Seller shipping                                                               $4.99


Items details                                                                                     Hide details   Estimated taxes                                                               $2.19


Arrives by Mon, Oct 21                                                                                 1 item
                                                                                                                          Want to support the National Fish and Wildlife 
Sold and shipped by ZUOZUOFANGQAQ
                                                                                                                          Foundation’s Acres for America program with
$4.99 seller shipping fee
                                                                                                                          a $0.41 donation?
                 Dream Pendant Christmas Decorations Indoor                                                               Spark Good Round Up is an easy way to help conserve

                 Christmas Decorations Christmas Decor Car…                                                               land for wildlife and increase public access to the great
                                                                                                                          outdoors.
                 Actual Color: Purple

                 $2.24 from savings
                                                                                                                   Donate a whole dollar to National Fish and Wildlife 
                                               $16.41                                                              Foundation (NFWF)
                                                 $18.65

                                                                                Remove             1                 $1.00            $2.00            $5.00



                                                                                                                 Estimated total                                                       $23.59


                                                                                                                 Have a promo code?
             Payment method


                 We'll look for smart ways to pay
                 We’ll suggest payment methods that work best with eligible items in your cart.



                Ending in 9192                                                                     $23.59

   + Add new payment                                                                     Change payment




            Free 30-day trial




Try Walmart+ to save with free delivery from stores + so
much more*
*$35 order min. Restrictions apply.

Try Walmart+ free for 30 days




        Text updates for this order


      Send to (xxx) xxx-5923
      Send to a different phone number
           Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 190 of 685 PageID #:243
If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
preference.
Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
rates may apply. By continuing, you agree to our Mobile Alert Terms.
                  Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 191 of 685 PageID #:244


 DMDUOU
 DMDUOU Acrylic Pendant,Elegant Acrylic Dream Pendant,Stylish Home Décor & Gift Idea, Flat Design for Hanging Art, Versatile Interior Accent & Durable Craftsmanship Purple


  Free 30-day returns 
                              Pro Seller



$2.98
 Price when purchased online 



                                                                    Buy now

                                                                   Add to cart


 Size: Free Size

                                  Free Size
                                    $2.98

 Actual Color: Purple




 How you'll get this item:



                                                Shipping                                                                          Pickup                                                                           Delivery
                                               Arrives Oct 16                                                                   Not available                                                                     Not available
                                                   $2.99



 1 N LA SALLE ST Change

 Arrives by Wed, Oct 16 | More options

 Shipping fee $2.99



     Sold and shipped by DMDUOU |  Pro Seller 

        5 seller reviews
       View seller information

       Free 30-day returns Details




                                                                      Add to list                                                                                                         Add to registry


                                               Sponsored

                                               Now $16.77 $23.95
                                               DINGERING DIY Dot Diamond Art Painting Christmas Wreath Creative Design Acrylic Home Decoration Round Pendant Single Side Dot Diamond for Adults Child Beginners the Best Christmas Gift

                                                3+ day shipping




                                                                                                                   Add




                                                                                                                                                                                                                                          




                                                                                                                                                                                                     




        +   3
       View all




At a glance

 Material          Acrylic                                                                                                                  Color type   Purple
 Dimensions        3.15 x 3.15 x 0.15 Inches                                                                                                Brand        DMDUOU
                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 192 of 685 PageID #:245
                                                                                                               Clearance



                                                                                                                                                                                                                                                         




 Add                                                                                                            Options                                                                                                     Add

$11.98                                                                                                        Now $3.16 $3.52 +$5.22 shipping                                                                               $10.99
1pc, 2D Flat Forest Elephant Sun Catcher, Acrylic Sign, Housewarming Gift, Window Hanging Art                 Home Decor 3 PCS Bee Set for Garden Or Indoor Wall Acrylic Decoration Sign;Decor Wall                         Beautiful Black Murex Airplant Kit (Tillandsia) 4" Coasta
Decoration, Outdoor Garden Indoor Office Room Bathroom Living Room Wall Decoration Home                       Bedroom Bathroom Kitchen Living Room Party Decorations                                                        Office
Decoration                                                                                                    Shipping, arrives in 3+ days                                                                                   2
 1                                                                                                                                                                                                                     Shipping, arrives in 3+ days
Shipping, arrives in 3+ days




 Best seller                                                                                                                                                                              Best seller



                                                                                                                                                                                                                 




 Add                                                                                        Add                                                                                         Add

$27.97                                                                                      $59.99                                                                                      $61.99
Better Homes & Gardens 12" Architectural Woven Pendant Light, Natural Rattan                ArtbyHannah 8 Piece Natural Gallery Wall Photo Frame Set, Modern Landscape Wall             Tolead Rattan Nightstand, Boho Side Table with Handmade Rattan Decorated
Shade                                                                                       Decor for Home and Office, Mother's Day Gift for Home Decor                                 Drawer, Bedroom, Living Room, Natural

 55                                                                                     45                                                                                     28

2-day shipping                                                                               2-day shipping                                                                              3+ day shipping




About this item


  Product details
                                                                                                                                                                                                                                                                             
  Welcome To DMDUOU Store (◕ᴗ◕✿)

  Wish you a pleasant shopping experience in DMDUOU Which is committed to providing high-quality home products and accessories.

  ☎24 Hours Online:If you have any questions, please feel free to contact the DMDUOU service team, we will solve it for you.

  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
  Features:
  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
  display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
  and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
  personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
  appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
  sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
  collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
  refinement. Product Description:
  Product Specifications:
  Material: Acrylic
  Color: Purple
  size: 8*8*0.37cm
  Package includes:
  1 pendant

       Diverse Product Range: Our store presents a vast assortment of home products, including furniture, décor items, kitchenware, bedding, and more, fulfilling all your one-stop shopping needs for a comfortable home.
       Premium Quality Assurance: We attach great importance to product quality and rigorously select suppliers to guarantee that every item you purchase adheres to high standards.
       Fashionable Designs: The home products in our store feature stylish designs that blend modern and classic elements, adding a unique touch and style to your home.
       Competitive Prices with Great Deals: We are dedicated to offering the most competitive prices and frequently launch promotional activities to enable you to enjoy more savings.
       Exceptional Customer Service: Our team provides professional and enthusiastic customer service, answering your inquiries and ensuring a delightful shopping experience.

       We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



  Specifications
                                                                                                                                                                                                                                                                             
  Brand
  DMDUOU

  Assembled Product Weight
  0.11 lb

  Manufacturer Part Number
  DMDUOU Hanging Ornaments

  Manufacturer
  DMDUOU Home & Garden


  More details




  Directions
                                                                                                                                                                                                                                                                             
  Fabric Care Instructions
  Dream Pendant Car Decorative Pendant Acrylic Flat PendantFeatures: 1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of
  elegance to any space. The graphic design makes them easy to display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life
  and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on
  walls, doors, , lamps or interior furniture to create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family
  to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new
                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 193 of 685 PageID #:246
  collection of acrylic pendants is ideal. Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality
  craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space
  filled with elegance and refinement. Product Description:Product Specifications:Material: AcrylicColor: Purplesize: 8*8*0.37cmPackage includes:1 pendant



  Warranty
                                                                                                                                                                                                                                                                               
  Warranty information
  Dream Pendant Car Decorative Pendant Acrylic Flat PendantFeatures: 1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of
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  and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on…
     ll d        l        i t i f it          t      t             li d ti ti 3 Ch i         L ki f              i l ift f     l  d      ? St l ki ! O               i    f    li     d t     k th       htf l d i          ift Gi th      b    tif l   d t t          d f il

  More details




  Warnings
                                                                                                                                                                                                                                                                               
      WARNING: None



    Report incorrect product information




Customer ratings & reviews
 (0 reviews)




This item does not have any reviews yet


                                                                                     Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                  Learn more.




 Clearance



                                                                                                                                                                                                                                                          




 Add                                                                                                           Add                                                                                                          Add

Now $1.69 $1.99 +$4.99 shipping                                                                               $2.80 +$3.99 shipping                                                                                          $1.81 +$3.99 shipping
Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Clearance                                           Yishangzhng Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Room Decor for Men,                     YuXinYang Decor Dream Pendant Car Decorative Pend
Shipping, arrives in 3+ days                                                                                  Kitchen Appliances                                                                                             Decor
                                                                                                              Shipping, arrives in 3+ days                                                                                   Shipping, arrives in 3+ days




    Report:       Report seller       Report suspected stolen goods (to CA Attorney General)
            Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 194 of 685 PageID #:247



              Shipping, arrives by Tue, Oct 15
                                                                                                                                                     Place order for $6.58

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                                            Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $2.98

                                                                                                                                Seller shipping                                                               $2.99
Delivery instructions (optional)                                                                                         Edit

House
                                                                                                                                Estimated taxes                                                               $0.61




                                                                                                                                         Want to support the National Fish and Wildlife 
Items details                                                                                                   Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.42 donation?
Arrives by Tue, Oct 15                                                                                                1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
Sold and shipped by DMDUOU |  Pro Seller 
                                                                                                                                         outdoors.
$2.99 seller shipping fee

                 DMDUOU Acrylic Pendant,Elegant Acrylic Dream
                 Pendant,Stylish Home Décor & Gift Idea, Flat…                                                                    Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                 Size: Free Size, Actual Color: Purple

                                                    $2.98                                                                            $1.00            $2.00            $5.00

                                                                                         Remove                  1      
                                                                                                                                Estimated total                                                         $6.58


                                                                                                                                Have a promo code?


             Payment method


                 We'll look for smart ways to pay
                 We’ll suggest payment methods that work best with eligible items in your cart.



                Ending in 9192                                                                                       $6.58

   + Add new payment                                                                               Change payment




            Free 30-day trial




Try Walmart+ to save with free delivery from stores + so
much more*
*$35 order min. Restrictions apply.

Try Walmart+ free for 30 days




        Text updates for this order


      Send to (xxx) xxx-5923
      Send to a different phone number

If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
preference.
Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
rates may apply. By continuing, you agree to our Mobile Alert Terms.
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 195 of 685 PageID #:248
                  Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 196 of 685 PageID #:249


Clearance

 Nailvv
 Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Clearance


  Free 30-day returns 




Now $1.69 $1.99 
You save $0.30
 Price when purchased online 



                                                                 Buy now

                                                                Add to cart


 Actual Color: Purple

                                   Purple
                                    $1.69




 How you'll get this item:



                                             Shipping                                                                             Pickup                             Delivery
                                            Arrives Oct 11                                                                      Not available                       Not available
                                                $4.99



 1 N LA SALLE ST Change

 Arrives by Fri, Oct 11 | More options

 Shipping fee $4.99



     Sold and shipped by aqiobi

        2 seller reviews
       View seller information

       Free 30-day returns Details




                                                                   Add to list                                                                  Add to registry


  Reduced price                             Sponsored

                                            Now $10.99 $15.99
                                            Tied Ribbons Ganesh Statue Sculpture for Car Dashboard Home Temple Decor | 2"x 2.3" | Resin

                                            2-day shipping



                                                                            Add




                                                                                                                                                                                    




                                                                                                                                                          




        +   2
       View all
                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 197 of 685 PageID #:250

                                                                                                                                                                                                                                                      




 Add                                                                                                          Options                                                                                                     Add

$10.12                                                                                                      $74.85                                                                                                       $10.99
10PCS Diamond Pendant Ornaments, Shatterproof Acrylic for Christmas Tree Party Outdoor                      Efavormart 13" Round Iridescent Blue Glitter Acrylic Plastic Charger Plates for Table Decor -Set of          Northlight 18.5" Acrylic Dangling Icicle Christmas Orna




About this item


  Product details
                                                                                                                                                                                                                                                                             
  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
  Features:
  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
  or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
  floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
  your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
  feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
  Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
  pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
  Product Specifications:
  Material: Acrylic
  Color: Purple
  size: 8*8*0.37cm
  Package includes:
  1 pendant

       Home decoration accessories
       Home decorations for kitchen
       Clearance

       We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



  Specifications
                                                                                                                                                                                                                                                                             
  Features
  Home decorations ideas

  Brand
  Nailvv

  Assembled Product Weight
  0.11 lb

  Manufacturer
  Home decorations


  More details




  Warranty
                                                                                                                                                                                                                                                                             
  Warranty information
  Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
  'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




    Report incorrect product information




Customer ratings & reviews
 (0 reviews)




This item does not have any reviews yet



                                                                                   Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




                                                                                                                                                                                                                           Clearance



                                                                                                                                                                                                                                                      




 Add                                                                                                         Add                                                                                                         Add

$2.80 +$3.99 shipping                                                                                       $1.81 +$3.99 shipping                                                                                        Now $4.56 $5.12 +$2.00 shipping
Yishangzhng Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Room Decor for Men,                  YuXinYang Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant,Home Decor,Room                    IBaodan Home Decor Clearance sale Housewarming G
Kitchen Appliances                                                                                          Decor                                                                                                        Acrylic Flat Pendant
Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 198 of 685 PageID #:251




Report:    Report seller    Report suspected stolen goods (to CA Attorney General)
            Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 199 of 685 PageID #:252



              Shipping, arrives by Thu, Oct 10
                                                                                                                                      Place order for $7.36

                                                                                                                     By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                             Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                 Subtotal (1 item)                                                             $1.99
                                                                                                                 Savings                                                                -$0.30
Delivery instructions (optional)                                                                          Edit
                                                                                                                                                                                               $1.69
House

                                                                                                                 Seller shipping                                                               $4.99


Items details                                                                                     Hide details   Estimated taxes                                                               $0.68


Arrives by Thu, Oct 10                                                                                  1 item
                                                                                                                          Want to support the National Fish and Wildlife 
Sold and shipped by aqiobi
                                                                                                                          Foundation’s Acres for America program with
$4.99 seller shipping fee
                                                                                                                          a $0.64 donation?
                 Dream Pendant Car Decorative Pendant Acrylic                                                             Spark Good Round Up is an easy way to help conserve

                 Flat Pendant Clearance                                                                                   land for wildlife and increase public access to the great
                                                                                                                          outdoors.
                 Actual Color: Purple

                 $0.30 from savings
                                                                                                                   Donate a whole dollar to National Fish and Wildlife 
                                                $1.69                                                              Foundation (NFWF)
                                                  $1.99

                                                                                Remove             1                 $1.00            $2.00            $5.00



                                                                                                                 Estimated total                                                          $7.36


                                                                                                                 Have a promo code?
             Payment method


                 We'll look for smart ways to pay
                 We’ll suggest payment methods that work best with eligible items in your cart.



                Ending in 9192                                                                         $7.36

   + Add new payment                                                                     Change payment




            Free 30-day trial




Try Walmart+ to save with free delivery from stores + so
much more*
*$35 order min. Restrictions apply.

Try Walmart+ free for 30 days




        Text updates for this order


      Send to (xxx) xxx-5923
      Send to a different phone number
           Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 200 of 685 PageID #:253
If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
preference.
Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
rates may apply. By continuing, you agree to our Mobile Alert Terms.
2024/9/30 17:14
                              Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 201 of 685 PageID #:254
                                                  AOMXGD Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Home Decor on Clearance, Purple - Walmart.com




           Clearance

            AOMXGD
            AOMXGD Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Home Decor on Clearance, Purple
          (No ratings yet)

             Free 30-day returns



         Now $0.99 $2.99 
          You save $2.00
            Price when purchased online 



                                                                   Buy now

                                                                  Add to cart



            How do you want your item?



                                                   Shipping                                                              Pickup                                                                   Delivery
                                                 Arrives Oct 13                                                    Not available                                                                 Not available
                                                     $4.99



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by RBCKVXZ

                    41 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                   Add to list                                                                                            Add to registry


                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                      




                                                                                                                                                                                    




                    +   3
                   View all




                                                                                                                                                                                               Clearance



                                                                                                                                                                                                                           




           Add                                                                              Options                                                                                           Add

          $8.81 +$3.99 shipping                                                           $49.99                                                                                              Now $14.19 $15.79 +$6.96 shipping
                                                                                          Options from $49.99 – $79.99
          Modern Lotus Flower Lampshade Lamp Shade for Ceiling Pendant Light Home Decor                                                                                                       Ynlkorvg Ornaments Clearance, Lampshade Home Han
          Shipping, arrives in 3+ days                                                    Aiwen 3 Tiered Modern LED Pendant Light Stylish Home Decor Light Fixture Gold                       Home Decor Home Decor
                                                                                          Shipping, arrives in 3+ days                                                                        Shipping, arrives in 3+ days




         About this item



https://www.walmart.com/ip/AOMXGD-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Home-Decor-on-Clearance-Purple/8087262314?classType=REGULAR&athbdg=L1400&from=/search                                                                1/3
2024/9/30 17:14
                           Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 202 of 685 PageID #:255
                                               AOMXGD Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Home Decor on Clearance, Purple - Walmart.com



            Product details
                                                                                                                                                                                                                                                                                       

            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:

                  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made ofacrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to display on
                  walls, curtains or any other, making them a visual impact for your home decor.

                  2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and
                  abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized artistic .

                  3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the
                  beauty and craftsmanship of these pendants and feel the warmth of your love and attention.

                  4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a
                  place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .

                  5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch
                  your home space filled with elegance and refinement.

            Product Description:

            Product Specifications:

            Material: Acrylic

            Color: Purple

            size: 8*8*0.37cm

            Package includes:

            1 pendant

                  Excellent Material: this product is made of excellent material.
                  Ideal Gift: This product can be very suitable as a house warming gift for your friend who are about to move into a new home.
                  Appearance: this home decor is very design, great for decorating your home.
                  Multi-scene Application: this product is very good, you can use it in any occasion you need, it will not let you down.
                  Quality Promise:If you have any doubts or questions about the products, you can contact us directly and we will be pleased to help you solve them. In addition we also provide 30-day return service to help you solve your worries, thank you for your support!

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Color
            Purple

            Size
            3.15" x 3.15" x 0.15"

            Brand
            AOMXGD

            Features
            home decor


            More details




            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




            Warnings
                                                                                                                                                                                                                                                                                       
                WARNING: None



              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet


                                                                                               Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




                                                                                                                                                                                                                                     Clearance



                                                                                                                                                                                                                                                                 




           Add                                                                                                          Add                                                                                                        Add

          $3.37 +$1.89 shipping                                                                                         $6.59 +$0.99 shipping                                                                                       Now $0.47 $0.77 +$4.99 shipping
          Cevemin Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Car Hanging Ornament for                   Keeplus Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, for Bedroom Living Room                  Home on Clearance         TOPRenddon Dream Pendant Ca
          DIY Crafting                                                                                                  Home Decoration                                                                                             Shipping, arrives in 3+ days
          Shipping, arrives in 3+ days                                                                                  Shipping, arrives in 3+ days




https://www.walmart.com/ip/AOMXGD-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Home-Decor-on-Clearance-Purple/8087262314?classType=REGULAR&athbdg=L1400&from=/search                                                                                                           2/3
2024/9/30 17:14
                       Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 203 of 685 PageID #:256
                                           AOMXGD Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Home Decor on Clearance, Purple - Walmart.com




             Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


         Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Modern Pendant Lights




https://www.walmart.com/ip/AOMXGD-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Home-Decor-on-Clearance-Purple/8087262314?classType=REGULAR&athbdg=L1400&from=/search   3/3
2024/9/30 17:15
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 204 of 685 PageID #:257
                                                             Review your order - Walmart.com




                        Shipping, arrives by Sat, Oct 12


         steven howard                                                                                                             Edit                        Place order for $6.59
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                           By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                           Use

         Delivery instructions (optional)                                                                                          Edit
                                                                                                                                          Subtotal (1 item)                                                $2.99
         House
                                                                                                                                          Savings                                                       -$2.00

                                                                                                                                                                                                           $0.99
         Items details                                                                                                   Hide details

                                                                                                                                          Seller shipping                                                  $4.99
         Arrives by Sat, Oct 12                                                                                                 1 item

         Sold and shipped by RBCKVXZ                                                                                                      Estimated taxes                                                      $0.61
         $4.99 seller shipping fee

                           AOMXGD Dream Pendant Car Decorative Pendant
                                                                                                                                                   Want to support the National Fish and Wildlife 
                           Acrylic Flat Pendant, Home Decor on Clearance,…
                                                                                                                                                   Foundation’s Acres for America program with
                                                                                                                                                   a $0.41 donation?
                           $2.00 from savings                                                                                                      Spark Good Round Up is an easy way to help conserve
                                                                                                                                                   land for wildlife and increase public access to the great
                                                               $0.99
                                                                $2.99                                                                              outdoors.

                                                                                                   Remove                  1      
                                                                                                                                            Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                            Foundation (NFWF)


                                                                                                                                               $1.00           $2.00         $5.00


                       Payment method
                                                                                                                                          Estimated total                                                 $6.59


                                                                                                                                          Have a promo code?
                         Ending in 9192                                                                                        $6.59

            + Add new payment                                                                                Change payment




                      Free 30-day trial




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         much more*
         *$35 order min. Restrictions apply.

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                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number

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         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                              1/1
2024/9/30 17:19
                              Case: 1:24-cv-11674 Document            #: 6-5 Filed: 11/19/24 Page 205 of 685 PageID #:258
                                                   Qianying Summer Promotion,Clearance,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




            QianYing
            Qianying Summer Promotion,Clearance,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
          (No ratings yet)

             Free 30-day returns



         $0.59
            Price when purchased online 



                                                                          Buy now

                                                                      Add to cart


            Actual Color: Purple




                               $0.59                              $0.59




            How do you want your item?



                                                   Shipping                                                                     Pickup                                                                      Delivery
                                                 Arrives Oct 17                                                           Not available                                                                    Not available
                                                     $4.80



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by ZhenYou |  Pro Seller 

                    28 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                      Add to list                                                                                                   Add to registry


                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                  




                                                                                                                                                                                             




                    +   3
                   View all




                                                                                                                                                                                                                                     




           Add                                                                                   Add                                                                                                   Add
          Sponsored

          $11.99                                                                                 $24.99                                                                                                 $83.00
          Ceiling Light Fixture with Teardrop Glass Shade Semi Flush Mount Indoor Lighting       Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White                       DENEST Acrylic LED Chandelier Lamp Ceiling Pendant
          Shipping, arrives in 3+ days                                                           Shipping, arrives in 3+ days                                                                           Shipping, arrives in 3+ days




https://www.walmart.com/ip/Qianying-Summer-Promotion-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6902112563?classType=VARIANT&from=/search                                                                                           1/3
2024/9/30 17:19
                           Case: 1:24-cv-11674 Document            #: 6-5 Filed: 11/19/24 Page 206 of 685 PageID #:259
                                                Qianying Summer Promotion,Clearance,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



         About this item


            Product details
                                                                                                                                                                                                                                                                                    
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
            to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
            variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
            create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
            They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
            Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
            our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
            refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  High-Quality Materials:Crafted from premium materials,our products are built to last,ensuring durability and reliability for everyday use
                  Sleek and Modern Design:with sleek and modern designs,our products not only serve their practical purposes but also enhance the aesthetic appeal of any living space
                  Easy Maintenance and Cleaning:Designed for practicality,our products are easy to maintain and clean,allowing you to keep your living space neat and tidy with minimal effort
                  Enhanced Safety Features:Prioritizing safety,our products incorporate enhanced safety features to provide peace of mind for you and your family,ensuring a secure living environment
                  Customer Satisfaction Guarantee:Backed by a customer satisfaction guarantee,our products come with responsive customer support,ensuring your peace of mind throughout your purchase and beyond

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                    
            Brand
            QianYing

            Features
            Summer Promotion,Clearance,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

            Assembled Product Dimensions (L x W x H)
            3.12 x 3.12 x 0.14 Inches



            Directions
                                                                                                                                                                                                                                                                                    
            Fabric Care Instructions
            Hand Wash,Wash with a Clean Cloth



            Warranty
                                                                                                                                                                                                                                                                                    
            Warranty information
            If you don't love our products, simply return them without question within 30 days. Select your favorite color and "Add to Cart" now.


            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the…
            'C t t ll ' f t           th thi d    t M k t l        ll ' i f       ti          d       t th it '           t t        i t       h

            More details




            Warnings
                                                                                                                                                                                                                                                                                    
                WARNING: None



              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet



                                                                                             Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




                                                                                                                       Clearance                                                                                                    Clearance



                                                                                                                                                                                                                                                                




           Add                                                                                                        Add                                                                                                         Add

          $0.77 +$4.99 shipping                                                                                       Now $5.38 $6.12 +$1.99 shipping                                                                              Now $2.42 $2.69 +$1.99 shipping
          SHIMELE Car Decorative Pendant, Dreamcatcher Pendant, Acrylic Flat Hanging Ornament, Auto                   Naittoop Summer Clearance Home Decor, Home Decor Clearance, Home Decor Aesthetics Dream                      Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat Charm
          Rearview Mirror Decoration                                                                                  Pendant Car Decorative Pendant Acrylic Flat Pendant                                                          Road, Hanging Ornaments Sale Savings(Purple)
          Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/Qianying-Summer-Promotion-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6902112563?classType=VARIANT&from=/search                                                                                                                       2/3
2024/9/30 17:19
                       Case: 1:24-cv-11674 Document            #: 6-5 Filed: 11/19/24 Page 207 of 685 PageID #:260
                                            Qianying Summer Promotion,Clearance,Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


         Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Qianying-Summer-Promotion-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6902112563?classType=VARIANT&from=/search   3/3
2024/9/30 17:20
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 208 of 685 PageID #:261
                                                             Review your order - Walmart.com




                        Shipping, arrives by Wed, Oct 16


         steven howard                                                                                                             Edit                        Place order for $5.94
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                           By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                           Use

         Delivery instructions (optional)                                                                                          Edit
                                                                                                                                          Subtotal (1 item)                                                $0.59
         House
                                                                                                                                          Seller shipping                                                  $4.80


         Items details                                                                                                   Hide details     Estimated taxes                                                  $0.55


         Arrives by Wed, Oct 16                                                                                                 1 item
                                                                                                                                                   Want to support the National Fish and Wildlife 
         Sold and shipped by ZhenYou |  Pro Seller                                                                                               Foundation’s Acres for America program with
         $4.80 seller shipping fee                                                                                                                 a $0.06 donation?
                                                                                                                                                   Spark Good Round Up is an easy way to help conserve
                           Qianying Summer Promotion,Clearance,Dream                                                                               land for wildlife and increase public access to the great
                           Pendant Car Decorative Pendant Acrylic Flat…                                                                            outdoors.
                           Actual Color: Purple

                                                              $0.59
                                                                                                                                            Donate a whole dollar to National Fish and Wildlife 
                                                                                                   Remove                  1               Foundation (NFWF)


                                                                                                                                               $1.00           $2.00         $5.00



                                                                                                                                          Estimated total                                                $5.94

                       Payment method
                                                                                                                                          Have a promo code?



                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                                        $5.94

            + Add new payment                                                                                Change payment




                      Free 30-day trial




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         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number

         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.



https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                          1/2
2024/9/30 17:20
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 209 of 685 PageID #:262
                                                           Review your order - Walmart.com




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                   2/2
                  Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 210 of 685 PageID #:263




                                                                                   




                                                                                   




      +   3
     View all




    KINPLE

    Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
 (No ratings yet)



About this item
Dream Pendant Car Decorative Pendant Acrylic Flat Pendant




At a glance


                                                 Color                                                            Brand                                                                          Features
                                                 Purple                                                          KINPLE                                                   Dream Pendant Car Decorative Pendant Acrylic Flat Pendant



                           Assembled Product Dimensions (L x W x H)
                                    3.15 x 3.15 x 0.15 Inches




  $10.82
     Price when purchased online 

      Free shipping         Free Holiday returns until Jan 31


                                                                                                                 Buy now


                                                                                                               Add to cart


  How you'll get this item:



                                                  Shipping                                                            Pickup                                                                      Delivery
                                                Arrives Nov 3                                                   Not available                                                                    Not available
                                                     Free


  1 N LA SALLE ST Change

  Arrives by Sun, Nov 3 | More options


          Sold and shipped by KINPLE

           29 seller reviews
          View seller information

          Extended holiday returns Details
          Free Holiday returns until Jan 31


                                                                   Add to list                                                                                       Add to registry




                                                                                                                                                                                                                           




 Add                                                                                   Add                                                                                                    Add
Sponsored

$12.99                                                                                 $24.99                                                                                                 Now $78.84 $89.00
Ceiling Light Fixture with Teardrop Glass Shade Semi Flush Mount Indoor Lighting       Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White                       DENEST Acrylic LED Chandelier Lamp Ceiling Pendant
Shipping, arrives in 3+ days                                                           Shipping, arrives in 3+ days                                                                           Shipping, arrives in 3+ days
                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 211 of 685 PageID #:264




About this item


  Product details


  Specifications


  Directions


  Warranty


    Report incorrect product information




Customer ratings & reviews
             0 ratings | 0 reviews




This item does not have any reviews yet



                                                                               Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.     Learn more.




                                                                                                                                                                                                                            




    Options                                                                                            Options                                                                                    Options

                                                                                                                                              +3 options                                                                                  +3 options

$4.59 +$2.49 shipping                                                                               $5.08                                                                                      $4.08
Options from $4.59 – $4.69
                                                                                                    Christmas Ornaments Clearance Colorful Butterflies Acrylic Decoration Pendant Funny 2D     Christmas Ornaments Colorful Butterflies Acrylic Deco
Wall Hanging Decor For Garden Indoor And Outdoor For Xmas Tree Purple Acrylic Butterfly Blue        Butterfly Decoration Pendant Gift Christmas Foam Pendant Holiday                           Decoration Pendant Gift Pendant Decor Christmas We
Acrylic Butterfly Decoration Pendant Creative 2D Butterfly Decoration Pendant Gift Pendant For      Shipping, arrives in 3+ days                                                               Shipping, arrives in 3+ days
Shipping, arrives in 3+ days




    Report:       Report seller      Report suspected stolen goods (to CA Attorney General)


Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures
            Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 212 of 685 PageID #:265



              Free shipping, arrives by Fri, Nov 1
                                                                                                                                                  Place order for $11.93

                                                                                                                                 By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                                         Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                             Subtotal (1 item)                                                        $10.82
                                                                                                                             Shipping                                                                      Free
Delivery instructions (optional)                                                                                      Edit
                                                                                                                             Estimated taxes                                                               $1.11
House


                                                                                                                                      Give $0.07 to American Red Cross to support 
Items details                                                                                               Hide details              those affected by hurricanes and tropical
                                                                                                                                      storms in 2024.
                                                                                                                                      Spark Good Round Up is an easy way to support
Arrives by Fri, Nov 1                                                                                               1 item
                                                                                                                                      communities impacted by natural disasters.

Sold and shipped by KINPLE
Free shipping
                                                                                                                               Donate a whole dollar to American Red Cross 
                 Dream Pendant Car Decorative Pendant Acrylic
                 Flat Pendant
                                                                                                                                  $1.00            $2.00            $5.00

                                                   $10.82

                                                                                           Remove             1             Estimated total                                                         $11.93


                                                                                                                             Have a promo code?




             Payment method


                Ending in 9192                                                                                    $11.93

   + Add new payment                                                                                Change payment




                    $15 cash back when you spend $15+                                                    Sign up



              Add any credit or debit card, and claim cash back with a One Cash account.




            Free 30-day trial




Try Walmart+ to save with free delivery from stores + so
much more*
*$35 order min. Restrictions apply.

Try Walmart+ free for 30 days




        Text updates for this order


      Send to (xxx) xxx-5923
           Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 213 of 685 PageID #:266
      Send to a different phone number

If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
preference.
Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
rates may apply. By continuing, you agree to our Mobile Alert Terms.
2024/9/30 17:21
                              Case: 1:24-cv-11674       Document #: 6-5 Filed: 11/19/24 Page 214 of 685 PageID #:267
                                             COFEST Dream Pendant Car Decor - Acrylic Flat Pendant, Stylish & Sophisticated Design, Home Decor Accessory, Purple, 8x8cm Purple - Walmart.com




            COFEST
            COFEST Dream Pendant Car Decor - Acrylic Flat Pendant, Stylish & Sophisticated Design, Home Decor Accessory, Purple, 8x8cm Purple
          (No ratings yet)

             Free shipping        Free 30-day returns



         $5.52
            Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


            Size: Free Size

                                             Free Size
                                              $5.52

            Actual Color: Purple

                                              Purple




            How do you want your item?



                                                           Shipping                                                                Pickup                                                                 Delivery
                                                         Arrives Oct 16                                                      Not available                                                               Not available
                                                              Free



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by COFEST

                    36 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                           Add to list                                                                                            Add to registry


                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                




                                                                                                                                                                                              




                    +   3
                   View all




                                                                                                                                                                                                                                   




           Add                                                                                      Add                                                                                              Add

          $3.39 +$4.90 shipping                                                                     $3.39 +$4.90 shipping                                                                             $10.45 +$4.79 shipping
          Wozhidaoke Fall Decor Home Decor Natural Amethyst Quartz Sphere Big Pretty Crystal Ball   Wozhidaoke Fall Decor Home Decor Natural Amethyst Quartz Sphere Big Pretty Crystal Ball           Puppets Bling Bedroom Decor Nutcrackers Christmas
          Healing Purple Stone 1Pc Room Decor Aesthetic Christmas Ornaments Purple 3*3*2.5 Purple   Healing Purple Stone 1Pc Room Decor Aesthetic Christmas Ornaments Purple 3*3*2.5 Purple           Nutcracker Gifts Child Work

           2                                                                                   Shipping, arrives in 3+ days                                                                      Shipping, arrives in 3+ days

          Shipping, arrives in 3+ days




https://www.walmart.com/ip/COFEST-Dream-Pendant-Car-Decor-Acrylic-Flat-Pendant-Stylish-Sophisticated-Design-Home-Decor-Accessory-Purple-8x8cm-Purple/11577324191?classType=VARIANT&from=/search                                                           1/3
2024/9/30 17:21
                           Case: 1:24-cv-11674       Document #: 6-5 Filed: 11/19/24 Page 215 of 685 PageID #:268
                                          COFEST Dream Pendant Car Decor - Acrylic Flat Pendant, Stylish & Sophisticated Design, Home Decor Accessory, Purple, 8x8cm Purple - Walmart.com




         About this item


            Product details
                                                                                                                                                                                                                                                                                           
            Welcome To COFEST Store (◕ᴗ◕ )

              24 Hours Online:If you have any questions, please feel free to contact the COFEST service team, we will solve it for you.

            ◆1.High-quality household products ◆ ◆2. Fine Party Accessories◆ ◆3. Quality Electronics◆

            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
            or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
            floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
            your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
            feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
            Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
            pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  【High Quality and Durable】: Our product is made with premium materials, ensuring its long-lasting durability. It is designed to withstand daily use and will remain in great condition for years to come. An ideal gift for Valentine, Birthday, Christmas,
                  Thanksgiving, Halloween, Women's day, Mothers' Day, Fathers'day, and etc.Tool Gift For Lover christmas gifts for Family.
                  【Versatile and Practical】: With its multi-functional design, our product can serve a variety of purposes. Whether you need it for organizing, storing, or displaying, it will meet all your needs with ease.A good product is worth having, please take it home! Easy
                  to operate Safe & Environmental Unique design, do not follow the trend, which makes it useful and fashionable Beautiful and practical generous, comfortable and durable, safe and reliable This is the best gift for family, friends and colleagues, I believe
                  they will like it Easy to carry, easy to use, It can gives you a euphoric feeling Made of environmental friendly material, moisture-proof, non-toxic, non-irritating.
                  【Easy Installation】: Setting up our product is a breeze, thanks to its user-friendly design. You can easily assemble it within minutes, without the need for any special tools or skills.Through the application of high-quality products, help you change the home and
                  work environment reflect comfortable, simple, high-end life concept. In order to make you experience the convenience of smart home, we pursue perfection everywhere, through clear details, bring you a new experience. Our products are simple and smart.
                  What's more, you can define it according to your own living habits. All of this makes the joy extend infinitely. Premium quality material, durable, sturdy, weather resistant, fade resistant and made to last. It's easy to install and you don't need any other tools, just
                  follow the instructions.
                  【Stylish and Appealing】: Our product features a sleek and modern design that will enhance the aesthetic appeal of any space. It adds a touch of elegance and sophistication to your home or office.
                  【Excellent Customer Support】: We pride ourselves in offering top-notch customer service. If you have any questions or concerns, our dedicated team is always ready to assist you. Your satisfaction is our utmost priority.

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                           
            Brand
            COFEST

            Assembled Product Weight
            0.11 lb

            Manufacturer
            COFEST Home & Garden

            Manufacturer Part Number
            COFEST Hanging Ornaments


            More details




            Directions
                                                                                                                                                                                                                                                                                           
            Fabric Care Instructions
            Dream Pendant Car Decorative Pendant Acrylic Flat PendantFeatures: 1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any
            space. The graphic design makes them easy to display on walls, curtains or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space.
            Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior
            furniture to create a personalized . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
            appreciate the beauty and craftsmanship of these pendants and feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
            sophisticated, designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has
            been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:Product
            Specifications:Material: AcrylicColor: Purplesize: 8*8*0.37cmPackage includes:1 pendant



            Warranty
                                                                                                                                                                                                                                                                                           
            Warranty information
            Dream Pendant Car Decorative Pendant Acrylic Flat PendantFeatures: 1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any
            space. The graphic design makes them easy to display on walls, curtains or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space.
            Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior…
            f it      t       t            li d 3 Ch i        L ki f             i l      l    d     ? St l ki ! O            i    f    li      d t      k th       htf l d i        ift Gi th       b   tif l  d t t            d f il t h                   d i       t t Th      ill

            More details




            Warnings
                                                                                                                                                                                                                                                                                           
                WARNING: None



              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet



                                                                                                 Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                  Learn more.




           Clearance                                                                                                       Clearance                                                                                                      Clearance



https://www.walmart.com/ip/COFEST-Dream-Pendant-Car-Decor-Acrylic-Flat-Pendant-Stylish-Sophisticated-Design-Home-Decor-Accessory-Purple-8x8cm-Purple/11577324191?classType=VARIANT&from=/search                                                                                                   2/3
2024/9/30 17:21
                           Case: 1:24-cv-11674       Document #: 6-5 Filed: 11/19/24 Page 216 of 685 PageID #:269
                                          COFEST Dream Pendant Car Decor - Acrylic Flat Pendant, Stylish & Sophisticated Design, Home Decor Accessory, Purple, 8x8cm Purple - Walmart.com



                                                                                                                                                                                                                                  




           Add                                                                                          Add                                                                                         Add

          Now $5.38 $6.12 +$1.99 shipping                                                               Now $2.42 $2.69 +$1.99 shipping                                                              Now $0.99 $2.99 +$4.99 shipping
          Naittoop Summer Clearance Home Decor, Home Decor Clearance, Home Decor Aesthetics Dream       Rwvbm Dreamy Drive: Acrylic Car Pendant, Flat Charm Accessory for a Touch of Whimsy on the   AOMXGD Dream Pendant Car Decorative Pendant Acr
          Pendant Car Decorative Pendant Acrylic Flat Pendant                                           Road, Hanging Ornaments Sale Savings(Purple)                                                 Purple
          Shipping, arrives in 3+ days                                                                  Shipping, arrives in 3+ days                                                                 Shipping, arrives in 3+ days




              Report:       Report seller    Report suspected stolen goods (to CA Attorney General)


         Party & Occasions / Christmas Trees & Christmas Decor / Christmas Decor / Indoor Christmas Decor / Christmas Ornaments / Character Ornaments




https://www.walmart.com/ip/COFEST-Dream-Pendant-Car-Decor-Acrylic-Flat-Pendant-Stylish-Sophisticated-Design-Home-Decor-Accessory-Purple-8x8cm-Purple/11577324191?classType=VARIANT&from=/search                                                        3/3
2024/9/30 17:22
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 217 of 685 PageID #:270
                                                             Review your order - Walmart.com




                        Free shipping, arrives by Tue, Oct 15


         steven howard                                                                                                             Edit                        Place order for $6.09
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                           By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                           Use

         Delivery instructions (optional)                                                                                          Edit
                                                                                                                                          Subtotal (1 item)                                                $5.52
         House
                                                                                                                                          Shipping                                                             Free

                                                                                                                                          Estimated taxes                                                      $0.57
         Items details                                                                                                   Hide details


         Arrives by Tue, Oct 15                                                                                                 1 item             Want to support the National Fish and Wildlife 
                                                                                                                                                   Foundation’s Acres for America program with
         Sold and shipped by COFEST                                                                                                                a $0.91 donation?
         Free shipping
                                                                                                                                                   Spark Good Round Up is an easy way to help conserve
                                                                                                                                                   land for wildlife and increase public access to the great
                           COFEST Dream Pendant Car Decor - Acrylic Flat
                                                                                                                                                   outdoors.
                           Pendant, Stylish & Sophisticated Design, Home…
                           Size: Free Size, Actual Color: Purple

                                                               $5.52                                                                        Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                            Foundation (NFWF)
                                                                                                   Remove                  1      
                                                                                                                                               $1.00           $2.00         $5.00



                                                                                                                                          Estimated total                                                $6.09


                       Payment method                                                                                                     Have a promo code?




                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                                        $6.09

            + Add new payment                                                                                Change payment




                      Free 30-day trial




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         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number

         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.



https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                              1/2
2024/9/30 17:22
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 218 of 685 PageID #:271
                                                           Review your order - Walmart.com




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                   2/2
2024/9/30 17:54
                              Case: 1:24-cv-11674 Document            #: 6-5 Filed: 11/19/24 Page 219 of 685 PageID #:272
                                                  YuXinYang Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant,Home Decor,Room Decor - Walmart.com




            YuXinYang
            YuXinYang Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant,Home Decor,Room Decor
          (No ratings yet)

             Free 30-day returns



         $1.81
            Price when purchased online 



                                                                        Buy now

                                                                    Add to cart


            Actual Color: Purple




                               $1.81




            How do you want your item?



                                                     Shipping                                                                            Pickup                                                                      Delivery
                                                 Arrives Oct 30                                                                    Not available                                                                    Not available
                                                      $3.99



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by YuXinYangWan

                    3 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                    Add to list                                                                                                              Add to registry


                                                                                                                                                                                                                                                         
                                                                                                                                                                                                                                                         




                                                                                                                                                                                                          




                    +   3
                   View all




           Clearance



                                                                                                                                                                                                                                              




             Options                                                                                           Options                                                                                              Options

                                                                  +21
          Now $3.39 $10.81 +$4.90 shipping                                                                $74.85                                                                                                 $9.30
          More options from $1.24
                                                                                                          Efavormart 13" Round Iridescent Blue Glitter Acrylic Plastic Charger Plates for Table Decor -Set of    Clearance Deals! 2022 Dvkptbk Room Decor Home De
          Yubnlvae Hangs Color Acrylic Sunshade Ukrainian Color Acrylic Color Acrylic Window Decoration   24                                                                                                     Home Decoration Green Bathroom Bedroom Living Ro
          Hanging Ornament, Christmas Decorations                                                         Shipping, arrives in 3+ days                                                                            1
           1                                                                                                                                                                                                Shipping, arrives in 3+ days
          Shipping, arrives in 3+ days




https://www.walmart.com/ip/YuXinYang-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Home-Decor-Room-Decor/7774052328?classType=VARIANT&from=/search                                                                                                1/2
2024/9/30 17:54
                           Case: 1:24-cv-11674 Document            #: 6-5 Filed: 11/19/24 Page 220 of 685 PageID #:273
                                               YuXinYang Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant,Home Decor,Room Decor - Walmart.com



         About this item


            Product details
                                                                                                                                                                                                                                                                                       
            ************************************Welcome to [YuXinYang ] Shop************************************

            Welcome to our store! We are dedicated to providing you with an exceptional shopping journey.



            If you have any inquiries or need assistance, don't hesitate to reach out to us.Thank you for

            choosing our shop.We look forward to having you as a satisfied customer!




            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
            display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
            and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
            personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
            appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
            sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
            collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
            refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

            YuXinYang Decor Dream Pendant Car Decorative Pendant Acrylic Flat Pendant,Home Decor,Room Decor

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Brand
            YuXinYang

            Assembled Product Weight
            0.1 lb

            Manufacturer
            YuXinYang



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet



                                                                                             Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




           Clearance                                                                                                    Clearance



                                                                                                                                                                                                                                                                




           Add                                                                                                         Add                                                                                                          Options



          Now $4.56 $5.12 +$2.00 shipping                                                                             Now $1.29 $1.49 +$4.99 shipping                                                                              $0.59 +$4.80 shipping
          IBaodan Home Decor Clearance sale Housewarming Gift Dream Pendant Car Decorative Pendant                    PNNJI Room Decor - Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Modern Fall                   Qianying Summer Promotion,Clearance,Acrylic Flat Ca
          Acrylic Flat Pendant                                                                                        Decorations for Home Clearance(Z)                                                                            Decorations
          Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




              Report:       Report seller       Report suspected stolen goods (to CA Attorney General)



https://www.walmart.com/ip/YuXinYang-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Home-Decor-Room-Decor/7774052328?classType=VARIANT&from=/search                                                                                                                       2/2
2024/9/30 17:54
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 221 of 685 PageID #:274
                                                             Review your order - Walmart.com




                        Shipping, arrives by Tue, Oct 29


         steven howard                                                                                                             Edit                        Place order for $6.39
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                           By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                           Use

         Delivery instructions (optional)                                                                                          Edit
                                                                                                                                          Subtotal (1 item)                                                    $1.81
         House
                                                                                                                                          Seller shipping                                                      $3.99


         Items details                                                                                                   Hide details     Estimated taxes                                                  $0.59


         Arrives by Tue, Oct 29                                                                                                 1 item
                                                                                                                                                   Want to support the National Fish and Wildlife 
         Sold and shipped by YuXinYangWan                                                                                                          Foundation’s Acres for America program with
         $3.99 seller shipping fee                                                                                                                 a $0.61 donation?
                                                                                                                                                   Spark Good Round Up is an easy way to help conserve
                           YuXinYang Decor Dream Pendant Car Decorative                                                                            land for wildlife and increase public access to the great
                           Pendant Acrylic Flat Pendant,Home Decor,Room…                                                                           outdoors.
                           Actual Color: Purple

                                                                $1.81
                                                                                                                                            Donate a whole dollar to National Fish and Wildlife 
                                                                                                   Remove                  1               Foundation (NFWF)


                                                                                                                                               $1.00           $2.00         $5.00



                                                                                                                                          Estimated total                                                 $6.39

                       Payment method
                                                                                                                                          Have a promo code?



                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                                        $6.39

            + Add new payment                                                                                Change payment




                      Free 30-day trial




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         much more*
         *$35 order min. Restrictions apply.

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                  Send to a different phone number

         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
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         rates may apply. By continuing, you agree to our Mobile Alert Terms.



https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                              1/2
2024/9/30 17:54
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 222 of 685 PageID #:275
                                                           Review your order - Walmart.com




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                   2/2
9/5/24, 12:55 PM
                               Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 223 of 685 PageID #:276
                                                     QuLuJing Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Must Haves for Home - Walmart.com


                               Redefine your wardrobe                                                                                                                                                                                                             Sponsored 




            QuLuJing
            QuLuJing Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Must Haves for Home

             Free 30-day returns



          $2.61
            Price when purchased online 



                                                                            Buy now

                                                                           Add to cart


            Actual Color: Purple-4986




                                 $2.61




            How do you want your item?



                                                         Shipping                                                                              Pickup                                                                          Delivery
                                                    Arrives Sep 26                                                                           Not available                                                                    Not available
                                                         $3.99



            Delivery to 1 N La Salle St



                   Sold and shipped by QuLuJing
                    View seller information

                    Free 30-day returns Details




                                                                              Add to list                                                                                                             Add to registry


                                                        Sponsored

                                                        $264.00
                                                        Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                        3+ day shipping




                                                                                                 Add


                                                                                                                                                                                                                                                                         
                                                                                                                                                                                                                                                                         




                                                                                                                                                                                                                   




                     +   3
                    View all




                                                                                                                                                                                                                        




             Add                                                                                        Add                                                                               Add

            $89.00                                                                                      $24.99                                                                             $7.99 +$1.98 shipping
            DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom                     Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White   iju7gthy 4th of July Indoor Sun Acrylic Pendant Light Refraction Home Decor
            Living Room US                                                                                                                                                                 Pendant Fun Gift For Window Decoration


https://www.walmart.com/ip/QuLuJing-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Must-Haves-for-Home/6672052169                                                                                                                                                    1/3
9/5/24, 12:55 PM
                           Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 224 of 685 PageID #:277
                                                 QuLuJing Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Must Haves for Home - Walmart.com




          About this item


            Product details
                                                                                                                                                                                                                                                                                       
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
            to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
            variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
            create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
            They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
            Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
            our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
            refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                   Must Have Household Items
                   Please allow slight measurement deviations due to manual measurement. Due to the different monitor and light effect, the actual color of the item might be slightly different from the color showed in the pictures.
                   QuLuJing Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Must Haves for Home
                   Housedhold Items Summer Savings,Spring Promotion,Must Have Home Items,Home Deals
                   BEST SERVICE: If you are have any questions with our products, contact us any time, we will get you back within 48 hours try our best to make things right. We just hope you have a pleasant shopping!

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Color
            Purple-4986

            Size
            Free Size

            Brand
            QuLuJing

            Features
            Anti-Slip


            More details




            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




            Warnings
                                                                                                                                                                                                                                                                                       
            State Chemical Disclosure
            NO



              Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                               Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.               Learn more.




              ollbac s to sav
                            or




                                                                                                                                                                                                                                                                              Sponsored 




                                                                                                                                                                                                                                                           




              Options                                                                                                     Options                                                                                                    Add

https://www.walmart.com/ip/QuLuJing-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Must-Haves-for-Home/6672052169                                                                                                                                                                2/3
9/5/24, 12:55 PM
                            Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 225 of 685 PageID #:278
                                                  QuLuJing Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Must Haves for Home - Walmart.com




           $6.15 +$0.99 shipping                                                                         $7.43 +$3.99 shipping                                                                        $6.12
           Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift    Ornaments Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant   Colorful Butterflies Acrylic Decoration Pendant Funny
           Pendant For Party Decoration The Butterfly Pendant Gift                                       Indoor And Outdoor Decorative Accessories Garden Decoration Pendant                          Pendant For Party Decoration The Butterfly Pendant G
           Shipping, arrives in 3+ days                                                                  Shipping, arrives in 3+ days                                                                 Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/QuLuJing-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Must-Haves-for-Home/6672052169                                                                                                                                  3/3
9/5/24, 12:55 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 226 of 685 PageID #:279
                                                              Review your order - Walmart.com




                        Shipping, arrives by Thu, Sep 26
                                                                                                                                                     Place order for $7.28

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                             $2.61

                                                                                                                                Seller shipping                                                               $3.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.68




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.72 donation?
          Arrives by Thu, Sep 26                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by QuLuJing
                                                                                                                                         outdoors.
          $3.99 seller shipping fee

                            QuLuJing Dream Pendant Car Decorative Pendant
                            Acrylic Flat Pendant, Must Haves for Home                                                             Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Actual Color: Purple-4986

                                                                $2.61                                                                $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                                Estimated total                                                          $7.28


                                                                                                                                Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $7.28

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 12:55 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 227 of 685 PageID #:280
                                                              Review your order - Walmart.com




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/5/24, 12:54 PM
                               Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 228 of 685 PageID #:281
                                                     Dream Pendant Car Decorative Pendant Acrylic Flat Pendant for Home Lightning Deals of Today - Walmart.com


                               Timeless style for him                                                                                                                                          Sponsored 




            QiYiyou
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant for Home Lightning Deals of Today

             Free 30-day returns



          $3.99
            Price when purchased online 



                                                                            Buy now

                                                                           Add to cart


            Actual Color: Purple

                                              Purple
                                               $3.99




            How do you want your item?



                                                          Shipping                                                                           Pickup                             Delivery
                                                        Arrives Sep 20                                                                     Not available                       Not available
                                                             $3.00



            Delivery to 1 N La Salle St



                   Sold and shipped by QiYiyou
                    View seller information

                    Free 30-day returns Details




                                                                              Add to list                                                                  Add to registry


                                                        Sponsored

                                                        $20.37 $36.38/kg
                                                        Better Homes & Gardens 57" Architectural Pendant Light, Adjustable Cord, G40 LED Decorative bulb

                                                         2-day shipping




                                                                                             Add


                                                                                                                                                                                                     
                                                                                                                                                                                                     




                                                                                                                                                                     




                     +   3
                    View all




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-for-Home-Lightning-Deals-of-Today/7330866654                                                                            1/3
9/5/24, 12:54 PM
                            Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 229 of 685 PageID #:282
                                                  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant for Home Lightning Deals of Today - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
             our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant for Home Lightning Deals of Today

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             QiYiyou



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
                 WARNING: None



               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Members sav
                        e more




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                                                 




              Options                                                                                                    Add                                                                                                          Options



           $7.43 +$3.99 shipping                                                                                       $6.12                                                                                                        $4.01 +$3.33 shipping
                                                                                                                                                                                                                                    Options from $4.01 – $5.00
           Ornaments Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant                  Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift
           Indoor And Outdoor Decorative Accessories Garden Decoration Pendant                                         Pendant For Party Decoration The Butterfly Pendant Gift                                                      Decor Funny Acrylic Animal Decoration Pendant Creat
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 And Outdoor Decorative Accessories Garden Decorati
                                                                                                                                                                                                                                    Shipping, arrives in 3+ days




              Report:        Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures



https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-for-Home-Lightning-Deals-of-Today/7330866654                                                                                                                                                            2/3
9/5/24, 12:54 PM
                      Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 230 of 685 PageID #:283
                                            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant for Home Lightning Deals of Today - Walmart.com




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-for-Home-Lightning-Deals-of-Today/7330866654                       3/3
9/5/24, 12:55 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 231 of 685 PageID #:284
                                                              Review your order - Walmart.com




                        Shipping, arrives by Fri, Sep 20
                                                                                                                                                       Place order for $7.71

                                                                                                                                     By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                      Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                 Subtotal (1 item)                                                         $3.99

                                                                                                                                 Seller shipping                                                               $3.00
          Delivery instructions (optional)                                                                                Add

          Add access codes or other necessary information.
                                                                                                                                 Estimated taxes                                                               $0.72




                                                                                                                                          Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                          Foundation’s Acres for America program with
                                                                                                                                          a $0.29 donation?
          Arrives by Fri, Sep 20                                                                                        1 item
                                                                                                                                          Spark Good Round Up is an easy way to help conserve
                                                                                                                                          land for wildlife and increase public access to the great
          Sold and shipped by QiYiyou
                                                                                                                                          outdoors.
          $3.00 seller shipping fee

                            Dream Pendant Car Decorative Pendant Acrylic
                            Flat Pendant for Home Lightning Deals of Today                                                         Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                   Foundation (NFWF)
                            Actual Color: Purple

                                                               $3.99                                                                  $1.00            $2.00            $5.00

                                                                                            Remove              1        
                                                                                                                                 Estimated total                                                           $7.71


                                                                                                                                 Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                               $7.71

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                              1/2
9/5/24, 12:55 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 232 of 685 PageID #:285
                                                              Review your order - Walmart.com




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
2024/9/30 17:38
                              Case: 1:24-cv-11674 Document           #: 6-5 Filed: 11/19/24 Page 233 of 685 PageID #:286
                                                   Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Clearance Sales - Walmart.com




           Clearance

            LMEEOR
            Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Clearance Sales
          (No ratings yet)

             Free 30-day returns



         Now $4.44 $4.99 
          You save $0.55
            Price when purchased online 



                                                                    Buy now

                                                                  Add to cart


            Actual Color: Purple




                               $4.44




            How do you want your item?



                                                   Shipping                                                                      Pickup                                                                     Delivery
                                                 Arrives Oct 22                                                              Not available                                                                 Not available
                                                      $2.00



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by LMEEOR |  Pro Seller 

                    8 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                   Add to list                                                                                                      Add to registry


                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                  




                                                                                                                                                                                                  




                      +   2
                   View all




                                                                                                    Reduced price                                                                                        Clearance



                                                                                                                                                                                                                                     




           Add                                                                                       Options                                                                                              Options

                                                                                                                                               +6 options

          $14.49                                                                                   Now $13.99 $24.99                                                                                    Now $1.99 $2.39 +$4.90 shipping
                                                                                                   Options from $13.99 – $16.99                                                                         Options from $1.99 – $3.69
          Hohiya Acrylic Crystal Christmas Ornament Drop Ball Tree Decorations(Clear,Pack Of 30)
           2
                                                                                                   Ayieyill 56Pcs Poinsettia Christmas Flowers Decorations Christmas flower ornaments Artificial        Dainzusyful Christmas Decorations Christmas Orname
                                                                                                   Glitter Berry Stems Christmas Pine Cones Christmas Tree Ornaments Set Christmas Tree                 Decorations Festival Miniature Tree 20cm Home Deco
          Save with
                                                                                                   Decorations (Gold)                                                                                   Shipping, arrives in 3+ days
          Shipping, arrives in 2 days                                                               62

                                                                                                   Save with

                                                                                                   Shipping, arrives in 2 days




https://www.walmart.com/ip/Hanging-Ornaments-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Clearance-Sales/9680170123?classType=VARIANT&from=/search                                                                                             1/3
2024/9/30 17:38
                           Case: 1:24-cv-11674 Document           #: 6-5 Filed: 11/19/24 Page 234 of 685 PageID #:287
                                                Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Clearance Sales - Walmart.com




         About this item


            Product details
                                                                                                                                                                                                                                                                                       
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
            display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
            and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
            personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
            the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated,
            artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been
            carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
            Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  Design:Our hanging ornaments adopts a design that is close to life, allowing you to have a good experience when using it
                  Durability: This hanging ornaments is manufactured with serviceable materials to ensure long-term use
                  Portable: This hanging ornaments is easy to carry or move, powerful functions, and price is right
                  Multipurpose: LMEEOR hanging ornaments can provide convenience to your daily life. You can utilize it appropriately on various occasion or offer it to your family
                  Service: If you have any questions regarding our hanging ornaments, please let me know
                  Ample Options: This hanging ornaments will fulfill your requirements! The product kind can be chosen at your discretion

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Features
            Hanging Ornaments

            Brand
            LMEEOR

            Assembled Product Weight
            0.11 lb

            Manufacturer
            LMEEOR


            More details




            Directions
                                                                                                                                                                                                                                                                                       
            Fabric Care Instructions
            Hand Wash



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




            Warnings
                                                                                                                                                                                                                                                                                       
                WARNING: None



              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




                                                                                                                        Clearance



                                                                                                                                                                                                                                                                




           Add                                                                                                         Add                                                                                                        Add

          $4.49 +$2.49 shipping                                                                                       Now $3.89 $4.37 +$2.99 shipping                                                                              Now $4.49 $4.99 +$2.00 shipping
          Vecoauto Halloween Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat                    Seasonal Sales, Car Decorative Pendant Dream Acrylic Flat Pendant for Home Decorations Akmoler               HKEJIAOI Home Essentials Dream Pendant Car Decor
          Pendant Hanging Ornaments                                                                                   Purple                                                                                                       Shipping, arrives in 3+ days
          Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days




https://www.walmart.com/ip/Hanging-Ornaments-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Clearance-Sales/9680170123?classType=VARIANT&from=/search                                                                                                                           2/3
2024/9/30 17:38
                       Case: 1:24-cv-11674 Document           #: 6-5 Filed: 11/19/24 Page 235 of 685 PageID #:288
                                            Hanging Ornaments Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Clearance Sales - Walmart.com




             Report:    Report seller     Report suspected stolen goods (to CA Attorney General)


         Home / Holiday Decor / Christmas Decor / Christmas Tree Decorations / Shop All Christmas Tree Decorations




https://www.walmart.com/ip/Hanging-Ornaments-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Clearance-Sales/9680170123?classType=VARIANT&from=/search   3/3
2024/9/30 17:39
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 236 of 685 PageID #:289
                                                             Review your order - Walmart.com




                        Shipping, arrives by Mon, Oct 21


         steven howard                                                                                                Edit                        Place order for $7.10
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                              By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                              Use

         Delivery instructions (optional)                                                                             Edit
                                                                                                                             Subtotal (1 item)                                               $4.99
         House
                                                                                                                             Savings                                                       -$0.55

                                                                                                                                                                                             $4.44
         Items details                                                                                       Hide details

                                                                                                                             Seller shipping                                                  $2.00
         Arrives by Mon, Oct 21                                                                                     1 item

         Sold and shipped by LMEEOR |  Pro Seller                                                                          Estimated taxes                                                  $0.66
         $2.00 seller shipping fee

                           Hanging Ornaments Dream Pendant Car
                                                                                                                                      Want to support the National Fish and Wildlife 
                           Decorative Pendant Acrylic Flat Pendant Clearan…
                                                                                                                                      Foundation’s Acres for America program with
                           Actual Color: Purple                                                                                       a $0.90 donation?
                                                                                                                                      Spark Good Round Up is an easy way to help conserve
                           $0.55 from savings                                                                                         land for wildlife and increase public access to the great
                                                                                                                                      outdoors.
                                                              $4.44
                                                                $4.99

                                                                                            Remove             1              Donate a whole dollar to National Fish and Wildlife 
                                                                                                                               Foundation (NFWF)


                                                                                                                                  $1.00           $2.00         $5.00




                       Payment method                                                                                        Estimated total                                                  $7.10


                                                                                                                             Have a promo code?

                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                            $7.10

            + Add new payment                                                                        Change payment




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         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




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                  Send to (xxx) xxx-5923
                  Send to a different phone number




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                             1/2
2024/9/30 17:39
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 237 of 685 PageID #:290
                                                           Review your order - Walmart.com


         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
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https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                2/2
9/4/24, 4:25 PM
                              Case: 1:24-cv-11674              Document #: 6-5 Filed: 11/19/24 Page 238 of 685 PageID #:291
                                        Momihoom Fashion Butterfly Pendants Charms, Mixed Acrylic Butterflies Charms Pendants Keychain Necklace Pendants for Women DIY Jewelry Making Crafting - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                                       Sponsored 




           Clearance

             Momihoom
             Momihoom Fashion Butterfly Pendants Charms, Mixed Acrylic Butterflies Charms Pendants Keychain Necklace Pendants for Women DIY Jewelry Making Crafting

             Free 30-day returns



          Now $4.44 $4.99 
           You save $0.55
             Price when purchased online 



                                                                           Buy now

                                                                         Add to cart


             Actual Color: Purple




                               $4.44

             Clothing Size: Free Size

                                           Free Size




             How do you want your item?



                                                         Shipping                                                                          Pickup                                                                            Delivery
                                                       Arrives Sep 24                                                                    Not available                                                                     Not available
                                                            $0.99



             Delivery to 1 N La Salle St



                  Sold and shipped by Momihoom

                    4 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                           Add to registry


                                                       Sponsored

                                                       $16.99
                                                       JO WISDOM Bubble Initial Necklaces 14k Plated Gold Bubble Letter Pendant Necklace Alphabet A-Z Necklace Dainty Gold Name Necklace Personalized Initial Pendant Necklaces for Women Trendy Jewelry

                                                        2-day shipping




                                                                                                                                                                                                                                                                 
                                                                                                                                                                                                                                                                 




                                                                                                                                                                                                               




                    +   3
                   View all




                                                                                                       Clearance




https://www.walmart.com/ip/Momihoom-Fashion-Butterfly-Pendants-Charms-Mixed-Acrylic-Butterflies-Charms-Keychain-Necklace-Women-DIY-Jewelry-Making-Crafting/7623509346                                                                                                    1/3
9/4/24, 4:25 PM
                           Case: 1:24-cv-11674              Document #: 6-5 Filed: 11/19/24 Page 239 of 685 PageID #:292
                                     Momihoom Fashion Butterfly Pendants Charms, Mixed Acrylic Butterflies Charms Pendants Keychain Necklace Pendants for Women DIY Jewelry Making Crafting - Walmart.com



                                                                                                                                                                                                                                  




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of
             styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
             appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
             sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
             collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Momihoom 【Service】 If you have any questions, please feel free to contact us and we will answer your questions as soon as possible.
                   best gift
                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
                   to display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of
                   styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
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                   sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
                   collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
                   refinement. Product Description:
                   Product Specifications:
                   Material: Acrylic
                   Labor Day
                   Labor Day

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             Momihoom

             Manufacturer
             Momihoom Clearance

             Color
             Purple



             Directions
                                                                                                                                                                                                                                                                                        
             Fabric Care Instructions
             More Beautiful;Best Gifts



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




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          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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                                   ds




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                                                                                                                           Clearance                                                                                                    Clearance




https://www.walmart.com/ip/Momihoom-Fashion-Butterfly-Pendants-Charms-Mixed-Acrylic-Butterflies-Charms-Keychain-Necklace-Women-DIY-Jewelry-Making-Crafting/7623509346                                                                                                                          2/3
9/4/24, 4:25 PM
                            Case: 1:24-cv-11674              Document #: 6-5 Filed: 11/19/24 Page 240 of 685 PageID #:293
                                      Momihoom Fashion Butterfly Pendants Charms, Mixed Acrylic Butterflies Charms Pendants Keychain Necklace Pendants for Women DIY Jewelry Making Crafting - Walmart.com



                                                                                                                                                                                                                   




           Now $2.17 $2.55 +$5.00 shipping                                                                    Now $4.27 $4.80 +$1.99 shipping                                               Now $5.10 $6.60 +$1.50 shipping
           Zenghuiiii Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant   miaomiaoke Dream Pendant Car Decorative Pendant Acrylic Flat Pendant          Centerpieces for Wedding Table Bling Stain Glass Wind
           Pendant For Party Decoration The Butterfly Pendant Ornament Garland Christmas And                  Shipping, arrives in 3+ days                                                  Hamster Dance Christmas Ornament Decorative Garla
           Shipping, arrives in 3+ days                                                                                                                                                     Fireplace Mantel




              Report:        Report seller     Report suspected stolen goods (to CA Attorney General)




             Related pages

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          Clothing / Bags & Accessories / Women's Bags & Accessories / Women's Accessories / Womens Accessories




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9/4/24, 4:25 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 241 of 685 PageID #:294
                                                             Review your order - Walmart.com




                        Shipping, arrives by Tue, Sep 24
                                                                                                                                                     Place order for $5.99

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $4.99
                                                                                                                                Savings                                                                -$0.55
          Delivery instructions (optional)                                                                               Add
                                                                                                                                                                                                         $4.44
          Add access codes or other necessary information.

                                                                                                                                Seller shipping                                                               $0.99


          Items details                                                                                         Hide details    Estimated taxes                                                               $0.56


          Arrives by Tue, Sep 24                                                                                       1 item
                                                                                                                                         Want to support the National Fish and Wildlife 
          Sold and shipped by Momihoom
                                                                                                                                         Foundation’s Acres for America program with
          $0.99 seller shipping fee
                                                                                                                                         a $0.01 donation?
                            Momihoom Fashion Butterfly Pendants Charms,                                                                  Spark Good Round Up is an easy way to help conserve

                            Mixed Acrylic Butterflies Charms Pendants…                                                                   land for wildlife and increase public access to the great
                                                                                                                                         outdoors.
                            Actual Color: Purple, Clothing Size: Free Size

                            $0.55 from savings
                                                                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                              $4.44                                                               Foundation (NFWF)
                                                                 $4.99

                                                                                            Remove              1                  $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                          $5.99



              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                               


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $5.99

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




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          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/4/24, 4:25 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 242 of 685 PageID #:295
                                                            Review your order - Walmart.com




           Text updates for this order
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                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/4/24, 4:22 PM
                              Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 243 of 685 PageID #:296
                                                       miaomiaoke Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                           Sponsored 




           Clearance

             Miaomiaoke
             miaomiaoke Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          Now $4.27 $4.80 
           You save $0.53
             Price when purchased online 



                                                                          Buy now

                                                                         Add to cart



             How do you want your item?



                                                        Shipping                                                                           Pickup                                                                               Delivery
                                                       Arrives Sep 19                                                                    Not available                                                                         Not available
                                                            $1.99



             Delivery to 1 N La Salle St



                  Sold and shipped by miaomiaoke

                    2 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                            Add to list                                                                                                                Add to registry


                                                       Sponsored

                                                       $397.99
                                                       Auriga 14K Yellow Gold Classic Antique Car Pendant for Women (L-20 mm,W-25 mm)

                                                       1-day shipping




                                                                                                                                                                                                                                                     
                                                                                                                                                                                                                                                     




                                                                                                                                                                                                                 




                    +   3
                   View all




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                                                                                                                                                                                                                         




                                                                                                    Sponsored

            $8.59                                                                                   Options from $16.00 – $19.00 $104.00                                                $4.88
            Chain Necklace Acrylic Chunky Colorful Punk Necklace Choker Necklace for Girls          JeenMata Gift multipack 6 pc Women Necklace Pendant Jewelry Gift, Choker,           4 Piece Chain Necklace Set
             2                                                                                 Snake Chain, Curb Link, Trendy Layered Necklace, Adjustable Necklace Gift Set for    40
                                                                                                    Women
                                                                                                                                                                                        Save with
                                                                                                     108




https://www.walmart.com/ip/miaomiaoke-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/8396401366                                                                                                                                                   1/3
9/4/24, 4:22 PM
                            Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 244 of 685 PageID #:297
                                                     miaomiaoke Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                                                                                                         Save with




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
             display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
             and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
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             sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
             collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   miaomiaoke Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   kitchen mats for floor kitchen kitchen towels kitchen organizers and storage cutting boards for kitchen kitchen trash can kitchen faucets kitchen utensils set oil dispenser for kitchen sponges kitchen kitchen kitchen kitchen decor sponge for kitchen sink
                   blenders for kitchen
                   bathroom rugs bathroom organizers and storage bathroom decor bathroom accessories bathroom trash can bathroom shelves towel racks for bathroom towels for bathroom bath mats for bathroom bathroom set bathroom faucets hand towels for bathroom
                   bathroommirror bathroom cleaner bathroom storage bathroom rug bathroom cabinet
                   blanket basket swaddleblanket dog blanket weighted blankets for adults fire blankets emergency for home blanket blanket baby blankets for boys baby blankets for girls outdoor blanket throw blanket throwblanket for couch blankets size
                   neck pillowairplane pillow covers outdoor pillows 18x18 pillow inserts pillow memory foam pillows nursing pillow throw pillows for couch toddler pillow body pillow cover throw pillow covers size pillows set 0f2 pillows standard size set of4 pregnancy pillows for
                   sleeping

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             Miaomiaoke

             Color
             Purple

             Material
             Acrylic

             Theme
             TV & Movies


             More details




             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




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          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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              Gear u
                   p & go




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            Clearance                                                                                                     Clearance                                                                                                    Clearance



                                                                                                                                                                                                                                                                  




           Now $3.16 $3.59 +$2.99 shipping                                                                               Now $4.99 $6.99 +$1.99 shipping                                                                             Now $3.31 $3.68 +$3.99 shipping
           Vekome Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                              LYTiang Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant               Sandistore Colorful Butterflies Acrylic Decoration Pen
           Shipping, arrives in 3+ days                                                                                  Gift Pendant For Party Decoration The Butterfly Pendant Gift                                                Gift Pendant For Party Decoration The Butterfly Penda
                                                                                                                         Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days




https://www.walmart.com/ip/miaomiaoke-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/8396401366                                                                                                                                                                                    2/3
9/4/24, 4:22 PM
                        Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 245 of 685 PageID #:298
                                                 miaomiaoke Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




              Report:    Report seller    Report suspected stolen goods (to CA Attorney General)


          Jewelry / Womens Jewelry & Watches / Womens Jewelry / Womens Necklaces / Fashion Necklaces & Pendants




https://www.walmart.com/ip/miaomiaoke-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/8396401366                            3/3
9/4/24, 4:22 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 246 of 685 PageID #:299
                                                             Review your order - Walmart.com




                        Shipping, arrives by Thu, Sep 19
                                                                                                                                                     Place order for $6.90

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                        $4.80
                                                                                                                                Savings                                                                -$0.53
          Delivery instructions (optional)                                                                               Add
                                                                                                                                                                                                          $4.27
          Add access codes or other necessary information.

                                                                                                                                Seller shipping                                                               $1.99


          Items details                                                                                         Hide details    Estimated taxes                                                               $0.64


          Arrives by Thu, Sep 19                                                                                       1 item
                                                                                                                                         Want to support the National Fish and Wildlife 
          Sold and shipped by miaomiaoke
                                                                                                                                         Foundation’s Acres for America program with
          $1.99 seller shipping fee
                                                                                                                                         a $0.10 donation?
                            miaomiaoke Dream Pendant Car Decorative                                                                      Spark Good Round Up is an easy way to help conserve

                            Pendant Acrylic Flat Pendant                                                                                 land for wildlife and increase public access to the great
                                                                                                                                         outdoors.

                            $0.53 from savings

                                                               $4.27                                                              Donate a whole dollar to National Fish and Wildlife 
                                                                 $4.80
                                                                                                                                  Foundation (NFWF)
                                                                                            Remove              1       
                                                                                                                                     $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                         $6.90

              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                               

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.90

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up


                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/4/24, 4:22 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 247 of 685 PageID #:300
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/4/24, 4:20 PM
                              Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 248 of 685 PageID #:301
                                                        Vekome Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                         Sponsored 




           Clearance

             Vekome
             Vekome Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          Now $3.16 $3.59 
           You save $0.43
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Actual Color: #1 Purple




                                $3.16




             How do you want your item?



                                                        Shipping                                                                              Pickup                                                          Delivery
                                                       Arrives Sep 19                                                                       Not available                                                    Not available
                                                           $2.99



             Delivery to 1 N La Salle St



                  Sold and shipped by maqinghe

                    2 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                             Add to registry


                                                       Sponsored

                                                       $264.00
                                                       Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                       3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                   
                                                                                                                                                                                                                                   




                                                                                                                                                                                               




                    +   3
                   View all




                                                                                                                                                                                                       




             Add                                                                                       Add                                                                  Add


https://www.walmart.com/ip/Vekome-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6455859271                                                                                                                                     1/3
9/4/24, 4:20 PM
                            Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 249 of 685 PageID #:302
                                                      Vekome Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



            $24.99                                                                                     $5.99 +$3.99 shipping                                                                      $89.00
            Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White           Light Diffuser Light-transmitting Plate Acrylic Diffuser Ceiling Light Shade Diffuser      DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom
                                                                                                                                                                                                  Living Room US




          About this item


             Product details
                                                                                                                                                                                                                                                                                     
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   If you have any questions, feel free to contact me at any time, and I will reply to you as soon as I see the message within 24 hours
                   Low price: During the low price promotion period, our store provides incredible discounts.
                   Wide range: Our store explores a variety of home products to meet various holiday decorations, indoor and outdoor decorations, and other needs.
                   plant stem support stem holder plant propagation monstera plant support Plant Stem Supports, Plant Stakes, Plant Climbers Stem Holders, Garden Single Stem Plant Support Stakes, Plant Supports for Indoor and Outdoor Plants

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                     
             Brand
             Vekome

             Features
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant



             Warranty
                                                                                                                                                                                                                                                                                     
             Warranty information
             This product will be refunded free of charge within 30 days. Before refunding, please send an email to contact the seller, send a photo and explain the reason for the refund in detail. Trust me, they will give you the best service.


             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the…
             'C t t ll ' f t           th thi d    t M k t l        ll ' i f       ti          d       t th it '           t t        i t       h

             More details



                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                               Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




               uic & easy meal combos




                                                                                                                                                                                                                                                                               Sponsored 




            Clearance



                                                                                                                                                                                                                                                                  




              Options                                                                                                      Options                                                                                                      Options

                                                                                                                                                                                                                                                                                  +3 options

           Now $3.31 $3.68 +$3.99 shipping                                                                              $7.82                                                                                                        $7.20
           Sandistore Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant             Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor and                  Colorful Butterflies Acrylic Decoration Pendant Funny
           Gift Pendant For Party Decoration The Butterfly Pendant Gift Candy Garland Ornament Pack                     Outdoor Decorative Accessories Garden Decoration Pendant                                                     Pendant For Party Decoration The Butterfly Pendant G
           Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/Vekome-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6455859271                                                                                                                                                                                         2/3
9/4/24, 4:20 PM
                        Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 250 of 685 PageID #:303
                                                  Vekome Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




              Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Vekome-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6455859271                             3/3
9/4/24, 4:20 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 251 of 685 PageID #:304
                                                             Review your order - Walmart.com




                        Shipping, arrives by Thu, Sep 19
                                                                                                                                                     Place order for $6.78

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $3.59
                                                                                                                                Savings                                                                -$0.43
          Delivery instructions (optional)                                                                               Add
                                                                                                                                                                                                              $3.16
          Add access codes or other necessary information.

                                                                                                                                Seller shipping                                                               $2.99


          Items details                                                                                         Hide details    Estimated taxes                                                               $0.63


          Arrives by Thu, Sep 19                                                                                       1 item
                                                                                                                                         Want to support the National Fish and Wildlife 
          Sold and shipped by maqinghe
                                                                                                                                         Foundation’s Acres for America program with
          $2.99 seller shipping fee
                                                                                                                                         a $0.22 donation?
                            Vekome Dream Pendant Car Decorative Pendant                                                                  Spark Good Round Up is an easy way to help conserve

                            Acrylic Flat Pendant                                                                                         land for wildlife and increase public access to the great
                                                                                                                                         outdoors.
                            Actual Color: #1 Purple

                            $0.43 from savings
                                                                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                                $3.16                                                             Foundation (NFWF)
                                                                 $3.59

                                                                                            Remove              1                  $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                          $6.78



              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                               


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.78

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/4/24, 4:20 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 252 of 685 PageID #:305
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/18/24, 4:08 PM
                               Case: 1:24-cv-11674       Document #: 6-5 Filed: 11/19/24 Page 253 of 685 PageID #:306
                                               Lilixerw Clearance Butterfly Car Hanging Ornament,Acrylic Butterfly Pendant,for Car Pendant Backpack Accessories Home Decor - Walmart.com


                               Get blown away                                                                                                                                                                                    Sponsored 




             Lilixerw
             Lilixerw Clearance Butterfly Car Hanging Ornament,Acrylic Butterfly Pendant,for Car Pendant Backpack Accessories Home Decor

              Free 30-day returns



          $3.28
             Price when purchased online 



                                                                        Add to cart


             Actual Color: Purple




                                 $3.28                              $3.28




             How do you want your item?



                                                   Shipping                                                                                  Pickup                                                               Delivery
                                                  Arrives Oct 2                                                                        Not available                                                             Not available
                                                      $2.99



             Delivery to 1 N La Salle St



                   Sold and shipped by lilixerw

                     1 seller review
                    View seller information

                    Free 30-day returns Details




                                                                           Add to list                                                                                                    Add to registry


                                                  Sponsored

                                                  $18.98
                                                  7 Chakra Dream Catcher Wall Hanger Decor,Large Meditation Wall Hanging Ornament 7 Chakra Rough Stone Feng Shui Increase Luck Ornaments for Home Decoration Window Decor

                                                  3+ day shipping




                                                                                                                Add



                                                                                                                                                                                                                                       




                                                                                                                                                                                                     




                     +   3
                    View all




                                                                                                                                             




            Add                                                                                               Add

           $7.70 +$1.99 shipping                                                                              $4.44 +$2.99 shipping
           Melotizhi Flying Dog Bubbles Car Hanging Pendant Backpack Ornaments Cute Home Decoration           Melotizhi Flying Dog Bubbles Car Hanging Pendant Backpack Ornaments Cute Home Decoration
           Shipping, arrives in 3+ days                                                                       Shipping, arrives in 3+ days




https://www.walmart.com/ip/Lilixerw-Clearance-Butterfly-Car-Hanging-Ornament-Acrylic-Butterfly-Pendant-for-Car-Pendant-Backpack-Accessories-Home-Decor/10304109719                                                                             1/3
9/18/24, 4:08 PM
                           Case: 1:24-cv-11674       Document #: 6-5 Filed: 11/19/24 Page 254 of 685 PageID #:307
                                           Lilixerw Clearance Butterfly Car Hanging Ornament,Acrylic Butterfly Pendant,for Car Pendant Backpack Accessories Home Decor - Walmart.com




          About this item


            Product details
                                                                                                                                                                                                                                                                                       
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
            display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
            and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
            personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
            the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated,
            artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been
            carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
            Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                   Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
                   Features:
                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
                   display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of
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                   Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and feel the warmth
                   of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn
                   your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
                   pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product Description:
                   Product Specifications:
                   Material: Acrylic

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                       
            Brand
            Lilixerw

            Assembled Product Weight
            0.11 lb

            Manufacturer
            Lilixerw

            Assembled Product Dimensions (L x W x H)
            3.10 x 3.10 x 0.10 Inches



            Directions
                                                                                                                                                                                                                                                                                       
            Fabric Care Instructions
            Car Hanging Ornament Christmas Ornaments Halloween Ornaments Butterfly Decorations Ornament Storage Box Ornaments 2024 Wall Decor Living Room Patio Decor



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




            Warnings
                                                                                                                                                                                                                                                                                       
                 WARNING: None



               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                                Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.               Learn more.




              Safe rat control solu
                                  tion




                                                                                                                                                                                                                                                                               Sponsored 




https://www.walmart.com/ip/Lilixerw-Clearance-Butterfly-Car-Hanging-Ornament-Acrylic-Butterfly-Pendant-for-Car-Pendant-Backpack-Accessories-Home-Decor/10304109719                                                                                                                           2/3
9/18/24, 4:08 PM
                            Case: 1:24-cv-11674       Document #: 6-5 Filed: 11/19/24 Page 255 of 685 PageID #:308
                                            Lilixerw Clearance Butterfly Car Hanging Ornament,Acrylic Butterfly Pendant,for Car Pendant Backpack Accessories Home Decor - Walmart.com


                                                                                                                                                                                                       Clearance

                                                                                                                                                                                                                                   




            Add                                                                                            Options                                                                                      Options



           $6.12 +$3.99 shipping                                                                         $2.12 +$3.99 shipping                                                                        Now $6.55 $7.36 +$1.99 shipping
           SKBEY Decorated Garland Outdoor Flocked Lambs Ear Garland Christmas Hanging Decorations for   Mengzhiii Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant   Funny Acrylic Animal Decoration Pendant Creative 2D
           Wedding Ornament Glass Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly          Indoor And Outdoor Decorative Accessories Garden Decoration Pendant Diamond Party            Outdoor Decorative Accessories Garden Decoration P
           Shipping, arrives in 3+ days                                                                  Decorations for Adults                                                                       Shipping, arrives in 3+ days
                                                                                                         Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Party & Occasions / Christmas Trees & Christmas Decor / Christmas Decor / Indoor Christmas Decor / Christmas Ornaments / Character Ornaments




https://www.walmart.com/ip/Lilixerw-Clearance-Butterfly-Car-Hanging-Ornament-Acrylic-Butterfly-Pendant-for-Car-Pendant-Backpack-Accessories-Home-Decor/10304109719                                                                                          3/3
9/24/24, 1:44 PM
                             Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 256 of 685 PageID #:309
                                                       YiFudd Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




            YiFudd
            YiFudd Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free shipping      Free 30-day returns



          $5.65
            Price when purchased online 



                                                                         Buy now

                                                                        Add to cart


            Actual Color: Purple,Free Size

                                      Purple,Free Size
                                              $5.65




            How do you want your item?



                                                       Shipping                                                                                 Pickup                                                                      Delivery
                                                      Arrives Oct 9                                                                       Not available                                                                   Not available
                                                           Free



            Delivery to 3200 N Lake Shore Dr



                   Sold and shipped by Krqap

                     8 seller reviews
                    View seller information

                    Free 30-day returns Details




                                                                           Add to list                                                                                                              Add to registry


                                                      Sponsored

                                                      $5.63
                                                      YiFudd Christmas Pendant

                                                      3+ day shipping




                                                            Add



                                                                                                                                                                                                                                                           




                                                                                                                                                                                                              




                                                                                                                                                                                                                                                     




                Options                                                                                           Add                                                                                                     Options



           $74.85                                                                                                $45.99                                                                                                 $11.47
                                                                                                                                                                                                                        Options from $11.47 – $12.99
           Efavormart 13" Round Iridescent Blue Glitter Acrylic Plastic Charger Plates for Table Decor -Set of   Acrylic wedding cards Box ,Clear Decorative Centerpiece ,Wishing case ,post Gift
           24                                                                                                    Shipping, arrives in 3+ days



https://www.walmart.com/ip/YiFudd-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10617712592                                                                                                                                                        1/3
9/24/24, 1:44 PM
                            Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 257 of 685 PageID #:310
                                                      YiFudd Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com

           Shipping, arrives in 3+ days                                                                                                                                                                                             Uxcell 25x15mm Fake Ice Cube Acrylic Irregular Crushe
                                                                                                                                                                                                                                    Pack (130Pcs)
                                                                                                                                                                                                                                    Shipping, arrives in 3+ days




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
             or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
             floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
             your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
             feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
             Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
             pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   yard decorations outdoor
                   outdoor fall decorations for porch
                   outdoor fall decorations
                   decorations for living room
                   halloween decorations outdoor clearance

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
             State Chemical Disclosure
             None



               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Timeless style for him




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                                                 




            Add                                                                                                         Add                                                                                                          Options



           $3.28 +$2.99 shipping                                                                                       $3.79 +$3.99 shipping                                                                                        $5.98
           Lilixerw Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                Swinging Pig Car Ornament Colorful Butterflies Acrylic Decoration Pendant Funny 2D Decoration                Funny Acrylic Animal Decoration Pendant 2D Decorati
           Shipping, arrives in 3+ days                                                                                Pendant Pendant For Party Decoration The Pendant                                                             Shape Ornament Antique Stained Glass Window Hangi
                                                                                                                       Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days




https://www.walmart.com/ip/YiFudd-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10617712592                                                                                                                                                                                      2/3
9/24/24, 1:44 PM
                       Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 258 of 685 PageID #:311
                                                 YiFudd Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


             Report:    Report seller    Report suspected stolen goods (to CA Attorney General)




https://www.walmart.com/ip/YiFudd-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10617712592                           3/3
9/24/24, 1:45 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 259 of 685 PageID #:312
                                                             Review your order - Walmart.com




                        Free shipping, arrives by Wed, Oct 9
                                                                                                                                                    Place order for $6.23

                                                                                                                                   By placing this order, you agree to our Privacy Policy and Terms of Use
          Michael Boldt                                                                                                 Edit
          3200 N Lake Shore Dr, Apt 701, Chicago, IL 60657
                                                                                                                               Subtotal (1 item)                                                         $5.65
                                                                                                                               Shipping                                                                      Free
          Delivery instructions (optional)                                                                              Edit
                                                                                                                               Estimated taxes                                                               $0.58
          Apartment


                                                                                                                                        Want to support the National Fish and Wildlife 
          Items details                                                                                        Hide details             Foundation’s Acres for America program with
                                                                                                                                        a $0.77 donation?
                                                                                                                                        Spark Good Round Up is an easy way to help conserve
          Arrives by Wed, Oct 9                                                                                       1 item
                                                                                                                                        land for wildlife and increase public access to the great
                                                                                                                                        outdoors.
          Sold and shipped by Krqap
          Free shipping

                           YiFudd Dream Pendant Car Decorative Pendant                                                           Donate a whole dollar to National Fish and Wildlife 
                           Acrylic Flat Pendant                                                                                  Foundation (NFWF)
                           Actual Color: Purple,Free Size
                                                                                                                                    $1.00            $2.00            $5.00
                                                               $5.65

                                                                                            Remove              1       
                                                                                                                               Estimated total                                                          $6.23


                                                                                                                               Have a promo code?



                       Payment method


                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 1950                                                                            $6.23

             + Add new payment                                                                       Change payment




                              $15 cash back when you spend $15+                                             Sign up



                        Add any credit or debit card & stack cash back




                      Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                            1/2
9/24/24, 1:45 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 260 of 685 PageID #:313
                                                              Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/4/24, 3:09 PM
                              Case: 1:24-cv-11674 Document           #: 6-5 Filed: 11/19/24 Page 261 of 685 PageID #:314
                                                  JGJJUGN Dream Pendant Car Decorative Item, Acrylic Flat Pendant for Home, Vintage Car Acrylic Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                              Sponsored 




             JGJJUGN
             JGJJUGN Dream Pendant Car Decorative Item, Acrylic Flat Pendant for Home, Vintage Car Acrylic Pendant

             Free 30-day returns



          $0.49
             Price when purchased online 



                                                                               Buy now

                                                                              Add to cart


             Size: 3.15" x 3.15" x 0.15"

                                           3.15" x 3.15" x 0.15"
                                                  $0.49

             Actual Color: Purple




             How do you want your item?



                                                             Shipping                                                                            Pickup                                                                            Delivery
                                                           Arrives Sep 19                                                                     Not available                                                                       Not available
                                                               $4.99



             Delivery to 1 N La Salle St



                  Sold and shipped by JGJJUGN

                    6 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                                 Add to list                                                                                                             Add to registry


                                                           Sponsored

                                                           $3.77
                                                           Kafsov Halloween Steampunk Resin Car Pendant Handcrafted with Vibrant Colors, Adds Liveliness to Cars and Home Decor Perfect for Birthdays, Christmas, Thanksgiving, and More B

                                                            3+ day shipping




                                                                                                                            Add


                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                        




                                                                                                                                                                                                                     




                    +   3
                   View all




                                                                                                                                                                                                                            




             Add                                                                                           Add                                                                                  Options



https://www.walmart.com/ip/JGJJUGN-Dream-Pendant-Car-Decorative-Item-Acrylic-Flat-Pendant-for-Home-Vintage-Car-Acrylic-Pendant/8940120502                                                                                                                       1/3
9/4/24, 3:09 PM
                            Case: 1:24-cv-11674 Document           #: 6-5 Filed: 11/19/24 Page 262 of 685 PageID #:315
                                                JGJJUGN Dream Pendant Car Decorative Item, Acrylic Flat Pendant for Home, Vintage Car Acrylic Pendant - Walmart.com



            $0.99 +$4.99 shipping                                                                        $9.99                                                                                    Options from $14.29 – $14.99
            JGJJUGN Christmas Pendant Acrylic Pig Flat Car Pendant Christmas Tree                        10PCS Diamond Pendant Ornaments, Shatterproof Acrylic for Christmas Tree Party           24 Pieces Christmas Snowflake Drop Ornament Acrylic Icicle Christmas Hanging
            Ornament, Christmas pig pendant, Christmas Pigs Glass Blown Ornaments for                    Outdoor Decorations                                                                      Acrylic Crystal Snowflake Decoration Hanging Acrylic Snowflakes (Clear)
            Christmas Tree                                                                                                                                                                         63

                                                                                                                                                                                                   Save with




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Features:

                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
                   display on walls, curtains or any other, making them a visual impact for your home decor.

                   2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and
                   abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized artistic .

                   3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the
                   beauty and craftsmanship of these pendants and feel the warmth of your love and attention.

                   4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a
                   place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .

                   5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch
                   your home space filled with elegance and refinement.

             Product Description:

             Product Specifications:

             Material: Acrylic

             Color: Purple

             size: 8*8*0.37cm

             Package includes:

             1 pendant

                   Our product is made with premium materials, its long lasting durability. It is designed to withstand daily use and will remain in great condition for years to come.
                   Our product features a versatile design that can be used for a variety of purposes. Whether you need it for organisation, storage or display, it will meet all your needs.
                   Setting up our product is a breeze, thanks to its user friendly design. You can easily assemble it within minutes, without the need for any special tools or skills.
                   Our product features a sleek and modern design that will enhance the aesthetic appeal of any space. It adds a touch of elegance and sophistication to your home.
                   We pride ourselves in offering top notch customer service. If you have any questions or concerns, our dedicated team is always ready to assist you.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             JGJJUGN

             Assembled Product Weight
             0.11 lb

             Manufacturer
             JGJJUGN Accessories

             Manufacturer Part Number
             JGJJUGN Home & Decoration


             More details




             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
                  WARNING: None



                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                                 Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Pride always has a place




                                                                                                                                                                                                                                                                                         
https://www.walmart.com/ip/JGJJUGN-Dream-Pendant-Car-Decorative-Item-Acrylic-Flat-Pendant-for-Home-Vintage-Car-Acrylic-Pendant/8940120502                                                                                                                                                    2/3
9/4/24, 3:09 PM
                            Case: 1:24-cv-11674 Document           #: 6-5 Filed: 11/19/24 Page 263 of 685 PageID #:316
                                                JGJJUGN Dream Pendant Car Decorative Item, Acrylic Flat Pendant for Home, Vintage Car Acrylic Pendant - Walmart.com

                                                                                                                                                                                                                                                   Sponsored 




                                                                                                          Clearance



                                                                                                                                                                                                                                       




            Add                                                                                            Options                                                                                          Options



           $1.02 +$3.99 shipping                                                                         Now $0.99 $1.24 +$4.99 shipping                                                                  $10.82 +$3.99 shipping
           Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                           Colorful Butterflies Acrylic Decoration Pendant Funny 2D Chain Links for Jewelry Making 100 Ft   12 Days of Christmas Song Cards Colorful Butterflies A
           Shipping, arrives in 3+ days                                                                  Shelf Decorations Wooden Garland Beads Short Ornament Hanging String Auction Pendant Bead        Butterfly Decoration Pendant Gift Pendant For Party D
                                                                                                         Shipping, arrives in 3+ days                                                                     Car
                                                                                                                                                                                                          Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Party & Occasions / Christmas Trees & Christmas Decor / Christmas Decor / Indoor Christmas Decor / Christmas Ornaments / Character Ornaments




https://www.walmart.com/ip/JGJJUGN-Dream-Pendant-Car-Decorative-Item-Acrylic-Flat-Pendant-for-Home-Vintage-Car-Acrylic-Pendant/8940120502                                                                                                                          3/3
9/4/24, 3:09 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 264 of 685 PageID #:317
                                                             Review your order - Walmart.com




                        Shipping, arrives by Thu, Sep 19
                                                                                                                                                     Place order for $5.99

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $0.49

                                                                                                                                Seller shipping                                                               $4.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.51




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.01 donation?
          Arrives by Thu, Sep 19                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by JGJJUGN
                                                                                                                                         outdoors.
          $4.99 seller shipping fee

                            JGJJUGN Dream Pendant Car Decorative Item,
                            Acrylic Flat Pendant for Home, Vintage Car Acryl…                                                     Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Size: 3.15x3.15x0.15in, Actual Color: Purple

                                                               $0.49                                                                 $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                                Estimated total                                                          $5.99


                                                                                                                                Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $5.99

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9/4/24, 3:09 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 265 of 685 PageID #:318
                                                            Review your order - Walmart.com




           Text updates for this order
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                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
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          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/18/24, 3:46 PM
                               Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 266 of 685 PageID #:319
                                                         Ihhxbz Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Comfort & confidence                                                                                                                                                            Sponsored 




            Ihhxbz
            Ihhxbz Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $5.56
            Price when purchased online 



                                                                         Buy now

                                                                        Add to cart


            Actual Color: Purple,Free Size

                                        Purple,Free Size
                                              $5.56




            How do you want your item?



                                                       Shipping                                                                          Pickup                               Delivery
                                                      Arrives Oct 3                                                                    Not available                         Not available
                                                          $1.99



            Delivery to 1 N La Salle St



                   Sold and shipped by Ihhxbz

                     1 seller review
                    View seller information

                    Free 30-day returns Details




                                                                           Add to list                                                                 Add to registry


                                                      Sponsored

                                                      $397.99
                                                      Auriga 14K Yellow Gold Classic Antique Car Pendant for Women (L-20 mm,W-25 mm)

                                                      1-day shipping




                                                                                                                                                                                                                      




                                                                                                                                                                




                     +    3
                    View all




            Best seller                                                                                             Best seller



                                                                                                                                                                                                




           $4.88                                                                                                   $6.88                                                   $7.73
           4 Piece Chain Necklace Set                                                                              4 Piece Pendant Necklace Set                            Chain Necklace Acrylic Chunky Colorful Punk Necklace
            43                                                                                                 27                                                 2



https://www.walmart.com/ip/Ihhxbz-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10005901116                                                                                                                           1/3
9/18/24, 3:46 PM
                            Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 267 of 685 PageID #:320
                                                      Ihhxbz Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


           Save with                                                                                                   Save with                                                                                                    Shipping, arrives in 3+ days

           Pickup today                                                                                                Pickup today
           Delivery today                                                                                              Delivery today
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days




          About this item


             Product details
                                                                                                                                                                                                                                                                                     
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylicpendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding aof to any space. The graphic design makes them easy to display on walls, curtains
             or any other, making them a visual for your home decor.2. Versatile accessories: Whether living room, bedroom or office, our new acrylicpendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
             floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized .3.Choices: Looking for a special
             your loved one? Stop looking! Our new series of acrylicpendants make a thoughtful and unique gift. Give these beautiful pendants to yourand family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
             feel the warmth of your and attention.4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylicpendants is ideal. Stylish, sophisticated, designs will bring moreand beauty to your everyday life.
             Turn your living space into a place ofand beauty by purchasing our new acrylicpendant collection, giving your home a fresh and .5. Quality craftsmanship: Eachpendant in our collection has been carefully crafted to create a gorgeous look andtextures. These
             pendants are made ofmaterials that areand stand the test of. Invest in our new collection of acrylicpendants and watch your home space filled with and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Ihhxbz Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                     
             Features
             Ihhxbz Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, led lights for bedroom; home decor; room decor; led lights; halloween decorations; halloween; wall decor; fairy lights; bedroom decor; fake plants; desk accessories; classroom decor; halloween
             decor; happy birthday banner; table runner; living room decor; office decor; birthday decorations; fall decor; flowers; christmas tree; room decor aesthetic; baby shower decorations; halloween decorations outdoor; wedding; christmas decorations; string lights;
             dorm decor; vase; lights for bedroom; boho decor; fake flowers; vines; bachelorette party decorations; fall decorations for home; farmhouse decor; plants; lights; led; wedding decor; fairy lights battery operated; cool stuff; floating candles; boho wall decor;
             flameless candles; happy birthday decorations; halloween decorations indoor; desk decor; christmas; room decor for teen girls; decor; led light strip; artificial flowers; christmas lights; bridal shower decorations; party decorations; string lights for bedroom; house
             decor; happy birthday balloon; bachelorette; dried flowers; apartment decor; home decor living room; hawaiian party decorations; fairy lights for bedroom; cute room decor; battery operated lights; disco ball decor; vines for bedroom; led light; 30th birthday
             decorations for her; shelf decor; curtain lights; coffee table decor; wedding decorations; backdrop; photo booth; light; bedroom; wall lights; birthday decorations for women; pool party decorations; ambient lighting; led lights for tv; classroom decorations; happy
             birthday sign; fake vines; rose; engagement party decorations

             Brand
             Ihhxbz

             Material
             Acrylic

             Theme
             home decor


             More details




             Warranty
                                                                                                                                                                                                                                                                                     
             Warranty information
             Please be free to contact us if you have any questions, we promise that we will give you all satisfied solution. By the way, please check with our item description very carefully, for saving you time and get exactly what you want, thank you and enjoy your shopping.


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             'C t t ll ' f t           th thi d    t M k t l        ll ' i f       ti          d       t th it '           t t        i t       h

             More details




             Warnings
                                                                                                                                                                                                                                                                                     
                 WARNING: None



               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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              It's more than a toy




                                                                                                                                                                                                                                                                               Sponsored 




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9/18/24, 3:46 PM
                          Case: 1:24-cv-11674 Document  #: 6-5 Filed: 11/19/24 Page 268 of 685 PageID #:321
                                                    Ihhxbz Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



                                                                                                                                                                                                                        




                                                               +7
           $7.30 +$3.00 shipping                                                                       $7.88                                                                                      $6.59 +$2.99 shipping
           QNFEPKG Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant    MVNSFEW Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant   YHAIOGS 50 Ft Garland No Wire Funny Acrylic Anima
           Indoor And Outdoor Decorative Accessories Garden Decoration Pendant                         Indoor and Outdoor Decorative Accessories Garden Decoration Pendant                        Decoration Pendant Indoor and Outdoor Decorative A




              Report:      Report seller    Report suspected stolen goods (to CA Attorney General)


          Jewelry / Womens Jewelry & Watches / Womens Jewelry / Womens Necklaces / Fashion Necklaces & Pendants




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9/18/24, 3:46 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 269 of 685 PageID #:322
                                                              Review your order - Walmart.com




                        Shipping, arrives by Thu, Oct 3
                                                                                                                                                     Place order for $8.32

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $5.56

                                                                                                                                Seller shipping                                                               $1.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.77




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.68 donation?
          Arrives by Thu, Oct 3                                                                                        1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by Ihhxbz
                                                                                                                                         outdoors.
          $1.99 seller shipping fee

                            Ihhxbz Dream Pendant Car Decorative Pendant
                            Acrylic Flat Pendant                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Actual Color: Purple,Free Size

                                                               $5.56                                                                 $1.00            $2.00            $5.00

                                                                                            Remove               1       
                                                                                                                                Estimated total                                                          $8.32


                                                                                                                                Have a promo code?


                        Payment method


                            We'll look for smart ways to pay
                            We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $8.32

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



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9/18/24, 3:46 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 270 of 685 PageID #:323
                                                              Review your order - Walmart.com




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          rates may apply. By continuing, you agree to our Mobile Alert Terms.




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9/4/24, 2:38 PM
                              Case: 1:24-cv-11674 Document      #: 6-5 Filed: 11/19/24 Page 271 of 685 PageID #:324
                                                      Hxlamzoo Dream Butterfly Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                       Sponsored 




           Clearance

             Hxlamzoo
             Hxlamzoo Dream Butterfly Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          Now $3.99 $8.99 
           You save $5.00
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Size: Free Size

                                           Free Size
                                             $3.99

             Actual Color: Purple

                                             Purple




             How do you want your item?



                                                         Shipping                                                                             Pickup                                                        Delivery
                                                       Arrives Sep 24                                                                       Not available                                                  Not available
                                                            $0.98



             Delivery to 1 N La Salle St



                  Sold and shipped by Hxlamzoo

                    8 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                               Add to registry


                                                       Sponsored

                                                       $264.00
                                                       Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                        3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                 
                                                                                                                                                                                                                                 




                                                                                                                                                                                                 




                    +   3
                   View all




                                                                                                                                                                              Reduced price




https://www.walmart.com/ip/Hxlamzoo-Dream-Butterfly-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6543306044                                                                                                                       1/3
9/4/24, 2:38 PM
                             Case: 1:24-cv-11674 Document      #: 6-5 Filed: 11/19/24 Page 272 of 685 PageID #:325
                                                     Hxlamzoo Dream Butterfly Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



                                                                                                                                                                                                                                   




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Hxlamzoo Dream Butterfly Pendant Car Decorative Pendant Acrylic Flat Pendant【Service】 If you have any questions, please feel free to contact us and we will answer your questions as soon as possible.
                   best gift
                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
                   to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
                   variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
                   create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
                   They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
                   Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
                   pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
                   elegance and refinement. Product Description:
                   Product Specifications:
                   Material: Acrylic

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             Hxlamzoo

             Features
             Hxlamzoo Dream Butterfly Pendant Car Decorative Pendant Acrylic Flat Pendant



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Independence Day Father's Day Mother's Day Children's Day Easter Christmas New Year April Fools' Day Martin Luther King Day Arbor Day Honey Bee Day Valentine's Day The Day After Easter Durability Labor Day Halloween Thanksgiving Veterans Day Christmas
             Eve New Year's Eve Summer Parties,Dinners,Travel, Weddings And Other
             …
             Pl    b         th t th      t t         it       ff d f    l b thi d    t M k t l         ll        diff f     th    di l d i thi      ti (if   ) T     fi          t t            it    ff d f       l b thi d     t M k t l        ll   l        th

             More details



                 Report incorrect product information




                                                                                                                                                                                                                            




            Add                                                                                         Add                                                                                        Add

           $2,639.36                                                                                    $14.99                                                                                      $2,006.60
           Maklaine 5-Piece Velvet Upholstered Tufted Queen Bedroom Set in Gray                         MoKo Sunglasses Holder Organizer Wall, Wooden Eyeglasses Display Rack for                   Maklaine 4-Piece Velvet Upholstered Eastern King Bedroom Set in Gray
                                                                                                        Bedroom Living Room Entryway
           3+ day shipping                                                                                                                                                                           3+ day shipping
                                                                                                         2-day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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9/4/24, 2:38 PM
                            Case: 1:24-cv-11674 Document      #: 6-5 Filed: 11/19/24 Page 273 of 685 PageID #:326
                                                    Hxlamzoo Dream Butterfly Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             The Ghost with the Most




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                                                                                                                                                                                                                                           




            Add                                                                                                Options                                                                                          Options

                                                                                                                                                         +3 options

           $0.50 +$4.99 shipping                                                                             Now $1.12 $3.12 +$4.99 shipping                                                                  $7.79 +$1.00 shipping
           Ovzne 1 PC Bling Car Rearview Mirror Pendant, 3.14" x 3.74" Rhinestone Butterfly-shaped Metal     Linjieee Icicles Glass Christmas Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly   HALJEN Ornament Hooks Clear Colorful Butterflies A
           Stainless Steel Chain Pendant, Personalized Decorative Accessory, Compatible with Most Models#A   Decoration Pendant Indoor And Outdoor Decorative Accessories Garden Decoration Pendant           Decoration Pendant Gift Pendant for Party Decoration
           Shipping, arrives in 3+ days                                                                      Shipping, arrives in 3+ days                                                                     Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Hxlamzoo-Dream-Butterfly-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6543306044                                                                                                                                                   3/3
9/4/24, 2:38 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 274 of 685 PageID #:327
                                                             Review your order - Walmart.com




                        Shipping, arrives by Tue, Sep 24
                                                                                                                                                     Place order for $5.48

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $8.99
                                                                                                                                Savings                                                                -$5.00
          Delivery instructions (optional)                                                                               Add
                                                                                                                                                                                                          $3.99
          Add access codes or other necessary information.

                                                                                                                                Seller shipping                                                               $0.98


          Items details                                                                                         Hide details    Estimated taxes                                                               $0.51


          Arrives by Tue, Sep 24                                                                                       1 item
                                                                                                                                         Want to support the National Fish and Wildlife 
          Sold and shipped by Hxlamzoo
                                                                                                                                         Foundation’s Acres for America program with
          $0.98 seller shipping fee
                                                                                                                                         a $0.52 donation?
                            Hxlamzoo Dream Butterfly Pendant Car                                                                         Spark Good Round Up is an easy way to help conserve

                            Decorative Pendant Acrylic Flat Pendant                                                                      land for wildlife and increase public access to the great
                                                                                                                                         outdoors.
                            Size: Free Size, Actual Color: Purple

                            $5.00 from savings
                                                                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                               $3.99                                                              Foundation (NFWF)
                                                                 $8.99

                                                                                            Remove              1                  $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                         $5.48



              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                               


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $5.48

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




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          much more*
          *$35 order min. Restrictions apply.

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9/4/24, 2:38 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 275 of 685 PageID #:328
                                                            Review your order - Walmart.com




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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/4/24, 2:34 PM
                              Case:     1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 276 of 685 PageID #:329
                                Ovzne 1 PC Bling Car Rearview Mirror Pendant, 3.14" x 3.74" Rhinestone Butterfly-shaped Metal Stainless Steel Chain Pendant, Personalized Decorative Accessory, Compatible with Most Models#A - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                            Sponsored 




             Ovzne
             Ovzne 1 PC Bling Car Rearview Mirror Pendant, 3.14" x 3.74" Rhinestone Butterfly-shaped Metal Stainless Steel Chain Pendant, Personalized Decorative Accessory, Compatible with Most Models#A

             Free 30-day returns



          $0.50
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Actual Color: Purple




                                $0.50




             How do you want your item?



                                                        Shipping                                                                             Pickup                                                                              Delivery
                                                       Arrives Sep 12                                                                      Not available                                                                        Not available
                                                           $4.99



             Delivery to 1 N La Salle St



                  Sold and shipped by Hong Rui

                    28 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                                Add to registry


                                                       Sponsored

                                                       $825.00
                                                       Urban Ambiance Luxury Luxury Pendant, Size: 23-7/8"H x 22-1/4"W, with Transitional Style Elements, Olde Bronze Finish and Clear Shade, UHP2462

                                                       3+ day shipping




                                                                                                          Add


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                    +   3
                   View all




                                                                                                                                                                                                                          




               Options                                                                                   Options                                                                              Add
                                                                    +                                                                                      +
            Options from $8.42 – $9.99 $9.99                                                           Options from $10.99 – $20.99                                                         $113.00



https://www.walmart.com/ip/Ovzne-1-PC-Bling-Car-Rearview-Mirror-Pendant-3-14-x-3-74-Rhinestone-Butterfly-shaped-Metal-Stainless-Steel-Chain-Personalized-Decorative-Accessory-Co/6544001332                                                                   1/3
9/4/24, 2:34 PM
                             Case:     1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 277 of 685 PageID #:330
                               Ovzne 1 PC Bling Car Rearview Mirror Pendant, 3.14" x 3.74" Rhinestone Butterfly-shaped Metal Stainless Steel Chain Pendant, Personalized Decorative Accessory, Compatible with Most Models#A - Walmart.com


            Car Bling Rear View Mirror Hanging Accessories for Women & Men, Rhinestones                  Metal Lamp Shade Retro Light Shade Replacement Mesh Industrial Pendant Light               DENEST 4 Light Tiffany Style Chandelier Ceiling Stained Glass Pendant Lamp
            Diamond Love Heart and Black Plush Ball Crystal Sun Catcher Lucky Ornament                   Shade Accessories Ceiling Hanging Light Shades Decorative for Home 1.65" Top x             Hanging Light
            Chain, Car Chandelier, Bling Car Charm                                                       3.07" Bottom x 4.72" High                                                                   1
             1                                                                                       3




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
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             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Unique Butterfly Design: The butterfly-shaped pendant adds a touch of elegance and personality to your car's interior. Its captivating design is sure to turn heads and complement any car's style.
                   Premium Stainless Steel Material: Crafted from high-quality stainless steel, this pendant is built to last. It is resistant to rust and tarnishing, ensuring its beauty and charm remain intact over time.
                   Universal Compatibility: Compatible with most car models, this rearview mirror pendant is a versatile accessory that can be easily attached to your car's mirror, regardless of make or model.
                   Personalized Decorative Accessory: Not just a pendant, it's a statement piece that reflects your unique taste and personality. Add a touch of glamour to your daily commute with this stylish accessory.
                   Easy to Install & Remove: With its convenient chain design, this pendant is effortless to attach and remove from your car's rearview mirror. No tools required, making it a hassle-free addition to your vehicle's interior.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             Ovzne



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




                                                                                                                                                                                                                             




            Add                                                                                          Add                                                                                        Add

           $682.34                                                                                      $930.54                                                                                     $14.99
           Home Square Wood Black 3 Piece Set with Platform Full Bed Nightstand and                     Home Square Wood Black 4pc Set with Platform Queen Bed Dresser &                            MoKo Sunglasses Holder Organizer Wall, Wooden Eyeglasses Display Rack for
           Dresser                                                                                      2Nightstands                                                                                Bedroom Living Room Entryway

            4                                                                                       3                                                                                      2-day shipping

           3+ day shipping                                                                               3+ day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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9/4/24, 2:34 PM
                          Case:     1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 278 of 685 PageID #:331
                            Ovzne 1 PC Bling Car Rearview Mirror Pendant, 3.14" x 3.74" Rhinestone Butterfly-shaped Metal Stainless Steel Chain Pendant, Personalized Decorative Accessory, Compatible with Most Models#A - Walmart.com



                                                                                                                                                                                                                         




             1                                                                                                Options                                                                                Options

                                                       +3 options

           Now $1.12 $3.12 +$4.99 shipping                                                                  $7.79 +$1.00 shipping                                                                  $7.82 +$1.00 shipping
           Linjieee Icicles Glass Christmas Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly   HALJEN Ornament Hooks Clear Colorful Butterflies Acrylic Decoration Pendant Funny 2D   GuLuBin Car Hanger Funny Acrylic Animal Decoration
           Decoration Pendant Indoor And Outdoor Decorative Accessories Garden Decoration Pendant           Decoration Pendant Gift Pendant for Party Decoration the Pendant Gift                  Pendant Indoor and Outdoor Decorative Accessories G




              Report:      Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




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9/4/24, 2:34 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 279 of 685 PageID #:332
                                                             Review your order - Walmart.com




                        Shipping, arrives by Thu, Sep 12
                                                                                                                                                     Place order for $6.00

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $0.50

                                                                                                                                Seller shipping                                                               $4.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.51




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $1.00 donation?
          Arrives by Thu, Sep 12                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by Hong Rui
                                                                                                                                         outdoors.
          $4.99 seller shipping fee

                            Ovzne 1 PC Bling Car Rearview Mirror Pendant,
                            3.14" x 3.74" Rhinestone Butterfly-shaped Metal…                                                      Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Actual Color: Purple

                                                               $0.50                                                                 $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                                Estimated total                                                         $6.00


                                                                                                                                Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.00

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




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9/4/24, 2:34 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 280 of 685 PageID #:333
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
2024/9/27 23:45
                               Case: 1:24-cv-11674               Document #: 6-5 Filed: 11/19/24 Page 281 of 685 PageID #:334
                                         Herunwer Fashion Butterfly Pendants Charms, Mixed Acrylic Butterflies Charms Pendants Keychain Necklace Pendants for Women DIY Jewelry Making Crafting - Walmart.com




             Herunwer
             Herunwer Fashion Butterfly Pendants Charms, Mixed Acrylic Butterflies Charms Pendants Keychain Necklace Pendants for Women DIY Jewelry Making Crafting


              Free shipping, arrives Oct 19      Free 30-day returns 




          $9.99
             Price when purchased online 



                                                                            Buy now

                                                                           Add to cart


             Actual Color: Purple




                                 $9.99

             Clothing Size: Free Size

                                              Free Size




             How you'll get this item:



                                                           Shipping                                                                    Pickup                                                                Delivery
                                                          Arrives Oct 19                                                         Not available                                                             Not available
                                                               Free



             1 N LA SALLE ST Change

             Arrives by Sat, Oct 19 | More options



                  Sold and shipped by Herunwer

                    6 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                              Add to list                                                                                            Add to registry


                                                                                                                                                                                                                                                     
                                                                                                                                                                                                                                                     




                                                                                                                                                                                                  




                       +   3
                   View all




                                                                                                                                                                                                                                      




           Sponsored

           $24.29                                                                                       $1.89 +$4.90 shipping                                                                            $9.95
           HETICA Chunky Gold Necklace for Women, Heart Pendants Necklace Sun Flower Necklace Fashion   YUEHAO Keychains Keychain Color Dripping Butterfly Pendant Keychain Fashion Keyring Bag          Popfizzy Bling Keychain for Women and Girls Rhineston
           Hip Hop Choker Gift                                                                          Pendant E                                                                                        Tassel Key Chain Key Fob
            3                                                                                       1                                                                                          Shipping, arrives in 3+ days

           Save with                                                                                    Shipping, arrives in 3+ days

           Shipping, arrives in 2 days




https://www.walmart.com/ip/Herunwer-Fashion-Butterfly-Pendants-Charms-Mixed-Acrylic-Butterflies-Charms-Keychain-Necklace-Women-DIY-Jewelry-Making-Crafting/10453603561?classType=VARIANT&from=/search                                                            1/3
2024/9/27 23:45
                            Case: 1:24-cv-11674               Document #: 6-5 Filed: 11/19/24 Page 282 of 685 PageID #:335
                                      Herunwer Fashion Butterfly Pendants Charms, Mixed Acrylic Butterflies Charms Pendants Keychain Necklace Pendants for Women DIY Jewelry Making Crafting - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of
             styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
             appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
             sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
             collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                  Herunwer Service If you have any questions, please feel free to contact us and we will answer your questions as soon as possible.
                  best gift
                  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
                  to display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of
                  styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
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                  collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
                  refinement. Product Description:
                  Product Specifications:
                  Material: Acrylic
                  Thanks Giving
                  Thanks Giving

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             Herunwer

             Manufacturer
             Herunwer Clearance



             Directions
                                                                                                                                                                                                                                                                                        
             Fabric Care Instructions
             More Beautiful;Best Gifts



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                               Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




                                                                                                                                                                                                                                                                  




           $8.57 +$1.99 shipping                                                                                        $3.72 +$2.99 shipping                                                                                        $8.87
                                                                                                                        More options from $3.30
           Wall Sculptures,Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration                                                                                                                             Hanging Ornament Funny Acrylic Animal Decoration P
           Pendant Gift Pendant For Party Decoration The Butterfly Pendant Gift                                         QBGSAY Hanging Ornament Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly                        Pendant Indoor And Outdoor Decorative Accessories G
           Shipping, arrives in 3+ days                                                                                 Indoor And Outdoor Decorative Accessories Garden Decoration Pendant Party Wedding                            Shipping, arrives in 3+ days
                                                                                                                        Decoration
                                                                                                                        Shipping, arrives in 3+ days




https://www.walmart.com/ip/Herunwer-Fashion-Butterfly-Pendants-Charms-Mixed-Acrylic-Butterflies-Charms-Keychain-Necklace-Women-DIY-Jewelry-Making-Crafting/10453603561?classType=VARIANT&from=/search                                                                                       2/3
2024/9/27 23:45
                       Case: 1:24-cv-11674               Document #: 6-5 Filed: 11/19/24 Page 283 of 685 PageID #:336
                                 Herunwer Fashion Butterfly Pendants Charms, Mixed Acrylic Butterflies Charms Pendants Keychain Necklace Pendants for Women DIY Jewelry Making Crafting - Walmart.com




             Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


          Clothing / Bags & Accessories / Women's Bags & Accessories / Women's Accessories / Womens Accessories




https://www.walmart.com/ip/Herunwer-Fashion-Butterfly-Pendants-Charms-Mixed-Acrylic-Butterflies-Charms-Keychain-Necklace-Women-DIY-Jewelry-Making-Crafting/10453603561?classType=VARIANT&from=/search   3/3
2024/9/27 23:46
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 284 of 685 PageID #:337
                                                            Review your order - Walmart.com




                        Free shipping, arrives by Fri, Oct 18
                                                                                                                                                               Place order for $11.01

                                                                                                                                              By placing this order, you agree to our Privacy Policy and Terms of Use
          steven howard                                                                                                            Edit
          1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                          Subtotal (1 item)                                                         $9.99
                                                                                                                                          Shipping                                                                      Free
          Delivery instructions (optional)                                                                                         Edit
                                                                                                                                          Estimated taxes                                                               $1.02
          House


                                                                                                                                                   Want to support the National Fish and Wildlife 
          Items details                                                                                                   Hide details             Foundation’s Acres for America program with
                                                                                                                                                   a $0.99 donation?
                                                                                                                                                   Spark Good Round Up is an easy way to help conserve
          Arrives by Fri, Oct 18                                                                                                 1 item
                                                                                                                                                   land for wildlife and increase public access to the great
                                                                                                                                                   outdoors.
          Sold and shipped by Herunwer
          Free shipping

                           Herunwer Fashion Butterfly Pendants Charms,                                                                      Donate a whole dollar to National Fish and Wildlife 
                           Mixed Acrylic Butterflies Charms Pendants…                                                                       Foundation (NFWF)
                           Actual Color: Purple, Clothing Size: Free Size
                                                                                                                                               $1.00            $2.00            $5.00
                                                                $9.99

                                                                                                   Remove                  1       
                                                                                                                                          Estimated total                                                          $11.01


                                                                                                                                          Have a promo code?



                       Payment method


                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 9192                                                                                       $11.01

             + Add new payment                                                                               Change payment




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          much more*
          *$35 order min. Restrictions apply.

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          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.



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2024/9/27 23:46
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:    11/19/24 Page 285 of 685 PageID #:338
                                                            Review your order - Walmart.com




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                   2/2
9/4/24, 2:04 PM
                              Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 286 of 685 PageID #:339
                                                        Dadatutu Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                                          Sponsored 




             Dadatutu
             Dadatutu Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $5.78
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart



             How do you want your item?



                                                        Shipping                                                                              Pickup                                                                           Delivery
                                                       Arrives Sep 19                                                                       Not available                                                                     Not available
                                                            $1.99



             Delivery to 1 N La Salle St



                  Sold and shipped by Dadatutu

                    5 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                              Add to registry


                                                       Sponsored

                                                       $264.00
                                                       Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                       3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                                                     
                                                                                                                                                                                                                                                                     




                                                                                                                                                                                                                




                    +   3
                   View all




                                                                                                                                                                                                                        




             Add                                                                                       Add                                                                               Add

            $89.00                                                                                     $24.99                                                                             $247.21
            DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom                    Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White   Modern Pendant One-Light Brushed Nickel Clear and Etched Glass Pendant Light
            Living Room US
                                                                                                                                                                                          Save with




          About this item


https://www.walmart.com/ip/Dadatutu-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/7946550911                                                                                                                                                                    1/3
9/4/24, 2:04 PM
                            Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 287 of 685 PageID #:340
                                                      Dadatutu Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
             display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
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             sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
             collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dadatutu Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Brand
             Dadatutu

             Assembled Product Dimensions (L x W x H)
             3.15 x 3.15 x 0.15 Inches



             Directions
                                                                                                                                                                                                                                                                                        
             Fabric Care Instructions
             Machine Washable; Hand Wash



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




                                                                                                                                                                                                                         




            Add                                                                                       Add                                                                                        Add

           $15.99                                                                                     $15.99                                                                                     $15.99
           Hatafafurni Ceramic Jewelry Dish Mom Women for Birthday and Wedding Gifts                  Hatafafurni Ceramic Ring Holder Dragonfly Jewelry Dish Gift for Women, Wedding             Hatafafurni Ceramic Ring Holder Jewelry Dish Gift for Godmothers Women for
                                                                                                      and Birthday                                                                               Wedding and Birthday
           2-day shipping
                                                                                                       2-day shipping                                                                             2-day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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                       r cool




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            Clearance




https://www.walmart.com/ip/Dadatutu-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/7946550911                                                                                                                                                                                     2/3
9/4/24, 2:04 PM
                            Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 288 of 685 PageID #:341
                                                      Dadatutu Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



                                                                                                                                                                                                                                         




              Options                                                                                         Add                                                                                                  Add
                                                                                                             Sponsored                                                                                             Sponsored

           Now $1.02 $6.02 +$4.99 shipping                                                                   $10.49                                                                                                $7.99
           CHENZERO Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration            Maxpert Weekly Pill Organizer Case - Push Button Pill Planner, Easy Open Arthritis Friendly           AUVON Weekly Pill Organizer Arthritis Friendly, 7 Day
           Pendant Gift Pendant For Party Decoration The Butterfly Pendant Gift Ornament Christmas           Medicine Organizer, Large Pill Case for Medication, Vitamins, Fish Oil, Supplements, 7 Day Pill Box   Design and Large Compartment
           Shipping, arrives in 3+ days                                                                       1                                                                                                65




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Dining Room Pendant Lights




https://www.walmart.com/ip/Dadatutu-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/7946550911                                                                                                                                                                   3/3
9/4/24, 2:05 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 289 of 685 PageID #:342
                                                             Review your order - Walmart.com




                        Shipping, arrives by Thu, Sep 19
                                                                                                                                                     Place order for $8.57

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $5.78

                                                                                                                                Seller shipping                                                               $1.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.80




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.43 donation?
          Arrives by Thu, Sep 19                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by Dadatutu
                                                                                                                                         outdoors.
          $1.99 seller shipping fee

                            Dadatutu Dream Pendant Car Decorative Pendant
                            Acrylic Flat Pendant                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                                                               $5.78
                                                                                                                                     $1.00            $2.00            $5.00
                                                                                            Remove              1       


                                                                                                                                Estimated total                                                          $8.57


                                                                                                                                Have a promo code?                                                             
              Payment method

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $8.57

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/4/24, 2:05 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 290 of 685 PageID #:343
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




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8/28/24, 3:11 PM
                               Case: 1:24-cv-11674 Document             #: 6-5 Filed: 11/19/24 Page 291 of 685 PageID #:344
                                                    Dream Pendant Car Decorative Pendant Acrylic Flat Pendant，Gift for Family Home Summer Flash Deals - Walmart.com


                               Breath of fresh Air Wick                                                                                                                                                                 Sponsored 




           Clearance

             Asdbhguybd
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                             Gift for Family Home Summer Flash Deals

             Free 30-day returns



          Now $5.99 $6.99 
           You save $1.00
             Price when purchased online 



                                                                              Buy now

                                                                            Add to cart


             Actual Color: Purple

                                              Purple
                                               $5.99




             How do you want your item?



                                                           Shipping                                                                            Pickup                                                Delivery
                                                          Arrives Sep 13                                                                     Not available                                          Not available
                                                               $1.00



             Delivery to 1 N La Salle St



                   Sold and shipped by Asdbhguybd

                     1 seller review
                    View seller information

                    Free 30-day returns Details




                                                                                Add to list                                                                                     Add to registry


                                                          Sponsored

                                                          $412.95
                                                          Contemporary 4-Light Led Pendant with Frosted Acrylic 3.25 X 4.25 inches Pendants Bailey Street Home 79-Bel-2041389

                                                          3+ day shipping




                                                                                                   Add


                                                                                                                                                                                                                              
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                     +   3
                    View all




                                                                                                                                                                                                                  




             Options                                                                                                      Add                                                                      Options

                                                                                                                         Sponsored




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Gift-for-Family-Home-Summer-Flash-Deals/6543351780                                                                                               1/3
8/28/24, 3:11 PM
                            Case: 1:24-cv-11674 Document             #: 6-5 Filed: 11/19/24 Page 292 of 685 PageID #:345
                                                 Dream Pendant Car Decorative Pendant Acrylic Flat Pendant，Gift for Family Home Summer Flash Deals - Walmart.com


           $3.99 +$1.99 shipping                                                                                       $12.49                                                                                                       $7.99 +$0.99 shipping
           Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift                  Maxpert Weekly Pill Organizer Case - 7 Day AM PM Push Button Pill Planner - Easy Open Arthritis              AaSFJEG Colorful Butterflies Acrylic Decoration Penda
           Pendant For Party Decoration The Butterfly Pendant Gift                                                     Friendly Medicine Organizer - Large Pill Case for Medication, Vitamins, Fish Oil, Supplements                Pendant For Party Decoration The Pendant Gift 2024
           Shipping, arrives in 3+ days                                                                                 3                                                                                                      Shipping, arrives in 3+ days

                                                                                                                       Shipping, arrives in 3+ days




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
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             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant，Gift for Family Home Summer Flash Deals

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             Asdbhguybd



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
                 WARNING: None




                                                                                                                                                                                                                                                                 




            Add                                                                                                         Add                                                                                                         Add

           $7.99 +$1.98 shipping                                                                                       $8.59                                                                                                        $65.00
           iju7gthy 4th of July Indoor Sun Acrylic Pendant Light Refraction Home Decor Pendant Fun Gift For            Bedside Lamps Lampshades for Floor Lamps Clip on Bulb LED Christmas Lights Window Decoration                 Acrylic Circular Ring LED Dimmable Chandelier Remot
           Window Decoration                                                                                           Light Up Window Silhouette Acrylic Christmas Tree And Lights Battery Operated With Su                        Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet
          Be the first to write a review

             Write a review




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8/28/24, 3:11 PM
                         Case: 1:24-cv-11674 Document             #: 6-5 Filed: 11/19/24 Page 293 of 685 PageID #:346
                                              Dream Pendant Car Decorative Pendant Acrylic Flat Pendant，Gift for Family Home Summer Flash Deals - Walmart.com




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                            Dream Pendant Car Decorative Pendant Acrylic
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                            Actual Color: Purple

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                              Case: 1:24-cv-11674Keeplus
                                                   Document               #: 6-5 Filed: 11/19/24 Page 296 of 685 PageID #:349
                                                         Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, for Bedroom Living Room Home Decoration - Walmart.com




            Keeplus
            Keeplus Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, for Bedroom Living Room Home Decoration
          (No ratings yet)

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            Actual Color: #1 Purple




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          Hanging Ornament, Christmas Decorations                                                         Shipping, arrives in 3+ days                                                                    Shipping, arrives in 3+ days
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          Shipping, arrives in 3+ days




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                           Case: 1:24-cv-11674Keeplus
                                                Document               #: 6-5 Filed: 11/19/24 Page 297 of 685 PageID #:350
                                                      Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, for Bedroom Living Room Home Decoration - Walmart.com



         About this item


            Product details
                                                                                                                                                                                                                                                                                               
            Name:

            Keeplus Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
            to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
            variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
            create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
            They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
            Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
            pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
            elegance and refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  children's educational building blocks educational building blocks for children children educational building blocks set children educational building blocks toys children educational building blocks for toddler children educational building blocks with magnets
                  children educational building blocks for toddlers children educational building blocks educational building blocks children building blocks educational building blocks kit educational building blocks for kids educational building blocks for 1 year old educational
                  building blocks infant educational building blocks kit, 176 , ages 4-8 and educational building blocks magnetic building blocks stem educational toys magnetic building blocks stem educational toy children building blocks ages 1-3 children building blocks and set
                  big size building blocks children children building blocks large large plastic building blocks for children wood building blocks for children children wooden building blocks building blocks for teaching young children in inclusive settings building blocks mini
                  dinosaur bricks figures kids toys for children bird figurines home decor, bird statues indoor decoration home decoration statues home decoration statues of birds home decoration statues for home home decoration statues of animals home decoration statues
                  for kitchen home decoration statues and figures home decoration home decoration statue home decoration figures home decoration figurines home decoration statues for home wall home decoration statue for home home decoration figures for home home
                  decoration figurines for home home decoration statues for home home decorations home decorations for living room home decorations for bedroom home decorations wall home decoration items home decorations for shelves home decorations ideas home
                  decorations for men home decoration books home decoration big statue statue collection home decoration funny middle finger resin garden statue, home decoration home garden solar energy decoration statue statue resin sculpture modern home
                  decoration white guichifun statue collection home decoration realistic figurine statue office home decoration stone garden outdoor home statue decoration home decoration figures set home decoration figures of birds home decoration figures for wall home
                  decoration figures for kitchen home decoration figures christmas tree home decoration figures for living room pig figures home decoration wooden puzzle birds shaped wooden puzzle birds shaped toy wooden puzzle birds shaped like wooden puzzle birds
                  shaped birds wooden puzzle birds shaped puzzle wooden puzzle birds shaped puzzles wooden puzzle birds shaped like birds wooden puzzle birds shaped like houses wooden puzzle wooden puzzle birds wooden puzzle birds shaped toys wooden puzzle birds
                  shaped like toys wooden puzzle animals shaped toy wooden puzzles birds shaped toy wooden puzzle birds shapes toy wooden puzzle birds toys wooden puzzle birds toy wooden puzzle birds shaped birds for adults wooden puzzle birds shaped birds of wooden
                  puzzle birds shaped bird wooden puzzles birds shaped birds wooden puzzle birds birds wooden puzzle birds shaped puzzle 500 wooden puzzle birds shaped puzzle board wooden puzzle birds shaped puzzles for kids wooden puzzle birds shaped puzzles for adults
                  wooden puzzle birds shaped wooden puzzle wooden puzzle birds shaped like birds wooden puzzle birds shaped like birds to color wooden puzzle birds shaped like birds in a tree wooden puzzle birds shaped like birds on a wire wooden puzzle birds shaped like birds
                  in flight wooden puzzles birds shaped like birds wooden puzzles for adults wooden puzzles wooden puzzles for toddlers 1-3 wooden puzzles for toddlers 3-5 wooden puzzles for kids wooden puzzle box wooden puzzles for kids ages 4-8 wooden puzzles for
                  toddlers wooden puzzles for adults on wooden puzzle birds 500 wooden puzzle birds for adults wooden puzzle birds and animals wooden owl puzzle wooden puzzle boxes wooden puzzle animals wooden puzzle birds
                  poseable joints model figurines poseable joints model figurines for kids poseable joints model figure posable joints model figures poseable joints model figures posable joints model figurines poseable joints model dolls poseable joints model miniature figures
                  poseable joints model miniature figurines poseable joints model posable joints model figures 5mm posable joints model figures set posable joints model figures 12mm posable joints model figures 10mm posable joints model figures 15mm posable joints model
                  figures 1 inch posable model figures model figures poseable joints model poseable joints model figure 12 poseable joints model figure set posable joints model figure poseable joints model kit model figure poseable joints poseable joints model figures 15mm
                  poseable joints model figures human poseable joints model figures 6 inch poseable joints model figures dragon poseable joints models poseable joints model 1 poseable joints modeling poseable joints model kits poseable joints modeling paint posable joints
                  model mini figure carved crystal statue mini figure carved crystal statues mini figure carved crystal sculpture mini figurine carved crystal statue mini figure carved crystals statue mini figure carved crystal stone mini figure carved crystal mini figure crystal
                  statue crystal statue mini figure carved crystal figurines mini figure carved crystal figurine mini figure carved crystal figures mini figure crystal statues mini figurine carved crystal statues mini figurine carved crystal statue set mini figurine carved crystal stone
                  mini figurine carved crystals mini figurine carved crystal stone statue mini figurine carved crystal mini figurine crystal statue mini figurine crystal statue decor crystal statues and figurines crystal statuettes crystal statue personalized crystal statues for home
                  decor crystal statue light crystal buddha statue crystal statue mini figure carved crystal sculptures mini figure carved crystals sculpture mini figurine carved crystal sculpture miniature figure carved crystal sculpture mini figure crystal sculpture crystal
                  sculpture carved crystal sculpture mini figure sculpture mini figure crystal statue set mini figure crystal statue mini figure crystal stone miniature crystal statue mini crystal statue mini figure crystal action figures action figure action figure stand action figures
                  for boys action figure display case action figure accessories action figures 6 inch action figure display action figure clothes action figures 12 inch action figures accessories action figures stand action figures t13 action figures for boys age 4-7 action figures for
                  boys age 8-12 action figure stands 6 inch action figure stand black action figure stands 3.75 action figure stands 6 inch gi joe classified action figure stand base action figure stands 7 inch action figure stand 3.75 action figure stands for posing action figure stand
                  1 action figures for boys 12 inch action figures for boys age 3 action figures for boys action figures for boys age 4 action figures for boys 6 inch action figures for boys age 2 action figures for boys goku action figure display case wall mount action figure display
                  case with lights action figure display case 7 inch action figure display case 12 inch action figure display case 3.75 action figure display case protector action figure display case wall action figure display case 18 inch action figure display case 10 inch action figure
                  accessories weapons action figure accessories clothes action figure accessories storage action figure accessories 1/12 action figure accessories action figure accessories jjk action figure accessories food action figures 12 inch pack action figures 12 inch clothes
                  mecha wing dragon assembly dragon mecha wing dragon assembly dragons mecha wing dragon assembly mecha wing dragon assembly dragonwing mecha wing dragon assembly dragon wing mecha wing dragon assembly mecha wing dragon assembly dragon
                  shield mecha wing dragon assembly mechanic wing dragon assembly mecha wing dragon mecha wing mecha wing dragonwing mecha wing dragon assembly mecha dragonwing dragonwing mecha wing dragon wing assembly dragonwing dragon dragon kids
                  dragon adult dragon costume dragon and tail mecha wing dragons mecha wing dragon toy mecha wing dragon plush mecha wing dragon dragon mecha dragon mecha dragon mecha winged dragon mechanical wing dragon
                  printed articulated dragon set printed articulated dragon sets printed dragon printed articulated dragon printed articulated dragon sculpture printed articulated dragon figurine printed dinosaur set printed dragon set printed set printed dragon with printed
                  dragon printed dragon in printed dragon 24 inch printed with dragon inside printed dragon 15 inch with printed dragon rose printed dragon small printed dragon in the dark printed dragon set of 3 printed dragon set of 4 printed dragon in set of 3 printed
                  dragon set of 6 printed dragon two set printed dragon set printed dragon 12 set printed articulated dragon with printed articulated dragon printed articulated dragon 24 inch printed articulated dragon printed articulated dragon dragon in printed articulated
                  dragon 40 inch printed articulated dragon 20 inch printed articulated dragon crystal dragon printed animals printed dinosaur printed sets printed set for kids printed animals set printed plush printed plushies printed figurines printed articulated dragon
                  figurines printed articulated dragon figure printed articulated dragon figures printed dragon figurine printed dinosaur figurine printed dragon sculpture printed articulated dragon sculptures printed realistic dragon sculpture printed dinosaur sculpture printed
                  sculpture printed sculpture printed sculpture printed dinosaur sets printed dinosaur set of 3 printed dinosaur set of 2 printed dinosaur toy printed dinosaur set for kids printed dinosaur toys printed dinosaur plush printed dinosaur figurines 6-inch 11 tone
                  children hand drum 6 foot 11 tone children hand drum 6 inch 11 tone children hand drum 6inch 11 tone children hand drum 6 in 11 tone children hand drum 6mm 11 tone children hand drum 6 11 tone children hand drum 6 inch children hand drum 6 inch 11 tone
                  hand drum 6 inch hand drum 6 inch children hand drums 6 inch children hand percussion 6 inch childs hand drum 6 inch kids hand drum 6 inch children drum children hand drum 6 inch 11 tone hand drums 6 inch 10 tone hand drum 6 inch 11 note hand drum 6
                  inch 11 ton hand drum 6 inch 9 tone hand drum 6 inch 11 tone drum 11 tone hand drum independence day doll independence day doll clothes independence day dwarf doll independence day faceless doll independence day decorations dwarf doll home
                  decoration pendant american independence day dwarf faceless doll decoration crafts american independence day long-legged and faceless couple doll independence day faceless doll gnome goblin home decoration doll independence day faceless doll rattan
                  pendant rattan window pendant independence day dolls independence day dolls 2024 independence day dolls 3 pack independence day dolls 12 inch independence day dolls for kids independence day dvd independence day plates independence day toys
                  independence dolls independence day doll clothes 2t independence day doll clothes independence day clothes independence day doll dress 4 inch dashboard fluorescent clock 4 inch dashboard fluorescent clocks 4 inch dashboard fluorescent clock light 4 inch
                  dashboard fluorescent clock cover 4 inch dashboard fluorescent lights 6 inch dashboard fluorescent clock 3 inch dashboard fluorescent clock 4 inch dashboard fluorescent light 4 inch dashboard fluorescent dashboard fluorescent clock 6 inch dashboard
                  fluorescent clocks 5 inch dashboard fluorescent clocks 3 inch dashboard fluorescent clocks dashboard fluorescent clocks 4 inch dashboard clocks 4 inch dashboard fluorescent bulbs 3 inch dashboard fluorescent lights 5 inch dashboard fluorescent lights 2 inch
                  dashboard fluorescent lights 6 inch dashboard fluorescent lights 4 inch dashboard fluorescent light covers dashboard fluorescent lights 4 inch dashboard lights 6 inch dashboard fluorescent clock cover 6 inch dashboard fluorescent clock light 6 inch dashboard
                  fluorescent light 5 inch dashboard fluorescent clock 6 inch dashboard fluorescent 6 inch dashboard clock 4 inch dashboard fluorescent lighting 4 inch dashboard fluorescent light tube 4 inch dashboard fluorescent light bulb 4 inch dashboard fluorescent light
                  cover 3 inch dashboard fluorescent light dashboard fluorescent light
                  three dimensional plant pot three dimensional flowerpot three dimensional four flowerpot three dimensional four flowers three dimensional four flower pot three dimensional four petals flowerpot three dimensional four petaled flowerpot four flowerpot three
                  dimensional four flower pots three dimensional five flower pot three dimensional four petals flower pot three dimensional three flower pot three dimensional four petaled flower pot four flower pot three petals flowerpot three petals flowerpots three petals
                  flowerpot mug three petals flower pot flowerpot three dimensional flowerpots three dimensional flower pots three dimensional vase superimposed planting pot multi color planting pot planting pot multi layer superimposed planting pot multi layer
                  superimposed planting pots multi layer superimposed planting tray multi layer superimposed planter multi layer planting pots multi layer planting pot multi layered superimposed planting pot multi layered superimposed planting pots multi layered
                  superimposed planting pot with multi layered superimposed planter multi layered superimposed pot multi layered planting pot multi planting pot multi planting pots multi planting pot indoor multi planting pots indoor multi planting pots with holes multi
                  planting pot with drainage multi planting pot for indoor plants multi planter pot multi plant pot multi pack planting pots multi level planting pot multi level planting pots multi level planting pot 6 inch multi level planting pot indoor multi level planting pots with
                  holes multi level planting pot with drainage multi level planting pot for indoor plants multi level planter multi level plant pot bowknot telephone wire hair bands bowknot telephone wire hair bows bowknot telephone wire hair ties bowknot telephone cord hair
                  bands bowknot telephone wire hair clips bowknot telephone wired hair bands bowknot telephone wireless hair bands bowknot telephone wire hair clips 100 bowknot telephone wireless hair clips black bowknot telephone wire hair clips bowknot telephone wire
                  bowknot telephone cords bowknot telephone cord ends bowknot telephone cord 25 ft bowknot telephone cord 15 ft bowknot telephone cord white bowknot telephone cord cover bowknot telephone cord 15 feet bowknot telephone cable 2024 monthly desk
                  calendar monthly desk calendar july 2024-2025 monthly desk calendar 2024-2025 2024 monthly desk calendar 8.5 x 11 2024-2025 monthly desk calendar large desk calendar wall 2024-2025 monthly planner large monthly desk calendar 2024-2025 2024 desk
                  calendar large 22x17 2024 monthly desk calendar cover 2024 monthly desk calendar cover clear 2024 monthly desk calendar cover plastic 2024 monthly desk calendar cover planner 2024 monthly desk calendar cover with pocket monthly desk calendar cover
                  2024 2024 monthly desk pad calendar cover 2024 desk calendar cover sunshade sunshade canopy outdoor sunshade sunshade 6 x 8 sunshades for patio sunshade 10x12 sunshade for sunshade 10x16 sunshade 12x12 sunshade sunshade 16 x 20 sunshade for patio
                  sunshade 6x12 sunshade sails for pool 20x26 rectangular sunshade 16 x 20 sunshade 8x10 sun shade 10x13 block sunshade sun shade 10' x 13', block sunshade sun shade 10 x13 block sunshade sunshade canopy outdoor 10x10 sunshade canopy outdoor 12x14
                  sunshade canopy outdoor 14x10 sunshade canopy outdoor retractable 16x16 sunshade canopy outdoor 14x10 outdoor tent floor mat oxford cloth picnic sunshade canopy sun shade canopy outdoor sunshade canopy outdoor sunshade sunshades for patio
                  rectangle sunshades for patio rectangular outdoor sunshades for patio remote sunshades for patio sunshades for patio 10x10 sunshades for patio 20x8 adhesive patio sunshades for patio screen sun shade 6 x 8 sunshade 6x8 sunshade 8 x 6 sunshade 6 x 6
                  sunshade 5 x 8 sunshade 4 x 6 sunshade 6 x 8 sunscreen sunshade 10x12 pergola sun shade 10x10 sun shade 10x12 sunshade 10x10 sunshade 10x10 sunshade 10 x 10 sunshade triangles sunshade car sunshade cover sun shade right sunshade sun shades sunshade
                  triangular sunshade 16x20 sun shade sun shade 16x20 sun shade 16x20 16x20 sunshade sun shades 16x20 sunshade for car sunshade 16x25
                  independence day decorations independence day decorations outdoor independence day decorations home independence day decorations garden flag independence day decorations for tree independence day decorations wood independence day decorations
                  light independence day decorations gnome independence day decorations table memorial day decorations outdoor independence day inflatables outdoor decorations independence day led outdoor decorations independence day decorations door sign
                  independence day decorations door hanger independence day decorations door wreath independence day decorations door banner independence day decorations door hanging independence day wreath independence day tree decorations independence day
                  party decorations independence day banner independence day ornaments independence day mini tree decorations independence day garland independence day decorations dwarf doll home decoration pendant independence day decorations lights
                  independence day decorations light up independence day decorations light blue independence day decorations light independence day decorations light up sign independence day decorations gnomes independence day decorations gnome table cloth gnome
                  independence day gnomes gnome independence day decorations birthday decorations gnome independence day decorations tablecloth independence day decorations table top independence day decorations table cloth independence day decorations table
                  decor independence day decorations table runner independence day decorations table centerpiece independence day decorations table decorations independence day decorations wooden hanging sign independence day wooden decorations independence
                  day wreath independence day wreaths for front door independence day wreath door wreath american door basket decoration independence day wreath independence day wreath with lights independence day wreath decor independence day wreath bows
                  independence day wreath home decor simulation plant wreath wreaths for front door outside patriotic wreaths for front door independence day decorations wreaths for front door flag wreaths for front door memorial day wreaths for front door independence
                  day tablecloth independence day door wreath independence day flag independence day wreath real home independence day wreath home love independence day wreathe independence day wreath real flowers independence day wreath realhome love
                  independence day wreath real home love independence day wreath with lights and sound patriotic wreath with lights independence day wreathe with lights independence day wreath with led lights wreath with lights independence day banner independence day
                  garland independence day decor independence day table decor patriotic wreath decor independence day wreath bow independence day tablecloth 60x84 independence day tablecloth round independence day tablecloth disposable independence day vinyl
                  tablecloth independence day round tablecloth independence day tablecloth round table independence day table runner patriotic tablecloth round memorial day school season gift sets school season gift sets for boys school season gift sets for girl school
                  season gift sets for women school season gift sets for girls school season gifts school gift sets season gift sets school season gift sets for girl 7 school season gift sets for girl 5 school season gift sets for girl 6 school season gift sets for girl 10 school season gift
                  sets for teen girls school gift sets for girls school gift sets for girl school supplies gift sets for women school gifts for women school season gifts for women school theme gift sets for women school teacher gift sets for women school gift sets for women school
                  season gifts school season gifts for boys school season gifts for girl school season gifts for girls school birthday gifts for classroom school season gifts for teachers school season gifts for students school gifts school gift high school graduation gift sets for girls
                  graduation gift sets for her 2024 high school end of school year gift sets for students high school graduation gift sets for her high school graduation gift sets school bus tumblers gift sets high school grad gift sets school graduation gift sets high school
                  graduation gift sets for him school season gift set girls school season gift set girls 5 school season gift set girls 6 school season gift set girls 5t school season gift set girls 10 school season gift set girl school season gift sets girls school season gift set for girls
                  school season gift set school gift set girls school season gift set for women gift set for women school season gift for women school gift set for women school gift set school gift set for kids before school after school gift set school supplies gift set high school
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            Features
            Water-Resistant




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                           Case: 1:24-cv-11674Keeplus
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            Brand
            Keeplus

            Condition
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         Arrives by Mon, Oct 21                                                                                                 1 item
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         $0.99 seller shipping fee                                                                                                                 a $0.64 donation?
                                                                                                                                                   Spark Good Round Up is an easy way to help conserve
                           Keeplus Dream Pendant Car Decorative Pendant                                                                            land for wildlife and increase public access to the great
                           Acrylic Flat Pendant, for Bedroom Living Room…                                                                          outdoors.
                           Actual Color: #1 Purple

                                                               $6.59
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                                                             #: 6-5       Filed: 11/19/24 Page 301 of 685 PageID #:354
                                                                  Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Cook with Clean Ceramic™                                                                                                                                                                                                          Sponsored 




             sztgfjh
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

              Free shipping        Free 30-day returns



          $7.08
             Price when purchased online 



                                                                             Buy now

                                                                           Add to cart



             How do you want your item?



                                                          Shipping                                                                                    Pickup                                                                      Delivery
                                                         Arrives Oct 2                                                                          Not available                                                                   Not available
                                                              Free



             Delivery to 3200 N Lake Shore Dr



                   Sold and shipped by sztgfjh
                    View seller information

                    Free 30-day returns Details




                                                                               Add to list                                                                                                                Add to registry


                                                         Sponsored

                                                         $134.00
                                                         Luxury Traditional Pendant, 12.75H x 12.25W, with Modern Farmhouse Style, Midnight Black, UHP4004 by Urban Ambiance

                                                         3+ day shipping




                                                                                                  Add



                                                                                                                                                                                                                                                                        




                                                                                                                                                                                                                    




                     +   3
                    View all




                                                                                                                                                                                                                                                           




            Add                                                                                                        Add                                                                                                   Add
                                                                                                                       Sponsored

           $24.99                                                                                                      $11.99                                                                                                 $85.96
           Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White                            Ceiling Light Fixture with Teardrop Glass Shade Semi Flush Mount Indoor Lighting                       DENEST Acrylic LED Chandelier Lamp Ceiling Pendant
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                           Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10750017402                                                                                                                                                                                   1/3
9/24/24, 1:29 PM
                            Case: 1:24-cv-11674 Document Dream
                                                          #: 6-5       Filed: 11/19/24 Page 302 of 685 PageID #:355
                                                               Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
             or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
             floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
             your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
             feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
             Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
             pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Brand
             sztgfjh

             Features
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant



             Directions
                                                                                                                                                                                                                                                                                        
             Fabric Care Instructions
             Machine Washable; Hand Wash



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Timeless style for him




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                                                 




              Options                                                                                                     Options                                                                                                      Options

                                                                                                                                                                                                                                                                                   +3 options

           $7.26                                                                                                       $3.35 +$4.99 shipping                                                                                        $10.77 +$3.99 shipping
           UYCDD Colorful Butterflies Acrylic Decoration Pendant Funny 2D Decoration Pendant Pendant For               Weerihhol Ceramic Bunny Decorations Colorful Butterflies Acrylic Decoration Pendant Funny 2D                 Wyzesi Clear Rubber Ornaments Various Sizes Funny A
           Party Decoration The Pendant                                                                                Decoration Pendant Pendant For Party Decoration The Pendant                                                  2D Butterfly Decoration Pendant Indoor and Outdoor
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 Pendant
                                                                                                                                                                                                                                    Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10750017402                                                                                                                                                                                                2/3
9/24/24, 1:29 PM
                        Case: 1:24-cv-11674 Document Dream
                                                      #: 6-5       Filed: 11/19/24 Page 303 of 685 PageID #:356
                                                           Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Report:     Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10750017402                               3/3
9/24/24, 1:30 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 304 of 685 PageID #:357
                                                             Review your order - Walmart.com




                        Free shipping, arrives by Wed, Oct 2
                                                                                                                                                    Place order for $7.81

                                                                                                                                   By placing this order, you agree to our Privacy Policy and Terms of Use
          Michael Boldt                                                                                                 Edit
          3200 N Lake Shore Dr, Apt 701, Chicago, IL 60657
                                                                                                                               Subtotal (1 item)                                                         $7.08
                                                                                                                               Shipping                                                                      Free
          Delivery instructions (optional)                                                                              Edit
                                                                                                                               Estimated taxes                                                               $0.73
          Apartment


                                                                                                                                        Want to support the National Fish and Wildlife 
          Items details                                                                                        Hide details             Foundation’s Acres for America program with
                                                                                                                                        a $0.19 donation?
                                                                                                                                        Spark Good Round Up is an easy way to help conserve
          Arrives by Wed, Oct 2                                                                                       1 item
                                                                                                                                        land for wildlife and increase public access to the great
                                                                                                                                        outdoors.
          Sold and shipped by sztgfjh
          Free shipping

                           Dream Pendant Car Decorative Pendant Acrylic                                                          Donate a whole dollar to National Fish and Wildlife 
                           Flat Pendant                                                                                          Foundation (NFWF)

                                                               $7.08                                                                $1.00            $2.00            $5.00
                                                                                            Remove              1       

                                                                                                                               Estimated total                                                           $7.81


                                                                                                                               Have a promo code?

                       Payment method


                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 1950                                                                            $7.81

             + Add new payment                                                                       Change payment




                              $15 cash back when you spend $15+                                             Sign up



                        Add any credit or debit card & stack cash back




                      Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                            1/2
9/24/24, 1:30 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 305 of 685 PageID #:358
                                                              Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
2024/9/30 17:47
                              Case: 1:24-cv-11674     Document #: 6-5 Filed: 11/19/24 Page 306 of 685 PageID #:359
                                             PNNJI Room Decor - Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Modern Fall Decorations for Home Clearance(Z) - Walmart.com




           Clearance

            PNNJI
            PNNJI Room Decor - Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Modern Fall Decorations for Home Clearance(Z)
          (No ratings yet)

             Free 30-day returns



         Now $1.29 $1.49 
          You save $0.20
            Price when purchased online 



                                                                           Buy now

                                                                       Add to cart


            Actual Color: B18Purple

                                         B18Purple
                                             $1.29




            How do you want your item?



                                                       Shipping                                                                        Pickup                                                                  Delivery
                                                     Arrives Oct 18                                                                Not available                                                              Not available
                                                         $4.99



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by PNNJI
                   View seller information

                   Free 30-day returns Details




                                                                        Add to list                                                                                                    Add to registry


                                                                                                                                                                                                                                                       
                                                                                                                                                                                                                                                       




                                                                                                                                                                                                  




                    +   3
                   View all




                                                                                                                                                                                                            Clearance



                                                                                                                                                                                                                                        




             Options                                                                                      Add                                                                                                Options

                                                                      +7

          $6.39 +$4.90 shipping                                                                          $11.99                                                                                            Now $3.39 $10.81 +$4.90 shipping
          More options from $3.59                                                                                                                                                                          More options from $1.24
                                                                                                         Husfou 16pcs Fall Decorations Hanging Ball Ornaments for Thanksgiving, Fabric Wrapped Covered
          Ncandy 1*Mushroom Shaped Toilet Handle, Desktop Ornament Big Sale! Toilet Caps Toilet Covers   Tree Ornaments for Home Indoor Decor, 2 inch                                                      Yubnlvae Hangs Color Acrylic Sunshade Ukrainian Colo
          Decorative Fun Ceramics Toilet Covers Screw Cover Caps Toilet Caps for Bathroom                                                                                                                  Hanging Ornament, Christmas Decorations
                                                                                                          9
          Decor(Combination)                                                                                                                                                                                1
                                                                                                         Save with
          Shipping, arrives in 3+ days                                                                                                                                                                     Shipping, arrives in 3+ days
                                                                                                         Shipping, arrives in 2 days




https://www.walmart.com/ip/PNNJI-Room-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Modern-Fall-Decorations-for-Home-Clearance-Z/9662412185?classType=VARIANT&from=/search                                                                      1/3
2024/9/30 17:47
                           Case: 1:24-cv-11674     Document #: 6-5 Filed: 11/19/24 Page 307 of 685 PageID #:360
                                          PNNJI Room Decor - Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Modern Fall Decorations for Home Clearance(Z) - Walmart.com




         About this item


            Product details
                                                                                                                                                                                                                                                                                       
            FLASH DEALS EVENT:
            Fall decor up to 25% off-
            PNNJI Room Decor - Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Modern Fall Decorations for Home Clearance(Z)
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
            display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
            and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
            personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
            the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated,
            artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been
            carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
            Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

            Fall Decorations for Home Clearance Under $5 ! ! !
            wall decor, bedroom decor, wall decor for bedroom, dorm decor, room decor, fall decorations for home

                   Fall decor up to 25% off-
                    Good Design
                    Easy Installation
                    Wide Range Applications and Places
                    Safe Material--NoToxic, Non-BPA, and Lead
                    Beautiful Gift
                    Thanks for browsing and have a great day!

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            Specifications
                                                                                                                                                                                                                                                                                       
            Brand
            PNNJI

            Manufacturer
            wall decor

            Manufacturer Part Number
            dorm decor

            Color
            B18Purple



            Directions
                                                                                                                                                                                                                                                                                       
            Fabric Care Instructions
            bedroom decor



            Warranty
                                                                                                                                                                                                                                                                                       
            Warranty information
            Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
            'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet



                                                                                             Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




                                                                                                                        Clearance                                                                                                   Clearance



                                                                                                                                                                                                                                                                




             Options                                                                                                    Add                                                                                                        Add

          $0.59 +$4.80 shipping                                                                                       Now $0.47 $0.77 +$4.99 shipping                                                                              Now $4.44 $4.99 +$2.00 shipping
          Qianying Summer Promotion,Clearance,Acrylic Flat Car Accessories Backpack Accessories Home                  Home on Clearance TOPRenddon Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                       Hanging Ornaments Dream Pendant Car Decorative Pe
          Decorations                                                                                                 Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days
          Shipping, arrives in 3+ days




https://www.walmart.com/ip/PNNJI-Room-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Modern-Fall-Decorations-for-Home-Clearance-Z/9662412185?classType=VARIANT&from=/search                                                                                               2/3
2024/9/30 17:47
                       Case: 1:24-cv-11674     Document #: 6-5 Filed: 11/19/24 Page 308 of 685 PageID #:361
                                      PNNJI Room Decor - Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Modern Fall Decorations for Home Clearance(Z) - Walmart.com




             Report:    Report seller    Report suspected stolen goods (to CA Attorney General)


         Home / Decor / Decorative Accents / Decorative Ornaments




https://www.walmart.com/ip/PNNJI-Room-Decor-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Modern-Fall-Decorations-for-Home-Clearance-Z/9662412185?classType=VARIANT&from=/search   3/3
2024/9/30 17:48
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 309 of 685 PageID #:362
                                                             Review your order - Walmart.com




                        Shipping, arrives by Thu, Oct 17


         steven howard                                                                                                 Edit                        Place order for $6.92
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                               By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                               Use

         Delivery instructions (optional)                                                                              Edit
                                                                                                                              Subtotal (1 item)                                                $1.49
         House
                                                                                                                              Savings                                                       -$0.20

                                                                                                                                                                                               $1.29
         Items details                                                                                       Hide details

                                                                                                                              Seller shipping                                                  $4.99
         Arrives by Thu, Oct 17                                                                                     1 item

         Sold and shipped by PNNJI                                                                                            Estimated taxes                                                  $0.64
         $4.99 seller shipping fee

                           PNNJI Room Decor - Dream Pendant Car
                                                                                                                                       Want to support the National Fish and Wildlife 
                           Decorative Pendant Acrylic Flat Pendant - Moder…
                                                                                                                                       Foundation’s Acres for America program with
                           Actual Color: B18Purple                                                                                     a $0.08 donation?
                                                                                                                                       Spark Good Round Up is an easy way to help conserve
                           $0.20 from savings                                                                                          land for wildlife and increase public access to the great
                                                                                                                                       outdoors.
                                                               $1.29
                                                                 $1.49

                                                                                            Remove             1               Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                Foundation (NFWF)


                                                                                                                                   $1.00           $2.00         $5.00




                       Payment method                                                                                         Estimated total                                                 $6.92


                                                                                                                              Have a promo code?

                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                            $6.92

            + Add new payment                                                                        Change payment




                      Free 30-day trial




         Try Walmart+ to save with free delivery from stores + so
         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                              1/2
2024/9/30 17:48
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 310 of 685 PageID #:363
                                                           Review your order - Walmart.com


         If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                2/2
9/5/24, 1:08 PM
                              Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 311 of 685 PageID #:364
                                                     Somuwie Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Best Gift - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                                          Sponsored 




             Somuwie
             Somuwie Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Best Gift

             Free 30-day returns



          $4.99
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart



             How do you want your item?



                                                         Shipping                                                                         Pickup                                                                           Delivery
                                                       Arrives Sep 25                                                                   Not available                                                                    Not available
                                                            Free



             Delivery to 1 N La Salle St



                  Sold and shipped by Somuwie
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                        Add to registry


                                                       Sponsored

                                                       $7.05
                                                       Christmas Ornaments Christmas Decor Dragon Baby Pendant Christmas Tree Charm Cute Cartoon Dragon Car Pendant 2d Flat Acrylic Christmas Tree Pendant

                                                        3+ day shipping




                                                                                                             Add


                                                                                                                                                                                                                                                                     
                                                                                                                                                                                                                                                                     




                                                                                                                                                                                                             




                    +   3
                   View all




                                                                                                                                                                                                                   




             Add                                                                                     Add                                                                             Add

            $10.99                                                                                   $9.99                                                                            $45.99
            Northlight 18.5" Acrylic Dangling Icicle Christmas Ornament - Clear                      10PCS Diamond Pendant Ornaments, Shatterproof Acrylic for Christmas Tree Party   Acrylic wedding cards Box ,Clear Decorative Centerpiece ,Wishing case ,post Gift
             3                                                                                  Outdoor Decorations




https://www.walmart.com/ip/Somuwie-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Best-Gift/6348104562                                                                                                                                                 1/3
9/5/24, 1:08 PM
                            Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 312 of 685 PageID #:365
                                                   Somuwie Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Best Gift - Walmart.com



          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Somuwie Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Best Gift
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
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             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Somuwie Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Best Gift
                   Features:
                   Product Specifications:
                   Color: Purple
                   Package includes:

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Features
             Fade Resistant

             Brand
             Somuwie

             Manufacturer
             Somuwie Clearance

             Assembled Product Dimensions (L x W x H)
             1.00 x 1.00 x 1.00 Inches



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet

                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Members sav
                        e more




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                                                 




              1                                                                                                           Options                                                                                                      Options

                                                                                                                                                                      +3 options

           $7.19 +$0.99 shipping                                                                                       $4.99 +$0.99 shipping                                                                                        $9.66 +$1.99 shipping
                                                                                                                                                                                                                                    Options from $9.66 – $11.88
           Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor And                 Home Decor Kits Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration
           Outdoor Decorative Accessories Garden Decoration Pendant                                                    Pendant Gift Pendant For Party Decoration The Butterfly Pendant Gift                                         SIfdSeng Colorful Butterflies Acrylic Decoration Penda
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days                                                                                 Gift Pendant for Party Decoration The Butterfly Penda
                                                                                                                                                                                                                                    Shipping, arrives in 3+ days




https://www.walmart.com/ip/Somuwie-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Best-Gift/6348104562                                                                                                                                                                  2/3
9/5/24, 1:08 PM
                        Case: 1:24-cv-11674 Document         #: 6-5 Filed: 11/19/24 Page 313 of 685 PageID #:366
                                               Somuwie Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Best Gift - Walmart.com


              Report:    Report seller    Report suspected stolen goods (to CA Attorney General)




https://www.walmart.com/ip/Somuwie-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Best-Gift/6348104562                          3/3
9/5/24, 1:09 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 314 of 685 PageID #:367
                                                             Review your order - Walmart.com




                        Free shipping, arrives by Wed, Sep 25
                                                                                                                                                     Place order for $5.50

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $4.99
                                                                                                                                Shipping                                                                      Free
          Delivery instructions (optional)                                                                               Add
                                                                                                                                Estimated taxes                                                               $0.51
          Add access codes or other necessary information.


                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details             Foundation’s Acres for America program with
                                                                                                                                         a $0.50 donation?
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
          Arrives by Wed, Sep 25                                                                                       1 item
                                                                                                                                         land for wildlife and increase public access to the great
                                                                                                                                         outdoors.
          Sold and shipped by Somuwie
          Free shipping

                            Somuwie Clearance Dream Pendant Car                                                                   Donate a whole dollar to National Fish and Wildlife 
                            Decorative Pendant Acrylic Flat Pendant Best Gift                                                     Foundation (NFWF)

                                                               $4.99                                                                 $1.00            $2.00            $5.00
                                                                                            Remove              1       

                                                                                                                                Estimated total                                                         $5.50


                                                                                                                                Have a promo code?                                                            
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $5.50

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/5/24, 1:09 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 315 of 685 PageID #:368
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
                  Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 316 of 685 PageID #:369


 dvypyn
 dvypyn Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Purple


 Free 30-day returns 




$0.49
 Price when purchased online 



                                                                 Buy now

                                                                Add to cart


 Size: Free Size

                                 Free Size
                                   $0.49

 Actual Color: Purple




 How you'll get this item:



                                              Shipping                                                                          Pickup                                   Delivery
                                             Arrives Oct 19                                                                   Not available                             Not available
                                                 $4.99



 1 N LA SALLE ST Change

 Arrives by Sat, Oct 19 | More options

 Shipping fee $4.99



     Sold and shipped by dvypyn
       View seller information

       Free 30-day returns Details




                                                                   Add to list                                                                      Add to registry


                                             Sponsored

                                             $34.99
                                             Chromatic Accordion 3D Engraved Crystal 3D Engraved Crystal Keepsake/Gift/Decor/Collectible/Souvenir

                                              3+ day shipping




                                                                                  Add




                                                                                                                                                                                        




                                                                                                                                                             




        +   3
       View all




Clearance
                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 317 of 685 PageID #:370

                                                                                                                                                                                                                                                   




    Options                                                                                                    Add                                                                                                         Add




About this item


  Product details
                                                                                                                                                                                                                                                                             
  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
  Features:
  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
  display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
  and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
  personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
  appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
  sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
  collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
  refinement. Product Description:
  Product Specifications:
  Material: Acrylic
  Color: Purple
  size: 8*8*0.37cm
  Package includes:
  1 pendant

         Universal Compatibility This home and electronic product offers universal compatibility, ensuring it can be seamlessly integrated into any home setup. Whether you're looking for a device to enhance your living room, kitchen, or bedroom, or an electronic
       accessory for your personal use, this product will fit right in.
         Innovative Technology Incorporating the latest technology, this product provides cutting-edge features and functionality. Whether it's improved connectivity, enhanced performance, or advanced user interfaces, it's designed to meet the demands of
       modern households and tech-savvy individuals.
         Ease of Use This product is designed with ease of use as a priority. Intuitive controls, clear instructions, and a user-friendly interface make it simple to set up, operate, and maintain. Whether you're a tech expert or a first-time user, you'll be able to enjoy
       this product right away.
         Reliable Quality Quality is at the core of this product. It's built to last, with durable materials and robust components that ensure long-lasting performance. Whether you're using it every day or just occasionally, you can trust that it will stand the test of
       time.
         Stylish and Versatile Design This product boasts a stylish and versatile design that will appeal to a wide range of tastes and home décors. Whether you prefer a modern minimalist look or a more traditional aesthetic, you'll find a design that complements
       your home and personal style. Plus, its versatile nature allows it to be used in various rooms and setups, making it a true multi-purpose product.

       We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



  Specifications
                                                                                                                                                                                                                                                                             
  Brand
  dvypyn

  Assembled Product Weight
  0.11 lb

  Manufacturer
  the boys,stanley cup,toilet paper,paper towels

  Manufacturer Part Number
  cat deterrent spray,paw patrol,4th of july outfits


  More details




  Warranty
                                                                                                                                                                                                                                                                             
  Warranty information
  Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
  'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




  Warnings
                                                                                                                                                                                                                                                                             
      WARNING: None



    Report incorrect product information




Customer ratings & reviews
 (0 reviews)




This item does not have any reviews yet



                                                                                     Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




                                                                                                               Clearance
             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 318 of 685 PageID #:371

                                                                                                                                                    




 Add                                                                                           Add                                           Add




   Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


Party & Occasions / Christmas Trees & Christmas Decor / Christmas Decor / Indoor Christmas Decor / Christmas Ornaments / Character Ornaments
            Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 319 of 685 PageID #:372



              Shipping, arrives by Fri, Oct 18
                                                                                                                                                     Place order for $5.99

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                                            Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $0.49

                                                                                                                                Seller shipping                                                               $4.99
Delivery instructions (optional)                                                                                         Edit

House
                                                                                                                                Estimated taxes                                                               $0.51




                                                                                                                                         Want to support the National Fish and Wildlife 
Items details                                                                                                   Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.01 donation?
Arrives by Fri, Oct 18                                                                                                1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
Sold and shipped by dvypyn
                                                                                                                                         outdoors.
$4.99 seller shipping fee

                 dvypyn Dream Pendant Car Decorative Pendant
                 Acrylic Flat Pendant Purple                                                                                      Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                 Size: Free Size, Actual Color: Purple

                                                    $0.49                                                                            $1.00            $2.00            $5.00

                                                                                         Remove                  1      
                                                                                                                                Estimated total                                                          $5.99


                                                                                                                                Have a promo code?


             Payment method


                 We'll look for smart ways to pay
                 We’ll suggest payment methods that work best with eligible items in your cart.



                Ending in 9192                                                                                       $5.99

   + Add new payment                                                                               Change payment




            Free 30-day trial




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much more*
*$35 order min. Restrictions apply.

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        Text updates for this order


      Send to (xxx) xxx-5923
      Send to a different phone number

If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
preference.
Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
rates may apply. By continuing, you agree to our Mobile Alert Terms.
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 320 of 685 PageID #:373
                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 321 of 685 PageID #:374




                                                                                             




                                                                                            




     +   3
    View all




  Xivone

  Deals Clearance Christmas Ornaments Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant New Decorative Hanging Ornaments Purples
 (No ratings yet)


Actual Color: Purples

                                   Purples
                                    $4.99



About this item

  Plastic :

  Our Christmas Ball Ornaments are made from plastic, ensuring that the Christmas tree decorations are shatterproof. These ball ornaments will last for years without the worry of breakage.

  Ornament Sets :

  Our Christmas tree ornaments come in convenient sets, making it easy to decorate your Christmas tree. With a variety of sizes and colors available Christmas Ornament Sets, you can create a stunning and vintage look for your holiday decorations.

  Festive Christmas Decoration :

  Add a elegant and vintage look to your Christmas tree with our decorative hanging ornaments. Designed with intricate detail and multi-coloured, these Christmas tree ornaments will bring the spirit of Christmas to your home.

  Versatile Use :

  These mini christmas ornaments ideal for decorating your Christmas tree, and Vintage Christmas Ornaments can also be used for other festive displays. Hang them on garlands, wreaths, or even use them as table centrepieces to create a festive theme for…

View more



At a glance


                                               Material                                                                     Occasion                                                                                Color
                                               Acrylic                                                                      Christmas                                                                               Purple



                                              Dimensions                                                                    Theme                                                                                    Count
                                        3.15 x 3.15 x 0.15 Inches                                                         Multi-theme                                                                                  1


View all specifications




 $4.99
    Price when purchased online 

    Free Holiday returns until Jan 31


                                                                                                                             Buy now


                                                                                                                           Add to cart


 How you'll get this item:



                                                 Shipping                                                                     Pickup                                                                               Delivery
                                               Arrives Nov 7                                                                Not available                                                                         Not available
                                                   $1.98


 1 N LA SALLE ST Change

 Arrives by Thu, Nov 7 | More options

 Shipping fee $1.98


         Sold and shipped by Xivone
         View seller information

         Extended holiday returns Details
         Free Holiday returns until Jan 31


                                                                       Add to list                                                                                                     Add to registry
                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 322 of 685 PageID #:375
 Clearance



                                                                                                                                                                                                                           




    Options                                                                                       Add                                                                                         Add
                                                     +2                                                                                                                                       Sponsored

$12.69                                                                                           $14.49                                                                                       $13.37
More options from $8.08
                                                                                                 Hohiya Acrylic Crystal Christmas Ornament Drop Ball Tree Decorations(Clear,Pack Of 30)       Unique Bargains Home Christmas Tree Artificial Glitter
Dvkptbk Christmas Decorations 30PCS Christmas Ball Baubles Party Christmas Tree Decorations       2                                                                                       2
Hanging Ornament Decor Green
                                                                                                 Shipping, arrives in 3+ days                                                                 Shipping, arrives in 3+ days
 11

Shipping, arrives in 3+ days




About this item


  Product details


  Specifications


  Warranty


    Report incorrect product information




Customer ratings & reviews
             0 ratings | 0 reviews




This item does not have any reviews yet



                                                                            Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.       Learn more.




                                                                                                                                                                                               Clearance



                                                                                                                                                                                                                           




 Add                                                                                             Add                                                                                         Add

$4.44 +$1.99 shipping                                                                            $3.99 +$0.98 shipping                                                                        Now $4.44 $4.99 +$2.00 shipping
Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments Gifts for Women      Hxlamzoo Dream Butterfly Pendant Car Decorative Pendant Acrylic Flat Pendant                 Hanging Ornaments Dream Pendant Car Decorative Pe
Shipping, arrives in 3+ days                                                                     Shipping, arrives in 3+ days                                                                 Shipping, arrives in 3+ days
             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 323 of 685 PageID #:376




   Report:    Report seller      Report suspected stolen goods (to CA Attorney General)


Home / Holiday Decor / Christmas Decor / Christmas Tree Decorations / Shop All Christmas Tree Decorations
            Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 324 of 685 PageID #:377



              Shipping, arrives by Tue, Nov 5
                                                                                                                                                  Place order for $7.68

                                                                                                                                 By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                                         Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                             Subtotal (1 item)                                                         $4.99

                                                                                                                             Seller shipping                                                               $1.98
Delivery instructions (optional)                                                                                      Edit

House
                                                                                                                             Estimated taxes                                                               $0.71




                                                                                                                                      Give $0.32 to American Red Cross to support 
Items details                                                                                               Hide details
                                                                                                                                      those affected by hurricanes and tropical
                                                                                                                                      storms in 2024.
Arrives by Tue, Nov 5                                                                                              1 item
                                                                                                                                      Spark Good Round Up is an easy way to support
                                                                                                                                      communities impacted by natural disasters.
Sold and shipped by Xivone
$1.98 seller shipping fee

                 Deals Clearance Christmas Ornaments Clearance                                                                 Donate a whole dollar to American Red Cross 
                 Dream Pendant Car Decorative Pendant Acrylic…
                 Actual Color: Purples                                                                                            $1.00            $2.00            $5.00

                                                    $4.99
                                                                                                                             Estimated total                                                          $7.68
                                                                                           Remove             1      


                                                                                                                             Have a promo code?




             Payment method


                Ending in 9192                                                                                    $7.68

   + Add new payment                                                                                Change payment




                    $15 cash back when you spend $15+                                                    Sign up



              Add any credit or debit card, and claim cash back with a One Cash account.




            Free 30-day trial




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much more*
*$35 order min. Restrictions apply.

Try Walmart+ free for 30 days




        Text updates for this order
           Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 325 of 685 PageID #:378

      Send to (xxx) xxx-5923
      Send to a different phone number

If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
preference.
Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
rates may apply. By continuing, you agree to our Mobile Alert Terms.
2024/9/30 17:39
                              Case: 1:24-cv-11674    Document #: 6-5 Filed: 11/19/24 Page 326 of 685 PageID #:379
                                               Vecoauto Halloween Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments - Walmart.com




            Vecoauto
            Vecoauto Halloween Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments
          (No ratings yet)

             Free 30-day returns



         $4.49
            Price when purchased online 



                                                                        Buy now

                                                                       Add to cart


            Actual Color: Purple

                                             Purple
                                             $4.49




            How do you want your item?



                                                        Shipping                                                                          Pickup                                                                Delivery
                                                      Arrives Oct 22                                                                Not available                                                              Not available
                                                           $2.49



            Delivery to 1 N LA SALLE ST



                  Sold and shipped by Vecoauto
                   View seller information

                   Free 30-day returns Details




                                                                        Add to list                                                                                                     Add to registry


                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                        




                                                                                                                                                                                                      




                      +   3
                   View all




           Reduced price



                                                                                                                                                                                                                                         




             Options                                                                                        Add                                                                                               Options

          Sponsored

          Now $11.59 $13.99                                                                                $9.99 +$3.99 shipping                                                                            $0.68 +$4.69 shipping
          Options from $11.59 – $13.99                                                                                                                                                                      Options from $0.68 – $0.78
                                                                                                           136Pcs Ocean Themed Hanging Decoration DIY Sea Star Shell Slice Crafts Hanging Ornaments
          Ayieyill 24Pcs Snowflake Ornament Christmas Tree Ornaments        Christmas Snowflake Drop       Shipping, arrives in 3+ days                                                                     Back to School Savings! Feltree Christmas Pendant Acr
          Ornament Acrylic Icicle Christmas Hanging Acrylic Crystal Snowflake Decoration Hanging Acrylic                                                                                                    Ornament
          Snowflakes                                                                                                                                                                                        Shipping, arrives in 3+ days

           63

          Save with

          Shipping, arrives in 2 days




         About this item

https://www.walmart.com/ip/Vecoauto-Halloween-Christmas-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Hanging-Ornaments/10049212283?classType=VARIANT&from=/search                                                                            1/3
2024/9/30 17:39
                           Case: 1:24-cv-11674    Document #: 6-5 Filed: 11/19/24 Page 327 of 685 PageID #:380
                                            Vecoauto Halloween Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments - Walmart.com



            Product details
                                                                                                                                                                                                                                                                                   
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
            Features:
            1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
            or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
            floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
            your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
            feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
            Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
            pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
            Product Specifications:
            Material: Acrylic
            Color: Purple
            size: 8*8*0.37cm
            Package includes:
            1 pendant

                  Vecoauto Halloween Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments
                  Material:Acrylic
                  Occasion:This product is suitable for many occasions, such as holidays, travel, gifts, daily life, home and outdoor activities
                  After-sales Service:We are committed to providing customers with excellent product experience and worry free after-sales service. By providing professional, efficient, and thoughtful services, we ensure that every customer can enjoy satisfaction beyond
                  expectations.Please contact me promptly if you have any questions.

                  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



            Specifications
                                                                                                                                                                                                                                                                                   
            Features
            Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

            Brand
            Vecoauto

            Assembled Product Weight
            0.12 lb

            Manufacturer
            Vecoauto


            More details




            Warranty
                                                                                                                                                                                                                                                                                   
            Warranty information
            After we receive your order, we will arrange shipment for you as soon as possible depending on the specific situation. Your order status will be updated to "Shipped" in a few days.If you have any problem when you purchase the product or after receiving the
            product please feel free to contact us, we will reply and provide the solution within 24 hours. If you think our products have any advantages or disadvantages, you can choose to make comments on our products, we will accept every one of your suggestions and
            constantly strive to do better, thank you!…


            More details




            Warnings
                                                                                                                                                                                                                                                                                   
                WARNING: None



              Report incorrect product information




         Customer ratings & reviews
                       0 ratings | 0 reviews




         This item does not have any reviews yet




                                                                                             Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




           Clearance                                                                                                                                                                                                                Clearance



                                                                                                                                                                                                                                                                




           Add                                                                                                        Add                                                                                                         Add

          Now $3.89 $4.37 +$2.99 shipping                                                                             Now $4.49 $4.99 +$2.00 shipping                                                                              Now $3.99 $4.99 +$3.00 shipping
          Seasonal Sales, Car Decorative Pendant Dream Acrylic Flat Pendant for Home Decorations Akmoler              HKEJIAOI Home Essentials Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                           LYUCRAZ Hanging Ornaments Dream Pendant Car De
          Purple                                                                                                      Shipping, arrives in 3+ days                                                                                 Shipping, arrives in 3+ days
          Shipping, arrives in 3+ days




              Report:       Report seller       Report suspected stolen goods (to CA Attorney General)


https://www.walmart.com/ip/Vecoauto-Halloween-Christmas-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Hanging-Ornaments/10049212283?classType=VARIANT&from=/search                                                                                                  2/3
2024/9/30 17:39
                      Case: 1:24-cv-11674    Document #: 6-5 Filed: 11/19/24 Page 328 of 685 PageID #:381
                                       Vecoauto Halloween Christmas Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant Hanging Ornaments - Walmart.com



         Party & Occasions / Christmas Trees & Christmas Decor / Christmas Decor / Indoor Christmas Decor / Christmas Ornaments / Character Ornaments




https://www.walmart.com/ip/Vecoauto-Halloween-Christmas-Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant-Hanging-Ornaments/10049212283?classType=VARIANT&from=/search   3/3
2024/9/30 17:40
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 329 of 685 PageID #:382
                                                             Review your order - Walmart.com




                        Shipping, arrives by Mon, Oct 21


         steven howard                                                                                                            Edit                        Place order for $7.70
         1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                          By placing this order, you agree to our Privacy Policy and Terms of
                                                                                                                                                                          Use

         Delivery instructions (optional)                                                                                         Edit
                                                                                                                                         Subtotal (1 item)                                               $4.49
         House
                                                                                                                                         Seller shipping                                                  $2.49


         Items details                                                                                                   Hide details    Estimated taxes                                                      $0.72


         Arrives by Mon, Oct 21                                                                                                 1 item
                                                                                                                                                  Want to support the National Fish and Wildlife 
         Sold and shipped by Vecoauto                                                                                                             Foundation’s Acres for America program with
         $2.49 seller shipping fee                                                                                                                a $0.30 donation?
                                                                                                                                                  Spark Good Round Up is an easy way to help conserve
                           Vecoauto Halloween Christmas Clearance Dream                                                                           land for wildlife and increase public access to the great
                           Pendant Car Decorative Pendant Acrylic Flat…                                                                           outdoors.
                           Actual Color: Purple

                                                              $4.49
                                                                                                                                           Donate a whole dollar to National Fish and Wildlife 
                                                                                                   Remove                  1              Foundation (NFWF)


                                                                                                                                              $1.00           $2.00         $5.00



                                                                                                                                         Estimated total                                                 $7.70

                       Payment method
                                                                                                                                         Have a promo code?



                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                         Ending in 9192                                                                                        $7.70

            + Add new payment                                                                                Change payment




                      Free 30-day trial




         Try Walmart+ to save with free delivery from stores + so
         much more*
         *$35 order min. Restrictions apply.

         Try Walmart+ free for 30 days




                   Text updates for this order


                  Send to (xxx) xxx-5923
                  Send to a different phone number

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         preference.
         Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
         rates may apply. By continuing, you agree to our Mobile Alert Terms.



https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                                                                                                                             1/2
2024/9/30 17:40
                     Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 330 of 685 PageID #:383
                                                           Review your order - Walmart.com




https://www.walmart.com/checkout/review-order?cartId=36019a5b-fba6-4506-ba0f-bdb4cb895dc6                   2/2
9/19/24, 3:29 PM
                               Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 331 of 685 PageID #:384
                                                         Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Built for tough drives                                                                                                                                                                                               Sponsored 




             UTAHA
             Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $2.99
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Actual Color: COLOR

                                              COLOR
                                               $2.99




             How do you want your item?



                                                         Shipping                                                                       Pickup                                                                    Delivery
                                                        Arrives Oct 8                                                                 Not available                                                             Not available
                                                            $4.99



             Delivery to 1 N La Salle St



                   Sold and shipped by qingjinzhou
                    View seller information

                    Free 30-day returns Details




                                                                             Add to list                                                                                                  Add to registry


                                                        Sponsored

                                                        $23.07
                                                        2PCS DISCOUNT DIY Dot Diamond Car Armrest Box Mat Diamond Art Painting Mandala Pattern Design Car Center Armrest Box Decorative Mat-CD003+CD004

                                                        3+ day shipping




                                                                                                            Add



                                                                                                                                                                                                                                                           




                                                                                                                                                                                                     




                     +    2
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            Best seller                                                                                            Best seller



                                                                                                                                                                                                                                    




            Add                                                                                                   Add                                                                                        Add

           $4.47 $4.47/in                                                                                         Now $19.98 $24.99                                                                           $15.97
           Bling Ring Auto Interior Jewelry Applies to Most Vehicle Interiors - 3 Pack                            Angel View Wide Angle Rearview Mirror, Fits Most Cars                                       Auto Drive Black 12-Volt 6" Car Clip-on or Dash Mount
            87                                                                                                214                                                                                    309

           Save with                                                                                              Save with                                                                                   Save with




https://www.walmart.com/ip/Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9405313632                                                                                                                                                             1/3
9/19/24, 3:29 PM
                             Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 332 of 685 PageID #:385
                                                       Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


           Shipping, arrives in 3+ days                                                                                  Shipping, arrives in 2 days                                                                                Shipping, arrives in 2 days




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
             display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
             and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate
             the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated,
             artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been
             carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and refinement. Product
             Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Sale Clearance
                   Home Supplies
                   Clearance

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             COLOR

             Brand
             UTAHA

             Manufacturer Part Number
             SALESPROMOTION

             Assembled Product Dimensions (L x W x H)
             3.15 x 3.15 x 0.15 Inches



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information


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                                                                                                                                                                                                                         




            Add                                                                                       Add                                                                                        Add

           $68.99                                                                                     $15.19                                                                                     $15.19
           Heat Shield Sound Deadener Car Insulation Aluminium Foil Foam Backed                       DISCOUNT DIY Dot Diamond Car Armrest Box Mat Diamond Art Painting Mandala                  DISCOUNT DIY Dot Diamond Car Armrest Box Mat Diamond Art Painting Mandala
           w/Adhesive 3/16" Thickess 39" Width                                                        Pattern Design Car Center Armrest Box Decorative Mat-CD002                                 Pattern Design Car Center Armrest Box Decorative Mat-CD004

           3+ day shipping                                                                             3+ day shipping                                                                            3+ day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Build the galaxy




                                                                                                                                                                                                                                                                               Sponsored 




https://www.walmart.com/ip/Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/9405313632                                                                                                                                                                                    2/3
9/19/24, 3:29 PM
                            Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 333 of 685 PageID #:386
                                                      Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




                                                                                                                                                                                                                                    




              Options                                                                                       Options                                                                                       Options

                                                      +3 options

           $7.98                                                                                         $10.81 +$2.99 shipping                                                                        $6.15 +$0.99 shipping
           Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor And   Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor And   Funny Acrylic Animal Decoration Pendant Creative 2D
           Outdoor Decorative Accessories Garden Decoration Pendant                                      Outdoor Decorative Accessories Garden Decoration Pendant                                      Outdoor Decorative Accessories Garden Decoration P
           Shipping, arrives in 3+ days                                                                  Shipping, arrives in 3+ days                                                                  Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Auto & Tires / Automotive Replacement Parts / Replacement Auto Parts




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9/19/24, 3:29 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 334 of 685 PageID #:387
                                                              Review your order - Walmart.com




                        Shipping, arrives by Tue, Oct 8
                                                                                                                                                     Place order for $8.80

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $2.99

                                                                                                                                Seller shipping                                                               $4.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.82




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.20 donation?
          Arrives by Tue, Oct 8                                                                                        1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by qingjinzhou
                                                                                                                                         outdoors.
          $4.99 seller shipping fee

                            Clearance Dream Pendant Car Decorative Pendant
                            Acrylic Flat Pendant                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Actual Color: COLOR

                                                               $2.99                                                                 $1.00            $2.00            $5.00

                                                                                            Remove               1       
                                                                                                                                Estimated total                                                         $8.80


                                                                                                                                Have a promo code?


                        Payment method


                            We'll look for smart ways to pay
                            We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $8.80

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/19/24, 3:29 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 335 of 685 PageID #:388
                                                              Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

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          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/24/24, 1:32 PM
                               Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 336 of 685 PageID #:389
                                                       Naittoop Clearance 2024! Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Visit the Naittoop Store
             Naittoop Clearance 2024! Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

              Free 30-day returns



          $6.98
             Price when purchased online 



                                                                        Buy now

                                                                       Add to cart



             How do you want your item?



                                                    Shipping                                                                                    Pickup                                                                      Delivery
                                                  Arrives Oct 15                                                                          Not available                                                                   Not available
                                                       $1.99



             Delivery to 3200 N Lake Shore Dr



                   Sold and shipped by Naittoop Home Clearance Outlet
                    View seller information

                    Free 30-day returns Details




                                                                           Add to list                                                                                                              Add to registry


                                                   Sponsored

                                                   $10.99
                                                   Dream Catcher Handmade White Feather Wall Hanging Home Car Decoration Room Decoration Gifts for Girls 31.5 in DEWEL

                                                    16

                                                   2-day shipping



                                                                                                Add


                                                                                                                                                                                                                                                                     




                                                                                                                                                                                                              




                     +   3
                    View all




                                                                                                                                                                                                                         Best seller



                                                                                                                                                                                                                                                     




                Options                                                                                           Add                                                                                                     Options



           $74.85                                                                                                $45.99                                                                                                 $25.94
                                                                                                                                                                                                                        More options from $24.98
           Efavormart 13" Round Iridescent Blue Glitter Acrylic Plastic Charger Plates for Table Decor -Set of   Acrylic wedding cards Box ,Clear Decorative Centerpiece ,Wishing case ,post Gift
           24                                                                                                    Shipping, arrives in 3+ days                                                                           BalsaCircle 6 Gold 13" Acrylic Round Charger Plates De
           Shipping, arrives in 3+ days                                                                                                                                                                                  18
                                                                                                                                                                                                                        Shipping, arrives in 3+ days




https://www.walmart.com/ip/Naittoop-Clearance-2024-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/11031268477                                                                                                                                                         1/3
9/24/24, 1:32 PM
                            Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 337 of 685 PageID #:390
                                                    Naittoop Clearance 2024! Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                               

             ❤Anyway, give yourself a gift in 2024      Find Good Deals❤

                   More good things, please pay attention to ℕ            !


                        If there are any problems with our products or if you have any questions, you can contact us at any time, we will serve you wholeheartedly.
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
             or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
             floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a ized . 3. Choices: Looking for a special your loved
             one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and feel the
             warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life. Turn your
             living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants
             are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
                   or any other, making them a visual for your home decor.
                   2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract
                   art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a ized .
                   3. Choices: Looking for a special your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and
                   craftsmanship of these pendants and feel the warmth of your and attention.
                   4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life. Turn your living space into a place of
                   and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and .
                   5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your
                   home space filled with and refinement.

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             Directions
                                                                                                                                                                                                                                                                                               
             Fabric Care Instructions
             returned items for sale bulk pallets, returned items for sale bulk pallets, caja sorpresa de electronicos toys, sales today clearance only, daily deals of the day today only daily deals, lightning deals of today, daily deals of the day today only lightning deals of today
             clearance, lightning deals of today clearance, sale items clearance today cheap stuff under 1 dollar, return pallets for sale liquidation, your orders one dollar, items under 1 dollar overstock items clearance



             Warranty
                                                                                                                                                                                                                                                                                               
             Warranty information
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             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




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          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



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              Timeless style for him




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                                                                                                                                                                                                                                                                        




            Add                                                                                                              Options                                                                                                         Options



           $6.99                                                                                                           $7.26                                                                                                           $3.35 +$4.99 shipping
           Saleteraj Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                             UYCDD Colorful Butterflies Acrylic Decoration Pendant Funny 2D Decoration Pendant Pendant For                   Weerihhol Ceramic Bunny Decorations Colorful Butter
           Shipping, arrives in 3+ days                                                                                    Party Decoration The Pendant                                                                                    Decoration Pendant Pendant For Party Decoration The
                                                                                                                           Shipping, arrives in 3+ days                                                                                    Shipping, arrives in 3+ days




https://www.walmart.com/ip/Naittoop-Clearance-2024-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/11031268477                                                                                                                                                                             2/3
9/24/24, 1:32 PM
                       Case: 1:24-cv-11674 Document          #: 6-5 Filed: 11/19/24 Page 338 of 685 PageID #:391
                                               Naittoop Clearance 2024! Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Report:    Report seller    Report suspected stolen goods (to CA Attorney General)




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9/24/24, 1:33 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 339 of 685 PageID #:392
                                                             Review your order - Walmart.com




                        Shipping, arrives by Tue, Oct 15
                                                                                                                                                    Place order for $9.89

                                                                                                                                   By placing this order, you agree to our Privacy Policy and Terms of Use
          Michael Boldt                                                                                                 Edit
          3200 N Lake Shore Dr, Apt 701, Chicago, IL 60657
                                                                                                                               Subtotal (1 item)                                                         $6.98

                                                                                                                               Seller shipping                                                               $1.99
          Delivery instructions (optional)                                                                              Edit

          Apartment
                                                                                                                               Estimated taxes                                                               $0.92




                                                                                                                                        Want to support the National Fish and Wildlife 
          Items details                                                                                        Hide details
                                                                                                                                        Foundation’s Acres for America program with
                                                                                                                                        a $0.11 donation?
          Arrives by Tue, Oct 15                                                                                      1 item
                                                                                                                                        Spark Good Round Up is an easy way to help conserve
                                                                                                                                        land for wildlife and increase public access to the great
          Sold and shipped by Naittoop Home Clearance Outlet
                                                                                                                                        outdoors.
          $1.99 seller shipping fee

                           Naittoop Clearance 2024! Dream Pendant Car
                           Decorative Pendant Acrylic Flat Pendant                                                               Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                 Foundation (NFWF)
                                                               $6.98
                                                                                                                                    $1.00            $2.00            $5.00
                                                                                            Remove              1       


                                                                                                                               Estimated total                                                          $9.89


                                                                                                                               Have a promo code?
                       Payment method


                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 1950                                                                            $9.89

             + Add new payment                                                                       Change payment




                              $15 cash back when you spend $15+                                             Sign up



                        Add any credit or debit card & stack cash back




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          *$35 order min. Restrictions apply.

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https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                            1/2
9/24/24, 1:33 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 340 of 685 PageID #:393
                                                              Review your order - Walmart.com




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                   Send to a different phone number

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9/4/24, 3:07 PM
                              Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 341 of 685 PageID #:394
                                                        Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                                    Sponsored 




             Syligr
             Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          $1.02
             Price when purchased online 



                                                                           Buy now

                                                                         Add to cart


             Actual Color: Purple

                                             Purple
                                             $1.02




             How do you want your item?



                                                        Shipping                                                                            Pickup                                                                   Delivery
                                                       Arrives Sep 19                                                                     Not available                                                            Not available
                                                           $3.99



             Delivery to 1 N La Salle St



                  Sold and shipped by jesbnX Co.Ltd

                    5 seller reviews
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                   Add to registry


                                                       Sponsored

                                                       $410.92
                                                       Contemporary 4-Light Led Pendant with Frosted Acrylic 3.25 X 4.25 inches Pendants Bailey Street Home 79-Bel-2041389

                                                       3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                




                                                                                                                                                                                                        




                    +   3
                   View all




                                                                                                                                                                                                             




             Add                                                                                      Add                                                                       Options



            $65.00                                                                                    $89.00                                                                    $8.10 +$1.00 shipping
            Acrylic Circular Ring LED Dimmable Chandelier Remote Ceiling Light Hanging                DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom   Ceiling Drapes for Weddings with Lights Electrician Tool Pendant Double Sided
            Lamp                                                                                      Living Room US                                                            Acrylic Decorative Pendant


https://www.walmart.com/ip/Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/7337902245                                                                                                                                                             1/3
9/4/24, 3:07 PM
                            Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 342 of 685 PageID #:395
                                                      Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in
             our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

                   Thank you for coming to BanNaMa Co.Ltd Store. We welcome you very much!
                   Hello, customers, our products are made of the latest design and high quality materials, making your life full of fun!
                   BanNaMa Co.Ltd Store provides unique, high-quality and practical products to meet your various needs!
                   Hello, our products are in clearance sale, come and buy them!
                   If you have any doubts or questions, please contact us, and we will solve your problems in time and provide you with professional and meticulous services.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             Syligr



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
                  WARNING: None



                 Report incorrect product information




                                                                                                                                                                                                                         




            Add                                                                                        Add                                                                                       Add

           $15.99                                                                                      $15.99                                                                                    $15.99
           Hatafafurni Ceramic Jewelry Dish Mom Women for Birthday and Wedding Gifts                   Hatafafurni Ceramic Ring Holder for Women - Jewelry Dish Gift for Daughter-in-            Hatafafurni Ceramic Ring Holder Dragonfly Jewelry Dish Gift for Women, Wedding
                                                                                                       Law, Wedding, Birthday                                                                    and Birthday
           2-day shipping
                                                                                                       2-day shipping                                                                             2-day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                               Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                Learn more.




              Top-drawer essentials




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                      Clearance




https://www.walmart.com/ip/Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/7337902245                                                                                                                                                                                    2/3
9/4/24, 3:07 PM
                         Case: 1:24-cv-11674 Document    #: 6-5 Filed: 11/19/24 Page 343 of 685 PageID #:396
                                                   Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com



                                                                                                                                                                                                                                    




             Options                                                                                        Options                                                                                     Add

           $10.82 +$3.99 shipping                                                                        $7.12                                                                                         Now $3.99 $8.99 +$0.98 shipping
           12 Days of Christmas Song Cards Colorful Butterflies Acrylic Decoration Pendant Funny 2D      Lindung Pig Car Ornament Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly   Hxlamzoo Dream Butterfly Pendant Car Decorative Pe
           Butterfly Decoration Pendant Gift Pendant For Party Decoration The Dog Hanging Ornament for   Decoration Pendant Pendant For Party Decoration The Butterfly Pendant                         Shipping, arrives in 3+ days
           Car                                                                                           Shipping, arrives in 3+ days




              Report:      Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Clearance-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/7337902245                                                                                                                                                   3/3
9/4/24, 3:07 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 344 of 685 PageID #:397
                                                             Review your order - Walmart.com




                        Shipping, arrives by Thu, Sep 19
                                                                                                                                                     Place order for $5.52

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                             $1.02

                                                                                                                                Seller shipping                                                               $3.99
          Delivery instructions (optional)                                                                               Add

          Add access codes or other necessary information.
                                                                                                                                Estimated taxes                                                               $0.51




                                                                                                                                         Want to support the National Fish and Wildlife 
          Items details                                                                                         Hide details
                                                                                                                                         Foundation’s Acres for America program with
                                                                                                                                         a $0.48 donation?
          Arrives by Thu, Sep 19                                                                                       1 item
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                                                                                                                                         land for wildlife and increase public access to the great
          Sold and shipped by jesbnX Co.Ltd
                                                                                                                                         outdoors.
          $3.99 seller shipping fee

                            Clearance Dream Pendant Car Decorative Pendant
                            Acrylic Flat Pendant                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                  Foundation (NFWF)
                            Actual Color: Purple

                                                                $1.02                                                                $1.00            $2.00            $5.00

                                                                                            Remove              1       
                                                                                                                                Estimated total                                                          $5.52


                                                                                                                                Have a promo code?                                                             
                       Payment method


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $5.52

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




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          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/4/24, 3:07 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 345 of 685 PageID #:398
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
                   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 346 of 685 PageID #:399
  HCMIT
  Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant


   Free 30-day returns 




$0.99
  Price when purchased online 



                                                                 Buy now

                                                                Add to cart


  Actual Color: Purple

                                    Purple
                                    $0.99




  How you'll get this item:



                                              Shipping                                                                                      Pickup                                                                      Delivery
                                             Arrives Oct 18                                                                           Not available                                                                   Not available
                                                 $4.99



  1 N LA SALLE ST Change

  Arrives by Fri, Oct 18 | More options

  Shipping fee $4.99



       Sold and shipped by Shenzhenshiyuehailemaoyiyouxiangongsi
        View seller information

        Free 30-day returns Details




                                                                   Add to list                                                                                                                  Add to registry


                                             Sponsored

                                             $39.99
                                             ALOV Jewelry Sterling Silver “follow your dream” Cubic Zirconia Pendant Necklace

                                              2-day shipping



                                                                        Add



                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                




                                                                                                                                                                                                          




         +   2
        View all




                                                                                                                                                                                                                     In 50+ people's carts



                                                                                                                                                                                                                                           




     Options                                                                                                  Add                                                                                                   Add

$74.85                                                                                                       $45.99                                                                                                 $1.24
Efavormart 13" Round Iridescent Blue Glitter Acrylic Plastic Charger Plates for Table Decor -Set of          Acrylic wedding cards Box ,Clear Decorative Centerpiece ,Wishing case ,post Gift                       Mainstays 20-Ounce Acrylic Tall Embossed Swirl Tumbl
24                                                                                                           Shipping, arrives in 3+ days                                                                            57
Shipping, arrives in 3+ days                                                                                                                                                                                        Save with

                                                                                                                                                                                                                    Pickup tomorrow
                                                                                                                                                                                                                    Delivery tomorrow
                  Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 347 of 685 PageID #:400

About this item


  Product details
                                                                                                                                                                                                                                                                             
  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
  Features:
  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
  or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
  floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
  your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
  feel the warmth of your and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish, sophisticated, designs will bring more and beauty to your everyday life.
  Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
  pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
  Product Specifications:
  Material: Acrylic
  Color: Purple
  size: 8*8*0.37cm
  Package includes:
  1 pendant

       Clearance
       Clearance
       Clearance

       We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



  Specifications
                                                                                                                                                                                                                                                                             
  Features
  Clearance

  Assembled Product Dimensions (L x W x H)
  3.15 x 3.15 x 0.15 Inches



  Warranty
                                                                                                                                                                                                                                                                             
  Warranty information
  Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
  'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




    Report incorrect product information


                                                                                                                                                                                        Reduced price



                                                                                                                                                                                                              




 Add                                                                                       Add                                                                                        Add

$39.99                                                                                     $14.47                                                                                     Now $7.39 $9.95
ALOV Jewelry Sterling Silver “follow your dream” Cubic Zirconia Pendant Necklace           Moon Dream Catchers with Crystal Tree of Life Dream Catcher Pendant Garden Sun             Home Decor, Kitchen, & Other, Halloween Luminous Pendant Halloween Family
                                                                                           Catcher Hanging Decoration Gift for Girls,Boys, Kids                                       Party Decorative Pendant Halloween Decorati
 2-day shipping
                                                                                            3+ day shipping                                                                            3+ day shipping




Customer ratings & reviews
 (0 reviews)




This item does not have any reviews yet



                                                                                   Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




 Clearance



                                                                                                                                                                                                                                                      




 Add                                                                                                            Options                                                                                                   Add

Now $3.51 $3.99 +$1.99 shipping                                                                               $0.99 +$4.99 shipping                                                                                      $6.99
Moqsnm Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                              Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                        Saleteraj Dream Pendant Car Decorative Pendant Acry
Shipping, arrives in 3+ days                                                                                  Shipping, arrives in 3+ days                                                                               Shipping, arrives in 3+ days
Report:
          Case:
               1:24-cv-11674
           Report seller
                             Document #: 6-5 Filed: 11/19/24 Page 348 of 685 PageID #:401
                           Report suspected stolen goods (to CA Attorney General)
                      Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 349 of 685 PageID #:402

              Shipping, arrives by Thu, Oct 17
                                                                                                                                                                      Place order for $6.59

                                                                                                                                                     By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                                                             Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                                 Subtotal (1 item)                                                         $0.99

                                                                                                                                                 Seller shipping                                                               $4.99
Delivery instructions (optional)                                                                                                          Edit

House                                                                                                                                            Estimated taxes                                                               $0.61




                                                                                                                                                          Want to support the National Fish and Wildlife 
Items details                                                                                                                    Hide details
                                                                                                                                                          Foundation’s Acres for America program with
                                                                                                                                                          a $0.41 donation?
Arrives by Thu, Oct 17                                                                                                                 1 item             Spark Good Round Up is an easy way to help conserve
                                                                                                                                                          land for wildlife and increase public access to the great
Sold and shipped by Shenzhenshiyuehailemaoyiyouxiangongsi
                                                                                                                                                          outdoors.
$4.99 seller shipping fee

                 Clearance Dream Pendant Car Decorative Pendant Acrylic
                 Flat Pendant                                                                                                                      Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                                   Foundation (NFWF)
                 Actual Color: Purple

                                                           $0.99                                                                                      $1.00            $2.00            $5.00

                                                                                                           Remove                 1      
                                                                                                                                                 Estimated total                                                          $6.59


                                                                                                                                                 Have a promo code?


             Payment method


                 We'll look for smart ways to pay
                 We’ll suggest payment methods that work best with eligible items in your cart.



                Ending in 9192                                                                                                        $6.59

   + Add new payment                                                                                                 Change payment




            Free 30-day trial




Try Walmart+ to save with free delivery from stores + so much more*
*$35 order min. Restrictions apply.

Try Walmart+ free for 30 days




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      Send to a different phone number

If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the preference.
Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data rates may apply. By
continuing, you agree to our Mobile Alert Terms.
                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 350 of 685 PageID #:403
  WOHYH
  Clearance Dream Pendant Car Decorative Pendant Acrylic Flat Pendant


   Free 30-day returns 




$0.99
  Price when purchased online 



                                                               Buy now

                                                              Add to cart


  Actual Color: Purple

                                    Purple
                                    $0.99




  How you'll get this item:



                                              Shipping                                                                  Pickup                                                              Delivery
                                             Arrives Oct 18                                                       Not available                                                           Not available
                                                 $4.99



  1 N LA SALLE ST Change

  Arrives by Fri, Oct 18 | More options

  Shipping fee $4.99



       Sold and shipped by toagogke
        View seller information

        Free 30-day returns Details




                                                                 Add to list                                                                                        Add to registry




                                                                                                                                                                                                                                  




                                                                                                                                                                              




                                                                                                                                                                                                                     




 Add                                                                                       Options                                                                                        Options

                                                                                                                                             +6
$4.46 +$2.49 shipping                                                                    $7.23 +$2.00 shipping                                                                          Now $2.45 $3.19 +$3.99 shipping
                                                                                         Options from $7.23 – $13.58
UUWENDA Diy Name Car Pendant Colorful Acrylic Pendant Cute Dog Tag Pet Acrylic Pendant                                                                                                  YODETEY Decorations for Home Sea Turtle Color Acry
Commemorative Pet Hanging Window Pendant Sun Acrylic Catcher Pet Pendant Gift            USYFAKGH Christmas Cute Pendant Acrylic Pendant Gift Pendant with Lanyard Pendant              Shipping, arrives in 3+ days
Shipping, arrives in 3+ days                                                             Shipping, arrives in 3+ days




About this item


  Product details
                                                                                                                                                                                                                                   
  Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
  Features:      Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 351 of 685 PageID #:404
  1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
  or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
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  your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
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  Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
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  Product Specifications:
  Material: Acrylic
  Color: Purple
  size: 8*8*0.37cm
  Package includes:
  1 pendant

       Clearance
       Clearance
       Clearance

       We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



  Specifications
                                                                                                                                                                                                                                                                             
  Features
  Clearance

  Brand
  WOHYH

  Assembled Product Weight
  0.11 lb

  Manufacturer
  Clearance

  More details




  Warranty
                                                                                                                                                                                                                                                                             
  Warranty information
  Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
  'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




    Report incorrect product information




Customer ratings & reviews
 (0 reviews)




This item does not have any reviews yet

                                                                                   Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




                                                                                                                                                                                                                                                      




 Add                                                                                                         Add                                                                                                         Add

$6.99                                                                                                       $5.59 +$0.99 shipping                                                                                        $1.26 +$4.99 shipping
Saleteraj Dream Pendant Car Decorative Pendant Acrylic Flat Pendant                                         Byikun Dream Pendant Car Decorative Pendant Acrylic Flat Pendant, Stylish Design Adds Elegance               Dream Pendant Car Decorative Pendant Acrylic Flat Pe
Shipping, arrives in 3+ days                                                                                to Any Space, Versatile Accessories for Home or Office Decor, Thoughtful Gift Choice                         Shipping, arrives in 3+ days
                                                                                                            Shipping, arrives in 3+ days




    Report:       Report seller      Report suspected stolen goods (to CA Attorney General)
                      Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 352 of 685 PageID #:405

              Shipping, arrives by Thu, Oct 17
                                                                                                                                                                      Place order for $6.59

                                                                                                                                                     By placing this order, you agree to our Privacy Policy and Terms of Use
steven howard                                                                                                                             Edit
1 N LA SALLE ST, Chicago, IL 60602
                                                                                                                                                 Subtotal (1 item)                                                         $0.99

                                                                                                                                                 Seller shipping                                                               $4.99
Delivery instructions (optional)                                                                                                          Edit

House                                                                                                                                            Estimated taxes                                                               $0.61




                                                                                                                                                          Want to support the National Fish and Wildlife 
Items details                                                                                                                    Hide details
                                                                                                                                                          Foundation’s Acres for America program with
                                                                                                                                                          a $0.41 donation?
Arrives by Thu, Oct 17                                                                                                                 1 item             Spark Good Round Up is an easy way to help conserve
                                                                                                                                                          land for wildlife and increase public access to the great
Sold and shipped by toagogke
                                                                                                                                                          outdoors.
$4.99 seller shipping fee

                 Clearance Dream Pendant Car Decorative Pendant Acrylic
                 Flat Pendant                                                                                                                      Donate a whole dollar to National Fish and Wildlife 
                                                                                                                                                   Foundation (NFWF)
                 Actual Color: Purple

                                                           $0.99                                                                                      $1.00            $2.00            $5.00

                                                                                                           Remove                 1      
                                                                                                                                                 Estimated total                                                          $6.59


                                                                                                                                                 Have a promo code?


             Payment method


                 We'll look for smart ways to pay
                 We’ll suggest payment methods that work best with eligible items in your cart.



                Ending in 9192                                                                                                        $6.59

   + Add new payment                                                                                                 Change payment




            Free 30-day trial




Try Walmart+ to save with free delivery from stores + so much more*
*$35 order min. Restrictions apply.

Try Walmart+ free for 30 days




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      Send to a different phone number

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continuing, you agree to our Mobile Alert Terms.
9/4/24, 2:12 PM
                              Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 353 of 685 PageID #:406
                                                        Moqsnm Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                              Redefine your wardrobe                                                                                                                                                                                    Sponsored 




           Clearance

             Moqsnm
             Moqsnm Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          Now $3.51 $3.99 
           You save $0.48
             Price when purchased online 



                                                                          Buy now

                                                                         Add to cart


             Actual Color: Purple

                                             Purple
                                             $3.51




             How do you want your item?



                                                        Shipping                                                                         Pickup                                                                          Delivery
                                                       Arrives Sep 19                                                                  Not available                                                                    Not available
                                                            $1.99



             Delivery to 1 N La Salle St



                  Sold and shipped by Moqsnm
                   View seller information

                   Free 30-day returns Details




                                                                            Add to list                                                                                                         Add to registry


                                                       Sponsored

                                                       $7.05
                                                       Christmas Ornaments Christmas Decor Dragon Baby Pendant Christmas Tree Charm Cute Cartoon Dragon Car Pendant 2d Flat Acrylic Christmas Tree Pendant

                                                       3+ day shipping




                                                                                                             Add


                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                              




                                                                                                                                                                                                             




                    +   3
                   View all




                                                                                                      Clearance



                                                                                                                                                                                                                  




               Options                                                                                 Options                                                                         Add
                                                                                                                                                       +
            $74.85                                                                                   Options from $1.05 – $4.56 +$4.90 shipping                                       $9.34



https://www.walmart.com/ip/Moqsnm-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/8467858251                                                                                                                                                1/3
9/4/24, 2:12 PM
                           Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 354 of 685 PageID #:407
                                                     Moqsnm Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


            Efavormart 13" Round Iridescent Blue Glitter Acrylic Plastic Charger Plates for Table      Yubnlvae Hangs Color Acrylic Sunshade Ukrainian Color Acrylic Color Acrylic               Custom Accessories License Plate Protector Heavy Duty Acrylic Clear
            Decor -Set of 24                                                                           Window Decoration Hanging Ornament, Christmas Decorations
                                                                                                        1




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             ----Welcome to Moqsnm shop---

             We has sales team to provide quality products and services for people around the world, we are committed to Home Accessories/Outdoor Essentials etc. Hope to bring you a good shopping experience.



             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are for adding a of elegance to any space. The graphic design makes them easy to
             display on walls, curtains or any other, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles
             and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a
             personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will
             appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal. Stylish,
             sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our
             collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with elegance and
             refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant
             ☎24 Hours Online:If you have any questions, please feel free to contact the Fmxomd service team, we will solve it for you.

                   【Home Decor Clearance with Huge Savings】
                   A great gift for your Family or friend
                   Room Decor Home Decor Bathroom Decor Wall Decor Bedroom Decor Living Room Decor Birthday Decorations
                   Moqsnm Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Features
             Washable

             Assembled Product Dimensions (L x W x H)
             3.10 x 3.10 x 0.10 Inches



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
             State Chemical Disclosure
             None



                 Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Double u
                     p & sav
                           e




                                                                                                                                                                                                                                                                               Sponsored 




                                                                                                                                                                                                                                      Clearance



                                                                                                                                                                                                                                                            




              Options                                                                                                    Add                                                                                                         Add
                                                                                                                       Sponsored




https://www.walmart.com/ip/Moqsnm-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/8467858251                                                                                                                                                                                       2/3
9/4/24, 2:12 PM
                            Case: 1:24-cv-11674 Document   #: 6-5 Filed: 11/19/24 Page 355 of 685 PageID #:408
                                                      Moqsnm Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


           $10.99 +$1.99 shipping                                                                        $10.49                                                                                                Now $5.22 $7.45
           Colorful Butterflies Acrylic Decoration Pendant Funny 2D Butterfly Decoration Pendant Gift    Maxpert Weekly Pill Organizer Case - Push Button Pill Planner, Easy Open Arthritis Friendly           Jienlioq Dream Pendant Car Decorative Pendant Acryl
           Pendant For Party Decoration The Butterfly Pendant Gift                                       Medicine Organizer, Large Pill Case for Medication, Vitamins, Fish Oil, Supplements, 7 Day Pill Box   Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days                                                                   1
                                                                                                         Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)




https://www.walmart.com/ip/Moqsnm-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/8467858251                                                                                                                                                               3/3
9/4/24, 2:12 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 356 of 685 PageID #:409
                                                             Review your order - Walmart.com




                        Shipping, arrives by Thu, Sep 19
                                                                                                                                                     Place order for $6.06

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $3.99
                                                                                                                                Savings                                                                -$0.48
          Delivery instructions (optional)                                                                               Add
                                                                                                                                                                                                              $3.51
          Add access codes or other necessary information.

                                                                                                                                Seller shipping                                                               $1.99


          Items details                                                                                         Hide details    Estimated taxes                                                               $0.56


          Arrives by Thu, Sep 19                                                                                       1 item
                                                                                                                                         Want to support the National Fish and Wildlife 
          Sold and shipped by Moqsnm
                                                                                                                                         Foundation’s Acres for America program with
          $1.99 seller shipping fee
                                                                                                                                         a $0.94 donation?
                            Moqsnm Dream Pendant Car Decorative Pendant                                                                  Spark Good Round Up is an easy way to help conserve

                            Acrylic Flat Pendant                                                                                         land for wildlife and increase public access to the great
                                                                                                                                         outdoors.
                            Actual Color: Purple

                            $0.48 from savings
                                                                                                                                  Donate a whole dollar to National Fish and Wildlife 
                                                                $3.51                                                             Foundation (NFWF)
                                                                 $3.99

                                                                                            Remove              1                  $1.00            $2.00            $5.00



                                                                                                                                Estimated total                                                         $6.06



              Payment method                                                                                                   Have a promo code?
                                                                                                                                                                                                               


                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $6.06

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/4/24, 2:12 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 357 of 685 PageID #:410
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/4/24, 2:06 PM
                              Case: 1:24-cv-11674 Document     #: 6-5 Filed: 11/19/24 Page 358 of 685 PageID #:411
                                                        ienlioq Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com
                                                        J


                              Redefine your wardrobe                                                                                                                                                                            Sponsored 




           Clearance

             Jienlioq
             Jienlioq Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Free 30-day returns



          Now $5.22 $7.45 
           You save $2.23
             Price when purchased online 



                                                                           Buy now

                                                                          Add to cart


             Actual Color: Purple

                                             Purple
                                             $5.22




             How do you want your item?



                                                        Shipping                                                                              Pickup                                                             Delivery
                                                       Arrives Sep 18                                                                       Not available                                                       Not available
                                                            Free



             Delivery to 1 N La Salle St



                  Sold and shipped by DengGuang
                   View seller information

                   Free 30-day returns Details




                                                                             Add to list                                                                                                Add to registry


                                                       Sponsored

                                                       $264.00
                                                       Luxury New Traditional Pendant, 15.25H x 17.875W, with Tranditional Style, Midnight Black, UHP4276 by Urban Ambiance

                                                       3+ day shipping




                                                                                                Add


                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                      




                                                                                                                                                                                                  




                    +   3
                   View all




                                                                                                                                                                                                          




             Add                                                                                       Add                                                                   Add

            $24.99                                                                                     $89.00                                                                 $123.90



https://www.walmart.com/ip/Jienlioq-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6327162023                                                                                                                                      1/3
9/4/24, 2:06 PM
                             Case: 1:24-cv-11674 Document     #: 6-5 Filed: 11/19/24 Page 359 of 685 PageID #:412
                                                       ienlioq Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com
                                                       J


            Fichiouy Acrylic LED Ceiling Light Kitchen Pendant Lamp Chandelier Fixture White           DENEST Acrylic LED Chandelier Lamp Ceiling Pendant Light 6 Arms Bedroom                   DENEST 3-Head Moravian Star Pendant Light Fixtures Metal Glass Shade Ceiling
                                                                                                       Living Room US                                                                            Light




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of premium acrylic, these flat pendants are perfect for adding a of elegance to any space. The graphic design makes them easy
             to display on walls, curtains or any other surface, making them a visual impact for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide
             variety of styles and colors, including traditional floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique artistic ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to
             create a personalized artistic . 3. Choices: Looking for a special gift for your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste.
             They will appreciate the beauty and craftsmanship of these pendants and feel the warmth of your love and attention. 4. Enhance your home space: Whether you want to decorate your home or create a romantic , our new collection of acrylic pendants is ideal.
             Stylish, sophisticated, artistic designs will bring more and beauty to your everyday life. Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and charming . 5. Quality craftsmanship: Each
             pendant in our collection has been carefully crafted to create a gorgeous look and textures. These pendants are made of materials that are and stand the test of time. Invest in our new collection of acrylic pendants and watch your home space filled with
             elegance and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Jienlioq Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Brand
             Jienlioq

             Assembled Product Dimensions (L x W x H)
             3.12 x 3.12 x 0.14 Inches



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




             Warnings
                                                                                                                                                                                                                                                                                        
                  WARNING: None



                 Report incorrect product information




                                                                                                                                                                                                                         




            Add                                                                                       Add                                                                                        Add

           $2,639.36                                                                                  $14.99                                                                                     $1,491.09 $1491.09/ca
           Maklaine 5-Piece Velvet Upholstered Tufted Queen Bedroom Set in Gray                       MoKo Sunglasses Holder Organizer Wall, Wooden Eyeglasses Display Rack for                  Briana Storage Bedroom Set with Bookcase Headboard Black
                                                                                                      Bedroom Living Room Entryway
           3+ day shipping                                                                                                                                                                        3+ day shipping
                                                                                                       2-day shipping




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Debit with rewards




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                                                                                                                                                                                                                                      Clearance




https://www.walmart.com/ip/Jienlioq-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6327162023                                                                                                                                                                                     2/3
9/4/24, 2:06 PM
                            Case: 1:24-cv-11674 Document     #: 6-5 Filed: 11/19/24 Page 360 of 685 PageID #:413
                                                      ienlioq Dream Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com
                                                      J



                                                                                                                                                                                                                                            




              Options                                                                                     Add                                                                                                    Options

                                                      +3 options                                         Sponsored

           $6.12                                                                                         $10.49                                                                                                Now $1.02 $6.02 +$4.99 shipping
           Funny Acrylic Animal Decoration Pendant Creative 2D Butterfly Decoration Pendant Indoor And   Maxpert Weekly Pill Organizer Case - Push Button Pill Planner, Easy Open Arthritis Friendly           CHENZERO Colorful Butterflies Acrylic Decoration Pe
           Outdoor Decorative Accessories Garden Decoration Pendant                                      Medicine Organizer, Large Pill Case for Medication, Vitamins, Fish Oil, Supplements, 7 Day Pill Box   Pendant Gift Pendant For Party Decoration The Butter
           Shipping, arrives in 3+ days                                                                   1                                                                                               Shipping, arrives in 3+ days

                                                                                                         Shipping, arrives in 3+ days




              Report:        Report seller    Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/Jienlioq-Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/6327162023                                                                                                                                                              3/3
9/4/24, 2:06 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 361 of 685 PageID #:414
                                                             Review your order - Walmart.com




                        Free shipping, arrives by Mon, Sep 9
                                                                                                                                                     Place order for $5.76

                                                                                                                                    By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                     Edit
          1 N La Salle St, Chicago, IL 60602
                                                                                                                                Subtotal (1 item)                                                         $7.45
                                                                                                                                Savings                                                                -$2.23
          Delivery instructions (optional)                                                                               Add
                                                                                                                                                                                                          $5.22
          Add access codes or other necessary information.
                                                                                                                                Shipping                                                                      Free

                                                                                                                                Estimated taxes                                                               $0.54
          Items details                                                                                         Hide details


          Arrives by Mon, Sep 9                                                                                        1 item
                                                                                                                                         Want to support the National Fish and Wildlife 
          Sold and shipped by DengGuang                                                                                                  Foundation’s Acres for America program with
          Free shipping                                                                                                                  a $0.24 donation?
                                                                                                                                         Spark Good Round Up is an easy way to help conserve
                            Jienlioq Dream Pendant Car Decorative Pendant                                                                land for wildlife and increase public access to the great
                            Acrylic Flat Pendant                                                                                         outdoors.

                            Actual Color: Purple

                                                                                                                                  Donate a whole dollar to National Fish and Wildlife 
                            $2.23 from savings
                                                                                                                                  Foundation (NFWF)
                                                               $5.22
                                                                 $7.45
                                                                                                                                     $1.00            $2.00            $5.00
                                                                                            Remove              1       

                                                                                                                                Estimated total                                                          $5.76


                                                                                                                                Have a promo code?                                                             
              Payment method

                            We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 3651                                                                             $5.76

             + Add new payment                                                                         Edit payment




                               $15 cash back when you spend $15+                                             Sign up



                         Add any credit or debit card & stack cash back




                       Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                             1/2
9/4/24, 2:06 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 362 of 685 PageID #:415
                                                            Review your order - Walmart.com




           Text updates for this order
                  Send to (xxx) xxx-8484
                  Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
9/24/24, 2:27 PM
                               Case: 1:24-cv-11674 Document Dream
                                                             #: 6-5       Filed: 11/19/24 Page 363 of 685 PageID #:416
                                                                  Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com


                               Cook with Clean Ceramic™                                                                                                                                                                                                         Sponsored 




             CTEEGC
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

              Free shipping        Free 30-day returns



          $7.38
             Price when purchased online 



                                                                            Buy now

                                                                           Add to cart



             How do you want your item?



                                                          Shipping                                                                                   Pickup                                                                   Delivery
                                                         Arrives Oct 9                                                                         Not available                                                                Not available
                                                              Free



             Delivery to 3200 N Lake Shore Dr



                   Sold and shipped by CTEEGC
                    View seller information

                    Free 30-day returns Details




                                                                              Add to list                                                                                                             Add to registry


                                                         Sponsored

                                                         $199.99
                                                         BrightWarmHome Nursery Creative Cloud Pendant Light Restaurant Dream Cloud Lamp Children's Room Hanging Lighting Fixture

                                                         3+ day shipping




                                                                                                    Add



                                                                                                                                                                                                                                                                       




                                                                                                                                                                                                                  




                       +   3
                    View all




            Best seller



                                                                                                                                                                                                                                                       




              Options                                                                                                    Options                                                                                           Add
           Sponsored                                                                                                                                              +2 options

           $45.30                                                                                                     $29.99                                                                                              $116.69
                                                                                                                      Options from $29.99 – $36.99
           Better Homes & Gardens 25" Architectural 3-Light Island Pendant Light, Black Finish Clear Glass                                                                                                                Globe Electric Malay Natural Twine 1-Light Pendant Lig
           Shades                                                                                                     3 Pack Pendant Light Hanging Pendant Lighting for Kitchen Island Decor E26 E27 Base Ceiling Light   Save with
                                                                                                                      Fixture Lamp Home Decor
            51
                                                                                                                                                                                                                          Shipping, arrives in 3+ days
           Save with                                                                                                   8
                                                                                                                      Shipping, arrives in 3+ days
           Shipping, arrives in 2 days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10270517707                                                                                                                                                                                   1/3
9/24/24, 2:27 PM
                            Case: 1:24-cv-11674 Document Dream
                                                          #: 6-5       Filed: 11/19/24 Page 364 of 685 PageID #:417
                                                               Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




          About this item


             Product details
                                                                                                                                                                                                                                                                                        
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant
             Features:
             1. Stylish and sophisticated design: Our new collection of acrylic pendants features stunning beauty and sophisticated design. Made of acrylic, these flat pendants are for adding a of to any space. The graphic design makes them easy to display on walls, curtains
             or any other, making them a visual for your home decor. 2. Versatile accessories: Whether living room, bedroom or office, our new acrylic pendant collection brings life and vitality to any space. Available in a wide variety of styles and colors, including traditional
             floral patterns, modern geometric shapes, and abstract art-inspired designs, these pendants effortlessly add a unique ambience to your surroundings. Hang on walls, doors, , lamps or interior furniture to create a personalized . 3. Choices: Looking for a special
             your loved one? Stop looking! Our new series of acrylic pendants make a thoughtful and unique gift. Give these beautiful pendants to your and family to show your care and unique taste. They will appreciate the beauty and craftsmanship of these pendants and
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             Turn your living space into a place of and beauty by purchasing our new acrylic pendant collection, giving your home a fresh and . 5. Quality craftsmanship: Each pendant in our collection has been carefully crafted to create a gorgeous look and textures. These
             pendants are made of materials that are and stand the test of. Invest in our new collection of acrylic pendants and watch your home space filled with and refinement. Product Description:
             Product Specifications:
             Material: Acrylic
             Color: Purple
             size: 8*8*0.37cm
             Package includes:
             1 pendant

             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have not verified it. See our disclaimer



             Specifications
                                                                                                                                                                                                                                                                                        
             Color
             Purple

             Brand
             CTEEGC

             Features
             Dream Pendant Car Decorative Pendant Acrylic Flat Pendant

             Assembled Product Dimensions (L x W x H)
             3.15 x 3.15 x 0.15 Inches



             Directions
                                                                                                                                                                                                                                                                                        
             Fabric Care Instructions
             Machine Washable; Hand Wash



             Warranty
                                                                                                                                                                                                                                                                                        
             Warranty information
             Please be aware that the warranty terms on items offered for sale by third party Marketplace sellers may differ from those displayed in this section (if any). To confirm warranty terms on an item offered for sale by a third party Marketplace seller, please use the
             'Contact seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
           (0 reviews)




          This item does not have any reviews yet



                                                                                              Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.                 Learn more.




              Timeless style for him




                                                                                                                                                                                                                                                                               Sponsored 




            Clearance



                                                                                                                                                                                                                                                                 




            Add                                                                                                          Options                                                                                                     Add
                                                                                                                                                                      +3 options

           Now $2.99 $3.39 +$2.99 shipping                                                                             $8.29 +$2.00 shipping                                                                                        $2.09 +$3.99 shipping
           YFKFYTG Clearance Sales Today Deals Prime Home Decor,Dream Pendant Car Decorative Pendant                   DssFDGR Funny Acrylic Animal Decoration Pendant Novel 2D Butterfly Decoration Pendant Indoor                 Dream Pendant Car Decorative Pendant Acrylic Flat Pe
           Acrylic Flat Pendant                                                                                        and Outdoor Decorative Accessories Garden Decoration Pendant Washable                                        Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days                                                                                Shipping, arrives in 3+ days




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10270517707                                                                                                                                                                                             2/3
9/24/24, 2:27 PM
                        Case: 1:24-cv-11674 Document Dream
                                                      #: 6-5       Filed: 11/19/24 Page 365 of 685 PageID #:418
                                                           Pendant Car Decorative Pendant Acrylic Flat Pendant - Walmart.com




             Report:     Report seller       Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Kitchen Island Pendant Lights




https://www.walmart.com/ip/Dream-Pendant-Car-Decorative-Pendant-Acrylic-Flat-Pendant/10270517707                                  3/3
9/24/24, 2:27 PM
                      Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 366 of 685 PageID #:419
                                                             Review your order - Walmart.com




                        Free shipping, arrives by Wed, Oct 9
                                                                                                                                                    Place order for $8.14

                                                                                                                                   By placing this order, you agree to our Privacy Policy and Terms of Use
          Michael Boldt                                                                                                 Edit
          3200 N Lake Shore Dr, Apt 701, Chicago, IL 60657
                                                                                                                               Subtotal (1 item)                                                         $7.38
                                                                                                                               Shipping                                                                      Free
          Delivery instructions (optional)                                                                              Edit
                                                                                                                               Estimated taxes                                                               $0.76
          Apartment


                                                                                                                                        Want to support the National Fish and Wildlife 
          Items details                                                                                        Hide details             Foundation’s Acres for America program with
                                                                                                                                        a $0.86 donation?
                                                                                                                                        Spark Good Round Up is an easy way to help conserve
          Arrives by Wed, Oct 9                                                                                       1 item
                                                                                                                                        land for wildlife and increase public access to the great
                                                                                                                                        outdoors.
          Sold and shipped by CTEEGC
          Free shipping

                           Dream Pendant Car Decorative Pendant Acrylic                                                          Donate a whole dollar to National Fish and Wildlife 
                           Flat Pendant                                                                                          Foundation (NFWF)

                                                               $7.38                                                                $1.00            $2.00            $5.00
                                                                                            Remove              1       

                                                                                                                               Estimated total                                                          $8.14


                                                                                                                               Have a promo code?

                       Payment method


                           We'll look for smart ways to pay
                           We’ll suggest payment methods that work best with eligible items in your cart.



                          Ending in 1950                                                                            $8.14

             + Add new payment                                                                       Change payment




                              $15 cash back when you spend $15+                                             Sign up



                        Add any credit or debit card & stack cash back




                      Free 30-day trial




          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                            1/2
9/24/24, 2:27 PM
                       Case: 1:24-cv-11674 Document #: 6-5 Filed:     11/19/24 Page 367 of 685 PageID #:420
                                                              Review your order - Walmart.com




                    Text updates for this order


                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the
          preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data
          rates may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                 2/2
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 368 of 685 PageID #:421




9/16/24, 3:24 PM                                                                                                                            Acrylic Butterfly Hanging Ornament Car Christmas Tree - Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you
                                                                                                                                                                                                                                                                 Get the Temu App
                                                                                                                                                  Within 30 days

                                                                                                                                                                                                                                    Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories            christmas tree decorations                                                                      Support            EN
                                                                                                                                                                                                                                    Orders & Account


                                 Home       Automotive        Interior Accessories      Acrylic Butterfly Hanging ...


                                                                                                                                                                                                      Free shipping special for you                            Exclusive offer


                                                                                                                                                                           Acrylic Butterfly Hanging Ornament for Car, Christmas Tree, Backpack,
                                                                                                                                                                           Home Decor - Couple Gift for Halloween
                                                                                                                                                                           1 bought Provided by            (7.9K+ bought)


                                                                                                                                                                           Last day              $2.47 Pay $0.61 today -78% $11.49
                                                                                                                                                                                                    4 interest-free biweekly installments


                                                                                                                                                                             Lightning deal                   Ends in 11:35:54

                                                                                                                                                                              Quantity: 1pc

                                                                                                                                                                              Qty       1                  Almost sold out



                                                                                                                                                                                                                Add to cart
                                                                                                                                                                                                                  Almost sold out



                                                                                                                                                                                 Ships from Temu

                                                                                                                                                                                    Standard: FREE                                              Express: $12.90 or FREE (orde
                                                                                                                                                                                    Delivery: 4-10 business days, 81.7% within 8                Delivery: 3-9 business days, 7
                                                                                                                                                                                    business days                                               business days
                                                                                                                                                                                    Courier company:        DHL eCommerce ...                   Courier company:        FedEx


                                                                                                                                                                                 Temu's Commitments

                                 No item reviews yet                                                                                                                                Security & Privacy        Delivery guarantee
                                 But we found 835 reviews from similar items on Temu.                                                                                                 Safe payments              $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                      Secure privacy             15-day no update refund         30-day no delivery refund
                                                                                                                                                                                                                                                                                         99+
                                 Reviews from similar items on Temu                                              All reviews are from verified purchases                         Free returns Price adjustment
         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS                  ai***72 in        on Oct 6, 2023
                                                                                                                                                                                 Temu's Tree Planting Program (14M+ trees)
                                                                                                                                                                                                                                                                                      Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-for-car-christmas-tree-backpack-home-decor-couple-gift-for-halloween-g-601099542248593.html                                                                                                                                            1/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 369 of 685 PageID #:422




9/16/24, 3:24 PM                                                                                                                            Acrylic Butterfly Hanging Ornament Car Christmas Tree - Temu

                                Very
                              Free   pretty. Love it. not as shinny as I thought it would be but it's still very cute. arrived in just
                                   shipping
                                a fewfor
                                      days.
                                                                                                                            Price adjustment                                                                                    Get the Temu App
                              Special    youfast delivery.
                                                                                                                            Within 30 days
                                  This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…
                                                                                                                                                                                                           Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories            christmas tree decorations                                      Support   EN
                                                                                                                                                                                                           Orders & Account
                                 st***23 in         on Feb 17, 2024



                                 Cute girlie gifts for Christmas stockings! Something unique- unexpected for the girls.
                                  This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…


                                 sy***06 in         on Nov 25, 2023



                                 going to be a gift, 100% love these, just beautiful. Used for Christmas ornaments.
                                  This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…



                                                                                       See all reviews




                                                         Zhangfdh
                                                         76 Followers         7.9K+ Bought           4.7

                                                                             Follow                            Shop all items (133)




                                 Details                                                                                        Save     Report this item

                                 Material: Acrylic

                                 Item ID: GH59999 Copy

                                 Store Information




                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-for-car-christmas-tree-backpack-home-decor-couple-gift-for-halloween-g-601099542248593.html                                                                                                         2/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 370 of 685 PageID #:423




9/16/24, 3:24 PM                                                                                                                            Acrylic Butterfly Hanging Ornament Car Christmas Tree - Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you
                                                                                                                                                                                                                                                              Get the Temu App
                                                                                                                                                  Within 30 days

                                                                                                                                                                                                                                   Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories            christmas tree decorations                                                                    Support          EN
                                                                                                                                                                                                                                   Orders & Account




                                 Explore your interests




                                                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                                                  Feedback
                              Free shipping
                                 Local       special
                                       Magnetic        forHeart
                                                Levitation you Sh…                         Price adjustment
                                                                                               Creative       within
                                                                                                        Magnetic      30 days
                                                                                                                 Touch…                               Local Hanging Glass Vas…                        1pc/20pcs pink crystal bu…                 Vibrant Butterfly Hangin…

https://www.temu.com/acrylic-butterfly-hanging-ornament-for-car-christmas-tree-backpack-home-decor-couple-gift-for-halloween-g-601099542248593.html                                                                                                                                        3/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 371 of 685 PageID #:424




9/16/24, 3:24 PM                                                                                                                            Acrylic Butterfly Hanging Ornament Car Christmas Tree - Temu

                                     day $51.47 In 1 carts
                                Lastshipping                                        $14.39 $93.24 107 bought                          Nearly over $7.76 $47.13                           Nearly over $4.28 $13.10                   Last day $1.84 $9.24 4 bought
                              Free                                                                                                             Price adjustment
                                Almost
                              Special forsold
                                          youout                                    Almost sold out                                   Only 5 left                                       Only 3 left                                 Only 5 left                 Get the Temu App
                                                                                                                                               Within 30 days

                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories            christmas tree decorations                                                                     Support           EN
                                                                                                                                                                                                                                  Orders & Account




                                 Boho Chic Butterfly Wall Hanging - …               Local Magnetic Levitating Heart Li…                               Local Heart Shaped LED …          Eternal Rose Pendant with Butterfly …                     Local 1pc Ashtray Smoki…

                                    $5.75 19 bought                                 Last day $51.47 In 2 carts                        Nearly over $16.56 $24.99                         Last day $10.39 106 viewed                  Nearly over $7.98 $49.85
                                 Only 1 Left                                        Almost sold out                                   Only 5 left                                       Only 4 left




                                  Local 1 Floating Heart-shaped Ligh…               9 Pairs/ Set Colorful Butterfly Wing …             Local Magnetic Levitating Heart La…                            Local Cordless decorativ…                   Charming Butterfly Acryli…
                                 $50.34 In 4 carts                                  Nearly over $5.71                                 Last day $54.90 2 viewed                           Last day $18.75 $85.99                        $2.33 $6.99 1 bought
                                 Almost sold out                                    Almost sold out                                   Almost sold out                                   Only 5 left
                                                                                                      251




                                                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                                                    Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-for-car-christmas-tree-backpack-home-decor-couple-gift-for-halloween-g-601099542248593.html                                                                                                                                          4/9
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9/16/24, 3:24 PM                                                                                                                            Acrylic Butterfly Hanging Ornament Car Christmas Tree - Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you
                                                                                                                                                                                                                                                                Get the Temu App
                                                                                                                                                  Within 30 days

                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories            christmas tree decorations                                                                     Support         EN
                                                                                                                                                                                                                                  Orders & Account




                                 8pcs Crystal Guardian Angel Catche…                Local Magnetic Levitation Heart-Sh…                Local Magnetic Levitation Heart-Sh…               Local Nordic Glass Desk Light Ice C…                     1PC Swallowtail Butterfly …
                                 Nearly over $10.78                                 Nearly over $51.98 In 1 carts                     Last day $46.79 6 viewed                          Nearly over $38.98 In 7 carts               Nearly over $3.21 $29.99
                                 Almost sold out                                    Almost sold out                                   Almost sold out                                   Only 6 left                                 Only 2 left
                                                                                                                                                                                             Direct from GDRASUYA10




                                               HD LIVING Crystal Hum…                             Local LED Light Bulb, Ba…                           Local EP LIGHT Creative …                       Local Crystal Bedside Ta…                   Women's Sexy Cross Stra…
                                 Nearly over $6.97                                  Nearly over $16.78 $74.99                         Nearly over $45.59 $55.00                         Nearly over $85.48 1 bought                 Last day $9.47 $17.99
                                 Only 6 left                                        Only 5 left                                       Almost sold out                                   Almost sold out                             Almost sold out




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-for-car-christmas-tree-backpack-home-decor-couple-gift-for-halloween-g-601099542248593.html                                                                                                                                         5/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 373 of 685 PageID #:426




9/16/24, 3:24 PM                                                                                                                            Acrylic Butterfly Hanging Ornament Car Christmas Tree - Temu

                                  Local Magnetic Levitation Heart-Sh…               Local Light Metal Wooden Table La…                Steampunk Mechanical Mosquito M…                                Crystal Snowflake Car Ke…                   Sparkling 3D Butterfly Sti…
                              Free shipping                                                                                                       Price adjustment
                                          you $51.98 1 viewed                       Nearly over $42.73 1 bought
                                                                                                                                                                                                                                                                Get the Temu App
                                Nearly
                              Special forover                                                                                         30d lowest $16
                                                                                                                                             Within 30.97
                                                                                                                                                       days
                                                                                                                                                                                         Last day $3.91 $24.49                      Lowest ever $6.29
                                 Almost sold out                                    Almost sold out                                   Almost sold out                                   Only 2 left                                 Only 8 left
                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories            christmas tree decorations                                                                      Support           EN
                                                                                                                                                                                                                                  Orders & Account




                                  Local Living Room Floating Bulbs …                              Local HCNT Levitation A…            1 Pack, 20 Hot-stamped PET Butterf…                             Astronaut 3D Stereoscopi…      Local 1pc In/outdoor 23.6inch Mo…

                                 Nearly over $42.70                                 Nearly over $44.22 $65.00                         Nearly over $1.98                                 Nearly over $16.98                          Nearly over $117.79
                                 Only 5 left                                        Extra $3.52 off coupon                            Only 1 Left                                       Only 3 left                                 Only 5 left
                                                                                    Only 3 left




                                               Vintage-Style Butterfly Su…                        Local Tube Clock, DIY Ni…           Cyberpunk Mantis Mechanical Scul…                               Local 1pc Coffee Pot, Co…                   60pcs Vintage Charm Scr…
                                 $3.99 $36.66 3 bought                              Nearly over $56.98                                   $20.24 6 bought                                Nearly over $80.08                          Nearly over $2.78 $3.79
                                 Almost sold out                                    Almost sold out                                    Extra $0.42 off coupon                           Almost sold out                              Extra $0.10 off coupon
                                                                                                                                      Only 1 Left                                                                                   Almost sold out
                                                                                        Direct from Nexillumi
                                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                                                                       Messages
        COUPONS

                                                                                                                                                                                                                                                                                     Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-for-car-christmas-tree-backpack-home-decor-couple-gift-for-halloween-g-601099542248593.html                                                                                                                                           6/9
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9/16/24, 3:24 PM                                                                                                                            Acrylic Butterfly Hanging Ornament Car Christmas Tree - Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you
                                                                                                                                                                                                                                                              Get the Temu App
                                                                                                                                                  Within 30 days

                                                                                                                                                                                                                                 Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories            christmas tree decorations                                                                    Support       EN
                                                                                                                                                                                                                                 Orders & Account




                                              Multi-Device Wireless Ch…             Shimmering Purple Butterfly Hangin…                               Local Magnetic Levitatio…                       Local New Style Minimal…      Local Magnetic Levitation Heart La…
                                 Last day $11.97                                    Last day $1.27 32 viewed                          Nearly over $45.70 1 bought                       Nearly over $181.48                        Last day $47.69 2 viewed
                                 New Arrival in Wireless Chargers                   Only 5 left 30d lowest                            Only 4 left 30d lowest                            Almost sold out                            Almost sold out




                                 20 Sheets/Pack Beautiful Flower Pla…               Local 9 Pairs of Butterfly Colorful A…                            Local 5pcs Steampunk I…                         Local Outdoor Moon W…        Metal Steampunk Vintage Fashion …
                                 Nearly over $3.98 16 viewed                        $13.81 51 bought                                  Nearly over $32.45 3 bought                       Nearly over $103.00                        Nearly over $5.27
                                 Almost sold out                                    Extra $0.70 off coupon                                                                              Almost sold out                            Almost sold out
                                                                                    Only 6 left                                                                                                                                                     2,094




                                                                                                                                                                                                                                                                                    99+

         BONUS                                                                                                                                                                                                                                                                   Messages
        COUPONS

                                                                                                                                                                                                                                                                                 Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-for-car-christmas-tree-backpack-home-decor-couple-gift-for-halloween-g-601099542248593.html                                                                                                                                       7/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 375 of 685 PageID #:428




9/16/24, 3:24 PM                                                                                                                            Acrylic Butterfly Hanging Ornament Car Christmas Tree - Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you
                                                                                                                                                                                                                                                                        Get the Temu App
                                                                                                                                                  Within 30 days

                                                                                                                                                                                                                                          Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories              christmas tree decorations                                                                            Support        EN
                                                                                                                                                                                                                                          Orders & Account




                                 Payment Method games, exquisite s…                               Local XRC senior artist d…                          USB Powered 3D Planet …                         Elegant Lace Butterfly Hai…                        Local Concrete Art Side …
                                 30d lowest $8.73 439 bought                        Nearly over $135.48                               Last day $12.73 $65.99                            Nearly over $1.47                                   Nearly over $60.98
                                 Almost sold out                                    Almost sold out                                   Almost sold out 30d lowest                        Only 1 Left                                         Almost sold out




                                               Local 2 Pack Cordless Ta…            Local Holographic Lamp, Creative …                                1pc Hollow Stainless Stee…                      1 Set Of 96pcs LED Flicke…             Local Cool Industrial Metal Tube R…
                                 Last day $39.14 $58.99                             Nearly over $119.21                               $4.94 $43.99 2.4K+ bought                          Nearly over $12.98                                 Nearly over $29.57
                                 Almost sold out                                    Only 8 left                                       Almost sold out                                   Best Seller in Office Lighting                       Extra $2.95 off coupon
                                                                                                                                                          259                                               91                              Almost sold out



                                                                                                                                                      View more




                                                                                                                                                                                                                                                                                              99+

         BONUSCompany info                                                             Customer service                                                 Help                                               Download the Temu App                                      Connect with Temu    Messages
        COUPONS
              About Temu                                                               Return and refund policy                                         Support center & FAQ                                     Track orders any time
                     Temu - Team Up, Price Down!
                                                                                       Intellectual property policy                                     Safety center                                            Low stock items alerts                                                    Feedback
                              Free shipping special for you
                     Affiliate & Influencer: Earn Commission
                                                                                           Price adjustment within 30 days
                                                                                                                                                                                                                 Coupons & offers alerts
https://www.temu.com/acrylic-butterfly-hanging-ornament-for-car-christmas-tree-backpack-home-decor-couple-gift-for-halloween-g-601099542248593.html                                                                                                                                                 8/9
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9/16/24, 3:24 PM                                                                                                                            Acrylic Butterfly Hanging Ornament Car Christmas Tree - Temu

                     Contact us                                                        Shipping info                                                   Temu purchase protection
                              Free shipping                                                                                                        Price adjustment
                              Special for you
                                                                                                                                                                                                                                                           Get the Temu App
                                                                                                                                                                                                                    Download on the
                     Careers                                                           Your Recalls and Product Safety Alerts                      Within 30 days
                                                                                                                                                      Sitemap
                                                                                                                                                                                                                    App Store
                     Press                                                           Report suspicious activity                                        How to order                                                                   Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale       Local Warehouse               Categories          christmas tree decorations                                                                   Support   EN
                                                                                                                                                                                                                    Get it on
                                                                                                                                                                                                                                      Orders & Account
                     Temu's Tree Planting Program                                                                                                      How to track
                                                                                                                                                                                                                    Google Play
                                                                                                                                                       Partner with Temu



                     Security certification                                                                                                            We accept




                                                                                                        © 2024 WhaleCo Inc.         Terms of use      Privacy policy   Your privacy choices            Ad Choices




                                                                                                                                                                                                                                                                                 99+

         BONUS                                                                                                                                                                                                                                                                Messages
        COUPONS

                                                                                                                                                                                                                                                                              Feedback



https://www.temu.com/acrylic-butterfly-hanging-ornament-for-car-christmas-tree-backpack-home-decor-couple-gift-for-halloween-g-601099542248593.html                                                                                                                                    9/9
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 377 of 685 PageID #:430




9/16/24, 3:24 PM                                                                                                                                        Temu


                           Free shipping                                                                                           Delivery guarantee
                           Special for you                                                                                         Refund for any issues
                                                                                                                                                                                                                                                  Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                     Order summary
                              Free shipping special for you

                                                                                                                                                                                                       Enter coupon code                                        Apply
                   Shipping address                                                                                                                               Change address

                                                                                                                                                                                                     Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                               Item(s) total:                                              $218.31

                       CHICAGO, IL 60602-3902, United States                                                                                                                                         Item(s) discount:                                           -$171.38

                                                                                                                                                                                                     Subtotal:                                                     $46.93


                   Ships from Temu (19) 1 item is almost gone!                                                                                                                                       Shipping:                                                       FREE
                                                                                                                                                                                                        Free shipping for items shipped from Temu is an exclusive
                                                    Acrylic Butterfly Hanging Ornament for Car, Christmas Tree, Backpack, Home Decor - Couple Gift for Halloween                                     offer. Please submit your order as soon as possible.
                                                    1pc
                                                                                                                                                                      Qty:   19                      Sales tax:                                                     $4.81
                                                    Lightning deal | -78% final hours
                                                                                                                                                                                                     Order total:                                                 $51.74


                          Almost sold out                                                                                                                                                            Plant with Temu
                                                      $2.47 $11.49
                                                                                                                                                                                                          We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                                               Submit order
                                                                                                                                                                                                                                 1 almost sold out
                   Payment methods
                                                                                                                                                                                                         Temu's Tree Planting Program
                                    Visa ...1950                                                                                                                             Edit
                                                                                                                                                                                                     Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                     Future to plant trees across sub-Saharan Africa
                                    Add a new card


                                    PayPal           Remember my PayPal                                                                                                                                  Temu protects your card information
                                                                                                                                                                                                         Temu follows the Payment Card Industry Data Security
                                    Cash App Pay                                                                                                                                                         Standard (PCI DSS) when handling card data
                                                                                                                                                                                                         Card information is secure and uncompromised
                                                                                                                                                                                                         All data is encrypted
                                    Afterpay       4 interest-free payments of $12.93
                                                                                                                                                                                                         Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"500576e6-a1fe-44e8-8a6a-01fcc3e70b30"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 378 of 685 PageID #:431




9/16/24, 3:24 PM                                                                                                                                        Temu

                                    Klarna      4 interest-free payments of $12.93


                                    Affirm      4 interest-free payments or as low as $4.79/mo

                                                                                                                                                                                                         Secure privacy
                                    Venmo                                                                                                                                                            Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                     that your information will be kept secured and
                                                                                                                                                                                                     uncompromised. We do not sell your personal information
                                    Google Pay
                                                                                                                                                                                                     for money and will only use your information in accordance
                                                                                                                                                                                                     with our privacy and cookie policy to provide and improve
                                    PayPal Pay Later                                                                                                                                                 our services to you.
                                                                                                                                                                                                     Learn more

                                                                                                                                                                                                         Delivery guarantee
                                                                                                                                                                                                         $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                         15-day no update refund           30-day no delivery refund
                                                                                                                                                                                                     Learn more

                                                                                                                                                                                                         Temu purchase protection
                                                                                                                                                                                                     Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                     wrong, we've always got your back.
                                                                                                                                                                                                     Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"500576e6-a1fe-44e8-8a6a-01fcc3e70b30"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   2/2
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 379 of 685 PageID #:432




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu
                                                                                                                                                    Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                                                                  Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                    i hi 30 d
                                                                                                                                                                                                                                     Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                                                        Support            EN
                                                                                                                                                                                                                                     Orders & Account


                                 Home       Automotive       Interior Accessories      Acrylic Butterfly Hanging ...


                                                                                                                                                                                                        Free shipping special for you                           Exclusive offer


                                                                                                                                                                          Acrylic Butterfly Hanging Ornament, PMMA Car Decoration Pendant,
                                                                                                                                                                          Transparent Butterfly Charm for Rearview Mirror, Keychain, Bag
                                                                                                                                                                          Accessory
                                                                                                                                                                          Provided by         (205 bought)


                                                                                                                                                                          Last day              $1.78 Pay $0.44 today -84% $11.49
                                                                                                                                                                                                   4 interest-free biweekly installments


                                                                                                                                                                            Lightning deal                     Ends in 11:37:02

                                                                                                                                                                             Material: Acrylic

                                                                                                                                                                             Qty       1                    Only 1 left



                                                                                                                                                                                                                  Add to cart
                                                                                                                                                                                                                      Only 1 left



                                                                                                                                                                                   Ships from Temu

                                                                                                                                                                                    Standard: FREE                                               Express: $12.90 or FREE (orde
                                                                                                                                                                                    Delivery: 4-10 business days, 81.7% within 8                 Delivery: 3-9 business days, 7
                                                                                                                                                                                    business days                                                business days
                                                                                                                                                                                    Courier company:          DHL eCommerce ...                  Courier company:        FedEx


                                                                                                                                                                                   Temu's Commitments
                                 No item reviews yet
                                 But we found 835 reviews from similar items on Temu.                                                                                               Security & Privacy          Delivery guarantee
                                                                                                                                                                                      Safe payments               $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                      Secure privacy              15-day no update refund         30-day no delivery refund               99+
                                 Reviews from similar items on Temu                                             All reviews are from verified purchases
         BONUS                                                                                                                                                                                                                                                                         Messages
        COUPONS                  ai***72 in        on Oct 6, 2023                                                                                                                  Free returns Price adjustment

                                                                                                                                                                                   Temu's Tree Planting Program (14M+ trees)                                                           Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                                                                1/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 380 of 685 PageID #:433




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu
                                                                                                                                                    Up to 90 days*
                                Very
                              Free    pretty. Love it. not as shinny as I thought it would be but it's still very cute. arrived in just
                                   shipping
                                a fewfor
                              Special  days.
                                         youfast delivery.
                                                                                                                                                                                                                             Get the Temu App
                                                                                                                             Price adjustment
                                                                                                                              i hi 30 d
                                  This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…
                                                                                                                                                                                                        Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                    Support   EN
                                                                                                                                                                                                        Orders & Account
                                 st***23 in        on Feb 17, 2024



                                 Cute girlie gifts for Christmas stockings! Something unique- unexpected for the girls.
                                  This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…


                                 sy***06 in         on Nov 25, 2023



                                 going to be a gift, 100% love these, just beautiful. Used for Christmas ornaments.
                                  This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…



                                                                                       See all reviews




                                                         YsJXD
                                                         205 Bought          4.8

                                                                            Follow                              Shop all items (5)




                                 Details                                                                                       Save     Report this item

                                 Material: Acrylic (PMMA)

                                 Item ID: EG156820 Copy

                                 Store Information




                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                  Messages
        COUPONS

                                                                                                                                                                                                                                                Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                         2/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 381 of 685 PageID #:434




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu
                                                                                                                                                    Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                             Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                    i hi 30 d
                                                                                                                                                                                                        Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                    Support   EN
                                                                                                                                                                                                        Orders & Account




                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                  Messages
        COUPONS

                                                                                                                                                                                                                                                Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                         3/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 382 of 685 PageID #:435




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu
                                                                                                                                                    Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                             Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                    i hi 30 d
                                                                                                                                                                                                        Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                    Support   EN
                                                                                                                                                                                                        Orders & Account




                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                  Messages
        COUPONS
                                 Explore your interests
                                                                                                                                                                                                                                                Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                         4/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 383 of 685 PageID #:436




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu
                                                                                                                                                     Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                                                                 Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                    i hi 30 d
                                                                                                                                                                                                                                    Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                                                        Support       EN
                                                                                                                                                                                                                                    Orders & Account




                                  Local Magnetic Levitation Heart-Sh…                           Vintage-Style Butterfly Su…                         Local Heart Shaped LED …            9 Pairs/ Set Colorful Butterfly Wing …         Local Magnetic Levitating Heart Li…
                                 Nearly over $51.98 In 1 carts                     $3.99 $36.66 3 bought                              Nearly over $16.56 $24.99                         Nearly over $5.71                             Last day $51.47 In 2 carts
                                 Almost sold out                                   Almost sold out                                    Only 5 left                                       Almost sold out                               Almost sold out
                                                                                                                                                                                                           251




                                               Vibrant Acrylic Butterfly …                      1pc Crystal Butterfly Figu…                         1PC Swallowtail Butterfly …                         Local Dandelion Crystal …     Metal Steampunk Vintage Fashion …
                                    $1.52 $5.59 1 bought                           Last day $8.32 $63.24                             Nearly over $3.21 $29.99                           $16.91 $49.95 121 bought                      Nearly over $5.27
                                 Only 4 left                                       Only 1 Left                                        Only 2 left                                       Only 7 left                                   Almost sold out
                                                                                                                                                                                                                                                       2,094




                                                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                                                    Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                                                             5/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 384 of 685 PageID #:437




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu

                                  Local Magnetic Levitation Heart Sh…                            Local 1pc Coffee Pot, Co…                           UpLIVING
                                                                                                                                                    HD  to 90 days*
                                                                                                                                                              Crystal Hum…                              Elegant Lace Butterfly Hai…     Steampunk Mechanical Mosquito M…
                              Free shipping
                                                                                                                                                                                                                                                                Get the Temu App
                                Last day
                              Special     $49.91 1 viewed
                                      for you                                      Nearly over $80.08                                 Nearly over   6.97
                                                                                                                                              Price$adjustment                          Nearly over $1.47                               30d lowest $16.97
                                 Almost sold out                                   Almost sold out                                    Only 6 left i hi 30 d                             Only 1 Left                                     Almost sold out
                                                                                                                                                                                                                                      Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                                                       Support          EN
                                                                                                                                                                                                                                      Orders & Account




                                  Local Magnetic Levitation Heart Sh…              Charming Butterfly Acrylic 2D Keych…               Local 1pc In/outdoor 23.6inch Mo…                 Cyberpunk Mantis Mechanical Scul…               Handheld Mini Fan, Travel Mini Fan …
                                 $46.51 In 2 carts                                 $2.61 1 bought                                     Nearly over $117.79                                 $20.24 6 bought                               Nearly over $5.58
                                 Almost sold out                                   Only 1 Left                                        Only 5 left                                       Extra $0.42 off coupon                          Almost sold out
                                                                                                                                                                                        Only 1 Left                                                      85




                                              Modern Jellyfish Desk La…                          Butterfly Heart Car Decal …          Local Nordic Glass Desk Light Ice C…              Local Clocteck Nixie Tube Clock, W…             1pc Levitating Moon Table Lamp, M…
                                 Last day $11.97                                   60d lowest $4.24 $24.99                            Nearly over $38.98 In 7 carts                     Lowest ever $49.59                              Last day $48.22 54 bought
                                 Almost sold out                                   Only 9 left                                        Only 6 left                                       Extra $1.97 off coupon                          Only 6 left
                                                   175                                                                                    Direct from GDRASUYA10                        Almost sold out


                                                                                                                                                                                            Direct from ClocTeck                                                                       99+

         BONUS                                                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                                                    Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                                                             6/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 385 of 685 PageID #:438




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu
                                                                                                                                                     Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                                                            Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                    i hi 30 d
                                                                                                                                                                                                                               Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                                                  Support        EN
                                                                                                                                                                                                                               Orders & Account




                                               Colorful Acrylic Butterfly …                      Multi-Device Wireless Ch…                          1PC Natural Crystal Electr…         Local Magnetic Levitation Heart Sh…                    Resin Steampunk Mecha…
                                 $2.75 $12.99 In 3 carts                           Last day $11.97                                   Nearly over $6.38 $20.00                           Last day $51.47 In 1 carts               Last day $22.47 $38.99

                                  Extra $0.14 off coupon                           New Arrival in Wireless Chargers                   Almost sold out                                   Almost sold out                          Only 5 left
                                 Only 1 Left
                                                                                                                                          Direct from Runyangshi




                                  Local Living Room Floating Bulbs …                             1pc/20pcs pink crystal bu…           Local 1Pcs Ocean Wave Glass Ball I…               Acrylic Purple Butterfly Hanging Or…                   Local Tube Clock, DIY Ni…
                                 Nearly over $42.70                                Nearly over $4.28 $13.10                           $12.19 $27.99 47 bought                           Lowest ever $1.80 In 2 carts             Nearly over $56.98
                                 Only 5 left                                       Only 3 left                                        Only 2 left                                       Extra $0.14 off coupon                   Almost sold out
                                                                                                                                                                                        Only 1 Left
                                                                                                                                                                                                                                     Direct from Nexillumi




                                                                                                                                                                                                                                                                                  99+

         BONUS                                                                                                                                                                                                                                                                 Messages
        COUPONS

                                                                                                                                                                                                                                                                               Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                                                        7/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 386 of 685 PageID #:439




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu
                                                                                                                                                     Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                                                                  Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                    i hi 30 d
                                                                                                                                                                                                                                    Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                                                         Support         EN
                                                                                                                                                                                                                                    Orders & Account




                                               Sparkling 3D Butterfly Sti…          Local Magnetic Levitating Heart La…                             Steampunk Mechanical D…                             Wireless Sunrise Alarm S…                   Crystal Snowflake Car Ke…
                                 Lowest ever $6.29                                 Last day $54.90 2 viewed                           $19.34 $34.99 2 bought                            Last day $12.47                               Last day $3.91 $24.49
                                 Only 8 left                                       Almost sold out                                    Extra $0.99 off coupon                               just bought                                Only 2 left
                                                                                                                                      Only 7 left                                                           163
                                                                                                                                                                                            Direct from Kouzone




                                               Local HCNT Levitation A…                          Adult Toys, Difficult Hand…                        Local Cordless decorativ…           2023 Sparkling Rhinestone Butterfly…                        Local Levitating Flowers …
                                 Nearly over $44.22 $65.00                         Last day $28.97 $39.99                            Last day $18.75 $85.99                             Last day $5.75 $18.99                         $50.93 $148.00 31 bought
                                  Extra $3.52 off coupon                           Only 2 left                                        Only 5 left                                       Almost sold out                                Extra $1.69 off coupon
                                 Only 3 left                                                                                                                                                                                          Almost sold out




                                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                                                                       Messages
        COUPONS

                                                                                                                                                                                                                                                                                     Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                                                              8/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 387 of 685 PageID #:440




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu
                                                                                                                                                     Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                                                              Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                    i hi 30 d
                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                                                    Support           EN
                                                                                                                                                                                                                                  Orders & Account




                                               Local Diffuserlove Essen…           8pcs Crystal Guardian Angel Catche…                              Touch-Controlled Magne…                             Local 5pcs Steampunk I…                 Charming Butterfly Acryli…
                                 Nearly over $30.98 $67.99                         Nearly over $10.78                                   $38.47 $79.99 163 bought                        Nearly over $32.45 3 bought                    $2.33 $6.99 1 bought

                                     Direct from Diffuserlove                      Almost sold out                                    Only 6 left




                                               Local 12T Industrial Mac…                        1pc Hollow Stainless Stee…            Handmade Steampunk Robot Key C…                                   GAIATOP Portable Handh…                  Local EP LIGHT Creative …
                                 Nearly over $60.42 6 bought                       $4.94 $43.99 2.4K+ bought                          Last day $13.04 12 bought                         Nearly over $7.97                           Nearly over $45.59 $55.00
                                 Almost sold out                                   Almost sold out                                    Only 4 left                                       Almost sold out                             Almost sold out
                                     Direct from CNCEST                                              259                                                                                                   107
                                                                                                                                                                                            Direct from GAIATOP




                                                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                                                  Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                                                           9/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 388 of 685 PageID #:441




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu
                                                                                                                                                    Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                                                                  Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                    i hi 30 d
                                                                                                                                                                                                                                       Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car decoration accessories                                                                       Support           EN
                                                                                                                                                                                                                                       Orders & Account




                                               Hummingbird 3D Crystal …                         Steampunk Sickle Drago…                            Wireless Connection Spe…                             Local XRC senior artist d…       Colorful Butterfly Suncatcher - 8"x8…
                                 Nearly over $5.99                                 Nearly over $21.25                                Nearly over $21.64                                 Nearly over $135.48                                 $4.79 5 bought
                                 Only 8 left                                        Extra $0.42 off coupon                            Almost sold out                                   Almost sold out                                  Almost sold out
                                                                                   Only 1 Left                                                          379




                                                                                                                                                    View more




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                     About Temu                                                       Return and refund policy                                        Support center & FAQ                                    Track orders any time
                     Temu - Team Up, Price Down!
                                                                                      Intellectual property policy                                    Safety center                                           Low stock items alerts
                     Affiliate & Influencer: Earn Commission
                                                                                      Shipping info                                                   Temu purchase protection                                Coupons & offers alerts
                     Contact us
                                                                                      Your Recalls and Product Safety Alerts                          Sitemap
                                                                                                                                                                                                                   Download on the
                     Careers
                                                                                      Report suspicious activity                                      How to order                                                 App Store
                     Press
                                                                                                                                                      How to track
                                                                                                                                                                                                                   Get it on
                     Temu's Tree Planting Program
                                                                                                                                                      Partner with Temu                                            Google Play



                     Security certification                                                                                                           We accept
                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                      Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                                                            10/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 389 of 685 PageID #:442




9/16/24, 3:22 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Decoration - Temu

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                                                                                                                                                    Privacy    days*Your privacy choices
                                                                                                                                                            policy                                      Ad Choices
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                              Special for you
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                                                                                                                                                                                                                     Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories            car decoration accessories                                                 Support   EN
                                                                                                                                                                                                                     Orders & Account




                                                                                                                                                                                                                                                                99+

         BONUS                                                                                                                                                                                                                                               Messages
        COUPONS

                                                                                                                                                                                                                                                             Feedback



https://www.temu.com/acrylic-butterfly-hanging-ornament-pmma-car-decoration-pendant-transparent-butterfly-charm-for-rearv
                                                                                                                        iew-mirror-keychain-bag-accessory-g-601099590784849.html                                                                                   11/11
                            Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 390 of 685 PageID #:443




9/16/24, 3:23 PM                                                                                                                                    Temu


                          Free shipping                                                                                        Delivery guarantee
                          Special for you                                                                                      Refund for any issues
                                                                                                                                                                                                                                            Get the Temu App


                                  All data is encrypted


                   Home      Checkout

                                                                                                                                                                                                Order summary
                             Free shipping special for you

                                                                                                                                                                                                  Enter coupon code                                      Apply
                   Shipping address                                                                                                                           Change address

                                                                                                                                                                                                Apply coupon code
                      Mike Kate +1 (847)653-0228
                      1 N La Salle St                                                                                                                                                           Item(s) total:                                              $11.49

                      CHICAGO, IL 60602-3902, United States                                                                                                                                     Item(s) discount:                                            -$9.71

                                                                                                                                                                                                Subtotal:                                                     $1.78


                   Ships from Temu (1) 1 item is almost gone!                                                                                                                                   Shipping:                                                      FREE
                                                                                                                                                                                                   Free shipping for items shipped from Temu is an exclusive
                                                  Acrylic Butterfly Hanging Ornament, PMMA Car Decoration Pendant, Transparent Butterfly Charm for Rearview Mir…                                offer. Please submit your order as soon as possible.
                                                  Acrylic
                                                                                                                                                                 Qty:    1                      Sales tax:                                                    $0.18
                                                  Lightning deal | -84% final hours
                                                                                                                                                                                                Order total:                                                  $1.96


                            Only 1 left                                                                                                                                                         Plant with Temu
                                                     $1.78 $11.49
                                                                                                                                                                                                     We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                                         Submit order
                                                                                                                                                                                                                            1 almost sold out
                   Payment methods
                                                                                                                                                                                                    Temu's Tree Planting Program
                                   Visa ...1950                                                                                                                          Edit
                                                                                                                                                                                                Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                Future to plant trees across sub-Saharan Africa
                                   Add a new card


                                   PayPal           Remember my PayPal                                                                                                                              Temu protects your card information
                                                                                                                                                                                                    Temu follows the Payment Card Industry Data Security
                                   Cash App Pay                                                                                                                                                     Standard (PCI DSS) when handling card data
                                                                                                                                                                                                    Card information is secure and uncompromised
                                                                                                                                                                                                    All data is encrypted
                                   Venmo
                                                                                                                                                                                                    Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"ad2e31fa-38d0-4899-98c1-298adfa0d3d7"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_amount%5C"%3A5376%7D"%7D&goods_amount=2&source_channel=1&title=Checkout&ren…   1/2
                            Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 391 of 685 PageID #:444




9/16/24, 3:23 PM                                                                                                                                    Temu

                                   Google Pay


                                   Afterpay
                                   $20 product minimum applies
                                                                                                                                                                                                    Secure privacy
                                   Klarna                                                                                                                                                       Protecting your privacy is important to us! Please be assured
                                   $20 product minimum applies                                                                                                                                  that your information will be kept secured and
                                                                                                                                                                                                uncompromised. We do not sell your personal information
                                   Affirm                                                                                                                                                       for money and will only use your information in accordance
                                   $35 product minimum applies                                                                                                                                  with our privacy and cookie policy to provide and improve
                                                                                                                                                                                                our services to you.
                                   PayPal Pay Later
                                                                                                                                                                                                Learn more
                                   $30 product minimum applies
                                                                                                                                                                                                    Delivery guarantee
                                                                                                                                                                                                    $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                                    15-day no update refund          30-day no delivery refund
                                                                                                                                                                                                Learn more

                                                                                                                                                                                                    Temu purchase protection
                                                                                                                                                                                                Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                wrong, we've always got your back.
                                                                                                                                                                                                Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"ad2e31fa-38d0-4899-98c1-298adfa0d3d7"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_amount%5C"%3A5376%7D"%7D&goods_amount=2&source_channel=1&title=Checkout&ren…   2/2
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 392 of 685 PageID #:445




9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu


                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support           EN
                                                                                                                                                                                                                                                Orders & Account


                                  Home        Automotive        Interior Accessories       Express Your Love with Car...


                                                                                                                                                                                                             Free shipping special for you                                       Exclusive offer


                                                                                                                                                                                 Express Your Love with Car Accessories: The Perfect Choice for Couples
                                                                                                                                                                                 and Holiday Gifts! Includes a 2D Acrylic Butterfly Pendant, Suitable for
                                                                                                                                                                                 Car Interior Rearview Mirror Decoration, and Available in Bag and
                                                                                                                                                                                 Keychain Accessories.
                                                                                                                                                                                 3 bought Provided by               (4.6K+ bought)


                                                                                                                                                                                 Last day              $1.77 Pay $0.44 today -84% $11.49
                                                                                                                                                                                                           4 interest-free biweekly installments


                                                                                                                                                                                   Lightning deal                      Ends in 11:39:46

                                                                                                                                                                                    Quantity: 1pc

                                                                                                                                                                                    Qty       1                    Almost sold out



                                                                                                                                                                                                                          Add to cart
                                                                                                                                                                                                                           Almost sold out



                                                                                                                                                                                       Ships from Temu

                                                                                                                                                                                          Standard: FREE                                                      Express: $12.90 or FREE (orde
                                                                                                                                                                                          Delivery: 4-10 business days, 81.7% within 8                        Delivery: 3-9 business days, 7
                                                                                                                                                                                          business days                                                       business days
                                                                                                                                                                                          Courier company:           DHL eCommerce ...                        Courier company:             FedEx

                                  No item reviews yet
                                                                                                                                                                                       Temu's Commitments
                                  But we found 835 reviews from similar items on Temu.
                                                                                                                                                                                          Security & Privacy           Delivery guarantee
                                                                                                                                                                                                                                                                                                           99+
                                                                                                                                                                                            Safe payments                 $5.00 Credit for delay               Return if item damaged
                                  Reviews from similar items on Temu                                                All reviews are from verified purchases
         BONUS                                                                                                                                                                              Secure privacy                15-day no update refund              30-day no delivery refund                Messages
        COUPONS                   ai***72 in         on Oct 6, 2023
                                                                                                                                                                                       Free returns Price adjustment
                                                                                                                                                                                                                                                                                                        Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                                   1/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 393 of 685 PageID #:446




9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu

                                 Very
                               Free   pretty. Love it. not as shinny as I thought it would be but it's still very cute. arrived Free
                                    shipping                                                                                    in justreturns                                         Temu's Tree Planting Program (14M+ trees)
                                 a fewfor
                               Special days.
                                          youfast delivery.                                                                                               Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App

                                   This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…
                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support   EN
                                                                                                                                                                                                                                                Orders & Account
                                  st***23 in         on Feb 17, 2024



                                  Cute girlie gifts for Christmas stockings! Something unique- unexpected for the girls.
                                   This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…


                                  sy***06 in          on Nov 25, 2023



                                  going to be a gift, 100% love these, just beautiful. Used for Christmas ornaments.
                                   This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…



                                                                                          See all reviews




                                                           Yangkai
                                                           29 Followers          4.6K+ Bought            4.7

                                                                               Follow                               Shop all items (58)




                                  Details                                                                                           Save      Report this item

                                  Material: Acrylic

                                  Item ID: WA150356 Copy

                                  Store Information




                                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                                      Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                                 2/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 394 of 685 PageID #:447




9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu


                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support   EN
                                                                                                                                                                                                                                                Orders & Account




                                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                                      Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                                 3/11
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9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu


                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support   EN
                                                                                                                                                                                                                                                Orders & Account




                                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                                        Messages
        COUPONS
                                  Explore your interests
                                                                                                                                                                                                                                                                                                      Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                                 4/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 396 of 685 PageID #:449




9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu


                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support     EN
                                                                                                                                                                                                                                                Orders & Account




                                                 Local 1pc Magnetic Met…                            Creative Magnetic Touch…                            Vintage-Style Butterfly Su…                          HD LIVING Crystal Hum…                              1ps, USB Clock Fan Porta…
                                  Nearly over $68.98                                  $14.39 $93.24 107 bought                             $3.99 $36.66 3 bought                               Nearly over $6.97                                   Nearly over $8.98
                                  Almost sold out                                     Almost sold out                                      Almost sold out                                     Only 6 left                                         Top Rated in Fans & Air Condition…
                                                                                                                                                                                                                                                                      1,047




                                                Vibrant Acrylic Butterfly …                         1pc Levitating Moon Tabl…                           1pc Creative Magnetic Ba…                            1pc Multicolor Flower Sti…            Metal Steampunk Vintage Fashion …
                                     $1.52 $5.59 1 bought                             Nearly over $48.96                                   Last day $14.40                                     Nearly over $3.48 $8.68                             Nearly over $5.27
                                  Only 4 left                                         Only 2 left                                          Almost sold out 90d lowest                          Almost sold out                                     Almost sold out
                                                                                                                                                              63                                                                                                      2,094
                                                                                                                                               Direct from YIMUWN




                                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                                      Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                                 5/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 397 of 685 PageID #:450




9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu


                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support   EN
                                                                                                                                                                                                                                                Orders & Account




                                   Local Creative Magnetic Levitation …                Local 1 Floating Heart-shaped Ligh…                  Local Retro Industrial Robot Water …               100pcs Retro Cheongsam Dress Clo…                                 DIY Steampunk Mechanic…
                                  Nearly over $52.98 In 1 carts                       $50.34 In 4 carts                                    $58.99 $436.68 In 7 carts                           Nearly over $2.48                                      $16.99 $28.00 7 bought
                                  Almost sold out                                     Almost sold out                                                                                          Only 4 left                                          Extra $0.42 off coupon
                                                                                                                                                                                                                                                   Only 2 left




                                  Sweet Y2K Style Butterfly Hair Clips …                            Multifunctional Portable …                           Local Floating Flowers L…                           Local 5pcs Steampunk I…                             1PC Swallowtail Butterfly …
                                  Last day $4.79 $19.99                               Last day $10.31                                      $68.61 $75.00 In 4 carts                            Nearly over $32.45 3 bought                         Nearly over $3.21 $29.99
                                  Only 4 left                                             just bought                                      Almost sold out                                                                                         Only 2 left
                                                                                                         1,205                                 Direct from GDRASUYA10




                                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                                      Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                                 6/11
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9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu


                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support     EN
                                                                                                                                                                                                                                                Orders & Account




                                                Sparkling 3D Butterfly Sti…                         Modern Magnetic Levitat…                            1pc, Industrial Style Wall …                         Vibrant Butterfly Hangin…              Local Cool Industrial Metal Tube R…
                                  Lowest ever $6.29                                   Nearly over $50.57                                   Nearly over $13.48                                  Last day $1.84 $9.24 4 bought                       Nearly over $29.57
                                  Only 8 left                                         Only 2 left                                          Almost sold out                                     Only 5 left                                          Extra $2.95 off coupon
                                                                                                                                                              82                                                                                   Almost sold out




                                                 Local Diffuserlove Essen…                           Local Levitating Flowers …            9 Pairs/ Set Colorful Butterfly Wing …              Housewarming Gift Animal Theme …                                  Multi-Device Wireless Ch…
                                  Nearly over $30.98 $67.99                           $50.93 $148.00 31 bought                             Nearly over $5.71                                   Last day $3.99 5 bought                             Last day $11.97
                                      Direct from Diffuserlove                         Extra $1.69 off coupon                              Almost sold out                                     Almost sold out                                     New Arrival in Wireless Chargers
                                                                                      Almost sold out                                                         251




                                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                                      Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                                 7/11
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9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu


                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support   EN
                                                                                                                                                                                                                                                Orders & Account




                                                1pc Decorative Balls Glas…             Local Steampunk Table Lamp Tube…                                  Local 1pc Coffee Pot, Co…                           Touch-Controlled Magne…                             1pc/20pcs pink crystal bu…
                                  Last day $8.73 $49.99                               Nearly over $30.88 5 bought                          Nearly over $80.08                                     $38.47 $79.99 163 bought                         Nearly over $4.28 $13.10
                                  Almost sold out                                      Extra $0.85 off coupon                              Almost sold out                                     Only 6 left                                         Only 3 left
                                                     113
                                      Direct from YIMUWN




                                                Elegant Purple Crystal Gl…            Cyberpunk Mantis Mechanical Scul…                                  Local Tube Clock, DIY Ni…                           1pc Exquisite Butterfly Sh…                         Dynamic Sand Art Picture…
                                  Nearly over $13.71                                     $20.24 6 bought                                   Nearly over $56.98                                  Nearly over $1.78 $5.59                             Nearly over $6.63
                                  Almost sold out                                      Extra $0.42 off coupon                              Almost sold out                                     Only 1 Left                                         Almost sold out
                                                                                      Only 1 Left
                                                                                                                                               Direct from Nexillumi




                                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                                      Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                                 8/11
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9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu


                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support   EN
                                                                                                                                                                                                                                                Orders & Account




                                                Floral Vintage Style Wom…             Wireless BT Speakers With Wireless …                               Local 1pc Magnetic Met…                Local 5 Pieces Cool Industrial Stea…               20 Sheets/Pack Beautiful Flower Pla…
                                  Nearly over $2.98                                   Last day $11.97                                      Last day $59.84 79 bought                           Nearly over $36.48 In 9 carts                       Nearly over $3.98 16 viewed
                                  Almost sold out                                     Best Seller in Audio & Radio: USB                    Only 9 left                                                                                             Almost sold out
                                                     106                                                 6,571
                                                                                           Direct from Kouzone




                                                Adult Toys, Difficult Hand…                          Local HCNT Levitation A…                            USB Powered 3D Planet …                             100 Sheets Transparent L…             Elegant Handcrafted Rhinestone Bu…
                                  Last day $28.97 $39.99                              Nearly over $44.22 $65.00                            Last day $12.73 $65.99                              Nearly over $2.98                                      $8.54 203 bought
                                  Only 2 left                                          Extra $3.52 off coupon                              Almost sold out 30d lowest                          Almost sold out                                     Almost sold out
                                                                                      Only 3 left                                                                                                                 213




                                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                                      Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                                 9/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 401 of 685 PageID #:454




9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu


                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*
                                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories              butterfly cards                                                                                              Support      EN
                                                                                                                                                                                                                                                Orders & Account




                                   Local Electroplating Magnetic Levit…                Local 1pc In/outdoor 23.6inch Mo…                                 Butterfly Lover's Dream: …            Handmade Steampunk Robot Key C…                                    Local 3D Metal Puzzles F…
                                  Nearly over $42.95 In 3 carts                       Nearly over $117.79                                  Nearly over $1.98 $9.90                             Last day $13.04 12 bought                           Last day $59.81 15 bought
                                  Only 5 left                                         Only 5 left                                          Almost sold out                                     Only 4 left                                         Almost sold out 30d lowest




                                                Magnetic Levitation Float…                          Butterfly Heart Car Decal …                          Resin Steampunk Mecha…                              Local Tabletop Fire Pit - …                         20pcs Crystal Butterfly 3…
                                  Last day $96.03 15 bought                           60d lowest $4.24 $24.99                              Last day $22.47 $38.99                              $43.99 $67.09 151 bought                            Nearly over $2.48 $7.89
                                  Only 2 left                                         Only 9 left                                          Only 5 left                                         Best Seller in Outdoor Heating & …                  Only 8 left




                                                                                                                                                         View more




                                                                                                                                                                                                                                                                                                         99+

         BONUSCompany info                                                                Customer service                                                  Help                                                Download the Temu App                                            Connect with Temu    Messages
        COUPONS
              About Temu                                                                  Return and refund policy                                          Support center & FAQ                                     Track orders any time
                      Temu - Team Up, Price Down!
                                                                                          Intellectual property policy                                      Safety center                                            Low stock items alerts                                                           Feedback
                      AffiliateFree   shipping
                                & Influencer: Earnspecial for you
                                                   Commission                                 Price adjustment within 30 days
                                                                                          Shipping info                                                     Temu purchase protection                                 Coupons & offers alerts
https://www.temu.com/express-your-love-with-car-accessories-the-perfect-choice-for-couples-and-holiday-gifts-includes-a-2d-acrylic-butterfly-pendant-suitable-for-car-interior-rearview-mirror-decoration-and-available-in-bag-and-keychain-accessories-g-601099587331602.html                              10/11
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9/16/24, 3:20 PM                                                                                                                                           Car Accessories: Couples Holiday - Temu

                      Contact us                                                          Your Recalls and Product Safety Alerts                           Sitemap
                               Free shipping                                                                                                              Free returns
                               Special for you                                                                                                            Up to 90 days*                                                    Download on the
                                                                                                                                                                                                                                                                                   Get the Temu App
                      Careers                                                             Report suspicious activity                                        How to order
                                                                                                                                                                                                                            App Store
                      Press                                                                                                                                 How to track                                                                        Hello, Mike Kate
                                        Best Sellers           5-Star Rated           Anniversary Sale             Local Warehouse          Categories           butterfly cards                                                                                                 Support   EN
                                                                                                                                                                                                                            Get it on           Orders & Account
                      Temu's Tree Planting Program                                                                                                          Partner with Temu
                                                                                                                                                                                                                            Google Play



                      Security certification                                                                                                                We accept




                                                                                                            © 2024 WhaleCo Inc.         Terms of use      Privacy policy     Your privacy choices             Ad Choices




                                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                                      Feedback



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9/16/24, 3:20 PM                                                                                                                                   Temu


                          Free shipping                                                                                        Delivery guarantee
                          Special for you                                                                                      Refund for any issues
                                                                                                                                                                                                                                           Get the Temu App


                                  All data is encrypted


                   Home      Checkout

                                                                                                                                                                                                Order summary
                             Free shipping special for you

                                                                                                                                                                                                  Enter coupon code                                      Apply
                   Shipping address                                                                                                                           Change address

                                                                                                                                                                                                Apply coupon code
                      Mike Kate +1 (847)653-0228
                      1 N La Salle St                                                                                                                                                           Item(s) total:                                            $126.39

                      CHICAGO, IL 60602-3902, United States                                                                                                                                     Item(s) discount:                                        -$106.92

                                                                                                                                                                                                Subtotal:                                                   $19.47


                   Ships from Temu (11) 1 item is almost gone!                                                                                                                                  Shipping:                                                      FREE
                                                                                                                                                                                                   Free shipping for items shipped from Temu is an exclusive
                                                   Express Your Love with Car Accessories: The Perfect Choice for Couples and Holiday Gifts! Includes a 2D Acrylic But…                         offer. Please submit your order as soon as possible.
                                                   1pc
                                                                                                                                                                 Qty:   11                      Sales tax:                                                   $2.00
                                                   Lightning deal | -84% final hours
                                                                                                                                                                                                Order total:                                               $21.47


                         Almost sold out                                                                                                                                                        Plant with Temu
                                                     $1.77 $11.49
                                                                                                                                                                                                     We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                                         Submit order
                                                                                                                                                                                                                            1 almost sold out
                   Payment methods
                                                                                                                                                                                                    Temu's Tree Planting Program
                                   Visa ...1950                                                                                                                         Edit
                                                                                                                                                                                                Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                Future to plant trees across sub-Saharan Africa
                                   Add a new card


                                   PayPal           Remember my PayPal                                                                                                                              Temu protects your card information
                                                                                                                                                                                                    Temu follows the Payment Card Industry Data Security
                                   Cash App Pay                                                                                                                                                     Standard (PCI DSS) when handling card data
                                                                                                                                                                                                    Card information is secure and uncompromised
                                                                                                                                                                                                    All data is encrypted
                                   Afterpay       4 interest-free payments of $5.36
                                                                                                                                                                                                    Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"79e54e1a-bad8-45bb-9fa0-e7d40473a24b"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_amount%5C"%3A8845%7D"%7D&goods_amount=12&source_channel=1&title=Checkout&r…   1/2
                            Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 404 of 685 PageID #:457




9/16/24, 3:20 PM                                                                                                                                   Temu

                                   Klarna     4 interest-free payments of $5.36


                                   Venmo

                                                                                                                                                                                                    Secure privacy
                                   Google Pay                                                                                                                                                   Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                that your information will be kept secured and
                                   Affirm                                                                                                                                                       uncompromised. We do not sell your personal information
                                   $35 product minimum applies                                                                                                                                  for money and will only use your information in accordance
                                                                                                                                                                                                with our privacy and cookie policy to provide and improve
                                   PayPal Pay Later                                                                                                                                             our services to you.
                                   $30 product minimum applies                                                                                                                                  Learn more

                                                                                                                                                                                                    Delivery guarantee
                                                                                                                                                                                                    $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                                    15-day no update refund         30-day no delivery refund
                                                                                                                                                                                                Learn more

                                                                                                                                                                                                    Temu purchase protection
                                                                                                                                                                                                Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                wrong, we've always got your back.
                                                                                                                                                                                                Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"79e54e1a-bad8-45bb-9fa0-e7d40473a24b"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_amount%5C"%3A8845%7D"%7D&goods_amount=12&source_channel=1&title=Checkout&r…   2/2
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 405 of 685 PageID #:458
            Free shipping                                                                                     Delivery guarantee
            On items shipped from Temu                                                                        Refund for any issues
                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                            Orders &
                Best Sellers   5-Star Rated    Local Warehouse Categories        Zcshowme acrylic butterfly                                                                                                  EN     Cart
                                                                                                                                                                                            Account


                                Home      Home & Kitchen        Home Decor Products      Charming 2-piece Acrylic B...

                                                                                                                          Charming 2-piece Acrylic Butterfly Keychain Set -
                                                                                                                          Perfect For Birthdays, Anniversaries And Holidays -
                                                                                                                          Versatile Charm For Bags, Cars And Homes
                                                                                                                                Local warehouse       Fastest delivery in 3 business days

                                                                                                                          Provided by      (325 sold)


                                                                                                                          $6.98 Pay $1.74 today
                                                                                                                                                      4 interest-free biweekly installments


                                                                                                                                              Free shipping on orders over $30 from
                                                                                                                                              this provider

                                                                                                                          Quantity: 2pcs

                                                                                                                          Qty      1                 Almost sold out


                                                                                                                                                                           Buy now
                                                                                                                                      Add to cart                         Almost sold out



                                                                                                                                Ships from this local warehouse
                                                                                                                                Standard: $2.99 or FREE (if ordering $30.00+ from this local
                                                    Demurecandle                                                                warehouse), Fastest delivery in 3 business days
                                                    13              325      4.7
                                                                                                                                Temu's Commitments
                                                    Followers       Sold     Rating
                                                                                                                                 Security & Privacy        Delivery guarantee
                                                                                                                                    Safe payments            $5.00 Credit for delay           Return
                                        Contact provider                   Follow             All items (101)                       Secure privacy           15-day no update refund          20-day


                                                                                                                                Free returns Price adjustment
                                Details                                               Save    Report this item
                                                                                                                                Temu's Tree Planting Program (14M+ trees)
                                Material: Acrylic

                                Recommended Usage: Multipurpose

                                Mounting Type: Wall hanging

                                See more

                                    Learn about dimensions




                                Explore your interests




                                20pcs Fantasy Themed Butterfly …           120pcs Vintage Butterfly Scrapb…          Local 300 Sheets Vintage Scrapb…         Local 22pcs, Silicone Kitchen Ba…

                                $3.43 7 sold                                $5.08 $11.99 2 sold                     $13.49 199 sold                          $47.99
                                Only 5 left                                Only 1 Left                              Almost sold out                          Almost sold out


                                   High repeat customers provider
                                                                                                                                                                                                                           24
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            Free shipping on items shipped from
                                                                               Price adjustment within 30 days
            Temu
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 406 of 685 PageID #:459
            Free shipping                                                                                Delivery guarantee
            On items shipped from Temu                                                                   Refund for any issues
                                                                                                                                                                                            Get the Temu App


                                                                                                                                                                                 Orders &
                Best Sellers   5-Star Rated   Local Warehouse Categories                                                                                                                          EN     Cart
                                                                                                                                                                                 Account




                                      Quartz Butterfly Series Gold…           1pc Exquisite Butterfly-Shap…         180 Pieces Princess Themed…      Local 4Pcs Acrylic Fairy Pendant …

                                $1.16 $2.50 In 2 carts                $1.98 $16.49 5.2K+ sold                  $3.82 $15.99 426 sold                   $7.64 36 sold
                                Almost sold out                       Almost sold out                          Almost sold out                       Almost sold out
                                                                                      755                                    52
                                                                                                                  High repeat customers provider        Fast delivery provider




                                 Local 1pc Heavy-Duty Collapsibl…             Double-Sided Swan Pendan…        6pcs Floral and Butterfly Decorat…         Local GardenCraft Style Acr…

                                $33.99 $149.99       1.8K+ sold       $13.98 $16.57 901 sold                   $5.72 467 sold                        $9.96 $13.99 8 sold
                                Best Seller in Carriers & Travel …    Only 6 left                              Almost sold out                       Extra $0.50 off coupon
                                              65                                      116                                    58                      Only 2 left
                                   Authorized by BRANDON-SU…                                                      High repeat customers provider        High repeat customers provider




                                      5pcs Gradient Blue Wings B…             1pc Acrylic Butterfly Hangin…         Vintage Butterfly Sticker Set…        Local [Fast Arrival] S925 En…

                                $3.14 $3.34 9 sold                         $1.26 $1.62 12 sold                   $1.87 $3.02 2 sold                    $8.22 $44.99 93 sold
                                Only 1 Left                           Only 4 left                              Only 2 left Lowest price ever         Almost sold out
                                   High repeat customers provider                                                 High repeat customers provider
                                                                                                                                                        Fast delivery provider




                                Moonlit Witch Crystal Pendant, 8…      Local Colorful Fox Acrylic Penda…            Houndstooth Glitter Butterfl…         Local [Fast Arrival] 1pc Hea…

                                  $4.49 5.5K+ sold                    $12.37 2 sold                            $6.38 $13.99 In 3 carts               $32.84 $111.99      2.7K+ sold
                                Best Seller in Seasonal Decor: A…      Extra $0.78 off coupon                  Almost sold out                       Most Repurchased in Grills & O…
                                              200                     Almost sold out                                                                              171
                                                                                                                                                        High repeat customers provider




                                 Local 2 pack Jute Rope Hanging …             1pc Acrylic Butterfly Fairy H…        Sparkling 3D Butterfly Stick…         Valentine's Day Gift 2D Acry…
                                $15.99                                Last 4 hours $2.69 125 sold              $4.41 $14.99 3 sold                     $1.69 $11.49 8 sold
                                Almost sold out                       Only 8 left                              Only 7 left                           Only 5 left
                                   High repeat customers provider




                                 Local 60PCS 6 Packs Paper Fram…      Chic Butterfly Acrylic Drop Earrin…      100pcs Assorted Gentle Pastel Sh…     Local 100pcs Butterfly Garden D…

                                $7.20 $16.99 65 sold                  $1.10 $8.99 1.3K+ sold                   Last 4 hours $9.09 308 sold           $13.98 66 sold
                                Almost sold out                       Almost sold out                          Almost sold out                       Only 4 left
                                                                                      143
                                                                            Established 1 year ago




                                                                                                                                                                                                                24
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            Free shipping on items shipped
                                 Acrylic      from
                                         Butterfly Car Hangin…                Colorful Butterfly Shape Pe…     Local Colorful Moon Phase Cat …       20pcs Crystal Butterfly 3D Sticker…
                                                                             Price adjustment within 30 days
            Temu
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 407 of 685 PageID #:460
            Free shipping         $3.87 $8.83 20 viewed                Only 3 left                           Almost
                                                                                                        Delivery    sold out
                                                                                                                 guarantee                         Only 8 left
                                Almost
            On items shipped from Temusold out                                                          Refund for any issues
                                                                                                                                                                                          Get the Temu App
                                                                                       156
                                                                                                                                                      Established 1 year ago
                                                                                                                                                                               Orders &
                Best Sellers   5-Star Rated   Local Warehouse Categories                                                                                                                        EN     Cart
                                                                                                                                                                               Account




                                      Local 1Pcs-2Pcs LED Butterf…     Festive 180pcs Vintage Fantasy L…      Local Wings of Freedom, Purple …          Local GardenCraft Style Acr…

                                  $193.49 $698.89 11 sold              $10.81 1 sold                          $4.98 2 sold                         $9.98 $13.99 14 sold
                                 Extra $10.09 off coupon               Only 4 left                            Only 8 left                          Extra $0.50 off coupon
                                Almost sold out                             High repeat customers provider                                         Only 6 left
                                                                                                                                                      High repeat customers provider




                                      Elegant Crystal & Rhineston…     Local 1pc Vibrant Multifunctiona…      4 Pack Vintage PET Stickers for J…   Local 1pc, Whimsical Magic Butt…

                                  $7.62 $63.40     2K+ sold            $3.48 3.3K+ sold                         $18.44 278 sold                    $7.98 14 sold
                                Almost sold out                        Most Repurchased in Climbing …         Almost sold out                      Only 2 left
                                              265                                      222
                                                                            High repeat customers provider       Established 1 year ago




                                10pcs Rose Golden Crystal Artific…            Unique 2D Purple Butterfly …    Alloy Butterfly and Heart-Shaped…    Local Vibrant Heart-Shaped 8"x8…

                                  $4.92 $43.90 27K+ sold               $1.37 $1.48 1.1K+ sold                   $6.36 8 sold                       $9.98 38 sold
                                Best Seller in Party Decorations…      Almost sold out                        Almost sold out                      Almost sold out
                                              3,010                                    96
                                                                                                                 High repeat customers provider




                                      DIY Journal Set for Girls wit…          30pcs Butterfly Lace Embelli…   Local 60 Vivid Image Of Hallowe…     Fairy-Themed Acrylic Earrings Se…
                                  $20.24 $26.09 89 sold                $2.26 $2.48 766 sold                   $14.97 In 1 carts                      $8.06 270 sold
                                Almost sold out                        Almost sold out                        Only 8 left                          Almost sold out
                                                                                       68
                                                                            High repeat customers provider




                                      80pcs Set of Sparkling 3D B…            1 Pair of Earrings + 1 Neckl…         Local 20pcs Colorful Rose …         Vintage Owl Types Chart - …
                                  $5.91 $14.99 1.2K+ sold              $3.51 $12.71 553 sold                  $12.73 $26.30 30 sold                $1.59 $13.99 674 sold
                                Almost sold out                        Almost sold out                                                             Almost sold out
                                              65                                       88                                                                          58
                                                                                                                                                      Established 1 year ago




                                 Local 35/40pcs (random) Rabbit …      Local 36 $heets 12'x12" Fall Pum…           120pcs Iridescent Golden F…          Sun and Moon Butterfly Ha…
                                $23.74 18 sold                             $8.76 11 sold                      $5.76 $16.99 6 sold                    $3.23 $3.99 367 sold
                                Only 9 left                            Almost sold out                        Only 3 left                          Almost sold out
                                                                                                                 Established 1 year ago
                                   High repeat customers provider                                                                                     High repeat customers provider




                                                                                                                                                                                                              24
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            Free shipping on items shipped from
                                                                             Price adjustment within 30 days
            Temu
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 408 of 685 PageID #:461
                  Free shipping                                                                                    Delivery guarantee
                  On items shipped from Temu                                                                       Refund for any issues
                                                                                                                                                                                                        Get the Temu App


                                                                                                                                                                                           Orders &
                       Best Sellers     5-Star Rated   Local Warehouse Categories                                                                                                                              EN      Cart
                                                                                                                                                                                           Account




                                          Local 12pcs Adjustable Friendshi…      Local 1pc, Blonde Woman in Lin…           240-Piece Blossom Dream Tulle S…      Vintage Tin Sign: Blue Butterfly T…
                                         $11.79 314 sold                        $19.48 6 viewed                            Last 4 hours $4.08 92 sold            $7.48 4 sold
                                         Almost sold out                        Almost sold out                            Almost sold out                       Almost sold out
                                                                                                                                                                     High repeat customers provider
                                                                                                                              High repeat customers provider



                                                                                                                 View more




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          About Temu                                           Return and refund policy                             Support center & FAQ                       Track orders any time
          Temu - Team Up, Price Down!                          Intellectual property policy                         Safety center                              Low stock items alerts
          Affiliate & Influencer: Earn Commission
                                                               Shipping info                                        Temu purchase protection                   Coupons & offers alerts
          Contact us
                                                               Your Recalls and Product Safety Alerts               Sitemap
                                                                                                                                                                    Download on the
          Careers
                                                               Report suspicious activity                           How to order                                    App Store
          Press
                                                                                                                    How to track
                                                                                                                                                                    Get it on
          Temu's Tree Planting Program
                                                                                                                    Partner with Temu                               Google Play



          Security certification                                                                                    We accept




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                                                                                                                                                                                                                              24
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COUPONS
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 409 of 685 PageID #:462
              Free shipping                                                                        Delivery guarantee
              Special for you                                                                      Refund for any issues
                                                                                                                                                                                          Get the Temu App


                      20-day no delivery refund


       Home     Checkout

                                                                                                                                                                                Order summary
                Free shipping on all items of this order

                                                                                                                                                                                 Enter coupon code      Apply
       Shipping                                                                                                                                                       Change

                                                                                                                                                                                Apply coupon code
         steven howard (554)626-5486
         1 N La Salle St                                                                                                                                                        Item(s) total:             $69.80

         CHICAGO, IL 60602-3902, United States
                                                                                                                                                                                Shipping:                     FREE
            Please check if the apt, suite, or room number is correct.
                                                                                                                                                                                Sales tax:                    $7.15



                                                                                                                                                                                Order total:            $76.95
          Free shipping from              Demurecandle (10) Local

                                   Charming 2-piece Acrylic Butterfly Keychain Set - Perfect For Birthdays, Anniversaries And Holidays - Versatile Charm For Bags, Cars And …   Plant with Temu
                                   2pcs                                                                                                                                             We invite you to plant a
                                                                                                                                                               Qty:    10
                                                                                                                                                                                    tree for $0.35
                                   Temu Fest | Limited time

                                                                                                                                                                                       Submit order
                                                                                                                                                                                          1 almost sold out

           Almost sold out
                                   $6.98
                                                                                                                                                                                   Temu's Tree Planting
       Standard shipping: FREE, delivery: 3-6 business days, fastest delivery in 3 business days                                                                                Program
                                                                                                                                                                                Temu and its users have
                                                                                                                                                                                donated funds to Trees for the
       Payment methods                                                                                                                                                          Future to plant trees across
                                                                                                                                                                                sub-Saharan Africa
                      Card


                 All transactions are secure and encrypted
                                                                                                                                                                                   Delivery guarantee
               * Card number                                                                                                                                                       $5.00 Credit for delay
                                                                                                                                                                                   Return if item damaged
                        4041 1789 5899 9192
                                                                                                                                                                                   15-day no update refund
                                                                                                                                                                                   20-day no delivery refund
               * Expiration date                                                               * CVV                                                                            Learn more

                 12                                          2028                                  591                                                                             Temu protects your card
                                                                                                                                                                                   information
                                                                                                                                                                                   Temu follows the Payment
                   Remember this card for future use, Temu follows the Payment Card Industry Data Security Standard (PCI DSS) when handling card data.                             Card Industry Data Security
                                                                                                                                                                                   Standard (PCI DSS) when
                                                                                                                                                                                   handling card data
               * Billing address                                                                                                                                        Edit
                                                                                                                                                                                   Card information is secure
               steven howard, 1 N La Salle St, CHICAGO, IL 60602-3902, United States
                                                                                                                                                                                   and uncompromised
                                                                                                                                                                                   All data is encrypted
                      PayPal                                                                                                                                                       Temu never sells your card
                                                                                                                                                                                   information

                      Cash App Pay


                      Afterpay     4 interest-free payments of $19.23


                      Klarna     4 interest-free payments of $19.23
                                                                                                                                                                                   Secure privacy
                                                                                                                                                                                Protecting your privacy is
                      Affirm     4 interest-free payments or as low as $7.12/mo
                                                                                                                                                                                important to us! Please be
                                                                                                                                                                                assured that your information
                      Venmo                                                                                                                                                     will be kept secured and
                                                                                                                                                                                uncompromised. We do not
                                                                                                                                                                                sell your personal information
                      Google Pay                                                                                                                                                for money and will only use
                                                                                                                                                                                your information in
                      PayPal Pay Later                                                                                                                                          accordance with our privacy
                                                                                                                                                                                and cookie policy to provide
                                                                                                                                                                                and improve our services to
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                                                                                                                                                                                your back.
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   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 411 of 685 PageID #:464
            Free shipping                                                                                Delivery guarantee
            Special for you                                                                              Refund for any issues
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                                                                                                                                                                                                Orders &
                 Best Sellers   5-Star Rated    Local Warehouse Categories        601099525753759                                                                                                                EN     Cart
                                                                                                                                                                                                Account


                                 Home      Automotive    Keychains & Key Shells       2D Acrylic Pink Butterfly ...

                                                                                                                            2D Acrylic Pink Butterfly Car Sticker: Add a Touch
                                                                                                                            of Agility to Your Ride
                                                                                                                            2.9K+ sold Provided by          (100K+ sold)        4.5


                                                                                                                            $1.98 Pay $0.49 today -82% limited time $11.49
                                                                                                                                                        4 interest-free biweekly installments


                                                                                                                                                Free shipping special
                                                                                                                                                                                        Exclusive offer
                                                                                                                                                for you

                                                                                                                            Quantity: 1pc

                                                                                                                            Qty     1


                                                                                                                                                         Add to cart



                                                                                                                                  Ships from Temu

                                                                                                                                   Standard: FREE                                            Express: $
                                                                                                                                   Delivery: Fastest delivery in 4 business days
                                 349 reviews            4.5                                                                                                                                  Delivery: F
                                                                                                                                   Courier company:        DHL eCommerce ...
                                      All reviews are from verified purchases                                                                                                                Courier co

                                 Item reviews (349)           Provider reviews (37,232)                                           Temu's Commitments

                                                                                                                                   Security & Privacy        Delivery guarantee
                                        (281)        Pretty(27)       Satisfied(15)         Beautiful(17)                            Safe payments             $5.00 Credit for delay             Return
                                                                                                                                     Secure privacy            15-day no update refund            30-day
                                 dj**fw in      on Sep 29, 2024

                                                                                                                                  Free returns Price adjustment
                                 This turned out to be much better than I anticipated! I’m using it as a                          Temu's Tree Planting Program (14M+ trees)
                                 decoration for the front of a card, and it’s even nicer than what was
                                 shown online. There’s no visible plastic around the butterfly, and the
                                 craftsmanship is excellent for what you’re purchasing. I love it, and it’s
                                 perfect for my project. I was pleasantly surprised, especially afterSee
                                                                                                      seeing
                                                                                                         morea


                                 Marthela Perrett in       on Apr 12, 2024



                                 great bargain.,gifts, pleased with product, loved them thank you,
                                 beautiful piece, Just like pictures, Thanks, great bargain.,gifts, recommend
                                 purchasing


                                 ba***48 in      on Jan 20, 2024



                                 love it, pleased with product, perfect gift, keeper, beautiful piece



                                                                  See all reviews




                                                     Unique People
                                                     1.2K+          100K+       4.7
                                                     Followers      Sold        Rating



                                                  Follow                            Shop all items (134)


                                     Established 1 year ago




                                 Details                                               Save     Report this item

                                 Material: Acrylic

                                 Item ID: MC29120 Copy

                                 Store Information




                                                                                                                                                                                                                               24
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            Free shipping special for you                        Price adjustment within 30 days
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 412 of 685 PageID #:465
            Free shipping                                                                         Delivery guarantee
            Special for you                                                                       Refund for any issues
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                                                                                                                                                                                Orders &
                 Best Sellers   5-Star Rated   Local Warehouse Categories                                                                                                                        EN     Cart
                                                                                                                                                                                Account




                                 Explore your interests




                                       One Unique Vintage Colorf…      20pcs/pack Vintage Butterfly Stic…          Elegant Butterfly Pendant N…       80-Piece Holographic 3D Butterfl…
                                 $1.91 $17.49 13K+ sold                $1.21 2 sold                           Last 4 hours $6.29 76 sold                $3.99 6 sold
                                 Almost sold out                       Only 6 left                            Almost sold out                         Only 8 left
                                               1,699                         Low item return rate provider
                                    High repeat customers provider




                                       1pc Dazzling Sparkling Rhin…     Local 6 Pieces Of Creative Butter…          Local [Fast Arrival] 3 Pieces …   30pcs/pack Cute Funny Cartoon …
                                 Last 4 hours $2.61 1.3K+ sold              $13.59 In 1 carts                 $7.66 $29.99 3 sold                     $1.59 $2.49 14K+ sold
                                 Almost sold out                       Almost sold out                        Only 3 left                             Almost sold out
                                               90                                                                                                                     1,910
                                    High repeat customers provider                                                                                       High repeat customers provider




                                       155pcs Scenic Pattern Loos…      Local [Fast Arrival] Whimsical 2D…         Exquisite Butterfly Copper E…      Inspirational Butterfly-Shaped Ac…
                                   $9.44 $19.99 120 sold               $4.98 20 sold                          $3.59 $25.99 662 sold                     $2.11 $11.99 112 sold
                                 Almost sold out                       Almost sold out                        Only 5 left                             Almost sold out
                                                                                                                             74
                                    High repeat customers provider                                               High repeat customers provider




                                       162pcs Butterfly Scrapbooki…    Vintage-Inspired Butterfly Penda…      Local Set Of Two Classic Butterfl…      Local Laptop Decals, Nature Pur…

                                   $7.19 $11.89 6 sold                 $1.55 64 sold                          $8.98 In 1 carts                        $4.98 12 sold
                                 Only 7 left                           Only 8 left                            Almost sold out                         Almost sold out                                          24
 BONUS                              High repeat customers provider
COUPONS                                                                      High repeat customers provider                                              High repeat customers provider


            Free shipping special for you                    Price adjustment within 30 days
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 413 of 685 PageID #:466
            Free shipping                                                                          Delivery guarantee
            Special for you                                                                        Refund for any issues
                                                                                                                                                                                            Get the Temu App


                                                                                                                                                                                 Orders &
                 Best Sellers   5-Star Rated   Local Warehouse Categories                                                                                                                         EN     Cart
                                                                                                                                                                                 Account




                                 Elegant Butterfly Hair Clip - Chic …          Local [Fast Arrival] 5-Piece …   180pcs Decorative Craft Paper Se…         1pc Exquisite Acrylic Butterf…
                                   $0.75 $8.12 263 sold                 $3.64 $21.00 3 sold                       $7.19 228 sold                     $1.83 $3.49 3.8K+ sold
                                 Almost sold out                        Almost sold out                         Almost sold out                      Only 8 left
                                                                                                                                                                   467
                                    High repeat customers provider                                                 High repeat customers provider




                                       Local Stunning Butterfly De…     Boho Style Alloy Butterfly Jewelr…      Local 10 Packs Vibrant Rose Gar…     Set of 4 Feathered Artificial Blue …
                                 $9.48 $37.51 8 sold                        $1.26 16 sold                         $17.99 55 sold                     Last 4 hours $3.17 290 sold
                                                                        Only 4 left                             Almost sold out                      Almost sold out
                                    High repeat customers provider
                                                                                                                   Direct from ruonaorou                High repeat customers provider




                                 9 Pair Set - Vibrant Butterfly Win…           Vintage Butterfly Waterslide…    Local 120 Pcs Romantic Lace Bor…     Glam Style Fairy Earrings Set, 5 P…
                                 $6.12 2.6K+ sold                           $1.81 $7.29 15 sold                 $9.98 34 sold                        $4.35 123 sold
                                 Almost sold out                        Only 2 left                             Almost sold out                      Almost sold out
                                               261
                                                                                                                   Low item return rate provider        High repeat customers provider




                                       Boho-Chic Butterfly Pendan…             Acrylic Rose Hanging Orna…            Chic Blue Gradient Butterfly…        Local 200 Pcs DIY Suncatch…
                                 Last 4 hours $1.13 106 sold            $1.81 $2.49 169 sold                    $6.31 $29.00 3 sold                  $7.98 $29.99 91 sold
                                 Almost sold out                        Almost sold out                         Only 2 left                          Almost sold out


                                    High repeat customers provider




                                  Local Colorful Butterfly Necklace…           100 Pcs/Box Waterproof PE…       1pc Green Butterfly Acrylic Pend…    1pc Blue Butterfly Acrylic Heart …
                                 $16.19 10 viewed                       Last 4 hours $3.32 $6.99                  $1.31 8 sold                         $1.97 $11.98 3.9K+ sold
                                                                        Only 3 left                             Almost sold out                                    545
                                                                             High repeat customers provider        High repeat customers provider




                                 5PCS Alloy Butterfly Teardrop Sty…            Luxurious Butterfly Shaped …     Local 100pcs Butterfly Garden D…          Halloween Stickers Pack, Sel…
                                   $5.94 4 sold                         $4.48 $32.98 10K+ sold                  $13.98 66 sold                         $3.14 $18.41 933 sold
                                 Almost sold out                        Almost sold out                         Only 4 left                          Almost sold out
                                                                                       1,361                                                                       56
                                    High repeat customers provider                                                                                      High repeat customers provider




                                                                                                                                                                                                                24
 BONUS
COUPONS

                                 162pcs Butterfly Scrapbooking Ki…      Adorable 4pcs Fashion Jewelry S…             Local 4pcs K9 Crystal Facet…    2/6pcs Colorful Scrapbook Precis…
            Free shipping special for you                    Price adjustment within 30 days
                                   $8.79 1 sold                         $1.98 3.9K+ sold                        $6.16 $10.65 848 sold                $1.26 $11.99 48K+ sold
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 414 of 685 PageID #:467
                  Free shipping          Only 1 Left                             Almost sold out                         Extra $0.14 off coupon
                                                                                                              Delivery guarantee                                       Almost sold out
                  Special for you                                                                             Refund for any issues
                                                                                                                                                                                                                    Get the Temu App
                                            High repeat customers provider                       787                      Only  7 left                                                4,648
                                                                                                                                             133                           Low item return rate provider
                                                                                                                                                                                                        Orders &
                       Best Sellers     5-Star Rated   Local Warehouse Categories                                                                                                                                          EN      Cart
                                                                                                                                                                                                        Account




                                         6-Inch Glittering Jewel Butterfly …           6 Pairs Exquisite Butterfly D…               Local Exquisite Handcrafte…         Local Gold and Pink clip-on Butt…

                                         $1.62 202 sold                          $4.83 $12.89 2.5K+ sold                     $9.98 $88.61 206 sold                     Last 4 hours $12.43 In 2 carts
                                         Almost sold out     just bought         Almost sold out                             Almost sold out                           Only 3 left
                                                                                                 331
                                            High repeat customers provider           High repeat customers provider




                                         Alloy Butterfly and Heart-Shaped…       Colorful Butterfly Washi Tape, 78.…                Butterfly Trio Jewelry Set - …     48pcs Invisible Orchid Series Stic…
                                           $6.36 8 sold                             $2.70 78 sold                            $1.98 $16.99 13K+ sold                      $3.63 23 sold
                                         Almost sold out                         Only 2 left                                                 2,388                     Almost sold out

                                                                                                                                High repeat customers provider             High repeat customers provider
                                            High repeat customers provider           High repeat customers provider




                                               Chic Pink Rose Acrylic Pend…      [Hot-Sale] Peacock Fairy Acrylic P…                Local Glow-in-the-Dark Fir…               Beautiful Wooden Miniatur…
                                           $1.69 $2.48 1.4K+ sold                   $1.08 $3.49 322 sold                      $7.67 $19.99 274 sold                      $9.47 $74.40       14K+ sold
                                         Lowest price ever                       Almost sold out                                                                       Almost sold out
                                                       109                                                                      Authorized by Annmors                                 1,486
                                                                                     High repeat customers provider




                                               Vintage Dreams Collection …             Sun and Moon Butterfly Ha…                   1pc Butterfly Car Pendant, E…       Local 12-Pack Assorted Butterfly…

                                           $5.39 $12.99 224 sold                    $3.23 $3.99 367 sold                     $1.78 $9.99 588 sold                      $7.62 In 11 carts
                                         Only 2 left                             Almost sold out                             Almost sold out                            Extra $0.28 off coupon
                                                                                                                                             70                        Almost sold out
                                            High repeat customers provider           High repeat customers provider



                                                                                                                   View more




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                                                               Intellectual property policy                           Safety center                                  Low stock items alerts
          Affiliate & Influencer: Earn Commission
                                                               Shipping info                                          Temu purchase protection                       Coupons & offers alerts
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                                                                                                                      How to track
                                                                                                                                                                          Get it on
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                                                                                                                      Partner with Temu                                   Google Play



          Security certification                                                                                      We accept




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                                                                                                                                                                                                                                          24
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COUPONS
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 415 of 685 PageID #:468
              Free shipping                                                                         Delivery guarantee
              Special for you                                                                       Refund for any issues
                                                                                                                                                                          Get the Temu App


                      Return if item damaged


       Home     Checkout

                                                                                                                                                                Order summary
                Free shipping special for you

                                                                                                                                                                 Enter coupon code      Apply
       Shipping                                                                                                                                        Change

                                                                                                                                                                Apply coupon code
         steven howard (554)626-5486
         1 N La Salle St                                                                                                                                        Item(s) total:          $114.90

         CHICAGO, IL 60602-3902, United States                                                                                                                  Item(s) discount:       -$95.10
            Please check if the apt, suite, or room number is correct.
                                                                                                                                                                Subtotal:                  $19.80


                                                                                                                                                                Shipping:                   FREE
                                                                                                                                                                   Free shipping for items
          Free shipping from Temu (10)
                                                                                                                                                                shipped from Temu is an
                                   2D Acrylic Pink Butterfly Car Sticker: Add a Touch of Agility to Your Ride                                                   exclusive offer. Please submit
                                                                                                                                                                your order as soon as possible.
                                   1pc                                                                                                          Qty:     10
                                                                                                                                                                Sales tax:                  $2.03
                                   Temu Fest | -82% limited time

                                                                                                                                                                Order total:            $21.83


                                   $1.98 $11.49                                                                                                                 Plant with Temu
                                                                                                                                                                    We invite you to plant a
       Standard shipping: FREE, delivery: 4-8 business days, fastest delivery in 4 business days
                                                                                                                                                                    tree for $0.35


       Payment methods                                                                                                                                                  Submit order

                      Card
                                                                                                                                                                   Temu's Tree Planting
                                                                                                                                                                Program
                 All transactions are secure and encrypted
                                                                                                                                                                Temu and its users have
               * Card number                                                                                                                                    donated funds to Trees for the
                                                                                                                                                                Future to plant trees across
                       4041 1789 5899 9192                                                                                                                      sub-Saharan Africa


               * Expiration date                                                                 * CVV

                                                                                                                                                                   Delivery guarantee
                 12                                          2028                                  591
                                                                                                                                                                   $5.00 Credit for delay
                                                                                                                                                                   Return if item damaged
                   Remember this card for future use, Temu follows the Payment Card Industry Data Security Standard (PCI DSS) when handling card data.             15-day no update refund
                                                                                                                                                                   30-day no delivery refund
               * Billing address                                                                                                                         Edit   Learn more
               steven howard, 1 N La Salle St, CHICAGO, IL 60602-3902, United States
                                                                                                                                                                   Temu protects your card
                                                                                                                                                                   information
                                                                                                                                                                   Temu follows the Payment
                      PayPal                                                                                                                                       Card Industry Data Security
                                                                                                                                                                   Standard (PCI DSS) when
                      Cash App Pay                                                                                                                                 handling card data
                                                                                                                                                                   Card information is secure
                                                                                                                                                                   and uncompromised
                      Afterpay     4 interest-free payments of $5.45
                                                                                                                                                                   All data is encrypted
                                                                                                                                                                   Temu never sells your card
                      Klarna     4 interest-free payments of $5.45                                                                                                 information


                      Venmo


                      Google Pay


                      Affirm
                                                                                                                                                                   Secure privacy
                      $35 product minimum applies
                                                                                                                                                                Protecting your privacy is
                      PayPal Pay Later                                                                                                                          important to us! Please be
                      $30 product minimum applies                                                                                                               assured that your information
                                                                                                                                                                will be kept secured and
                                                                                                                                                                uncompromised. We do not
                                                                                                                                                                sell your personal information
                                                                                                                                                                for money and will only use
                                                                                                                                                                your information in
                                                                                                                                                                accordance with our privacy
                                                                                                                                                                and cookie policy to provide
                                                                                                                                                                and improve our services to
                                                                                                                                                                you.
                                                                                                                                                                Learn more

                                                                                                                                                                   Temu purchase protection
                                                                                                                                                                Shop confidently on Temu
                                                                                                                                                                knowing that if something
                                                                                                                                                                goes wrong, we've always got
                                                                                                                                                                your back.
                                                                                                                                                                Learn more
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 416 of 685 PageID #:469
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 417 of 685 PageID #:470




              Free shipping                                                                                   Free returns
                                                                                                                                                                                                                  Get the Temu App
              Special for you                                                                                 Up to 90 days*

                                                                                                                                                                                               Orders &
                    Best Sellers    5-Star Rated       Early Black Friday    Local Warehouse   Categories       acrylic butterfly rearview mirror pendant                                                        Support     EN
                                                                                                                                                                                               Account


                   Home       Automotive     Interior Accessories    Unique Butterfly-Shaped Ac...

                                                                                                                                 Unique Butterfly-Shaped Acrylic Pendant - Hanging Ornament
                                                                                                                                 for Christmas Tree, Backpack, Couple Gift, and Home
                                                                                                                                 Decoration with Vibrant Colors and Delicate Details
                                                                                                                                 8K+ sold Provided by          (418K+ sold)                           4.4
                                                                                                                                 #3 Best Seller from this provider


                                                                                                                                 $1.98 Pay $0.49 today -82% limited time $11.49
                                                                                                                                                       4 interest-free biweekly installments



                                                                                                                                        Free shipping special for you                                     Exclusive offer


                                                                                                                                 Quantity: 1pc

                                                                                                                                 Qty      1                 Almost sold out


                                                                                                                                                                  Add to cart
                                                                                                                                                                 82% off discount



                                                                                                                                       Free shipping on orders shipped from Temu
                                                                                                                                       Delivery: Fastest delivery in 5 business days
                                                                                                                                       Courier company:        DHL eCommerce        LaserShip       OnTrac       UPS
                                                                                                                                       USPS ...

                                                                                                                                       Temu's Commitments
                   1,023 reviews             4.4                               All reviews are from verified purchases
                                                                                                                                        Security & Privacy        Delivery guarantee
                   Item reviews (1,023)             Provider reviews (52,267)                                                              Safe payments            $5.00 Credit for delay           Return if item damag
                                                                                                                                           Secure privacy           15-day no update refund          30-day no delivery re


                           (754)       Pretty(84)        Beautiful(105)         Cute Packaging(19)                                     Free returns Price adjustment

                                                                                                                                       Temu's Tree Planting Program (14M+ trees)
                          ai***72 in       on Oct 6, 2023



                   Very pretty. Love it. not as shinny as I thought it would be but it's still very cute. arrived in
                   just a few days. fast delivery.


                          sy***06 in       on Nov 26, 2023



                                                                                                                                                                                                                                     95
                   going to be a gift, 100% love these, just beautiful. Used for Christmas ornaments.
 BONUS
COUPONS
                          st***23 in       on Feb 18, 2024

              Free shipping special for you                         Price adjustment within 30 days
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 418 of 685 PageID #:471




                   Cute girlie gifts for Christmas stockings! Something unique- unexpected for the girls.
              Free shipping                                                                             Free returns
                                                                                                                                                                  Get the Temu App
              Special for you                                                                           Up to 90 days*

                                                          See all reviews                                                                             Orders &
                    Best Sellers   5-Star Rated    Early Black Friday    Local Warehouse   Categories     acrylic butterfly rearview mirror pendant              Support   EN
                                                                                                                                                      Account




                                       Unique Gift
                                       1.8K+ Followers      418K+ Sold      4.7

                                                   Follow                   Shop all items (204)


                       Established 1 year ago




                   Details                                                            Save    Report this item

                   Material: Acrylic

                   Item ID: EG24755 Copy

                   Store Information




                                                                                                                                                                                     95
 BONUS
COUPONS


              Free shipping special for you                     Price adjustment within 30 days
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 419 of 685 PageID #:472




              Free shipping                                                                           Free returns
                                                                                                                                                                Get the Temu App
              Special for you                                                                         Up to 90 days*

                                                                                                                                                    Orders &
                    Best Sellers   5-Star Rated   Early Black Friday   Local Warehouse   Categories     acrylic butterfly rearview mirror pendant              Support   EN
                                                                                                                                                    Account




                                                                                                                                                                                   95
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              Free shipping special for you                    Price adjustment within 30 days
                   Explore your interests
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 420 of 685 PageID #:473




              Free shipping                                                                                   Free returns
                                                                                                                                                                                                             Get the Temu App
              Special for you                                                                                 Up to 90 days*

                                                                                                                                                                                           Orders &
                    Best Sellers    5-Star Rated      Early Black Friday   Local Warehouse      Categories         acrylic butterfly rearview mirror pendant                                                Support        EN
                                                                                                                                                                                           Account




                   Acrylic Butterfly Hanging Orname…        60pcs Vintage Charm Scrapbooki…         80pcs Streamer Butterfly Stickers …        8 Rolls PET Waterproof Transpare…    Local 5-Pack Christmas Rooster …

                   Just once $1.17 $11.49                   Just once $2.05 $3.79                   $7.63 $13.99 9 sold                        $11.27 $21.99 434 sold               $5.21 $32.69 548 sold
                   Almost sold out                          Almost sold out                         Only 1 Left                                Almost sold out                         High repeat customers provi…
                                                               High repeat customers provi…
                                                                                                                                                   High repeat customers provi…




                    Local 5 Pieces Fashion Simple Bu…       1 pc Pink Butterfly Hanging Orna…       4 Pack Vintage PET Stickers for Jo…         Local Charming Hummingbird H…       Local 240PCS Vintage Floral Scra…

                   $4.03 $21.00 5 sold                      $1.61 $9.99 294 sold                    Last day $18.44 389 sold                   $6.99 $16.99 180 sold                $10.53 $14.47 4 sold
                   Almost sold out                          Almost sold out                         Almost sold out                            Almost sold out                      Almost sold out


                                                                                                       High repeat customers provi…




                   Crystal Pink Butterfly Stickers - 6 T…   Local Unique Butterfly-shaped A…        Lily Butterfly Acrylic Suncatcher - …       Local 4Pcs, Acrylic pendant deco…   Chic Acrylic Butterfly Keychain - 2…

                   $2.68 $3.70 15 sold                      $4.98 $9.99 123 sold                    $3.83 7 sold                               $8.49 48 sold                        $1.78 $12.59 2 sold
                   Only 1 Left                                                                      Only 1 Left                                Almost sold out                      Only 6 left
                                                                                                                                                                                                                                95
                                                                                                       High repeat customers provi…
 BONUS
                                                                                                                                                   Fast delivery provider
COUPONS


              Free shipping special for you                        Price adjustment within 30 days
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 421 of 685 PageID #:474




              Free shipping                                                                                  Free returns
                                                                                                                                                                                                            Get the Temu App
              Special for you                                                                                Up to 90 days*

                                                                                                                                                                                         Orders &
                    Best Sellers    5-Star Rated     Early Black Friday   Local Warehouse      Categories        acrylic butterfly rearview mirror pendant                                                 Support       EN
                                                                                                                                                                                         Account




                   Scrapbooking Kit for Butterfly The…     Local 1 piece, cute and charming…       Local S925 Glow-at-Ninght Firefl…         Acrylic Butterfly Pendant Necklace…   120pcs Stunning Vintage Floral Sti…

                   $15.44 27 sold                         $6.98 $10.98 9 sold                        $7.67 $19.99 334 sold                      $4.24 4 sold                       $9.45 $16.99 100 sold
                   Only 8 left                            Almost sold out                                                                    Almost sold out                       Almost sold out
                       High repeat customers provi…                                                   Authorized by Annmors                      High repeat customers provi…
                                                                                                                                                                                      High repeat customers provi…




                    Local Fairy Elf Acrylic Sun Catche…    Local 4 Sets Of 800 Vintage Scra…       Exquisite Green Butterfly Design …         Local 8PCS Watercolor Butterflie…    5pcs Light Green Ice Crystal Broke…

                   $6.99 4 sold                           $16.48 5 sold                            $1.48 $10.31 272 sold                     $0.51 $1.99 16 sold                   Just once $3.55 $5.49
                   Almost sold out                        Only 6 left                              Only 9 left                               Almost sold out                       Only 9 left
                                                                                                                                                 Fast delivery provider               High repeat customers provi…
                                                                                                      High repeat customers provi…




                   162pcs Butterfly Scrapbooking Kit…     Festive 2D Acrylic Owl Christmas …       Local 12pcs 3pcs/set Retro Bronz…          Local Small Crossbody Bags For …     Local 8PC personality exaggerate…

                   $9.46 $15.69 9 sold                       $2.20 166 sold                        $5.96 68 sold                             $14.61 $62.53     10K+ sold           $7.88 $29.06 2 sold
                   Only 5 left                            Almost sold out                          Almost sold out                           Almost sold out
                                                                                                                                                             2,239
                       High repeat customers provi…                                                                                              Low item return rate provider
                                                                                                                                                                                                                               95
 BONUS
COUPONS


              Free shipping special for you                       Price adjustment within 30 days
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 422 of 685 PageID #:475




              Free shipping                                                                               Free returns
                                                                                                                                                                                                          Get the Temu App
              Special for you                                                                             Up to 90 days*

                                                                                                                                                                                       Orders &
                    Best Sellers    5-Star Rated     Early Black Friday   Local Warehouse   Categories        acrylic butterfly rearview mirror pendant                                                 Support        EN
                                                                                                                                                                                       Account


                   Stunning Stained Glass Butterfly …     Vintage Rusty Hollow Rose Butter…     120-Piece Butterfly Sticker Set - H…       Local 8 Rolls Flower Tape Set - D…   Elegant Butterfly Acrylic Flat Keyc…

                     $4.41 1K+ sold                       $1.70 84 sold                         $10.62 $16.99 324 sold                    $10.37 $21.99 36 sold                 $1.13 $3.99 60 sold
                   Almost sold out                        Only 6 left                           Almost sold out                           Almost sold out                       Only 4 left
                                   134
                                                              Established 1 year ago




                    Local 90 Sheets Scrapbook Paper…      5PCS Pink Shattered Leaf Butterfly…   Local 10 Packs Vibrant Rose Gar…          20-Pack Vintage Floral Stickers wi…   Local 10 Pieces, Acrylic Pendant …

                     $7.77 $16.99 48 sold                    $4.66 $5.49 6 sold                 $17.66 72 sold                            $1.99 362 sold                        $10.39 11 sold
                   Almost sold out                        Almost sold out                       Extra $0.42 off at checkout               Almost sold out                       Almost sold out
                                                              High repeat customers provi…      Only 4 left
                                                                                                                                              Established 1 year ago
                                                                                                   Direct from ruonaorou




                   Delicate Acrylic Black Butterfly De…   Shimmering 3D Butterfly Stickers …    40pcs Iridescent PET Butterfly and…        Local "Gleaming" Fairy Elf Sun Ca…   Local Set of 2 Exquisite Crystal Pi…

                   $1.05 $1.69 152 sold                   Just once $3.40 $11.99                Last day $5.94 $8.39                      $7.99 7 sold                            $35.72 $84.00 119 sold
                   Only 5 left                            Only 6 left                           Almost sold out                           Only 3 left                           Almost sold out


                       High repeat customers provi…                                                High repeat customers provi…                                                    High repeat customers provi…


                                                                                                                                                                                                                             95
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              Free shipping special for you                       Price adjustment within 30 days
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 423 of 685 PageID #:476




                  Free shipping                                                                                 Free returns
                                                                                                                                                                                                                     Get the Temu App
                  Special for you                                                                               Up to 90 days*

                                                                                                                                                                                                Orders &
                         Best Sellers     5-Star Rated   Early Black Friday    Local Warehouse    Categories        acrylic butterfly rearview mirror pendant                                                   Support       EN
                                                                                                                                                                                                Account
                         Local 300 Sheets 6 Pack Vintage …    Acrylic Rose Hanging Ornament, …        Local 4-piece Set, Acrylic Pendan…        Butterfly Jewelry Set 5PCS - Acryli…    Local 3pcs Sparkling hair clip, bu…

                         Last day $11.03 25 sold              $1.50 $2.49 259 sold                    $11.99 5 sold                                $4.94 $5.49 9 sold                  $7.48 520 sold
                         Almost sold out                      Almost sold out                         Only 7 left                               Only 6 left
                                                                                                                                                    High repeat customers provi…             High repeat customers provi…




                         Local 1pc Collapsible Foldable W…    100 PCS Floral Stickers Set, Transp…    Local 1 Piece Creative Butterfly D…        Local 4Pcs, Acrylic pendant deco…     Boho Cute Butterfly Pendant Neck…

                         $22.96 $99.99 524 sold               $2.74 72 sold                           $6.03 $41.99 312 sold                     $11.99                                      $1.60 $9.99 1.1K+ sold
                         Only 8 left      just bought         Only 1 Left                                                                       Almost sold out                        Almost sold out
                                                                                                                                                    Fast delivery provider                             103




                         Local 320 PCS Colorful Butterfly …    Local Sisters Gifts from Sister, Ac…   Local Enchanting Elf Fairy Acrylic…       30pcs Vibrant Glow-In-The-Dark …       Acrylic Pink Butterfly Hanging Orn…
                         Last day $8.45 $15.99                $5.48 $9.98 195 sold                    $6.99 $16.99 6 sold                       $3.40 109 sold                         $2.44 $4.99 8 sold
                         Almost sold out                                                              Only 4 left                               Almost sold out                         Extra $0.14 off at checkout
                                                                  High repeat customers provi…                                                                                         Only 1 Left
                                                                                                                                                                                             High repeat customers provi…



                                                                                                               View more




                                                                                                                                                                                                                                        95
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            Temu - Team Up, Price Down!
                  Free shipping special for you                       Priceproperty
                                                               Intellectual adjustment
                                                                                    policy within 30 days           Safety center                                  Low stock items alerts
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 424 of 685 PageID #:477




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                    Free shipping                                                                                  Free returns
                                                                                                                                                                                                          Get the Temu App
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            Contact us                                        Your Recalls and Product Safety Alerts                 Sitemap                                             Download on the

            Careers                                           Report suspicious activity                             How to order                                        App Store
                                                                                                                                                                                              Orders &
                          Best Sellers   5-Star Rated   Early Black Friday        Local Warehouse   Categories       acrylic butterfly rearview mirror pendant                                           Support   EN
                                                                                                                                                                                              Account
            Press                                                                                                    How to track
                                                                                                                                                                         Get it on

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                                                                                                                                                                                                                             95
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                 Return if item damaged


  Home     Checkout

                                                                                                                                          Order summary
           Free shipping special for you                                                                                Exclusive offer

                                                                                                                                            Enter coupon code                               Apply
  Shipping address                                                                                                     Change address

                                                                                                                                          Apply coupon code
    steven howard +1 (554)626-5486
    1 N La Salle St                                                                                                                       Item(s) total:                                     $103.41

    CHICAGO, IL 60602-3902, United States                                                                                                    Item(s) discount:                               -$85.59

                                                                                                                                          Subtotal:                                           $17.82


  Ships from Temu (9)                                                                                                                     Shipping:                                             FREE
                                                                                                                                             Free shipping for items shipped from Temu is an exclusive
    Black Friday (Kick-off) 82% off                Limited time                                                                           offer. Please submit your order as soon as possible.

                               Unique Butterfly-Shaped Acrylic Pendant - Hanging Ornament for Christmas Tree, Backpack, Couple …          Sales tax:                                            $1.83

                               1pc
                                                                                                                        Qty:   9
                                                                                                                                          Order total:                                       $19.65
                               Black Friday (Kick-off) | -82% limited time

                                                                                                                                          Plant with Temu
                                                                                                                                              We invite you to plant a tree for $0.35
                               $1.98 $11.49
                                                                                                                                                               Submit order
  Standard shipping: FREE, delivery: 5-10 business days, fastest delivery in 5 business days

                                                                                                                                             Temu's Tree Planting Program
  Payment methods                                                                                                                         Temu and its users have donated funds to Trees for the
                                                                                                                                          Future to plant trees across sub-Saharan Africa
                 Card


            All transactions are secure and encrypted                                                                                        Delivery guarantee
          * Card number                                                                                                                      $5.00 Credit for delay      Return if item damaged
                                                                                                                                             15-day no update refund
                  4041 1789 5899 9192                                                                                                        30-day no delivery refund
                                                                                                                                          Learn more
          * Expiration date                                                  * CVV
                                                                                                                                             Temu protects your card information
            12                              2028                              591                                                            Temu follows the Payment Card Industry Data
                                                                                                                                             Security Standard (PCI DSS) when handling card data

             Remember this card for future use, Temu follows the Payment Card Industry Data Security Standard (PCI DSS)                      Card information is secure and uncompromised
          when handling card data.                                                                                                           All data is encrypted
                                                                                                                                             Temu never sells your card information

          * Billing address                                                                                                        Edit
          steven howard, 1 N La Salle St, CHICAGO, IL 60602-3902, United States
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                                                        Protecting your privacy is important to us! Please be
       Cash App Pay                                     assured that your information will be kept secured and
                                                        uncompromised. We do not sell your personal
                                                        information for money and will only use your
       Venmo                                            information in accordance with our privacy and cookie
                                                        policy to provide and improve our services to you.
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                                                           Temu purchase protection
       Afterpay
                                                        Shop confidently on Temu knowing that if something
       $20 product minimum applies
                                                        goes wrong, we've always got your back.

       Klarna                                           Learn more
       $20 product minimum applies

       Affirm
       $35 product minimum applies

       PayPal Pay Later
       $30 product minimum applies
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 427 of 685 PageID #:480




9/16/24, 3:12 PM                                                                                                                             Car Interior Decoration Car Hanging Butterfly Flower Faith - Temu


                              Free shipping                                                                                                          Delivery guarantee
                              Special for you                                                                                                        Refund for any issues
                                                                                                                                                                                                                                                                          Get the Temu App


                                                                                                                                                                                                                                             Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             christmas ornaments                                                                                   Support            EN
                                                                                                                                                                                                                                             Orders & Account


                                  Home       Home & Kitchen         Seasonal Decor        1pc, Car Interior Decorati...

                                                                                                                                                                              1pc, Car Interior Decoration Car Hanging Butterfly Flower Faith Tree
                                                                                                                                                                              Ornaments Tree Hanging Decorations
                                                                                                                                                                              1.0                        12 bought Provided by               (49K+ bought)


                                                                                                                                                                              Nearly over $1.18 Pay $0.29 today -78% $5.59
                                                                                                                                                                                                         4 interest-free biweekly installments



                                                                                                                                                                                                           Free shipping special for you                                Exclusive offer



                                                                                                                                                                              Model: Butterfly 01

                                                                                                                                                                              Qty        1                       Only 4 left


                                                                                                                                                                                                                         Add to cart
                                                                                                                                                                                                                               Only 4 left



                                                                                                                                                                                    Ships from Temu

                                                                                                                                                                                       Standard: FREE                                                    Express: $12.90 or FREE (orde
                                                                                                                                                                                       Delivery: 4-10 business days, 81.7% within 8                      Delivery: 3-9 business days, 7
                                                                                                                                                                                       business days                                                     business days
                                                                                                                                                                                       Courier company:              DHL eCommerce ...                   Courier company:        FedEx


                                                                                                                                                                                    Temu's Commitments

                                                                                                                                                                                       Security & Privacy              Delivery guarantee
                                  2 reviews            1.0                                                        All reviews are from verified purchases                                 Safe payments                  $5.00 Credit for delay           Return if item damaged
                                                                                                                                                                                          Secure privacy                 15-day no update refund          30-day no delivery refund
                                  Item reviews (2)           Provider reviews (5,322)
                                                                                                                                                                                    Free returns Price adjustment

                                          (1)                                                                                                                                       Temu's Tree Planting Program (14M+ trees)                                                                     99+

         BONUS                                                                                                                                                                                                                                                                                 Messages
        COUPONS                                 in     on Sep 8, 2024

                                                                                                                                                                                                                                                                                               Feedback
                              Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/1pc-car-interior-decoration-car-hanging-butterfly-flower-faith-tree-ornaments-tree-hanging-decorations-g-601099543107429.html                                                                                                                                                      1/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 428 of 685 PageID #:481




9/16/24, 3:12 PM                                                                                                                             Car Interior Decoration Car Hanging Butterfly Flower Faith - Temu

                                Only
                              Free   this product was not in the package.
                                   shipping                                                                                                          Delivery guarantee
                                It wasfor
                              Special   one
                                          youof dozens of pieces, and I turned them all over to look for them because Refund
                                                                                                                      they were
                                                                                                                             for any issues
                                                                                                                                                                                                                                      Get the Temu App
                                  small, but I couldn't find them.
                                                                                                                                                                                                                 Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             christmas ornaments                                                Support   EN
                                                                                                                                                                                                                 Orders & Account

                                  cn***14 in         on May 1, 2024



                                  Dull colored out of focus picture on plastic


                                  Reviews from similar items on Temu
                                  ai***72 in        on Oct 6, 2023



                                  Very pretty. Love it. not as shinny as I thought it would be but it's still very cute. arrived in just
                                  a few days. fast delivery.
                                   This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…



                                                                                        See all reviews




                                                          SZX
                                                          162 Followers          49K+ Bought           4.6

                                                                     Contact provider                            Follow                    All items (29)




                                  Details                                                                                         Save     Report this item

                                  Material: Acrylic

                                  Attachment Method: Hanging

                                  Holidays: Christmas,Easter,Thanksgiving,New Year,Universal

                                  See more

                                       Learn about dimensions
                                                                                                                                                                                                                                                            99+

         BONUS                                                                                                                                                                                                                                           Messages
        COUPONS
                                  Explore your interests
                                                                                                                                                                                                                                                         Feedback
                              Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/1pc-car-interior-decoration-car-hanging-butterfly-flower-faith-tree-ornaments-tree-hanging-decorations-g-601099543107429.html                                                                                                                2/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 429 of 685 PageID #:482




9/16/24, 3:12 PM                                                                                                                             Car Interior Decoration Car Hanging Butterfly Flower Faith - Temu


                              Free shipping                                                                                                          Delivery guarantee
                              Special for you                                                                                                        Refund for any issues
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             christmas ornaments                                                                             Support        EN
                                                                                                                                                                                                                                       Orders & Account




                                  Local 360° Rotating Magnetic Levit…                             Sparkling Purple Butterfly…                          Colorful Acrylic Butterfly …          Cyberpunk Metal Robot Figurine - …                        HD LIVING Crystal Hum…
                                  Nearly over $41.31 1 bought                        Nearly over $1.52 $4.49                            $2.75 $12.99 In 3 carts                                $13.99 41 bought                          Nearly over $6.97
                                  Almost sold out                                    Almost sold out                                     Extra $0.14 off coupon                              Only 5 left                                 Only 6 left
                                                                                                                                        Only 1 Left




                                  Metal Steampunk Vintage Fashion …                   Local Floating Light Bulb For Living…             20pcs Butterfly Stickers with Golden…                              3pairs Fashion And Elega…                   Full Moon Floating Pool L…
                                  Nearly over $5.27                                  $43.99 $125.00 11 bought                           Nearly over $1.69 In 1 carts                         30d lowest $1.19                            Nearly over $10.78
                                  Almost sold out                                    Almost sold out                                    Only 4 left                                          Only 3 left                                 Almost sold out
                                                    2,094




                                                                                                                                                                                                                                                                                          99+

         BONUS                                                                                                                                                                                                                                                                         Messages
        COUPONS

                                                                                                                                                                                                                                                                                       Feedback
                              Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/1pc-car-interior-decoration-car-hanging-butterfly-flower-faith-tree-ornaments-tree-hanging-decorations-g-601099543107429.html                                                                                                                                              3/8
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9/16/24, 3:12 PM                                                                                                                             Car Interior Decoration Car Hanging Butterfly Flower Faith - Temu

                                  Local Anti-Gravity Magnetic Levitat…                Local Modern Style Home Bedroo…                   Cyberpunk Mantis Mechanical Scul…                    9 Pairs/ Set Colorful Butterfly Wing …        Enchanting Acrylic Butterfly Fairy 2D…
                              Free shipping                                                                                                          Delivery guarantee
                                          you $39.43 3 bought
                                                                                                                                                                                                                                                                      Get the Temu App
                                Nearly
                              Special forover                                        $43.49 $99.99 6 bought                                $20.24
                                                                                                                                               Refund  for any issues
                                                                                                                                                  6 bought                                   Nearly over $5.71                             Nearly over $1.79 1 bought
                                  Almost sold out                                    Almost sold out                                     Extra $0.42 off coupon                              Almost sold out                               Only 5 left
                                                                                                                                                                                                                 251                     Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse        Only 1 Left
                                                                                                                                         Categories              christmas ornaments                                                                               Support           EN
                                                                                                                                                                                                                                         Orders & Account




                                  Butterfly Washi Tape Stickers - 6 Rol…                           1pc Levitating Moon Tabl…                           1pc Solar Energy Rotatin…                          Solid D100 Metal Dice, Si…                     1pc 3D Carved Bird Cryst…
                                  30d lowest $9.44 2 bought                          Nearly over $49.88                                 Nearly over $7.48 $29.99                             Nearly over $18.98                            Last day $5.77 $39.00
                                  Only 5 left                                        Only 6 left                                        Almost sold out                                      Almost sold out                               Only 3 left 60d lowest
                                                                                                        361                                                95




                                                1pc Magnetic Suspensio…              STAR Magnetic Levitation Phone St…                                Steampunk Sickle Drago…                            Chic Pink Butterfly Acrylic…                   Local 5pcs Steampunk I…
                                  Last day $51.42                                    Last day $10.39 3 bought                           Nearly over $21.25                                   30d lowest $1.79                              Nearly over $32.45 3 bought
                                  Almost sold out 30d lowest                         Only 5 left                                         Extra $0.42 off coupon
                                                    123                                                                                 Only 1 Left


                                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                                                                          Feedback
                              Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/1pc-car-interior-decoration-car-hanging-butterfly-flower-faith-tree-ornaments-tree-hanging-decorations-g-601099543107429.html                                                                                                                                                 4/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 431 of 685 PageID #:484




9/16/24, 3:12 PM                                                                                                                             Car Interior Decoration Car Hanging Butterfly Flower Faith - Temu


                              Free shipping                                                                                                          Delivery guarantee
                              Special for you                                                                                                        Refund for any issues
                                                                                                                                                                                                                                                                     Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             christmas ornaments                                                                               Support      EN
                                                                                                                                                                                                                                       Orders & Account




                                                20pcs Sparkling Butterfly …                       6-Pack PET Floral Washi T…            Wireless BT Speakers With Wireless …                              1pair Winged Butterfly Pa…     1PC Glam Acrylic Butterfly Pendant …
                                    $3.14 $12.00 2 bought                            Last day $6.92 $19.99                              Last day $11.97                                      $4.94 $14.99 1.5K+ bought                   Last day $1.43 $12.58
                                  Only 5 left                                        Only 1 Left                                        Best Seller in Audio & Radio: USB                    Almost sold out                             Only 6 left
                                                                                                                                                           6,571                                                 134
                                                                                                                                             Direct from Kouzone




                                                Local 3D Metal Puzzles F…             Local Living Room Floating Bulbs …                               Adult Toys, Difficult Hand…                        2Pc/1Pc Ghost Campfire …                     Local HCNT Levitation A…

                                  Last day $59.81 15 bought                          $43.49 2 bought                                    Last day $28.97 $39.99                               Last day $12.97                             Nearly over $44.22 $65.00
                                  Almost sold out 30d lowest                         Almost sold out                                    Only 2 left                                          Best Seller in Outdoor Storage               Extra $3.52 off coupon
                                                                                                                                                                                                                 87                      Only 3 left




                                                                                                                                                                                                                                                                                           99+

         BONUS                                                                                                                                                                                                                                                                          Messages
        COUPONS

                                                                                                                                                                                                                                                                                        Feedback
                              Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/1pc-car-interior-decoration-car-hanging-butterfly-flower-faith-tree-ornaments-tree-hanging-decorations-g-601099543107429.html                                                                                                                                               5/8
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9/16/24, 3:12 PM                                                                                                                             Car Interior Decoration Car Hanging Butterfly Flower Faith - Temu


                              Free shipping                                                                                                          Delivery guarantee
                              Special for you                                                                                                        Refund for any issues
                                                                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                                                         Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             christmas ornaments                                                                                 Support       EN
                                                                                                                                                                                                                                         Orders & Account




                                  Chic Light Green Asymmetrical Butt…                 Local Cool Industrial Metal Tube R…                              Upgraded Galaxy Lamp U…                             Sparkling 3D Butterfly Sti…                  Local Magnetic Levitatio…
                                  30d lowest $2.79                                   Nearly over $29.57                                 Nearly over $8.98                                    Lowest ever $6.29                             Nearly over $45.70 1 bought
                                  Almost sold out                                     Extra $2.95 off coupon                            Almost sold out                                      Only 8 left                                   Only 4 left 30d lowest
                                                                                     Almost sold out                                                       198




                                               Mechanical Mantis Insect…              Local Modern Style Home Bedroo…                                  Wireless Breast Massager…                           Resin Angel Wings Statue…                   DIY Steampunk Butterfly …
                                  Nearly over $22.76                                 $43.99 In 13 carts                                 Nearly over $17.14                                   Last day $10.96                               Nearly over $20.98 $61.99
                                  Almost sold out                                    Almost sold out                                    Almost sold out           just bought                Only 5 left                                    Extra $0.42 off coupon
                                                                                                                                                                                                                                           Almost sold out




                                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                                                                          Feedback
                              Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/1pc-car-interior-decoration-car-hanging-butterfly-flower-faith-tree-ornaments-tree-hanging-decorations-g-601099543107429.html                                                                                                                                                 6/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 433 of 685 PageID #:486




9/16/24, 3:12 PM                                                                                                                             Car Interior Decoration Car Hanging Butterfly Flower Faith - Temu

                                               1pc Acrylic Butterfly Han…             Local 1pc In/outdoor 23.6inch Mo…                 20 Sheets/Pack Beautiful Flower Pla…                 2pcs Copper Wire Vintage Edison L…                     1pc, Metal Craft Motorcy…
                              Free shipping                                                                                                          Delivery guarantee
                              Special for you $1.43 $3.49                            Nearly over $117.79                                       over $3for
                                                                                                                                        Nearly Refund                                        Last day $7.54 $61.00                      Last day $12.18 $68.00
                                                                                                                                                                                                                                                                   Get the Temu App
                                Nearly  over                                                                                                          .98 any issues
                                                                                                                                                          16 viewed
                                  Almost sold out                                    Only 5 left                                        Almost sold out                                      Only 6 left Best Seller in Light Bulbs     Almost sold out
                                                                                                                                                                                                                                      Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             christmas ornaments                                                                     72     Support         EN
                                                                                                                                                                                                                                      Orders & Account




                                                Local Scout Beetle ABS …                           Chic Unicorn Beetle Broo…            1pc Levitating Moon Table Lamp, M…                                 Local New Style Minimal…                  Local Flip Clock, Retro Vi…
                                  Last day $43.32 $59.99                             Nearly over $2.98 $15.99                           Last day $48.22 54 bought                            Nearly over $181.48                        $38.23 $119.99 11 bought
                                  Almost sold out                                    Only 6 left                                        Only 6 left                                          Almost sold out                            Almost sold out


                                                                                                                                                                                                                                            Direct from Keenso




                                               Acrylic Butterfly Car Rear…                         Steampunk Mechanical I…               Local Concealed Carry Gun Pouch, …                  Payment Method games, exquisite s…          Local Touch Control Wooden Base …
                                  Last day $1.91 $11.49                              Last day $16.97 $52.99                             $25.99 $32.99 600 bought                             30d lowest $8.73 439 bought                Nearly over $40.19 $99.99
                                  Almost sold out                                     Extra $0.14 off coupon                            Almost sold out           just bought                Almost sold out                            Almost sold out 30d lowest
                                                                                     Almost sold out
                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                        Messages
                                                                                                                                                       View more
        COUPONS

                                                                                                                                                                                                                                                                                      Feedback
                              Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/1pc-car-interior-decoration-car-hanging-butterfly-flower-faith-tree-ornaments-tree-hanging-decorations-g-601099543107429.html                                                                                                                                             7/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 434 of 685 PageID #:487




9/16/24, 3:12 PM                                                                                                                             Car Interior Decoration Car Hanging Butterfly Flower Faith - Temu


                              Free shipping                                                                                                          Delivery guarantee
                          Special
                                                                                                                                                                                                                                                                  Get the Temu App
                      Company infofor you                                               Customer service                                             Refund for any issues
                                                                                                                                                          Help                                                   Download the Temu App                          Connect with Temu

                      About Temu                                                       Return and refund policy                                           Support center & FAQ                                      Track orders any time
                                                                                                                                                                                                                                             Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale        Local Warehouse              Categories            christmas ornaments                                                                             Support     EN
                      Temu - Team Up, Price Down!                                                                                                                                                                                            Orders & Account
                                                                                       Intellectual property policy                                       Safety center                                             Low stock items alerts
                      Affiliate & Influencer: Earn Commission
                                                                                        Shipping info                                                     Temu purchase protection                                  Coupons & offers alerts
                      Contact us
                                                                                        Your Recalls and Product Safety Alerts                            Sitemap
                                                                                                                                                                                                                         Download on the
                      Careers
                                                                                        Report suspicious activity                                        How to order                                                   App Store
                      Press
                                                                                                                                                          How to track
                                                                                                                                                                                                                         Get it on
                      Temu's Tree Planting Program
                                                                                                                                                          Partner with Temu                                              Google Play



                      Security certification                                                                                                              We accept




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                                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                                                                       Messages
        COUPONS

                                                                                                                                                                                                                                                                                     Feedback



https://www.temu.com/1pc-car-interior-decoration-car-hanging-butterfly-flower-faith-tree-ornaments-tree-hanging-decorations-g-601099543107429.html                                                                                                                                            8/8
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9/16/24, 3:12 PM                                                                                                                                        Temu


                           Free shipping                                                                                           Delivery guarantee
                           Special for you                                                                                         Refund for any issues
                                                                                                                                                                                                                                                   Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                      Order summary
                              Free shipping special for you

                                                                                                                                                                                                         Enter coupon code                                       Apply
                   Shipping address                                                                                                                                Change address

                                                                                                                                                                                                      Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                                Item(s) total:                                                $22.36

                       CHICAGO, IL 60602-3902, United States                                                                                                                                          Item(s) discount:                                            -$17.64

                                                                                                                                                                                                      Subtotal:                                                       $4.72


                   Ships from Temu (4) 1 item is almost gone!                                                                                                                                         Shipping:                                                       FREE
                                                                                                                                                                                                         Free shipping for items shipped from Temu is an exclusive
                                                    1pc, Car Interior Decoration Car Hanging Butterfly Flower Faith Tree Ornaments Tree Hanging Decorations                                           offer. Please submit your order as soon as possible.
                                                    Butterfly 01
                                                                                                                                                                      Qty:                            Sales tax:                                                      $0.48
                                                    Anniversary sale | -78% ending soon
                                                                                                                                                                                                      Order total:                                                   $5.20


                             Only 4 left                                                                                                                                                              Plant with Temu
                                                    $1.18 $5.59
                                                                                                                                                                                                           We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                                                Submit order
                                                                                                                                                                                                                                  1 almost sold out
                   Payment methods
                                                                                                                                                                                                          Temu's Tree Planting Program
                                    Visa ...1950                                                                                                                              Edit
                                                                                                                                                                                                      Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                      Future to plant trees across sub-Saharan Africa
                                    Add a new card


                                    PayPal           Remember my PayPal                                                                                                                                   Temu protects your card information
                                                                                                                                                                                                          Temu follows the Payment Card Industry Data Security
                                    Cash App Pay                                                                                                                                                          Standard (PCI DSS) when handling card data
                                                                                                                                                                                                          Card information is secure and uncompromised
                                                                                                                                                                                                          All data is encrypted
                                    Venmo
                                                                                                                                                                                                          Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"085f692d-fcb2-42fc-86bf-20f2de443be1"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_a…   1/2
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9/16/24, 3:12 PM                                                                                                                                        Temu

                                    Google Pay


                                    Afterpay
                                    $20 product minimum applies
                                                                                                                                                                                                          Secure privacy
                                    Klarna                                                                                                                                                            Protecting your privacy is important to us! Please be assured
                                    $20 product minimum applies                                                                                                                                       that your information will be kept secured and
                                                                                                                                                                                                      uncompromised. We do not sell your personal information
                                    Affirm                                                                                                                                                            for money and will only use your information in accordance
                                    $35 product minimum applies                                                                                                                                       with our privacy and cookie policy to provide and improve
                                                                                                                                                                                                      our services to you.
                                    PayPal Pay Later
                                                                                                                                                                                                      Learn more
                                    $30 product minimum applies
                                                                                                                                                                                                          Delivery guarantee
                                                                                                                                                                                                          $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                          15-day no update refund           30-day no delivery refund
                                                                                                                                                                                                      Learn more

                                                                                                                                                                                                          Temu purchase protection
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                                                                                                                                                                                                      wrong, we've always got your back.
                                                                                                                                                                                                      Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"085f692d-fcb2-42fc-86bf-20f2de443be1"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_a…   2/2
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 437 of 685 PageID #:490




9/16/24, 3:11 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Elegant Pink - Temu

                                                                                                                                                      Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                                                                 Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                                                                                                    Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories           car accessories interior                                                                        Support            EN
                                                                                                                                                                                                                                    Orders & Account


                                 Home       Automotive        Interior Accessories      2pcs Acrylic Butterfly Han...


                                                                                                                                                                                                      Free shipping special for you                            Exclusive offer


                                                                                                                                                                           2pcs Acrylic Butterfly Hanging Ornament for Car - Elegant Pink
                                                                                                                                                                           Decorative Pendant with Chain
                                                                                                                                                                           Provided by         (100K+ bought)
                                                                                                                                                                            #11 Top Followed Provider in Food Service Equipment & Supplies


                                                                                                                                                                           Last day              $4.39 Pay $1.09 today -61% $11.49
                                                                                                                                                                                                    4 interest-free biweekly installments


                                                                                                                                                                             Lightning deal                   Ends in 11:48:42

                                                                                                                                                                              Quantity: 2pcs

                                                                                                                                                                              Qty       1                 Almost sold out



                                                                                                                                                                                                                Add to cart
                                                                                                                                                                                                                  Almost sold out



                                                                                                                                                                                 Ships from Temu

                                                                                                                                                                                    Standard: FREE                                              Express: $12.90 or FREE (orde
                                                                                                                                                                                    Delivery: 4-10 business days, 81.7% within 8                Delivery: 3-9 business days, 7
                                                                                                                                                                                    business days                                               business days
                                                                                                                                                                                    Courier company:        DHL eCommerce ...                   Courier company:        FedEx


                                                         Sungardena                                                                                                              Temu's Commitments
                                                         1.4K+ Followers           100K+ Bought           4.7
                                                                                                                                                                                    Security & Privacy        Delivery guarantee
                                                                             Follow                             Shop all items (219)                                                  Safe payments              $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                                                                                                         99+
                                                                                                                                                                                      Secure privacy             15-day no update refund         30-day no delivery refund
         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS                                                                                                                                                                  Free returns Price adjustment
                                 Details                                                                                        Save      Report this item
                                                                                                                                                                                 Temu's Tree Planting Program (14M+ trees)                                                            Feedback
                              Free shipping
                                Material:      special for you
                                          Acrylic                                          Price adjustment within 30 days

https://www.temu.com/2pcs-acrylic-butterfly-hanging-ornament-for-car-elegant-pink-decorative-pendant-with-chain-g-601099540383901.html                                                                                                                                                         1/9
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9/16/24, 3:11 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Elegant Pink - Temu

                                 Item ID: CP56444 Copy                                                                                                Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                               Get the Temu App
                                Store Information                                                                                                Price adjustment
                                                                                                                                                                                                          Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories           car accessories interior                                       Support   EN
                                                                                                                                                                                                          Orders & Account




                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                  Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/2pcs-acrylic-butterfly-hanging-ornament-for-car-elegant-pink-decorative-pendant-with-chain-g-601099540383901.html                                                                                                                     2/9
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9/16/24, 3:11 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Elegant Pink - Temu

                                                                                                                                                      Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                               Get the Temu App
                                                                                                                                                 Price adjustment
                                                                                                                                                                                                          Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories           car accessories interior                                       Support   EN
                                                                                                                                                                                                          Orders & Account




                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                  Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/2pcs-acrylic-butterfly-hanging-ornament-for-car-elegant-pink-decorative-pendant-with-chain-g-601099540383901.html                                                                                                                     3/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 440 of 685 PageID #:493




9/16/24, 3:11 PM                                                                                                                              Acrylic Butterfly Hanging Ornament Car Elegant Pink - Temu

                                 Explore your interests
                              Free shipping
                                                                                                                                                       Up to 90 days*
                              Special for you
                                                                                                                                                                                                                                                               Get the Temu App
                                                                                                                                                  Price adjustment
                                                                                                                                                                                                                                   Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse           Categories           car accessories interior                                                                     Support          EN
                                                                                                                                                                                                                                   Orders & Account




                                  Local Anti-Gravity Magnetic Levitat…                           1pc Acrylic Brown Butterf…                         Steampunk Mechanical I…                             Vintage Washi Adhesive …                 Full Moon Floating Pool L…
                                 Nearly over $39.43 3 bought                        30d lowest $0.79 $1.34                               Last day $16.97 $52.99                           Nearly over $7.19 $8.01                    Nearly over $10.78
                                 Almost sold out                                    Almost sold out                                      Extra $0.14 off coupon                           Almost sold out                            Almost sold out
                                                                                                                                         Almost sold out




                                              Charming Butterfly Acryli…                         1pc Magnetic Suspensio…                 9 Pairs/ Set Colorful Butterfly Wing …           20pcs Butterfly Stickers with Golden…                   Local Scout Beetle ABS …

                                    $2.33 $6.99 1 bought                            Last day $51.42                                      Nearly over $5.71                                Nearly over $1.69 In 1 carts               Last day $43.32 $59.99
                                                                                    Almost sold out 30d lowest                           Almost sold out                                  Only 4 left                                Almost sold out
                                                                                                      123                                                251




                                                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                                                  Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/2pcs-acrylic-butterfly-hanging-ornament-for-car-elegant-pink-decorative-pendant-with-chain-g-601099540383901.html                                                                                                                                                     4/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 441 of 685 PageID #:494




9/16/24, 3:11 PM                                                                                                                              Acrylic Butterfly Hanging Ornament Car Elegant Pink - Temu

                                                                                                                                                       Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                                                                   Get the Temu App
                                                                                                                                                  Price adjustment
                                                                                                                                                                                                                                      Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse           Categories           car accessories interior                                                                         Support       EN
                                                                                                                                                                                                                                      Orders & Account




                                 Steampunk Mechanical Crab Collect…                 Portable Mini Bullet Massager - USB…                 20 Sheets/Pack Beautiful Flower Pla…                           Sparkling 3D Butterfly Sti…                   1pc, Express Your Love W…
                                 Last day $16.19 3 bought                              $8.54 $37.99                                      Nearly over $3.98 16 viewed                      Lowest ever $6.29                             Last day $1.97 $2.36
                                 Only 2 left                                            just bought                                      Almost sold out                                  Only 8 left                                   Only 5 left
                                                                                                      172




                                               1pc Levitating Moon Tabl…                         2Pc/1Pc Ghost Campfire …                Cyberpunk Mantis Mechanical Scul…                1PC Glam Acrylic Butterfly Pendant …          Sweet Y2K Style Butterfly Hair Clips …
                                 Nearly over $49.88                                 Last day $12.97                                        $20.24 6 bought                                Last day $1.43 $12.58                         Last day $4.79 $19.99
                                 Only 6 left                                        Best Seller in Outdoor Storage                       Extra $0.42 off coupon                           Only 6 left                                   Only 4 left
                                                    361                                               87                                 Only 1 Left




                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                      Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/2pcs-acrylic-butterfly-hanging-ornament-for-car-elegant-pink-decorative-pendant-with-chain-g-601099540383901.html                                                                                                                                                         5/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 442 of 685 PageID #:495




9/16/24, 3:11 PM                                                                                                                              Acrylic Butterfly Hanging Ornament Car Elegant Pink - Temu

                                  Local 360° Rotating Magnetic Levit…                             Local 3D Metal Puzzles F…                            3D
                                                                                                                                                        UpCrystal Hummingbird …
                                                                                                                                                           to 90 days*                                     Local 180 Sheets (6 Pack…                   Boho Cute Butterfly Pend…
                              Free shipping
                                          you $41.31 1 bought                       Last day $59.81 15 bought                            Nearly over $7.04                                Nearly over $13.98 $17.99
                                                                                                                                                                                                                                                                      Get the Temu App
                                Nearly
                              Special forover                                                                                                                                                                                              $1.97 $9.99 326 bought
                                                                                                                                                  Price adjustment
                                 Almost sold out                                    Almost sold out 30d lowest                           Almost sold out                                  Almost sold out                                  Almost sold out
                                                                                                                                                                                                                                         Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse           Categories           car accessories interior                                                                             Support     EN
                                                                                                                                                                                                                                         Orders & Account




                                  Local Modern Style Home Bedroo…                   Charming Black Butterfly Suncatche…                                Steampunk Mechanical D…                             Local Flip Clock, Retro Vi…      Local 180 Sheets Vintage Floral Irre…

                                 $43.49 $99.99 6 bought                                $4.85 10 bought                                   $19.34 $34.99 2 bought                           $38.23 $119.99 11 bought                         Nearly over $11.98 In 3 carts
                                 Almost sold out                                    Only 1 Left                                          Extra $0.99 off coupon                           Almost sold out                                  Almost sold out
                                                                                                                                         Only 7 left
                                                                                                                                                                                              Direct from Keenso




                                 Enchanting Acrylic Butterfly Fairy 2D…                           Cyberpunk Mantis Insect …              Local Living Room Floating Bulbs …                             20-Piece Shimmering Ice …          Metal Steampunk Vintage Fashion …
                                 Nearly over $1.79 1 bought                            $17.99 $20.24 1 bought                            $43.49 2 bought                                  Nearly over $3.00 $9.58                          Nearly over $5.27
                                 Only 5 left                                         Extra $0.42 off coupon                              Almost sold out                                  Only 9 left                                      Almost sold out
                                                                                    Only 9 left                                                                                                                                                             2,094
                                                                                                                                                                                                                                                                                            99+

         BONUS                                                                                                                                                                                                                                                                           Messages
        COUPONS

                                                                                                                                                                                                                                                                                         Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/2pcs-acrylic-butterfly-hanging-ornament-for-car-elegant-pink-decorative-pendant-with-chain-g-601099540383901.html                                                                                                                                                            6/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 443 of 685 PageID #:496




9/16/24, 3:11 PM                                                                                                                              Acrylic Butterfly Hanging Ornament Car Elegant Pink - Temu

                                                                                                                                                       Up to 90 days*
                              Free shipping
                              Special for you
                                                                                                                                                                                                                                                                    Get the Temu App
                                                                                                                                                  Price adjustment
                                                                                                                                                                                                                                      Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse           Categories           car accessories interior                                                                          Support           EN
                                                                                                                                                                                                                                      Orders & Account




                                 Payment Method games, exquisite s…                               Local HCNT Levitation A…                          Multi-Device Wireless Ch…                           Adult Toys, Difficult Hand…                   Chic Unicorn Beetle Broo…
                                 30d lowest $8.73 439 bought                        Nearly over $44.22 $65.00                            Last day $11.97                                  Last day $28.97 $39.99                        Nearly over $2.98 $15.99
                                 Almost sold out                                     Extra $3.52 off coupon                              New Arrival in Wireless Chargers                 Only 2 left                                   Only 6 left
                                                                                    Only 3 left




                                              1pc 3D Carved Bird Cryst…              Local Cool Industrial Metal Tube R…                 Mechanical Butterfly 3D Metal Mod…               Butterfly Washi Tape Stickers - 6 Rol…                      200pcs, Butterfly Wall De…
                                 Last day $5.77 $39.00                              Nearly over $29.57                                   Nearly over $49.39                               30d lowest $9.44 2 bought                     Last day $14.98 $22.00
                                 Only 3 left 60d lowest                              Extra $2.95 off coupon                              Almost sold out                                  Only 5 left                                   Almost sold out
                                                                                    Almost sold out




                                                                                                                                                                                                                                                                                           99+

         BONUS                                                                                                                                                                                                                                                                          Messages
        COUPONS

                                                                                                                                                                                                                                                                                        Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/2pcs-acrylic-butterfly-hanging-ornament-for-car-elegant-pink-decorative-pendant-with-chain-g-601099540383901.html                                                                                                                                                           7/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 444 of 685 PageID #:497




9/16/24, 3:11 PM                                                                                                                              Acrylic Butterfly Hanging Ornament Car Elegant Pink - Temu

                                               1pc Solar Energy Rotatin…                          Local 1pc Magnetic Met…                Local Concealed
                                                                                                                                                   Up to Carry Gun Pouch, …
                                                                                                                                                         90 days*                                       Steampunk Sickle Drago…                    Upgraded Galaxy Lamp U…
                              Free shipping
                                                                                                                                                                                                                                                                   Get the Temu App
                              Special
                                Nearlyfor you
                                        over $7.48 $29.99                           Last day $59.84 79 bought                            $25.99 $32.99 600 bought                         Nearly over $21.25                           Nearly over $8.98
                                                                                                                                                  Price adjustment
                                 Almost sold out                                    Only 9 left                                          Almost sold out        just bought                Extra $0.42 off coupon                      Almost sold out
                                                                                                                                                                                                                                     Hello, Mike Kate
                                       Best Sellers95        5-Star Rated           Anniversary Sale            Local Warehouse           Categories           car accessories interior Only 1 Left                                                     198      Support       EN
                                                                                                                                                                                                                                     Orders & Account




                                               Local Magnetic Levitatio…                          Local Arc Reactor Light, …             Chic Light Green Asymmetrical Butt…                            Vintage Velvet Paper Patt…     2pcs/set Men's Magnetic Levitation …
                                 Nearly over $45.70 1 bought                        Nearly over $36.48                                   30d lowest $2.79                                   $7.47 $21.98 13 bought                     $4.99 $23.66 14 bought
                                 Only 4 left 30d lowest                                                                                  Almost sold out                                  Almost sold out                              Almost sold out




                                 Steampunk Mechanical Bean Girl 3…                   Local Modern Style Home Bedroo…                     Acrylic Purple Fairy Figurine Keychai…                         Resin Steampunk Mecha…                     DIY Steampunk Butterfly …
                                 Last day $16.97 $39.99                             $43.99 In 13 carts                                   Last day $1.59 2 bought                          Last day $22.47 $38.99                       Nearly over $20.98 $61.99

                                  Extra $0.42 off coupon                            Almost sold out                                                                                       Only 5 left                                   Extra $0.42 off coupon
                                 Only 4 left                                                                                                                                                                                           Almost sold out
                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                        Messages
                                                                                                                                                       View more
        COUPONS

                                                                                                                                                                                                                                                                                      Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/2pcs-acrylic-butterfly-hanging-ornament-for-car-elegant-pink-decorative-pendant-with-chain-g-601099540383901.html                                                                                                                                                         8/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 445 of 685 PageID #:498




9/16/24, 3:11 PM                                                                                                                             Acrylic Butterfly Hanging Ornament Car Elegant Pink - Temu

                                                                                                                                                      Up to 90 days*
                              Free shipping
                         Special
                                                                                                                                                                                                                                                              Get the Temu App
                     Company infofor you                                               Customer service                                                Help
                                                                                                                                                   Price adjustment                                        Download the Temu App                            Connect with Temu

                     About Temu                                                       Return and refund policy                                         Support center & FAQ                                     Track orders any time
                                                                                                                                                                                                                                         Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale        Local Warehouse              Categories          car accessories interior                                                                       Support     EN
                     Temu - Team Up, Price Down!                                                                                                                                                                                         Orders & Account
                                                                                      Intellectual property policy                                     Safety center                                            Low stock items alerts
                     Affiliate & Influencer: Earn Commission
                                                                                       Shipping info                                                   Temu purchase protection                                 Coupons & offers alerts
                     Contact us
                                                                                       Your Recalls and Product Safety Alerts                          Sitemap
                                                                                                                                                                                                                       Download on the
                     Careers
                                                                                       Report suspicious activity                                      How to order                                                    App Store
                     Press
                                                                                                                                                       How to track
                                                                                                                                                                                                                       Get it on
                     Temu's Tree Planting Program
                                                                                                                                                       Partner with Temu                                               Google Play



                     Security certification                                                                                                            We accept




                                                                                                         © 2024 WhaleCo Inc.        Terms of use      Privacy policy   Your privacy choices               Ad Choices




                                                                                                                                                                                                                                                                                    99+

         BONUS                                                                                                                                                                                                                                                                   Messages
        COUPONS

                                                                                                                                                                                                                                                                                 Feedback



https://www.temu.com/2pcs-acrylic-butterfly-hanging-ornament-for-car-elegant-pink-decorative-pendant-with-chain-g-601099540383901.html                                                                                                                                                    9/9
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 446 of 685 PageID #:499




9/16/24, 3:11 PM                                                                                                                                        Temu


                           Free shipping                                                                                           Delivery guarantee
                           Special for you                                                                                         Refund for any issues
                                                                                                                                                                                                                                                  Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                     Order summary
                              Free shipping special for you

                                                                                                                                                                                                        Enter coupon code                                       Apply
                   Shipping address                                                                                                                                Change address

                                                                                                                                                                                                     Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                               Item(s) total:                                               $160.86

                       CHICAGO, IL 60602-3902, United States                                                                                                                                         Item(s) discount:                                            -$99.40

                                                                                                                                                                                                     Subtotal:                                                     $61.46


                   Ships from Temu (14) 1 item is almost gone!                                                                                                                                       Shipping:                                                       FREE
                                                                                                                                                                                                        Free shipping for items shipped from Temu is an exclusive
                                                    2pcs Acrylic Butterfly Hanging Ornament for Car - Elegant Pink Decorative Pendant with Chain                                                     offer. Please submit your order as soon as possible.
                                                    2pcs
                                                                                                                                                                      Qty:   1                       Sales tax:                                                      $6.30
                                                    Lightning deal | -61% final hours
                                                                                                                                                                                                     Order total:                                                 $67.76


                          Almost sold out                                                                                                                                                            Plant with Temu
                                                      $4.39 $11.49
                                                                                                                                                                                                           We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                                               Submit order
                                                                                                                                                                                                                                  1 almost sold out
                   Payment methods
                                                                                                                                                                                                          Temu's Tree Planting Program
                                    Visa ...1950                                                                                                                             Edit
                                                                                                                                                                                                     Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                     Future to plant trees across sub-Saharan Africa
                                    Add a new card


                                    PayPal           Remember my PayPal                                                                                                                                   Temu protects your card information
                                                                                                                                                                                                          Temu follows the Payment Card Industry Data Security
                                    Cash App Pay                                                                                                                                                          Standard (PCI DSS) when handling card data
                                                                                                                                                                                                          Card information is secure and uncompromised
                                                                                                                                                                                                          All data is encrypted
                                    Afterpay       4 interest-free payments of $16.94
                                                                                                                                                                                                          Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"09bdcccf-5f29-4062-baf4-b6bc39d62aaa"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_a…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 447 of 685 PageID #:500




9/16/24, 3:11 PM                                                                                                                                        Temu

                                    Klarna      4 interest-free payments of $16.94


                                    Affirm      4 interest-free payments or as low as $6.27/mo

                                                                                                                                                                                                          Secure privacy
                                    Venmo                                                                                                                                                            Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                     that your information will be kept secured and
                                                                                                                                                                                                     uncompromised. We do not sell your personal information
                                    Google Pay
                                                                                                                                                                                                     for money and will only use your information in accordance
                                                                                                                                                                                                     with our privacy and cookie policy to provide and improve
                                    PayPal Pay Later                                                                                                                                                 our services to you.
                                                                                                                                                                                                     Learn more

                                                                                                                                                                                                          Delivery guarantee
                                                                                                                                                                                                          $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                                          15-day no update refund          30-day no delivery refund
                                                                                                                                                                                                     Learn more

                                                                                                                                                                                                          Temu purchase protection
                                                                                                                                                                                                     Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                     wrong, we've always got your back.
                                                                                                                                                                                                     Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"09bdcccf-5f29-4062-baf4-b6bc39d62aaa"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_a…   2/2
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 448 of 685 PageID #:501




9/16/24, 3:10 PM                                                                                                                                          Green Acrylic Butterfly Car Charm - Temu


                               Free shipping                                                                                                             Free returns
                               Special for you                                                                                                           Up to 90 days*
                                                                                                                                                                                                                                                                         Get the Temu App


                                                                                                                                                                                                                                            Hello, Mike Kate
                                        Best Sellers          5-Star Rated            Anniversary Sale            Local Warehouse          Categories              ephemera                                                                                           Support            EN
                                                                                                                                                                                                                                            Orders & Account


                                  Home       Automotive        Interior Accessories       Chic Light Green Acrylic B...


                                                                                                                                                                                                            Free shipping special for you                              Exclusive offer


                                                                                                                                                                                Chic Light Green Acrylic Butterfly Car Charm - Asymmetric Design,
                                                                                                                                                                                Perfect for Rearview Mirror & Keychain Decor, Ideal Couple's Gift
                                                                                                                                                                                15 bought Provided by                (100K+ bought)


                                                                                                                                                                                    $1.61 Pay $0.40 today -73% limited time $5.99
                                                                                                                                                                                                          4 interest-free biweekly installments


                                                                                                                                                                                  Lightning deal                      Ends in 04:11:49:26

                                                                                                                                                                                   Quantity: 1pc

                                                                                                                                                                                   Qty       1                      Almost sold out



                                                                                                                                                                                                                         Add to cart
                                                                                                                                                                                                                          Almost sold out



                                                                                                                                                                                      Ships from Temu

                                                                                                                                                                                         Standard: FREE                                                 Express: $12.90 or FREE (orde
                                                                                                                                                                                         Delivery: 4-10 business days, 81.7% within 8                   Delivery: 3-9 business days, 7
                                                                                                                                                                                         business days                                                  business days
                                                                                                                                                                                         Courier company:            DHL eCommerce ...                  Courier company:        FedEx


                                                                                                                                                                                      Temu's Commitments

                                  No item reviews yet                                                                                                                                    Security & Privacy            Delivery guarantee
                                  But we found 650 reviews from similar items on Temu.                                                                                                     Safe payments                 $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                           Secure privacy                15-day no update refund         30-day no delivery refund
                                                                                                                                                                                                                                                                                                 99+
                                  Reviews from similar items on Temu                                                All reviews are from verified purchases                           Free returns Price adjustment
         BONUS                                                                                                                                                                                                                                                                                Messages
        COUPONS                   Ta*** W in           on Jan 17, 2024
                                                                                                                                                                                      Temu's Tree Planting Program (14M+ trees)
                                                                                                                                                                                                                                                                                              Feedback
                               Free shipping
                                 very nice   special for you                                  Price adjustment within 30 days

https://www.temu.com/acrylic-green-crackle-butterfly-pendant-light-green-asymmetric-butterfly-car-pendant-car-rearview-mirror-pendant-holiday-decoration-gift-couple-gift-fashion-keychain-g-601099553924962.html                                                                                      1/9
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9/16/24, 3:10 PM                                                                                                                                          Green Acrylic Butterfly Car Charm - Temu

                                   This review is for: 1pc 2D Crystal Butterfly Acrylic Ornaments, Interior Car Rearview Mirror Orna…
                               Free shipping                                                                                                             Free returns
                               Special for you                                                                                                           Up to 90 days*
                                                                                                                                                                                                                                         Get the Temu App
                                 sh***62 in           on Sep 6, 2024
                                                                                                                                                                                                                    Hello, Mike Kate
                                        Best Sellers          5-Star Rated            Anniversary Sale            Local Warehouse          Categories              ephemera                                                            Support   EN
                                                                                                                                                                                                                    Orders & Account
                                   This review is for: Acrylic Butterfly Hanging Ornament, Green Crackled Design, Decorative Pend…


                                  Vero Morales in             on Apr 14, 2024



                                   This review is for: 1pc 2D Crystal Butterfly Acrylic Ornaments, Interior Car Rearview Mirror Orna…



                                                                                         See all reviews




                                                           StrongerA
                                                           1.1K+ Followers          100K+ Bought            4.8

                                                                               Follow                             Shop all items (615)




                                  Details                                                                                          Save      Report this item

                                  Material: Acrylic

                                  Applicable Models: See Product Details

                                  Item ID: QR82649 Copy

                                  See more




                                                                                                                                                                                                                                                               99+

         BONUS                                                                                                                                                                                                                                              Messages
        COUPONS

                                                                                                                                                                                                                                                            Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/acrylic-green-crackle-butterfly-pendant-light-green-asymmetric-butterfly-car-pendant-car-rearview-mirror-pendant-holiday-decoration-gift-couple-gift-fashion-keychain-g-601099553924962.html                                                    2/9
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 450 of 685 PageID #:503




9/16/24, 3:10 PM                                                                                                                                          Green Acrylic Butterfly Car Charm - Temu


                               Free shipping                                                                                                             Free returns
                               Special for you                                                                                                           Up to 90 days*
                                                                                                                                                                                                                                                                  Get the Temu App


                                                                                                                                                                                                                                      Hello, Mike Kate
                                        Best Sellers          5-Star Rated            Anniversary Sale            Local Warehouse          Categories              ephemera                                                                                    Support       EN
                                                                                                                                                                                                                                      Orders & Account




                                  Explore your interests




                                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                                                                       Messages
        COUPONS
                                   Local Anti-Gravity Magnetic Levitat…               HOTU Sunrise Alarm Clock with Wir…                               Steampunk Mechanical I…                             Vintage Washi Adhesive …                 1pc Acrylic Brown Butterf…
                                                                                                                                                                                                                                                                                     Feedback
                                  Nearly over $39.43 3 bought                         Nearly over $10.31                                  Last day $16.97 $52.99                              Nearly over $7.19 $8.01                   30d lowest $0.79 $1.34
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/acrylic-green-crackle-butterfly-pendant-light-green-asymmetric-butterfly-car-pendant-car-rearview-mirror-pendant-holiday-decoration-gift-couple-gift-fashion-keychain-g-601099553924962.html                                                                             3/9
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 451 of 685 PageID #:504




9/16/24, 3:10 PM                                                                                                                                          Green Acrylic Butterfly Car Charm - Temu

                                  Almost sold out                                                                                          Extra $0.14 off coupon                             Almost sold out                              Almost sold out
                               Free shipping                                              Direct from HOTU                                               Free returns
                               Special for you                                                                                            Almost soldUp
                                                                                                                                                     outto 90 days*                                                                                                Get the Temu App


                                                                                                                                                                                                                                         Hello, Mike Kate
                                        Best Sellers          5-Star Rated            Anniversary Sale            Local Warehouse          Categories              ephemera                                                                                      Support         EN
                                                                                                                                                                                                                                         Orders & Account




                                               Colorful Acrylic Butterfly …            Local Floating Light Bulb For Living…                            Full Moon Floating Pool L…                          4pcs Vintage Butterfly Bo…                 3D Crystal Hummingbird …
                                  $2.75 $12.99 In 3 carts                             $43.99 $125.00 11 bought                            Nearly over $10.78                                     $4.66 $7.99 28 bought                     Nearly over $7.04
                                   Extra $0.14 off coupon                             Almost sold out                                     Almost sold out                                     Almost sold out                              Almost sold out
                                  Only 1 Left




                                   Local 360° Rotating Magnetic Levit…                              Local 3D Metal Puzzles F…             20pcs Butterfly Stickers with Golden…               Cyberpunk Metal Robot Figurine - …            Local Living Room Floating Bulbs …

                                  Nearly over $41.31 1 bought                         Last day $59.81 15 bought                           Nearly over $1.69 In 1 carts                           $13.99 41 bought                          $43.49 2 bought
                                  Almost sold out                                     Almost sold out 30d lowest                          Only 4 left                                         Only 5 left                                  Almost sold out




                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                      Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/acrylic-green-crackle-butterfly-pendant-light-green-asymmetric-butterfly-car-pendant-car-rearview-mirror-pendant-holiday-decoration-gift-couple-gift-fashion-keychain-g-601099553924962.html                                                                              4/9
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9/16/24, 3:10 PM                                                                                                                                          Green Acrylic Butterfly Car Charm - Temu


                               Free shipping                                                                                                             Free returns
                               Special for you                                                                                                           Up to 90 days*
                                                                                                                                                                                                                                                                      Get the Temu App


                                                                                                                                                                                                                                        Hello, Mike Kate
                                        Best Sellers          5-Star Rated            Anniversary Sale            Local Warehouse          Categories              ephemera                                                                                         Support     EN
                                                                                                                                                                                                                                        Orders & Account




                                  Chic Light Green Asymmetrical Butt…                               Sparkling 3D Butterfly Sti…           Portable Mini Bullet Massager - USB…                Enchanting Acrylic Butterfly Fairy 2D…                    Mechanical Dragonfly Ste…
                                  30d lowest $2.79                                    Lowest ever $6.29                                      $8.54 $37.99                                     Nearly over $1.79 1 bought                  Last day $16.88 $19.88
                                  Almost sold out                                     Only 8 left                                             just bought                                     Only 5 left                                  Extra $0.70 off coupon
                                                                                                                                                             172                                                                          Only 5 left




                                                Local 1 Pc Magnetic Flo…                            1pc/20pcs pink crystal bu…                         1pc 3D Carved Bird Cryst…                            Cyberpunk Mantis Insect …     Multifunctional Wireless Charging S…
                                  Nearly over $69.52 $95.99                           Nearly over $4.28 $13.10                            Last day $5.77 $39.00                                  $17.99 $20.24 1 bought                   Lowest ever $10.33
                                  Almost sold out                                     Only 3 left                                         Only 3 left 60d lowest                               Extra $0.42 off coupon                     Only 7 left
                                                                                                                                                                                              Only 9 left                                                  118




                                                                                                                                                                                                                                                                                            99+

         BONUS                                                                                                                                                                                                                                                                           Messages
        COUPONS

                                                                                                                                                                                                                                                                                         Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/acrylic-green-crackle-butterfly-pendant-light-green-asymmetric-butterfly-car-pendant-car-rearview-mirror-pendant-holiday-decoration-gift-couple-gift-fashion-keychain-g-601099553924962.html                                                                                 5/9
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9/16/24, 3:10 PM                                                                                                                                          Green Acrylic Butterfly Car Charm - Temu

                                                Vintage Velvet Paper Patt…                          Local Magnetic Levitatin…             Cyberpunk Mantis Mechanical Scul…                    Local Modern Style Home Bedroo…                          10PCS Acrylic Koi Fish Ch…
                               Free shipping                                                                                                             Free returns
                                                                                                                                                                                                                                                                      Get the Temu App
                                   $7for
                               Special .47 you
                                           $21.98 13 bought                           $47.64 $180.45 180 bought                              $20.24 6Up to 90 days*
                                                                                                                                                     bought                                   $43.99 In 13 carts                          Last day $2.27 $20.99
                                  Almost sold out                                      Extra $2.11 off coupon                              Extra $0.42 off coupon                             Almost sold out                             Only 8 left
                                                                                                                                                                                                                                        Hello, Mike Kate    102
                                        Best Sellers          5-Star Rated            Almost soldSale
                                                                                      Anniversary out             Local Warehouse         Only 1 Left
                                                                                                                                           Categories              ephemera                                                                                         Support       EN
                                                                                                                                                                                                                                        Orders & Account




                                                Vibrant Purple Acrylic But…                         Local 3D Constellation C…             Wireless BT Speakers With Wireless …                              20-Piece Shimmering Ice …                   1pc Magnetic Suspensio…
                                  Last day $3.99 $6.98                                Nearly over $7.98 $20.79                            Last day $11.97                                     Nearly over $3.00 $9.58                     Last day $51.42
                                  Almost sold out                                                                                         Best Seller in Audio & Radio: USB                   Only 9 left                                 Almost sold out 30d lowest
                                                                                                                                                             6,571                                                                                          123
                                                                                                                                              Direct from Kouzone




                                                Steampunk Mechanical D…               9 Pairs/ Set Colorful Butterfly Wing …              Acrylic Purple Fairy Figurine Keychai…              Steam Punk Mechanical Insect DIY …           Local Cool Industrial Metal Tube R…

                                  $19.34 $34.99 2 bought                              Nearly over $5.71                                   Last day $1.59 2 bought                             Last day $20.57 $26.89                      Nearly over $29.57
                                   Extra $0.99 off coupon                             Almost sold out                                                                                          Extra $0.14 off coupon                      Extra $2.95 off coupon
                                                                                                                                                                                                                                                                                            99+
                                  Only 7 left                                                            251                                                                                  Only 4 left                                 Almost sold out
         BONUS                                                                                                                                                                                                                                                                           Messages
        COUPONS

                                                                                                                                                                                                                                                                                         Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/acrylic-green-crackle-butterfly-pendant-light-green-asymmetric-butterfly-car-pendant-car-rearview-mirror-pendant-holiday-decoration-gift-couple-gift-fashion-keychain-g-601099553924962.html                                                                                 6/9
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9/16/24, 3:10 PM                                                                                                                                          Green Acrylic Butterfly Car Charm - Temu


                               Free shipping                                                                                                             Free returns
                               Special for you                                                                                                           Up to 90 days*
                                                                                                                                                                                                                                                                     Get the Temu App


                                                                                                                                                                                                                                         Hello, Mike Kate
                                        Best Sellers          5-Star Rated            Anniversary Sale            Local Warehouse          Categories              ephemera                                                                                       Support         EN
                                                                                                                                                                                                                                         Orders & Account




                                                Local Flip Clock, Retro Vi…                        1pc Moving Sand Art Tab…               Mechanical Butterfly 3D Metal Mod…                                Local Arc Reactor Light, …      Local Concealed Carry Gun Pouch, …

                                  $38.23 $119.99 11 bought                            Last day $9.66                                      Nearly over $49.39                                  Nearly over $36.48                           $25.99 $32.99 599 bought
                                  Almost sold out                                     Almost sold out           just bought               Almost sold out                                                                                  Almost sold out       just bought
                                                                                                         710
                                      Direct from Keenso




                                  Crystal Shell Butterfly PET Stickers - …                         100pcs Sparkling Hologr…                Local Charming 2-piece Acrylic But…                             Upgraded Galaxy Lamp U…                     2Pc/1Pc Ghost Campfire …
                                  Nearly over $3.48 4 viewed                          Nearly over $2.50                                   $6.49 1 viewed                                      Nearly over $8.98                            Last day $12.97
                                  Only 5 left                                         Almost sold out                                     Almost sold out                                     Almost sold out                              Best Seller in Outdoor Storage
                                                                                                                                                                                                                    198                                     87




                                                                                                                                                                                                                                                                                           99+

         BONUS                                                                                                                                                                                                                                                                          Messages
        COUPONS

                                                                                                                                                                                                                                                                                        Feedback
                               Free shipping special for you                                  Price adjustment within 30 days

https://www.temu.com/acrylic-green-crackle-butterfly-pendant-light-green-asymmetric-butterfly-car-pendant-car-rearview-mirror-pendant-holiday-decoration-gift-couple-gift-fashion-keychain-g-601099553924962.html                                                                                7/9
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9/16/24, 3:10 PM                                                                                                                                          Green Acrylic Butterfly Car Charm - Temu


                               Free shipping                                                                                                             Free returns
                               Special for you                                                                                                           Up to 90 days*
                                                                                                                                                                                                                                                                          Get the Temu App


                                                                                                                                                                                                                                             Hello, Mike Kate
                                        Best Sellers          5-Star Rated            Anniversary Sale            Local Warehouse          Categories              ephemera                                                                                             Support        EN
                                                                                                                                                                                                                                             Orders & Account




                                   Local Modern Style Home Bedroo…                                 Steampunk Sickle Drago…                 Local 180 Sheets Vintage Floral Irre…                            Resin Steampunk Mecha…                           1pc 3D Bird Crystal Carve…
                                  $43.49 $99.99 6 bought                              Nearly over $21.25                                  Nearly over $11.98 In 3 carts                       Last day $22.47 $38.99                           Nearly over $6.30
                                  Almost sold out                                      Extra $0.42 off coupon                             Almost sold out                                     Only 5 left                                      Only 7 left
                                                                                      Only 1 Left                                                                                                                                                                73




                                                Local HCNT Levitation A…              2pcs/set Men's Magnetic Levitation …                              Steampunk Mechanical I…                Local 1pc In/outdoor 23.6inch Mo…                             Local 1pc Magnetic Met…
                                  Nearly over $44.22 $65.00                           $4.99 $23.66 14 bought                                 $21.24 $36.88 1 bought                           Nearly over $117.79                              Last day $59.84 79 bought
                                   Extra $3.52 off coupon                             Almost sold out                                      Extra $0.14 off coupon                             Only 5 left                                      Only 9 left
                                  Only 3 left                                                                                             Only 9 left



                                                                                                                                                         View more



                                                                                                                                                                                                                                                                                                99+

         BONUS                                                                                                                                                                                                                                                                               Messages
        COUPONS
             Company info                                                                Customer service                                                  Help                                                Download the Temu App                                   Connect with Temu

                      About Temu                                                         Return and refund policy                                          Support center & FAQ                                     Track orders any time                                                    Feedback
                             FreeUp,
                      Temu - Team shipping    special for you
                                     Price Down!                                              Price adjustment within 30 days
                                                                                         Intellectual property policy                                      Safety center                                            Low stock items alerts
https://www.temu.com/acrylic-green-crackle-butterfly-pendant-light-green-asymmetric-butterfly-car-pendant-car-rearview-mirror-pendant-holiday-decoration-gift-couple-gift-fashion-keychain-g-601099553924962.html                                                                                     8/9
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9/16/24, 3:10 PM                                                                                                                                          Green Acrylic Butterfly Car Charm - Temu

                      Affiliate & Influencer: Earn Commission                            Shipping info                                                    Temu purchase protection                                  Coupons & offers alerts
                               Free shipping                                                                                                             Free returns
                               Special for you                                                                                                           Up to 90 days*
                                                                                                                                                                                                                                                                 Get the Temu App
                      Contact us                                                         Your Recalls and Product Safety Alerts                            Sitemap
                                                                                                                                                                                                                          Download on the
                      Careers                                                           Report suspicious activity                                         How to order                                                   App Store         Hello, Mike Kate
                                        Best Sellers          5-Star Rated            Anniversary Sale       Local Warehouse               Categories           ephemera                                                                                       Support   EN
                                                                                                                                                                                                                                            Orders & Account
                      Press                                                                                                                                How to track
                                                                                                                                                                                                                          Get it on
                      Temu's Tree Planting Program                                                                                                         Partner with Temu                                              Google Play



                      Security certification                                                                                                               We accept




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                                                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                                                    Feedback



https://www.temu.com/acrylic-green-crackle-butterfly-pendant-light-green-asymmetric-butterfly-car-pendant-car-rearview-mirror-pendant-holiday-decoration-gift-couple-gift-fashion-keychain-g-601099553924962.html                                                                            9/9
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9/16/24, 3:10 PM                                                                                                                                       Temu


                           Free shipping                                                                                          Delivery guarantee
                           Special for you                                                                                        Refund for any issues
                                                                                                                                                                                                                                                 Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                     Order summary
                              Free shipping special for you

                                                                                                                                                                                                       Enter coupon code                                       Apply
                   Shipping address                                                                                                                               Change address

                                                                                                                                                                                                     Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                               Item(s) total:                                               $77.87

                       CHICAGO, IL 60602-3902, United States                                                                                                                                         Item(s) discount:                                           -$56.94

                                                                                                                                                                                                     Subtotal:                                                    $20.93


                   Ships from Temu (13) 1 item is almost gone!                                                                                                                                       Shipping:                                                      FREE
                                                                                                                                                                                                        Free shipping for items shipped from Temu is an exclusive
                                                    Chic Light Green Acrylic Butterfly Car Charm - Asymmetric Design, Perfect for Rearview Mirror & Keychain Decor, I…                               offer. Please submit your order as soon as possible.
                                                    1pc
                                                                                                                                                                     Qty:    13                      Sales tax:                                                     $2.15
                                                    Lightning deal | -73% limited time
                                                                                                                                                                                                     Order total:                                                $23.08


                          Almost sold out                                                                                                                                                            Plant with Temu
                                                      $1.61 $5.99
                                                                                                                                                                                                          We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                                               Submit order
                                                                                                                                                                                                                                 1 almost sold out
                   Payment methods
                                                                                                                                                                                                         Temu's Tree Planting Program
                                    Visa ...1950                                                                                                                             Edit
                                                                                                                                                                                                     Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                     Future to plant trees across sub-Saharan Africa
                                    Add a new card


                                    PayPal           Remember my PayPal                                                                                                                                  Temu protects your card information
                                                                                                                                                                                                         Temu follows the Payment Card Industry Data Security
                                    Cash App Pay                                                                                                                                                         Standard (PCI DSS) when handling card data
                                                                                                                                                                                                         Card information is secure and uncompromised
                                                                                                                                                                                                         All data is encrypted
                                    Afterpay       4 interest-free payments of $5.77
                                                                                                                                                                                                         Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"6098c4fd-2d6c-42a7-b81a-326c55d9a642"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   1/2
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9/16/24, 3:10 PM                                                                                                                                       Temu

                                    Klarna      4 interest-free payments of $5.77


                                    Venmo

                                                                                                                                                                                                         Secure privacy
                                    Google Pay                                                                                                                                                       Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                     that your information will be kept secured and
                                    Affirm                                                                                                                                                           uncompromised. We do not sell your personal information
                                    $35 product minimum applies                                                                                                                                      for money and will only use your information in accordance
                                                                                                                                                                                                     with our privacy and cookie policy to provide and improve
                                    PayPal Pay Later                                                                                                                                                 our services to you.
                                    $30 product minimum applies                                                                                                                                      Learn more

                                                                                                                                                                                                         Delivery guarantee
                                                                                                                                                                                                         $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                         15-day no update refund          30-day no delivery refund
                                                                                                                                                                                                     Learn more

                                                                                                                                                                                                         Temu purchase protection
                                                                                                                                                                                                     Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                     wrong, we've always got your back.
                                                                                                                                                                                                     Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"6098c4fd-2d6c-42a7-b81a-326c55d9a642"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   2/2
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9/16/24, 3:07 PM                                                                                                                                    Acrylic Hanging Ornaments Panda - Temu


                             Free shipping                                                                                                          Free returns
                             Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                                                   Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale           Local Warehouse         Categories             junk journal supplies                                                                           Support            EN
                                                                                                                                                                                                                                   Orders & Account


                                 Home       Automotive       Interior Accessories      4-Pack Acrylic Hanging Orn...


                                                                                                                                                                                                      Free shipping special for you                           Exclusive offer


                                                                                                                                                                          4-Pack Acrylic Hanging Ornaments - Pink Butterfly, Baby Elephant,
                                                                                                                                                                          Panda, Cute Monster - Decorative Pendants for Backpacks, Cars,
                                                                                                                                                                          Couple Gifts
                                                                                                                                                                          Provided by         (3.7K+ bought)


                                                                                                                                                                          Last day              $4.79 Pay $1.19 today
                                                                                                                                                                                                   4 interest-free biweekly installments


                                                                                                                                                                               Lightning deal                Ends in 11:52:27

                                                                                                                                                                               Color: Multicolor

                                                                                                                                                                               Qty      1                 Only 9 left



                                                                                                                                                                                                                Add to cart
                                                                                                                                                                                                                    Only 9 left



                                                                                                                                                                                 Ships from Temu

                                                                                                                                                                                     Standard: FREE                                            Express: $12.90 or FREE (orde
                                                                                                                                                                                     Delivery: 4-10 business days, 81.7% within 8              Delivery: 3-9 business days, 7
                                                                                                                                                                                     business days                                             business days
                                                                                                                                                                                     Courier company:       DHL eCommerce ...                  Courier company:        FedEx


                                                         Smart and xiaosa                                                                                                        Temu's Commitments
                                                         28 Followers         3.7K+ Bought          4.8
                                                                                                                                                                                     Security & Privacy       Delivery guarantee
                                                                                                                                                                                       Safe payments            $5.00 Credit for delay          Return if item damaged
                                                                            Follow                             Shop all items (96)
                                                                                                                                                                                       Secure privacy           15-day no update refund         30-day no delivery refund               99+

         BONUS                                                                                                                                                                                                                                                                       Messages
        COUPONS                                                                                                                                                                  Free returns Price adjustment
                                 Details                                                                                       Save     Report this item
                                                                                                                                                                                 Temu's Tree Planting Program (14M+ trees)                                                           Feedback
                             Free shipping
                               Material:      special for you
                                         Acrylic                                          Price adjustment within 30 days

https://www.temu.com/4-pack-acrylic-hanging-ornaments--butterfly-baby-elephant-panda-cute-monster-decorative-pendants-for-backpacks-cars-couple-gifts-g-601099560468658.html                                                                                                                  1/9
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9/16/24, 3:07 PM                                                                                                                                    Acrylic Hanging Ornaments Panda - Temu

                                 Item ID: QN95970 Copy
                             Free shipping                                                                                                          Free returns
                             Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                  Get the Temu App
                               Store Information

                                                                                                                                                                                             Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale           Local Warehouse         Categories             junk journal supplies                              Support   EN
                                                                                                                                                                                             Orders & Account




                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                       Messages
        COUPONS

                                                                                                                                                                                                                                     Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/4-pack-acrylic-hanging-ornaments--butterfly-baby-elephant-panda-cute-monster-decorative-pendants-for-backpacks-cars-couple-gifts-g-601099560468658.html                                                                  2/9
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9/16/24, 3:07 PM                                                                                                                                    Acrylic Hanging Ornaments Panda - Temu


                             Free shipping                                                                                                          Free returns
                             Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                 Get the Temu App


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                                       Best Sellers         5-Star Rated           Anniversary Sale           Local Warehouse         Categories             junk journal supplies                                                            Support          EN
                                                                                                                                                                                                                         Orders & Account




                                 Explore your interests




                                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                                    Feedback
                             Free shipping
                                Local Floatingspecial  forFor
                                               Light Bulb  youLiving…                     Price adjustment
                                                                                              Steampunk    withinI…30 days
                                                                                                        Mechanical     INEYES 1pc Smart Table Lamp, Mobi…                            Metal Steampunk Vintage Fashion …     Cyberpunk Mantis Mechanical Scul…

https://www.temu.com/4-pack-acrylic-hanging-ornaments--butterfly-baby-elephant-panda-cute-monster-decorative-pendants-for-backpacks-cars-couple-gifts-g-601099560468658.html                                                                                                 3/9
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9/16/24, 3:07 PM                                                                                                                                    Acrylic Hanging Ornaments Panda - Temu

                               $43.99       $125.00 11 bought                      Last day $16.97 $52.99                            $10.29 $63.29                                   Nearly over $5.27                                $20.24 6 bought
                             Free shipping                                                                                                          Free returns
                               Almost
                             Special forsold
                                         youout                                     Extra $0.14 off coupon                           Best Seller inUp
                                                                                                                                                    Lighting & Ceiling Fa…
                                                                                                                                                      to 90 days*                    Almost sold out                                Extra $0.42 off coupon
                                                                                                                                                                                                                                                               Get the Temu App
                                                                                   Almost sold out                                                     711                                             2,094                       Only 1 Left
                                       Best Sellers         5-Star Rated           Anniversary Sale           Local Warehouse           Direct from INEYES
                                                                                                                                      Categories       junk journal supplies
                                                                                                                                                                                                                                 Hello, Mike Kate
                                                                                                                                                                                                                                                             Support      EN
                                                                                                                                                                                                                                 Orders & Account




                                               HD LIVING Crystal Hum…               Local Anti-Gravity Magnetic Levitat…              Local Modern Style Home Bedroo…                Butterfly Washi Tape Stickers - 6 Rol…                      10PCS Acrylic Koi Fish Ch…
                                 Nearly over $6.97                                 Nearly over $39.43 3 bought                       $43.49 $99.99 6 bought                          30d lowest $9.44 2 bought                     Last day $2.27 $20.99
                                 Only 6 left                                       Almost sold out                                   Almost sold out                                 Only 5 left                                   Only 8 left
                                                                                                                                                                                                                                                     102




                                 Cyberpunk Metal Robot Figurine - …                 Local 360° Rotating Magnetic Levit…                            Cyberpunk Mantis Insect …                       Sparkling 3D Butterfly Sti…     80-Piece Holographic 3D Butterfly S…
                                   $13.99 41 bought                                Nearly over $41.31 1 bought                          $17.99 $20.24 1 bought                       Lowest ever $6.29                             Nearly over $4.19 In 2 carts
                                 Only 5 left                                       Almost sold out                                    Extra $0.42 off coupon                         Only 8 left                                   Only 5 left 30d lowest
                                                                                                                                     Only 9 left


                                                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                                                  Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/4-pack-acrylic-hanging-ornaments--butterfly-baby-elephant-panda-cute-monster-decorative-pendants-for-backpacks-cars-couple-gifts-g-601099560468658.html                                                                                                               4/9
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9/16/24, 3:07 PM                                                                                                                                    Acrylic Hanging Ornaments Panda - Temu


                             Free shipping                                                                                                          Free returns
                             Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                           Get the Temu App


                                                                                                                                                                                                                                Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale           Local Warehouse         Categories             junk journal supplies                                                                       Support           EN
                                                                                                                                                                                                                                Orders & Account




                                  Local Living Room Floating Bulbs …               JETFLIP Foam Blaster Revolver Style …                          3D Mechanical Insect Mo…                         Charming Butterfly Acryli…     9 Pairs/ Set Colorful Butterfly Wing …
                                 $43.49 2 bought                                   $11.37 420 bought                                 Last day $19.37 $52.99                            $2.33 $6.99 1 bought                       Nearly over $5.71
                                 Almost sold out                                   New Arrival in Toy Guns & Access…                 Almost sold out                                                                              Almost sold out
                                                                                                                                                                                                                                                   251
                                                                                       Direct from JETFLIP




                                 Ancient Bow - 8.66inch Game Replic…                            1pc Magnetic Suspensio…              Wireless BT Speakers With Wireless …                          Steampunk Mechanical I…        1PC Glam Acrylic Butterfly Pendant …
                                 Nearly over $7.98                                 Last day $51.42                                   Last day $11.97                                   $21.24 $36.88 1 bought                     Last day $1.43 $12.58
                                 Only 2 left                                       Almost sold out 30d lowest                        Best Seller in Audio & Radio: USB               Extra $0.14 off coupon                       Only 6 left
                                                   154                                               123                                               6,571                         Only 9 left
                                                                                                                                         Direct from Kouzone




                                                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                                                  Messages
        COUPONS

                                                                                                                                                                                                                                                                                Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/4-pack-acrylic-hanging-ornaments--butterfly-baby-elephant-panda-cute-monster-decorative-pendants-for-backpacks-cars-couple-gifts-g-601099560468658.html                                                                                                             5/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 464 of 685 PageID #:517




9/16/24, 3:07 PM                                                                                                                                    Acrylic Hanging Ornaments Panda - Temu


                             Free shipping                                                                                                          Free returns
                             Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                        Get the Temu App


                                                                                                                                                                                                                          Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale           Local Warehouse         Categories             junk journal supplies                                                                    Support         EN
                                                                                                                                                                                                                          Orders & Account




                                               1pc Levitating Moon Tabl…                         Local Scout Beetle ABS …                          20-Piece Shimmering Ice …         Christmas Crystal Hummingbird Fig…                   Multifunction Wireless C…
                                 Nearly over $49.88                                Last day $43.32 $59.99                            Nearly over $3.00 $9.58                         Nearly over $6.36 4 bought             Nearly over $15.48
                                 Only 6 left                                       Almost sold out                                   Only 9 left                                     Almost sold out                        Almost sold out
                                                   361                                                                                                                                                                                        62




                                               Local 3D Metal Puzzles F…            Local Cool Industrial Metal Tube R…              1pc 3D Crystal Ball Hummingbird Gi…                       Local New Style Minimal…     Steam Punk Mechanical Insect DIY …
                                 Last day $59.81 15 bought                         Nearly over $29.57                                Nearly over $7.98                               Nearly over $181.48                    Last day $20.57 $26.89
                                 Almost sold out 30d lowest                         Extra $2.95 off coupon                           Only 8 left                                     Almost sold out                         Extra $0.14 off coupon
                                                                                   Almost sold out                                                     182                                                                  Only 4 left




                                                                                                                                                                                                                                                                              99+

         BONUS                                                                                                                                                                                                                                                             Messages
        COUPONS

                                                                                                                                                                                                                                                                           Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/4-pack-acrylic-hanging-ornaments--butterfly-baby-elephant-panda-cute-monster-decorative-pendants-for-backpacks-cars-couple-gifts-g-601099560468658.html                                                                                                        6/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 465 of 685 PageID #:518




9/16/24, 3:07 PM                                                                                                                                    Acrylic Hanging Ornaments Panda - Temu

                                              Multi-Device Wireless Ch…            Charming Black Butterfly Suncatche…                             Resin Steampunk Mecha…            Mechanical Butterfly 3D Metal Mod…           Local Modern Style Home Bedroo…
                             Free shipping                                                                                                          Free returns
                                                                                                                                                                                                                                                             Get the Temu App
                               Last day
                             Special       $11.97
                                     for you                                          $4.85 10 bought                                Last day $22
                                                                                                                                                Up.47
                                                                                                                                                   to 90 days*
                                                                                                                                                      $38.99                         Nearly over $49.39                          $43.99 In 13 carts
                                 New Arrival in Wireless Chargers                  Only 1 Left                                       Only 5 left                                     Almost sold out                             Almost sold out
                                                                                                                                                                                                                               Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale           Local Warehouse         Categories             junk journal supplies                                                                         Support     EN
                                                                                                                                                                                                                               Orders & Account




                                 Portable Mini Bullet Massager - USB…               Local 1pc In/outdoor 23.6inch Mo…                              20pcs Sparkling Butterfly …       Steampunk Mechanical Crab Collect…                      Steampunk Sickle Drago…
                                   $8.54 $37.99                                    Nearly over $117.79                                  $3.14 $12.00 2 bought                        Last day $16.19 3 bought                    Nearly over $21.25
                                     just bought                                   Only 5 left                                       Only 5 left                                     Only 2 left                                  Extra $0.42 off coupon
                                                   172                                                                                                                                                                           Only 1 Left




                                 Futuristic Robot Brooch Pin - Creati…                           Local Flip Clock, Retro Vi…                       1pc 3D Carved Bird Cryst…                       Local Magnetic Floating …                   Local 1pc Coffee Pot, Co…

                                   $1.99 27 bought                                 $38.23 $119.99 11 bought                          Last day $5.77 $39.00                           Nearly over $46.47 $209.50                  Nearly over $80.08
                                 Almost sold out                                   Almost sold out                                   Only 3 left 60d lowest                          Almost sold out                             Almost sold out


                                                                                       Direct from Keenso                                                                                                                                                                          99+

         BONUS                                                                                                                                                                                                                                                                  Messages
        COUPONS

                                                                                                                                                                                                                                                                                Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/4-pack-acrylic-hanging-ornaments--butterfly-baby-elephant-panda-cute-monster-decorative-pendants-for-backpacks-cars-couple-gifts-g-601099560468658.html                                                                                                             7/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 466 of 685 PageID #:519




9/16/24, 3:07 PM                                                                                                                                    Acrylic Hanging Ornaments Panda - Temu


                             Free shipping                                                                                                          Free returns
                             Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                               Get the Temu App


                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale           Local Warehouse         Categories             junk journal supplies                                                                          Support        EN
                                                                                                                                                                                                                                  Orders & Account




                                              Floating Planet Solar-Po…                         60pcs Vintage Charm Scr…                           Local 1pc Magnetic Met…                         Local 1pc Heavy-Duty C…                      Upgraded Galaxy Lamp U…
                                 Last day $13.97                                   Nearly over $2.78 $3.79                           Last day $59.84 79 bought                       $29.92 $142.70                                 Nearly over $8.98
                                                   76                               Extra $0.10 off coupon                           Only 9 left                                     Almost sold out                                Almost sold out        just bought
                                                                                   Almost sold out                                                                                                     273                                           198




                                 2pcs Copper Wire Vintage Edison L…                             200pcs, Butterfly Wall De…                         Steampunk Mechanical D…                         1pc/20pcs pink crystal bu…                    Local 1pc Magnetic Met…
                                 Last day $7.54 $61.00                             Last day $14.98 $22.00                            $19.34 $34.99 2 bought                          Nearly over $4.28 $13.10                       Nearly over $68.98
                                 Only 6 left Best Seller in Light Bulbs            Almost sold out                                    Extra $0.99 off coupon                         Only 3 left                                    Almost sold out
                                                                                                                                     Only 7 left



                                                                                                                                                   View more




                                                                                                                                                                                                                                                                                     99+

         BONUSCompany info                                                            Customer service                                                Help                                           Download the Temu App                                  Connect with Temu     Messages
        COUPONS
                     About Temu                                                       Return and refund policy                                        Support center & FAQ                               Track orders any time
                     Temu - Team Up, Price Down!                                      Intellectual property policy                                    Safety center                                                                                                               Feedback
                                                                                                                                                                                                         Low stock items alerts
                             Free shipping special for you                                Price adjustment within 30 days
                     Affiliate & Influencer: Earn Commission
                                                                                                                                                                                                         Coupons & offers alerts
https://www.temu.com/4-pack-acrylic-hanging-ornaments--butterfly-baby-elephant-panda-cute-monster-decorative-pendants-for-backpacks-cars-couple-gifts-g-601099560468658.html                                                                                                               8/9
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 467 of 685 PageID #:520




9/16/24, 3:07 PM                                                                                                                                    Acrylic Hanging Ornaments Panda - Temu

                     Contact us                                                       Shipping info                                                  Temu purchase protection
                             Free shipping                                                                                                          Free returns
                             Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                 Get the Temu App
                     Careers                                                          Your Recalls and Product Safety Alerts                          Sitemap                                             Download on the
                                                                                                                                                                                                          App Store
                     Press                                                           Report suspicious activity                                       How to order                                                          Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale       Local Warehouse             Categories           junk journal supplies                                                               Support   EN
                                                                                                                                                                                                                            Orders & Account
                     Temu's Tree Planting Program                                                                                                     How to track                                        Get it on
                                                                                                                                                                                                          Google Play
                                                                                                                                                      Partner with Temu



                     Security certification                                                                                                           We accept




                                                                                                       © 2024 WhaleCo Inc.         Terms of use     Privacy policy    Your privacy choices   Ad Choices




                                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                                    Feedback



https://www.temu.com/4-pack-acrylic-hanging-ornaments--butterfly-baby-elephant-panda-cute-monster-decorative-pendants-for-backpacks-cars-couple-gifts-g-601099560468658.html                                                                                                 9/9
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 468 of 685 PageID #:521




9/16/24, 3:07 PM                                                                                                                                       Temu


                           Free shipping                                                                                          Delivery guarantee
                           Special for you                                                                                        Refund for any issues
                                                                                                                                                                                                                                                 Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                    Order summary
                              Free shipping special for you

                                                                                                                                                                                                       Enter coupon code                                       Apply
                   Shipping address                                                                                                                               Change address

                                                                                                                                                                                                    Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                              Item(s) total:                                                $43.11

                       CHICAGO, IL 60602-3902, United States
                                                                                                                                                                                                    Shipping:                                                       FREE
                                                                                                                                                                                                       Free shipping for items shipped from Temu is an exclusive
                                                                                                                                                                                                    offer. Please submit your order as soon as possible.

                   Ships from Temu (9) 1 item is almost gone!                                                                                                                                       Sales tax:                                                      $4.42
                                                    4-Pack Acrylic Hanging Ornaments - Pink Butterfly, Baby Elephant, Panda, Cute Monster - Decorative Pendants for …
                                                    Multicolor
                                                                                                                                                                     Qty:    9
                                                                                                                                                                                                    Order total:                                                 $47.53

                                                    Lightning deal | Final hours
                                                                                                                                                                                                    Plant with Temu
                                                                                                                                                                                                          We invite you to plant a tree for $0.35

                             Only 9 left                                                                                                                                                                                      Submit order
                                                      $4.79
                                                                                                                                                                                                                                 1 almost sold out
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                         Temu's Tree Planting Program
                                                                                                                                                                                                    Temu and its users have donated funds to Trees for the
                   Payment methods
                                                                                                                                                                                                    Future to plant trees across sub-Saharan Africa

                                    Visa ...1950                                                                                                                            Edit


                                                                                                                                                                                                         Temu protects your card information
                                    Add a new card
                                                                                                                                                                                                         Temu follows the Payment Card Industry Data Security
                                                                                                                                                                                                         Standard (PCI DSS) when handling card data
                                    PayPal           Remember my PayPal
                                                                                                                                                                                                         Card information is secure and uncompromised
                                                                                                                                                                                                         All data is encrypted
                                    Cash App Pay                                                                                                                                                         Temu never sells your card information


                                    Afterpay       4 interest-free payments of $11.88


https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"0164b37a-772f-4c07-a39a-0a5ea6d9b5d2"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 469 of 685 PageID #:522




9/16/24, 3:07 PM                                                                                                                                       Temu

                                                                                                                                                                                                         Secure privacy
                                    Klarna      4 interest-free payments of $11.88
                                                                                                                                                                                                    Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                    that your information will be kept secured and
                                    Affirm      4 interest-free payments or as low as $4.40/mo                                                                                                      uncompromised. We do not sell your personal information
                                                                                                                                                                                                    for money and will only use your information in accordance
                                                                                                                                                                                                    with our privacy and cookie policy to provide and improve
                                    Venmo
                                                                                                                                                                                                    our services to you.
                                                                                                                                                                                                    Learn more
                                    Google Pay
                                                                                                                                                                                                         Delivery guarantee

                                    PayPal Pay Later                                                                                                                                                     $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                                         15-day no update refund          30-day no delivery refund
                                                                                                                                                                                                    Learn more

                                                                                                                                                                                                         Temu purchase protection
                                                                                                                                                                                                    Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                    wrong, we've always got your back.
                                                                                                                                                                                                    Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"0164b37a-772f-4c07-a39a-0a5ea6d9b5d2"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   2/2
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 470 of 685 PageID #:523




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                                                             Support            EN
                                                                                                                                                                                                                                       Orders & Account


                                  Home       Automotive       Interior Accessories       Elegant Butterfly Hanging ...


                                                                                                                                                                                                         Free shipping special for you                            Exclusive offer


                                                                                                                                                                              Elegant Butterfly Hanging Ornament - Acrylic, Multi-Use Decorative
                                                                                                                                                                              Pendant for Car, Christmas Tree, Backpack, Home Decor - Ideal for
                                                                                                                                                                              Couples, Gift for Special Occasions
                                                                                                                                                                              1 bought Provided by            (824 bought)


                                                                                                                                                                              Last day              $3.47 Pay $0.86 today -69% $11.49
                                                                                                                                                                                                       4 interest-free biweekly installments


                                                                                                                                                                                Lightning deal                   Ends in 11:56:47

                                                                                                                                                                                 Quantity: 1pc

                                                                                                                                                                                 Qty       1                  Almost sold out



                                                                                                                                                                                                                   Add to cart
                                                                                                                                                                                                                     Almost sold out



                                                                                                                                                                                   Ships from Temu

                                                                                                                                                                                       Standard: FREE                                              Express: $12.90 or FREE (orde
                                                                                                                                                                                       Delivery: 4-10 business days, 81.7% within 8                Delivery: 3-9 business days, 7
                                                                                                                                                                                       business days                                               business days
                                                                                                                                                                                       Courier company:        DHL eCommerce ...                   Courier company:        FedEx


                                                                                                                                                                                   Temu's Commitments
                                  No item reviews yet
                                  But we found 835 reviews from similar items on Temu.                                                                                                 Security & Privacy        Delivery guarantee
                                                                                                                                                                                         Safe payments              $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                         Secure privacy             15-day no update refund         30-day no delivery refund               99+
                                  Reviews from similar items on Temu                                              All reviews are from verified purchases
         BONUS                                                                                                                                                                                                                                                                           Messages
        COUPONS                   ai***72 in        on Oct 6, 2023                                                                                                                 Free returns Price adjustment

                                                                                                                                                                                   Temu's Tree Planting Program (14M+ trees)                                                             Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/elegant-butterfly-hanging-ornament-acrylic-multi-use-decorative-pendant-for-car-christmas-tree-backpack-home-decor-ideal-for-couples-gift-for-special-occasions-g-601099576445055.html                                                                                    1/10
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 471 of 685 PageID #:524




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu

                                Very
                              Free   pretty. Love it. not as shinny as I thought it would be but it's still very cute. arrived Free
                                   shipping                                                                                    in justreturns
                                a fewfor
                              Special days.
                                         youfast delivery.                                                                                             Up to 90 days*
                                                                                                                                                                                                                                   Get the Temu App

                                   This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…
                                                                                                                                                                                                              Hello, Mike Kate
                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                             Support   EN
                                                                                                                                                                                                              Orders & Account
                                  st***23 in        on Feb 17, 2024



                                  Cute girlie gifts for Christmas stockings! Something unique- unexpected for the girls.
                                   This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…


                                  sy***06 in         on Nov 25, 2023



                                  going to be a gift, 100% love these, just beautiful. Used for Christmas ornaments.
                                   This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…



                                                                                        See all reviews




                                                          Ryingxin Top
                                                          5 Followers         824 Bought          4.5

                                                                              Follow                             Shop all items (103)




                                  Details                                                                                         Save     Report this item

                                  Material: Acrylic

                                  Item ID: LE128043 Copy

                                  Store Information




                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                      Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/elegant-butterfly-hanging-ornament-acrylic-multi-use-decorative-pendant-for-car-christmas-tree-backpack-home-decor-ideal-for-couples-gift-for-special-occasions-g-601099576445055.html                                                 2/10
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 472 of 685 PageID #:525




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                        Hello, Mike Kate
                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                                                            Support       EN
                                                                                                                                                                                                                                        Orders & Account




                                  Explore your interests




                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                      Feedback
                              Free shipping special
                                         Local       for youMo…
                                               1pc Levitating                               Price adjustment
                                                                                                Steampunk    withinJ…30 days
                                                                                                          Mechanical     5pcs Dark Green Dead Leaf Wings B…                                                  Local Colorful moon lam…                 1pc, Express Your Love W…

https://www.temu.com/elegant-butterfly-hanging-ornament-acrylic-multi-use-decorative-pendant-for-car-christmas-tree-backpack-home-decor-ideal-for-couples-gift-for-special-occasions-g-601099576445055.html                                                                                 3/10
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 473 of 685 PageID #:526




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu

                                Nearly
                              Free     over $57.48
                                   shipping                                             $14.86 $26.99 18 bought                                   4.11 returns
                                                                                                                                        Last day $Free 18 viewed                           Nearly over $9.91 $32.97                  Last day $1.97 $2.36
                                Only for
                              Special 2 left
                                          you60d lowest                              Only 1 Left                                        Almost soldUp
                                                                                                                                                   outto 90 days*                          Only 4 left        just bought            Only 5 left                Get the Temu App


                                                                                                                                                                                                                                   Hello, Mike Kate
                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                                                        Support         EN
                                                                                                                                                                                                                                   Orders & Account




                                                20-Piece Shimmering Ice …                          Local 3D Metal Puzzles F…                          Multifunction Wireless C…            Exquisite Green Butterfly Design Da…                    HD LIVING Crystal Hum…
                                  Nearly over $3.00 $9.58                            Last day $59.81 15 bought                          Nearly over $15.48                                 Nearly over $1.34                         Nearly over $6.97
                                  Only 9 left                                        Almost sold out 30d lowest                         Almost sold out                                    Almost sold out                           Only 6 left
                                                                                                                                                           62




                                  Portable Mini Bullet Massager - USB…                            Vibrant Purple Acrylic But…                         Local Floating Light Bulb…                         Steampunk Snail Metal …     1pc Acrylic Unique Pink Butterfly Ch…
                                    $8.54 $37.99                                     Last day $3.99 $6.98                               Nearly over $47.48                                    $16.12 $25.01 14 bought                Nearly over $0.74 $11.49
                                     just bought                                     Almost sold out                                    Only 6 left                                        Almost sold out                           Almost sold out Lowest ever
                                                    172




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/elegant-butterfly-hanging-ornament-acrylic-multi-use-decorative-pendant-for-car-christmas-tree-backpack-home-decor-ideal-for-couples-gift-for-special-occasions-g-601099576445055.html                                                                              4/10
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 474 of 685 PageID #:527




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                                                   Hello, Mike Kate
                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                                                         Support        EN
                                                                                                                                                                                                                                   Orders & Account




                                                Sparkling 3D Butterfly Sti…                       G63 Smart Light Wireless…                           Local Magnetic Levitatio…            Cyberpunk Mantis Mechanical Scul…                       Resin Steampunk Mecha…
                                  Lowest ever $6.29                                  Last day $10.31                                    Nearly over $45.70 1 bought                           $20.24 6 bought                        Last day $22.47 $38.99
                                  Only 8 left                                        Best Seller in Audio & Radio                       Only 4 left 30d lowest                              Extra $0.42 off coupon                   Only 5 left
                                                                                                       334                                                                                 Only 1 Left
                                                                                         Direct from Kouzone




                                  Ancient Bow - 8.66inch Game Replic…                1pc Of 2 Rolls Of Three-dimensiona…                Wireless BT Speakers With Wireless …               1pc 2D Butterfly Keychain Acrylic Ke…                   Magnetic Levitating Mini …
                                  Nearly over $7.98                                     $3.22 123 bought                                Last day $11.97                                    Nearly over $1.31 $11.49                  Nearly over $61.19
                                  Only 2 left                                        Almost sold out                                    Best Seller in Audio & Radio: USB                  Almost sold out                           Only 5 left 60d lowest
                                                    154                                                                                                    6,571                                              55
                                                                                                                                            Direct from Kouzone




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/elegant-butterfly-hanging-ornament-acrylic-multi-use-decorative-pendant-for-car-christmas-tree-backpack-home-decor-ideal-for-couples-gift-for-special-occasions-g-601099576445055.html                                                                              5/10
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 475 of 685 PageID #:528




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                                                             Support       EN
                                                                                                                                                                                                                                       Orders & Account




                                  5pcs Blue Broken Wing Butterfly Or…                              Local 1 Pc Magnetic Flo…                           Local Floating Flowers L…                          Steampunk Mechanical I…                       3D Metal Model Kits, Min…
                                  Nearly over $5.48 8 bought                         Nearly over $69.52 $95.99                          $68.61 $75.00 In 4 carts                           Last day $16.97 $52.99                        Nearly over $8.98 $47.02
                                  Only 9 left                                        Almost sold out                                    Almost sold out                                     Extra $0.14 off coupon                       Only 6 left
                                                                                                                                            Direct from GDRASUYA10                         Almost sold out
                                                                                                                                                                                                                                             Direct from Piececool




                                  Local 360° Rotating Magnetic Levit…                Cyberpunk Metal Robot Figurine - …                 Vintage Style Hair Clip With Resin …                             2D Flat Acrylic Pink Butte…     5pcs Sea Blue Dead Leaf Wing Butt…
                                  Nearly over $41.31 1 bought                           $13.99 41 bought                                Nearly over $3.14 7 bought                         Nearly over $1.98                             $4.99 1 bought
                                  Almost sold out                                    Only 5 left                                        Only 6 left                                        Almost sold out                               Almost sold out
                                                                                                                                                                                                              335




                                                                                                                                                                                                                                                                                          99+

         BONUS                                                                                                                                                                                                                                                                         Messages
        COUPONS

                                                                                                                                                                                                                                                                                       Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/elegant-butterfly-hanging-ornament-acrylic-multi-use-decorative-pendant-for-car-christmas-tree-backpack-home-decor-ideal-for-couples-gift-for-special-occasions-g-601099576445055.html                                                                                  6/10
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 476 of 685 PageID #:529




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                  Get the Temu App


                                                                                                                                                                                                                                    Hello, Mike Kate
                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                                                            Support     EN
                                                                                                                                                                                                                                    Orders & Account




                                                1pc Levitating Moon Tabl…            Peacock Washi Tape Set, 4 Rolls, Go…                             Floating Planet Solar-Po…                          DIY Handmade 3D Wood…                      Local HCNT Levitation A…
                                  Nearly over $49.88                                 Last day $8.22 83 bought                           Last day $13.97                                    Last day $38.97                            Nearly over $44.22 $65.00
                                  Only 6 left                                        Almost sold out                                                       76                              Almost sold out                             Extra $3.52 off coupon
                                                    361                                                                                                                                                       183                     Only 3 left




                                  8 Pairs Exquisite Colorful Butterfly …                           Adult Toys, Difficult Hand…          Butterfly Washi Tape Stickers - 6 Rol…              Local Floating Light Bulb For Living…      Local 9 Pairs of Butterfly Colorful A…
                                  Nearly over $5.73 $13.49                           Last day $28.97 $39.99                             30d lowest $9.44 2 bought                          $43.99 $125.00 11 bought                   $13.81 51 bought
                                  Almost sold out                                    Only 2 left                                        Only 5 left                                        Almost sold out                             Extra $0.70 off coupon
                                                    108                                                                                                                                                                               Only 6 left




                                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                                                                       Messages
        COUPONS

                                                                                                                                                                                                                                                                                     Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/elegant-butterfly-hanging-ornament-acrylic-multi-use-decorative-pendant-for-car-christmas-tree-backpack-home-decor-ideal-for-couples-gift-for-special-occasions-g-601099576445055.html                                                                                7/10
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 477 of 685 PageID #:530




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                             Get the Temu App


                                                                                                                                                                                                                                Hello, Mike Kate
                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                                                     Support       EN
                                                                                                                                                                                                                                Orders & Account




                                               Steampunk Sickle Drago…                             Local Rechargeable G-S…                            Local Levitating Flowers …            Local 1pc In/outdoor 23.6inch Mo…                 4pcs Vintage Butterfly Bo…
                                  Nearly over $21.25                                 Nearly over $20.48                                 $50.93 $148.00 31 bought                           Nearly over $117.79                       $4.66 $7.99 28 bought
                                  Extra $0.42 off coupon                             Almost sold out          just bought                Extra $1.69 off coupon                            Only 5 left                            Almost sold out
                                  Only 1 Left                                                                                           Almost sold out




                                               Brass Gear Connection D…                           Steampunk Bee Mechani…                 Local Cool Industrial Metal Tube R…               Christmas Crystal Hummingbird Fig…      Local G-Shape Wireless Sound Daz…
                                  Nearly over $11.98                                 Nearly over $18.48 $29.99                          Nearly over $29.57                                 Nearly over $6.36 4 bought             Nearly over $17.39 5 bought
                                  Almost sold out 60d lowest                          Extra $0.14 off coupon                             Extra $2.95 off coupon                            Almost sold out                        Almost sold out
                                                    100                              Almost sold out                                    Almost sold out




                                                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                                                  Messages
        COUPONS

                                                                                                                                                                                                                                                                                Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/elegant-butterfly-hanging-ornament-acrylic-multi-use-decorative-pendant-for-car-christmas-tree-backpack-home-decor-ideal-for-couples-gift-for-special-occasions-g-601099576445055.html                                                                           8/10
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 478 of 685 PageID #:531




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                            Hello, Mike Kate
                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                                                             Support       EN
                                                                                                                                                                                                                                            Orders & Account




                                                Local Magnetic Floating …             Local 200 sheets of 50 DIY retro bu…                           1 Pair Fashion Luminous …              Local Anti-Gravity Magnetic Levitat…              Steampunk Dragonfly 3D Puzzle - D…
                                  Nearly over $46.47 $209.50                         Nearly over $9.48 26 bought                        $2.46 $20.64 9.3K+ bought                          Nearly over $39.43 3 bought                        $27.99 38 bought
                                  Almost sold out                                    Almost sold out 30d lowest                         Almost sold out                                    Almost sold out                                    Almost sold out
                                                                                                                                                           1,185



                                                                                                                                                       View more




                      Company info                                                      Customer service                                                 Help                                                 Download the Temu App                              Connect with Temu

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                      Affiliate & Influencer: Earn Commission
                                                                                        Shipping info                                                    Temu purchase protection                                  Coupons & offers alerts
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                                                                                                                                                                                                                          Download on the
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                      Press
                                                                                                                                                         How to track
                                                                                                                                                                                                                          Get it on
                      Temu's Tree Planting Program
                                                                                                                                                         Partner with Temu                                                Google Play



                      Security certification                                                                                                             We accept


                                                                                                                                                                                                                                                                                          99+

         BONUS                                                                                                                                                                                                                                                                         Messages
        COUPONS

                                                                                                                                                                                                                                                                                       Feedback
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https://www.temu.com/elegant-butterfly-hanging-ornament-acrylic-multi-use-decorative-pendant-for-car-christmas-tree-backpack-home-decor-ideal-for-couples-gift-for-special-occasions-g-601099576445055.html                                                                                  9/10
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 479 of 685 PageID #:532




9/16/24, 3:03 PM                                                                                                                               Elegant Butterfly Hanging Ornament Acrylic Multi use - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                   Get the Temu App


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                                        Best Sellers         5-Star Rated            Anniversary Sale            Local Warehouse          Categories             christmas clearance                                             Support   EN
                                                                                                                                                                                                              Orders & Account




                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                      Feedback



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                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 480 of 685 PageID #:533




9/16/24, 3:03 PM                                                                                                                                       Temu


                           Free shipping                                                                                          Delivery guarantee
                           Special for you                                                                                        Refund for any issues
                                                                                                                                                                                                                                                 Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                    Order summary
                              Free shipping special for you

                                                                                                                                                                                                       Enter coupon code                                       Apply
                   Shipping address                                                                                                                              Change address

                                                                                                                                                                                                    Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                              Item(s) total:                                              $241.29

                       CHICAGO, IL 60602-3902, United States                                                                                                                                        Item(s) discount:                                          -$168.42

                                                                                                                                                                                                    Subtotal:                                                     $72.87


                   Ships from Temu (21) 1 item is almost gone!                                                                                                                                      Shipping:                                                      FREE
                                                                                                                                                                                                       Free shipping for items shipped from Temu is an exclusive
                                                    Elegant Butterfly Hanging Ornament - Acrylic, Multi-Use Decorative Pendant for Car, Christmas Tree, Backpack, Ho…                               offer. Please submit your order as soon as possible.
                                                    1pc
                                                                                                                                                                     Qty:     1                     Sales tax:                                                     $7.47
                                                    Lightning deal | -69% final hours
                                                                                                                                                                                                    Order total:                                                 $80.34


                          Almost sold out                                                                                                                                                           Plant with Temu
                                                      $3.47 $11.49
                                                                                                                                                                                                         We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                                              Submit order
                                                                                                                                                                                                                                1 almost sold out
                   Payment methods
                                                                                                                                                                                                        Temu's Tree Planting Program
                                    Visa ...1950                                                                                                                            Edit
                                                                                                                                                                                                    Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                    Future to plant trees across sub-Saharan Africa
                                    Add a new card


                                    PayPal           Remember my PayPal                                                                                                                                 Temu protects your card information
                                                                                                                                                                                                        Temu follows the Payment Card Industry Data Security
                                    Cash App Pay                                                                                                                                                        Standard (PCI DSS) when handling card data
                                                                                                                                                                                                        Card information is secure and uncompromised
                                                                                                                                                                                                        All data is encrypted
                                    Afterpay       4 interest-free payments of $20.08
                                                                                                                                                                                                        Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"967979e2-1d01-483a-a990-0d2409056b65"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 481 of 685 PageID #:534




9/16/24, 3:03 PM                                                                                                                                       Temu

                                    Klarna      4 interest-free payments of $20.08


                                    Affirm     4 interest-free payments or as low as $7.44/mo

                                                                                                                                                                                                        Secure privacy
                                    Venmo                                                                                                                                                           Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                    that your information will be kept secured and
                                                                                                                                                                                                    uncompromised. We do not sell your personal information
                                    Google Pay
                                                                                                                                                                                                    for money and will only use your information in accordance
                                                                                                                                                                                                    with our privacy and cookie policy to provide and improve
                                    PayPal Pay Later                                                                                                                                                our services to you.
                                                                                                                                                                                                    Learn more

                                                                                                                                                                                                        Delivery guarantee
                                                                                                                                                                                                        $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                        15-day no update refund           30-day no delivery refund
                                                                                                                                                                                                    Learn more

                                                                                                                                                                                                        Temu purchase protection
                                                                                                                                                                                                    Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                    wrong, we've always got your back.
                                                                                                                                                                                                    Learn more




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                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 482 of 685 PageID #:535




9/16/24, 3:02 PM                                                                                          Valentines Day Gift 2d Acrylic Butterfly Pendant Vehicle Mirror Charm Bag Keychain Accessory Fashionable Clothing Ornament | Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you                                                                                                     Within 30 days
                                                                                                                                                                                                                                                                      Get the Temu App


                                                                                                                                                                                                                                         Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories             journaling supplies                                                                                  Support            EN
                                                                                                                                                                                                                                         Orders & Account


                                 Home       Sports & Outdoors         Sports & Outdoor Accessories          Valentine's Day Gift 2D Ac...


                                                                                                                                                                                                       Free shipping special for you                                Exclusive offer


                                                                                                                                                                           Valentine's Day Gift 2D Acrylic Butterfly Pendant - Durable PMMA
                                                                                                                                                                           Vehicle Rearview Mirror Charm, Multipurpose Bag & Keychain
                                                                                                                                                                           Accessory, Fashionable Clothing Ornament
                                                                                                                                                                           Provided by         (13K+ bought)


                                                                                                                                                                           Last day              $1.59 Pay $0.39 today -86% $11.49
                                                                                                                                                                                                     4 interest-free biweekly installments


                                                                                                                                                                             Lightning deal                     Ends in 11:57:23

                                                                                                                                                                              Quantity: 1pc

                                                                                                                                                                              Qty       1                   Almost sold out



                                                                                                                                                                                                                   Add to cart
                                                                                                                                                                                                                     Almost sold out



                                                                                                                                                                                 Ships from Temu

                                                                                                                                                                                    Standard: FREE                                                   Express: $12.90 or FREE (orde
                                                                                                                                                                                    Delivery: 4-10 business days, 81.7% within 8                     Delivery: 3-9 business days, 7
                                                                                                                                                                                    business days                                                    business days
                                                                                                                                                                                    Courier company:           DHL eCommerce ...                     Courier company:        FedEx


                                                                                                                                                                                 Temu's Commitments
                                 No item reviews yet
                                 But we found 835 reviews from similar items on Temu.                                                                                               Security & Privacy           Delivery guarantee
                                                                                                                                                                                      Safe payments                 $5.00 Credit for delay            Return if item damaged
                                                                                                                                                                                      Secure privacy                15-day no update refund           30-day no delivery refund               99+
                                 Reviews from similar items on Temu                                             All reviews are from verified purchases
         BONUS                                                                                                                                                                                                                                                                             Messages
        COUPONS                  ai***72 in        on Oct 6, 2023                                                                                                                Free returns Price adjustment

                                                                                                                                                                                 Temu's Tree Planting Program (14M+ trees)                                                                 Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/valentines-day-gift-2d-acrylic-butterfly-pendant-durable-pmma-vehicle-rearview-mirror-charm-multipurpose-bag-keychain-accessory-fashionable-clothing-ornament-g-601099588791464.html                                                                                           1/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 483 of 685 PageID #:536




9/16/24, 3:02 PM                                                                                           Valentines Day Gift 2d Acrylic Butterfly Pendant Vehicle Mirror Charm Bag Keychain Accessory Fashionable Clothing Ornament | Temu

                                Very
                              Free   pretty. Love it. not as shinny as I thought it would be but it's still very cute. arrived
                                   shipping                                                                                    in just
                                                                                                                            Price  adjustment
                                a fewfor
                              Special days.
                                         youfast delivery.                                                                                         Within 30 days
                                                                                                                                                                                                                                                               Get the Temu App

                                  This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…
                                                                                                                                                                                                                                          Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale             Local Warehouse         Categories             journaling supplies                                                                           Support   EN
                                                                                                                                                                                                                                          Orders & Account
                                 st***23 in        on Feb 17, 2024



                                 Cute girlie gifts for Christmas stockings! Something unique- unexpected for the girls.
                                  This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…


                                 sy***06 in         on Nov 25, 2023



                                 going to be a gift, 100% love these, just beautiful. Used for Christmas ornaments.
                                  This review is for: Acrylic Unique Butterfly Car Pendant Christmas Tree Decoration Pendant Bac…



                                                                                       See all reviews




                                                         Qzw shop
                                                         268 Followers          13K+ Bought          4.7

                                                                            Follow                               Shop all items (95)




                                 Details                                                                                         Save     Report this item

                                 Major Material: Acrylic (PMMA)

                                 Festival: Valentine's Day

                                 Item ID: KC152793 Copy

                                 See more




                                 Explore your interests                                                                                                                                                                                                                              99+

         BONUS                                                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                                                  Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/valentines-day-gift-2d-acrylic-butterfly-pendant-durable-pmma-vehicle-rearview-mirror-charm-multipurpose-bag-keychain-accessory-fashionable-clothing-ornament-g-601099588791464.html                                                                                  2/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 484 of 685 PageID #:537




9/16/24, 3:02 PM                                                                                          Valentines Day Gift 2d Acrylic Butterfly Pendant Vehicle Mirror Charm Bag Keychain Accessory Fashionable Clothing Ornament | Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you                                                                                                     Within 30 days
                                                                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                                                         Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories             journaling supplies                                                                                   Support       EN
                                                                                                                                                                                                                                         Orders & Account




                                              Steampunk Mechanical J…                            Local 1pc Levitating Mo…             1pc Of 2 Rolls Of Three-dimensiona…                              Local Colorful moon lam…               Metal Steampunk Vintage Fashion …
                                    $14.86 $26.99 18 bought                        Nearly over $57.48                                    $3.22 123 bought                                Nearly over $9.91 $32.97                             Nearly over $5.27
                                 Only 1 Left                                       Only 2 left 60d lowest                             Almost sold out                                    Only 4 left        just bought                       Almost sold out
                                                                                                                                                                                                                                                            2,094




                                              50pcs Resin 3D Butterfly …           Steampunk Mechanical Mosquito M…                                 Local Magnetic Levitatio…            Exquisite Green Butterfly Design Da…                 Kouzone Sunrise Wake Up Light Ala…
                                 Nearly over $2.44                                 30d lowest $16.97                                  Nearly over $45.70 1 bought                        Nearly over $1.34                                    Last day $10.31
                                 Almost sold out                                   Almost sold out                                    Only 4 left 30d lowest                             Almost sold out                                      Almost sold out
                                                   267
                                     Direct from PIPIDREAM                                                                                                                                                                                       Direct from Kouzone




                                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                                                                          Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/valentines-day-gift-2d-acrylic-butterfly-pendant-durable-pmma-vehicle-rearview-mirror-charm-multipurpose-bag-keychain-accessory-fashionable-clothing-ornament-g-601099588791464.html                                                                                          3/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 485 of 685 PageID #:538




9/16/24, 3:02 PM                                                                                          Valentines Day Gift 2d Acrylic Butterfly Pendant Vehicle Mirror Charm Bag Keychain Accessory Fashionable Clothing Ornament | Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you                                                                                                     Within 30 days
                                                                                                                                                                                                                                                                         Get the Temu App


                                                                                                                                                                                                                                         Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories             journaling supplies                                                                                     Support           EN
                                                                                                                                                                                                                                         Orders & Account




                                               HD LIVING Crystal Hum…              5pcs Sea Blue Dead Leaf Wing Butt…                 Vintage Style Hair Clip With Resin …                Local Floating Light Bulb For Living…                             Multifunction Wireless C…
                                 Nearly over $6.97                                 $4.99 1 bought                                     Nearly over $3.14 7 bought                         $43.99 $125.00 11 bought                             Nearly over $15.48
                                 Only 6 left                                       Almost sold out                                    Only 6 left                                        Almost sold out                                      Almost sold out
                                                                                                                                                                                                                                                                62




                                 Butterfly Washi Tape Stickers - 6 Rol…                          Chic Pink Butterfly Acrylic…         5pcs Blue Broken Wing Butterfly Or…                             3D Mechanical Insect Mo…                              Local Floating Light Bulb…

                                 30d lowest $9.44 2 bought                         30d lowest $1.79                                   Nearly over $5.48 8 bought                         Last day $19.37 $52.99                               Nearly over $47.48
                                 Only 5 left                                                                                          Only 9 left                                        Almost sold out                                      Only 6 left




                                                                                                                                                                                                                                                                                                99+

         BONUS                                                                                                                                                                                                                                                                               Messages
        COUPONS

                                                                                                                                                                                                                                                                                             Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/valentines-day-gift-2d-acrylic-butterfly-pendant-durable-pmma-vehicle-rearview-mirror-charm-multipurpose-bag-keychain-accessory-fashionable-clothing-ornament-g-601099588791464.html                                                                                             4/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 486 of 685 PageID #:539




9/16/24, 3:02 PM                                                                                          Valentines Day Gift 2d Acrylic Butterfly Pendant Vehicle Mirror Charm Bag Keychain Accessory Fashionable Clothing Ornament | Temu

                                              Charming Hummingbird …               Cyberpunk Mantis Mechanical Scul…                                Local Flower Gathering …             8 Pairs Exquisite Colorful Butterfly …               2pcs Magnetic Hand Palm Acupunc…
                              Free shipping                                                                                                       Price adjustment
                                                                                                                                                                                                                                                                         Get the Temu App
                                $7.79
                              Special for you 173 bought
                                        $39.00                                        $20.24 6 bought                                            11.8730$21.99
                                                                                                                                      Last day $Within    days                           Nearly over $5.73 $13.49                             Last day $2.72 $15.00
                                 Almost sold out                                    Extra $0.42 off coupon                            Almost sold out                                    Almost sold out                                      Almost sold out
                                                                                                                                                                                                            108                          Hello, Mike Kate       597
                                       Best Sellers         5-Star Rated           Only 1 Left Sale
                                                                                   Anniversary                 Local Warehouse         Categories             journaling supplies                                                                                      Support       EN
                                                                                                                                                                                                                                         Orders & Account




                                               Local 3D Metal Puzzles F…                         1pc, Car Interior Decorati…          Peacock Washi Tape Set, 4 Rolls, Go…               Wireless BT Speakers With Wireless …                               4pcs Vintage Butterfly Bo…
                                 Last day $59.81 15 bought                         Nearly over $1.18 $5.59                            Last day $8.22 83 bought                           Last day $11.97                                        $4.66 $7.99 28 bought
                                 Almost sold out 30d lowest                        Only 4 left                                        Almost sold out                                    Best Seller in Audio & Radio: USB                    Almost sold out
                                                                                                                                                                                                            6,571
                                                                                                                                                                                             Direct from Kouzone




                                              Rustic Golden Metal Scor…            Christmas Crystal Hummingbird Fig…                 Steampunk Mechanical Insect DIY …                  Portable Mini Bullet Massager - USB…                               Cyberpunk Mantis Insect …
                                 Last day $18.67 $48.99                            Nearly over $6.36 4 bought                         $26.49 $45.99 14 viewed                               $8.54 $37.99                                        $17.99 $20.24 1 bought
                                  Extra $0.42 off coupon                           Almost sold out                                    Only 6 left                                            just bought                                      Extra $0.42 off coupon
                                 Only 9 left 30d lowest                                                                                                                                                     172                               Only 9 left
                                                                                                                                                                                                                                                                                               99+

         BONUS                                                                                                                                                                                                                                                                              Messages
        COUPONS

                                                                                                                                                                                                                                                                                            Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/valentines-day-gift-2d-acrylic-butterfly-pendant-durable-pmma-vehicle-rearview-mirror-charm-multipurpose-bag-keychain-accessory-fashionable-clothing-ornament-g-601099588791464.html                                                                                            5/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 487 of 685 PageID #:540




9/16/24, 3:02 PM                                                                                           Valentines Day Gift 2d Acrylic Butterfly Pendant Vehicle Mirror Charm Bag Keychain Accessory Fashionable Clothing Ornament | Temu


                              Free shipping                                                                                                        Price adjustment
                              Special for you                                                                                                      Within 30 days
                                                                                                                                                                                                                                                                         Get the Temu App


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                                       Best Sellers         5-Star Rated           Anniversary Sale             Local Warehouse         Categories             journaling supplies                                                                                    Support       EN
                                                                                                                                                                                                                                          Orders & Account




                                 1PC Glam Acrylic Butterfly Pendant …                            Local 1 Pc Magnetic Flo…                            Resin Steampunk Mecha…               Steampunk Dragonfly 3D Puzzle - D…                                 GAIATOP Portable Handh…
                                 Last day $1.43 $12.58                             Nearly over $69.52 $95.99                           Last day $22.47 $38.99                             $27.99 38 bought                                     Nearly over $7.97
                                 Only 6 left                                       Almost sold out                                     Only 5 left                                        Almost sold out                                      Almost sold out
                                                                                                                                                                                                                                                                107
                                                                                                                                                                                                                                                  Direct from GAIATOP




                                               20-Piece Shimmering Ice …                         1pc 3D Bird Crystal Carve…             Local Piececool 28Pcs 3D Puzzles F…                             Local Magnetic Floating …              Cyberpunk Metal Robot Figurine - …
                                 Nearly over $3.00 $9.58                           Nearly over $6.30                                   $9.99 $66.99 5 bought                              Nearly over $46.47 $209.50                             $13.99 41 bought
                                 Only 9 left                                       Only 7 left                                         Almost sold out                                    Almost sold out                                      Only 5 left
                                                                                                      73                                   Direct from Piececool




                                                                                                                                                                                                                                                                                               99+

         BONUS                                                                                                                                                                                                                                                                              Messages
        COUPONS

                                                                                                                                                                                                                                                                                            Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/valentines-day-gift-2d-acrylic-butterfly-pendant-durable-pmma-vehicle-rearview-mirror-charm-multipurpose-bag-keychain-accessory-fashionable-clothing-ornament-g-601099588791464.html                                                                                            6/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 488 of 685 PageID #:541




9/16/24, 3:02 PM                                                                                          Valentines Day Gift 2d Acrylic Butterfly Pendant Vehicle Mirror Charm Bag Keychain Accessory Fashionable Clothing Ornament | Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you                                                                                                     Within 30 days
                                                                                                                                                                                                                                                                        Get the Temu App


                                                                                                                                                                                                                                         Hello, Mike Kate
                                       Best Sellers         5-Star Rated           Anniversary Sale            Local Warehouse         Categories             journaling supplies                                                                                  Support          EN
                                                                                                                                                                                                                                         Orders & Account




                                 Simulation Water Drop Humidifier, …                Local 360° Rotating Magnetic Levit…                            Steampunk Mechanical S…                             Adult Toys, Difficult Hand…                      1pc, Creative Car Pendan…
                                 Last day $26.47                                   Nearly over $41.31 1 bought                        Last day $24.49 $52.86                             Last day $28.97 $39.99                               60d lowest $2.96 $16.99
                                 Almost sold out                                   Almost sold out                                     Extra $0.70 off coupon                            Only 2 left                                          Almost sold out
                                                   1,364                                                                              Almost sold out




                                              Multi-Device Wireless Ch…                          3D Crystal Hummingbird …                          Steampunk Bee Mechani…                 Local Cool Industrial Metal Tube R…                           Steampunk Snail Metal …
                                 Last day $11.97                                   Nearly over $7.04                                  Nearly over $18.48 $29.99                          Nearly over $29.57                                     $16.12 $25.01 14 bought
                                 New Arrival in Wireless Chargers                  Almost sold out                                     Extra $0.14 off coupon                             Extra $2.95 off coupon                              Almost sold out
                                                                                                                                      Almost sold out                                    Almost sold out




                                                                                                                                                                                                                                                                                              99+

         BONUS                                                                                                                                                                                                                                                                             Messages
        COUPONS

                                                                                                                                                                                                                                                                                           Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/valentines-day-gift-2d-acrylic-butterfly-pendant-durable-pmma-vehicle-rearview-mirror-charm-multipurpose-bag-keychain-accessory-fashionable-clothing-ornament-g-601099588791464.html                                                                                           7/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 489 of 685 PageID #:542




9/16/24, 3:02 PM                                                                                          Valentines Day Gift 2d Acrylic Butterfly Pendant Vehicle Mirror Charm Bag Keychain Accessory Fashionable Clothing Ornament | Temu

                                 Gaiatop Portable Handheld Fan, Fol…                             Local HCNT Levitation A…                           Local 1pc Heavy-Duty C…              1pc 2D Butterfly Keychain Acrylic Ke…                           100pcs Sparkling Hologr…
                              Free shipping                                                                                                        Price adjustment
                                                                                                                                                                                                                                                                      Get the Temu App
                                $8.49
                              Special for you
                                        $38.88       7.5K+ bought                  Nearly over $44.22 $65.00                          $29.92 $142.70
                                                                                                                                             Within 30 days                              Nearly over $1.31 $11.49                             Nearly over $2.50
                                 Almost sold out                                    Extra $3.52 off coupon                            Almost sold out          just bought               Almost sold out                                      Almost sold out
                                                                                                                                                                                                                                           Hello, Mike Kate
                                       Best Sellers496      5-Star Rated           Only 3 left Sale
                                                                                   Anniversary                 Local Warehouse         Categories        273 journaling supplies                             55                                                    Support          EN
                                                                                                                                                                                                                                           Orders & Account
                                     Direct from GAIATOP



                                                                                                                                                    View more




                     Company info                                                      Customer service                                                Help                                                 Download the Temu App                                  Connect with Temu

                     About Temu                                                        Return and refund policy                                        Support center & FAQ                                       Track orders any time
                     Temu - Team Up, Price Down!                                       Intellectual property policy                                    Safety center                                              Low stock items alerts
                     Affiliate & Influencer: Earn Commission
                                                                                       Shipping info                                                   Temu purchase protection                                   Coupons & offers alerts
                     Contact us
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                                                                                                                                                                                                                       Download on the
                     Careers
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                     Press
                                                                                                                                                       How to track
                                                                                                                                                                                                                       Get it on
                     Temu's Tree Planting Program
                                                                                                                                                       Partner with Temu                                               Google Play



                     Security certification                                                                                                            We accept




                                                                                                        © 2024 WhaleCo Inc.         Terms of use     Privacy policy     Your privacy choices            Ad Choices




                                                                                                                                                                                                                                                                                            99+

         BONUS                                                                                                                                                                                                                                                                           Messages
        COUPONS

                                                                                                                                                                                                                                                                                         Feedback



https://www.temu.com/valentines-day-gift-2d-acrylic-butterfly-pendant-durable-pmma-vehicle-rearview-mirror-charm-multipurpose-bag-keychain-accessory-fashionable-clothing-ornament-g-601099588791464.html                                                                                         8/8
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 490 of 685 PageID #:543




9/16/24, 3:02 PM                                                                                                                                       Temu


                           Free shipping                                                                                          Delivery guarantee
                           Special for you                                                                                        Refund for any issues
                                                                                                                                                                                                                                                  Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                     Order summary
                              Free shipping special for you

                                                                                                                                                                                                       Enter coupon code                                        Apply
                   Shipping address                                                                                                                               Change address

                                                                                                                                                                                                     Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                               Item(s) total:                                              $160.86

                       CHICAGO, IL 60602-3902, United States                                                                                                                                         Item(s) discount:                                          -$138.60

                                                                                                                                                                                                     Subtotal:                                                     $22.26


                   Ships from Temu (14) 1 item is almost gone!                                                                                                                                       Shipping:                                                       FREE
                                                                                                                                                                                                        Free shipping for items shipped from Temu is an exclusive
                                                    Valentine's Day Gift 2D Acrylic Butterfly Pendant - Durable PMMA Vehicle Rearview Mirror Charm, Multipurpose Ba…                                 offer. Please submit your order as soon as possible.
                                                    1pc
                                                                                                                                                                     Qty:    1                       Sales tax:                                                     $2.28
                                                    Lightning deal | -86% final hours
                                                                                                                                                                                                     Order total:                                                $24.54


                          Almost sold out                                                                                                                                                            Plant with Temu
                                                      $1.59 $11.49
                                                                                                                                                                                                          We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                                               Submit order
                                                                                                                                                                                                                                 1 almost sold out
                   Payment methods
                                                                                                                                                                                                         Temu's Tree Planting Program
                                    Visa ...1950                                                                                                                             Edit
                                                                                                                                                                                                     Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                     Future to plant trees across sub-Saharan Africa
                                    Add a new card


                                    PayPal           Remember my PayPal                                                                                                                                  Temu protects your card information
                                                                                                                                                                                                         Temu follows the Payment Card Industry Data Security
                                    Cash App Pay                                                                                                                                                         Standard (PCI DSS) when handling card data
                                                                                                                                                                                                         Card information is secure and uncompromised
                                                                                                                                                                                                         All data is encrypted
                                    Afterpay       4 interest-free payments of $6.13
                                                                                                                                                                                                         Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"9ea7220a-4ad4-48bf-b38f-7273238c4a33"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 491 of 685 PageID #:544




9/16/24, 3:02 PM                                                                                                                                       Temu

                                    Klarna      4 interest-free payments of $6.13


                                    Venmo

                                                                                                                                                                                                         Secure privacy
                                    Google Pay                                                                                                                                                       Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                     that your information will be kept secured and
                                    Affirm                                                                                                                                                           uncompromised. We do not sell your personal information
                                    $35 product minimum applies                                                                                                                                      for money and will only use your information in accordance
                                                                                                                                                                                                     with our privacy and cookie policy to provide and improve
                                    PayPal Pay Later                                                                                                                                                 our services to you.
                                    $30 product minimum applies                                                                                                                                      Learn more

                                                                                                                                                                                                         Delivery guarantee
                                                                                                                                                                                                         $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                         15-day no update refund           30-day no delivery refund
                                                                                                                                                                                                     Learn more

                                                                                                                                                                                                         Temu purchase protection
                                                                                                                                                                                                     Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                     wrong, we've always got your back.
                                                                                                                                                                                                     Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"9ea7220a-4ad4-48bf-b38f-7273238c4a33"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   2/2
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 492 of 685 PageID #:545




9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu


                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
                                                                                                                                                                                                                                                                     Get the Temu App


                                                                                                                                                                                                                                        Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car mirror hanging accessories                                                                     Support            EN
                                                                                                                                                                                                                                        Orders & Account


                                 Home       Arts, Crafts & Sewing        Crafting     4pcs Set Butterfly Acrylic...


                                                                                                                                                                                                           Free shipping special for you                           Exclusive offer


                                                                                                                                                                            4pcs Set Butterfly Acrylic Pendants - 2D Flat Charms for Car Decor,
                                                                                                                                                                            Keychains & Bag Accessories
                                                                                                                                                                            5 bought Provided by                (9.3K+ bought)


                                                                                                                                                                            30d lowest                 $3.14 Pay $0.78 today
                                                                                                                                                                                                     4 interest-free biweekly installments


                                                                                                                                                                              Lightning deal                      Ends in 04:12:02:10

                                                                                                                                                                               Quantity: 4pcs

                                                                                                                                                                               Qty       1                     Only 3 left



                                                                                                                                                                                                                     Add to cart
                                                                                                                                                                                                                         Only 3 left



                                                                                                                                                                                  Ships from Temu

                                                                                                                                                                                     Standard: FREE                                                 Express: $12.90 or FREE (orde
                                                                                                                                                                                     Delivery: 4-10 business days, 81.7% within 8                   Delivery: 3-9 business days, 7
                                                                                                                                                                                     business days                                                  business days
                                                                                                                                                                                     Courier company:            DHL eCommerce ...                  Courier company:        FedEx


                                                                                                                                                                                  Temu's Commitments
                                                          Odavi                                                                                                                      Security & Privacy            Delivery guarantee
                                                          157 Followers         9.3K+ Bought           4.8                                                                             Safe payments                 $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                       Secure privacy                15-day no update refund         30-day no delivery refund
                                                                             Follow                             Shop all items (53)
                                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                    Free returns Price adjustment                                                                           Messages
        COUPONS
                                                                                                                                                                                  Temu's Tree Planting Program (14M+ trees)
                                 Details                                                                                         Save     Report this item
                                                                                                                                                                                                                                                                                          Feedback
                              Free shipping
                                Material:      special for you
                                          Acrylic                                           Price adjustment within 30 days

https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                                                              1/10
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9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu

                                 Item ID: GC127542 Copy
                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
                                                                                                                                                                                                                                Get the Temu App
                                Store Information

                                                                                                                                                                                                           Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car mirror hanging accessories                                 Support   EN
                                                                                                                                                                                                           Orders & Account




                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                       2/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 494 of 685 PageID #:547




9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu


                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                           Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car mirror hanging accessories                                 Support   EN
                                                                                                                                                                                                           Orders & Account




                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                       3/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 495 of 685 PageID #:548




9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu

                                 Explore your interests
                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car mirror hanging accessories                                                                     Support       EN
                                                                                                                                                                                                                                       Orders & Account




                                               Local HCNT Moon Lamp…                             Steampunk Mechanical J…                             Piececool 3D Puzzles For …                         20pcs Pink Crystal Butterf…                    HD LIVING Crystal Hum…
                                 $50.83 $162.99 3 bought                               $14.86 $26.99 18 bought                         Nearly over $8.48 $47.02                           Lowest ever $2.24 $9.49                        Nearly over $6.97
                                  Extra $2.11 off coupon                            Only 1 Left                                        Only 3 left Lowest ever                            Almost sold out                                Only 6 left
                                 Almost sold out
                                                                                                                                           Direct from Piececool




                                              1pc, Creative Car Pendan…             Steampunk Dragonfly 3D Puzzle - D…                               Wireless Sunrise Alarm S…                          3D Butterfly Stickers Set, …     Metal Steampunk Vintage Fashion …
                                 60d lowest $2.96 $16.99                            $27.99 38 bought                                   Last day $12.47                                    Last day $3.99 $13.09                          Nearly over $5.27
                                 Almost sold out                                    Almost sold out                                        just bought                                    Only 7 left                                    Almost sold out
                                                                                                                                                         163                                                                                              2,094
                                                                                                                                           Direct from Kouzone




                                                                                                                                                                                                                                                                                          99+

         BONUS                                                                                                                                                                                                                                                                         Messages
        COUPONS

                                                                                                                                                                                                                                                                                       Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                                                           4/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 496 of 685 PageID #:549




9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu


                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                      Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car mirror hanging accessories                                                                     Support       EN
                                                                                                                                                                                                                                      Orders & Account




                                               Steampunk Bumblebee …                             40pcs Crystal Laser Butte…                          Steampunk Grasshopper …              Wireless BT Speakers With Wireless …                        1pc, Car Interior Decorati…
                                    $20.47 $52.99 4 bought                          Nearly over $2.98 $9.99                            Nearly over $20.48                                 Last day $11.97                               Nearly over $1.18 $5.59
                                  Extra $0.70 off coupon                            Only 1 Left                                        Almost sold out                                    Best Seller in Audio & Radio: USB             Only 4 left
                                 Only 4 left                                                                                                                                                               6,571
                                                                                                                                                                                              Direct from Kouzone




                                               Magnetic Levitating Mini …                        4pcs Vintage Butterfly Bo…                          80 PCS PET Ice Crystal La…                        Elegant Butterfly Hairpin: …                   Mechanical Dragonfly Ste…
                                 Nearly over $61.19                                    $4.66 $7.99 28 bought                           Nearly over $3.56 $39.30                           Nearly over $1.97                             Last day $16.88 $19.88
                                 Only 5 left 60d lowest                             Almost sold out                                    Almost sold out                                    Almost sold out                                Extra $0.70 off coupon
                                                                                                                                                                                                                                        Only 5 left




                                                                                                                                                                                                                                                                                          99+

         BONUS                                                                                                                                                                                                                                                                         Messages
        COUPONS

                                                                                                                                                                                                                                                                                       Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                                                           5/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 497 of 685 PageID #:550




9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu


                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
                                                                                                                                                                                                                                                               Get the Temu App


                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car mirror hanging accessories                                                               Support         EN
                                                                                                                                                                                                                                  Orders & Account




                                 Kouzone Sunrise Wake Up Light Ala…                               Local Floating Flowers L…            120pcs Vintage Garden Floral Sticke…                             Steampunk Mechanical A…                   Local Floating Light Bulb…
                                 Last day $10.31                                    $68.61 $75.00 In 4 carts                              $6.29 275 bought                                Nearly over $23.48                        Nearly over $47.48
                                 Almost sold out                                    Almost sold out                                    Almost sold out                                    Only 8 left                               Only 6 left
                                                                                        Direct from GDRASUYA10
                                     Direct from Kouzone




                                 Pink Butterfly Keychain, 2D Acrylic R…                           Local Colorful moon lam…                           1pc/20pcs pink crystal bu…           Cyberpunk Mantis Mechanical Scul…                       Local 5pcs Steampunk I…

                                 Nearly over $1.22 4 bought                         Nearly over $9.91 $32.97                           Nearly over $4.28 $13.10                             $20.24 6 bought                         Nearly over $32.45 3 bought
                                 Almost sold out                                    Only 4 left        just bought                     Only 3 left                                         Extra $0.42 off coupon
                                                                                                                                                                                          Only 1 Left




                                                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                                                  Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                                                      6/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 498 of 685 PageID #:551




9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu


                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
                                                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                                                    Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car mirror hanging accessories                                                                Support         EN
                                                                                                                                                                                                                                    Orders & Account




                                 A Smart Lamp With A Wireless Spea…                 1PC Glam Acrylic Butterfly Pendant …                             20-Piece Shimmering Ice …                          Cyberpunk Mantis Insect …      Local 3D Printed Magnetic Levitati…
                                 Last day $11.97                                    Last day $1.43 $12.58                              Nearly over $3.00 $9.58                              $17.99 $20.24 1 bought                    $67.49 $216.99 6 bought
                                     just bought                                    Only 6 left                                        Only 9 left                                         Extra $0.42 off coupon                     Almost sold out
                                                    721                                                                                                                                   Only 9 left
                                     Direct from Kouzone




                                 1pc Acrylic Unique Pink Butterfly Ch…              Peacock Washi Tape Set, 4 Rolls, Go…                             Cast Iron Tabletop Wine …                          1pc Magnetic Suspensio…                   DIY Handmade 3D Wood…
                                 Nearly over $0.74 $11.49                           Last day $8.22 83 bought                           Last day $11.37 $55.64                             Last day $51.42                             Last day $38.97
                                 Almost sold out Lowest ever                        Almost sold out                                    Only 4 left                                        Almost sold out 30d lowest                  Almost sold out
                                                                                                                                                                                                           123                                         183




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                                                       7/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 499 of 685 PageID #:552




9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu


                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car mirror hanging accessories                                                                    Support           EN
                                                                                                                                                                                                                                       Orders & Account




                                               Steampunk Mechanical I…                           3/5/7pcs PP Magnetic Ca…               Local Concealed Carry Gun Pouch, …                              3D Metal Model Kits, Min…                      Local 1pc Levitating Mo…

                                 $17.78 $53.00 4 bought                                $1.47 $12.99 15K+ bought                        $25.99 $32.99 598 bought                           Nearly over $8.98 $47.02                       Nearly over $57.48
                                 Almost sold out                                        just rated 5 stars                             Almost sold out          just bought               Only 6 left                                    Only 2 left 60d lowest
                                                                                                       642
                                                                                                                                                                                              Direct from Piececool




                                               Sparkling 3D Butterfly Sti…           Local New wireless sunrise alarm s…                             100pcs Sparkling Hologr…                              Local 3D Metal Puzzles F…                   Crystal Snowflake Car Ke…
                                    $6.29 $14.99 2 bought                           Nearly over $13.05                                 Nearly over $2.50                                  Last day $59.81 15 bought                      Last day $3.91 $24.49
                                 Only 8 left                                         Extra $0.14 off coupon                            Almost sold out                                    Almost sold out 30d lowest                     Only 2 left
                                                                                    Almost sold out
                                                                                                       149
                                                                                        Direct from TONGRUI




                                                                                                                                                                                                                                                                                           99+

         BONUS                                                                                                                                                                                                                                                                          Messages
        COUPONS

                                                                                                                                                                                                                                                                                        Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                                                            8/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 500 of 685 PageID #:553




9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu


                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
                                                                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                                                          Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             car mirror hanging accessories                                                                       Support       EN
                                                                                                                                                                                                                                          Orders & Account




                                              1ps, USB Clock Fan Porta…             Mechanical Butterfly Stickers: 40 Pie…              Local Modern Style Home Bedroo…                                 Multifunction Wireless C…           Vintage Steampunk Robot Figurine …
                                 Nearly over $8.98                                  Nearly over $5.49 13 bought                        $43.49 $99.99 6 bought                             Nearly over $15.48                                Nearly over $22.48
                                 Top Rated in Fans & Air Condition…                 Only 8 left                                        Almost sold out                                    Almost sold out                                   Only 4 left
                                                    1,047                                                                                                                                                   62




                                               Local New Style Minimal…              Local 200 sheets of 50 DIY retro bu…                            1pc Mechanical Insect Pr…            1pc, 3D Laser Engraved Crystal Ball …                           Local Tube Clock, DIY Ni…
                                 Nearly over $181.48                                Nearly over $9.48 26 bought                        Last day $25.47 $52.99                             Last day $4.98 $31.82                             Nearly over $56.98
                                 Almost sold out                                    Almost sold out 30d lowest                          Extra $0.70 off coupon                            Only 5 left                                       Almost sold out
                                                                                                                                       Only 5 left
                                                                                                                                                                                                                                                Direct from Nexillumi



                                                                                                                                                     View more



                                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                                            Messages
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                                                                                                                                                                                                                                                                                          Feedback
                             FreeUp,
                      Temu - Team shipping    special for you
                                     Price Down!                                            Price adjustment within 30 days
                                                                                       Intellectual property policy                                    Safety center                                             Low stock items alerts

https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                                                              9/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 501 of 685 PageID #:554




9/16/24, 2:57 PM                                                                                                                              Butterfly Acrylic Pendants 2d Flat Charms Car Decor - Temu

                      Affiliate & Influencer: Earn Commission                          Shipping info                                                  Temu purchase protection                                   Coupons & offers alerts
                              Free shipping                                                                                                      Delivery guarantee
                              Special for you                                                                                                    Refund for any issues
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                      Careers                                                         Report suspicious activity                                       How to order                                                     App Store         Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale       Local Warehouse              Categories          car mirror hanging accessories                                                                   Support   EN
                                                                                                                                                                                                                                          Orders & Account
                      Press                                                                                                                            How to track
                                                                                                                                                                                                                        Get it on
                      Temu's Tree Planting Program                                                                                                     Partner with Temu                                                Google Play



                      Security certification                                                                                                           We accept




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                                                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                                                  Feedback



https://www.temu.com/4-piece-set-butterfly-acrylic-pendants-2d-flat-charms-for-car-decor-k
                                                                                         eychains-bag-accessories-g-601099575887535.html?is_back=1                                                                                                                                     10/10
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 502 of 685 PageID #:555




9/16/24, 2:58 PM                                                                                                                                        Temu


                           Free shipping                                                                                           Delivery guarantee
                           Special for you                                                                                         Refund for any issues
                                                                                                                                                                                                                                                  Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                     Order summary
                              Free shipping special for you

                                                                                                                                                                                                        Enter coupon code                                       Apply
                   Shipping address                                                                                                                               Change address

                                                                                                                                                                                                     Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                               Item(s) total:                                                 $9.42

                       CHICAGO, IL 60602-3902, United States
                                                                                                                                                                                                     Shipping:                                                       FREE
                                                                                                                                                                                                        Free shipping for items shipped from Temu is an exclusive
                                                                                                                                                                                                     offer. Please submit your order as soon as possible.

                   Ships from Temu (3) 1 item is almost gone!                                                                                                                                        Sales tax:                                                     $0.97
                                                    4pcs Set Butterfly Acrylic Pendants - 2D Flat Charms for Car Decor, Keychains & Bag Accessories
                                                    4pcs
                                                                                                                                                                      Qty:   3
                                                                                                                                                                                                     Order total:                                                 $10.39

                                                    Lightning deal | Limited time
                                                                                                                                                                                                     Plant with Temu
                                                                                                                                                                                                          We invite you to plant a tree for $0.35

                             Only 3 left                                                                                                                                                                                       Submit order
                                                      $3.14
                                                                                                                                                                                                                                 1 almost sold out
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                         Temu's Tree Planting Program
                                                                                                                                                                                                     Temu and its users have donated funds to Trees for the
                   Payment methods
                                                                                                                                                                                                     Future to plant trees across sub-Saharan Africa

                                    Visa ...1950                                                                                                                             Edit


                                                                                                                                                                                                         Temu protects your card information
                                    Add a new card
                                                                                                                                                                                                         Temu follows the Payment Card Industry Data Security
                                                                                                                                                                                                         Standard (PCI DSS) when handling card data
                                    PayPal           Remember my PayPal
                                                                                                                                                                                                         Card information is secure and uncompromised
                                                                                                                                                                                                         All data is encrypted
                                    Cash App Pay                                                                                                                                                         Temu never sells your card information


                                    Venmo


https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"53b09020-cc60-4418-88e0-2fc16f30ce63"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_a…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 503 of 685 PageID #:556




9/16/24, 2:58 PM                                                                                                                                        Temu

                                                                                                                                                                                                         Secure privacy
                                    Google Pay
                                                                                                                                                                                                     Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                     that your information will be kept secured and
                                    Afterpay
                                                                                                                                                                                                     uncompromised. We do not sell your personal information
                                    $20 product minimum applies
                                                                                                                                                                                                     for money and will only use your information in accordance
                                                                                                                                                                                                     with our privacy and cookie policy to provide and improve
                                    Klarna
                                                                                                                                                                                                     our services to you.
                                    $20 product minimum applies
                                                                                                                                                                                                     Learn more
                                    Affirm
                                    $35 product minimum applies                                                                                                                                          Delivery guarantee
                                                                                                                                                                                                         $5.00 Credit for delay          Return if item damaged
                                    PayPal Pay Later                                                                                                                                                     15-day no update refund           30-day no delivery refund
                                    $30 product minimum applies                                                                                                                                      Learn more

                                                                                                                                                                                                         Temu purchase protection
                                                                                                                                                                                                     Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                     wrong, we've always got your back.
                                                                                                                                                                                                     Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"53b09020-cc60-4418-88e0-2fc16f30ce63"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_a…   2/2
               Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 504 of 685 PageID #:557




                 Free shipping                                                                                           Free returns
                                                                                                                                                                                                                        Get the Temu App
                 On items shipped from Temu                                                                              Up to 90 days*                                                                                                                 1 Subtotal


                                                                                                                                                                                                        Orders &                           1
                       Best Sellers        5-Star Rated      Early Black Friday    Local Warehouse    Categories    acrylic butterfly rearview mirror pendant
                                                                                                                                                                                                        Account
                                                                                                                                                                                                                       Support       EN                 $14.39
                                                                                                                                                                                                                                                      Checkout (1)
          Home     Automotive         Interior Accessories   6 Pieces Of Creative Butte...
                                                                                                                                                                                                                                                       Go to cart
                                                                                                                                            Add $15.61+ to get free shipping from this provider
                                                                                                                                                                                                                                                    Ships from
                                                                                                                                      6 Pieces Of Creative Butterfly Design Car Ornaments 2D Acrylic
                                                                                                                                      Ornaments Cute Cartoon Pendants Keychain Pendants Backpack
                                                                                                                                      Accessories Holiday Party Hanging Ornaments Exquisite Christmas Gifts
                                                                                                                                      For Friends Holiday Gifts
                                                                                                                                                                                                                                                          Almost
                                                                                                                                          Local warehouse          Delivery: 3-7 business days                                                           sold out

                                                                                                                                      1 sold Provided by           (6 sold)                                                                              $ 14.39

                                                                                                                                                                                                                                                        1
                                                                                                                                      Last day        $14.39 Pay $3.59 today
                                                                                                                                                             4 interest-free biweekly installments


                                                                                                                                        Lightning deal                   Ends in 23:06:13


                                                                                                                                         Color: 6-piece butterfly set

                                                                                                                                         Qty      1               Added         Almost sold out



                                                                                                                                                           1 Added                                                 Buy now
                                                                                                                                                       6-piece butterfly set                                       23:06:19



                                                                                                                                           Ships from this local warehouse
                                                                                                                                           Standard: $2.99 or FREE (if ordering $30.00+ from this local warehouse), fast
                                                                                                                                           delivery: 3-7 business days

                                                                                                                                           Temu's Commitments

                                                                                                                                               Security & Privacy         Delivery guarantee
                              PP Home goods 6 Sold                                                                                               Safe payments                 $5.00 Credit for delay          Return if item damaged
                                                                                                                                                 Secure privacy                15-day no update refund         20-day no delivery refund

                                                  Follow                            Shop all items (3)
                                                                                                                                           Free returns Price adjustment

                                                                                                                                           Temu's Tree Planting Program (14M+ trees)

          Details                                                                                  Save   Report this item

          Material: Acrylic

          Item ID: MX227564 Copy
                                                                                                                                                                                                                                               95
 BONUS Store Information
COUPONS

                 Free shipping on items shipped from
                                                                                             Price adjustment within 30 days
                 Temu
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          Free shipping                                                                               Free returns
                                                                                                                                                         Get the Temu App
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                                                                                                                                             Orders &                   1
               Best Sellers   5-Star Rated   Early Black Friday   Local Warehouse   Categories   acrylic butterfly rearview mirror pendant
                                                                                                                                             Account
                                                                                                                                                        Support   EN                 $14.39
                                                                                                                                                                                   Checkout (1)


                                                                                                                                                                                    Go to cart


                                                                                                                                                                                 Ships from




                                                                                                                                                                                       Almost
                                                                                                                                                                                      sold out

                                                                                                                                                                                      $ 14.39

                                                                                                                                                                                     1




                                                                                                                                                                            95
 BONUS
COUPONS

          Free shipping on items shipped from
                                                                       Price adjustment within 30 days
          Temu
           Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 506 of 685 PageID #:559




            Free shipping                                                                                      Free returns
                                                                                                                                                                                                       Get the Temu App
            On items shipped from Temu                                                                         Up to 90 days*                                                                                                             1 Subtotal


                                                                                                                                                                                     Orders &                                1
                    Best Sellers   5-Star Rated     Early Black Friday   Local Warehouse   Categories     acrylic butterfly rearview mirror pendant
                                                                                                                                                                                     Account
                                                                                                                                                                                                      Support       EN                    $14.39
                                                                                                                                                                                                                                        Checkout (1)


                                                                                                                                                                                                                                         Go to cart


                                                                                                                                                                                                                                      Ships from




                                                                                                                                                                                                                                            Almost
                                                                                                                                                                                                                                           sold out

                                                                                                                                                                                                                                           $ 14.39

                                                                                                                                                                                                                                          1




      Explore your interests




      80pcs Streamer Butterfly Stickers Set, T…   Local 12pcs 3pcs/set Retro Bronzing F…    8 Rolls PET Waterproof Transparent Flo…       Local 1pc Acrylic Purple Black Butterfl…   Acrylic Butterfly Pendant Necklace, Earr…

      $7.63 $13.99 9 sold                         $5.96 68 sold                             $11.27 $21.99 434 sold                       $2.65                                         $4.24 4 sold
      Only 1 Left                                 Almost sold out                           Almost sold out                              Only 1 Left                                 Almost sold out
                                                                                                                                                                                        High repeat customers provider
                                                                                               High repeat customers provider


                                                                                                                                                                                                                                 95
 BONUS
COUPONS

            Free shipping on items shipped from
                                                                              Price adjustment within 30 days
            Temu
              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 507 of 685 PageID #:560




                Free shipping                                                                                          Free returns
                                                                                                                                                                                                            Get the Temu App
                On items shipped from Temu                                                                             Up to 90 days*                                                                                                          1 Subtotal


                                                                                                                                                                                          Orders &                                1
                      Best Sellers    5-Star Rated     Early Black Friday     Local Warehouse   Categories       acrylic butterfly rearview mirror pendant
                                                                                                                                                                                          Account
                                                                                                                                                                                                           Support       EN                    $14.39
                                                                                                                                                                                                                                             Checkout (1)

      Unique Vibrant Acrylic Butterfly Car Pe…       60-Piece Elegant Phantom Series PET …        Local Sisters Gifts from Sister, Acrylic …     Local 4Pcs, Acrylic pendant decoratio…    Local 300lbs/330lbs/450lbs Folding W…              Go to cart
      $1.32 $4.99 4 sold                             $8.17 175 sold                              $5.48 $9.98 195 sold                           $11.99                                    $22.99 $85.99     2.3K+ sold
      Only 2 left                                    Almost sold out                                                                            Almost sold out                              just bought                                   Ships from
                                                                                                    High repeat customers provider                  Fast delivery provider
                                                        High repeat customers provider



                                                                                                                                                                                                                                                 Almost
                                                                                                                                                                                                                                                sold out

                                                                                                                                                                                                                                                $ 14.39

                                                                                                                                                                                                                                               1




      20pcs Butterfly Stickers with Golden Fo…       Shimmering 3D Butterfly Stickers Set: I…     Local 4Pcs, Acrylic pendant decoratio…        20pcs Premium Bronzed Butterfly Stick…    Butterfly Jewelry Set 5PCS - Acrylic Blu…

      $2.09 15 sold                                  Just once $3.40 $11.99 45 sold              $8.49 48 sold                                  $1.60 $1.79 44 sold                         $4.94 $5.49 9 sold
      Only 1 Left                                    Only 6 left                                 Almost sold out                                Only 2 left                               Only 6 left
            Established 1 year ago                                                                                                                  High repeat customers provider           High repeat customers provider
                                                                                                    Fast delivery provider




          Local 6 Rolls/Set Butterfly and Flower …   Local 5pc Green Butterfly Fairy Festiva…     Local 48 Pieces Of Mini 3D Butterfly A…       Exquisite Heart-shaped Blue And Gree…      Local 1 Piece, 2D Acrylic Cute Dog Car…

      $13.48 13 sold                                 Last day $6.56 49 sold                      $2.92 $7.49 23 sold                            $0.85 $1.34 9.6K+ sold                      $2.17 $12.90 422 sold
      Almost sold out                                Almost sold out                             Only 5 left                                                  1,344                       Almost sold out
                                                                                                    Fast delivery provider
            Low item return rate provider                                                                                                                                                                                             95
 BONUS
COUPONS

                Free shipping on items shipped from
                                                                                   Price adjustment within 30 days
                Temu
              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 508 of 685 PageID #:561




                Free shipping                                                                                          Free returns
                                                                                                                                                                                                             Get the Temu App
                On items shipped from Temu                                                                             Up to 90 days*                                                                                                          1 Subtotal


                                                                                                                                                                                           Orders &                               1
                      Best Sellers     5-Star Rated     Early Black Friday    Local Warehouse     Categories      acrylic butterfly rearview mirror pendant
                                                                                                                                                                                           Account
                                                                                                                                                                                                           Support       EN                    $14.39
                                                                                                                                                                                                                                             Checkout (1)


                                                                                                                                                                                                                                              Go to cart

          Local 320 PCS Colorful Butterfly Sticke…    Local 1 Pair Simple Retro Pumpkin Pe…        40pcs Iridescent PET Butterfly and Spid…       Local Charming 6-piece Colorful Owl …     Local Aesthetic Mountain Forest Sky C…
                                                                                                                                                                                                                                           Ships from
          Last day $8.45 $15.99                         $3.82 $19.69 1K+ sold                      Last day $5.94 $8.39                          $12.99 5 sold                             $34.98 1 sold
      Almost sold out                                                                              Almost sold out                               Almost sold out                           Almost sold out


                                                                                                      High repeat customers provider
                                                                                                                                                                                                                                                 Almost
                                                                                                                                                                                                                                                sold out

                                                                                                                                                                                                                                                $ 14.39

                                                                                                                                                                                                                                               1




      20/40 Pack Iridescent Butterfly Stickers,…      Delicate Acrylic Black Butterfly Design …     Local S925 Glow-at-Ninght Firefly Da…         Local 1PC Cute Shih Tzu Dog Pendant…     120pcs Stunning Vintage Floral Sticker …

           $1.69 $12.64 20 sold                       $1.05 $1.69 152 sold                           $7.67 $19.99 334 sold                       $4.99 80 sold                             $9.45 $16.99 100 sold
      Only 7 left                                     Only 5 left                                                                                Almost sold out                           Almost sold out

                                                                                                      Authorized by Annmors
                                                         High repeat customers provider                                                                                                       High repeat customers provider




          Local Set of 2 Exquisite Crystal Pink S…    280pcs Golden Foil Butterfly Stickers - …    2D Acrylic Butterfly Pendant: Perfect fo…     24-Pack Mixed Color Flower Stickers, H…   40 Pieces Three-Dimensional Nail Art D…

           $35.72 $84.00 119 sold                     $3.40 $7.99 42 sold                          $1.09 $1.39 112 sold                          $7.30 76 sold                             $4.75 $16.79 851 sold
      Almost sold out                                 Almost sold out                              Only 5 left                                   Almost sold out                           Almost sold out
                                                                                                                                                                                                                                      95
 BONUS
COUPONS     High repeat customers provider               High repeat customers provider               High repeat customers provider                 High repeat customers provider           High repeat customers provider


                Free shipping on items shipped from
                                                                                     Price adjustment within 30 days
                Temu
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                Free shipping                                                                                           Free returns
                                                                                                                                                                                                            Get the Temu App
                On items shipped from Temu                                                                              Up to 90 days*                                                                                                        1 Subtotal


                                                                                                                                                                                          Orders &                               1
                        Best Sellers   5-Star Rated     Early Black Friday    Local Warehouse    Categories      acrylic butterfly rearview mirror pendant
                                                                                                                                                                                          Account
                                                                                                                                                                                                          Support       EN                    $14.39
                                                                                                                                                                                                                                            Checkout (1)


                                                                                                                                                                                                                                             Go to cart


                                                                                                                                                                                                                                          Ships from

          162pcs Butterfly Scrapbooking Kit - DI…     Local 10 Pieces, Acrylic Pendant, Kitte…    Chic Acrylic Butterfly Keychain - 2D Me…      Shimmering Golden Butterfly Stickers -…    Local 320 pieces of PET floral noteboo…

          $9.46 $15.69 9 sold                         $13.99                                      $1.78 $12.59 2 sold                           Last day $0.83 $6.14 30 sold                $7.47 $8.59 131 sold
          Only 5 left                                 Only 7 left                                 Only 6 left                                   Almost sold out                           Almost sold out
                                                                                                                                                    High repeat customers provider                                                              Almost
             High repeat customers provider                                                                                                                                                                                                    sold out
                                                                                                                                                                                             Low item return rate provider
                                                                                                                                                                                                                                               $ 14.39

                                                                                                                                                                                                                                              1




          Local 1pc, 20cm*20cm/ 8in*8in Butter…       5pcs Light Green Ice Crystal Broken Wi…     Baroque Border PET Stickers, 10 Sheets…        Local Owl shaped flip backpack, carto…   Vintage Rusty Hollow Rose Butterfly Pa…
          Last day $5.71 $18.95 38 sold               Just once $3.55 $5.49 3 sold                $2.61 $3.49 75 sold                           $9.07 $59.99 729 sold                     $1.70 84 sold
          Almost sold out                             Only 9 left                                 Only 8 left                                   Almost sold out                           Only 6 left
                                                         High repeat customers provider              High repeat customers provider
                                                                                                                                                                                             Established 1 year ago




          Local 120PCS Fake flower head set Art…      120pcs Halloween Butterfly Sticker Set …     Local 1 pair of S925 silver hypoallerge…      Local 1pc Acrylic Condor Decorative P…    Local 4 Sets Of 800 Vintage Scrapboo…

          $16.99 726 sold                             $6.39 $13.99 136 sold                       $3.83 $17.99 2.1K+ sold                       $11.48 $17.99 25 sold                     $16.48 5 sold                              95
 BONUS Almost sold out                                Almost sold out                                just bought                                Almost sold out                           Only 6 left
COUPONS
             High repeat customers provider              High repeat customers provider
                Free shipping on items shipped from
                                                                                     Price adjustment within 30 days
                Temu
              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 510 of 685 PageID #:563




                 Free shipping                                                                                           Free returns
                                                                                                                                                                                                                 Get the Temu App
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                                                                                                                                                                                               Orders &                                  1
                      Best Sellers      5-Star Rated     Early Black Friday     Local Warehouse   Categories        acrylic butterfly rearview mirror pendant
                                                                                                                                                                                               Account
                                                                                                                                                                                                                Support      EN                       $14.39
                                                                                                                                                                                                                                                    Checkout (1)


                                                                                                                                                                                                                                                     Go to cart


                                                                                                                                                                                                                                                  Ships from




         Charming Butterfly Acrylic Hanging De…        Elegant Vintage Butterfly Necklace - Ti…    320 PCS (8 Pack) PET Transparent Artifi…        82pcs Autumn Festival Craft Set - Dark …     Local 4Pcs, Acrylic pendant decoratio…

         $1.80 $6.99 2 sold                            $2.48 $16.99 3.4K+ sold                     $5.87 222 sold                                  $3.30 165 sold                              $8.99 $28.99 10 sold
                                                                                                                                                                                                                                                        Almost
                                                       Almost sold out                             Almost sold out                                 Almost sold out                             Almost sold out                                         sold out
                                                                      470                                                                                                                         Fast delivery provider                               $ 14.39
                                                                                                                                                       High repeat customers provider
                                                                                                                                                                                                                                                      1




         3pcs Rose Flower For Mothers Day Gift…        Fantasy Territory Decorative Paper Set …    Vintage Butterfly Waterslide Decal Set, …        Local Enchanting Elf Fairy Acrylic Sun …   100pcs Non-repeating Popular Waterp…

         $14.10 $47.99     7.8K+ sold                    $1.58 $1.99 1.9K+ sold                    $1.93 15 sold                                   $6.99 $16.99 6 sold                         $3.93 228 sold
         Almost sold out                               Almost sold out        just bought          Only 5 left                                     Only 4 left                                 Only 7 left
                       1,094                                          166
            High repeat customers provider                High repeat customers provider                                                                                                          High repeat customers provider



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                                                                                                                    How to track
                 Free shipping on items shipped from                                                                                                                     Get it on
         Temu's Tree Planting Program                                                Price adjustment withinPartner
                                                                                                              30 days                                                    Google Play
                 Temu                                                                                               with Temu
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           Free shipping                                                                                         Free returns
                                                                                                                                                                                 Get the Temu App
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      Security certification                                                                                We accept
                                                                                                                                                                     Orders &                   1
                 Best Sellers   5-Star Rated   Early Black Friday        Local Warehouse   Categories       acrylic butterfly rearview mirror pendant
                                                                                                                                                                     Account
                                                                                                                                                                                Support   EN                 $14.39
                                                                                                                                                                                                           Checkout (1)


                                                                                                                                                                                                            Go to cart


                                                                                                                                                                                                         Ships from
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                                                                                                                                                                                                               Almost
                                                                                                                                                                                                              sold out

                                                                                                                                                                                                              $ 14.39

                                                                                                                                                                                                             1




                                                                                                                                                                                                    95
 BONUS
COUPONS
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                 15-day no update refund


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           Free returns on all items of this order

                                                                                                                                       Enter coupon code                              Apply
  Shipping address                                                                                               Change address

                                                                                                                                     Apply coupon code
    steven howard +1 (554)626-5486
    1 N La Salle St                                                                                                                  Item(s) total:                                     $14.39

    CHICAGO, IL 60602-3902, United States
                                                                                                                                     Shipping:                                           $2.99

                                                                                                                                     Sales tax:                                          $1.47

  Ships from         PP Home goods (1)          Local warehouse
                                                                                                                                     Order total:                                     $18.85
    Lightning deal              Last day

                               6 Pieces Of Creative Butterfly Design Car Ornaments 2D Acrylic Ornaments Cute Cartoon Pendants Ke…    Plant with Temu
                                                                                                                                         We invite you to plant a tree for $0.35
                               6-piece butterfly set
                                                                                                                   Qty:   1

                               Lightning deal | Last day                                                                                                   Submit order
                                                                                                                                                         Lightning deal | 23:05:46


                                                                                                                                        Temu's Tree Planting Program
                               Last day    $14.39                                                                                    Temu and its users have donated funds to Trees for the
                                                                                                                                     Future to plant trees across sub-Saharan Africa
  Standard shipping: $2.99, delivery: 3-7 business days



  Payment methods                                                                                                                       Delivery guarantee
                                                                                                                                        $5.00 Credit for delay       Return if item damaged
                 Card                                                                                                                   15-day no update refund
                                                                                                                                        20-day no delivery refund

            All transactions are secure and encrypted                                                                                Learn more

          * Card number                                                                                                                 Temu protects your card information
                                                                                                                                        Temu follows the Payment Card Industry Data
                  4041 1789 5899 9192
                                                                                                                                        Security Standard (PCI DSS) when handling card data
                                                                                                                                        Card information is secure and uncompromised
          * Expiration date                                                 * CVV
                                                                                                                                        All data is encrypted
                                                                                                                                        Temu never sells your card information
            12                              2028                              591


             Remember this card for future use, Temu follows the Payment Card Industry Data Security Standard (PCI DSS)
          when handling card data.

                                                                                                                                        Secure privacy
          * Billing address                                                                                                   Edit
                                                                                                                                     Protecting your privacy is important to us! Please be
          steven howard, 1 N La Salle St, CHICAGO, IL 60602-3902, United States
                                                                                                                                     assured that your information will be kept secured and
                                                                                                                                     uncompromised. We do not sell your personal
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 513 of 685 PageID #:566




       PayPal                                           information for money and will only use your
                                                        information in accordance with our privacy and cookie
                                                        policy to provide and improve our services to you.
       Cash App Pay
                                                        Learn more

       Venmo                                               Temu purchase protection
                                                        Shop confidently on Temu knowing that if something
                                                        goes wrong, we've always got your back.
       Google Pay
                                                        Learn more

       Afterpay
       $20 product minimum applies

       Klarna
       $20 product minimum applies

       Affirm
       $35 product minimum applies

       PayPal Pay Later
       $30 product minimum applies
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 514 of 685 PageID #:567
            Free shipping                                                                                Delivery guarantee
            Special for you                                                                              Refund for any issues
                                                                                                                                                                                                           Get the Temu App


                                                                                                                                                                                              Orders &
                 Best Sellers   5-Star Rated      Local Warehouse Categories       601099549945615                                                                                                               EN     Cart
                                                                                                                                                                                              Account



                                          Temu选品助手 (temushuju.com) Temu半托管绿色招商通道，点…                                        下载主图视频          相似同款            一键上架              AI数据分析         图搜同款


                                     品类: 装饰性悬挂装饰品                 店铺名称:        lucky draw
                                                                                             总销量
                                     销量: 13 件                     店铺类型: 全托管
                                                                                             日销量
                                     销售额: $ 14.17                 商店总销量: 32,000 件

                                     商品评分/评论数: 5 / 1              商店商品数: 101                 销售额

                                     库存: 1                        商店评分/评论数: 4.6 /            价格

                                     供货价: 点击查询                    3,396

                                     上架时间: 1月前                    商店粉丝数: 166

                                                                  开店时间: 9月前




                                 Home      Home & Kitchen         Home Decor Products      1pc Acrylic Pink Butterfly...

                                                                                                                              1pc Acrylic Pink Butterfly Car Pendant Christmas
                                                                                                                              Tree Decoration Pendant Backpack Pendant
                                                                                                                              Birthday Gift Halloween Family Decoration
                                                                                                                              Pendant
                                                                                                                              13 sold Provided by          (32K+ sold)            5.0


                                                                                                                              $1.09 Pay $0.27 today -80% $5.59
                                                                                                                                                          4 interest-free biweekly installments



                                                                                                                                     Free shipping special for you                  Exclusive offer


                                                                                                                              Color: Pink Butterfly 1

                                                                                                                              Qty      1                 Only 1 left


                                                                                                                                                           Add to cart
                                                                                                                                                               Only 1 left



                                                                                                                                    Free shipping on orders shipped from Temu
                                 1 reviews           5.0                                                                            Delivery: Fastest delivery in 4 business days

                                      All reviews are from verified purchases                                                       Temu's Commitments

                                 Item reviews (1)          Provider reviews (3,396)                                                  Security & Privacy        Delivery guarantee
                                                                                                                                        Safe payments             $5.00 Credit for delay          Return
                                 re***bi in       on Aug 25, 2024                                                                       Secure privacy            15-day no update refund         30-day


                                                                                                                                    Free returns Price adjustment
                                 These acrylic guys make the best rear view mirror hangers.
                                                                                                                                    Temu's Tree Planting Program (14M+ trees)

                                 Reviews from similar items on Temu
                                 ai***72 in       on Oct 6, 2023



                                 Very pretty. Love it. not as shinny as I thought it would be but it's still
                                 very cute. arrived in just a few days. fast delivery.

                                  This review is for: Unique Butterfly-Shaped Acrylic Pendant - Hangi…


                                 st***23 in       on Feb 18, 2024



                                 Cute girlie gifts for Christmas stockings! Something unique- unexpected
                                 for the girls.

                                  This review is for: Unique Butterfly-Shaped Acrylic Pendant - Hangi…



                                                                    See all reviews




                                                      lucky draw
                                                      166             32K+       4.6
                                                      Followers       Sold       Rating



                                         Contact provider                    Follow              All items (101)




                                 Details                                                  Save   Report this item

                                 Material: Acrylic

                                 Theme: Animals

                                 Style: Glam

                                 See more

                                     Learn about dimensions




                                                                                                                                                                                                                               25




 BONUS
COUPONS
            Free shipping special for you                         Price adjustment within 30 days
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 515 of 685 PageID #:568
            Free shipping                                                                            Delivery guarantee
            Special for you                                                                          Refund for any issues
                                                                                                                                                                                           Get the Temu App


                                                                                                                                                                                Orders &
                 Best Sellers   5-Star Rated     Local Warehouse Categories                                                                                                                      EN     Cart
                                                                                                                                                                                Account




                                 Explore your interests




                                 60 Pcs Flower Building House Sti…              -10% 30pcs Whimsical Carto…      Local 6 packs and 1 set (30 shee…        -79% Glam Style Acrylic Butt…

                                 $6.26 38 sold                                $1.79 $1.99 571 sold               $9.98 28 sold                        Last day $0.41 $2.00 11 sold
                                 Almost sold out                         Only 1 Left                             Almost sold out                      Almost sold out
                                                                                         57                                                              High repeat customers provider
                                    High repeat customers provider             High repeat customers provider       High repeat customers provider

                                                                                                                                                            Temu选品助手            图搜同款
                                        Temu选品助手             图搜同款                 Temu选品助手              图搜同款           Temu选品助手          图搜同款
                                                                                                                                                          商品

                                      商品                                        商品                                   商品                                 总销量: 11 件
                                    总销量: 38 件                                 总销量: 571 件                           总销量: 28 件                            总销售额: $ 4.51

                                    总销售额: $ 237.88                            总销售额: $ 1,022.09                     总销售额: $ 279.44                       供货价: 点击查询
                                    供货价: 点击查询                                 供货价: 点击查询                            供货价: 点击查询
                                                                                                                                                          店铺

                                      店铺                                        店铺                                   店铺                                 店铺类型: 全托管

                                    店铺类型: 全托管                                 店铺类型: 全托管                            店铺类型: 半托管（海外仓）                                 查看详情
                                    评分/评论数: 5 / 4                             评分/评论数: 5 / 57                       评分/评论数: 4.2 / 5

                                               查看详情                                     查看详情                                 查看详情




                                 Acrylic Flamingo Hanging Ornam…                -62% 6 Pairs Exquisite Butter…   Local 120 Sheets (6 Pack) Crystal…   Local 2 Pack of 100 Sheets Vinta…
                                 $2.98 240 sold                          $4.83 $12.89 2.5K+ sold                 $12.48 60 sold                       $8.48 23 sold
                                 Almost sold out                         Almost sold out                         Almost sold out                      Almost sold out
                                                                                         331
                                                                               Established 1 year ago               High repeat customers provider          Temu选品助手            图搜同款

                                        Temu选品助手             图搜同款
                                                                                                                                                          商品
                                                                                  Temu选品助手              图搜同款           Temu选品助手          图搜同款
                                      商品                                                                                                                总销量: 23 件

                                    总销量: 240 件                                  商品                                   商品                                 总销售额: $ 195.04
                                    总销售额: $ 715.2                             总销量: 2,500 件                         总销量: 60 件                            供货价: 点击查询

                                    供货价: 点击查询                                 总销售额: $ 12,075                       总销售额: $ 748.8
                                                                                                                                                          店铺                                                   25
                                                                              供货价: 点击查询                            供货价: 点击查询
                                      店铺                                                                                                                店铺类型: 半托管（海外仓）
                                    店铺类型: 全托管                                   店铺                                   店铺                                           查看详情
 BONUS                              评分/评论数: 5 / 3                             店铺类型: 全托管                            店铺类型: 半托管（海外仓）
COUPONS
            Free shipping special for you
                                        查看详情                  Price adjustment within
                                                                         评分/评论数:        30 days
                                                                                 4.9 / 331                         评分/评论数: 4.3 / 6
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 516 of 685 PageID #:569
                                                                                        查看详情                                  查看详情
            Free shipping                                                                           Delivery guarantee
            Special for you                                                                         Refund for any issues
                                                                                                                                                                                            Get the Temu App


                                                                                                                                                                                 Orders &
                 Best Sellers   5-Star Rated    Local Warehouse Categories                                                                                                                        EN     Cart
                                                                                                                                                                                 Account




                                      -15% Vibrant Multicolor Rhin…            -83% Chic Acrylic Butterfly E…   1 box of 50 plants and flowers PE…   100pcs Vibrant Non-Repeating …
                                 $1.68 $1.99 8.2K+ sold                 30d lowest $0.50 214 sold                 $2.51 $3.97 1 viewed               $3.75 186 sold
                                 Almost sold out                        Almost sold out                         Almost sold out                      Only 1 Left
                                                1,115
                                    Established 1 year ago                    High repeat customers provider          Temu选品助手           图搜同款
                                                                                                                                                        Established 1 year ago


                                                                                                                     商品
                                        Temu选品助手             图搜同款                Temu选品助手              图搜同款                                                Temu选品助手              图搜同款
                                                                                                                  总销量: 0 件

                                      商品                                       商品                                 总销售额: $ 0                               商品
                                    总销量: 8,200 件                             总销量: 214 件                           供货价: 点击查询                            总销量: 186 件

                                    总销售额: $ 13,776                           总销售额: $ 107                                                               总销售额: $ 697.5
                                                                                                                     店铺
                                    供货价: 点击查询                                供货价: 点击查询                                                                 供货价: 点击查询
                                                                                                                  店铺类型: 全托管

                                      店铺                                       店铺                                             查看详情                        店铺
                                    店铺类型: 全托管                                店铺类型: 全托管                                                                 店铺类型: 全托管

                                    评分/评论数: 4.8 / 1,115                      评分/评论数: 5 / 10                                                            评分/评论数: 5 / 12

                                               查看详情                                     查看详情                                                                       查看详情




                                      -81% Local 2 Pcs Copper Mu…              -39% 10-Pack Vintage Style …         -37% Vintage Butterfly Sticke…   SIMNO Vibrant Golden Foil Butte…
                                 $5.28 $28.98 27 sold                   Last day $1.08 $1.79 82 sold            30d lowest $9.75 $15.49              30d lowest $1.69 2 sold
                                                                        Only 2 left                             Only 5 left                          Only 8 left
                                                                                                                                                        High repeat customers provider
                                                                              High repeat customers provider          Temu选品助手           图搜同款
                                        Temu选品助手             图搜同款
                                                                                                                                                           Temu选品助手              图搜同款
                                      商品                                                                             商品
                                                                                 Temu选品助手              图搜同款
                                    总销量: 27 件                                                                     总销量: 0 件                                商品

                                    总销售额: $ 142.56                             商品                                 总销售额: $ 0                            总销量: 2 件

                                    供货价: 点击查询                                总销量: 82 件                            供货价: 点击查询                            总销售额: $ 3.38

                                                                             总销售额: $ 88.56                                                             供货价: 点击查询
                                      店铺                                                                             店铺
                                                                             供货价: 点击查询
                                    店铺类型: 半托管（海外仓）                                                                店铺类型: 全托管                               店铺

                                    评分/评论数: 5 / 1                              店铺                                             查看详情                     店铺类型: 全托管

                                               查看详情                          店铺类型: 全托管                                                                             查看详情
                                                                             评分/评论数: 5 / 1

                                                                                        查看详情




                                      -77% Stunning Red Butterfly …            -46% Local 320 PCS Colorful…         -68% Charming 10-LED War…        Local [Fast Arrival] 120 Pcs Vibra…
                                   $2.69 $11.99 3.3K+ sold                   $8.49 $15.99 1 sold                30d lowest $4.66 759 sold            $14.98 13 sold
                                 Best Seller in Women's Jewelry         Almost sold out                         Only 9 left                          Only 7 left
                                                128

                                                                                 Temu选品助手              图搜同款
                                                                                                                                                        High repeat customers provider

                                        Temu选品助手             图搜同款                                                     Temu选品助手           图搜同款
                                                                               商品
                                                                                                                                                           Temu选品助手              图搜同款
                                      商品                                     总销量: 1 件                                商品
                                    总销量: 3,300 件                             总销售额: $ 8.49                         总销量: 759 件                              商品
                                    总销售额: $ 8,877                            供货价: 点击查询                            总销售额: $ 3,536.94                     总销量: 13 件
                                    供货价: 点击查询                                                                     供货价: 点击查询                            总销售额: $ 194.74
                                                                               店铺
                                                                                                                                                       供货价: 点击查询
                                      店铺                                     店铺类型: 半托管（海外仓）                          店铺

                                    店铺类型: 全托管                                           查看详情                      店铺类型: 全托管                               店铺
                                    评分/评论数: 4.9 / 128                                                             评分/评论数: 4.6 / 30                     店铺类型: 半托管（海外仓）
                                               查看详情                                                                           查看详情                     评分/评论数: 5 / 1

                                                                                                                                                                   查看详情




                                      -90% Elegant & Cute Colorfu…      1 Pack/20pcs, Laser Hot Stampin…            -85% Bohemian Dream Catc…            -54% Houndstooth Glitter Bu…

                                   $0.87 $8.99 4.9K+ sold               90d lowest $1.61 88 sold                30d lowest $2.11 1.9K+ sold          30d lowest $6.38 $13.99
                                 Almost sold out                        Only 2 left                             Almost sold out                      Almost sold out
                                                534                                                                           231
                                                                              Established 1 year ago               High repeat customers provider          Temu选品助手              图搜同款

                                        Temu选品助手             图搜同款
                                                                                                                                                          商品
                                                                                 Temu选品助手              图搜同款           Temu选品助手           图搜同款
                                      商品                                                                                                               总销量: 0 件

                                    总销量: 4,900 件                               商品                                    商品                                总销售额: $ 0
                                    总销售额: $ 4,263                            总销量: 88 件                            总销量: 1,900 件                         供货价: 点击查询                                                25

                                    供货价: 点击查询                                总销售额: $ 141.68                       总销售额: $ 4,009
                                                                                                                                                          店铺
                                                                             供货价: 点击查询                            供货价: 点击查询
 BONUS                                店铺                                                                                                               店铺类型: 全托管
COUPONS                             店铺类型: 全托管                                  店铺                                    店铺                                            查看详情
            Free shipping special for you                    Price adjustment within 30 days
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 517 of 685 PageID #:570
                                    评分/评论数: 4.8 / 534                        店铺类型: 全托管                          店铺类型: 全托管
            Free shipping                                                                           Delivery guarantee
            Special for you                                                  评分/评论数: 4.9 / 7        Refund for any评分/评论数:
                                                                                                                  issues  4.9 / 231
                                                                                                                                                                                               Get the Temu App
                                               查看详情

                                                                                        查看详情                                   查看详情
                                                                                                                                                                                    Orders &
                 Best Sellers   5-Star Rated    Local Warehouse Categories                                                                                                                           EN     Cart
                                                                                                                                                                                    Account




                                      -57% 36pcs/set Artistic Reali…            -7% 20pcs Premium Bronze…            -90% Whimsical Spooky Butt…            -38% Local (1 Piece) Colorfu…

                                   $3.81 $8.99 2.2K+ sold               $1.48 $1.60 35 sold                        $0.63 $6.99 106 sold                 $13.60 $22.10 1 sold
                                 Best Seller in Wall Stickers & M…      Only 3 left                              Almost sold out                        Almost sold out
                                                102                           High repeat customers provider

                                                                                                                                                              Temu选品助手              图搜同款
                                        Temu选品助手            图搜同款                 Temu选品助手              图搜同款            Temu选品助手              图搜同款
                                                                                                                                                             商品

                                      商品                                       商品                                     商品                                  总销量: 1 件
                                    总销量: 2,200 件                             总销量: 35 件                             总销量: 106 件                             总销售额: $ 13.6

                                    总销售额: $ 8,382                            总销售额: $ 51.8                          总销售额: $ 66.78                          供货价: 点击查询
                                    供货价: 点击查询                                供货价: 点击查询                             供货价: 点击查询
                                                                                                                                                             店铺
                                      店铺                                       店铺                                     店铺                                  店铺类型: 半托管（海外仓）

                                    店铺类型: 全托管                                店铺类型: 全托管                             店铺类型: 全托管                                          查看详情
                                    评分/评论数: 4.7 / 102                                   查看详情                       评分/评论数: 5 / 3

                                               查看详情                                                                            查看详情




                                  Local 4 Pieces Double-Sided DIY…      6-Pack Floral & Fairy Theme Stick…       36pcs/pack, 3D Paper Butterfly …           -88% 1 Roll/118.11inch Gyps…

                                 $2.36 $16.49 62 sold                        $5.77 29 sold                       $3.19 1.4K+ sold                       $1.48 $12.93 36K+ sold
                                 Only 1 Left                            Only 7 left                              Almost sold out                        Only 3 left
                                                                                                                               111                                    3,089
                                    High repeat customers provider            Established 1 year ago                Established 1 year ago                 Established 1 year ago


                                        Temu选品助手            图搜同款                 Temu选品助手              图搜同款            Temu选品助手              图搜同款             Temu选品助手              图搜同款


                                      商品                                       商品                                     商品                                     商品
                                    总销量: 62 件                                总销量: 29 件                             总销量: 1,400 件                           总销量: 36,000 件
                                    总销售额: $ 146.32                           总销售额: $ 167.33                        总销售额: $ 4,466                          总销售额: $ 53,280

                                    供货价: 点击查询                                供货价: 点击查询                             供货价: 点击查询                              供货价: 点击查询

                                      店铺                                       店铺                                     店铺                                     店铺

                                    店铺类型: 半托管（海外仓）                           店铺类型: 全托管                             店铺类型: 全托管                              店铺类型: 全托管
                                    评分/评论数: 5 / 1                            评分/评论数: 5 / 1                         评分/评论数: 4.9 / 111                      评分/评论数: 4.7 / 3,089

                                               查看详情                                     查看详情                                   查看详情                                   查看详情




                                      -41% Elegant Sunflower & B…              -22% 1pc Vibrant Acrylic But…     Inspirational Acrylic Butterfly Pra…   Local 18 Sheets (6 Packs x 3 She…
                                   $0.75 $1.29 11 sold                       $1.26 $1.62 12 sold                   $2.19 319 sold                       $11.98 13 sold
                                 Only 1 Left                            Only 4 left                              Almost sold out                        Only 7 left


                                    High repeat customers provider               Temu选品助手              图搜同款         High repeat customers provider            Temu选品助手              图搜同款


                                                                               商品                                                                            商品
                                        Temu选品助手            图搜同款                                                       Temu选品助手              图搜同款
                                                                             总销量: 12 件                                                                    总销量: 13 件

                                      商品                                     总销售额: $ 15.12                            商品                                  总销售额: $ 155.74

                                    总销量: 11 件                                供货价: 点击查询                             总销量: 319 件                             供货价: 点击查询

                                    总销售额: $ 8.25                                                                   总销售额: $ 698.61
                                                                               店铺                                                                            店铺
                                    供货价: 点击查询                                                                      供货价: 点击查询
                                                                             店铺类型: 全托管                                                                    店铺类型: 半托管（海外仓）

                                      店铺                                                查看详情                          店铺                                              查看详情
                                    店铺类型: 全托管                                                                      店铺类型: 全托管

                                    评分/评论数: 5 / 1                                                                  评分/评论数: 4.7 / 19

                                               查看详情                                                                            查看详情




                                  Local Fashionable exquisite seve…            -74% Local [Fast Arrival] 3 Pi…       -92% Vibrant Butterfly-Shap…       Green Floral Glass Window Decal…
                                 Lowest ever $5.84 10 sold              $7.66 $29.99 3 sold                        $0.56 $7.99 3 sold                   Lowest ever $1.58 485 sold
                                 Almost sold out                        Only 3 left                              Only 3 left                            Almost sold out
                                    High repeat customers provider                                                  Established 1 year ago

                                                                                 Temu选品助手              图搜同款
                                                                                                                                                           High repeat customers provider

                                        Temu选品助手            图搜同款                                                       Temu选品助手              图搜同款
                                                                               商品
                                                                                                                                                              Temu选品助手              图搜同款
                                      商品                                     总销量: 3 件                                 商品
                                                                             总销售额: $ 22.98                                                                                                                         25
                                    总销量: 10 件                                                                      总销量: 3 件                                  商品
                                    总销售额: $ 58.4                             供货价: 点击查询                             总销售额: $ 1.68                           总销量: 485 件

 BONUS                              供货价: 点击查询
                                                                               店铺
                                                                                                                   供货价: 点击查询                              总销售额: $ 766.3

COUPONS                                                                 店铺类型: 半托管（海外仓）
                                                                                                                                                          供货价: 点击查询
            Free shipping special 店铺
                                  for you                    Price adjustment within 30 days                          店铺
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 518 of 685 PageID #:571
                                    店铺类型: 半托管（海外仓）                                       查看详情                   店铺类型: 全托管
            Free shipping                                                                           Delivery guarantee                                      店铺
            Special for you                                                                         Refund for any issues
                                                                                                                                                                                             Get the Temu App
                                               查看详情                                                                            查看详情                      店铺类型: 全托管

                                                                                                                                                         评分/评论数: 4.9 / 45
                                                                                                                                                                                  Orders &
                 Best Sellers   5-Star Rated    Local Warehouse Categories                                                                                                                         EN     Cart
                                                                                                                                                                    查看详情          Account




                                      -89% 12pcs Exquisite Butterfl…      5pcs Pink Flower Blue Wings But…       Vintage-Inspired A4 Scrapbookin…      Local 6 Packs of 30 Sheets Large…
                                 Last day $2.61 3.3K+ sold                $3.41 6 sold                           $5.32 12 sold                         $11.98 30 sold
                                 Only 7 left                              Almost sold out                        Only 7 left                           Almost sold out
                                                192                                                                 High repeat customers provider
                                                                              High repeat customers provider                                              High repeat customers provider

                                        Temu选品助手              图搜同款                                                     Temu选品助手              图搜同款

                                                                                 Temu选品助手           图搜同款                                                     Temu选品助手             图搜同款
                                      商品                                                                              商品
                                    总销量: 3,300 件                               商品                                  总销量: 12 件                                商品
                                    总销售额: $ 8,613                            总销量: 6 件                              总销售额: $ 63.84                         总销量: 30 件
                                    供货价: 点击查询                                总销售额: $ 20.46                         供货价: 点击查询                             总销售额: $ 359.4

                                                                             供货价: 点击查询                                                                   供货价: 点击查询
                                      店铺                                                                              店铺
                                    店铺类型: 全托管                                  店铺                                  店铺类型: 全托管                                店铺
                                    评分/评论数: 4.6 / 192                        店铺类型: 全托管                                         查看详情                      店铺类型: 半托管（海外仓）

                                               查看详情                          评分/评论数: 5 / 1                                                               评分/评论数: 5 / 1

                                                                                         查看详情                                                                       查看详情




                                      -34% Green Butterfly Fairy G…            -88% Purple Butterfly Dangle…     Chic Butterfly Acrylic Drop Earrin…       -49% Local 8 Bags Butterfly …

                                   $0.97 $1.49 461 sold                   Last day $1.75 16K+ sold               $1.10 $8.99 1.3K+ sold                $8.04 $15.99 In 3 carts
                                 Almost sold out                          Almost sold out                        Almost sold out                       Almost sold out
                                                54                                       2,235                                   143
                                                                                                                    Established 1 year ago                   Temu选品助手             图搜同款

                                        Temu选品助手              图搜同款               Temu选品助手           图搜同款
                                                                                                                                                            商品
                                                                                                                       Temu选品助手              图搜同款
                                      商品                                       商品                                                                        总销量: 0 件
                                    总销量: 461 件                               总销量: 16,000 件                            商品                                 总销售额: $ 0
                                    总销售额: $ 447.17                           总销售额: $ 28,000                        总销量: 1,300 件                          供货价: 点击查询
                                    供货价: 点击查询                                供货价: 点击查询                             总销售额: $ 1,430
                                                                                                                                                            店铺
                                                                                                                   供货价: 点击查询
                                      店铺                                       店铺                                                                        店铺类型: 半托管（海外仓）

                                    店铺类型: 全托管                                店铺类型: 全托管                                店铺                                            查看详情
                                    评分/评论数: 4.5 / 54                         评分/评论数: 4.8 / 2,235                   店铺类型: 全托管

                                               查看详情                                      查看详情                      评分/评论数: 4.6 / 143

                                                                                                                               查看详情




                                 Vintage Forest Elf & Butterfly Stic…     4in1, Four Colorful Butterflies Vin…       -80% Vintage Elegant Butterf…         -90% 1pc, 20 Meters Long Sil…

                                   $3.85 24 sold                             $2.57 $3.99 224 sold                $5.71 $29.00 91 sold                    $1.69 $16.90 15K+ sold
                                 Only 2 left                              Almost sold out                        Only 2 left                                         1,226


                                    Established 1 year ago                    High repeat customers provider
                                                                                                                                                             Temu选品助手             图搜同款
                                                                                                                       Temu选品助手              图搜同款
                                                                                                                                                            商品
                                        Temu选品助手              图搜同款               Temu选品助手           图搜同款
                                                                                                                      商品                                 总销量: 15,000 件
                                      商品                                       商品                                  总销量: 91 件                             总销售额: $ 25,350
                                    总销量: 24 件                                总销量: 224 件                            总销售额: $ 519.61                        供货价: 点击查询
                                    总销售额: $ 92.4                             总销售额: $ 575.68                        供货价: 点击查询
                                                                                                                                                            店铺
                                    供货价: 点击查询                                供货价: 点击查询
                                                                                                                      店铺                                 店铺类型: 全托管
                                      店铺                                       店铺                                  店铺类型: 全托管                             评分/评论数: 4.8 / 1,226
                                    店铺类型: 全托管                                店铺类型: 全托管                             评分/评论数: 4.5 / 8                                  查看详情
                                    评分/评论数: 5 / 1                            评分/评论数: 5 / 5                                     查看详情

                                               查看详情                                      查看详情




                                 180pcs Retro Butterfly Sticker Set…           -92% 1pc Acrylic Butterfly Ca…        -84% Elegant Vintage Butterf…          -7% 50pcs Vibrant Vintage …

                                 $12.64 $16.99       1.2K+ sold           $0.89 $12.39 In 1 carts                $1.81 $11.99 463 sold                 60d lowest $1.66 9.8K+ sold
                                 Almost sold out                          Only 1 Left                            Almost sold out                       Almost sold out
                                                136                           High repeat customers provider                                                         958


                                        Temu选品助手              图搜同款               Temu选品助手           图搜同款               Temu选品助手              图搜同款            Temu选品助手             图搜同款                           25


                                      商品                                       商品                                     商品                                    商品

 BONUS                              总销量: 1,200 件                             总销量: 0 件                              总销量: 463 件                            总销量: 9,800 件
COUPONS                             总销售额: $ 15,168                           总销售额: $ 0                             总销售额: $ 838.03                        总销售额: $ 16,268
            Free shipping special for you                         Price adjustment within 30 days
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 519 of 685 PageID #:572
                                           供货价: 点击查询                                供货价: 点击查询                             供货价: 点击查询                                      供货价: 点击查询
                  Free shipping                                                                               Delivery guarantee
                  Special for you                                                                             Refund for any issues
                                                                                                                                                                                                              Get the Temu App
                                              店铺                                       店铺                                           店铺                                       店铺

                                            店铺类型: 全托管                           店铺类型: 全托管                                       店铺类型: 全托管                                店铺类型: 全托管
                                                                                                                                                                                                 Orders &
                       Best Sellers     5-Star Rated Local Warehouse Categories                                                                                                                                      EN      Cart
                                            评分/评论数: 4.9 / 136                          查看详情                                     评分/评论数: 4.6 / 9                          评分/评论数: 4.9 / 958       Account

                                                       查看详情                                                                                 查看详情                                     查看详情




                                              -5% 24pcs Vibrant Stained …         Charming Fairy Acrylic 2D Keych…                  -13% Local 2pairs Colorful B…      Local 8 Kinds Of Butterfly Sticker…
                                           $4.26 $4.49 70 sold                    30d lowest $2.58 45 sold                   $7.78 $8.99 4 sold                       $5.67 In 3 carts
                                         Only 2 left                              Almost sold out                            Almost sold out                          Almost sold out


                                            High repeat customers provider           High repeat customers provider                                                           Temu选品助手          图搜同款

                                                                                                                                     Temu选品助手                图搜同款
                                                                                                                                                                             商品
                                               Temu选品助手             图搜同款                 Temu选品助手             图搜同款
                                                                                                                                    商品                                   总销量: 0 件

                                              商品                                       商品                                       总销量: 4 件                                 总销售额: $ 0

                                           总销量: 70 件                                总销量: 45 件                                   总销售额: $ 31.12                            供货价: 点击查询

                                           总销售额: $ 298.2                            总销售额: $ 116.1                               供货价: 点击查询
                                                                                                                                                                             店铺
                                           供货价: 点击查询                                供货价: 点击查询
                                                                                                                                    店铺                                   店铺类型: 半托管（海外仓）

                                              店铺                                       店铺                                       店铺类型: 半托管（海外仓）                                       查看详情

                                           店铺类型: 全托管                                店铺类型: 全托管                                   评分/评论数: 5 / 1

                                           评分/评论数: 5 / 2                            评分/评论数: 5 / 3                                           查看详情

                                                       查看详情                                     查看详情



                                                                                                                   View more




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          Temu - Team Up, Price Down!                                                                                                                               Low stock items alerts
                                                                 Intellectual property policy                         Safety center
          Affiliate & Influencer: Earn Commission
                                                                 Shipping info                                        Temu purchase protection                      Coupons & offers alerts
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                                                                 Report suspicious activity                           How to order                                       App Store
          Press
                                                                                                                      How to track
                                                                                                                                                                         Get it on
          Temu's Tree Planting Program
                                                                                                                      Partner with Temu                                  Google Play



          Security certification                                                                                      We accept




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                                                                                                                                                                                                                                    25




 BONUS
COUPONS
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 520 of 685 PageID #:573
              Free shipping                                                                        Delivery guarantee
              Special for you                                                                      Refund for any issues
                                                                                                                                                                          Get the Temu App


                      Return if item damaged


       Home     Checkout

                                                                                                                                                                Order summary
                Free shipping special for you

                                                                                                                                                                 Enter coupon code      Apply
       Shipping                                                                                                                                     Change

                                                                                                                                                                Apply coupon code
         steven howard (554)626-5486
         1 N La Salle St                                                                                                                                        Item(s) total:             $55.54

         CHICAGO, IL 60602-3902, United States                                                                                                                  Item(s) discount:       -$30.10
            Please check if the apt, suite, or room number is correct.
                                                                                                                                                                Subtotal:                  $25.44


                                                                                                                                                                Shipping:                     FREE
                                                                                                                                                                   Free shipping for items
          Free shipping from Temu (6) 2 items are almost gone!                                                                                       Details
                                                                                                                                                                shipped from Temu is an
                                                                                                                                                                exclusive offer. Please submit
                                                                                                                                                                your order as soon as possible.

                                                                                                                                                                Sales tax:                    $2.61



                                                                                                                                                                Order total:            $28.05

           Almost sold out                  Only 1 left
                                                                                                                                                                Plant with Temu
       -51% last 3 days             No express shipping                                                                                                             We invite you to plant a
         $4.87×5 $9.99              $1.09 $5.59                                                                                                                     tree for $0.35

       Standard shipping: FREE, delivery: 4-8 business days, fastest delivery in 4 business days                                                                        Submit order
                                                                                                                                                                          2 almost sold out


       Payment methods                                                                                                                                             Temu's Tree Planting
                                                                                                                                                                Program
                      Card
                                                                                                                                                                Temu and its users have
                                                                                                                                                                donated funds to Trees for the
                 All transactions are secure and encrypted                                                                                                      Future to plant trees across
                                                                                                                                                                sub-Saharan Africa
               * Card number

                       4041 1789 5899 9192
                                                                                                                                                                   Delivery guarantee
               * Expiration date                                                               * CVV                                                               $5.00 Credit for delay
                                                                                                                                                                   Return if item damaged
                 12                                          2028                                  591                                                             15-day no update refund
                                                                                                                                                                   30-day no delivery refund
                   Remember this card for future use, Temu follows the Payment Card Industry Data Security Standard (PCI DSS) when handling card data.          Learn more

                                                                                                                                                                   Temu protects your card
               * Billing address                                                                                                                         Edit      information
               steven howard, 1 N La Salle St, CHICAGO, IL 60602-3902, United States                                                                               Temu follows the Payment
                                                                                                                                                                   Card Industry Data Security
                                                                                                                                                                   Standard (PCI DSS) when
                      PayPal                                                                                                                                       handling card data
                                                                                                                                                                   Card information is secure
                                                                                                                                                                   and uncompromised
                      Cash App Pay
                                                                                                                                                                   All data is encrypted
                                                                                                                                                                   Temu never sells your card
                      Afterpay     4 interest-free payments of $7.01                                                                                               information


                      Klarna     4 interest-free payments of $7.01


                      Venmo


                      Google Pay                                                                                                                                   Secure privacy
                                                                                                                                                                Protecting your privacy is
                      Affirm                                                                                                                                    important to us! Please be
                      $35 product minimum applies                                                                                                               assured that your information
                                                                                                                                                                will be kept secured and
                      PayPal Pay Later                                                                                                                          uncompromised. We do not
                      $30 product minimum applies                                                                                                               sell your personal information
                                                                                                                                                                for money and will only use
                                                                                                                                                                your information in
                                                                                                                                                                accordance with our privacy
                                                                                                                                                                and cookie policy to provide
                                                                                                                                                                and improve our services to
                                                                                                                                                                you.
                                                                                                                                                                Learn more

                                                                                                                                                                   Temu purchase protection
                                                                                                                                                                Shop confidently on Temu
                                                                                                                                                                knowing that if something
                                                                                                                                                                goes wrong, we've always got
                                                                                                                                                                your back.
                                                                                                                                                                Learn more
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 521 of 685 PageID #:574
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 522 of 685 PageID #:575




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                     Get the Temu App


                                                                                                                                                                                                                                        Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                                                          Support            EN
                                                                                                                                                                                                                                        Orders & Account


                                  Home       Automotive       Interior Accessories       2pcs Acrylic Butterfly Pen...


                                                                                                                                                                                                           Free shipping special for you                           Exclusive offer


                                                                                                                                                                              2pcs Acrylic Butterfly Pendants - Versatile Car Decor, Keychain & Bag
                                                                                                                                                                              Charms
                                                                                                                                                                              4.5                       54 bought Provided by          (32K+ bought)


                                                                                                                                                                              $3.43 $1.72/pc Pay $0.85 today -70% limited time $11.49
                                                                                                                                                                                                        4 interest-free biweekly installments


                                                                                                                                                                                Special sale                   Ends in 09:12:09:28

                                                                                                                                                                                    Quantity: 2pcs

                                                                                                                                                                                    Qty      1                 Only 3 left



                                                                                                                                                                                                                     Add to cart
                                                                                                                                                                                                                         Only 3 left



                                                                                                                                                                                      Ships from Temu

                                                                                                                                                                                          Standard: FREE                                            Express: $12.90 or FREE (orde
                                                                                                                                                                                          Delivery: 4-10 business days, 81.7% within 8              Delivery: 3-9 business days, 7
                                                                                                                                                                                          business days                                             business days
                                                                                                                                                                                          Courier company:       DHL eCommerce ...                  Courier company:        FedEx


                                  2 reviews            4.5                                                        All reviews are from verified purchases                             Temu's Commitments

                                                                                                                                                                                          Security & Privacy       Delivery guarantee
                                  Item reviews (2)           Provider reviews (2,742)
                                                                                                                                                                                            Safe payments            $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                            Secure privacy           15-day no update refund         30-day no delivery refund
                                                                                                                                                                                                                                                                                             99+
                                          (1)
         BONUS                                                                                                                                                                        Free returns Price adjustment                                                                       Messages
        COUPONS                   Barbara Bowden in               on Aug 5, 2024
                                                                                                                                                                                      Temu's Tree Planting Program (14M+ trees)
                                                                                                                                                                                                                                                                                          Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                                                                  1/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 523 of 685 PageID #:576




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping
                                le***hy in  on Jul 1, 2024                                                                                             Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                           Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                      Support   EN
                                                                                                                                                                                                           Orders & Account
                                                                                        See all reviews




                                                          Liu and Binbin
                                                          212 Followers          32K+ Bought           4.7

                                                                              Follow                             Shop all items (193)




                                  Details                                                                                         Save     Report this item

                                  Material: Acrylic

                                  Item ID: LD129865 Copy

                                  Store Information




                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                           2/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 524 of 685 PageID #:577




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                           Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                      Support   EN
                                                                                                                                                                                                           Orders & Account




                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                           3/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 525 of 685 PageID #:578




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                           Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                      Support   EN
                                                                                                                                                                                                           Orders & Account




                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                     Messages
        COUPONS
                                  Explore your interests
                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                           4/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 526 of 685 PageID #:579




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                      Get the Temu App


                                                                                                                                                                                                                                        Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                                                            Support   EN
                                                                                                                                                                                                                                        Orders & Account




                                  Local New wireless sunrise alarm s…                3D Metal Dragonfly Puzzle Model K…                               Cool Metal 3D Puzzles Fo…                            Chic Green Butterfly Acry…                  Local New Style Minimal…
                                  Nearly over $13.05                                 Last day $22.53 $39.99                             Nearly over $8.98 $66.99                           Last day $0.90 $2.31 In 1 carts                Nearly over $181.48
                                  Extra $0.14 off coupon                             Almost sold out                                    Only 8 left 90d lowest                             Almost sold out                                Almost sold out
                                  Almost sold out
                                                    149                                                                                     Direct from Piececool
                                      Direct from TONGRUI




                                                Local 180 Sheets (6 Pack…            Boho Chic Butterfly Wall Hanging - …               Steampunk Bumblebee Metal Puzzl…                   Butterfly Washi Tape Stickers - 6 Rol…                      Local HCNT Moon Lamp…
                                  Nearly over $13.98 $17.99                             $5.75 19 bought                                 $18.19 $52.99 218 bought                           30d lowest $9.44 2 bought                      $50.83 $162.99 3 bought
                                  Almost sold out                                    Only 1 Left                                        Almost sold out                                    Only 5 left                                     Extra $2.11 off coupon
                                                                                                                                                                                                                                          Almost sold out




                                                                                                                                                                                                                                                                                            99+

         BONUS                                                                                                                                                                                                                                                                           Messages
        COUPONS

                                                                                                                                                                                                                                                                                         Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                                                                 5/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 527 of 685 PageID #:580




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                                                     Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                                                     Support         EN
                                                                                                                                                                                                                                     Orders & Account




                                  1PC Glam Acrylic Butterfly Pendant …                Local 3D Printed Magnetic Levitati…                             HD LIVING Crystal Hum…               Steampunk Mechanical Mosquito M…             Local 200 sheets of 50 DIY retro bu…
                                  Last day $1.43 $12.58                              $67.49 $216.99 6 bought                            Nearly over $6.97                                  30d lowest $16.97                           Nearly over $9.48 26 bought
                                  Only 6 left                                        Almost sold out                                    Only 6 left                                        Almost sold out                             Almost sold out 30d lowest




                                  Vintage Style Hair Clip With Resin …                             Local HCNT Auto-Levita…                            Vibrant 8" x 8" Acrylic Dr…                          Steampunk-Inspired 3D …                 Steampunk Mechanical I…
                                  Nearly over $3.14 7 bought                         Nearly over $58.04                                 Last day $4.30 $5.59                               Nearly over $21.23 $39.99                   $17.78 $53.00 4 bought
                                  Only 6 left                                         Extra $2.11 off coupon                            Only 3 left                                        Extra $0.70 off coupon                      Almost sold out
                                                                                     Only 9 left                                                                                           Only 9 left




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                                                           6/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 528 of 685 PageID #:581




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                               Get the Temu App


                                                                                                                                                                                                                                  Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                                                     Support        EN
                                                                                                                                                                                                                                  Orders & Account




                                  JELLOO 15w Wireless Speakers With…                  Local Concealed Carry Gun Pouch, …                              Steampunk Mechanical A…              Steam Punk Mechanical Insect DIY …       Metal Steampunk Vintage Fashion …
                                  Nearly over $10.30                                 $25.99 $32.99 596 bought                           Nearly over $23.48                                 $21.25 $52.99 2 bought                   Nearly over $5.27
                                  Almost sold out                                    Almost sold out           just bought              Only 8 left                                        Extra $0.14 off coupon                   Almost sold out
                                                    576                                                                                                                                    Only 6 left                                               2,094
                                      Direct from JELLOO




                                  Local Steampunk Table Lamp, Crea…                               Wireless Sunrise Alarm S…                           Local Rhinoceros Beetle …            4pcs Mini Alloy Knife Gun Keychain …                  Local 1pc Levitating Mo…
                                  Last day $69.11 $520.61                            Last day $12.47                                    Last day $45.87 $99.98                             Nearly over $8.06                        Nearly over $57.48
                                  Almost sold out                                        just bought                                    Only 9 left                                        Almost sold out                          Only 2 left 60d lowest
                                                                                                        163
                                                                                         Direct from Kouzone




                                                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                                                  Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                                                          7/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 529 of 685 PageID #:582




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                        Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                                                         Support         EN
                                                                                                                                                                                                                                        Orders & Account




                                  Local G-Shape Wireless Sound Daz…                                Steampunk Bumblebee …                              3D Engraved Bird Crystal …                           Steampunk Grasshopper …        Kouzone Sunrise Wake Up Light Ala…
                                  Nearly over $17.39 5 bought                           $20.47 $52.99 4 bought                          Nearly over $5.77 7 bought                         Nearly over $20.48                             Last day $10.31
                                  Almost sold out                                     Extra $0.70 off coupon                            Almost sold out                                    Almost sold out                                Almost sold out
                                                                                     Only 4 left
                                                                                                                                                                                                                                              Direct from Kouzone




                                                Local 5 PC Pack Dining S…            1pc Of 2 Rolls Of Three-dimensiona…                              1pc Mechanical Insect Pr…                            Local Floating Light Bulb…                   Resin Steampunk Mecha…
                                  Nearly over $352.37                                   $3.22 123 bought                                Last day $25.47 $52.99                             Nearly over $47.48                             Last day $22.47 $38.99
                                  Almost sold out                                    Almost sold out                                     Extra $0.70 off coupon                            Only 6 left                                    Only 5 left
                                                                                                                                        Only 5 left




                                                                                                                                                                                                                                                                                          99+

         BONUS                                                                                                                                                                                                                                                                         Messages
        COUPONS

                                                                                                                                                                                                                                                                                       Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                                                               8/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 530 of 685 PageID #:583




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                     Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                                                           Support      EN
                                                                                                                                                                                                                                       Orders & Account




                                  Vintage Military Tank Model Made …                              Steampunk Mechanical J…                             Local Floating Flowers L…                            Local 3-in-1 Wireless Ch…                 20pcs Pink Crystal Butterf…
                                  $8.49 $9.89 11 bought                                 $14.86 $26.99 18 bought                         $68.61 $75.00 In 4 carts                           Nearly over $13.73                            Lowest ever $2.24 $9.49
                                  Only 3 left                                        Only 1 Left                                        Almost sold out                                    Almost sold out                               Almost sold out
                                                                                                                                            Direct from GDRASUYA10




                                                1PC Swallowtail Butterfly …                        Local 3D Metal Puzzles F…                          Local 1 Piece 15W Wirel…             Portable Mini Bullet Massager - USB…           Local Cool Industrial Metal Tube R…
                                  Nearly over $3.21 $29.99                           Last day $59.81 15 bought                          Lowest ever $19.19                                   $8.54 $37.99                                Nearly over $29.57
                                  Only 2 left                                        Almost sold out 30d lowest                         Almost sold out                                       just bought                                 Extra $2.95 off coupon
                                                                                                                                                                                                              172                        Almost sold out
                                                                                                                                            Direct from VAHLIF




                                                                                                                                                                                                                                                                                           99+

         BONUS                                                                                                                                                                                                                                                                          Messages
        COUPONS

                                                                                                                                                                                                                                                                                        Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                                                                9/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 531 of 685 PageID #:584




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu


                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                                        Get the Temu App


                                                                                                                                                                                                                                          Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse          Categories             stickers for journaling                                                                              Support      EN
                                                                                                                                                                                                                                          Orders & Account




                                                Local Magnetic Levitatio…             Local 24 Sheets (6 Pack) Creative R…              14pcs Cute Butterfly Keychain Boho…                                Local 3 In 1 Wireless Ch…                      Steampunk Spider Watch…
                                  Nearly over $51.48 5 bought                        $9.49 43 bought                                    Nearly over $4.91                                  $15.02 $45.00 18 bought                             $16.90 $28.99 88 bought
                                  Only 6 left                                        Almost sold out                                    Almost sold out                                    Almost sold out                                  Only 1 Left
                                                                                                                                                           85




                                  180pcs Decorative Craft Paper Set, …                            1pc, Steampunk Art Man…                             Local Colorful moon lam…             Local Anti-Gravity Magnetic Levitat…                           1pc Steampunk Mechani…
                                  Nearly over $7.83                                  Last day $43.03 $125.55                            Nearly over $9.91 $32.97                           Nearly over $39.43 3 bought                      $17.78 $52.99 1 bought
                                  Almost sold out                                    Almost sold out                                    Only 4 left        just bought                     Almost sold out                                   Extra $0.70 off coupon
                                                                                                        76                                                                                                                                  Only 7 left


                                                                                                                                                       View more




                                                                                                                                                                                                                                                                                              99+

         BONUSCompany info                                                              Customer service                                                 Help                                                Download the Temu App                                    Connect with Temu    Messages
        COUPONS
              About Temu                                                                Return and refund policy                                         Support center & FAQ                                    Track orders any time
                      Temu - Team Up, Price Down!
                                                                                        Intellectual property policy                                     Safety center                                           Low stock items alerts                                                    Feedback
                              Free shipping special for you
                      Affiliate & Influencer: Earn Commission
                                                                                            Price adjustment within 30 days
                                                                                                                                                                                                                 Coupons & offers alerts
https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                                                                10/11
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 532 of 685 PageID #:585




9/16/24, 2:50 PM                                                                                                                                Acrylic Butterfly Pendants Car Decor Keychain Bag - Temu

                      Contact us                                                        Shipping info                                                   Temu purchase protection
                              Free shipping                                                                                                            Free returns
                              Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                                               Get the Temu App
                                                                                                                                                                                                                        Download on the
                      Careers                                                           Your Recalls and Product Safety Alerts                           Sitemap
                                                                                                                                                                                                                        App Store
                      Press                                                            Report suspicious activity                                        How to order                                                                     Hello, Mike Kate
                                        Best Sellers          5-Star Rated           Anniversary Sale       Local Warehouse               Categories          stickers for journaling                                                                        Support   EN
                                                                                                                                                                                                                        Get it on
                                                                                                                                                                                                                                          Orders & Account
                      Temu's Tree Planting Program                                                                                                       How to track
                                                                                                                                                                                                                        Google Play
                                                                                                                                                         Partner with Temu



                      Security certification                                                                                                             We accept




                                                                                                          © 2024 WhaleCo Inc.         Terms of use      Privacy policy    Your privacy choices             Ad Choices




                                                                                                                                                                                                                                                                                     99+

         BONUS                                                                                                                                                                                                                                                                    Messages
        COUPONS

                                                                                                                                                                                                                                                                                  Feedback



https://www.temu.com/2-pack-acrylic-butterfly-pendants-versatile-car-decor-keychain-bag-charms-butterfly-car-accessories-butterfly-decor-for-car-g-601099577598714.html?is_back=1                                                                                                       11/11
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 533 of 685 PageID #:586




9/16/24, 2:51 PM                                                                                                                                       Temu


                           Free shipping                                                                                          Delivery guarantee
                           Special for you                                                                                        Refund for any issues
                                                                                                                                                                                                                                                 Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                    Order summary
                              Free shipping special for you

                                                                                                                                                                                                       Enter coupon code                                       Apply
                   Shipping address                                                                                                                               Change address

                                                                                                                                                                                                    Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                              Item(s) total:                                                $34.47

                       CHICAGO, IL 60602-3902, United States                                                                                                                                        Item(s) discount:                                            -$24.18

                                                                                                                                                                                                    Subtotal:                                                     $10.29


                   Ships from Temu (3) 1 item is almost gone!                                                                                                                                       Shipping:                                                       FREE
                                                                                                                                                                                                       Free shipping for items shipped from Temu is an exclusive
                                                   2pcs Acrylic Butterfly Pendants - Versatile Car Decor, Keychain & Bag Charms                                                                     offer. Please submit your order as soon as possible.
                                                   2pcs
                                                                                                                                                                     Qty:    3                      Sales tax:                                                      $1.05
                                                                                          Successfully deleted. The item has been returned to your cart for a later purchase
                                                   Special sale | -70% limited time
                                                                                                                                                                                                    Order total:                                                  $11.34


                             Only 3 left                                                                                                                                                            Plant with Temu
                                                   $3.43 $11.49
                                                                                                                                                                                                          We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-10 business days
                                                                                                                                                                                                                              Submit order
                                                                                                                                                                                                                                 1 almost sold out
                   Payment methods
                                                                                                                                                                                                         Temu's Tree Planting Program
                                    Visa ...1950                                                                                                                            Edit
                                                                                                                                                                                                    Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                    Future to plant trees across sub-Saharan Africa
                                    Add a new card


                                    PayPal           Remember my PayPal                                                                                                                                  Temu protects your card information
                                                                                                                                                                                                         Temu follows the Payment Card Industry Data Security
                                    Cash App Pay                                                                                                                                                         Standard (PCI DSS) when handling card data
                                                                                                                                                                                                         Card information is secure and uncompromised
                                                                                                                                                                                                         All data is encrypted
                                    Venmo
                                                                                                                                                                                                         Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"35929ab9-4458-4441-a674-b051f7ba363a"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"2000"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 534 of 685 PageID #:587




9/16/24, 2:51 PM                                                                                                                                       Temu

                                    Google Pay


                                    Afterpay
                                    $20 product minimum applies
                                                                                                                                                                                                         Secure privacy
                                    Klarna                                                                                                                                                          Protecting your privacy is important to us! Please be assured
                                    $20 product minimum applies                                                                                                                                     that your information will be kept secured and
                                                                                                                                                                                                    uncompromised. We do not sell your personal information
                                    Affirm                                                                                                                                                          for money and will only use your information in accordance
                                    $35 product minimum applies                                                                                                                                     with our privacy and cookie policy to provide and improve
                                                                                                                                                                                                    our services to you.
                                    PayPal Pay Later
                                                                                                                                                                                                    Learn more
                                    $30 product minimum applies
                                                                                                                                                                                                         Delivery guarantee
                                                                                                                                                                                                         $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                                         15-day no update refund          30-day no delivery refund
                                                                                                                                                                                                    Learn more

                                                                                                                                                                                                         Temu purchase protection
                                                                                                                                                                                                    Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                    wrong, we've always got your back.
                                                                                                                                                                                                    Learn more
                                                                                          Successfully deleted. The item has been returned to your cart for a later purchase




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                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 535 of 685 PageID #:588




9/12/24, 3:08 PM                                                                                                                         Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu


                              Free shipping                                                                                                         Free returns
                              Special for you                                                                                                       Up to 90 days*
                                                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                                                   Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse         Categories           car hanging accessories                                                                          Support            EN
                                                                                                                                                                                                                                   Orders & Account


                                 Home       Automotive        Keychains & Key Shells        Butterfly Acrylic Pendant ...


                                                                                                                                                                                                     Free shipping special for you                            Exclusive offer


                                                                                                                                                                         Butterfly Acrylic Pendant - Versatile 2D Charm for Car, Luggage &
                                                                                                                                                                         Keychain Accessories
                                                                                                                                                                         2 bought Provided by              (1.8K+ bought)


                                                                                                                                                                         Last day              $11.69 $1.17/pc Pay $2.92 today
                                                                                                                                                                                                   4 interest-free biweekly installments


                                                                                                                                                                           Lightning deal                     Ends in 11:51:42

                                                                                                                                                                            Color: Butterfly, Quantity: 10pcs

                                                                                                                                                                            Qty       8                    Only 8 left



                                                                                                                                                                                                                Add to cart
                                                                                                                                                                                                                    Only 8 left



                                                                                                                                                                               Ships from Temu

                                                                                                                                                                                  Standard: FREE                                               Express: $12.90 or FREE (orde
                                                                                                                                                                                  Delivery: 4-9 business days, 80.4% within 8                  Delivery: 3-7 business days, 7
                                                                                                                                                                                  business days                                                business days
                                                                                                                                                                                  Courier company:          DHL eCommerce ...                  Courier company:        FedEx


                                                                                                                                                                               Temu's Commitments
                                                         JubilantOne                                                                                                              Security & Privacy          Delivery guarantee
                                                         28 Followers         1.8K+ Bought           4.7                                                                            Safe payments                $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                    Secure privacy               15-day no update refund        30-day no delivery refund
                                                                             Follow                            Shop all items (150)
                                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                 Free returns Price adjustment                                                                         Messages
        COUPONS
                                                                                                                                                                               Temu's Tree Planting Program (14M+ trees)
                                 Details                                                                                        Save    Report this item
                                                                                                                                                                                                                                                                                     Feedback
                              Free shipping
                                Material:      special for you
                                          Acrylic                                          Price adjustment within 30 days

https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                                                              1/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 536 of 685 PageID #:589




9/12/24, 3:08 PM                                                                                                                   Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu

                                 Item ID: WW168422 Copy
                              Free shipping                                                                                                   Free returns
                              Special for you                                                                                                 Up to 90 days*
                                                                                                                                                                                                                          Get the Temu App
                                Store Information

                                                                                                                                                                                                     Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse   Categories           car hanging accessories                                           Support   EN
                                                                                                                                                                                                     Orders & Account




                                                                                                                                                                                                                                                99+

         BONUS                                                                                                                                                                                                                               Messages
        COUPONS

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                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                      2/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 537 of 685 PageID #:590




9/12/24, 3:08 PM                                                                                                                   Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu


                              Free shipping                                                                                                   Free returns
                              Special for you                                                                                                 Up to 90 days*
                                                                                                                                                                                                                          Get the Temu App


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                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse   Categories           car hanging accessories                                           Support   EN
                                                                                                                                                                                                     Orders & Account




                                                                                                                                                                                                                                                99+

         BONUS                                                                                                                                                                                                                               Messages
        COUPONS

                                                                                                                                                                                                                                             Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                      3/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 538 of 685 PageID #:591




9/12/24, 3:08 PM                                                                                                                    Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu

                                 Explore your interests
                              Free shipping                                                                                                    Free returns
                              Special for you                                                                                                  Up to 90 days*
                                                                                                                                                                                                                                                         Get the Temu App


                                                                                                                                                                                                                            Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse    Categories            car hanging accessories                                                                       Support       EN
                                                                                                                                                                                                                            Orders & Account




                                               Steampunk Mechanical J…               Local Hot Desk Reading Lamp Livin…                     Charming Purple Butterfl…             Kouzone Sunrise Wake Up Light Ala…          1pc 7.87X7.87inch Round Metal Sig…
                                 Nearly over $16.56                                 $47.49 In 2 carts                            Last day $1.79 $2.58                             Last day $11.87                             30d lowest $4.98 35 bought
                                 Only 8 left                                        Almost sold out                                         11 1                                  Almost sold out                             Almost sold out


                                                                                                                                                                                      Direct from Kouzone




                                               Vintage-Inspired Sticker …                        Steampunk Grasshopper …                    1pc Magnetic Suspensio…                            Gothic Butterfly Pendant …                   3D Metal Model Kits, Min…
                                 Last day $3.14 $3.59                                 $16.39 $24.99 23 bought                    Nearly over $55.88                               $1.48 $9.99 5 bought                        $8.98 $47.02 122 bought
                                 Almost sold out                                    Only 1 Left                                  Almost sold out                                  Almost sold out                             Only 7 left             0 11 1
                                                                                                                                                  123
                                                                                                                                                                                                                                  Direct from Piececool




                                                                                                                                                                                                                                                                               99+

         BONUS                                                                                                                                                                                                                                                              Messages
        COUPONS

                                                                                                                                                                                                                                                                            Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                                                     4/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 539 of 685 PageID #:592




9/12/24, 3:08 PM                                                                                                                    Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu


                              Free shipping                                                                                                    Free returns
                              Special for you                                                                                                  Up to 90 days*
                                                                                                                                                                                                                                                      Get the Temu App


                                                                                                                                                                                                                          Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse    Categories           car hanging accessories                                                                     Support         EN
                                                                                                                                                                                                                          Orders & Account




                                               1pc 3D Carved Bird Cryst…                          Steampunk Metal Assem…         Wireless Speaker Rhythm RGB Light…                Local Mini Innovative High Quality …                 Elegant Butterfly Hairpin: …
                                 $6.98 $39.00 221 bought                            Last day $16.49 $52.86                       $11.88 $62.14       15K+ bought                  $45.49 $438.09 In 2 carts                 Nearly over $1.97
                                 Only 8 left                 0 11 1                 Almost sold out                                 just bought                                   Almost sold out                           Almost sold out
                                                                                                                                                  2,103
                                                                                                                                    Direct from Kouzone




                                               Steampunk Mechanical D…                            2pcs Acrylic Butterfly Han…    Boho Chic Butterfly Wall Hanging - …                          8pcs High Quality Wood…                  Steampunk Bumblebee …
                                 Last day $17.61 $39.99                             Last day $3.99 $11.49                        Last day $5.75 17 bought                            $11.47 $38.96 568 bought               $20.48 $52.99 4 bought
                                 Almost sold out                                    Only 4 left                11 1              Only 3 left               11 1                   Almost sold out                           Only 1 Left
                                                                                                                                                                                                      50




                                                                                                                                                                                                                                                                            99+

         BONUS                                                                                                                                                                                                                                                           Messages
        COUPONS

                                                                                                                                                                                                                                                                         Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                                                  5/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 540 of 685 PageID #:593




9/12/24, 3:08 PM                                                                                                                    Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu


                              Free shipping                                                                                                     Free returns
                              Special for you                                                                                                   Up to 90 days*
                                                                                                                                                                                                                                                     Get the Temu App


                                                                                                                                                                                                                         Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse    Categories           car hanging accessories                                                                    Support        EN
                                                                                                                                                                                                                         Orders & Account




                                               Local HCNT Moon Lamp…                              24pcs European Lace Da…                      Local Cyberpunk Mecha…                          Steampunk Spider Watch…                  Local HuiJuKeJi Mini Stic…

                                 $49.35 $162.99 3 bought                              $1.79 $2.98 10 bought                      $19.35 $52.86 4 bought                           Last day $16.90 $28.99                   Lowest ever $10.75
                                  Extra $2.11 off coupon                            Only 2 left                                  Almost sold out                                  Almost sold out                          Almost sold out       just bought
                                 Almost sold out                                                                                                                                                                                            90




                                 Charming Black & White Butterfly S…                              20-Piece Shimmering Ice …                    Mechanical Dragonfly Ste…           Local Dekala BT Speaker With Colo…                  3D Crystal Hummingbird …
                                 Nearly over $4.85 3 bought                         $3.00 $9.58 3 bought                         $16.89 $19.88 3 bought                           $64.17 3 bought                          Nearly over $6.47
                                 Only 2 left                                        Only 9 left                0 11 1            Only 4 left                                      Almost sold out                          Almost sold out


                                                                                                                                                                                      Direct from Dekala




                                                                                                                                                                                                                                                                           99+

         BONUS                                                                                                                                                                                                                                                          Messages
        COUPONS

                                                                                                                                                                                                                                                                        Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                                                 6/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 541 of 685 PageID #:594




9/12/24, 3:08 PM                                                                                                                    Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu


                              Free shipping                                                                                                     Free returns
                              Special for you                                                                                                   Up to 90 days*
                                                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                                          Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse    Categories           car hanging accessories                                                                       Support       EN
                                                                                                                                                                                                                          Orders & Account




                                  Local Vintage Table Lamp Retro In…                             Cool Metal 3D Puzzles Fo…                     Local Hot Selling Whole…           STEAM DaVinci Mechanical Hornet …                       1pc Universal Fit Dog Car…
                                 Last day $49.14 $98.33                             90d lowest $8.98 $66.99                      $48.33 $456.54 1 bought                          Nearly over $13.18                        Nearly over $1.97 9 bought
                                 Almost sold out                                    Almost sold out                              Almost sold out                                  Almost sold out                           Only 9 left


                                                                                        Direct from Piececool




                                               Local Magic Piano Mech…                            Local HCNT Levitating S…                     1pc/20pcs pink crystal bu…                       Local 2024 New Vintage…      Local 11.4'' Sand Art, Sand Art Liqu…

                                    $33.97 $56.02 116 bought                        Nearly over $44.19                           $4.28 $12.90 In 2 carts                          $50.98 $404.69 In 2 carts                 $28.95 $150.94 182 bought
                                 Almost sold out                                     Extra $5.62 off coupon                      Only 3 left               0 11 1                 Almost sold out                           Only 8 left              0 11 1

                                                                                    Almost sold out Lowest ever




                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                                                          Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                                                   7/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 542 of 685 PageID #:595




9/12/24, 3:08 PM                                                                                                                    Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu


                              Free shipping                                                                                                    Free returns
                              Special for you                                                                                                  Up to 90 days*
                                                                                                                                                                                                                                                         Get the Temu App


                                                                                                                                                                                                                           Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse    Categories            car hanging accessories                                                                        Support     EN
                                                                                                                                                                                                                           Orders & Account




                                               Local 3 In 1 Wireless Ch…                         Chic Pink Butterfly Acrylic…    1pc Colorful Enamel Dragonfly Broo…              Steampunk Mechanical Spider Mod…                         Local Mantis Building To…

                                 $15.02 $45.00 15 bought                            Nearly over $1.79                            30d lowest $2.56                                 Last day $23.79 11 bought                  $20.19 $55.99 7 bought
                                 Almost sold out                                                                                 Almost sold out                                  Almost sold out                            Almost sold out
                                                                                                                                                  639                                                                            Direct from Mesiondy




                                               Local 1 Piece 15W Wirel…              Local Modern Compression Modul…             HD Living Art Deco Crystal Ball with…             Local 1/2/3pcs Brazilian lucky trees…     Steampunk Mechanical Insect Mod…
                                 Lowest ever $19.19                                 $380.99                                      Last day $5.43 11 bought                         $12.20 $13.99       560 bought             $21.25 $52.00 1 bought
                                 Almost sold out                                    Almost sold out                              Only 7 left               11 1                       just bought                             Extra $0.14 off coupon
                                                                                        Direct from CALVES KELSON                                                                                                            Only 3 left
                                     Direct from VAHLIF




                                                                                                                                                                                                                                                                               99+

         BONUS                                                                                                                                                                                                                                                              Messages
        COUPONS

                                                                                                                                                                                                                                                                            Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                                                     8/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 543 of 685 PageID #:596




9/12/24, 3:08 PM                                                                                                                    Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu


                              Free shipping                                                                                                    Free returns
                              Special for you                                                                                                  Up to 90 days*
                                                                                                                                                                                                                                                              Get the Temu App


                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse    Categories            car hanging accessories                                                                           Support          EN
                                                                                                                                                                                                                                  Orders & Account




                                  Local Portable Wireless PA Speaker…                            Elegant Butterfly Car Han…                 DIY Handmade 3D Wood…                               Local 1pc Magnetic Met…                          Local 1:64 AH-64 "Apac…
                                 60d lowest $37.99                                  $1.44 $2.36 37 bought                         $38.97 $111.18                                  Last day $59.84 77 bought                         $30.98 $69.58 24 bought

                                                   216                              Only 1 Left                                  Almost sold out                                  Only 9 left                 11 1                  Almost sold out
                                                                                                                                                  181




                                              Multifunction Wireless C…                           Local Creative and perso…                 36pcs Watercolor Butterfl…                          Steampunk Mechanical I…              Local Modern Style Home Bedroo…

                                 $11.88 $79.54 540 bought                           $5.78 $49.65 1.3K+ bought                    30d lowest $4.31                                 Nearly over $17.78 $53.00                         $43.99 In 13 carts
                                 Almost sold out                                    Almost sold out                              Almost sold out                                  Almost sold out                                   Almost sold out
                                                                                                      81



                                                                                                                                               View more




                                                                                                                                                                                                                                                                                    99+

         BONUSCompany info                                                             Customer service                                         Help                                                  Download the Temu App                               Connect with Temu      Messages
        COUPONS
              About Temu                                                               Return and refund policy                                 Support center & FAQ                                     Track orders any time
                     Temu - Team Up, Price Down!
                                                                                       Intellectual property policy                             Safety center                                            Low stock items alerts                                                  Feedback
                     AffiliateFree   shipping
                               & Influencer: Earnspecial for you
                                                  Commission                               Price adjustment within 30 days
                                                                                       Shipping info                                            Temu purchase protection                                 Coupons & offers alerts
https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                                                          9/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 544 of 685 PageID #:597




9/12/24, 3:08 PM                                                                                                                       Butterfly Acrylic Pendant Versatile 2d Charm Car Luggage - Temu

                     Contact us                                                        Your Recalls and Product Safety Alerts                     Sitemap
                              Free shipping                                                                                                      Free returns
                              Special for you                                                                                                    Up to 90 days*                                                  Download on the
                                                                                                                                                                                                                                                        Get the Temu App
                     Careers                                                           Report suspicious activity                                  How to order
                                                                                                                                                                                                                 App Store
                     Press                                                                                                                         How to track                                                                    Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse      Categories          car hanging accessories                                                                       Support   EN
                                                                                                                                                                                                                 Get it on         Orders & Account
                     Temu's Tree Planting Program                                                                                                  Partner with Temu
                                                                                                                                                                                                                 Google Play



                     Security certification                                                                                                        We accept




                                                                                                        © 2024 WhaleCo Inc.      Terms of use    Privacy policy     Your privacy choices            Ad Choices




                                                                                                                                                                                                                                                                              99+

         BONUS                                                                                                                                                                                                                                                             Messages
        COUPONS

                                                                                                                                                                                                                                                                           Feedback



https://www.temu.com/butterfly-acrylic-pendant-versatile-2d-charm-for-car-luggage-keychain-accessories-g-601099596598140.html                                                                                                                                                   10/10
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 545 of 685 PageID #:598




9/12/24, 3:08 PM                                                                                                                                        Temu


                           Free shipping                                                                                           Delivery guarantee
                           Special for you                                                                                         Refund for any issues
                                                                                                                                                                                                                                                  Get the Temu App


                                   $5.00 Credit for delay


                   Home       Checkout

                                                                                                                                                                                                     Order summary
                              Free shipping special for you

                                                                                                                                                                                                       Enter coupon code                                        Apply
                   Shipping address                                                                                                                               Change address

                                                                                                                                                                                                     Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                               Item(s) total:                                                $93.52

                       CHICAGO, IL 60602-3902, United States
                                                                                                                                                                                                     Shipping:                                                       FREE
                                                                                                                                                                                                        Free shipping for items shipped from Temu is an exclusive
                                                                                                                                                                                                     offer. Please submit your order as soon as possible.

                   Ships from Temu (8) 1 item is almost gone!                                                                                                                                        Sales tax:                                                     $9.59

                                                    Butterfly Acrylic Pendant - Versatile 2D Charm for Car, Luggage & Keychain Accessories
                                                    Butterfly / 10pcs                                                                                                                                Order total:                                                $103.11
                                                                                                                                                                      Qty:

                                                    Lightning deal | Final hours
                                                                                                                                                                                                     Plant with Temu
                                                                                                                                                                                                          We invite you to plant a tree for $0.35

                             Only 8 left                                                                                                                                                                                       Submit order
                                                      $11.69
                                                                                                                                                                                                                                 1 almost sold out
                   Standard shipping: FREE, delivery: 4-9 business days
                                                                                                                                                                                                         Temu's Tree Planting Program
                                                                                                                                                                                                     Temu and its users have donated funds to Trees for the
                   Payment methods
                                                                                                                                                                                                     Future to plant trees across sub-Saharan Africa

                                    Visa ...1950                                                                                                                             Edit


                                                                                                                                                                                                         Temu protects your card information
                                    Add a new card
                                                                                                                                                                                                         Temu follows the Payment Card Industry Data Security
                                                                                                                                                                                                         Standard (PCI DSS) when handling card data
                                    PayPal           Remember my PayPal                                                                                                                                  Card information is secure and uncompromised
                                                                                                                                                                                                         All data is encrypted
                                    Cash App Pay                                                                                                                                                         Temu never sells your card information


                                    Afterpay       4 interest-free payments of $25.77


https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"2cb1e1e1-ee28-4198-9c86-1f8877323f9e"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"1500"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 546 of 685 PageID #:599




9/12/24, 3:08 PM                                                                                                                                        Temu

                                                                                                                                                                                                         Secure privacy
                                    Klarna      4 interest-free payments of $25.77
                                                                                                                                                                                                     Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                     that your information will be kept secured and
                                    Affirm      4 interest-free payments or as low as $9.55/mo                                                                                                       uncompromised. We do not sell your personal information
                                                                                                                                                                                                     for money and will only use your information in accordance
                                                                                                                                                                                                     with our privacy and cookie policy to provide and improve
                                    Venmo
                                                                                                                                                                                                     our services to you.
                                                                                                                                                                                                     Learn more
                                    Google Pay
                                                                                                                                                                                                         Delivery guarantee

                                    PayPal Pay Later                                                                                                                                                     $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                         15-day no update refund           30-day no delivery refund
                                                                                                                                                                                                     Learn more

                                                                                                                                                                                                         Temu purchase protection
                                                                                                                                                                                                     Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                     wrong, we've always got your back.
                                                                                                                                                                                                     Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"2cb1e1e1-ee28-4198-9c86-1f8877323f9e"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"1500"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   2/2
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 547 of 685 PageID #:600




9/12/24, 3:02 PM                                                                                                                            Acrylic Butterfly Keychain Animal Theme Butterfly Style - Temu


                   Free shipping                                                                                                      Free returns
                   Special for you                                                                                                    Up to 90 days*
                                                                                                                                                                                                                                                   Get the Temu App
                                                                                                                                                                                                                                                                                                 Subtotal

                                                                                                                                                                                                                                 Orders &                                    4
                           Best Sellers        5-Star Rated         Anniversary Sale         Local Warehouse                        butterfly
                                                                                                                    Categories Please check keychain
                                                                                                                                              your network connection and try again.                                                             Support          EN                        $33.79
                                                                                                                                                                                                                                 Account


          Home       Toys & Games         Novelty & Costumes          Acrylic Butterfly Keychain...


                                                                                                                                                                                          Free shipping special for you                                    Exclusive offer
                                                                                                                                                                                                                                                                                          Checkout (4)

                                                                                                                                                              Acrylic Butterfly Keychain - Animal Theme, Butterfly Style, Subtle Blue and                                                  Go to cart
                                                                                                                                                              White Design
                                                                                                                                                              4 bought Provided by               (117 bought)                                                                              Free shipping
                                                                                                                                                                                                                                                                                        from Temu

                                                                                                                                                              Last day               $0.79

                                                                                                                                                                Lightning deal                      Ends in 11:57:10

                                                                                                                                                                 Quantity: 1pc                                                                                                                Almost
                                                                                                                                                                                                                                                                                             sold out

                                                                                                                                                                 Qty       1                 Added           Only 3 left                                                                        $ 21.36

                                                                                                                                                                                                                                                                                            1

                                                                                                                                                                                                             1 Added
                                                                                                                                                                                                               1pc



                                                                                                                                                                    Ships from Temu                                                                                                           Almost
                                                                                                                                                                                                                                                                                             sold out
                                                                                                                                                                       Standard: FREE                                                 Express: $12.90 or FREE (orders ≥ $1
                                                                                                                                                                                                                                                                                                $ 0.98
                                                                                                                                                                       Delivery: 4-9 business days, 80.4% within 8                    Delivery: 3-7 business days, 74.8% w
                                                                                                                                                                       business days                                                  business days                                         1
                                                                                                                                                                       Courier company:            DHL eCommerce ...                  Courier company:      FedEx       DHL


                                                                                                                                                                    Temu's Commitments

                                                                                                                                                                       Security & Privacy            Delivery guarantee
                                                                                                                                                                                                                                                                                            Lightning
                                                                                                                                                                         Safe payments                  $5.00 Credit for delay        Return if item damaged                                   deal
                                                                                                                                                                         Secure privacy                 15-day no update refund       30-day no delivery refund
                                                                                                                                                                                                                                                                                                $ 10.66
                                  GXSJ
                                                                                                                                                                    Free returns Price adjustment                                                                                           1
                                  117 Bought          4.8                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                      Temu's Tree Planting Program (14M+ trees)                                                                Messages
        COUPONS                                Contact provider                                Follow                       All items (4)


                                                                                                                                                                                                                                                                             Feedback
                   Free shipping special for you                                 Price adjustment within 30 days                                                                                                                                                                                 Only 3
                                                                                                                                                                                                                                                                                                 left
https://www.temu.com/acrylic-butterfly-keychain-animal-theme-butterfly-style-subtle-blue-and-white-design-g-601099599622187.html                                                                                                                                                                            1/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 548 of 685 PageID #:601




9/12/24, 3:02 PM                                                                                                                            Acrylic Butterfly Keychain Animal Theme Butterfly Style - Temu

          Details
               Free shipping                                                                                        Save      Report this item
                                                                                                                                        Free returns
               Special for you                                                                                                          Up to 90 days*
                                                                                                                                                                                                                                              Get the Temu App
          Theme: Animals                                                                                                                                                                                                                                                           Subtotal

                                                                                                                                                                                                                          Orders &                                4
          The Main Material: Acrylic
                     Best Sellers              5-Star Rated         Anniversary Sale         Local Warehouse                        butterfly
                                                                                                                    Categories Please check keychain
                                                                                                                                              your network connection and try again.                                                        Support      EN                     $33.79
                                                                                                                                                                                                                          Account

          Style: Butterfly

          See more

                                                                                                                                                                                                                                                                              Checkout (4)


          Explore your interests                                                                                                                                                                                                                                               Go to cart


                                                                                                                                                                                                                                                                               Free shipping
                                                                                                                                                                                                                                                                            from Temu




                                                                                                                                                                                                                                                                                  Almost
                                                                                                                                                                                                                                                                                 sold out

                                                                                                                                                                                                                                                                                 $ 21.36




          Steampunk Mechanical Dragonfly 3D …                    A Smart Lamp With A Wireless Speake…                                 1pc 3D Laser Engraved Fairy…                         1pc 3D Bird Crystal Carved …              Steampunk Mechanical Dra…
            $25.19 $27.99 30 bought                                 $11.97 $62.14         7K+ bought                    $5.58 $40.59 144 bought                              $7.48 $39.00 454 bought                      Last day $17.61 $39.99 62 bought
          Almost sold out                                        Best Seller in Audio & Radio: 5.2                      Only 7 left              0 11        10              Only 7 left                     0 11   10    Almost sold out                                         Almost
                                                                                   682                                                                                                          73                                                                               sold out

                                                                     Direct from Kouzone                                                                                                                                                                                          $ 0.98




                                                                                                                                                                                                                                                                                Lightning
                                                                                                                                                                                                                                                                                   deal

                                                                                                                                                                                                                                                                                 $ 10.66


                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                   Messages
        COUPONS
                        Local HCNT Moon Lamp 3…                               Express Your Love with Car …              Brass Gear Linkage Anxiety Relief Puzzl…                           Valoran-Inspired Miniature …              1pc 3D Carved Bird Crystal B…
                                                                                                                                                                                                                                                                 Feedback
               Free
          $49.35    shipping
                 $162.99 3 boughtspecial for you Last day                      Price
                                                                              $1     adjustment
                                                                                .77 $11.49 3 bought within 30 days
                                                                                                            Last day                  $10.97 158 bought                      Last day $3.59 $3.99 455 bought              $6.98 $39.00 221 bought
                                                                                                                                                                                                                                                                                   Only 3
                                                                                                                                                                                                                                                                                   left
https://www.temu.com/acrylic-butterfly-keychain-animal-theme-butterfly-style-subtle-blue-and-white-design-g-601099599622187.html                                                                                                                                                               2/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 549 of 685 PageID #:602




9/12/24, 3:02 PM                                                                                                                          Acrylic Butterfly Keychain Animal Theme Butterfly Style - Temu

           Extra $2.11 off coupon                                Almost sold out                                        Almost sold out                                    Almost sold out                              Only 8 left                  0 11   10
                   Free shipping                                                                                                      Free returns
          AlmostSpecial
                 sold out
                        for you                                                                                                       Up to 90 days*                                          60                                               Get the Temu App
                                                                                                                                                                                                                                                                                   Subtotal

                                                                                                                                                                                                                        Orders &                                 4
                           Best Sellers        5-Star Rated         Anniversary Sale         Local Warehouse                        butterfly
                                                                                                                    Categories Please check keychain
                                                                                                                                              your network connection and try again.                                                         Support        EN                  $33.79
                                                                                                                                                                                                                        Account




                                                                                                                                                                                                                                                                              Checkout (4)

                                                                                                                                                                                                                                                                               Go to cart


                                                                                                                                                                                                                                                                               Free shipping
                                                                                                                                                                                                                                                                            from Temu




                        Multifunctional Portable Wir…                          Resin Steampunk Mechanica…                          Creative Mechanical Mantis …            HD Living Art Deco Crystal Ball with 3D…                   Local Magnetic Wireless Ch…

            $12.97 $67.01          9.6K+ bought                  $22.48 $38.99 54 bought                                Nearly over $25.47 88 bought                       Last day $5.43 11 bought                     $9.23 $27.99 312 bought
                                                                                                                                                                                                                                                                                  Almost
              just rated 5 stars                                 Only 5 left                 0 11       10              Almost sold out                                    Only 7 left                     11   10                    0 11      10                               sold out
                            1,180                                                                                                                                                                                                                                                $ 21.36
                                                                                                                                                                                                                           Direct from WTUHU




                                                                                                                                                                                                                                                                                  Almost
                                                                                                                                                                                                                                                                                 sold out

                                                                                                                                                                                                                                                                                  $ 0.98




          1 Pack, Get Summer Vibes With 30 She…                                2pcs Acrylic Butterfly Penda…             Local Velvet Swivel Accent Chair with …                         Portable Multifunctional Sm…   1pc 7.87X7.87inch Round Metal Sign, …                   Lightning
                                                                                                                                                                                                                                                                                   deal
          $2.28 32 bought                                        30d lowest $3.39 54 bought                             $210.49 $1,723.12 79 bought                           $16.96 $112.81          1.2K+ bought      30d lowest $4.98 35 bought
                                                                                                                                                                                                                                                                                 $ 10.66
          Only 3 left                 0 11       10              Only 3 left                                            Only 1 Left                                        Almost sold out                              Almost sold out
                                                                                                                                                                                              155
                                                                                                                                                                                                                                                                     99+
                                                                                                                                                                               Direct from Kouzone
         BONUS                                                                                                                                                                                                                                                   Messages
        COUPONS

                                                                                                                                                                                                                                                                 Feedback
                   Free shipping special for you                                 Price adjustment within 30 days                                                                                                                                                                   Only 3
                                                                                                                                                                                                                                                                                   left
https://www.temu.com/acrylic-butterfly-keychain-animal-theme-butterfly-style-subtle-blue-and-white-design-g-601099599622187.html                                                                                                                                                               3/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 550 of 685 PageID #:603




9/12/24, 3:02 PM                                                                                                                           Acrylic Butterfly Keychain Animal Theme Butterfly Style - Temu


                   Free shipping                                                                                                       Free returns
                   Special for you                                                                                                     Up to 90 days*
                                                                                                                                                                                                                                           Get the Temu App
                                                                                                                                                                                                                                                                                 Subtotal

                                                                                                                                                                                                                      Orders &                                 4
                           Best Sellers        5-Star Rated         Anniversary Sale         Local Warehouse                        butterfly
                                                                                                                    Categories Please check keychain
                                                                                                                                              your network connection and try again.                                                     Support          EN                  $33.79
                                                                                                                                                                                                                      Account




                                                                                                                                                                                                                                                                            Checkout (4)

                                                                                                                                                                                                                                                                             Go to cart


                        Steampunk Mechanical Spid…                Local YIFENG suspended air bonsai p…                  1pc Acrylic Butterfly-Shaped Keychain …             Kouzone Sunrise Wake Up Light Alarm …                   HD LIVING Crystal Ball Pape…             Free shipping
                                                                                                                                                                                                                                                                          from Temu
          $10.63 $40.98 3 bought                                 $50.49 33 bought                                       Nearly over $1.35 $7.99 13 bought                   Last day $11.87 318 bought                Last day $7.62 $28.84 7 bought
           Extra $0.14 off coupon                                Almost sold out                                        Only 7 left                                         Almost sold out                           Only 8 left               11   10
          Only 5 left
                                                                                                                                                                                Direct from Kouzone
                                                                                                                                                                                                                                                                                Almost
                                                                                                                                                                                                                                                                               sold out

                                                                                                                                                                                                                                                                               $ 21.36




                                                                                                                                                                                                                                                                                Almost
                                                                                                                                                                                                                                                                               sold out

                                                                                                                                                                                                                                                                                $ 0.98



           Local Mini Innovative High Quality Flo…                            Moon Earth Sun, Three Ball I…             Wireless Open-Ear Clip Headphones wi…                             Steampunk Spider Watch M…                 Local HCNT Levitating Smal…

          $45.49 $438.09 In 2 carts                              $4.98 $20.99 2.7K+ bought                              $2.99 $15.00 3.3K+ bought                           Last day $16.90 $28.99 85 bought          Nearly over $44.19 $162.99
          Almost sold out                                        Almost sold out                                            just rated 5 stars                              Almost sold out                            Extra $5.62 off coupon
                                                                                   127                                                                                                                                Almost sold out Lowest ever
                                                                                                                                                                                                                                                                              Lightning
                                                                                                                                                                                                                                                                                 deal

                                                                                                                                                                                                                                                                               $ 10.66


                                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                                 Messages
        COUPONS

                                                                                                                                                                                                                                                               Feedback
                   Free shipping special for you                                 Price adjustment within 30 days                                                                                                                                                                 Only 3
                                                                                                                                                                                                                                                                                 left
https://www.temu.com/acrylic-butterfly-keychain-animal-theme-butterfly-style-subtle-blue-and-white-design-g-601099599622187.html                                                                                                                                                             4/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 551 of 685 PageID #:604




9/12/24, 3:02 PM                                                                                                                            Acrylic Butterfly Keychain Animal Theme Butterfly Style - Temu


                   Free shipping                                                                                                       Free returns
                   Special for you                                                                                                     Up to 90 days*
                                                                                                                                                                                                                                              Get the Temu App
                                                                                                                                                                                                                                                                                 Subtotal

                                                                                                                                                                                                                       Orders &                                4
                           Best Sellers        5-Star Rated         Anniversary Sale         Local Warehouse                        butterfly
                                                                                                                    Categories Please check keychain
                                                                                                                                              your network connection and try again.                                                      Support        EN                   $33.79
                                                                                                                                                                                                                       Account




                                                                                                                                                                                                                                                                            Checkout (4)

                                                                                                                                                                                                                                                                             Go to cart


          Butterfly Washi Tape Stickers - 6 Rolls, …             40pcs/pack Vintage Butterfly Sticker Se…                          1pc 3D Laser Engraved Butt…               Wireless BT Speakers With Wireless Fas…    Local 11.4'' Sand Art, Sand Art Liquid …             Free shipping
                                                                                                                                                                                                                                                                          from Temu
          Last day $9.44 1 bought                                Nearly over $2.24 10 bought                            $5.98 $13.59 39 bought                                  $11.97 $59.78          53K+ bought     $28.95 $150.94 182 bought
          Only 6 left                 11     10                  Only 6 left                 01 11      10              Almost sold out                                      Best Seller in Audio & Radio: Apple …     Only 8 left              0 11     10
                                                                                                                                                                                                6,541
                                                                                                                                                                                 Direct from Kouzone
                                                                                                                                                                                                                                                                                Almost
                                                                                                                                                                                                                                                                               sold out

                                                                                                                                                                                                                                                                               $ 21.36




                                                                                                                                                                                                                                                                                Almost
                                                                                                                                                                                                                                                                               sold out

                                                                                                                                                                                                                                                                                $ 0.98



                        Creative Keychain With Met…                            Steampunk Grasshopper DI…                Northern Lights Ocean Wave Projector…                 Local Hot Desk Reading Lamp Living …                   1pc Rotatable Sports Car M…
          $1.48 $11.32 244 bought                                   $16.39 $24.99 23 bought                             $7.99 $54.64       15K+ bought                       $47.49 In 2 carts                         90d lowest $10.18        2.6K+ bought

          Almost sold out                                        Only 1 Left                                                just bought                                      Almost sold out                           Almost sold out
                                                                                                                                          1,227                                                                                         350
                                                                                                                                                                                                                                                                              Lightning
                                                                                                                                                                                                                                                                                 deal

                                                                                                                                                                                                                                                                               $ 10.66


                                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                                 Messages
        COUPONS

                                                                                                                                                                                                                                                               Feedback
                   Free shipping special for you                                 Price adjustment within 30 days                                                                                                                                                                 Only 3
                                                                                                                                                                                                                                                                                 left
https://www.temu.com/acrylic-butterfly-keychain-animal-theme-butterfly-style-subtle-blue-and-white-design-g-601099599622187.html                                                                                                                                                             5/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 552 of 685 PageID #:605




9/12/24, 3:02 PM                                                                                                                          Acrylic Butterfly Keychain Animal Theme Butterfly Style - Temu


                   Free shipping                                                                                                     Free returns
                   Special for you                                                                                                   Up to 90 days*
                                                                                                                                                                                                                                            Get the Temu App
                                                                                                                                                                                                                                                                              Subtotal

                                                                                                                                                                                                                        Orders &                            4
                           Best Sellers        5-Star Rated         Anniversary Sale         Local Warehouse                        butterfly
                                                                                                                    Categories Please check keychain
                                                                                                                                              your network connection and try again.                                                      Support    EN                    $33.79
                                                                                                                                                                                                                        Account




                                                                                                                                                                                                                                                                         Checkout (4)

                                                                                                                                                                                                                                                                          Go to cart


                        3D Butterfly Stickers Set, Hol…          Steampunk Bumblebee Hanging Decor…                                Ideas Shark Sea Creatures B…            Wireless Speaker Rhythm RGB Light Ba…         Local Steampunk Decor Table Lamp F…              Free shipping
                                                                                                                                                                                                                                                                       from Temu
          $4.98 $13.09 4 bought                                     $2.37 47 bought                                     60d lowest $15.54      2.1K+ bought                $11.88 $62.14          15K+ bought           $54.49 1 viewed
          Only 8 left                 0 11       10              Almost sold out                                        Almost sold out                                                       2,103                     Almost sold out
                                                                                                                                       186                                     Direct from Kouzone

                                                                                                                                                                                                                                                                             Almost
                                                                                                                                                                                                                                                                            sold out

                                                                                                                                                                                                                                                                            $ 21.36




                                                                                                                                                                                                                                                                             Almost
                                                                                                                                                                                                                                                                            sold out

                                                                                                                                                                                                                                                                             $ 0.98


                        Local Cyberpunk Mechanic…                             Car Keychain High-end Car …                          Local Hot Selling Wholesal…                           Cool Metal 3D Puzzles For A…              3D Crystal Hummingbird La…
          $19.35 $52.86 4 bought                                    $8.82 $39.99        1.1K+ bought                    $48.33 $456.54 1 bought                            90d lowest $8.98 $66.99 61 bought            Nearly over $6.47 172 bought
          Almost sold out                                        Almost sold out                                        Almost sold out                                    Almost sold out                              Almost sold out
                                                                                   112
                                                                                                                                                                               Direct from Piececool                                                                       Lightning
                                                                                                                                                                                                                                                                              deal

                                                                                                                                                                                                                                                                            $ 10.66


                                                                                                                                                                                                                                                                99+

         BONUS                                                                                                                                                                                                                                             Messages
        COUPONS

                                                                                                                                                                                                                                                            Feedback
                   Free shipping special for you                                 Price adjustment within 30 days                                                                                                                                                              Only 3
                                                                                                                                                                                                                                                                              left
https://www.temu.com/acrylic-butterfly-keychain-animal-theme-butterfly-style-subtle-blue-and-white-design-g-601099599622187.html                                                                                                                                                          6/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 553 of 685 PageID #:606




9/12/24, 3:02 PM                                                                                                                          Acrylic Butterfly Keychain Animal Theme Butterfly Style - Temu


                   Free shipping                                                                                                      Free returns
                   Special for you                                                                                                    Up to 90 days*
                                                                                                                                                                                                                                                 Get the Temu App
                                                                                                                                                                                                                                                                                     Subtotal

                                                                                                                                                                                                                          Orders &                                  4
                           Best Sellers        5-Star Rated         Anniversary Sale         Local Warehouse                        butterfly
                                                                                                                    Categories Please check keychain
                                                                                                                                              your network connection and try again.                                                         Support         EN                   $33.79
                                                                                                                                                                                                                          Account




                                                                                                                                                                                                                                                                                Checkout (4)

                                                                                                                                                                                                                                                                                 Go to cart


                        Local Model Of The B17 "Fl…                            Local 3 In 1 Wireless Chargi…                       Steampunk Bumblebee Met…                Cute Rat Ring Silver Plated Adjustable …                     Local Active noise cancellin…            Free shipping
                                                                                                                                                                                                                                                                              from Temu
          $27.43 $91.10 39 bought                                $15.02 $45.00 15 bought                                $20.48 $52.99 4 bought                             Nearly over $1.35 43K+ bought                  $12.84 $79.96       1.7K+ bought
          Almost sold out                                        Almost sold out                                        Only 1 Left             0 11        10                                4,431                       Almost sold out
                                                                                                                                                                                                                                           231


                                                                                                                                                                                                                                                                                    Almost
                                                                                                                                                                                                                                                                                   sold out

                                                                                                                                                                                                                                                                                   $ 21.36




                                                                                                                                                                                                                                                                                    Almost
                                                                                                                                                                                                                                                                                   sold out

                                                                                                                                                                                                                                                                                    $ 0.98

           Local 1 Floating Heart-shaped Light B…                             Mechanical Scorpion Metal …                          51pcs Sparkling Crystal Balls…                        Elegant Silvery-Plated Airpla…   Multifunctional Wireless Charging Pad …
          $55.48 48 viewed                                       $22.08 $48.99 31 bought                                Nearly over $4.94 4.4K+ bought                     Last day $8.99 $21.36 66 bought                  $11.68 $102.20 76 bought
          Almost sold out                                         Extra $0.42 off coupon                                Almost sold out       just bought                  Almost sold out                                Only 7 left
                                                                 Almost sold out                                                       347

                                                                                                                                                                                                                                                                                  Lightning
                                                                                                                                                                                                                                                                                     deal

                                                                                                                                      View more                                                                                                                                    $ 10.66


                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                                                     Messages
        COUPONS

          Company info                                                     Customer service                                            Help                                              Download the Temu App                              Connect with Temu      Feedback
                   Free shipping special for you                                 Price adjustment within 30 days                                                                                                                                                                     Only 3
                                                                                                                                                                                               Track orders any time                                                                 left
https://www.temu.com/acrylic-butterfly-keychain-animal-theme-butterfly-style-subtle-blue-and-white-design-g-601099599622187.html                                                                                                                                                                 7/8
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 554 of 685 PageID #:607




9/12/24, 3:02 PM                                                                                                                          Acrylic Butterfly Keychain Animal Theme Butterfly Style - Temu

          About Temu                                                       Return and refund policy                                    Support center & FAQ
                   Free shipping                                                                                                      Free returns                                             Low stock items alerts
                 Special
                                                                                                                                                                                                                                      Get the Temu App
          Temu - Team Up, for
                          Priceyou
                                Down!                                                                                                 Up to 90 days*
                                                                           Intellectual property policy                                Safety center                                                                                                                  Subtotal
                                                                                                                                                                                               Coupons & offers alerts
          Affiliate & Influencer: Earn Commission
                                                                           Shipping info                                               Temu purchase protection                                                          Orders &                    4
                           Best Sellers        5-Star Rated         Anniversary Sale         Local Warehouse                        butterfly
                                                                                                                    Categories Please check keychain
                                                                                                                                              your network connection and try again.                                                Support    EN                  $33.79
          Contact us                                                                                                                                                                                 Download on the
                                                                                                                                                                                                                         Account
                                                                           Your Recalls and Product Safety Alerts                      Sitemap
                                                                                                                                                                                                     App Store
          Careers
                                                                           Report suspicious activity                                  How to order
          Press                                                                                                                                                                                      Get it on
                                                                                                                                       How to track
                                                                                                                                                                                                     Google Play                                                 Checkout (4)
          Temu's Tree Planting Program
                                                                                                                                       Partner with Temu

                                                                                                                                                                                                                                                                  Go to cart

          Security certification                                                                                                         We accept
                                                                                                                                                                                                                                                                  Free shipping
                                                                                                                                                                                                                                                               from Temu




                                                                                                                                                                                                                                                                     Almost
                                                                                                                                                                                                                                                                    sold out
                                                                                            © 2024 WhaleCo Inc.        Terms of use   Privacy policy    Your privacy choices            Ad Choices
                                                                                                                                                                                                                                                                    $ 21.36




                                                                                                                                                                                                                                                                     Almost
                                                                                                                                                                                                                                                                    sold out

                                                                                                                                                                                                                                                                     $ 0.98




                                                                                                                                                                                                                                                                   Lightning
                                                                                                                                                                                                                                                                      deal

                                                                                                                                                                                                                                                                    $ 10.66


                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                    Feedback
                                                                                                                                                                                                                                                                      Only 3
                                                                                                                                                                                                                                                                      left
https://www.temu.com/acrylic-butterfly-keychain-animal-theme-butterfly-style-subtle-blue-and-white-design-g-601099599622187.html                                                                                                                                                  8/8
                              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 555 of 685 PageID #:608




9/12/24, 3:02 PM                                                                                                                                          Temu


                           Free shipping                                                                                                 Free returns
                           Special for you                                                                                               Up to 90 days*
                                                                                                                                                                                                                                                     Get the Temu App


                                    Return if item damaged


                    Home      Checkout

                                                                                                                                                                                                        Order summary
                               Free shipping special for you

                                                                                                                                                                                                          Enter coupon code                                         Apply
                    Shipping address                                                                                                                                 Change address

                                                                                                                                                                                                        Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                                  Item(s) total:                                                  $0.79

                       CHICAGO, IL 60602-3902, United States
                                                                                                                                                                                                        Shipping:                                                        FREE
                                                                                                                                                                                                           Free shipping for items shipped from Temu is an exclusive
                                                                                                                                                                                                        offer. Please submit your order as soon as possible.

                    Ships from Temu (1) 1 item is almost gone!                                                                                                                                          Sales tax:                                                      $0.08

                                                    Acrylic Butterfly Keychain - Animal Theme, Butterfly Style, Subtle Blue and White Design
                                                    1pc                                                                                                                                                 Order total:                                                    $0.87
                                                                                                                                                                        Qty:    1

                                                    Lightning deal | Final hours
                                                                                                                                                                                                        Plant with Temu
                                                                                                                                                                                                             We invite you to plant a tree for $0.35

                             Only 3 left                                                                                                                                                                                          Submit order
                                                       $0.79
                                                                                                                                                                                                                                    1 almost sold out
                    Standard shipping: FREE, delivery: 4-9 business days
                                                                                                                                                                                                            Temu's Tree Planting Program
                                                                                                                                                                                                        Temu and its users have donated funds to Trees for the
                    Payment methods
                                                                                                                                                                                                        Future to plant trees across sub-Saharan Africa

                                     Visa ...1950                                                                                                                              Edit


                                                                                                                                                                                                            Temu protects your card information
                                     Add a new card
                                                                                                                                                                                                            Temu follows the Payment Card Industry Data Security
                                                                                                                                                                                                            Standard (PCI DSS) when handling card data
                                     PayPal           Remember my PayPal                                                                                                                                    Card information is secure and uncompromised
                                                                                                                                                                                                            All data is encrypted
                                     Cash App Pay                                                                                                                                                           Temu never sells your card information


                                     Venmo


https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"cart_float_layer_type"%3A2%2C"ck_cart_login_status"%3A"1"%2C"ck_float_layer_type"%3A"2"%2C"cart_morgan_token"%3A"19acb9bb-988e-48df-b1ad-533ca2400291"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3…   1/2
                              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 556 of 685 PageID #:609




9/12/24, 3:02 PM                                                                                                                                          Temu

                                                                                                                                                                                                            Secure privacy
                                     Google Pay
                                                                                                                                                                                                        Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                        that your information will be kept secured and
                                     Afterpay
                                                                                                                                                                                                        uncompromised. We do not sell your personal information
                                     $20 product minimum applies
                                                                                                                                                                                                        for money and will only use your information in accordance
                                                                                                                                                                                                        with our privacy and cookie policy to provide and improve
                                     Klarna
                                                                                                                                                                                                        our services to you.
                                     $20 product minimum applies
                                                                                                                                                                                                        Learn more
                                     Affirm
                                     $35 product minimum applies                                                                                                                                            Delivery guarantee
                                                                                                                                                                                                            $5.00 Credit for delay          Return if item damaged
                                     PayPal Pay Later                                                                                                                                                       15-day no update refund           30-day no delivery refund
                                     $30 product minimum applies                                                                                                                                        Learn more

                                                                                                                                                                                                            Temu purchase protection
                                                                                                                                                                                                        Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                        wrong, we've always got your back.
                                                                                                                                                                                                        Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"cart_float_layer_type"%3A2%2C"ck_cart_login_status"%3A"1"%2C"ck_float_layer_type"%3A"2"%2C"cart_morgan_token"%3A"19acb9bb-988e-48df-b1ad-533ca2400291"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3…   2/2
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 557 of 685 PageID #:610




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                                Support            EN
                                                                                                                                                                                                                                       Orders & Account


                                 Home       Home & Kitchen         Home Decor Products           Acrylic Butterfly Car Rear...


                                                                                                                                                                                                        Free shipping special for you                             Exclusive offer


                                                                                                                                                                            Acrylic Butterfly Car Rearview Mirror Hanging Charm - 2D Flat Garden
                                                                                                                                                                            Style Pendant, No-Feather Keychain Accessory, Non-Electric Dashboard
                                                                                                                                                                            Decoration for Luggage, Bag, and Phone Case (1pc)
                                                                                                                                                                            5.0                       1 bought Provided by            (1.6K+ bought)


                                                                                                                                                                            Last day              $1.91 Pay $0.47 today -83% $11.49
                                                                                                                                                                                                      4 interest-free biweekly installments


                                                                                                                                                                              Lightning deal                      Ends in 12:13:06

                                                                                                                                                                               Quantity: 1pc

                                                                                                                                                                               Qty       1                     Only 13 left



                                                                                                                                                                                                                    Add to cart
                                                                                                                                                                                                                       Only 13 left



                                                                                                                                                                                  Ships from Temu

                                                                                                                                                                                     Standard: FREE                                                Express: $12.90 or FREE (orde
                                                                                                                                                                                     Delivery: 4-9 business days, 80.4% within 8                   Delivery: 3-7 business days, 7
                                                                                                                                                                                     business days                                                 business days
                                                                                                                                                                                     Courier company:           DHL eCommerce ...                  Courier company:        FedEx

                                 1 reviews            5.0                                                        All reviews are from verified purchases
                                                                                                                                                                                  Temu's Commitments
                                 Item reviews (1)           Provider reviews (133)
                                                                                                                                                                                     Security & Privacy           Delivery guarantee
                                                                                                                                                                                       Safe payments                 $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                       Secure privacy                15-day no update refund        30-day no delivery refund               99+
                                          (1)
         BONUS                                                                                                                                                                                                                                                                           Messages
        COUPONS                          qg***ne in          on Jul 29, 2024                                                                                                      Free returns Price adjustment

                                                                                                                                                                                  Temu's Tree Planting Program (14M+ trees)                                                              Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                                   1/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 558 of 685 PageID #:611




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu

                                beautiful
                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                       Get the Temu App

                                 Reviews from similar items on Temu
                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                    Support   EN
                                                                                                                                                                                                                                  Orders & Account
                                         ha***er in         on Oct 23, 2023



                                 Special butterfly with pretty blue stones on the wings. The stones add to the beauty of the
                                 butterfly. Very nice.
                                  This review is for: 1pc Asymmetric Butterfly Pendant, Car Rear View Mirror Gradient Blue Stone …


                                         Marthela Perrett in             on Apr 11, 2024



                                 great bargain.,gifts, pleased with product, loved them thank you, beautiful piece, Just like
                                 pictures, Thanks, great bargain.,gifts, recommend purchasing
                                  This review is for: 2D Flat Acrylic Pink Butterfly Adds A Sense Of Agility To Your Car



                                                                                       See all reviews




                                                         GUGONG
                                                         37 Followers         1.6K+ Bought           4.5

                                                                    Contact provider                           Follow                   All items (38)




                                 Details                                                                                        Save     Report this item

                                 Material: Other material

                                 Style: Garden

                                 Power Supply: Use Without Electricity

                                 See more

                                      Learn about dimensions                                                                                                                                                                                                                 99+

         BONUS                                                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                                                          Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                    2/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 559 of 685 PageID #:612




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                    Support   EN
                                                                                                                                                                                                                                  Orders & Account




                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                                                          Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                    3/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 560 of 685 PageID #:613




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                    Support   EN
                                                                                                                                                                                                                                  Orders & Account




                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                            Messages
        COUPONS
                                 Explore your interests
                                                                                                                                                                                                                                                                          Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                    4/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 561 of 685 PageID #:614




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                                 Get the Temu App


                                                                                                                                                                                                                                    Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                              Support       EN
                                                                                                                                                                                                                                    Orders & Account




                                               Local HCNT Auto-Levita…              A Smart Lamp With A Wireless Spea…                              3D Engraved Bird Crystal …                         80 PCS PET Ice Crystal La…                   1pc 3D Bird Crystal Carve…
                                 $53.06 $137.99 8 bought                              $11.97 $62.14                                   Nearly over $5.77 5 bought                          $3.56 $39.30 4 bought                       $7.48 $39.00 454 bought

                                  Extra $2.11 off coupon                            Best Seller in Audio & Radio: 5.2                 Almost sold out                                     Almost sold out                             Only 7 left              0 1 13 0

                                 Only 1 Left                                                          682                                                                                                                                               73
                                                                                        Direct from Kouzone




                                 1pc Creative Simulation Plane Keyc…                 Local Suspended Light Bulb Lamp, …               Wireless Speaker with Rhythm RGB …                  20pcs Sparkling Red Butterfly Sticke…                     1pc Cool Men Model Pen…
                                 $1.99 $17.83 2.1K+ bought                          $55.93                                               $10.66 $74.94 113 bought                         Last day $4.76 25 bought                    $2.98 $17.83 18 bought
                                 Almost sold out                                    Almost sold out                                   Almost sold out                                     Almost sold out                             Only 3 left              0 1 13 0
                                                   220




                                                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                                                    Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                              5/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 562 of 685 PageID #:615




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                              Get the Temu App


                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                          Support          EN
                                                                                                                                                                                                                                  Orders & Account




                                               1pc, 3D Engraved Crystal …                         Portable Multifunctional …           Local Mini Innovative High Quality …               40pcs/pack Vintage Butterfly Sticker…                 Elegant Silvery-Plated Air…
                                 $6.38 $56.55 39 bought                               $16.96 $112.81                                  $45.49 $438.09 In 2 carts                           Nearly over $2.24                         Last day $8.99 $21.36
                                 Only 4 left                 0 1 13 0               Almost sold out                                   Almost sold out                                     Only 6 left                01 1 13 0      Almost sold out
                                                                                                      155
                                                                                        Direct from Kouzone




                                 5pcs Blue Broken Wing Butterfly Or…                              1pc Artificial Crystal Ball …                     120pcs Sparkling Golden …              Local Six American Vintage Industr…                  PUBG Peripheral Collecti…
                                    $4.39 5 bought                                  $6.98 $28.84 1.9K+ bought                         Nearly over $12.97 $16.99                           $93.48 3 bought                           60d lowest $2.98
                                 Almost sold out                                    Only 4 left                0 1 13 0               Only 9 left                 01 1 13 0               Almost sold out                           Almost sold out
                                                                                                      326                                                                                                                                            114




                                                                                                                                                                                                                                                                                    99+

         BONUS                                                                                                                                                                                                                                                                   Messages
        COUPONS

                                                                                                                                                                                                                                                                                 Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                           6/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 563 of 685 PageID #:616




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                                                     Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                            Support          EN
                                                                                                                                                                                                                                     Orders & Account




                                 Steampunk Mechanical Dragonfly 3…                               1pc, Wrench Skull, Skelet…           Kouzone Portable Wireless Speaker …                               1pc/20pcs pink crystal bu…      Local Hot Desk Reading Lamp Livin…

                                    $25.19 $27.99 30 bought                         $9.18 $19.25 995 bought                           Last day $10.66                                     $4.28 $12.90 In 2 carts                      $47.49 In 2 carts
                                 Almost sold out                                    Almost sold out                                                 1 13 0                                Only 3 left                0 1 13 0          Almost sold out
                                                                                                      102                                                125
                                                                                                                                          Direct from Kouzone




                                               1pc 3D Laser Engraved F…                          Multifunctional Portable …                         Crystal Pink Butterfly Stic…           Local Mini Innovative High Quality …                    1pc 3D Laser Engraved B…
                                 $5.58 $40.59 144 bought                              $12.97 $67.01                                   $3.14 $13.99 5 bought                               Nearly over $55.24 $79.20                    $5.98 $13.59 39 bought
                                 Only 7 left                 0 1 13 0                                 1,180                           Only 1 Left                                         Almost sold out                              Almost sold out




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                             7/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 564 of 685 PageID #:617




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                                                     Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                             Support         EN
                                                                                                                                                                                                                                     Orders & Account




                                 4pcs Mini Alloy Knife Gun Keychain …               50pcs Colorful Butterfly Stickers Pac…                          G63 Smart Light Wireless…              Local Steampunk Table Lamp Tube…                        Valoran-Inspired Miniatur…
                                 $8.06 413 bought                                     $1.79 34 bought                                    $11.87 $62.14                                    $30.88 1 bought                              Last day $3.59 $3.99
                                 Almost sold out                                    Only 1 Left                                       Almost sold out                                                  0 1 13 0                        Almost sold out
                                                                                                                                                         300                                                                                            60
                                                                                                                                          Direct from Kouzone




                                 80-Piece Holographic 3D Butterfly S…                            Solid D100 Metal Dice, Si…            Local Unique Ambient Light ABS D…                               Adult Toys High Difficulty…                 Car Keychain High-end C…
                                 Nearly over $5.59 In 1 carts                       $18.98 $78.26 348 bought                          $44.13 In 6 carts                                   $12.48 $17.99 458 bought                        $8.82 $39.99
                                 Almost sold out                                    Almost sold out                                   Only 5 left                 0 1 13 0                Almost sold out                              Almost sold out
                                                                                                                                                                                                               55                                       112




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                             8/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 565 of 685 PageID #:618




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                                                    Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                            Support       EN
                                                                                                                                                                                                                                    Orders & Account




                                               100pcs Vibrant Butterfly …           1pc, 3D Laser Engraved Crystal Ball …             VIKEFON Multifunctional Wireless C…                              Stainless Steel Mini Bow …                   Local Indoor Garden Ma…
                                 Last day $1.16 $12.01                              $6.39 $50.59 23 bought                            Last day $9.38 $84.00                               Nearly over $20.13                          $47.19 $209.50 2 bought
                                 Almost sold out                                    Only 6 left                                       Only 1 Left                                         Almost sold out                             Almost sold out




                                               Local 1pc Magnetic Met…               Local 11.4'' Sand Art, Sand Art Liqu…                          Vintage Butterfly Sticker …           Wireless Speaker Rhythm RGB Light…           Local Hummingbird Craft Statue D…
                                 Last day $59.84 77 bought                          $28.95 $150.94 182 bought                         $2.74 $3.02 1 bought                                $11.88 $62.14          15K+ bought          Last day $5.93 $53.19
                                 Only 9 left                 1 13 0                 Only 8 left                0 1 13 0               Only 2 left                 0 1 13 0                                     2,103                  Only 9 left            1 13 0

                                                                                                                                                                                              Direct from Kouzone




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                             9/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 566 of 685 PageID #:619




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu

                                               Local Magic Piano Mech…                            Realistic Flare Gun Alloy …          Local Floating Arrow Piercing Light…                             Acrylic Butterfly Charm - …                   1pc, Metal Craft Motorcy…
                              Free shipping                                                                                                          Free returns
                                                                                                                                                                                                                                                                    Get the Temu App
                                  $33
                              Special for you
                                        .97 $56.02 116 bought                       Nearly over $3.48 $17.99                          $48.89 11 viewed
                                                                                                                                                Up to 90 days*                            Last day $1.61 $1.78                            Nearly over $13.98
                                 Almost sold out                                    Only 6 left                01 1 13 0              Almost sold out                                     Only 2 left                1 13 0               Almost sold out
                                                                                                                                                                                                                                        Hello, Mike Kate   69
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                               Support           EN
                                                                                                                                                                                                                                        Orders & Account




                                 Realistic Mini Cannon Replica with S…                            Local HCNT Levitating S…                          180pcs Retro Butterfly Sti…                         12 Pcs Glass Globe Magn…                      Creative Keychain With …
                                    $11.97 $59.99 2 bought                          Nearly over $44.19                                $12.63 $16.99                                       Nearly over $5.87                               $1.48 $11.32 244 bought
                                 Only 5 left                                         Extra $5.62 off coupon                           Almost sold out                                     Only 9 left                                     Almost sold out
                                                                                    Almost sold out Lowest ever                                          121



                                                                                                                                                     View more




                     Company info                                                      Customer service                                                Help                                                Download the Temu App                                Connect with Temu

                     About Temu                                                        Return and refund policy                                        Support center & FAQ                                    Track orders any time
                     Temu - Team Up, Price Down!
                                                                                       Intellectual property policy                                    Safety center                                           Low stock items alerts
                     Affiliate & Influencer: Earn Commission
                                                                                       Shipping info                                                   Temu purchase protection                                Coupons & offers alerts
                     Contact us
                                                                                       Your Recalls and Product Safety Alerts                          Sitemap
                                                                                                                                                                                                                     Download on the
                     Careers
                                                                                       Report suspicious activity                                      How to order                                                  App Store
                     Press
                                                                                                                                                       How to track
                                                                                                                                                                                                                     Get it on
                     Temu's Tree Planting Program
                                                                                                                                                       Partner with Temu                                             Google Play                                                          99+

         BONUS                                                                                                                                                                                                                                                                         Messages
        COUPONS
                     Security certification                                                                                                            We accept
                                                                                                                                                                                                                                                                                       Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-rearview-mirror-hanging-charm-2d-flat-garden-style-pendant-no-feather-keychain-accessory-non-electric-dashboard-decoration-for-luggage-bag-and-phone-case-1pc-g-601099577902467.html                                                              10/11
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 567 of 685 PageID #:620




9/12/24, 2:46 PM                                                                                                                          Acrylic Butterfly Car Rearview Mirror Hanging Charm 2d Flat - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse          Categories             butterfly stickers                                                                    Support   EN
                                                                                                                                                                                                                                  Orders & Account
                                                                                                        © 2024 WhaleCo Inc.         Terms of use      Privacy policy    Your privacy choices            Ad Choices




                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                                                          Feedback



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                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 568 of 685 PageID #:621




9/12/24, 2:47 PM                                                                                                                                       Temu


                           Free shipping                                                                                          Delivery guarantee
                           Special for you                                                                                        Refund for any issues
                                                                                                                                                                                                                                                 Get the Temu App


                                   All data is encrypted


                   Home       Checkout

                                                                                                                                                                                                    Order summary
                              Free shipping special for you

                                                                                                                                                                                                       Enter coupon code                                       Apply
                   Shipping address                                                                                                                               Change address

                                                                                                                                                                                                    Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                              Item(s) total:                                               $149.37

                       CHICAGO, IL 60602-3902, United States                                                                                                                                        Item(s) discount:                                           -$124.54

                                                                                                                                                                                                    Subtotal:                                                     $24.83


                   Ships from Temu (13) 1 item is almost gone!                                                                                                                                      Shipping:                                                       FREE
                                                                                                                                                                                                       Free shipping for items shipped from Temu is an exclusive
                                                    Acrylic Butterfly Car Rearview Mirror Hanging Charm - 2D Flat Garden Style Pendant, No-Feather Keychain Accesso…                                offer. Please submit your order as soon as possible.
                                                    1pc
                                                                                                                                                                     Qty:    13                     Sales tax:                                                      $2.55

                                                    Lightning deal | -83% final hours
                                                                                                                                                                                                    Order total:                                                 $27.38


                          Almost sold out                                                                                                                                                           Plant with Temu
                                                      $1.91 $11.49
                                                                                                                                                                                                          We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-9 business days
                                                                                                                                                                                                                               Submit order
                                                                                                                                                                                                                                 1 almost sold out
                   Payment methods
                                                                                                                                                                                                         Temu's Tree Planting Program
                                    Visa ...1950                                                                                                                             Edit
                                                                                                                                                                                                    Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                    Future to plant trees across sub-Saharan Africa
                                    Add a new card


                                    PayPal           Remember my PayPal                                                                                                                                  Temu protects your card information
                                                                                                                                                                                                         Temu follows the Payment Card Industry Data Security
                                    Cash App Pay                                                                                                                                                         Standard (PCI DSS) when handling card data
                                                                                                                                                                                                         Card information is secure and uncompromised
                                                                                                                                                                                                         All data is encrypted
                                    Afterpay       4 interest-free payments of $6.84
                                                                                                                                                                                                         Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"e6fba1c7-002e-4058-82d4-302c63593456"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"1500"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 569 of 685 PageID #:622




9/12/24, 2:47 PM                                                                                                                                       Temu

                                    Klarna      4 interest-free payments of $6.84


                                    Venmo

                                                                                                                                                                                                         Secure privacy
                                    Google Pay                                                                                                                                                      Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                    that your information will be kept secured and
                                    Affirm                                                                                                                                                          uncompromised. We do not sell your personal information
                                    $35 product minimum applies                                                                                                                                     for money and will only use your information in accordance
                                                                                                                                                                                                    with our privacy and cookie policy to provide and improve
                                    PayPal Pay Later                                                                                                                                                our services to you.
                                    $30 product minimum applies                                                                                                                                     Learn more

                                                                                                                                                                                                         Delivery guarantee
                                                                                                                                                                                                         $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                                         15-day no update refund          30-day no delivery refund
                                                                                                                                                                                                    Learn more

                                                                                                                                                                                                         Temu purchase protection
                                                                                                                                                                                                    Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                    wrong, we've always got your back.
                                                                                                                                                                                                    Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"e6fba1c7-002e-4058-82d4-302c63593456"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"1500"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   2/2
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 570 of 685 PageID #:623
            Free shipping                                                                               Delivery guarantee
            Special for you                                                                             Refund for any issues
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                                                                                                                                                                                           Orders &
                 Best Sellers   5-Star Rated    Local Warehouse Categories         601099548691445                                                                                                            EN     Cart
                                                                                                                                                                                           Account



                                          Temu选品助手 (temushuju.com) Temu半托管绿色招商通道，点…                                   下载主图视频            相似同款            一键上架              AI数据分析         图搜同款


                                     品类: 汽车挂饰                    店铺名称:       Fantastic
                                                                                            总销量
                                     销量: 64 件                    Pendant
                                                                                            日销量
                                     销售额: $ 92.16                店铺类型: 全托管

                                     商品评分/评论数: 4.2 / 6           商店总销量: 7,100 件             销售额

                                     库存: 1                       商店商品数: 7                   价格

                                     供货价: 点击查询                   商店评分/评论数: 4.6 /

                                     上架时间: 6月前                   1,114
                                                                 商店粉丝数: 57

                                                                 开店时间: 9月前




                                 Home      Automotive      Interior Accessories   Brighten Up Your Car With ...

                                                                                                                           Brighten Up Your Car With A Pink Butterfly
                                                                                                                           Ornament, 2D Flat Acrylic Decorative Pendant,
                                                                                                                           Home Decoration Pendant Christmas Decoration,
                                                                                                                           Home Decor, Perfect For Hanging
                                                                                                                           64 sold Provided by          (7.1K+ sold)           4.2


                                                                                                                           $1.44 Pay $0.36 today -87% $11.49
                                                                                                                                                       4 interest-free biweekly installments



                                                                                                                                  Free shipping special for you                  Exclusive offer


                                                                                                                           Quantity: 1pc

                                                                                                                           Qty      1                 Only 1 left


                                                                                                                                                        Add to cart
                                                                                                                                                            Only 1 left



                                                                                                                                 Free shipping on orders shipped from Temu
                                 6 reviews           4.2                                                                         Delivery: Fastest delivery in 4 business days

                                      All reviews are from verified purchases                                                    Temu's Commitments

                                 Item reviews (6)          Provider reviews (1,114)                                               Security & Privacy        Delivery guarantee
                                                                                                                                     Safe payments             $5.00 Credit for delay          Return
                                                                                                                                     Secure privacy            15-day no update refund         30-day
                                   2 reviews from

                                 ma***11 in       on Jun 20, 2024
                                                                                                                                 Free returns Price adjustment

                                                                                                                                 Temu's Tree Planting Program (14M+ trees)

                                 acrylic, nice colors, acrylic, nice colors, acrylic, nice colors, acrylic, nice
                                 colors, acrylic, nice colors, acrylic, nice colors, acrylic, nice colors, acrylic,
                                 nice colors


                                 Katherine De Guia in         on Apr 13, 2024



                                     absolutely beautiful, acrylic, nice colors very affordable


                                 91***08 in      on May 10, 2024




                                                                  See all reviews




                                                     Fantastic Pendant
                                                     57             7.1K+         4.6
                                                     Followers      Sold          Rating



                                                  Follow                              Shop all items (7)


                                     High repeat customers provider




                                 Details                                               Save    Report this item

                                 Material: Acrylic

                                 Item ID: FE72438 Copy

                                 Store Information




                                                                                                                                                                                                                            26




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COUPONS
            Free shipping special for you                        Price adjustment within 30 days
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 571 of 685 PageID #:624
            Free shipping                                                                         Delivery guarantee
            Special for you                                                                       Refund for any issues
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                                                                                                                                                                               Orders &
                 Best Sellers   5-Star Rated   Local Warehouse Categories                                                                                                                       EN     Cart
                                                                                                                                                                               Account




                                 Explore your interests




                                      -46% Local 320 PCS Colorful…            -85% Valentine's Day Gift 2D …       -18% Local 160 Sheets/8 Pa…         -90% Vibrant Butterfly Acryli…

                                   $8.49 $15.99 1 sold                      $1.69 $11.49 8 sold                $15.48 $18.99 44 sold               $0.79 $7.99 333 sold
                                 Almost sold out                       Only 5 left                             Almost sold out                     Only 1 Left


                                        Temu选品助手           图搜同款                 Temu选品助手              图搜同款        High repeat customers provider      High repeat customers provider


                                      商品                                      商品
                                                                                                                     Temu选品助手          图搜同款              Temu选品助手              图搜同款
                                    总销量: 1 件                                总销量: 8 件
                                    总销售额: $ 8.49                            总销售额: $ 13.52                          商品                                  商品
                                    供货价: 点击查询                               供货价: 点击查询                            总销量: 44 件                           总销量: 333 件

                                                                                                                 总销售额: $ 681.12                      总销售额: $ 263.07
                                      店铺                                      店铺
                                                                                                                 供货价: 点击查询                           供货价: 点击查询
                                    店铺类型: 半托管（海外仓）                          店铺类型: 全托管

                                               查看详情                                    查看详情                        店铺                                  店铺

                                                                                                                 店铺类型: 半托管（海外仓）                      店铺类型: 全托管
                                                                                                                 评分/评论数: 5 / 1                       评分/评论数: 5 / 22

                                                                                                                           查看详情                                  查看详情




                                      -21% 55-Piece Alice in Wond…            -70% 40 Pieces Three-Dimen…          -26% Local 6pack 36sheets …         -45% 4-in-1 Diamond Butterf…

                                   $3.59 $4.59 677 sold                $4.98 $16.79 769 sold                   $6.98 $9.48 92 sold                 $1.90 $3.49 274 sold
                                 New Arrival in Papers, Labels &…      Almost sold out                         Almost sold out                     Almost sold out


                                    High repeat customers provider           Established 1 year ago                                                   Established 1 year ago

                                                                                                                     Temu选品助手          图搜同款

                                        Temu选品助手           图搜同款                 Temu选品助手              图搜同款                                               Temu选品助手              图搜同款
                                                                                                                   商品

                                      商品                                      商品                                 总销量: 92 件                             商品

                                    总销量: 677 件                              总销量: 769 件                           总销售额: $ 642.16                      总销量: 274 件
                                    总销售额: $ 2,430.43                        总销售额: $ 3,829.62                     供货价: 点击查询                           总销售额: $ 520.6

                                    供货价: 点击查询                               供货价: 点击查询                                                                供货价: 点击查询
                                                                                                                   店铺

                                      店铺                                      店铺                                 店铺类型: 半托管（海外仓）                        店铺
                                    店铺类型: 全托管                               店铺类型: 全托管                            评分/评论数: 5 / 9                       店铺类型: 全托管
                                                                                                                                                                                                              26
                                    评分/评论数: 4.9 / 22                        评分/评论数: 4.9 / 42                               查看详情                      评分/评论数: 4.5 / 13

                                               查看详情                                    查看详情                                                                      查看详情

 BONUS
COUPONS
            Free shipping special for you                   Price adjustment within 30 days
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 572 of 685 PageID #:625
            Free shipping                                                                           Delivery guarantee
            Special for you                                                                         Refund for any issues
                                                                                                                                                                                             Get the Temu App


                                                                                                                                                                                  Orders &
                 Best Sellers   5-Star Rated    Local Warehouse Categories                                                                                                                         EN     Cart
                                                                                                                                                                                  Account




                                      -86% 500-Piece Roll of Vibra…            -74% Local [Fast Arrival] 3 Pi…   Local 80 Sheets 4 Pack Plants Fl…        -92% Vibrant Butterfly-Shap…

                                   $1.37 $9.99 1.7K+ sold               $7.66 $29.99 3 sold                      $16.49 20 sold                         $0.56 $7.99 3 sold
                                                70                      Only 3 left                              Almost sold out                      Only 3 left
                                                                                                                                                         Established 1 year ago

                                        Temu选品助手             图搜同款               Temu选品助手              图搜同款
                                                                                                                       Temu选品助手          图搜同款               Temu选品助手              图搜同款
                                      商品                                       商品

                                    总销量: 1,700 件                             总销量: 3 件                                商品                                    商品

                                    总销售额: $ 2,329                            总销售额: $ 22.98                         总销量: 20 件                            总销量: 3 件

                                    供货价: 点击查询                                供货价: 点击查询                             总销售额: $ 329.8                        总销售额: $ 1.68
                                                                                                                   供货价: 点击查询                            供货价: 点击查询
                                      店铺                                       店铺

                                    店铺类型: 全托管                                店铺类型: 半托管（海外仓）                          店铺                                    店铺

                                    评分/评论数: 4.9 / 70                                    查看详情                       店铺类型: 半托管（海外仓）                       店铺类型: 全托管
                                                                                                                   评分/评论数: 5 / 4                                     查看详情
                                               查看详情
                                                                                                                             查看详情




                                  Local Cute Deer Car Hanging Or…              -86% Y2K Fashion Butterfly …          -20% 10pcs Butterfly Confess…        -84% 20-Pack 3D Crystal But…
                                 Lowest ever $5.19 5 sold               $3.86 $29.68 82 sold                     $1.98 $2.49 73 sold                  Only once $1.47 $9.58
                                 Only 6 left                            Only 1 Left                              Almost sold out                      Almost sold out
                                    Fast delivery provider                                                          High repeat customers provider

                                                                                                                                                            Temu选品助手              图搜同款

                                        Temu选品助手             图搜同款               Temu选品助手              图搜同款             Temu选品助手          图搜同款
                                                                                                                                                           商品

                                      商品                                       商品                                    商品                                 总销量: 7 件

                                    总销量: 5 件                                 总销量: 82 件                             总销量: 73 件                            总销售额: $ 10.29

                                    总销售额: $ 25.95                            总销售额: $ 316.52                        总销售额: $ 144.54                       供货价: 点击查询

                                    供货价: 点击查询                                供货价: 点击查询                             供货价: 点击查询
                                                                                                                                                           店铺

                                      店铺                                       店铺                                    店铺                                 店铺类型: 全托管

                                    店铺类型: 半托管（海外仓）                           店铺类型: 全托管                             店铺类型: 全托管                                         查看详情

                                               查看详情                          评分/评论数: 4.8 / 8                                 查看详情
                                                                                        查看详情




                                  Local A6 Sticker Book Fantasy G…       Local 100pcs Butterfly Garden D…            -48% Sparkling Pink Pair of C…   Local 36 pieces/ set of artistic P…
                                 $4.86 In 1 carts                       $13.98 66 sold                            $0.93 $1.80 10 sold                 $5.99 6 sold
                                 Almost sold out                        Only 4 left                              Almost sold out                      Extra $0.60 off coupon
                                                                                                                    High repeat customers provider    Only 3 left
                                        Temu选品助手             图搜同款

                                                                                Temu选品助手              图搜同款             Temu选品助手          图搜同款
                                      商品
                                                                                                                                                            Temu选品助手              图搜同款
                                    总销量: 0 件                                   商品                                    商品
                                    总销售额: $ 0                                总销量: 66 件                             总销量: 10 件                               商品
                                    供货价: 点击查询                                总销售额: $ 922.68                        总销售额: $ 9.3                          总销量: 6 件
                                                                             供货价: 点击查询                             供货价: 点击查询                            总销售额: $ 35.94
                                      店铺
                                                                                                                                                        供货价: 点击查询
                                    店铺类型: 半托管（海外仓）                             店铺                                    店铺

                                               查看详情                          店铺类型: 半托管（海外仓）                        店铺类型: 全托管                               店铺
                                                                             评分/评论数: 5 / 3                                   查看详情                       店铺类型: 半托管（海外仓）

                                                                                        查看详情                                                            评分/评论数: 5 / 1

                                                                                                                                                                     查看详情




                                 Vintage Gothic Fantasy Floral & …             -15% Vibrant Multicolor Rhin…     Blue & White Porcelain Dragonfl…     8 Rolls of Vibrant PET Waterproo…
                                 30d lowest $2.54 60 sold               Last day $1.68 $1.99                     30d lowest $3.81 1.2K+ sold          $11.28 $21.99 217 sold
                                 Only 1 Left                            Almost sold out                                        61                     Almost sold out
                                                                                         1,115
                                    Established 1 year ago                   Established 1 year ago                                                      High repeat customers provider
                                                                                                                       Temu选品助手          图搜同款


                                                                                                                     商品
                                        Temu选品助手             图搜同款               Temu选品助手              图搜同款                                                  Temu选品助手              图搜同款
                                                                                                                   总销量: 1,200 件
                                      商品                                       商品                                  总销售额: $ 4,572                           商品

                                    总销量: 60 件                                总销量: 8,200 件                          供货价: 点击查询                            总销量: 217 件

                                    总销售额: $ 152.4                            总销售额: $ 13,776                                                             总销售额: $ 2,447.76
                                                                                                                     店铺
                                    供货价: 点击查询                                供货价: 点击查询                                                                  供货价: 点击查询
                                                                                                                   店铺类型: 全托管
                                      店铺                                       店铺                                  评分/评论数: 4.9 / 61                        店铺                                                    26
                                    店铺类型: 全托管                                店铺类型: 全托管                                       查看详情                       店铺类型: 全托管

                                    评分/评论数: 5 / 8                            评分/评论数: 4.8 / 1,115                                                        评分/评论数: 5 / 15
 BONUS                                         查看详情                                     查看详情                                                                         查看详情
COUPONS
            Free shipping special for you                    Price adjustment within 30 days
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            Free shipping                                                                           Delivery guarantee
            Special for you                                                                         Refund for any issues
                                                                                                                                                                                           Get the Temu App


                                                                                                                                                                                Orders &
                 Best Sellers   5-Star Rated    Local Warehouse Categories                                                                                                                       EN     Cart
                                                                                                                                                                                Account




                                  Local 10 Packs Multicolor Glitter…           -52% 1pc Sparkling Rhinesto…     Inspirational Acrylic Butterfly Pra…       -32% Vintage Dreams Collect…

                                 Last day $19.34 96 sold                30d lowest $0.57 24K+ sold                $2.19 320 sold                         $5.39 $7.99 224 sold
                                 Almost sold out                        Most Repurchased in Women's …           Almost sold out                        Only 1 Left
                                                                          j   b    h
                                                                                    2,091
                                    Direct from ruonaorou                                                          High repeat customers provider         High repeat customers provider

                                                                                 Temu选品助手              图搜同款

                                        Temu选品助手            图搜同款                                                      Temu选品助手              图搜同款             Temu选品助手           图搜同款
                                                                               商品

                                      商品                                     总销量: 24,000 件                           商品                                     商品
                                    总销量: 96 件                                总销售额: $ 13,680                       总销量: 320 件                             总销量: 224 件

                                    总销售额: $ 1,856.64                         供货价: 点击查询                            总销售额: $ 700.8                          总销售额: $ 1,207.36

                                    供货价: 点击查询                                                                     供货价: 点击查询                              供货价: 点击查询
                                                                               店铺

                                      店铺                                     店铺类型: 全托管                               店铺                                     店铺
                                    店铺类型: 半托管（海外仓）                           评分/评论数: 4.9 / 2,091                  店铺类型: 全托管                              店铺类型: 全托管

                                    评分/评论数: 4.9 / 14                                   查看详情                       评分/评论数: 4.7 / 19                       评分/评论数: 4.9 / 18

                                               查看详情                                                                           查看详情                                   查看详情




                                 54-Piece Fantasy Wonderland Wr…               -83% 1 Pair of Dripping Oil E…   Local 36 $heets 12'x12" Fall Pum…      Local 6 Packs of 30 Sheets Large…
                                 $3.17 209 sold                         $1.55 $9.68 8.3K+ sold                  Last day $8.76 12 sold                 $11.98 30 sold
                                 Almost sold out                        Almost sold out                         Almost sold out                        Almost sold out
                                                                                         964
                                    Low item return rate provider             Established 1 year ago                  Temu选品助手              图搜同款
                                                                                                                                                          High repeat customers provider


                                                                                                                     商品
                                        Temu选品助手            图搜同款                 Temu选品助手              图搜同款                                                  Temu选品助手           图搜同款
                                                                                                                  总销量: 12 件

                                      商品                                       商品                                 总销售额: $ 105.12                            商品
                                    总销量: 209 件                               总销量: 8,300 件                         供货价: 点击查询                              总销量: 30 件

                                    总销售额: $ 662.53                           总销售额: $ 12,865                                                              总销售额: $ 359.4
                                                                                                                     店铺
                                    供货价: 点击查询                                供货价: 点击查询                                                                   供货价: 点击查询
                                                                                                                  店铺类型: 半托管（海外仓）

                                      店铺                                       店铺                                             查看详情                          店铺
                                    店铺类型: 全托管                                店铺类型: 全托管                                                                   店铺类型: 半托管（海外仓）
                                    评分/评论数: 5 / 5                            评分/评论数: 4.9 / 964                                                           评分/评论数: 5 / 1

                                               查看详情                                    查看详情                                                                          查看详情




                                 1pc Simple Style Brown Butterfly …            -26% 6pcs Vibrant Floral Sy…     1pc, Vibrant Purple Butterfly Sun…         -82% 12pcs 3D Skull Butterfl…

                                   $0.84 7 sold                              $4.49 $6.10 1K+ sold                 $3.17 $14.99 1.8K+ sold              60d lowest $1.86 4K+ sold
                                 Only 8 left                                             124                    Almost sold out                        Almost sold out
                                                                              High repeat customers provider                  289                                    383

                                        Temu选品助手            图搜同款
                                                                                                                   Established 1 year ago

                                                                                                                                                             Temu选品助手           图搜同款
                                                                                 Temu选品助手              图搜同款
                                      商品
                                                                                                                      Temu选品助手              图搜同款
                                    总销量: 7 件                                                                                                                商品
                                                                               商品
                                    总销售额: $ 5.88                                                                     商品                                  总销量: 4,000 件
                                                                             总销量: 1,000 件
                                    供货价: 点击查询                                总销售额: $ 4,490                        总销量: 1,800 件                           总销售额: $ 7,440

                                                                             供货价: 点击查询                            总销售额: $ 5,706                          供货价: 点击查询
                                      店铺
                                                                                                                  供货价: 点击查询
                                    店铺类型: 全托管                                                                                                               店铺
                                                                               店铺
                                               查看详情                          店铺类型: 全托管                               店铺                                  店铺类型: 全托管

                                                                             评分/评论数: 4.9 / 124                    店铺类型: 全托管                              评分/评论数: 4.8 / 383

                                                                                                                  评分/评论数: 4.9 / 289                                  查看详情
                                                                                       查看详情
                                                                                                                              查看详情




                                      -16% 6-Inch Glittering Jewel …    Butterfly Earrings Set of 3 Pairs - …   Local Buy 1 Get 1 Free, total of 2…         -5% 24pcs Vibrant Stained …

                                 $1.25 $1.49 202 sold                        $1.34 89 sold                        $7.19 30 sold                          $4.26 $4.49 70 sold
                                 Only 1 Left                            Only 7 left                             Only 5 left                            Only 2 left


                                    High repeat customers provider                                                                                        High repeat customers provider

                                                                                 Temu选品助手              图搜同款           Temu选品助手              图搜同款

                                        Temu选品助手            图搜同款                                                                                             Temu选品助手           图搜同款
                                                                               商品                                    商品

                                      商品                                     总销量: 89 件                            总销量: 30 件                                 商品

                                    总销量: 202 件                               总销售额: $ 119.26                       总销售额: $ 215.7                          总销量: 70 件
                                    总销售额: $ 252.5                            供货价: 点击查询                            供货价: 点击查询                              总销售额: $ 298.2
                                                                                                                                                                                                               26
                                    供货价: 点击查询                                                                                                            供货价: 点击查询
                                                                               店铺                                    店铺

                                      店铺                                     店铺类型: 全托管                            店铺类型: 半托管（海外仓）                            店铺
 BONUS                                                                       评分/评论数: 5 / 7                        评分/评论数: 5 / 1
                                    店铺类型: 全托管                                                                                                            店铺类型: 全托管
COUPONS
            Free shipping special for you5 / 2
                               评分/评论数:                       Price adjustment within
                                                                               查看详情30 days                                    查看详情                       评分/评论数: 5 / 2
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 574 of 685 PageID #:627
                                               查看详情                                                                                                                  查看详情
            Free shipping                                                                             Delivery guarantee
            Special for you                                                                           Refund for any issues
                                                                                                                                                                                             Get the Temu App


                                                                                                                                                                                 Orders &
                 Best Sellers   5-Star Rated   Local Warehouse Categories                                                                                                                          EN     Cart
                                                                                                                                                                                 Account




                                 Elegant Fashion Butterfly Adjusta…           -63% 10pcs/pack Spiritual W…        Local 8 Kinds Of Butterfly Sticker…       -40% Local 6 Rolls/Set Beaut…

                                   $3.14 496 sold                      $1.98 $5.37 17K+ sold                      $5.67 In 3 carts                      $11.98 $19.99 191 sold
                                 Almost sold out                       Only 1 Left                                Almost sold out                       Almost sold out
                                                                                       1,731
                                    Established 1 year ago                   Established 1 year ago                     Temu选品助手              图搜同款         High repeat customers provider


                                                                                                                       商品
                                        Temu选品助手             图搜同款               Temu选品助手              图搜同款                                                    Temu选品助手           图搜同款
                                                                                                                    总销量: 0 件

                                      商品                                      商品                                    总销售额: $ 0                               商品
                                    总销量: 496 件                              总销量: 17,000 件                           供货价: 点击查询                             总销量: 191 件

                                    总销售额: $ 1,557.44                        总销售额: $ 33,660                                                                总销售额: $ 2,288.18
                                                                                                                       店铺
                                    供货价: 点击查询                               供货价: 点击查询                                                                     供货价: 点击查询
                                                                                                                    店铺类型: 半托管（海外仓）

                                      店铺                                      店铺                                               查看详情                         店铺
                                    店铺类型: 全托管                               店铺类型: 全托管                                                                     店铺类型: 半托管（海外仓）

                                    评分/评论数: 4.8 / 46                        评分/评论数: 4.9 / 1,731                                                           评分/评论数: 5 / 10

                                               查看详情                                    查看详情                                                                          查看详情




                                      -86% Charming Blue Butterfl…            -39% 162pcs Butterfly Scrap…            -77% 12pcs Vintage-Inspired…      20pcs Vintage Christmas Sticker …
                                 30d lowest $1.22 $8.99                Last day $7.19 $11.89 6 sold                 $3.32 $14.59 2.7K+ sold             Lowest ever $1.80 152 sold
                                 Almost sold out                       Only 7 left                                Almost sold out                       Almost sold out
                                                                             High repeat customers provider                      367
                                                                                                                                                           High repeat customers provider

                                        Temu选品助手             图搜同款               Temu选品助手              图搜同款              Temu选品助手              图搜同款

                                                                                                                                                              Temu选品助手           图搜同款
                                      商品                                      商品                                       商品

                                    总销量: 120 件                              总销量: 6 件                                总销量: 2,700 件                            商品
                                    总销售额: $ 146.4                           总销售额: $ 43.14                           总销售额: $ 8,964                         总销量: 152 件
                                    供货价: 点击查询                               供货价: 点击查询                               供货价: 点击查询                             总销售额: $ 273.6
                                                                                                                                                          供货价: 点击查询
                                      店铺                                      店铺                                       店铺
                                    店铺类型: 全托管                               店铺类型: 全托管                               店铺类型: 全托管                               店铺
                                    评分/评论数: 5 / 4                                      查看详情                         评分/评论数: 4.8 / 367                     店铺类型: 全托管
                                               查看详情                                                                            查看详情                       评分/评论数: 5 / 11

                                                                                                                                                                     查看详情




                                      -83% Chic Acrylic Butterfly E…   Luxurious Swan-Shaped Crystal …                -61% Majestic Butterfly Diam…     Local 2500 PCS 5-Roll Assorted …
                                 30d lowest $0.50 214 sold                  $22.97 6 sold                           $4.97 $12.99 431 sold               $12.34 4 sold
                                 Almost sold out                       Only 3 left                                Almost sold out                       Almost sold out
                                                                             High repeat customers provider
                                    High repeat customers provider                                                   Established 1 year ago                   Temu选品助手           图搜同款

                                                                                Temu选品助手              图搜同款
                                                                                                                                                            商品
                                        Temu选品助手             图搜同款                                                       Temu选品助手              图搜同款
                                                                              商品                                                                          总销量: 4 件

                                      商品                                    总销量: 6 件                                   商品                                 总销售额: $ 49.36

                                    总销量: 214 件                              总销售额: $ 137.82                          总销量: 431 件                            供货价: 点击查询

                                    总销售额: $ 107                             供货价: 点击查询                               总销售额: $ 2,142.07
                                                                                                                                                            店铺
                                    供货价: 点击查询                                                                       供货价: 点击查询
                                                                              店铺                                                                          店铺类型: 半托管（海外仓）

                                      店铺                                    店铺类型: 全托管                                  店铺                                            查看详情
                                    店铺类型: 全托管                                          查看详情                         店铺类型: 全托管

                                    评分/评论数: 5 / 10                                                                  评分/评论数: 4.9 / 38

                                               查看详情                                                                            查看详情




                                      -13% 50pcs Exquisite Bird-Sh…           -90% One Pair of Delicate Bu…       24pcs Mixed Color Flower Sticker…     Local 5pc Green Butterfly Fairy F…
                                 $1.71 $1.98 1.1K+ sold                     $2.42 $25.62 2.2K+ sold               Only once $3.61 600 sold              $7.98 22 sold
                                 Almost sold out                       Almost sold out                            Almost sold out                       Almost sold out
                                               137                                     256
                                    Established 1 year ago                   Low item return rate provider           High repeat customers provider

                                                                                                                                                              Temu选品助手           图搜同款

                                        Temu选品助手             图搜同款               Temu选品助手              图搜同款              Temu选品助手              图搜同款
                                                                                                                                                            商品

                                      商品                                      商品                                       商品                                 总销量: 22 件

                                    总销量: 1,100 件                            总销量: 2,200 件                            总销量: 600 件                            总销售额: $ 175.56                                         26

                                    总销售额: $ 1,881                           总销售额: $ 5,324                           总销售额: $ 2,166                         供货价: 点击查询

                                    供货价: 点击查询                               供货价: 点击查询                               供货价: 点击查询
 BONUS                                                                                                                                                      店铺
COUPONS                               店铺                                      店铺                                       店铺                                 店铺类型: 半托管（海外仓）
            Free shipping special for you                    Price adjustment within 30 days
   Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 575 of 685 PageID #:628
                                            店铺类型: 全托管                                店铺类型: 全托管                           店铺类型: 全托管                                     评分/评论数: 3.5 / 2
                  Free shipping                                                                              Delivery guarantee
                  Special for you           评分/评论数: 4.7 / 137                        评分/评论数: 4.8 / 256       Refund for any评分/评论数:
                                                                                                                           issues  5 / 48
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                                                       查看详情                                    查看详情                                       查看详情
                                                                                                                                                                                                 Orders &
                       Best Sellers     5-Star Rated    Local Warehouse Categories                                                                                                                                  EN      Cart
                                                                                                                                                                                                 Account




                                              -66% Acrylic Fairy and Butter…           -40% Local One Set of Crate…                -89% Vibrant 1PC Resin Alph…     Chic Butterfly Acrylic Drop Earrin…
                                         $0.86 $2.58 13 sold                     $16.60 $27.99 272 sold                      $1.79 $16.99 4.1K+ sold                $1.10 $8.99 1.3K+ sold
                                         Almost sold out                         Almost sold out                            Almost sold out                         Almost sold out
                                            High repeat customers provider                                                                  203                                    143
                                                                                     High repeat customers provider            Established 1 year ago                   Established 1 year ago

                                                Temu选品助手            图搜同款

                                                                                        Temu选品助手             图搜同款                   Temu选品助手               图搜同款             Temu选品助手             图搜同款
                                              商品

                                            总销量: 13 件                                  商品                                          商品                                      商品

                                            总销售额: $ 11.18                            总销量: 272 件                                总销量: 4,100 件                            总销量: 1,300 件
                                            供货价: 点击查询                                总销售额: $ 4,515.2                           总销售额: $ 7,339                           总销售额: $ 1,430

                                                                                     供货价: 点击查询                                 供货价: 点击查询                               供货价: 点击查询
                                              店铺

                                            店铺类型: 全托管                                  店铺                                          店铺                                      店铺

                                                       查看详情                          店铺类型: 半托管（海外仓）                            店铺类型: 全托管                               店铺类型: 全托管

                                                                                     评分/评论数: 5 / 32                            评分/评论数: 4.8 / 203                       评分/评论数: 4.6 / 143

                                                                                               查看详情                                       查看详情                                     查看详情



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          Affiliate & Influencer: Earn Commission
                                                                Shipping info                                        Temu purchase protection                     Coupons & offers alerts
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                                                                                                                     How to track
                                                                                                                                                                       Get it on
          Temu's Tree Planting Program
                                                                                                                     Partner with Temu                                 Google Play



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                                                                                                                                                                                                                                   26




 BONUS
COUPONS
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 576 of 685 PageID #:629
              Free shipping                                                                        Delivery guarantee
              Special for you                                                                      Refund for any issues
                                                                                                                                                                          Get the Temu App


                      15-day no update refund


       Home     Checkout

                                                                                                                                                                Order summary
                Free shipping special for you

                                                                                                                                                                 Enter coupon code      Apply
       Shipping                                                                                                                                     Change

                                                                                                                                                                Apply coupon code
         steven howard (554)626-5486
         1 N La Salle St                                                                                                                                        Item(s) total:          $196.29

         CHICAGO, IL 60602-3902, United States                                                                                                                  Item(s) discount:      -$155.25
            Please check if the apt, suite, or room number is correct.
                                                                                                                                                                Subtotal:                  $41.04


                                                                                                                                                                Shipping:                     FREE
                                                                                                                                                                   Free shipping for items
          Free shipping from Temu (21) 2 items are almost gone!                                                                                      Details
                                                                                                                                                                shipped from Temu is an
                                                                                                                                                                exclusive offer. Please submit
                                                                                                                                                                your order as soon as possible.

                                                                                                                                                                Sales tax:                    $4.21



                                                                                                                                                                Order total:            $45.25

           Almost sold out                  Only 1 left
                                                                                                                                                                Plant with Temu
       -78% last day                 No express shipping                                                                                                            We invite you to plant a
       Last day $1.98×20             $1.44 $11.49                                                                                                                   tree for $0.35

       Standard shipping: FREE, delivery: 4-8 business days, fastest delivery in 4 business days                                                                        Submit order
                                                                                                                                                                          2 almost sold out


       Payment methods                                                                                                                                             Temu's Tree Planting
                                                                                                                                                                Program
                       Card
                                                                                                                                                                Temu and its users have
                                                                                                                                                                donated funds to Trees for the
                 All transactions are secure and encrypted                                                                                                      Future to plant trees across
                                                                                                                                                                sub-Saharan Africa
               * Card number

                        4041 1789 5899 9192
                                                                                                                                                                   Delivery guarantee
               * Expiration date                                                               * CVV                                                               $5.00 Credit for delay
                                                                                                                                                                   Return if item damaged
                 12                                          2028                                  591                                                             15-day no update refund
                                                                                                                                                                   30-day no delivery refund
                   Remember this card for future use, Temu follows the Payment Card Industry Data Security Standard (PCI DSS) when handling card data.          Learn more

                                                                                                                                                                   Temu protects your card
               * Billing address                                                                                                                         Edit      information
               steven howard, 1 N La Salle St, CHICAGO, IL 60602-3902, United States                                                                               Temu follows the Payment
                                                                                                                                                                   Card Industry Data Security
                                                                                                                                                                   Standard (PCI DSS) when
                       PayPal                                                                                                                                      handling card data
                                                                                                                                                                   Card information is secure
                                                                                                                                                                   and uncompromised
                       Cash App Pay
                                                                                                                                                                   All data is encrypted
                                                                                                                                                                   Temu never sells your card
                       Afterpay     4 interest-free payments of $11.31                                                                                             information


                       Klarna     4 interest-free payments of $11.31


                       Affirm     4 interest-free payments or as low as $4.19/mo


                       Venmo                                                                                                                                       Secure privacy
                                                                                                                                                                Protecting your privacy is
                       Google Pay                                                                                                                               important to us! Please be
                                                                                                                                                                assured that your information
                                                                                                                                                                will be kept secured and
                       PayPal Pay Later                                                                                                                         uncompromised. We do not
                                                                                                                                                                sell your personal information
                                                                                                                                                                for money and will only use
                                                                                                                                                                your information in
                                                                                                                                                                accordance with our privacy
                                                                                                                                                                and cookie policy to provide
                                                                                                                                                                and improve our services to
                                                                                                                                                                you.
                                                                                                                                                                Learn more

                                                                                                                                                                   Temu purchase protection
                                                                                                                                                                Shop confidently on Temu
                                                                                                                                                                knowing that if something
                                                                                                                                                                goes wrong, we've always got
                                                                                                                                                                your back.
                                                                                                                                                                Learn more
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 577 of 685 PageID #:630
                                 Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 578 of 685 PageID #:631




9/12/24, 2:34 PM                                                                                                                                Acrylic Butterfly Car Pendant Dashboard Ornament Chain - Temu


                               Free shipping                                                                                                           Price adjustment
                               Special for you                                                                                                         Within 30 days
                                                                                                                                                                                                                                                                           Get the Temu App


                                                                                                                                                                                                                                              Hello, Mike Kate
                                         Best Sellers          5-Star Rated            Anniversary Sale             Local Warehouse          Categories              christmas decorations                                                                              Support            EN
                                                                                                                                                                                                                                              Orders & Account


                                  Home        Automotive        Interior Accessories       Acrylic Butterfly Car Pend...


                                                                                                                                                                                                              Free shipping special for you                              Exclusive offer


                                                                                                                                                                                  Acrylic Butterfly Car Pendant - Dashboard Ornament with Chain,
                                                                                                                                                                                  Crystal Clear Flat Butterfly Design, Ideal for Vehicle Interior, Keychain,
                                                                                                                                                                                  Bag Accessory - Perfect for Gifts and Special Occasions
                                                                                                                                                                                  1 bought Provided by               (132 bought)


                                                                                                                                                                                  Nearly over                   $1.60 Pay $0.40 today -86% $11.49
                                                                                                                                                                                                            4 interest-free biweekly installments


                                                                                                                                                                                    Lightning deal                      Ends in 01:12:25:24

                                                                                                                                                                                     Color: A Butterfly

                                                                                                                                                                                     Qty       1                    Only 7 left



                                                                                                                                                                                                                           Add to cart
                                                                                                                                                                                                                                Only 7 left



                                                                                                                                                                                        Ships from Temu

                                                                                                                                                                                           Standard: FREE                                                 Express: $12.90 or FREE (orde
                                                                                                                                                                                           Delivery: 4-9 business days, 80.4% within 8                    Delivery: 3-7 business days, 7
                                                                                                                                                                                           business days                                                  business days
                                                                                                                                                                                           Courier company:            DHL eCommerce ...                  Courier company:        FedEx


                                                                                                                                                                                        Temu's Commitments
                                  No item reviews yet
                                  But we found 1,125 reviews from similar items on Temu.                                                                                                   Security & Privacy            Delivery guarantee
                                                                                                                                                                                              Safe payments                 $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                              Secure privacy                15-day no update refund        30-day no delivery refund               99+
                                  Reviews from similar items on Temu                                                 All reviews are from verified purchases
         BONUS                                                                                                                                                                                                                                                                                  Messages
        COUPONS                            Marthela Perrett in              on Apr 11, 2024
                                                                                                                                                                                        Free returns Price adjustment

                                                                                                                                                                                        Temu's Tree Planting Program (14M+ trees)                                                               Feedback
                               Free shipping special for you                                   Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-pendant-dashboard-ornament-with-chain-crystal-clear-flat-butterfly-design-ideal-for-vehicle-interior-keychain-bag-accessory-perfect-for-gifts-and-special-occasions-g-601099604989127.html                                                                    1/8
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9/12/24, 2:34 PM                                                                                                                                Acrylic Butterfly Car Pendant Dashboard Ornament Chain - Temu

                                 great
                               Free    bargain.,gifts, pleased with product, loved them thank you, beautiful piece, JustPrice
                                    shipping                                                                             like adjustment
                                 pictures,
                               Special      Thanks, great bargain.,gifts, recommend purchasing
                                       for you                                                                                                         Within 30 days
                                                                                                                                                                                                                                                             Get the Temu App

                                    This review is for: 2D Flat Acrylic Pink Butterfly Adds A Sense Of Agility To Your Car
                                                                                                                                                                                                                                        Hello, Mike Kate
                                         Best Sellers          5-Star Rated            Anniversary Sale             Local Warehouse          Categories              christmas decorations                                                                 Support   EN
                                                                                                                                                                                                                                        Orders & Account
                                           ba***48 in          on Jan 19, 2024



                                  love it, pleased with product, perfect gift, keeper, beautiful piece
                                    This review is for: 2D Flat Acrylic Pink Butterfly Adds A Sense Of Agility To Your Car


                                           Ho***42 in           on Feb 11, 2024



                                  love it, perfect gift, keeper
                                    This review is for: 2D Flat Acrylic Pink Butterfly Adds A Sense Of Agility To Your Car



                                                                                           See all reviews




                                                            ciocoin
                                                            7 Followers         132 Bought          5

                                                                                Follow                               Shop all items (16)




                                  Details                                                                                            Save      Report this item

                                  Material: Acrylic

                                  Item ID: VC185996 Copy

                                  Store Information




                                  Explore your interests
                                                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                                                  Messages
        COUPONS

                                                                                                                                                                                                                                                                                Feedback
                               Free shipping special for you                                   Price adjustment within 30 days

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9/12/24, 2:34 PM                                                                                                                                Acrylic Butterfly Car Pendant Dashboard Ornament Chain - Temu


                               Free shipping                                                                                                           Price adjustment
                               Special for you                                                                                                         Within 30 days
                                                                                                                                                                                                                                                                        Get the Temu App


                                                                                                                                                                                                                                          Hello, Mike Kate
                                         Best Sellers          5-Star Rated            Anniversary Sale             Local Warehouse          Categories              christmas decorations                                                                           Support        EN
                                                                                                                                                                                                                                          Orders & Account




                                   Local 1pc Levitating Moon Table La…                 Pink Crystal 3D Butterfly Stickers - 1…               Local Crow Lamp Raven Light, Rav…                                20pcs Holographic Butter…      Local USB C Fast Charger Block Du…
                                  60d lowest $57.49                                    $1.81 29 bought                                      $15.99 $79.43 677 bought                            60d lowest $2.54 $9.58                      $7.99 58 bought
                                  Almost sold out                                      Only 6 left                                          Almost sold out                                      Extra $0.14 off coupon                     Almost sold out
                                                                                                                                                               94                               Almost sold out




                                                40-Pack Glossy Crystal Bu…              Local Suspended Light Bulb Lamp, …                   Local 5 Pieces Cool Industrial Stea…                              Local 5 Pack 5" High Wa…                   Hollow Lace Butterfly Stic…
                                   Nearly over $4.85 $8.49                             $55.93                                               $36.48 In 11 carts                                  Lowest ever $14.15                          Nearly over $1.99
                                  Only 9 left                  01 1                    Almost sold out                                                   0 1                                    Almost sold out                             Only 8 left
                                                                                                                                                                                                                   643




                                                                                                                                                                                                                                                                                              99+

         BONUS                                                                                                                                                                                                                                                                             Messages
        COUPONS

                                                                                                                                                                                                                                                                                           Feedback
                               Free shipping special for you                                   Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-pendant-dashboard-ornament-with-chain-crystal-clear-flat-butterfly-design-ideal-for-vehicle-interior-keychain-bag-accessory-perfect-for-gifts-and-special-occasions-g-601099604989127.html                                                               3/8
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9/12/24, 2:34 PM                                                                                                                                Acrylic Butterfly Car Pendant Dashboard Ornament Chain - Temu


                               Free shipping                                                                                                           Price adjustment
                               Special for you                                                                                                         Within 30 days
                                                                                                                                                                                                                                                                      Get the Temu App


                                                                                                                                                                                                                                         Hello, Mike Kate
                                         Best Sellers          5-Star Rated            Anniversary Sale             Local Warehouse          Categories              christmas decorations                                                                         Support        EN
                                                                                                                                                                                                                                         Orders & Account




                                   Local 16 Colors Adjustable, Remot…                                 Local 2PCs Weekly Pill B…              Local Mini Innovative High Quality …                             Amethyst Quartz Stone E…      Local LED Light Bulb, Battery Oper…

                                  $8.83 264 bought                                     $5.32 $10.99 95 bought                               $45.49 $438.09 In 2 carts                           Last day $2.97 $26.49                      $16.78 $74.99 2 bought
                                  Only 1 Left                                                        0 1                                    Almost sold out                                     Almost sold out                            Only 5 left              0 1




                                                 Local Table Lamp Indust…              1pc Green Butterfly Acrylic Pendant …                              3D Butterfly Stickers Set, …           Local Massage Gun Deep Tissue, P…                       Alien Facehugger Articula…
                                  $27.48 $49.99 3 bought                               Nearly over $2.11 2 bought                           $4.98 $13.09 4 bought                               $9.64 $81.99 22 bought                     Nearly over $7.27
                                  Almost sold out                                      Almost sold out                                      Only 8 left                 0 1                     Only 7 left                                Almost sold out
                                                                                                                                                                                                                                                             171




                                                                                                                                                                                                                                                                                            99+

         BONUS                                                                                                                                                                                                                                                                           Messages
        COUPONS

                                                                                                                                                                                                                                                                                         Feedback
                               Free shipping special for you                                   Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-car-pendant-dashboard-ornament-with-chain-crystal-clear-flat-butterfly-design-ideal-for-vehicle-interior-keychain-bag-accessory-perfect-for-gifts-and-special-occasions-g-601099604989127.html                                                             4/8
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9/12/24, 2:34 PM                                                                                                                                Acrylic Butterfly Car Pendant Dashboard Ornament Chain - Temu

                                   Local Crystals Gifts For Mom Uniqu…                  Local 1 Floating Heart-shaped Ligh…                  Local Mini Innovative High Quality …                             1pc/20pcs pink crystal bu…                   Local Vintage Industrial …
                               Free shipping                                                                                                           Price adjustment
                                                                                                                                                                                                                                                                         Get the Temu App
                                 $13.99
                               Special for 1you
                                             viewed                                    $55.48 48 viewed                                                 $55.24
                                                                                                                                                     Within
                                                                                                                                            Nearly over     30 days
                                                                                                                                                               $79.20                           $4.28 $12.90 In 2 carts                      $31.35 $147.80 4 bought
                                  Almost sold out                                      Almost sold out                                      Almost sold out                                     Only 3 left                  0 1              Extra $2.95 off coupon
                                                                                                                                                                                                                                           Hello, Mike Kate
                                         Best Sellers          5-Star Rated            Anniversary Sale             Local Warehouse          Categories              christmas decorations                                                   Almost sold out           Support          EN
                                                                                                                                                                                                                                           Orders & Account




                                                 Local Portable Handheld…                             Local 1Pc Electric Neck B…                         Wireless LED Desk Lamp …                             20-Pack 3D Crystal Butter…      Local YIFENG suspended air bonsai…
                                   Lowest ever $5.81 $12.99                            $12.98 $43.61 11 bought                              Nearly over $9.01                                   Last day $1.99 $9.58                         $50.49 33 bought
                                  Almost sold out                                                    0 1                                    Almost sold out                                     Only 9 left                  1               Almost sold out




                                   Local Living Room Floating Bulbs …                  Metal Steampunk Vintage Fashion …                                 3D Printing LED Dragon …                Local Magnetic Floating Levitating …                      Local HCNT Auto-Levita…

                                  $43.49 2 bought                                      Nearly over $5.45                                      $13.47 $60.33                                     $46.47 26 viewed                             $53.06 $137.99 8 bought
                                  Almost sold out                                      Almost sold out             just bought              Almost sold out                                     Almost sold out                               Extra $2.11 off coupon
                                                                                                           2,074                                               125                                                                           Only 1 Left
                                                                                                                                                                                                                                                                                                99+

         BONUS                                                                                                                                                                                                                                                                               Messages
        COUPONS

                                                                                                                                                                                                                                                                                             Feedback
                               Free shipping special for you                                   Price adjustment within 30 days

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9/12/24, 2:34 PM                                                                                                                                Acrylic Butterfly Car Pendant Dashboard Ornament Chain - Temu


                               Free shipping                                                                                                           Price adjustment
                               Special for you                                                                                                         Within 30 days
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                        Hello, Mike Kate
                                         Best Sellers          5-Star Rated            Anniversary Sale             Local Warehouse          Categories              christmas decorations                                                                       Support           EN
                                                                                                                                                                                                                                        Orders & Account




                                                20pcs Fantasy Themed B…                              1pc, Wrench Skull, Skelet…                           Local 1PCS Mobile Phon…                Local 6 inch Plasma Ball Lamp Scie…       Local Levitating Air Bonsai Pot, Rot…
                                  Last day $3.19 $3.60                                 $9.18 $19.25 995 bought                              $4.93 $25.99 175 bought                             Last day $17.57 $89.99                    $50.34 $209.50 In 24 carts
                                  Only 8 left                  1                       Almost sold out                                      Almost sold out                                                   1                           Almost sold out
                                                                                                          102                                                                                                       64




                                  Cute Rat Ring Silver Plated Adjustab…                 Local Suspended Rotating Light Ba…                   Local Fascia Gun Muscle Massage …                   Local Super Stylish American Style …                   7-Day, 28-Compartment …
                                  Nearly over $1.35                                       $23.39 $125.00 7 bought                           $10.87 $79.84 17 bought                             $32.18 1 bought                           $4.77 $41.01 47 bought
                                      just rated 5 stars                               Only 9 left                                          Almost sold out                                                   0 1                         Only 5 left
                                                      4,431




                                                                                                                                                                                                                                                                                           99+

         BONUS                                                                                                                                                                                                                                                                          Messages
        COUPONS

                                                                                                                                                                                                                                                                                        Feedback
                               Free shipping special for you                                   Price adjustment within 30 days

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9/12/24, 2:34 PM                                                                                                                                Acrylic Butterfly Car Pendant Dashboard Ornament Chain - Temu

                                                 Local HCNT Moon Lamp…                                Local 12*10FT sand colo…                           Vibrant Acrylic Butterfly …             Local 1/2/3pcs Brazilian lucky trees…                   GAIATOP Compact Pink …
                               Free shipping                                                                                                           Price adjustment
                                                                                                                                                                                                                                                                       Get the Temu App
                                 $49.35
                               Special for $162.99
                                           you     3 bought                            $220.98 $375.00 9 bought                             $1.61 $5.59
                                                                                                                                                    Within  30 days
                                                                                                                                                        1 bought                                $12.20 $13.99          556 bought            $6.79 $38.88 139 bought
                                   Extra $2.11 off coupon                              Almost sold out                                      Only 1 Left                                         Best Seller in Fresh Flowers & Plants        Almost sold out
                                                                                                                                                                                                                                           Hello, Mike Kate
                                  Almost sold
                                      Best    out
                                           Sellers             5-Star Rated            Anniversary Sale             Local Warehouse          Categories              christmas decorations                                                                          Support          EN
                                                                                                                                                                                                                                           Orders & Account
                                                                                                                                                                                                                                                 Direct from GAIATOP




                                                 Local Outdoor refrigerat…                            Local 2024 New Vintage…                Local HCNT Levitating Rose Lamp, …                               1pc, Vintage Classic PVC …                  Local Classic Golden Ara…

                                  $66.68 $121.98 34 bought                             $50.98 $404.69 In 2 carts                            $49.36 10 viewed                                    30d lowest $4.04 $4.49                       Last day $18.47
                                  Almost sold out                                      Almost sold out                                      Almost sold out                                     Almost sold out                              Almost sold out
                                                                                                                                                                                                                                                              122




                                   Local Phone Gimbal 3-Axis Smartp…                   30 Pink Crystal Butterfly 3D Stickers …                           1pc Rotating Water Rippl…               Local Hummingbird Craft Statue D…                        Local Hot Selling Whole…

                                  $36.49 $176.18 261 bought                            Last day $2.24 5 bought                              $10.98 $54.64                                       Last day $5.93 $53.19                        $48.33 $456.54 1 bought
                                  Only 1 Left                                          Only 6 left                  1                                    0 1                                    Only 9 left                  1               Almost sold out
                                                                                                                                                               314
                                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                            View more                                                                                                                       Messages
        COUPONS

                                                                                                                                                                                                                                                                                          Feedback
                               Free shipping special for you                                   Price adjustment within 30 days

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9/12/24, 2:34 PM                                                                                                                                Acrylic Butterfly Car Pendant Dashboard Ornament Chain - Temu


                               Free shipping                                                                                                            Price adjustment
                          Special
                                                                                                                                                                                                                                                                     Get the Temu App
                      Company infofor you                                                 Customer service                                              Within
                                                                                                                                                           Help30 days                                            Download the Temu App                            Connect with Temu

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                                                                                                                                                                                                                                                Hello, Mike Kate
                                         Best Sellers          5-Star Rated            Anniversary Sale        Local Warehouse               Categories            christmas decorations                                                                           Support     EN
                      Temu - Team Up, Price Down!                                                                                                                                                                                               Orders & Account
                                                                                         Intellectual property policy                                        Safety center                                             Low stock items alerts
                      Affiliate & Influencer: Earn Commission
                                                                                          Shipping info                                                      Temu purchase protection                                  Coupons & offers alerts
                      Contact us
                                                                                          Your Recalls and Product Safety Alerts                             Sitemap
                                                                                                                                                                                                                             Download on the
                      Careers
                                                                                          Report suspicious activity                                         How to order                                                    App Store
                      Press
                                                                                                                                                             How to track
                                                                                                                                                                                                                             Get it on
                      Temu's Tree Planting Program
                                                                                                                                                             Partner with Temu                                               Google Play



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                                                                                                                                                                                                                                                                                           99+

         BONUS                                                                                                                                                                                                                                                                          Messages
        COUPONS

                                                                                                                                                                                                                                                                                        Feedback



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9/12/24, 2:35 PM                                                                                                                                          Temu


                           Free shipping                                                                                                 Free returns
                           Special for you
                                                                                                                                                                                                                                                      Get the Temu App
                                                                                                                                         Up to 90 days*


                                    $5.00 Credit for delay


                    Home      Checkout

                                                                                                                                                                                                        Order summary
                               Free shipping special for you

                                                                                                                                                                                                           Enter coupon code                                        Apply
                    Shipping address                                                                                                                                 Change address

                                                                                                                                                                                                        Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                                  Item(s) total:                                                 $80.43

                       CHICAGO, IL 60602-3902, United States                                                                                                                                            Item(s) discount:                                             -$69.23

                                                                                                                                                                                                        Subtotal:                                                      $11.20


                    Ships from Temu (7) 1 item is almost gone!                                                                                                                                          Shipping:                                                        FREE
                                                                                                                                                                                                           Free shipping for items shipped from Temu is an exclusive
                                                    Acrylic Butterfly Car Pendant - Dashboard Ornament with Chain, Crystal Clear Flat Butterfly Design, Ideal for Vehicl…                               offer. Please submit your order as soon as possible.
                                                    A Butterfly
                                                                                                                                                                        Qty:                            Sales tax:                                                      $1.15

                                                    Lightning deal | -86% ending soon
                                                                                                                                                                                                        Order total:                                                  $12.35


                             Only 7 left                                                                                                                                                                Plant with Temu
                                                       $1.60 $11.49
                                                                                                                                                                                                             We invite you to plant a tree for $0.35
                    Standard shipping: FREE, delivery: 4-9 business days
                                                                                                                                                                                                                                   Submit order
                                                                                                                                                                                                                                    1 almost sold out
                    Payment methods
                                                                                                                                                                                                            Temu's Tree Planting Program
                                     Visa ...1950                                                                                                                               Edit
                                                                                                                                                                                                        Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                        Future to plant trees across sub-Saharan Africa
                                     Add a new card


                                     PayPal           Remember my PayPal                                                                                                                                    Temu protects your card information
                                                                                                                                                                                                            Temu follows the Payment Card Industry Data Security
                                     Cash App Pay                                                                                                                                                           Standard (PCI DSS) when handling card data
                                                                                                                                                                                                            Card information is secure and uncompromised
                                                                                                                                                                                                            All data is encrypted
                                     Venmo
                                                                                                                                                                                                            Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"cart_float_layer_type"%3A2%2C"ck_cart_login_status"%3A"1"%2C"ck_float_layer_type"%3A"2"%2C"cart_morgan_token"%3A"fe338d5a-7663-4988-8195-1f2b9d25b7b3"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3…   1/2
                              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 587 of 685 PageID #:640




9/12/24, 2:35 PM                                                                                                                                          Temu

                                     Google Pay


                                     Afterpay
                                     $20 product minimum applies
                                                                                                                                                                                                            Secure privacy
                                     Klarna                                                                                                                                                             Protecting your privacy is important to us! Please be assured
                                     $20 product minimum applies                                                                                                                                        that your information will be kept secured and
                                                                                                                                                                                                        uncompromised. We do not sell your personal information
                                     Affirm                                                                                                                                                             for money and will only use your information in accordance
                                     $35 product minimum applies                                                                                                                                        with our privacy and cookie policy to provide and improve
                                                                                                                                                                                                        our services to you.
                                     PayPal Pay Later
                                                                                                                                                                                                        Learn more
                                     $30 product minimum applies
                                                                                                                                                                                                            Delivery guarantee
                                                                                                                                                                                                            $5.00 Credit for delay           Return if item damaged
                                                                                                                                                                                                            15-day no update refund            30-day no delivery refund
                                                                                                                                                                                                        Learn more

                                                                                                                                                                                                            Temu purchase protection
                                                                                                                                                                                                        Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                        wrong, we've always got your back.
                                                                                                                                                                                                        Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"cart_float_layer_type"%3A2%2C"ck_cart_login_status"%3A"1"%2C"ck_float_layer_type"%3A"2"%2C"cart_morgan_token"%3A"fe338d5a-7663-4988-8195-1f2b9d25b7b3"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3…   2/2
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 588 of 685 PageID #:641




9/12/24, 2:33 PM                                                                                                                            Acrylic Butterfly Car Hanging Ornament Rearview Mirror - Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you                                                                                                     Within 30 days
                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             purse charms                                                                                      Support            EN
                                                                                                                                                                                                                                       Orders & Account


                                 Home       Automotive        Interior Accessories      1pc Acrylic Butterfly Car ...


                                                                                                                                                                                                        Free shipping special for you                             Exclusive offer


                                                                                                                                                                            1pc Acrylic Butterfly Car Hanging Ornament, Rearview Mirror Pendant,
                                                                                                                                                                            Christmas Tree Decoration, Keychain Backpack Accessory, Festive Gift,
                                                                                                                                                                            Home Decor
                                                                                                                                                                            4.0                       4 bought Provided by           (7.9K+ bought)


                                                                                                                                                                            Nearly over                     $1.60 Pay $0.40 today -71% $5.59
                                                                                                                                                                                                      4 interest-free biweekly installments


                                                                                                                                                                              Lightning deal                     Ends in 01:12:26:41

                                                                                                                                                                               Model: butterfly pendant

                                                                                                                                                                               Qty       1                    Only 2 left



                                                                                                                                                                                                                   Add to cart
                                                                                                                                                                                                                       Only 2 left



                                                                                                                                                                                  Ships from Temu

                                                                                                                                                                                     Standard: FREE                                                Express: $12.90 or FREE (orde
                                                                                                                                                                                     Delivery: 4-9 business days, 80.4% within 8                   Delivery: 3-7 business days, 7
                                                                                                                                                                                     business days                                                 business days
                                                                                                                                                                                     Courier company:           DHL eCommerce ...                  Courier company:        FedEx

                                 1 reviews            4.0                                                        All reviews are from verified purchases
                                                                                                                                                                                  Temu's Commitments
                                 Item reviews (1)           Provider reviews (886)
                                                                                                                                                                                     Security & Privacy          Delivery guarantee
                                                                                                                                                                                       Safe payments                $5.00 Credit for delay          Return if item damaged
                                         et**mc in          on Jun 19, 2024                                                                                                            Secure privacy               15-day no update refund         30-day no delivery refund               99+

         BONUS                                                                                                                                                                                                                                                                           Messages
        COUPONS                                                                                                                                                                   Free returns Price adjustment
                                 Beautiful butterfly. This is a gift for butterfly collector.
                                                                                                                                                                                  Temu's Tree Planting Program (14M+ trees)                                                              Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-butterfly-car-hanging-ornament-rearv
                                                                    iew-mirror-pendant-christmas-tree-decoration-keychain-backpack-accessory-festive-gift-home-decor-g-601099577506821.html                                                                                                       1/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 589 of 685 PageID #:642




9/12/24, 2:33 PM                                                                                                                            Acrylic Butterfly Car Hanging Ornament Rearview Mirror - Temu


                              Free shipping                                                                                                       Price adjustment
                                Reviews from similar items on Temu                                                                                                                                                               Get the Temu App
                              Special for you                                                                                                     Within 30 days
                                         Marthela Perrett in              on Apr 11, 2024
                                                                                                                                                                                                            Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             purse charms                                                    Support   EN
                                                                                                                                                                                                            Orders & Account

                                 great bargain.,gifts, pleased with product, loved them thank you, beautiful piece, Just like
                                 pictures, Thanks, great bargain.,gifts, recommend purchasing
                                  This review is for: 2D Flat Acrylic Pink Butterfly Adds A Sense Of Agility To Your Car


                                         ba***48 in          on Jan 19, 2024



                                 love it, pleased with product, perfect gift, keeper, beautiful piece
                                  This review is for: 2D Flat Acrylic Pink Butterfly Adds A Sense Of Agility To Your Car



                                                                                       See all reviews




                                                          Chuang You
                                                          106 Followers         7.9K+ Bought           4.8

                                                                             Follow                             Shop all items (35)




                                 Details                                                                                        Save      Report this item

                                 Material: Acrylic

                                 Item ID: WU130853 Copy

                                 Store Information




                                 Explore your interests

                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                    Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-butterfly-car-hanging-ornament-rearv
                                                                    iew-mirror-pendant-christmas-tree-decoration-keychain-backpack-accessory-festive-gift-home-decor-g-601099577506821.html                                                                  2/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 590 of 685 PageID #:643




9/12/24, 2:33 PM                                                                                                                            Acrylic Butterfly Car Hanging Ornament Rearview Mirror - Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you                                                                                                     Within 30 days
                                                                                                                                                                                                                                                                 Get the Temu App


                                                                                                                                                                                                                                   Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             purse charms                                                                                    Support      EN
                                                                                                                                                                                                                                   Orders & Account




                                               20pcs Fantasy Themed B…               Local 1pc Levitating Moon Table La…                             Sparkling 3D Butterfly Sti…          1pc Green Butterfly Acrylic Pendant …                   Local Classic Golden Ara…
                                 Last day $3.19 $3.60                               60d lowest $57.49                                  Nearly over $6.29 2 bought                         Nearly over $2.11 2 bought                 Last day $18.47
                                 Only 8 left                 1                      Almost sold out                                    Only 8 left                 01 1                   Almost sold out                            Almost sold out
                                                                                                                                                                                                                                                      122




                                 Unique Purple Butterfly Shaped Key…                              1pc/20pcs pink crystal bu…                         Charming Hummingbird …                             1pc Hanging Neck Fan, O…     Crystal Translucent Color-changing …
                                 Nearly over $1.28                                  $4.28 $12.90 In 2 carts                            Last day $8.55 $39.00                              $6.98 $46.94 1.1K+ bought                  $2.49 $2.99 90K+ bought
                                 Almost sold out                                    Only 3 left                 0 1                    Almost sold out                                    Only 7 left             0 1                Almost sold out
                                                    88                                                                                                                                                      98                                        11,122




                                                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                                                    Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-butterfly-car-hanging-ornament-rearv
                                                                    iew-mirror-pendant-christmas-tree-decoration-keychain-backpack-accessory-festive-gift-home-decor-g-601099577506821.html                                                                                                  3/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 591 of 685 PageID #:644




9/12/24, 2:33 PM                                                                                                                            Acrylic Butterfly Car Hanging Ornament Rearview Mirror - Temu

                                  Local 360° Rotating Magnetic Levit…               Pink Crystal 3D Butterfly Stickers - 1…                          1pc Monarch Butterfly Wi…                          80pcs Vintage Butterfly …                    Acrylic Butterfly Car Pend…
                              Free shipping                                                                                                       Price adjustment
                                                                                                                                                                                                                                                                   Get the Temu App
                                $43.49
                              Special for 1you
                                            bought                                  $1.81 29 bought                                    $3.58 $15.99
                                                                                                                                               Within  30 days
                                                                                                                                                    4 bought                              Nearly over $8.77                              Last day $1.34 $9.99
                                 Almost sold out                                    Only 6 left                                        Only 6 left                 0 1                    Only 2 left                                    Almost sold out
                                                                                                                                                                                                                                       Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             purse charms                                                                                      Support         EN
                                                                                                                                                                                                                                       Orders & Account




                                  Local 6 inch Plasma Ball Lamp Scie…                             40-Pack Glossy Crystal Bu…                         20pcs Holographic Butter…                          1pc Crystal Ball With Met…                   1pc Rotating Water Rippl…
                                 Last day $17.57 $89.99                             Nearly over $4.85 $8.49                            60d lowest $2.54 $9.58                             $6.58 $29.18 68 bought                         $10.98 $54.64
                                              1                                     Only 9 left                 01 1                    Extra $0.14 off coupon                            Almost sold out                                            0 1
                                                    64                                                                                 Almost sold out                                                                                                     314




                                              Resin Alphabet Keychain …                           Local Hot Selling Whole…                           80 PCS PET Ice Crystal La…                         Colorful Butterfly Acrylic …                 1pc, Amethyst Crystal Tre…
                                 Nearly over $1.75                                  $48.33 $456.54 1 bought                            $3.56 $39.30 4 bought                              Nearly over $1.16                              90d lowest $5.79
                                 Almost sold out                                    Almost sold out                                    Almost sold out                                    Almost sold out                                Almost sold out
                                                                                                                                                                                                                                                           50
                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                      Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-butterfly-car-hanging-ornament-rearv
                                                                    iew-mirror-pendant-christmas-tree-decoration-keychain-backpack-accessory-festive-gift-home-decor-g-601099577506821.html                                                                                                    4/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 592 of 685 PageID #:645




9/12/24, 2:33 PM                                                                                                                            Acrylic Butterfly Car Hanging Ornament Rearview Mirror - Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you                                                                                                     Within 30 days
                                                                                                                                                                                                                                                                  Get the Temu App


                                                                                                                                                                                                                                     Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             purse charms                                                                                    Support       EN
                                                                                                                                                                                                                                     Orders & Account




                                  Local LED Light Bulb, Battery Oper…                             20-Pack 3D Crystal Butter…                         Local Indoor Garden Ma…                           Women's Activewear: Soli…        Local Massage Gun Deep Tissue, P…

                                 $16.78 $74.99 2 bought                             Last day $1.99 $9.58                               $47.19 $209.50 2 bought                            Lowest ever $7.59                            $9.64 $81.99 22 bought
                                 Only 5 left                 0 1                    Only 9 left                 1                      Almost sold out                                    Almost sold out                              Only 7 left
                                                                                                                                                                                                            353




                                               40pcs Crystal Laser Butte…           Boho Chic Butterfly Wall Hanging - …                Local Living Room Floating Bulbs …                    Local Mini Innovative High Quality …                   1pc Asymmetric Butterfly…
                                 $2.98 $9.99 130 bought                             Last day $5.75 17 bought                           $43.49 2 bought                                    $45.49 $438.09 In 2 carts                       $1.60 $5.59 1.9K+ bought
                                 Only 1 Left                                        Only 3 left                 1                      Almost sold out                                    Almost sold out                              Almost sold out
                                                                                                                                                                                                                                                        205




                                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                                                                       Messages
        COUPONS

                                                                                                                                                                                                                                                                                     Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-butterfly-car-hanging-ornament-rearv
                                                                    iew-mirror-pendant-christmas-tree-decoration-keychain-backpack-accessory-festive-gift-home-decor-g-601099577506821.html                                                                                                   5/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 593 of 685 PageID #:646




9/12/24, 2:33 PM                                                                                                                            Acrylic Butterfly Car Hanging Ornament Rearview Mirror - Temu

                                               20pcs Crystal Butterfly Sti…          Local 16 Colors Adjustable, Remot…                              Local 6 Pack Taper Candl…                          Local 2PCs Weekly Pill B…                 1pc Acrylic Chemical Ele…
                              Free shipping                                                                                                       Price adjustment
                                                                                                                                                                                                                                                                Get the Temu App
                                $3.87
                              Special for you In 1 carts
                                        $12.00                                      $8.83 264 bought                                   $11.82 $24.99
                                                                                                                                              Within264
                                                                                                                                                     30 bought
                                                                                                                                                        days                              $5.32 $10.99 95 bought                      Last day $20.49
                                 Almost sold out                                    Only 1 Left                                        Almost sold out                                                 0 1                            Almost sold out
                                                                                                                                                                                                                                    Hello, Mike Kate   400
                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             purse charms                                                                                  Support          EN
                                                                                                                                                                                                                                    Orders & Account




                                 Garden Fairy Stained Glass Window …                             Crystal Pink Butterfly Stic…                       1pc Curtain Butterfly Stri…                        Smart LED Magnetic Lam…                    Chic Pink Butterfly Acrylic…
                                 $2.74 3 bought                                     $3.14 $13.99 5 bought                                 $7.97 $59.99 371 bought                         $11.48 $56.50 83 bought                     Nearly over $1.79
                                 Only 2 left                                        Only 1 Left                                        Almost sold out                                    Almost sold out




                                  Local Levitating Air Bonsai Pot, Rot…                          Moon Earth Sun, Three B…               Local Floating Arrow Piercing Light…                           20pcs/1 Pack, Laser Butte…      Local Fascia Gun Muscle Massage …

                                 $50.34 $209.50 In 24 carts                         $4.98 $20.99 2.7K+ bought                          $48.89 11 viewed                                       $1.61 $4.59 3.1K+ bought                $10.87 $79.84 17 bought
                                 Almost sold out                                    Almost sold out                                    Almost sold out                                    Almost sold out                             Almost sold out
                                                                                                       127                                                                                                   285


                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                 Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-butterfly-car-hanging-ornament-rearv
                                                                    iew-mirror-pendant-christmas-tree-decoration-keychain-backpack-accessory-festive-gift-home-decor-g-601099577506821.html                                                                                                 6/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 594 of 685 PageID #:647




9/12/24, 2:33 PM                                                                                                                            Acrylic Butterfly Car Hanging Ornament Rearview Mirror - Temu


                              Free shipping                                                                                                       Price adjustment
                              Special for you                                                                                                     Within 30 days
                                                                                                                                                                                                                                                                   Get the Temu App


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                                       Best Sellers          5-Star Rated           Anniversary Sale            Local Warehouse         Categories             purse charms                                                                                     Support       EN
                                                                                                                                                                                                                                       Orders & Account




                                              Glass Incense Holder wit…                           Local HCNT Auto-Levita…              17pcs Vintage Black White Newspa…                                Local Butterfly with plu…        50pcs Colorful Butterfly Stickers Pac…
                                 Last day $7.60 $10.99                              $53.06 $137.99 8 bought                            $2.48 17K+ bought                                  $4.98 $14.95 3 bought                             $1.79 34 bought
                                              1                                      Extra $2.11 off coupon                                          0 1                                  Only 7 left               0 1                  Only 1 Left
                                                    87                              Only 1 Left                                                            1,902




                                 Portable Handheld Mini Fan With Di…                 Local Mini Innovative High Quality …                            Vibrant Dragonfly Acrylic…           45pcs Pink Floral Stickers - Matte Fi…                       Local Portable Handheld…

                                 $9.35 $57.99         6.4K+ bought                  Nearly over $55.24 $79.20                          $0.69 $4.88 111 bought                             $2.48 16 viewed                                $4.48 $38.88 70 bought
                                 Almost sold out                                    Almost sold out                                    Only 8 left                                        Almost sold out                                Almost sold out
                                                    606
                                                                                                                                                                                                                                             Direct from SPORTULI



                                                                                                                                                     View more

                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS
                     Company info                                                      Customer service                                                 Help                                                Download the Temu App                               Connect with Temu
                                                                                                                                                                                                                                                                                      Feedback
                           Free shipping special for you
                     About Temu                                                           Price
                                                                                       Return andadjustment
                                                                                                 refund policy within 30 days                           Support center & FAQ                                   Track orders any time

https://www.temu.com/1pc-acrylic-butterfly-car-hanging-ornament-rearv
                                                                    iew-mirror-pendant-christmas-tree-decoration-keychain-backpack-accessory-festive-gift-home-decor-g-601099577506821.html                                                                                                    7/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 595 of 685 PageID #:648




9/12/24, 2:33 PM                                                                                                                            Acrylic Butterfly Car Hanging Ornament Rearview Mirror - Temu

                     Temu - Team Up, Price Down!                                       Intellectual property policy                                     Safety center                                             Low stock items alerts
                              Free shipping                                                                                                         Price adjustment
                                                                                                                                                                                                                                                                Get the Temu App
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                               & Influencer: Earn Commission                           Shipping info
                                                                                                                                                    Within 30 days
                                                                                                                                                        Temu purchase protection                                  Coupons & offers alerts

                     Contact us                                                       Your Recalls and Product Safety Alerts                            Sitemap                                                                            Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale       Local Warehouse              Categories            purse charms                                               Download on the                      Support   EN
                                                                                                                                                                                                                                           Orders & Account
                     Careers                                                           Report suspicious activity                                       How to order                                                     App Store
                     Press                                                                                                                              How to track
                                                                                                                                                                                                                         Get it on
                     Temu's Tree Planting Program                                                                                                       Partner with Temu                                                Google Play



                     Security certification                                                                                                             We accept




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                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback



https://www.temu.com/1pc-acrylic-butterfly-car-hanging-ornament-rearv
                                                                    iew-mirror-pendant-christmas-tree-decoration-keychain-backpack-accessory-festive-gift-home-decor-g-601099577506821.html                                                                                                 8/8
                              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 596 of 685 PageID #:649




9/12/24, 2:33 PM                                                                                                                                          Temu


                            Free shipping                                                                                            Delivery guarantee
                            Special for you                                                                                          Refund for any issues
                                                                                                                                                                                                                                                      Get the Temu App


                                    $5.00 Credit for delay


                    Home      Checkout

                                                                                                                                                                                                        Order summary
                               Free shipping on items shipped from Temu

                                                                                                                                                                                                           Enter coupon code                                         Apply
                    Shipping address                                                                                                                                 Change address

                                                                                                                                                                                                        Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                                  Item(s) total:                                                  $11.18

                       CHICAGO, IL 60602-3902, United States                                                                                                                                            Item(s) discount:                                               -$7.98

                                                                                                                                                                                                        Subtotal:                                                        $3.20


                    Ships from Temu (2) 1 item is almost gone!                                                                                                                                          Shipping:                                                       $12.90

                                                    1pc Acrylic Butterfly Car Hanging Ornament, Rearview Mirror Pendant, Christmas Tree Decoration, Keychain Backpa…                                    Sales tax:                                                       $0.33

                                                    butterfly pendant
                                                                                                                                                                         Qty:
                                                                                                                                                                                                        Order total:                                                   $16.43
                                                    Lightning deal | -71% ending soon

                                                                                                                                                                                                        Plant with Temu
                                                                                                                                                                                                              We invite you to plant a tree for $0.35
                             Only 2 left
                                                       $1.60 $5.59
                                                                                                                                                                                                                                   Submit order
                    Express shipping: $12.90, delivery: 3-7 business days                                                                                                                                                            1 almost sold out


                                                                                                                                                                                                             Temu's Tree Planting Program
                    Payment methods
                                                                                                                                                                                                        Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                        Future to plant trees across sub-Saharan Africa
                                     Visa ...1950                                                                                                                               Edit


                                     Add a new card
                                                                                                                                                                                                             Temu protects your card information
                                                                                                                                                                                                             Temu follows the Payment Card Industry Data Security
                                     PayPal           Remember my PayPal
                                                                                                                                                                                                             Standard (PCI DSS) when handling card data
                                                                                                                                                                                                             Card information is secure and uncompromised
                                     Cash App Pay                                                                                                                                                            All data is encrypted
                                                                                                                                                                                                             Temu never sells your card information
                                     Venmo


https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"cart_float_layer_type"%3A2%2C"ck_cart_login_status"%3A"1"%2C"ck_float_layer_type"%3A"2"%2C"cart_morgan_token"%3A"ffd6de70-c549-46c1-b055-335c04af60b1"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A…   1/2
                              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 597 of 685 PageID #:650




9/12/24, 2:33 PM                                                                                                                                          Temu

                                     Google Pay


                                     Afterpay                                                                                                                                                                Secure privacy
                                     $20 product minimum applies                                                                                                                                        Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                        that your information will be kept secured and
                                     Klarna                                                                                                                                                             uncompromised. We do not sell your personal information
                                     $20 product minimum applies                                                                                                                                        for money and will only use your information in accordance
                                                                                                                                                                                                        with our privacy and cookie policy to provide and improve
                                     Affirm                                                                                                                                                             our services to you.
                                     $35 product minimum applies                                                                                                                                        Learn more

                                     PayPal Pay Later                                                                                                                                                        Delivery guarantee
                                     $30 product minimum applies
                                                                                                                                                                                                             $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                             15-day no update refund           30-day no delivery refund
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https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"cart_float_layer_type"%3A2%2C"ck_cart_login_status"%3A"1"%2C"ck_float_layer_type"%3A"2"%2C"cart_morgan_token"%3A"ffd6de70-c549-46c1-b055-335c04af60b1"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A…   2/2
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 598 of 685 PageID #:651




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu


                             Free shipping                                                                                                      Price adjustment
                             Special for you                                                                                                    Within 30 days
                                                                                                                                                                                                                                                                 Get the Temu App


                                                                                                                                                                                                                                    Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly keychain                                                                               Support            EN
                                                                                                                                                                                                                                    Orders & Account


                                 Home      Automotive        Interior Accessories      Acrylic Butterfly Hanging ...


                                                                                                                                                                                                     Free shipping special for you                             Exclusive offer


                                                                                                                                                                         Acrylic Butterfly Hanging Ornament Set - 2D Decorative Pendant for
                                                                                                                                                                         Bags, Luggage Tags, and Keychains Accessory Pack
                                                                                                                                                                         1 bought Provided by               (1.4K+ bought)


                                                                                                                                                                         $1.09 Pay $0.27 today -80% limited time $5.59
                                                                                                                                                                                                   4 interest-free biweekly installments


                                                                                                                                                                           Top deals                   Ends in 17:12:28:13

                                                                                                                                                                            Items: Butterfly Set

                                                                                                                                                                            Qty       1                     Only 1 left



                                                                                                                                                                                                                 Add to cart
                                                                                                                                                                                                                     Only 1 left



                                                                                                                                                                               Ships from Temu

                                                                                                                                                                                  Standard: FREE                                                Express: $12.90 or FREE (orde
                                                                                                                                                                                  Delivery: 4-9 business days, 80.4% within 8                   Delivery: 3-7 business days, 7
                                                                                                                                                                                  business days                                                 business days
                                                                                                                                                                                  Courier company:           DHL eCommerce ...                  Courier company:        FedEx


                                                                                                                                                                               Temu's Commitments

                                 No item reviews yet                                                                                                                              Security & Privacy           Delivery guarantee
                                 But we found 1,125 reviews from similar items on Temu.                                                                                             Safe payments                 $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                    Secure privacy                15-day no update refund        30-day no delivery refund
                                                                                                                                                                                                                                                                                         99+
                                 Reviews from similar items on Temu                                            All reviews are from verified purchases                         Free returns Price adjustment
         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS                          Marthela Perrett in            on Apr 11, 2024                                                                                        Temu's Tree Planting Program (14M+ trees)
                                                                                                                                                                                                                                                                                      Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-set-2d-decorativ
                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                                                  1/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 599 of 685 PageID #:652




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu

                               great
                             Free    bargain.,gifts, pleased with product, loved them thank you, beautiful piece, JustPrice
                                  shipping                                                                             like adjustment
                               pictures,
                             Special      Thanks, great bargain.,gifts, recommend purchasing
                                     for you                                                                                                    Within 30 days
                                                                                                                                                                                                                                 Get the Temu App

                                  This review is for: 2D Flat Acrylic Pink Butterfly Adds A Sense Of Agility To Your Car
                                                                                                                                                                                                            Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly keychain                                                Support   EN
                                                                                                                                                                                                            Orders & Account
                                         ba***48 in         on Jan 19, 2024



                                 love it, pleased with product, perfect gift, keeper, beautiful piece
                                  This review is for: 2D Flat Acrylic Pink Butterfly Adds A Sense Of Agility To Your Car


                                         Ho***42 in          on Feb 11, 2024



                                 love it, perfect gift, keeper
                                  This review is for: 2D Flat Acrylic Pink Butterfly Adds A Sense Of Agility To Your Car



                                                                                      See all reviews




                                                        Bloom The Only You
                                                        17 Followers         1.4K+ Bought          4.8

                                                                           Follow                             Shop all items (71)




                                 Details                                                                                      Save     Report this item

                                 Material: Acrylic

                                 Item ID: JN177942 Copy

                                 Store Information




                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                    Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-set-2d-decorativ
                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                2/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 600 of 685 PageID #:653




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu


                             Free shipping                                                                                                      Price adjustment
                             Special for you                                                                                                    Within 30 days
                                                                                                                                                                                                                                 Get the Temu App


                                                                                                                                                                                                            Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly keychain                                                Support   EN
                                                                                                                                                                                                            Orders & Account




                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                      Messages
        COUPONS

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                             Free shipping special for you                                Price adjustment within 30 days

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                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                3/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 601 of 685 PageID #:654




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu


                             Free shipping                                                                                                      Price adjustment
                             Special for you                                                                                                    Within 30 days
                                                                                                                                                                                                                                 Get the Temu App


                                                                                                                                                                                                            Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly keychain                                                Support   EN
                                                                                                                                                                                                            Orders & Account




                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                      Messages
        COUPONS
                                 Explore your interests
                                                                                                                                                                                                                                                    Feedback
                             Free shipping special for you                                Price adjustment within 30 days

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                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                4/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 602 of 685 PageID #:655




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu


                             Free shipping                                                                                                      Price adjustment
                             Special for you                                                                                                    Within 30 days
                                                                                                                                                                                                                                                               Get the Temu App


                                                                                                                                                                                                                                 Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly keychain                                                                              Support          EN
                                                                                                                                                                                                                                 Orders & Account




                                 Local 1pc Levitating Moon Table La…                            20-Piece Shimmering Ice …           100pcs Butterfly Decorative PET Stic…              1pc Acrylic Butterfly Pendant – Chris…      Housewarming Gift Animal Theme …
                                 60d lowest $57.49                                $3.00 $9.58 3 bought                              $11.98 6 bought                                    Nearly over $1.36                           $4.04 3 bought
                                 Almost sold out                                  Only 9 left                 0 1        13         Only 3 left                 0 1        13          Only 1 Left 30d lowest                      Almost sold out




                                 Portable Mini Bullet Massager - USB…              Local Living Room Floating Bulbs …               Pink Crystal 3D Butterfly Stickers - 1…                          Local Classic Golden Ara…                   Local 2 Pcs Shine in the …
                                 Last day $8.54                                   $43.49 2 bought                                   $1.81 29 bought                                    Last day $18.47                             Nearly over $5.78
                                              1      13                           Almost sold out                                   Only 6 left                                        Almost sold out                              Extra $0.14 off coupon
                                                   107                                                                                                                                                      122                    Only 7 left




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/acrylic-butterfly-hanging-ornament-set-2d-decorativ
                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                                               5/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 603 of 685 PageID #:656




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu

                                               1pc Monarch Butterfly Wi…           Local 16 Colors Adjustable, Remot…                            20pcs Holographic Butter…                          1pc Moon Key Pendant H…          Local HCNT Levitating Air Bonsai P…
                             Free shipping                                                                                                      Price adjustment
                                                                                                                                                                                                                                                                  Get the Temu App
                               $3.58
                             Special for you 4 bought
                                       $15.99                                     $8.83 264 bought                                  60d lowest $2.54
                                                                                                                                            Within 30$9.58
                                                                                                                                                      days                             Nearly over $0.98                            Nearly over $51.48 $209.50
                                 Only 6 left                0 1         13        Only 1 Left                                        Extra $0.14 off coupon                            Almost sold out                               Extra $0.56 off coupon
                                                                                                                                                                                                            374                   Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse       Almost sold out
                                                                                                                                     Categories              butterfly keychain                                                     Almost sold out           Support          EN
                                                                                                                                                                                                                                  Orders & Account




                                               Sparkling 3D Butterfly Sti…         Local 6 inch Plasma Ball Lamp Scie…                           Wireless LED Desk Lamp …              1pc Green Butterfly Acrylic Pendant …                      40-Pack Glossy Crystal Bu…
                                 Nearly over $6.29 2 bought                       Last day $17.57 $89.99                            Nearly over $9.01                                  Nearly over $2.11 2 bought                   Nearly over $4.85 $8.49
                                 Only 8 left                01 1        13                     1       13                           Almost sold out                                    Almost sold out                              Only 9 left               01 1        13
                                                                                                     64




                                               20pcs Fantasy Themed B…                         1pc Crystal Ball With Met…            Local Mini Innovative High Quality …                            Local 1Pc Electric Neck B…     30 Pink Crystal Butterfly 3D Stickers …
                                 Last day $3.19 $3.60                             $6.58 $29.18 68 bought                            $45.49 $438.09 In 2 carts                          $12.98 $43.61 11 bought                      Last day $2.24 5 bought
                                 Only 8 left                1      13             Almost sold out                                   Almost sold out                                                 0 1           13                Only 6 left               1      13


                                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                                                                       Messages
        COUPONS

                                                                                                                                                                                                                                                                                     Feedback
                             Free shipping special for you                                Price adjustment within 30 days

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                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                                                 6/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 604 of 685 PageID #:657




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu


                             Free shipping                                                                                                      Price adjustment
                             Special for you                                                                                                    Within 30 days
                                                                                                                                                                                                                                                                  Get the Temu App


                                                                                                                                                                                                                                   Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly keychain                                                                               Support        EN
                                                                                                                                                                                                                                   Orders & Account




                                 Butterfly Fairy Acrylic Sun Catcher 1…                         Local Value Pack 40pcs …             Local 360° Rotating Magnetic Levit…                Local Mini Innovative High Quality …                       20pcs/1 Pack, Laser Butte…
                                 $4.93 1 bought                                   $8.45 $31.10 205 bought                           $43.49 1 bought                                    Nearly over $55.24 $79.20                        $1.61 $4.59 3.1K+ bought
                                 Only 3 left                0 1        13         Almost sold out                                   Almost sold out                                    Almost sold out                               Almost sold out
                                                                                                                                                                                                                                                       285




                                 Local Fascia Gun Muscle Massage …                              Local 1PCS Mobile Phon…                           Local Moon Lamp 128 C…                            Crystal Pink Butterfly Stic…                   Local 1pc Magnetic Met…

                                 $10.87 $79.84 17 bought                          $4.93 $25.99 175 bought                           $7.48 $66.00 376 bought                            $3.14 $13.99 5 bought                         Last day $59.84 77 bought
                                 Almost sold out                                  Almost sold out                                   Only 7 left                 0 1        13          Only 1 Left                                   Only 9 left              1     13




                                                                                                                                                                                                                                                                                        99+

         BONUS                                                                                                                                                                                                                                                                       Messages
        COUPONS

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                             Free shipping special for you                                Price adjustment within 30 days

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                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                                                 7/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 605 of 685 PageID #:658




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu

                                              Local Hot Selling Whole…            120-Piece Butterfly Sticker Set - Hol…                         Moon Earth Sun, Three B…                           Charming Hummingbird …                        Local Magnetic Levitatin…
                             Free shipping                                                                                                      Price adjustment
                                                                                                                                                                                                                                                               Get the Temu App
                               $48.33
                             Special for $456.54
                                         you     1 bought                         $12.48 $16.99 216 bought                          $4.98 $20.99
                                                                                                                                            Within  30 bought
                                                                                                                                                 2.7K+ days                            Last day $8.55 $39.00                         $50.97 $456.54 10 viewed
                                 Almost sold out                                  Almost sold out                                   Almost sold out                                    Almost sold out                               Almost sold out
                                                                                                                                                                                                                                   Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories      127 butterfly keychain                                                                                Support            EN
                                                                                                                                                                                                                                   Orders & Account




                                 Local Living Room Floating Bulbs …               Cute Rat Ring Silver Plated Adjustab…                          1 pc Pink Butterfly Hangi…                         Sparkling 3D Butterfly Sti…                  Elegant Crystal Glass Ros…
                                 $38.31 In 1 carts                                Nearly over $1.35                                 $1.81 $9.99 55 bought                              Nearly over $6.29 2 bought                    $10.98 $75.99 356 bought
                                 Almost sold out                                      just rated 5 stars                            Almost sold out                                    Only 8 left Lowest ever                       Almost sold out
                                                                                                     4,431




                                 Local USB C Fast Charger Block Du…                Local 1pc/2pcs PETSITE 2-Tier Rou…                             Local 3-Tier Kitchen Frui…                        Chic Pink Butterfly Acrylic…     1 Set DIY Acrylic Standing Art Kit, Tr…
                                 $7.99 58 bought                                  $63.99                                            $30.98 $136.89 142 bought                          Nearly over $1.79                             Nearly over $6.36
                                 Almost sold out                                  Only 3 left                                       Almost sold out                                                                                  Almost sold out      just bought
                                                                                      Direct from PETSITE
                                                                                                                                        Direct from CNCEST
                                                                                                                                                                                                                                                                                       99+

         BONUS                                                                                                                                                                                                                                                                      Messages
        COUPONS

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                             Free shipping special for you                                Price adjustment within 30 days

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                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                                                8/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 606 of 685 PageID #:659




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu


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                             Special for you                                                                                                    Within 30 days
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                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories              butterfly keychain                                                                                 Support       EN
                                                                                                                                                                                                                                     Orders & Account




                                 Local EDC Fidget Spinner Fidget To…                           1pc 4 Week 7 Day Pill Bo…                         Charming Wooden Kitten…                             Local Indoor Garden Ma…                         Local HCNT Auto-Levita…

                                 $11.45 $34.68 47 viewed                             $8.47 $39.04                                   Nearly over $3.37                                  $47.19 $209.50 2 bought                         $53.06 $137.99 8 bought
                                 Almost sold out                                  Almost sold out                                                01 1         13                       Almost sold out                                  Extra $2.11 off coupon
                                                                                                     494                                                187                                                                            Only 1 Left




                                              40-Pack 3D Butterfly Stic…           Local Tabletop Waterfall Decor Rel…                           1pc Acrylic Chemical Ele…              Local Hot Desk Reading Lamp Livin…             50pcs Colorful Butterfly Stickers Pac…
                                 $5.45 $12.90 45 bought                           $12.49 $68.50 861 bought                          Last day $20.49                                    $47.49 In 2 carts                                  $1.79 34 bought
                                 Almost sold out                                      just bought                                   Almost sold out                                    Almost sold out                                 Only 1 Left
                                                                                                     106                                                400



                                                                                                                                                   View more



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         BONUS                                                                                                                                                                                                                                                                        Messages
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                     About Temu                                                       Return and refund policy                                       Support center & FAQ                                   Track orders any time
                                                                                                                                                                                                                                                                                      Feedback
                            FreeUp,
                     Temu - Team shipping    special for you
                                    Price Down!                                           Price adjustment within 30 days
                                                                                      Intellectual property policy                                   Safety center                                          Low stock items alerts

https://www.temu.com/acrylic-butterfly-hanging-ornament-set-2d-decorativ
                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                                                  9/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 607 of 685 PageID #:660




9/12/24, 2:31 PM                                                                                                                      Acrylic Butterfly Hanging Ornament Set 2d Decorative Pendant - Temu

                     Affiliate & Influencer: Earn Commission                          Shipping info                                                  Temu purchase protection                               Coupons & offers alerts
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                             Special for you                                                                                                     Within 30 days
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                     Careers                                                        Report suspicious activity                                       How to order                                                 App Store         Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale       Local Warehouse              Categories          butterfly keychain                                                                           Support   EN
                                                                                                                                                                                                                                    Orders & Account
                     Press                                                                                                                           How to track
                                                                                                                                                                                                                  Get it on
                     Temu's Tree Planting Program                                                                                                    Partner with Temu                                            Google Play



                     Security certification                                                                                                          We accept




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         BONUS                                                                                                                                                                                                                                                              Messages
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                                                                       e-pendant-for-bags-luggage-tags-and-keychains-accessory-pack-g-601099601352266.html                                                                                                                       10/10
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 608 of 685 PageID #:661




9/12/24, 2:32 PM                                                                                                                                          Temu


                           Free shipping                                                                                                 Free returns
                           Special for you                                                                                               Up to 90 days*
                                                                                                                                                                                                                                                     Get the Temu App


                                    $5.00 Credit for delay


                    Home      Checkout

                                                                                                                                                                                                        Order summary
                               Free shipping special for you

                                                                                                                                                                                                          Enter coupon code                                         Apply
                    Shipping address                                                                                                                                 Change address

                                                                                                                                                                                                        Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                                  Item(s) total:                                                  $5.59

                       CHICAGO, IL 60602-3902, United States                                                                                                                                            Item(s) discount:                                              -$4.50

                                                                                                                                                                                                        Subtotal:                                                       $1.09


                    Ships from Temu (1) 1 item is almost gone!                                                                                                                                          Shipping:                                                       FREE
                                                                                                                                                                                                           Free shipping for items shipped from Temu is an exclusive
                                                    Acrylic Butterfly Hanging Ornament Set - 2D Decorative Pendant for Bags, Luggage Tags, and Keychains Accessory …                                    offer. Please submit your order as soon as possible.
                                                    Butterfly Set
                                                                                                                                                                        Qty:    1                       Sales tax:                                                      $0.11

                                                    Top deals | -80% limited time
                                                                                                                                                                                                        Order total:                                                    $1.20


                             Only 1 left                                                                                                                                                                Plant with Temu
                                                    $1.09 $5.59
                                                                                                                                                                                                             We invite you to plant a tree for $0.35
                    Standard shipping: FREE, delivery: 4-9 business days
                                                                                                                                                                                                                                  Submit order
                                                                                                                                                                                                                                    1 almost sold out
                    Payment methods
                                                                                                                                                                                                            Temu's Tree Planting Program
                                     Visa ...1950                                                                                                                              Edit
                                                                                                                                                                                                        Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                        Future to plant trees across sub-Saharan Africa
                                     Add a new card


                                     PayPal           Remember my PayPal                                                                                                                                    Temu protects your card information
                                                                                                                                                                                                            Temu follows the Payment Card Industry Data Security
                                     Cash App Pay                                                                                                                                                           Standard (PCI DSS) when handling card data
                                                                                                                                                                                                            Card information is secure and uncompromised
                                                                                                                                                                                                            All data is encrypted
                                     Venmo
                                                                                                                                                                                                            Temu never sells your card information

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                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 609 of 685 PageID #:662




9/12/24, 2:32 PM                                                                                                                                          Temu

                                     Google Pay


                                     Afterpay
                                     $20 product minimum applies
                                                                                                                                                                                                            Secure privacy
                                     Klarna                                                                                                                                                             Protecting your privacy is important to us! Please be assured
                                     $20 product minimum applies                                                                                                                                        that your information will be kept secured and
                                                                                                                                                                                                        uncompromised. We do not sell your personal information
                                     Affirm                                                                                                                                                             for money and will only use your information in accordance
                                     $35 product minimum applies                                                                                                                                        with our privacy and cookie policy to provide and improve
                                                                                                                                                                                                        our services to you.
                                     PayPal Pay Later
                                                                                                                                                                                                        Learn more
                                     $30 product minimum applies
                                                                                                                                                                                                            Delivery guarantee
                                                                                                                                                                                                            $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                            15-day no update refund           30-day no delivery refund
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                                                                                                                                                                                                        Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                        wrong, we've always got your back.
                                                                                                                                                                                                        Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"cart_float_layer_type"%3A2%2C"ck_cart_login_status"%3A"1"%2C"ck_float_layer_type"%3A"2"%2C"cart_morgan_token"%3A"360e37e9-9488-4f79-b871-21e1889b726c"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3…   2/2
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 610 of 685 PageID #:663




9/12/24, 2:07 PM                                                                                                                          Unique Acrylic Butterfly Rose Charm Versatile 2d Charm Car - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                                   Get the Temu App


                                                                                                                                                                                                                                      Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse          Categories             blue butterfly                                                                                    Support           EN
                                                                                                                                                                                                                                      Orders & Account


                                 Home       Automotive        Interior Accessories      Unique Acrylic Butterfly &...


                                                                                                                                                                                                        Free shipping special for you                            Exclusive offer


                                                                                                                                                                            Unique Acrylic Butterfly & Rose Charm - Versatile 2D Charm For Car,
                                                                                                                                                                            Holiday season Tree, Backpack - Perfect Couple's Gift & Home Decor
                                                                                                                                                                            5.0                      6 bought Provided by            (16K+ bought)


                                                                                                                                                                            Last day              $1.16 Pay $0.29 today -90% $11.60
                                                                                                                                                                                                     4 interest-free biweekly installments


                                                                                                                                                                                 Lightning deal                  Ends in 12:52:17

                                                                                                                                                                                 Style:

                                                                                                                                                                                   Light Pink Butterfly Only 5 left          Red Rose         Purple Butterfly

                                                                                                                                                                                   Pink-Black Butterfly            Colorful Sunflower Butterfly Only 5 left

                                                                                                                                                                                   Blue Sunflower


                                                                                                                                                                                 Qty      1                   Only 6 left



                                                                                                                                                                                                                   Add to cart
                                                                                                                                                                                                                       Only 6 left



                                                                                                                                                                                   Ships from Temu
                                 2 reviews            5.0                                                        All reviews are from verified purchases
                                                                                                                                                                                       Standard: FREE                                             Express: $12.90 or FREE (orde
                                                                                                                                                                                       Delivery: 4-9 business days, 80.4% within 8                Delivery: 3-7 business days, 7
                                 Item reviews (2)            Provider reviews (2,119)                                                                                                  business days                                              business days
                                                                                                                                                                                       Courier company:        DHL eCommerce ...                  Courier company:         FedEx
                                         cesar perez chavez in               on Sep 11, 2024                                                                                                                                                                                               99+

         BONUS                                                                                                                                                                     Temu's Commitments                                                                                   Messages
        COUPONS
                                      I recommend him excellently.
                                                                                                                                                                                                                                                                                        Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/unique-acrylic-butterfly-rose-pendant-versatile-2d-charm-for-car-christmas-tree-backpack-perfect-couples-gift-home-decor-g-601099538340661.html?is_back=1                                                                                                                   1/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 611 of 685 PageID #:664




9/12/24, 2:07 PM                                                                                                                          Unique Acrylic Butterfly Rose Charm Versatile 2d Charm Car - Temu


                              Free shipping                                                                                                          Free returns
                                      cesar perez chavez in                  on Sep 11, 2024                                                                                                                                                                    Get the Temu App
                              Special for you                                                                                                        Up to 90 days*                Security & Privacy         Delivery guarantee
                                                                                                                                                                                      Safe payments             $5.00 Credit for delay          Return if item damaged
                                                                                                                                                                                                                                   Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse          Categories             blue butterfly                                                                                Support     EN
                                      I recommend good product                                                                                                                                                                     Orders & Account



                                 Reviews from similar items on Temu

                                         An***or in          on Jun 9, 2023



                                   It's most beautiful on one side - the backing is more matte so light doesn't shine thru as
                                 much it coukd have- but it's still gorgeous in my window and I'll be buying more!
                                  This review is for: 1pc 2D Acrylic Colorful Butterfly Pendant Car Interior Hanging Ornament Rea…



                                                                                       See all reviews




                                                         Auto Accessory
                                                         306 Followers          16K+ Bought           4.7

                                                                             Follow                             Shop all items (42)




                                 Details                                                                                        Save     Report this item

                                 Material: Acrylic

                                 Item ID: HW52647 Copy

                                 Store Information




                                 Explore your interests


                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/unique-acrylic-butterfly-rose-pendant-versatile-2d-charm-for-car-christmas-tree-backpack-perfect-couples-gift-home-decor-g-601099538340661.html?is_back=1                                                                                                              2/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 612 of 685 PageID #:665




9/12/24, 2:07 PM                                                                                                                          Unique Acrylic Butterfly Rose Charm Versatile 2d Charm Car - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                                Get the Temu App


                                                                                                                                                                                                                                  Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse          Categories             blue butterfly                                                                                Support          EN
                                                                                                                                                                                                                                  Orders & Account




                                  Local Anti-Gravity Magnetic Levitat…                            2pcs Acrylic Butterfly Pen…                        Local 1Pc Electric Neck B…                       Solid High Waist Tummy …                    2pcs Acrylic Butterfly Cha…
                                 $39.86 2 bought                                    30d lowest $3.39                                   $12.98 $43.61 11 bought                           $8.48 $55.00 30 bought                     Nearly over $1.19
                                 Almost sold out                                    Only 3 left                                                     0 1        1                         Almost sold out                            Almost sold out




                                              1 pc Pink Butterfly Hangi…                          Levitating LED Desk Lam…                           Local 2PCs Weekly Pill B…                         Local 1PC Mini Pocket K…                   1pc Multifunctional USB …
                                 $1.81 $9.99 55 bought                                $53.97 $149.00                                   $5.32 $10.99 95 bought                            $12.48 $16.50 121 bought                   60d lowest $8.97
                                 Almost sold out                                    Only 7 left                                                     0 1        1                                      0 1     1                     Only 2 left
                                                                                                      221




                                                                                                                                                                                                                                                                                      99+

         BONUS                                                                                                                                                                                                                                                                     Messages
        COUPONS

                                                                                                                                                                                                                                                                                   Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/unique-acrylic-butterfly-rose-pendant-versatile-2d-charm-for-car-christmas-tree-backpack-perfect-couples-gift-home-decor-g-601099538340661.html?is_back=1                                                                                                              3/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 613 of 685 PageID #:666




9/12/24, 2:07 PM                                                                                                                          Unique Acrylic Butterfly Rose Charm Versatile 2d Charm Car - Temu

                                               1pc 2D Acrylic Butterfly H…          HCNT Levitating Globe, Black Magn…                 Local HCNT Levitating Air Bonsai P…                            1PCS E27 Metal Lamp Ba…                      Local Active Wireless Au…
                              Free shipping                                                                                                          Free returns
                                                                                                                                                                                                                                                                 Get the Temu App
                                $1.39
                              Special for you58 bought
                                        $7.99                                       $35.06 $103.30 3 bought                                        $51
                                                                                                                                       Nearly overUp to .48
                                                                                                                                                         90 days*
                                                                                                                                                            $209.50                      $6.98 $23.99 163 bought                        $12.47 $39.90 245 bought
                                 Only 2 left                 0 1        1           Almost sold out          just bought               Extra $0.56 off coupon                            Almost sold out
                                                                                                                                                                                                                                   Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse         Almost sold out
                                                                                                                                        Categories             blue butterfly                                                                                Support        EN
                                                                                                                                                                                                                                   Orders & Account




                                 Portable Mini Bullet Massager - USB…                             Local Portable Handheld…                          Festive 2D Acrylic Origina…                        Local Magnetic Levitatin…                   Modern Magnetic Levitat…
                                 Last day $8.54                                     $4.48 $38.88 69 bought                             $1.61 $5.59 31 bought                             $50.97 $456.54 10 viewed                    Last day $48.92 $79.99
                                               1      1                             Almost sold out                                    Almost sold out                                   Almost sold out                             Only 4 left             1     1
                                                    107
                                                                                        Direct from SPORTULI




                                               Local Wireless Earbuds, …                         1pc 4 Week 7 Day Pill Bo…             Local Mini Innovative High Quality …               Local Floating Flowers Lamp With …         Handheld Mini Fan, Travel Mini Fan …
                                 $12.58 $59.99                                        $8.47 $39.04                                     $45.49 $438.09 In 2 carts                         Nearly over $64.99 $75.00                   $5.58 $56.28 1.4K+ bought
                                 Almost sold out                                    Almost sold out                                    Almost sold out                                   Almost sold out                             Almost sold out
                                                    217                                               494                                                                                    Direct from GDRASUYA10                                   84
                                     Direct from Btootos                                                                                                                                                                                                                               99+

         BONUS                                                                                                                                                                                                                                                                      Messages
        COUPONS

                                                                                                                                                                                                                                                                                    Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/unique-acrylic-butterfly-rose-pendant-versatile-2d-charm-for-car-christmas-tree-backpack-perfect-couples-gift-home-decor-g-601099538340661.html?is_back=1                                                                                                               4/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 614 of 685 PageID #:667




9/12/24, 2:07 PM                                                                                                                          Unique Acrylic Butterfly Rose Charm Versatile 2d Charm Car - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                             Get the Temu App


                                                                                                                                                                                                                                 Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse          Categories             blue butterfly                                                                             Support       EN
                                                                                                                                                                                                                                 Orders & Account




                                              Extra-Large 7-Day Pill Or…             Local 16-inch luminous moon lam…                               Express Your Love with C…                         Mini Cube Wooden Alar…                    Local Magnetic Levitatio…

                                    $3.22 $28.04 1.5K+ bought                       $16.99 $42.00 2 viewed                             Last day $1.77 $11.49                             Last day $8.38 $71.99                     $56.08 $481.91 2 viewed

                                                    78                              Almost sold out                                    Almost sold out                                   Almost sold out                           Almost sold out




                                  Local Mini Innovative High Quality …               Local Chinese Style Tabletop Fount…               Portable Handheld Fan Foldable Qu…                             6packs Touch Control He…                  Local 1pc Ashtray Smoki…
                                 Nearly over $55.24 $79.20                          Last day $37.27                                    $10.99 $30.00                                     $29.98 $136.62                            $8.48 $49.85 6 bought
                                 Almost sold out                                    Only 8 left                 1      1               Almost sold out                                                0 1         1                Almost sold out
                                                                                                                                                         424                                                  1,225




                                                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                                                  Messages
        COUPONS

                                                                                                                                                                                                                                                                                Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/unique-acrylic-butterfly-rose-pendant-versatile-2d-charm-for-car-christmas-tree-backpack-perfect-couples-gift-home-decor-g-601099538340661.html?is_back=1                                                                                                           5/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 615 of 685 PageID #:668




9/12/24, 2:07 PM                                                                                                                          Unique Acrylic Butterfly Rose Charm Versatile 2d Charm Car - Temu

                                               Local Magnetic Levitatin…            Portable USB Foldable Fan With Str…                              Local Rain Cloud Humidi…                          Local 1pc Magnetic Met…                   1pc Rotating Water Rippl…
                              Free shipping                                                                                                           Free returns
                                                                                                                                                                                                                                                                   Get the Temu App
                                $49.36
                              Special for $183.99
                                          you     175 bought                        Nearly over $4.54                                  Last day $22
                                                                                                                                                  Up.04
                                                                                                                                                      to $107.01
                                                                                                                                                         90 days*                        Last day $59.84 77 bought                 $10.98 $54.64
                                  Extra $2.11 off coupon                            Only 9 left                                        Almost sold out                                   Only 9 left                1   1                        0 1         1
                                                                                                                                                                                                                                 Hello, Mike Kate
                                 Almost sold
                                     Best    out
                                          Sellers            5-Star Rated           Anniversary Sale104        Local Warehouse            Direct from Keenso
                                                                                                                                        Categories       blue butterfly                                                                                314       Support       EN
                                                                                                                                                                                                                                 Orders & Account




                                               Touch-Controlled Magne…                            Local Outdoor refrigerat…            Local (Black Green) Chinese Style T…                            7-Day, 28-Compartment …      Local 1pc Levitating Moon Table La…
                                 Nearly over $38.47                                 $66.68 $121.98 34 bought                           $34.00 $179.91 197 bought                         $4.77 $41.01 47 bought                    60d lowest $57.49
                                 Only 6 left                 01 1       1           Almost sold out                                    Only 8 left                                       Only 5 left                               Almost sold out




                                  Local Massage Gun Deep Tissue, P…                               Local Magnetic Levitatio…                          Chic Pink Butterfly Acrylic…                      Local Magnetic Power B…      Local 1pc In/outdoor 23.6inch Mo…

                                 $9.64 $81.99 22 bought                             Last day $55.24 $398.74                            Nearly over $1.79                                 Last day $14.44                           $117.79 5 bought
                                 Only 7 left                                        Almost sold out                                                                                      Almost sold out                           Only 7 left                   0 1       1
                                                                                                                                                                                                              201
                                                                                                                                                                                                                                                                                         99+

         BONUS                                                                                                                                                                                                                                                                        Messages
        COUPONS

                                                                                                                                                                                                                                                                                      Feedback
                              Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/unique-acrylic-butterfly-rose-pendant-versatile-2d-charm-for-car-christmas-tree-backpack-perfect-couples-gift-home-decor-g-601099538340661.html?is_back=1                                                                                                                 6/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 616 of 685 PageID #:669




9/12/24, 2:07 PM                                                                                                                          Unique Acrylic Butterfly Rose Charm Versatile 2d Charm Car - Temu


                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                                                       Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale           Local Warehouse          Categories             blue butterfly                                                                                        Support     EN
                                                                                                                                                                                                                                       Orders & Account




                                  Local Magnetic Levitation Cloud Ni…                            1pc Creative Night Light, …           Local Phone Gimbal 3-Axis Smartp…                  Local Magnetic Floating Levitating …                        Local High suction cordl…
                                 Last day $66.59 In 2 carts                         $5.38 $8.79 423 bought                             $36.49 $176.18 261 bought                         $46.47 26 viewed                                Lowest ever $16.61
                                 Almost sold out                                    Almost sold out                                    Only 1 Left                                       Almost sold out                                             0 1         1
                                                                                                                                                                                                                                                           766




                                              Crystal Glass Rose Flower…                          Local Hot Selling Whole…             1pc Floating Moon Lamp, Magnetic…                               Local 7 colors modern s…          Works With Apple Find My Key Sma…
                                 Last day $10.72 $58.03                             $48.33 $456.54 1 bought                            Nearly over $37.59                                $31.07 $39.99 55 bought                         $5.79 $20.70 5.5K+ bought
                                 Almost sold out                                    Almost sold out                                    Almost sold out                                   Almost sold out                                 Best Seller in Phone Accessories in…
                                                                                                                                                         146                                                                                               281
                                                                                                                                                                                             Direct from FWMB



                                                                                                                                                     View more



                                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                                            Messages
        COUPONS
             Company info                                                              Customer service                                                Help                                               Download the Temu App                                      Connect with Temu

                     About Temu                                                        Return and refund policy                                        Support center & FAQ                                   Track orders any time
                                                                                                                                                                                                                                                                                          Feedback
                            FreeUp,
                     Temu - Team shipping    special for you
                                    Price Down!                                            Price adjustment within 30 days
                                                                                       Intellectual property policy                                    Safety center                                          Low stock items alerts

https://www.temu.com/unique-acrylic-butterfly-rose-pendant-versatile-2d-charm-for-car-christmas-tree-backpack-perfect-couples-gift-home-decor-g-601099538340661.html?is_back=1                                                                                                                     7/8
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 617 of 685 PageID #:670




9/12/24, 2:07 PM                                                                                                                          Unique Acrylic Butterfly Rose Charm Versatile 2d Charm Car - Temu

                     Affiliate & Influencer: Earn Commission                           Shipping info                                                  Temu purchase protection                                Coupons & offers alerts
                              Free shipping                                                                                                          Free returns
                              Special for you                                                                                                        Up to 90 days*
                                                                                                                                                                                                                                                           Get the Temu App
                     Contact us                                                        Your Recalls and Product Safety Alerts                          Sitemap
                                                                                                                                                                                                                    Download on the
                     Careers                                                          Report suspicious activity                                       How to order                                                 App Store         Hello, Mike Kate
                                       Best Sellers          5-Star Rated           Anniversary Sale       Local Warehouse              Categories          blue butterfly                                                                               Support   EN
                                                                                                                                                                                                                                      Orders & Account
                     Press                                                                                                                             How to track
                                                                                                                                                                                                                    Get it on
                     Temu's Tree Planting Program                                                                                                      Partner with Temu                                            Google Play



                     Security certification                                                                                                            We accept




                                                                                                         © 2024 WhaleCo Inc.        Terms of use      Privacy policy    Your privacy choices           Ad Choices




                                                                                                                                                                                                                                                                                 99+

         BONUS                                                                                                                                                                                                                                                                Messages
        COUPONS

                                                                                                                                                                                                                                                                              Feedback



https://www.temu.com/unique-acrylic-butterfly-rose-pendant-versatile-2d-charm-for-car-christmas-tree-backpack-perfect-couples-gift-home-decor-g-601099538340661.html?is_back=1                                                                                                         8/8
                              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 618 of 685 PageID #:671




9/12/24, 2:09 PM                                                                                                                                          Temu


                           Free shipping                                                                                                 Free returns
                           Special for you                                                                                               Up to 90 days*
                                                                                                                                                                                                                                                      Get the Temu App


                                    $5.00 Credit for delay


                    Home      Checkout

                                                                                                                                                                                                        Order summary
                               Free shipping special for you

                                                                                                                                                                                                           Enter coupon code                                        Apply
                    Shipping address                                                                                                                                 Change address

                                                                                                                                                                                                        Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                                  Item(s) total:                                                 $27.95

                       CHICAGO, IL 60602-3902, United States                                                                                                                                            Item(s) discount:                                             -$22.15

                                                                                                                                                                                                        Subtotal:                                                        $5.80


                    Ships from Temu (5) 1 item is almost gone!                                                                                                                                          Shipping:                                                        FREE
                                                                                                                                                                                                           Free shipping for items shipped from Temu is an exclusive
                                                    Unique Acrylic Butterfly & Rose Charm - Versatile 2D Charm For Car, Holiday season Tree, Backpack - Perfect Coupl…                                  offer. Please submit your order as soon as possible.
                                                    Light Pink Butterfly
                                                                                                                                                                        Qty:                            Sales tax:                                                       $0.59

                                                    Lightning deal | -79% final hours
                                                                                                                                                                                                        Order total:                                                    $6.39


                             Only 5 left                                                                                                                                                                Plant with Temu
                                                       $1.16 $5.59
                                                                                                                                                                                                              We invite you to plant a tree for $0.35
                    Standard shipping: FREE, delivery: 4-9 business days
                                                                                                                                                                                                                                   Submit order
                                                                                                                                                                                                                                    1 almost sold out
                    Payment methods
                                                                                                                                                                                                            Temu's Tree Planting Program
                                     Visa ...1950                                                                                                                               Edit
                                                                                                                                                                                                        Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                        Future to plant trees across sub-Saharan Africa
                                     Add a new card


                                     PayPal           Remember my PayPal                                                                                                                                    Temu protects your card information
                                                                                                                                                                                                            Temu follows the Payment Card Industry Data Security
                                     Cash App Pay                                                                                                                                                           Standard (PCI DSS) when handling card data
                                                                                                                                                                                                            Card information is secure and uncompromised
                                                                                                                                                                                                            All data is encrypted
                                     Venmo
                                                                                                                                                                                                            Temu never sells your card information

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                              Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 619 of 685 PageID #:672




9/12/24, 2:09 PM                                                                                                                                          Temu

                                     Google Pay


                                     Afterpay
                                     $20 product minimum applies
                                                                                                                                                                                                            Secure privacy
                                     Klarna                                                                                                                                                             Protecting your privacy is important to us! Please be assured
                                     $20 product minimum applies                                                                                                                                        that your information will be kept secured and
                                                                                                                                                                                                        uncompromised. We do not sell your personal information
                                     Affirm                                                                                                                                                             for money and will only use your information in accordance
                                     $35 product minimum applies                                                                                                                                        with our privacy and cookie policy to provide and improve
                                                                                                                                                                                                        our services to you.
                                     PayPal Pay Later
                                                                                                                                                                                                        Learn more
                                     $30 product minimum applies
                                                                                                                                                                                                            Delivery guarantee
                                                                                                                                                                                                            $5.00 Credit for delay           Return if item damaged
                                                                                                                                                                                                            15-day no update refund            30-day no delivery refund
                                                                                                                                                                                                        Learn more

                                                                                                                                                                                                            Temu purchase protection
                                                                                                                                                                                                        Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                        wrong, we've always got your back.
                                                                                                                                                                                                        Learn more




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                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 620 of 685 PageID #:673




9/12/24, 2:04 PM                                                                                                                                Acrylic Unique Christmas Tree Decoration - Temu


                             Free shipping                                                                                                         Free returns
                             Special for you                                                                                                       Up to 90 days*
                                                                                                                                                                                                                                                              Get the Temu App


                                                                                                                                                                                                                                 Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly stickers                                                                            Support           EN
                                                                                                                                                                                                                                 Orders & Account


                                 Home      Jewelry & Accessories        Women's Keyrings & Keychains            1pc Acrylic Unique Pink Bu...


                                                                                                                                                                                  Free shipping special for you                                         Exclusive offer

                                                                                                                                                                         1pc Acrylic Unique Pink Butterfly Christmas Tree Decoration Pendant,
                                                                                                                                                                         Backpack Car Pendant, Halloween Home Decoration
                                                                                                                                                                         4.9                      129 bought Provided by         (57K+ bought)


                                                                                                                                                                         Lowest ever $0.74 -93% limited time $11.49

                                                                                                                                                                           Big sale                  Ends in 05:12:55:27

                                                                                                                                                                           Material: Pink Acrylic Butterfly

                                                                                                                                                                           Qty        1                 Almost sold out



                                                                                                                                                                                                              Add to cart
                                                                                                                                                                                                               Almost sold out



                                                                                                                                                                               Ships from Temu

                                                                                                                                                                                  Standard: FREE                                             Express: $12.90 or FREE (orde
                                                                                                                                                                                  Delivery: 4-9 business days, 80.4% within 8                Delivery: 3-7 business days, 7
                                                                                                                                                                                  business days                                              business days
                                                                                                                                                                                  Courier company:        DHL eCommerce ...                  Courier company:        FedEx


                                                                                                                                                                               Temu's Commitments

                                 11 reviews           4.9                                                      All reviews are from verified purchases                            Security & Privacy        Delivery guarantee
                                                                                                                                                                                    Safe payments             $5.00 Credit for delay          Return if item damaged
                                 Item reviews (11)          Provider reviews (4,515)                                                                                                Secure privacy            15-day no update refund         30-day no delivery refund


                                                                                                                                                                               Free returns Price adjustment
                                                                                                                                                                                                                                                                                     99+
                                         (7)         Satisfied(2)          Pretty(2)         Good Quality Price(1)              Love It(2)
         BONUS                                                                                                                                                                 Temu's Tree Planting Program (14M+ trees)
                                                                                                                                                                                                                                                                                  Messages
        COUPONS                          97***85 in         on Sep 6, 2024

                                                                                                                                                                                                                                                                                  Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                                                              1/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 621 of 685 PageID #:674




9/12/24, 2:04 PM                                                                                                                                Acrylic Unique Christmas Tree Decoration - Temu

                               very
                             Free   pretty. love it, awesome! thanks temu
                                  shipping                                                                                                         Free returns
                             Special for you                                                                                                       Up to 90 days*
                                                                                                                                                                                                                       Get the Temu App

                                         Linda Langley in           on Sep 6, 2024
                                                                                                                                                                                                  Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly stickers                                      Support   EN
                                                                                                                                                                                                  Orders & Account

                                 very pretty. love it, quality/price good.,


                                         br***on in        on Sep 1, 2024



                                 pleased with product



                                                                                      See all reviews




                                                        Noble romantic cottage
                                                        154 Followers         57K+ Bought           4.8

                                                                   Contact provider                           Follow                  All items (37)




                                 Details                                                                                      Save     Report this item

                                 Type: Women's Novelty Key Chains

                                 Number of Pieces: Single

                                 Theme: Festival,Celebrity Peripherals,Simulation Modeling

                                 See more




                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                          Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                      2/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 622 of 685 PageID #:675




9/12/24, 2:04 PM                                                                                                                                Acrylic Unique Christmas Tree Decoration - Temu


                             Free shipping                                                                                                         Free returns
                             Special for you                                                                                                       Up to 90 days*
                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                  Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly stickers                                      Support   EN
                                                                                                                                                                                                  Orders & Account




                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                          Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                      3/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 623 of 685 PageID #:676




9/12/24, 2:04 PM                                                                                                                                Acrylic Unique Christmas Tree Decoration - Temu


                             Free shipping                                                                                                         Free returns
                             Special for you                                                                                                       Up to 90 days*
                                                                                                                                                                                                                       Get the Temu App


                                                                                                                                                                                                  Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly stickers                                      Support   EN
                                                                                                                                                                                                  Orders & Account




                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                            Messages
        COUPONS
                                 Explore your interests
                                                                                                                                                                                                                                          Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                      4/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 624 of 685 PageID #:677




9/12/24, 2:04 PM                                                                                                                                Acrylic Unique Christmas Tree Decoration - Temu


                             Free shipping                                                                                                         Free returns
                             Special for you                                                                                                       Up to 90 days*
                                                                                                                                                                                                                                                          Get the Temu App


                                                                                                                                                                                                                              Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly stickers                                                                        Support            EN
                                                                                                                                                                                                                              Orders & Account




                                               1pc Levitating LED Bulb L…          Local 16-inch luminous moon lam…                               Modern Polished Metal R…                        Local Magnetic Levitatio…                 1pc Butterfly Statue, Vibr…
                                 $43.98 $129.99 51 bought                         $16.99 $42.00 2 viewed                            Nearly over $9.07 3 bought                        $56.08 $481.91 2 viewed                   $6.18 $49.99 974 bought
                                 Only 7 left                0 1                   Almost sold out                                   Only 9 left                                       Almost sold out                           Almost sold out
                                                                                                                                                                                                                                                 52




                                 Local HCNT Levitating Air Bonsai P…              HCNT Levitating Globe, Black Magn…                              Strapless Strapon Panties:…                     Solid High Waist Tummy …                   Local Magnetic Levitatin…
                                 Nearly over $51.48 $209.50                       $35.06 $103.30 3 bought                           $13.79 $56.99 586 bought                          $8.48 $55.00 30 bought                    $50.97 $456.54 10 viewed
                                 Extra $0.56 off coupon                           Almost sold out          just bought              Almost sold out                                   Almost sold out                           Almost sold out
                                 Almost sold out




                                                                                                                                                                                                                                                                                  99+

         BONUS                                                                                                                                                                                                                                                                 Messages
        COUPONS

                                                                                                                                                                                                                                                                               Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                                                           5/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 625 of 685 PageID #:678




9/12/24, 2:04 PM                                                                                                                                Acrylic Unique Christmas Tree Decoration - Temu

                                 Local Anti-Gravity Magnetic Levitat…                           Local Magnetic Levitatio…                         1pc Creative Night Light, …          Local EDC Fidget Spinner Fidget To…                  Mini Cube Wooden Alar…
                             Free shipping                                                                                                         Free returns
                                                                                                                                                                                                                                                          Get the Temu App
                               $39.86
                             Special for 2you
                                           bought                                 Last day $55.24 $398.74                           $5.38 $8.79Up
                                                                                                                                                423to 90 days*
                                                                                                                                                    bought                            $11.45 $34.68 39 viewed                   Last day $8.38 $71.99
                                 Almost sold out                                  Almost sold out                                   Almost sold out                                   Almost sold out                           Almost sold out
                                                                                                                                                                                                                              Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly stickers                                                                       Support            EN
                                                                                                                                                                                                                              Orders & Account




                                 Local Mini Innovative High Quality …             1pc 2D Butterfly Keychain Acrylic Ke…                           Local All copper waterfal…                      1pc Magnetic Suspensio…        Local Purple Crystal Lily Flower Fig…

                                 $45.49 $438.09 In 2 carts                        $1.49 $11.49 414 bought                              $76.42 $386.57 93 bought                       Nearly over $55.88                        $16.55 $42.00 38 bought
                                 Almost sold out                                  Only 8 left                                       Only 9 left                                       Almost sold out                           Almost sold out
                                                                                                     55                                                                                              123




                                 Portable Mini Bullet Massager - USB…                           Mini 2-inch Solar-powere…                         Local Floating Light Bulb…                      Local Magnetic Levitatin…      Local Velvet Swivel Accent Chair wi…
                                 Last day $8.54                                      $4.97 $42.02 1.2K+ bought                      $47.48 $149.00 87 bought                          $49.36 $183.99 175 bought                 $210.49 $1,723.12 79 bought
                                              1                                   Almost sold out                                   Almost sold out                                    Extra $2.11 off coupon                   Only 1 Left
                                                   107                                               71                                                                               Almost sold out


                                                                                                                                                                                                                                                                                 99+

         BONUS                                                                                                                                                                                                                                                                Messages
        COUPONS

                                                                                                                                                                                                                                                                              Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                                                          6/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 626 of 685 PageID #:679




9/12/24, 2:04 PM                                                                                                                                Acrylic Unique Christmas Tree Decoration - Temu


                             Free shipping                                                                                                         Free returns
                             Special for you                                                                                                       Up to 90 days*
                                                                                                                                                                                                                                                             Get the Temu App


                                                                                                                                                                                                                                 Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly stickers                                                                           Support          EN
                                                                                                                                                                                                                                 Orders & Account




                                              Stay Healthy And Organi…            Gaiatop Portable Handheld Fan, Fol…                Local Mini Innovative High Quality …                           Local 1pc Magnetic Met…                    Moon Earth Sun, Three B…
                                   $13.27 $43.38                                  $8.49 $38.88        7.3K+ bought                  Nearly over $55.24 $79.20                         Last day $59.84 77 bought                    $4.98 $20.99 2.7K+ bought
                                 Almost sold out                                  Almost sold out                                   Almost sold out                                   Only 9 left              1                   Almost sold out
                                                   291                                               482                                                                                                                                            127
                                                                                      Direct from GAIATOP




                                 Local 1pc Levitating Moon Table La…               Local Mini fascia gun rechargeable…                            Local Binocular Opera Gl…                         1pc Crystal Ball With Met…                  Local Hot Selling Whole…
                                 60d lowest $57.49                                Last day $19.47 $79.84                            $9.88 $58.56 8 bought                             $6.58 $29.18 68 bought                       $48.33 $456.54 1 bought
                                 Almost sold out                                  Only 8 left                 1                     Almost sold out                                   Almost sold out                              Almost sold out




                                                                                                                                                                                                                                                                                   99+

         BONUS                                                                                                                                                                                                                                                                  Messages
        COUPONS

                                                                                                                                                                                                                                                                                Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                                                            7/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 627 of 685 PageID #:680




9/12/24, 2:04 PM                                                                                                                                Acrylic Unique Christmas Tree Decoration - Temu


                             Free shipping                                                                                                         Free returns
                             Special for you                                                                                                       Up to 90 days*
                                                                                                                                                                                                                                                         Get the Temu App


                                                                                                                                                                                                                             Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale            Local Warehouse         Categories             butterfly stickers                                                                     Support           EN
                                                                                                                                                                                                                             Orders & Account




                                              Local 12*10FT sand colo…                          Local Nail desk light, thr…                       Dandelion Wishes Crystal…                       Local Mini Camera, Hidd…      Local Chinese Style Tabletop Fount…

                                 $220.98 $375.00 9 bought                         $38.07 $236.98 123 bought                         Nearly over $15.97                                   $10.58 $62.12 201 bought              Last day $37.27
                                 Almost sold out                                  Almost sold out                                   Almost sold out                                                                            Only 8 left          1
                                                                                                                                                      57




                                              Local Concrete Art Side …                         1pc, Rose Quartz Crystal …                        Touch-Controlled Magne…             1set Of 1pc White And 1pc Black 7-…       Local Fascia Gun Muscle Massage …

                                 $60.98 $365.61 71 bought                            $7.97 $62.54                                   Nearly over $38.47                                Nearly over $5.27                        $10.87 $79.84 17 bought
                                 Almost sold out                                  Only 5 left                                       Only 6 left                 01 1                  Almost sold out                          Almost sold out
                                                                                                     102




                                                                                                                                                                                                                                                                               99+

         BONUS                                                                                                                                                                                                                                                              Messages
        COUPONS

                                                                                                                                                                                                                                                                            Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                                                        8/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 628 of 685 PageID #:681




9/12/24, 2:04 PM                                                                                                                                Acrylic Unique Christmas Tree Decoration - Temu

                                               Hcnt Magnetic Levitating…           Local Floating Flowers Lamp With …               Women's Stripe Print Sexy Lace Tri…                Local Phone Gimbal 3-Axis Smartp…        Marshall Amplification Logo Men's …
                             Free shipping                                                                                                         Free returns
                                                                                                                                                                                                                                                            Get the Temu App
                               Last day
                             Special       $55.17 50 bought
                                     for you                                      Nearly over $64.99 $75.00                         $8.48         Upbought
                                                                                                                                               1.1K+ to 90 days*                      $36.49 $176.18 261 bought                 $6.52 349 bought
                                 Only 6 left                1                     Almost sold out                                   Almost sold out                                   Only 1 Left                               Almost sold out
                                                                                                                                                                                                                              Hello, Mike Kate
                                      Best Sellers          5-Star Rated             Direct from
                                                                                  Anniversary SaleGDRASUYA10
                                                                                                      Local Warehouse                 Categories             butterfly stickers                                                                         Support         EN
                                                                                                                                                                                                                              Orders & Account




                                 Local 6Pcs, Acrylic pendant decorat…                           Local Magnetic Levitatio…            Local Magnetic Levitation Cloud At…                          1pc 4 Week 7 Day Pill Bo…                   Modern Magnetic Levitat…
                                 $10.98 4 bought                                  Last day $49.72 $398.74                           Last day $70.29 6 viewed                             $8.47 $39.04                           Last day $48.92 $79.99
                                 Almost sold out                                  Almost sold out                                   Almost sold out                                   Almost sold out                           Only 4 left             1
                                                                                                                                                                                                       494




                                 Local Chery Industrial 19x20 FT Mo…                            Local K9 cute cat home …                          Stretch Solid Sexy Men's …                        Local Indoor Garden Ma…                   Local 3D Hologram Proj…

                                 $15,911.76 In 27K+ carts                         $13.46 $39.85 404 bought                             $6.67 $30.99 895 bought                        $47.19 $209.50 2 bought                   $65.82 $86.00 137 bought
                                 Almost sold out                                  Almost sold out                                   Only 6 left                                       Almost sold out                           Almost sold out
                                                                                                                                                      83


                                                                                                                                                                                                                                                                                  99+
                                                                                                                                                   View more
         BONUS                                                                                                                                                                                                                                                                 Messages
        COUPONS

                                                                                                                                                                                                                                                                               Feedback
                             Free shipping special for you                                Price adjustment within 30 days

https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                                                           9/10
                                Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 629 of 685 PageID #:682




9/12/24, 2:04 PM                                                                                                                                 Acrylic Unique Christmas Tree Decoration - Temu


                             Free shipping                                                                                                         Free returns
                         Special
                                                                                                                                                                                                                                                       Get the Temu App
                     Company infofor you                                              Customer service                                             Up to 90 days*
                                                                                                                                                    Help                                            Download the Temu App                            Connect with Temu

                     About Temu                                                     Return and refund policy                                         Support center & FAQ                                Track orders any time
                                                                                                                                                                                                                                  Hello, Mike Kate
                                      Best Sellers          5-Star Rated          Anniversary Sale        Local Warehouse             Categories           butterfly stickers                                                                        Support     EN
                     Temu - Team Up, Price Down!                                                                                                                                                                                  Orders & Account
                                                                                    Intellectual property policy                                     Safety center                                       Low stock items alerts
                     Affiliate & Influencer: Earn Commission
                                                                                      Shipping info                                                  Temu purchase protection                            Coupons & offers alerts
                     Contact us
                                                                                      Your Recalls and Product Safety Alerts                         Sitemap
                                                                                                                                                                                                                Download on the
                     Careers
                                                                                      Report suspicious activity                                     How to order                                               App Store
                     Press
                                                                                                                                                     How to track
                                                                                                                                                                                                                Get it on
                     Temu's Tree Planting Program
                                                                                                                                                     Partner with Temu                                          Google Play



                     Security certification                                                                                                          We accept




                                                                                                       © 2024 WhaleCo Inc.        Terms of use     Privacy policy     Your privacy choices         Ad Choices




                                                                                                                                                                                                                                                                             99+

         BONUS                                                                                                                                                                                                                                                            Messages
        COUPONS

                                                                                                                                                                                                                                                                          Feedback



https://www.temu.com/1pc-acrylic-unique--butterfly-christmas-tree-decoration-pendant-backpack-car-pendant-halloween-home-decoration-g-601099558765362.html                                                                                                                     10/10
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 630 of 685 PageID #:683




9/12/24, 2:05 PM                                                                                                                                       Temu


                           Free shipping                                                                                          Delivery guarantee
                           Special for you                                                                                        Refund for any issues
                                                                                                                                                                                                                                                 Get the Temu App


                                   30-day no delivery refund


                   Home       Checkout

                                                                                                                                                                                                    Order summary
                              Free shipping special for you

                                                                                                                                                                                                       Enter coupon code                                       Apply
                   Shipping address                                                                                                                               Change address

                                                                                                                                                                                                    Apply coupon code
                       Mike Kate +1 (847)653-0228
                       1 N La Salle St                                                                                                                                                              Item(s) total:                                               $344.70

                       CHICAGO, IL 60602-3902, United States                                                                                                                                        Item(s) discount:                                          -$322.50

                                                                                                                                                                                                    Subtotal:                                                     $22.20


                   Ships from Temu (30) 1 item is almost gone!                                                                                                                                      Shipping:                                                       FREE
                                                                                                                                                                                                       Free shipping for items shipped from Temu is an exclusive
                                                    1pc Acrylic Unique Pink Butterfly Christmas Tree Decoration Pendant, Backpack Car Pendant, Halloween Home Dec…                                  offer. Please submit your order as soon as possible.
                                                    Pink Acrylic Butterfly
                                                                                                                                                                     Qty:    30                     Sales tax:                                                      $2.28

                                                    Big sale | -93% limited time
                                                                                                                                                                                                    Order total:                                                 $24.48


                          Almost sold out                                                                                                                                                           Plant with Temu
                                                    $0.74 $11.49
                                                                                                                                                                                                          We invite you to plant a tree for $0.35
                   Standard shipping: FREE, delivery: 4-9 business days
                                                                                                                                                                                                                              Submit order
                                                                                                                                                                                                                                 1 almost sold out
                   Payment methods
                                                                                                                                                                                                         Temu's Tree Planting Program
                                    Visa ...1950                                                                                                                            Edit
                                                                                                                                                                                                    Temu and its users have donated funds to Trees for the
                                                                                                                                                                                                    Future to plant trees across sub-Saharan Africa
                                    Add a new card


                                    PayPal           Remember my PayPal                                                                                                                                  Temu protects your card information
                                                                                                                                                                                                         Temu follows the Payment Card Industry Data Security
                                    Cash App Pay                                                                                                                                                         Standard (PCI DSS) when handling card data
                                                                                                                                                                                                         Card information is secure and uncompromised
                                                                                                                                                                                                         All data is encrypted
                                    Afterpay       4 interest-free payments of $6.12
                                                                                                                                                                                                         Temu never sells your card information

https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"54a14a30-5197-4d5d-abde-ae6f98167192"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"1500"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   1/2
                             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 631 of 685 PageID #:684




9/12/24, 2:05 PM                                                                                                                                       Temu

                                    Klarna      4 interest-free payments of $6.12


                                    Venmo

                                                                                                                                                                                                         Secure privacy
                                    Google Pay                                                                                                                                                      Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                    that your information will be kept secured and
                                    Affirm                                                                                                                                                          uncompromised. We do not sell your personal information
                                    $35 product minimum applies                                                                                                                                     for money and will only use your information in accordance
                                                                                                                                                                                                    with our privacy and cookie policy to provide and improve
                                    PayPal Pay Later                                                                                                                                                our services to you.
                                    $30 product minimum applies                                                                                                                                     Learn more

                                                                                                                                                                                                         Delivery guarantee
                                                                                                                                                                                                         $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                                         15-day no update refund          30-day no delivery refund
                                                                                                                                                                                                    Learn more

                                                                                                                                                                                                         Temu purchase protection
                                                                                                                                                                                                    Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                    wrong, we've always got your back.
                                                                                                                                                                                                    Learn more




https://www.temu.com/bgt_order_checkout.html?extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"54a14a30-5197-4d5d-abde-ae6f98167192"%2C"morgan_promotion_strategy"%3A"1"%2C"ck_float_layer_strong_threshold"%3A"1500"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_…   2/2
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 632 of 685 PageID #:685




                                                                                                                   Free returns
              Free shipping                                                                                        Up to 90 days*
                                                                                                                                                                                                                  Get the Temu App
              On items shipped from Temu
                                                                                                                Price adjustment
                                                                                                                                                                                               Orders &
                   Best Sellers    5-Star Rated       Early Black Friday   Local Warehouse     Categories     butterfly jewelry                                                                                  Support     EN
                                                                                                                                                                                               Account


                   Home      Home & Kitchen       Event & Party Supplies   10 Pairs of Vibrant Butter...

                                                                                                                                  10 Pairs of Vibrant Butterfly Earrings Set - Fashion Jewelry
                                                                                                                                  Packs with 2D Acrylic Material, Colorful Designs, Small and
                                                                                                                                  Exquisite, Perfect for Halloween, Thanksgiving, Autumn,
                                                                                                                                  Winter, and Daily Wear
                                                                                                                                        Local warehouse       Fastest delivery in 3 business days

                                                                                                                                  65 sold Provided by          (1.2K+ sold)                           3.7
                                                                                                                                  #4 Best Seller from this provider


                                                                                                                                  Last day $11.18 Pay $2.79 today Special sale
                                                                                                                                                       4 interest-free biweekly installments



                                                                                                                                         Free shipping on orders over $30 from this provider


                                                                                                                                  Quantity: 10 Pairs

                                                                                                                                  Qty      1                 Almost sold out


                                                                                                                                                                                                Buy now
                                                                                                                                                Add to cart
                                                                                                                                                                                               Faster dispatch



                                                                                                                                        Ships from this local warehouse
                                                                                                                                        Standard: $2.99 or FREE (if ordering $30.00+ from this local warehouse),
                                                                                                                                        Fastest delivery in 3 business days
                   3 reviews           3.7                                   All reviews are from verified purchases
                                                                                                                                        Temu's Commitments
                   Item reviews (3)          Provider reviews (109)                                                                      Security & Privacy        Delivery guarantee
                                                                                                                                            Safe payments            $5.00 Credit for delay          Return if item damag
                                                                                                                                            Secure privacy           15-day no update refund         20-day no delivery re
                          (3)

                                                                                                                                        Free returns Price adjustment
                          91***93 in      on Sep 14, 2024
                                                                                                                                        Temu's Tree Planting Program (14M+ trees)

                   love this, very cute


                          Hedy Ann Porch in         on Sep 12, 2024




                          pu***ni in                                                                                                                                                                                                 95
                                          on Sep 28, 2024
 BONUS
COUPONS
                   they sent animal earrings instead of the butterflys
              Free shipping on items shipped from
                                                                                  Price adjustment within 30 days
              Temu
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 633 of 685 PageID #:686




                                                                                                               Free returns
              Free shipping                               See all reviews                                      Up to 90 days*
                                                                                                                                            Get the Temu App
              On items shipped from Temu
                                                                                                           Price adjustment
                                                                                                                                Orders &
                   Best Sellers   5-Star Rated     Early Black Friday   Local Warehouse   Categories     butterfly jewelry                 Support   EN
                                    Our Festival Gifts                                                                          Account

                                    25 Followers       1.2K+ Sold       4.7

                                            Contact provider                  Follow          All items (61)


                      High repeat customers provider




                   Details                                                             Save   Report this item

                   Occasion: Wedding,Generaling Fit,Other,tailgating

                   Holidays: Christmas,Halloween,Thanksgiving

                   Theme: Other Topics

                   See more

                       Learn about dimensions




                                                                                                                                                               95
 BONUS
COUPONS

              Free shipping on items shipped from
                                                                               Price adjustment within 30 days
              Temu
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 634 of 685 PageID #:687




                                                                                                          Free returns
              Free shipping                                                                               Up to 90 days*
                                                                                                                                       Get the Temu App
              On items shipped from Temu
                                                                                                      Price adjustment
                                                                                                                           Orders &
                   Best Sellers   5-Star Rated   Early Black Friday   Local Warehouse   Categories   butterfly jewelry                Support   EN
                                                                                                                           Account




                                                                                                                                                          95
 BONUS
COUPONS

              Free shipping on items shipped from
                                                                           Price adjustment within 30 days
              TemuExplore your interests
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 635 of 685 PageID #:688




                      p           y                                                                                  Free returns
              Free shipping                                                                                          Up to 90 days*
                                                                                                                                                                                                         Get the Temu App
              On items shipped from Temu
                                                                                                                 Price adjustment
                                                                                                                                                                                      Orders &
                   Best Sellers       5-Star Rated    Early Black Friday    Local Warehouse   Categories        butterfly jewelry                                                                       Support       EN
                                                                                                                                                                                      Account




                   1 Pair of Exquisite St. Patrick's Day…   Local 6 Packs of 180 Sheets Retr…     6 Pairs Exquisite Butterfly Design …   Local S925 Glow-at-Ninght Firefl…     50pcs Vibrant Nostalgic Clocks Ca…

                   $0.64 $1.49 456 sold                     $10.98 $19.99 55 sold                 $4.83 $12.89 2.6K+ sold                  $7.67 $19.99 334 sold               $1.70 $5.99 3.6K+ sold
                                                            Almost sold out                       Almost sold out                                                              Almost sold out
                      High repeat customers provi…                                                                345                       Authorized by Annmors                             456
                                                               Low item return rate provider         High repeat customers provi…                                                 High repeat customers provi…




                   Shimmering 3D Butterfly Stickers …       Chic Blue Butterfly Dangle Earring…   Local 180 Sheets of Scrapbook P…       40pcs Iridescent PET Butterfly and…   Local 320 Pieces Colorful Butterfl…

                   Just once $3.40 $11.99                   $0.74 $1.99 800 sold                  $10.07 $15.99 37 sold                  Last day $5.94 $8.39                  $8.05 $15.99
                   Only 6 left                              Almost sold out                       Only 3 left                            Almost sold out                       Almost sold out
                                                                           85
                                                               High repeat customers provi…                                                 High repeat customers provi…




                   Local Colorful Butterfly Acrylic Ea…     80 PCS Zhi Lan Man Di Series Stic…    60pcs Flower, Moon & Animal Th…        8 Rolls PET Waterproof Transpare…     Chic Acrylic Butterfly Dangle Earri…

                   $4.44 $17.99                             $17.57 159 sold                       $2.75 179 sold                         $11.27 $21.99 434 sold                $0.63 $1.98 952 sold
                   Almost sold out                          Almost sold out                       Almost sold out                        Almost sold out                                      101
                                                                                                                                                                                                                            95
                      High repeat customers provi…                                                   Established 1 year ago                                                       High repeat customers provi…
 BONUS
                                                               High repeat customers provi…                                                 High repeat customers provi…
COUPONS

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                                                                                   Price adjustment within 30 days
              Temu
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 636 of 685 PageID #:689




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              Free shipping                                                                                       Up to 90 days*
                                                                                                                                                                                                  Get the Temu App
              On items shipped from Temu
                                                                                                               Price adjustment
                                                                                                                                                                               Orders &
                   Best Sellers    5-Star Rated    Early Black Friday   Local Warehouse    Categories        butterfly jewelry                                                                   Support       EN
                                                                                                                                                                               Account




                   Local Gothic Black Butterfly Holl…    Vintage Sky Blue Scrapbook Pape…      Local 600PCS Scrapbook Paper P…     Charming Butterfly Acrylic Hangin…   Local 3 Pieces Gradient Butterfly …

                   $6.78 $29.99 14 sold                  $4.03 $4.71 133 sold                  $18.99 1 sold                       $1.80 $6.99 2 sold                   $8.63 $29.99 16 sold
                   Only 1 Left                           Almost sold out                       Only 9 left                                                              Only 5 left


                      Low item return rate provider         High repeat customers provi…




                   Shimmering Golden Butterfly Stic…     120pcs Vintage Gold-Stamped Flo…      Local 1 Pair Simple Retro Pumpki…   Local Charming 6-piece Colorful …    20/40 Pack Iridescent Butterfly Sti…

                   Last day $0.83 $6.14                  Just once $5.82 $16.99                  $3.82 $19.69 1K+ sold             $12.99 5 sold                          $1.69 $12.64 20 sold
                   Almost sold out                       Almost sold out                                                           Almost sold out                      Only 7 left
                      High repeat customers provi…
                                                            High repeat customers provi…




                   Acrylic Pink Butterfly Hanging Orn…   Local 2pairs Colorful Butterfly Ac…   Local Aesthetic Mountain Forest …   240pcs Butterfly Shadow PET Self-…   6 Pairs Butterfly Drop Earrings Set…

                   $2.44 $4.99 8 sold                    $7.78 $8.99 5 sold                    $34.98 1 sold                       $5.79 $18.99 96 sold                 $4.18 $5.49 5 sold
                   Extra $0.14 off at checkout           Almost sold out                       Almost sold out                     Almost sold out                      Almost sold out
                   Only 1 Left                                                                                                                                             High repeat customers provi…
                      High repeat customers provi…                                                                                    High repeat customers provi…
                                                                                                                                                                                                                     95
 BONUS
COUPONS

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                                                                                Price adjustment within 30 days
              Temu
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                   Best Sellers     5-Star Rated     Early Black Friday     Local Warehouse   Categories      butterfly jewelry                                                                        Support        EN
                                                                                                                                                                                      Account



                   Local 10 Pieces, Acrylic Pendant, …     20-Pack Vintage Floral Stickers wi…    Local 120 Pcs (6 Packs) Vintage L…     Local Set of 2 Exquisite Crystal Pi…   Local Spring Mountain in Mist T…

                   $13.99                                  $1.99 362 sold                         $8.98 43 sold                           $35.72 $84.00 119 sold                $8.07 $12.99 6 sold
                   Only 7 left                             Almost sold out                        Almost sold out                        Almost sold out                        Only 5 left


                                                              Established 1 year ago                 Low item return rate provider          High repeat customers provi…




                   Vintage Ice Crystal Butterfly Series…   Local 240 Sheets (8 Pack) Vintag…      Pair of Elegant Black Butterfly Dan…   Local Butterfly Acrylic Table Cent…    Local Angel Devil Earrings Sterlin…

                   $1.27 101 sold                          $13.98 18 sold                         $0.77 $7.99 4K+ sold                    $5.47 $17.88 604 sold                 $33.52 16 sold
                   Only 9 left                             Only 2 left                                            359                      just bought                          Almost sold out
                      High repeat customers provi…                                                   High repeat customers provi…
                                                              Low item return rate provider                                                 High repeat customers provi…




                   Local Super Cute 7 Pairs/14-Piec…       20pcs Pink Crystal Butterfly Sticke…   Local 10Pcs, Acrylic pendant dec…      Local Four-Piece Sea Turtle and …      Local SEREE Digital Camera for P…

                   $9.79 $16.04 429 sold                   $2.80 28 sold                          $14.49 15 sold                          $10.97 204 sold                       $33.99 239 sold
                   Only 1 Left                             Only 4 left                            Almost sold out                        Only 1 Left                            New Arrival in Photos & Optics
                                                              High repeat customers provi…
                                                                                                     Fast delivery provider                                                        Authorized by SEREE




                                                                                                                                                                                                                           95
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COUPONS

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                                                                                  Price adjustment within 30 days
              Temu
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 638 of 685 PageID #:691




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                  Free shipping                                                                                             Up to 90 days*
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                                                                                                                       Price adjustment
                                                                                                                                                                                              Orders &
                         LocalSellers
                         Best   3 pairs of 5-Star
                                           colorful jewel pat…
                                                  Rated           10pcsFriday
                                                            Early Black A Pack Laser Butterfly
                                                                                 Local         Stick…Categories
                                                                                       Warehouse         Local 1 Piece Creative
                                                                                                                     butterfly   Butterfly D…
                                                                                                                               jewelry          Local 120 PCS Vintage Lace Fram…        Local 4Pcs, Acrylic pendant deco…
                                                                                                                                                                                                               Support        EN
                                                                                                                                                                                              Account
                         $4.79 $29.99                           $1.95 268 sold                          $6.03 $41.99 314 sold                   $8.48 $10.48 3 sold                    $11.99
                         Almost sold out                        Only 1 Left                                                                     Almost sold out                        Almost sold out
                                                                                                                                                   Low item return rate provider             Fast delivery provider




                         50pcs 10mm Vibrant Sparkling Re…        Local Exquisite Butterfly Alloy St…    Local Vibrant Acrylic Memorial C…       72pcs 3D Butterfly Wall Decals - R…     Local 240PCS Vintage Material P…

                         $3.20 $21.93 42 sold                   $4.38 $9.99 108 sold                      $5.47 $28.99 540 sold                 $2.39 $14.89 727 sold                       $8.85 $13.95 10 sold
                         Only 4 left                            Lowest price in 60 days                                83                       Almost sold out       just bought      Only 9 left
                                                                                                           High repeat customers provi…                       50




                         Elegant & Charming Multicolor P…        Local 120 Sheets (4 Books) Vibra…      5pcs Light Green Ice Crystal Broke…     Local Enchanting Elf Fairy Acrylic…     Local 120 Pcs (6 Pack) Vintage La…

                         $1.01 $16.99 22 sold                   $12.48 58 sold                          Just once $3.55 $5.49                   $6.99 $16.99 6 sold                    Last day $10.11 6 sold
                         Only 1 Left                            Almost sold out                         Only 9 left                             Only 4 left                            Almost sold out
                                                                                                           High repeat customers provi…                                                      Low item return rate provider
                            High repeat customers provi…           Low item return rate provider



                                                                                                                  View more




                                                                                                                                                                                                                                       95
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COUPONS     About Temu                                           Return and refund policy                             Support center & FAQ                         Track orders any time
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                                                                 Intellectual property policy                         Safety center                                Low stock items alerts
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            Affiliate & Influencer: Earn Commission                                    Price adjustment within 30 days
                  Temu                              Shipping info                                                     Temu purchase protection                     Coupons & offers alerts
          Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 639 of 685 PageID #:692




                                                                                                                         Free returns
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                    us shipping                              Your Recalls and Product Safety Alerts                     Up to 90 days*
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                    On items shipped from Temu                                                                                                                    App Store
            Careers                                          Report suspicious activity                              Price
                                                                                                                    How    adjustment
                                                                                                                        to order

            Press                                                                                                   How to jewelry
                                                                                                                              track                                                 Orders &
                         Best Sellers   5-Star Rated   Early Black Friday        Local Warehouse   Categories       butterfly                                     Get it on                    Support   EN
                                                                                                                                                                                    Account
                                                                                                                                                                  Google Play
            Temu's Tree Planting Program                                                                            Partner with Temu



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                                                                                                                                                                                                                   95
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         Free shipping                                                                              Free returns
                                                                                                                                                                                   Get the Temu App
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                Return if item damaged


  Home     Checkout

                                                                                                                                              Order summary
           Free returns on all items of this order

                                                                                                                                                Enter coupon code                             Apply
  Shipping address                                                                                                        Change address

                                                                                                                                              Apply coupon code
    steven howard +1 (554)626-5486
    1 N La Salle St                                                                                                                           Item(s) total:                                    $11.18

    CHICAGO, IL 60602-3902, United States
                                                                                                                                              Shipping:                                          $2.99

                                                                                                                                              Sales tax:                                         $1.15

  Ships from            Our Festival Gifts (1)      Local warehouse
                                                                                                                                              Order total:                                    $15.32
    Special sale               Last day

                                 10 Pairs of Vibrant Butterfly Earrings Set - Fashion Jewelry Packs with 2D Acrylic Material, Colorful Des…   Plant with Temu
                                                                                                                                                  We invite you to plant a tree for $0.35
                                 10 Pairs
                                                                                                                            Qty:    1

                                 Special sale | Last day                                                                                                          Submit order
                                                                                                                                                                  Special sale | 21:30:51


                                                                                                                                                 Temu's Tree Planting Program
                                 $11.18                                                                                                       Temu and its users have donated funds to Trees for the
                                                                                                                                              Future to plant trees across sub-Saharan Africa
     Standard shipping: $2.99, delivery: 3-7 business days, fastest delivery in 3 business days


                                                                                                                                                 Delivery guarantee
  Add $18.82 more from this provider to get free shipping                                                                       View more
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                                                                                                                                                 Temu protects your card information
                                                                                                                                                 Temu follows the Payment Card Industry Data
                                                                                                                                                 Security Standard (PCI DSS) when handling card data
          Only 2 left                Almost sold out               Only 9 left               Almost sold out               Only 9 left
                                                                                                                                                 Card information is secure and uncompromised
                                                                                                                                                 All data is encrypted
  $6.35                         $8.42                      $7.85                       $10.44                      $11.13
                                                                                                                                                 Temu never sells your card information
            Add                             Add                       Add                         Add                        Add




  Payment methods
                                                                                                                                                 Secure privacy

                 Card                                                                                                                         Protecting your privacy is important to us! Please be
                                                                                                                                              assured that your information will be kept secured and
                                                                                                                                              uncompromised. We do not sell your personal
            All transactions are secure and encrypted
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 641 of 685 PageID #:694




     * Card number                                                                                                    information for money and will only use your
                                                                                                                      information in accordance with our privacy and cookie
             4041 1789 5899 9192                                                                                      policy to provide and improve our services to you.
                                                                                                                      Learn more

     * Expiration date                                                 * CVV
                                                                                                                         Temu purchase protection

       12                              2028                              591                                          Shop confidently on Temu knowing that if something
                                                                                                                      goes wrong, we've always got your back.
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            Afterpay
            $20 product minimum applies

            Klarna
            $20 product minimum applies

            Affirm
            $35 product minimum applies

            PayPal Pay Later
            $30 product minimum applies
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                                                                            Search                                                                                                                                          1      0


     Categories       New In     Sale    Women Clothing       Beachwear       Kids    Curve    Men Clothing      Shoes     Underwear & Sleepwear          Home & Kitchen     Jewelry & Accessories    Beauty & Health       Baby & Matern


Home / Home & Living / Home Decor / Wind Chimes & Hanging Decorations / Decorative Hanging Ornaments / 2pcs Acrylic Unique Butterfly Car Pendant, Hanging Ornament, Backpack Pendant, Couple Gift Keychain

                                                                                                                                 2pcs Acrylic Unique Butterfly Car Pendant, Hanging Ornament, Backpack Pendant, Couple Gift
                                                                                                                                 Keychain
                                                                                                                                 SKU: sh2405315245589478

                                                                                                                                 $1.90
                                                                                                                                  50% OFF For orders $9.90+      40% OFF For orders $49.00+   20% OFF For orders $169.00+




                                                                                                                                 Size

                                                                                                                                    2pcs



                                                                                                                                 Qty:            1



                                                                                                                                                                               SOLD OUT



                                                                                                                                             Do you like this product?
                                                                                                                                             Show Similar



                                                                                                                                 Description

                                                                                                                                 About Store


                                                                                                                                           YWheyi        3P Seller

                                                                                                                                           4.85 Rating      71 Items    347 Followers

                                                                                                                                                            All Items                                                   Follow
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             Customers Also Viewed
                                    Marketplace                          Marketplace                         Marketplace                            Marketplace                          Marketplace
                                                               Search                                                                                                                        1         0


Categories    New In     Sale   Women Clothing     Beachwear    Kids    Curve   Men Clothing   Shoes   Underwear & Sleepwear    Home & Kitchen     Jewelry & Accessories   Beauty & Health   Baby & Matern




             1pc Moon & Star Design Wall H…        1pc Acrylic Artistic Decorative W…   Cute Crochet Strawberry Car H…     "1pc Christmas Theme Hollow R…         1pc Amber Dragonfly, 2D Acrylic…
               #6 Best Sellers in Decorative Ha…   700+ sold recently                   1.2k+ sold recently                    #9 Best Sellers in Wind Chimes …   500+ sold recently
             $1.90 -5%                             $2.10 -5%                            $0.85 -55%                         $1.76 -20%                             $1.40




                                    Marketplace                          Marketplace                         Marketplace                            Marketplace                          Marketplace




                                                                                  6                                  4                                      4



             Crystal Chips Square Sun Catch…       1Pc Lotus Window Crystal Sunc…       Interesting Raccoon Acrylic Pen…   1pc Lovely Pet Dog Dyed Drea…          Honey Dew Gifts Home Decor, …
             800+ sold recently                    700+ sold recently                   200+ sold recently                 80+ sold recently                      100+ sold recently
             $3.60 -5%                             $2.50 -4%                            $1.01 -28%                         $3.00 -3%                              $1.70
             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 644 of 685 PageID #:697




                                   Marketplace                          Marketplace                          Marketplace                            Marketplace                           Marketplace



                                                              Search                                                                                                                          1         0


Categories    New In    Sale    Women Clothing    Beachwear    Kids    Curve   Men Clothing    Shoes   Underwear & Sleepwear    Home & Kitchen      Jewelry & Accessories   Beauty & Health   Baby & Matern




             1pc ID Initial Letter Charm, Crea…   1pc Wooden Lotus Hollow Stora…       Crystal Sun Catcher Pendant La…     1pc Woven Leaf Design Wall Ha…          1pc Dripping Sun Catcher | Rain…
             400+ sold recently                   200+ sold recently                   500+ sold recently                      #3 Best Sellers in Decorative Ha…   100+ sold recently
             $0.72 -20%                           $5.30 -4%                            $2.50                               $7.40 -3%                               $1.90 -5%




                                                                                                  View More
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                                                                              Search                                                                                                                                      1      0
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                                                                                 Contact Us      Men Clothing   Shoes   Underwear & Sleepwear        Home & Kitchen       Jewelry & Accessories         Beauty & Health   Baby & Matern
             Sustainability                     Returns                          Payment & Tax
             Fashion Blogger                    Refund                           Bonus Point
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                                                                           Search                                                                                                                                         1      0


     Categories       New In     Sale    Women Clothing       Beachwear      Kids    Curve    Men Clothing     Shoes     Underwear & Sleepwear         Home & Kitchen        Jewelry & Accessories   Beauty & Health      Baby & Matern


Home / Home & Living / Home Decor / Wind Chimes & Hanging Decorations / Decorative Hanging Ornaments / 1pc Plane Pendants Butterfly Car Decoration Plane Pendants Hanging Luggage Keychain Bag Accessories

                                                                                                                                1pc Plane Pendants Butterfly Car Decoration Plane Pendants Hanging Luggage Keychain Bag
                                                                                                                                Accessories
                                                                                                                                SKU: sh2405150690352529

                                                                                                                                $1.40
                                                                                                                                50% OFF For orders $9.90+      40% OFF For orders $49.00+   20% OFF For orders $169.00+




                                                                                                                                 Show similar in-stock items in 'one-size'                                                                View All




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                                                                                                                                Description

                                                                                                                                About Store


                                                                                                                                         SHEIN HOME            3P Seller

                                                                                                                                         4.80 Rating      12 Items      68 Followers

                                                                                                                                                          All Items                                                    Follow




                   Customers Also Viewed
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                                    Marketplace                         Marketplace                            Marketplace                           Marketplace                          Marketplace



                                                              Search                                                                                                                          1         0


Categories    New In     Sale   Women Clothing    Beachwear    Kids    Curve   Men Clothing   Shoes     Underwear & Sleepwear    Home & Kitchen     Jewelry & Accessories   Beauty & Health   Baby & Matern




             1pc Acrylic Artistic Decorative W…   1pc 2D Flat Acrylic Cross Sun C…     1pc Moon & Star Design Wall H…         Cute Crochet Strawberry Car H…       1pc Gold-color Flame & Moon S…
             700+ sold recently                   50+ sold recently                       #6 Best Sellers in Decorative Ha…   1.2k+ sold recently                  1.2k+ sold recently
             $2.10 -5%                            $1.90 -5%                            $1.90 -5%                              $0.85 -55%                           $2.74 -24%




                                    Marketplace                         Marketplace                            Marketplace                           Marketplace                          Marketplace




                                                                                4                                       4



             NEW 3Pcs/Set Angel Doll Christ…      Hanging Photo Frame With Clip,…      Interesting Raccoon Acrylic Pen…       "1pc Christmas Theme Hollow R…       1pc Home Ornament Blue Evil E…
             $12.90 -28%                          400+ sold recently                   200+ sold recently                       #9 Best Sellers in Wind Chimes …   80+ sold recently
                                                  $3.90 -3%                            $1.01 -28%                             $1.76 -20%                           $2.60 -4%
                QuickShip   Free Shipping
             Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 648 of 685 PageID #:701




                                   Marketplace                           Marketplace                           Marketplace                        Marketplace                           Marketplace



                                                             Search                                                                                                                         1         0


Categories    New In     Sale   Women Clothing   Beachwear      Kids   Curve     Men Clothing    Shoes   Underwear & Sleepwear   Home & Kitchen   Jewelry & Accessories   Beauty & Health   Baby & Matern




                                                                                                                       6



             1Pc Chakra Window Crystal Su…       NEW 1 Piece, Halloween Happy…           1Pc Lotus Window Crystal Sunc…      1pc Amber Dragonfly, 2D Acrylic…    1pc Woven Tassel Wall Hanging…
             300+ sold recently                  $15.20 -28%                             100+ sold recently                  500+ sold recently                  100+ sold recently
             $4.80 -2%                              QuickShip    Free Shipping
                                                                                         $2.10                               $1.40                               $1.29 -24%




                                                                                                    View More
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                                                                              Search                                                                                                                                      1      0
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                                          Shipping InfoBeachwear               Kids   Curve
                                                                                 Contact Us      Men Clothing   Shoes   Underwear & Sleepwear        Home & Kitchen       Jewelry & Accessories         Beauty & Health   Baby & Matern
             Sustainability                     Returns                          Payment & Tax
             Fashion Blogger                    Refund                           Bonus Point
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  Amazon Home            Shop by Room                Discover               Shop by Style             Home Décor                Furniture           Kitchen & Dining               Bed & Bath             Garden & Outdoor                Home Improvement


                                 Car Sun Visor Vanity Mirror, 2 Pcs Rechargeable Makeup Mirror with 3 Light Modes & 60 LEDs - Dimmable Clip-on Rear View Sun-
                                 Shading Cosmetic Mirror, Universal for Car SUV Truck (Black)
                                                                                                                                                                             4.6                5,019     $   39 99
                                                                                                                                                                                                                                                   Sponsored
Automotive › Replacement Parts › Body & Trim › Trim › Interior › Mirrors


                                                                                                            Butterﬂy 2D Flat Car Ornament, Car Hanging                                                            $
                                                                                                                                                                                                                      1149
                                                                                                            Accessories for Car Rear View Mirror Cute Car Pink
                                                                                                                                                                                                                  FREE delivery September 17 -
                                                                                                            Butterﬂy for Women Rearview Hanging Charm,                                                            October 8. Details
                                                                                                            Home Decor, Christmas Tree Decor                                                                            Deliver to steven - Chicago 60602
                                                                                                            Visit the Kimvino Store
                                                                                                                                                                                                                  Only 9 left in stock - order
                                                                                                                                                                                                                  soon.
                                                                                                            $
                                                                                                                1149                                                                                              Quantity:
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                                                                                                            About this item                                                                                                          Kimvino
                                                                                                                                                                                                                      Ships from
                                                                                                                   【Car Decorations Design】The rearview mirror accessory is made of acrylic                           Sold by        Kimvino
                                                                                                                material, and the butterﬂy shape swings with the driving car, like a butterﬂy ﬂying                   Returns        30-day
                                                                                                                inside the car.                                                                                                      refund/replacement

                                                                                                                   【Easy Installation】You receive Rear View Mirror Accessories as a ﬁnished                           Customer       Kimvino

                                                                                                                product, just hang the Rear View Mirror Accessories directly anywhere you need to                     service
                                                                                                                                                                                                                         See more
                                                                                                                decorate, such as car mirrors, walls, bedside, handbags, duﬀel bags, etc. Rear View
                                    Roll over image to zoom in                                                  Mirror Accessories will bring good luck and happiness to you and your family.
                                                                                                                   【Perfect Gifts】Our car accessories for women,Cute Girly Bling Car Decorative                        Add to List
                                                                                                                Hanging Ornament, Perfect as a gift for your friends and family on important
                                                                                                                holidays like Valentine's Day, Mother's Day, Thanksgiving, Christmas, Birthday...
                                                                                                                Whoever she is,she will be happy once she gets it!
                                                                                                                   【Multi-scene use】Rear View Mirror Accessories it can not only be used for car
                                                                                                                decoration, but also for home decoration and oﬃce decoration, give car
                                                                                                                decorations to your friends or loved ones/family to decorate their cars, it will be a
                                                                                                                year-round Christmas gift, wedding and birthday gift.
                                                                                                                   【After-sales Service】If you have any questions about our products, please feel
                                                                                                                free to contact us. We will reply to your questions within 24 hours, please feel free
                                                                                                                to buy! Happy shopping!
                        Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 651 of 685 PageID #:704




                                                                                                               Report an issue with this product or seller
                                                                                                                                                                                                                                              Subtotal
                                                                                                                                                                                                                                              $0.00


                                                                                                                                                         Electric Spa Massage Facial Table
                                                                                                                                                         $   1,039 99                                                      Electric Spa
                                                                                                                                                                                                                           Massage Facial
                                                                                                                                                                                                                           Table


                                                                                                           Sponsored                                                                                     OmySalon Electrical Facial Beauty
                                                                                                                                                                                                         Spa Medical Treatment Bed, 120°…

Buy it with
                                                                                                                                                                                                         $   1,069 99
                                                                                                                                                                                                                                  Sponsored



                                                                                                                                         Total price: $34.46

                                         +                                          +                                                       Add all 3 to Cart



                                                                                                                                   Some of these items ship sooner than the
                                                                                                                                   others.
This item: Kimvino Butterﬂy 2D               SINGARO Car Cup Coaster, 4PCS              Car Pass Pink Embroidery                   Show details

Flat Car Ornament, Car Hanging               Universal Non-Slip Cup Holders             Butterﬂy Steering Wheel Cover,
Accessories for Car Rear View…               Embedded in Ornaments Coast…               Universal 15 Inch Car Wheel…
$
    1149                                     $
                                                 599 ($1.50/Count)                      $
                                                                                            1698

Similar items that deliver to you quickly




           Generic Daisy Car             cobee Butterﬂy Car                 LIKAGI Car Rear View          Car Mirror Hanging            GEEHUA Daisy Car                FREEBLOSS Car Hanging
           Hanging Ornaments for         Accessories, Car Interior          Mirror Hanging                Accessories Women Cute        Decoration, Car Hanging         Ornament Acrylic Car
           Women Girls Cute              Mirror Ornaments Car               Accessories, Angel Wings      Car Decorations               Ornament Plaster                Charm Car Rear View
           Sunﬂower Car Rear View        Bling Rearview Mirror              with K9 Crystal Ball…         Accessories Interior          Sunﬂower Car Accessories        Mirror Accessories
           Mirror Hanging Charms…        Accessories Diamond C…                              20           Aesthetic Pendant, Han…       Cute Rearview Mirror            Dragonﬂy Car Interior
                         11                                 97              Amazon's Choice                             5               Decor Hanging for…              Pendant Car Hanging…
           $8.99                         $6.69                              $6.79                         $8.99                         $4.99                           $4.49

                   FREE One-Day Get it                FREE One-Day Get it           FREE One-Day Get it           FREE One-Day Get it           FREE Delivery                    FREE Delivery Friday,
           Tomorrow, Aug 27              Tomorrow, Aug 27                   Tomorrow, Aug 27              Tomorrow, Aug 27              Wednesday, Aug 28               Aug 30
                        Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 652 of 685 PageID #:705




Products related to this item                                                                                                                                                                                                      Subtotal
Sponsored                                                                                                                                                                                                                          $0.00




            Butterﬂy Car Mirror        GLEAVI Butterﬂy Car             Crystal Flower Car Rear      Acrylic Butterﬂy               SOLUSTRE Butterﬂy Car      Common Jezebel             Common Jezebel           Multi-Colored
            Hanging Accessories,       Accessories: Bling              View Mirror Accessories      Ornaments Butterﬂies           Hanging Ornament -         butterﬂy Ornament Car      butterﬂy Ornament Car    Waving Butter
            Cute Car Accessories for   Butterﬂy Car Interior           Sun Catcher Car              Shape Hanging Tree             Rhinestones Butterﬂy       Rear View Mirror           Rear View Mirror         Ornament for
            Women, Butterﬂi...         Pendant Car Rear Vie...         Accessories Hanging...       Ornament for Spring…           Car Charms Pendant ...     Accessories Christmas…     Accessories Christmas…   Console and A
            $   999                    $   699                                      1               $   899                                    1              $   1499                   $   1499                              7
                                                                       $   999                                                     $   1419                                                                       $   1487



Product information


    Manufacturer                                               Kimvino                                                        Warranty & Support

    ASIN                                                       B0D49FWPQL                                                      Product Warranty: For warranty information about this product, please click here

    Country of Origin                                          China                                                          Feedback
    Item model number                                          HDCG240516                                                      Would you like to tell us about a lower price?

    Date First Available                                       May 16, 2024




Videos
Help others learn more about this product by uploading a video!


  Upload your video




Product Description

      【Car Decorations Design】

      The rearview mirror accessory is made of acrylic material, and the butterﬂy shape swings with the driving car, like a butterﬂy ﬂying inside the car.

      【Easy Installation】
                        Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 653 of 685 PageID #:706




      You receive Rear View Mirror Accessories as a ﬁnished product, just hang the Rear View Mirror Accessories directly anywhere you need to decorate, such as car mirrors, walls, bedside, handbags, duﬀel bags, etc. Rear View Mirror
      Accessories will bring good luck and happiness to you and your family.                                                                                                                                                                     Subtotal
                                                                                                                                                                                                                                                 $0.00
      【Perfect Gifts】

      Our car accessories for women,Cute Girly Bling Car Decorative Hanging Ornament, Perfect as a gift for your friends and family on important holidays like Valentine's Day, Mother's Day, Thanksgiving, Christmas, Birthday... Whoever she
      is,she will be happy once she gets it!

      【Multi-scene use】

      Rear View Mirror Accessories it can not only be used for car decoration, but also for home decoration and oﬃce decoration, give car decorations to your friends or loved ones/family to decorate their cars, it will be a year-round
      Christmas gift, wedding and birthday gift.

      【After-sales Service】

      If you have any questions about our products, please feel free to contact us. We will reply to your questions within 24 hours, please feel free to buy! Happy shopping!


     Looking for speciﬁc info?




Products related to this item
Sponsored




            Butterﬂy Car Mirror        Acrylic Butterﬂy               GLEAVI Butterﬂy Car           Multi-Colored Wing-           Black Swallowtail              Custom Crystal Car            Bling Heart Diamond Car       Crystal Flower
            Hanging Accessories,       Ornaments Butterﬂies           Accessories: Bling            Waving Butterﬂy Car           butterﬂy Ornament Car          Pendant Charms with           Accessories for Women         View Mirror Ac
            Cute Car Accessories for   Shape Hanging Tree             Butterﬂy Car Interior         Ornament for Car Center       Rear View Mirror               Personalized Photos and       Men,- Crystal Car             Sun Catcher C
            Women, Butterﬂi...         Ornament for Spring…           Pendant Car Rear Vie...       Console and Air Out...        Accessories Christmas…         Texts | Rearview Mir...       Rearview Mirror Dec...        Accessories Ha
            $
                999                    $
                                           899                        $
                                                                          699                                    7                $
                                                                                                                                      1499                                     11              $
                                                                                                                                                                                                   999                                    1
                                                                                                    $
                                                                                                        1487                                                     $
                                                                                                                                                                     2599                                                    $
                                                                                                                                                                                                                                 999
                       Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 654 of 685 PageID #:707




                                                                                                                                                Subtotal
                                                                                                                                                $0.00



                                                                                       OmySalon Electrical Facial Beauty Spa Medical
                                                                                       Treatment Bed, 120° Rotation Massage Tattoo Dent…
                                   Electric Spa Massage Facial Table
                                                                                       $   1,069 99



                                                                                                                                    Sponsored



Customer reviews                                                 No customer reviews

5 star                               0%

4 star                               0%

3 star                               0%

2 star                               0%

1 star                               0%

  How customer reviews and ratings work




 All-in-one kid-friendly
          fun




                                 Sponsored
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                                                                                                                              Subtotal
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     Amazon               Sell apps on Amazon                  Amazon Store Card                       Your Orders
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                          Supply to Amazon                     Amazon Secured Card                     Shipping Rates &
     About Amazon                                                                                      Policies
                          Protect & Build Your                 Amazon Business Card
     Accessibility        Brand                                                                        Amazon Prime
                                                               Shop with Points
     Sustainability       Become an Aﬃliate                                                            Returns &
                                                               Credit Card Marketplace                 Replacements
     Press Center         Become a Delivery Driver
                                                               Reload Your Balance                     Manage Your
     Investor Relations   Start a Package Delivery                                                     Content and Devices
                          Business                             Gift Cards
     Amazon Devices
                                                               Amazon Currency Converter               Recalls and Product
                          Advertise Your Products                                                      Safety Alerts
     Amazon Science
                          Self-Publish with Us
                                                                                                       Registry & Gift List
                          Become an Amazon Hub                                                         Help
                          Partner
                          › See More Ways to Make
                          Money
Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 656 of 685 PageID #:709




                                                                                                                                                                      Subtotal
                                                                                 English                United States                                                 $0.00




     Amazon Music      Amazon Ads            6pm                                AbeBooks                  ACX                    Sell on Amazon      Veeqo
     Stream millions   Reach                 Score deals                        Books, art                Audiobook              Start a Selling     Shipping
     of songs          customers             on fashion brands                  & collectibles            Publishing             Account             Software
                       wherever                                                                           Made Easy                                  Inventory
                       they                                                                                                                          Management
                       spend their
                       time

     Amazon Business   Amazon                AmazonGlobal                       Home Services             Amazon Web             Audible             Box Oﬃce Mojo
     Everything For    Fresh                 Ship Orders                        Experienced Pros          Services               Listen to Books &   Find Movie
     Your Business     Groceries &           Internationally                    Happiness                 Scalable Cloud         Original            Box Oﬃce Data
                       More                                                     Guarantee                 Computing              Audio
                       Right To Your                                                                      Services               Performances
                       Door

     Goodreads         IMDb                  IMDbPro                            Kindle Direct             Amazon Photos          Prime Video         Shopbop
     Book reviews      Movies, TV            Get Info Entertainment             Publishing                Unlimited              Direct              Designer
     &                 & Celebrities         Professionals Need                 Indie Digital &           Photo Storage          Video               Fashion Brands
     recommendations                                                            Print Publishing          Free With              Distribution
                                                                                Made Easy                 Prime                  Made Easy

     Amazon Resale     Whole Foods           Woot!                              Zappos                    Ring                   eero WiFi           Blink
     Great Deals on    Market                Deals and                          Shoes &                   Smart Home             Stream 4K Video     Smart Security
     Quality Used      America’s             Shenanigans                        Clothing                  Security               in Every Room       for Every Home
     Products          Healthiest                                                                         Systems
                       Grocery Store

                       Neighbors             Amazon Subscription                PillPack                  Amazon
                       App                   Boxes                              Pharmacy                  Renewed
                       Real-Time             Top subscription boxes –           Simpliﬁed                 Like-new
                       Crime                 right to your door                                           products
                       & Safety                                                                           you can trust
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                                                                                     Secure checkout                                                                                        Cart




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      1 N LA SALLE ST, CHICAGO, IL, 60602-3902, United States
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                                                                                                                                             Items:                                $11.49
                                                                                                                                             Shipping & handling:                   $0.00
      Paying with Visa 3651                                                                                                        Change
                                                                                                                                             Estimated tax to be collected:*        $1.18

        Use Chase Ultimate Rewards points                                                                                                    Order total:                      $12.67
        $57.97 (7,247 points) available
      Use a gift card, voucher, or promo code




      Arriving Sep 17, 2024 - Oct 8, 2024
                                                                                      Choose your delivery option:
                                 Kimvino Butterﬂy 2D Flat Car
                                 Ornament, Car Hanging Accessories for                    Tuesday, Sep 17 - Tuesday, Oct 8
                                 Car Rear View Mirror Cute Car Pink                       FREE Delivery
                                 Butterﬂy for Women Rearview
                                 Hanging Charm, Home Decor,
                                 Christmas Tree Decor
                                 $
                                     1149
                                 Ships from Kimvino
                                 Sold by Kimvino

         Quantity: 1 Change

         Gift options not available




                               Order total: $12.67
        Place your order
                               By placing your order, you agree to Amazon's privacy notice and conditions of use.




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Skip to main content     Deliver to steven
                                                   Handmade        Search Amazon
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                         Chicago 60602                                                                                                                                               EN        Account & Lists             & Orders                Cart   $0.00

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                                                                                              Electric Spa Massage Facial Table                                                           $
                                                                                                                                                                                              1,069 99
                                                                                                                                                                                                                                          Sponsored
Handmade Products › Jewelry › Charms


                                                                                   Women's teens pink acrylic butterﬂy keychain with satiny
                                                                                   woven pink and silver alloy keyring. Gift bag included with
                                                                                                                                                                                                         $
                                                                                                                                                                                                             1200
                                                                                                                                                                                                         FREE delivery September 3 - 4.
                                                                                   purchase                                                                                                              Details
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                                                                                                                                                                                                         soon.
                                                                                   $
                                                                                       1200
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                                                                                   Women's teens pink acrylic butterﬂy keychain with satiny woven pink and silver alloy keyring. Rhinestone
                                                                                                                                                                                                                           Buy Now
                                                                                   Gift bag included with purchase. Beautiful 2.3 x 3.15 acrylic butterﬂy total inches 6.7

                                                                                         Acrylic pink butterﬂy                                                                                           Ships from Joyfuljewelrykjc
                                                                                                                                                                                                         Sold by    Joyfuljewelrykjc
                                                                                          Report an issue with this product or seller                                                                    Returns          30-day
                                                                                                                                                                                                                          refund/replacement
                             Roll over image to zoom in                            Additional Details                                                                                                    Payment          Secure transaction
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                                                                                              Handmade
                                                                                              This item was handcrafted, hand-designed, or hand-altered with love. Learn more
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                                                                                              This product is from a small business brand. Support small. Learn more
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                                                                                                                                                                                                                                Subtotal
                                                                                                                   Joyfuljewelrykjc
                                                                                                                                                                                                                                $0.00
                                                                                                                   Joyfuljewelrykjc hand crafted beaded jewelry. in North Carolina
                                                                                                                  › Contact me with general inquiries



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                                                                                                                                                             OmySalon Electrical
                                                                                                           Electric Spa
                                                                                                                                                             Facial Beauty Spa…
                                                                                                           Massage Facial
                                                                                                           Table                                             $
                                                                                                                                                                 1,039 99

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            5 x Emotional Support   Best Friend Necklace       Insert Coin Sticker,         Holographic Butterﬂy       English Bulldog - Funny     XOXOKristen Wedding             JJJ Design K-pop Finger   Set of 3 Single
            Water Bottle Sticker    Long Distance Friendship   Arcade, Pinball Sticker,     Double Silver Rhinestone   Whiskey Rocks Glass         Gold Foiled Stickers with       Heart Name Stickers for   Decal, Letter w
            White Transparent       Gifts Women Two State      Coin Slot Sticker            Car Engine Start Stop      Gifts for Men & Women       Initials in 2x1 inch size,      Kids - 43 Personalized    Tumbler Decal
            Stickers Women Water…   Necklace Jewelr...         Holographic                  Decoration Rin...          with Bulldogs - F...        Wedding Fa...                   Labels per S...           Monogram Vin
                         5                       1,715                       1              $
                                                                                                999                                 119            $
                                                                                                                                                       895                         $
                                                                                                                                                                                       1599                                4
            -19% $809               $   2650                   $   499                      Save 5% with coupon
                                                                                                                       $   1995                                                                              $   999 ($3.33/C
            ($1.62/Count)
            List Price: $9.99
            Exclusive Prime price




Product details
   Department : womens
   Date First Available : July 6, 2024
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     ASIN : B0D8YXS8MR
                                                                                                                                 Subtotal
                                                                                                                                 $0.00
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Customer reviews                                   No customer reviews

5 star                                   0%

4 star                                   0%

3 star                                   0%

2 star                                   0%

1 star                                   0%

  How customer reviews and ratings work




                         Electric Spa Massage
                         Facial Table


 OmySalon Electrical Facial Beauty Spa
 Medical Treatment Bed, 120° Rotation…
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     Sustainability                       Become an Aﬃliate                                                                                Returns &
                                                                                       Credit Card Marketplace                             Replacements
     Press Center                         Become a Delivery Driver
                                                                                       Reload Your Balance                                 Manage Your
     Investor Relations                   Start a Package Delivery                                                                         Content and Devices
                                          Business                                     Gift Cards
     Amazon Devices                                                                                                                        Recalls and Product
                                          Advertise Your Products                      Amazon Currency Converter
     Amazon Science                                                                                                                        Safety Alerts
                                          Self-Publish with Us                                                                             Registry & Gift List
                                          Become an Amazon Hub                                                                             Help
                                          Partner
                                          › See More Ways to Make
                                          Money




                                                                            English                 United States




     Amazon Music         Amazon Ads            6pm                        AbeBooks                   ACX              Sell on Amazon             Veeqo
     Stream millions      Reach                 Score deals                Books, art                 Audiobook        Start a Selling            Shipping
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                          they                                                                                                                    Management
                          spend their
                          time

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     Your Business        Groceries &           Internationally            Happiness                  Scalable Cloud   Original                   Box Oﬃce Data
                          More                                             Guarantee                  Computing        Audio
                          Right To Your                                                               Services         Performances
                          Door

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     Book reviews         Movies, TV            Get Info Entertainment     Publishing                 Unlimited        Direct                     Designer
     &                    & Celebrities         Professionals Need         Indie Digital &            Photo Storage    Video                      Fashion Brands
     recommendations                                                       Print Publishing           Free With        Distribution
                                                                           Made Easy                  Prime            Made Easy

     Amazon Resale        Whole Foods           Woot!                      Zappos                     Ring             eero WiFi                  Blink
     Great Deals on       Market                Deals and                  Shoes &                    Smart Home       Stream 4K Video            Smart Security
     Quality Used         America’s             Shenanigans                Clothing                   Security         in Every Room              for Every Home
     Products             Healthiest                                                                  Systems
                          Grocery Store

                          Neighbors             Amazon Subscription        PillPack                   Amazon
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                                                                                                                                             Items:                                $12.00
                                                                                                                                             Shipping & handling:                   $0.00
      Paying with Visa 3651                                                                                                        Change
                                                                                                                                             Estimated tax to be collected:*        $1.23

        Use Chase Ultimate Rewards points                                                                                                    Order total:                      $13.23
        $57.97 (7,247 points) available
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      Arriving Sep 3, 2024 - Sep 4, 2024
                                                                                      Choose your delivery option:
                                 Women's teens pink acrylic butterﬂy
                                 keychain with satiny woven pink and                      Tuesday, Sep 3 - Wednesday, Sep 4
                                 silver alloy keyring. Gift bag included                  FREE Delivery
                                 with purchase
                                 $   1200
                                 Ships from Joyfuljewelrykjc
                                 Sold by Joyfuljewelrykjc

         Quantity: 1 Change

         Gift options not available




        Place your order
                               Order total: $13.23
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      Within 30 days of delivery, you may return new, unopened merchandise in its original condition. Exceptions and restrictions apply. See Ama
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Skip to main content      Deliver to steven
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                          Chicago 60602                                                                                                                                                                                                                           EN       Account & Lists     & Orders          Cart


   All        Rufus     Oﬀ to College         Same-Day Delivery     Medical Care          Amazon Basics   Automotive    Groceries     Shop By Interest       Household, Health & Baby Care       Livestreams    Amazon Business       Subscribe & Save       Amazon Home                     Shop the Labor Day Sale

 Automotive     Your Garage    Deals & Rebates     Best Sellers   Parts     Accessories      Tools & Equipment   Car Care    Motorcycle & Powersports       Truck      RV     Tires & Wheels     Vehicle Showroom   Amazon Business

                                                                     Govee Smart Car LED Strip Lights, RGBIC Interior Car Lights with 4 Music Modes, 30 Scene Options and 16                                        $32 99
                                                                                                                                                                                           4.4              3,766                     Save $8 with coupon
                                                                     Million Colors, APP Control 2 Lines Design LED Car Lights for SUVs, DC 12V

                                                                                                                                                                                                                                                                                 Sponsored
                               Automotive › Replacement Parts › Body & Trim › Trim › Interior › Mirrors



                                                                      | Make sure this ﬁts


                                                                                                                                                  Butterﬂy Car Rearview Mirror Accessories,                                                        Delivery                 Pickup
                                                                                                                                                  Butterﬂy 2D Flat Pendant for Rear View Mirror
                                                                                                                                                  Car Christmas Tree Ornament Decoration                                                       $
                                                                                                                                                                                                                                                   559
                                                                                                                                                  Hanging Charm Interior Rearview Pendant                                                                   One-Day
                                                                                                                                                                                                                                               FREE Returns
                                                                                                                                                  Decor Gift(Pink)
                                                                                                                                                  Brand: CmeRto                                                                                FREE delivery Tomorrow,
                                                                                                                                                  Search this page                                                                             August 27

                                                                                                                                                                                                                                               Or FREE delivery Overnight
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                                                                                                                                                                                                                                                Quantity:
                                                                                                                                                                                                                                                 1Quantity: 1
                                                                                                                                                   Color: pink

                                                                                                                                                             $5.59                 $5.59            $5.59                                                    Add to Cart

                                                                                                                                                                                                                                                                 Buy Now
                                                                                                                                                  Auto Part Position        Front
                                                                                                                                                  Brand                     CmeRto                                                              Ships from       Amazon
                                                                                                                                                                                                                                                Sold by          Hly-At
                                                                                                                                                  Color                     pink
                                                                                                                                                                                                                                                Returns          30-day
                                                                                                                                                  Manufacturer              CmeRto                                                                               refund/replacement

                                                                                                                                                  Lens Curvature            Flat                                                                Customer         Amazon

                                                                                                                                                  Description                                                                                   service
                                                                               Roll over image to zoom in                                                                                                                                          See more

                                                                                                                                                            Material                                     Vehicle Service Type                       Add a gift receipt for easy
                                                                                                                                                            Acrylic                                      Car                                        returns

   Can this accessory block driver's view?
                                                                                                                                                  About this item
                                                                                                                                                                                                                                                   Add to List
                                                                                                                                                        High-Quality Materials: The butterﬂy decor hanging made of high-quality,
   Is this accessory easy to install?                                                                                                                   long-lasting acrylic with vibrant colors that won't fade easily, printed on both
                                                                                                                                                        sides, anti-rust and anti-corrosion, highly polished with durable materials to
   Does this accessory swing when                                                                                                                       ensure it lasts and retains its vibrant colors, even in diﬀerent weather
   car moves?                                                                                                                                           conditions.
                                                                                                                                                        Adorable Design:Butterﬂy Car Rear View Mirror Accessories with Unique
                                                                                                                                                        Design-Butterﬂy symbolizes freedom, beauty and happiness, hope, change
                         Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 667 of 685 PageID #:720




                                                                                                                                             and growth. The 2D ﬂat animal hanging pendant captures the essence of
                                                                                                                                             these majestic creatures and adds a delightful touch to your car's interior.
                                                                                                                                             Versatile Decoration: This pendant isn't just for your car it can also be used as
                                                                                                                                             a versatile decoration on your bag or as a keychain pendant. Our butterﬂy car
                                                                                                                                             rear view mirror accessories will swing wonderfully while the car is driving or
                                                                                                                                                                                                                                                    Electric Spa
                                                                                                                                             the wind is blowing, which is quite vibrant and striking.
                                                                                                                                                                                                                                                    Massage Facial
                                                                                                                                             Easy Installation: Installing this pendant is a breeze. It easily attaches to your                     Table
                                                                                                                                             car's rearview mirror or can be used as a delightful bag or keychain accessory,
                                                                                                                                             The butterﬂy rearview mirror hanging accessories is designed proper size,            OmySalon Electrical Facial Beauty
                                                                                                                                             with adjustable hanging chain, will not aﬀect the driving sight.                     Spa Medical Treatment Bed, 120°…
                                                                                                                                             Versatile Butterﬂy Hanging Ornaments: this pendant makes for a perfect gift.         $   1,069 99
                                                                                                                                             It showcases your love for these remarkable animals while adding a dash of
                                                                                                                                             cheerfulness to your surroundings, Butterﬂy hanging decor is great for car                                    Sponsored

                                                                                                                                             decor, home decor, oﬃce decor, Christian christmas ornaments,butterﬂy
                                                                                                                                             ornaments for christmas tree.
                                                                                                                                           › See more product details
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                                                                                                                                                                                        Electric Spa Massage Facial Table
                                                                                                                                                                                        $   1,039 99

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                             Buy it with


                                                                                                                                                             Total price: $28.56

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                                                                                                                                                       These items are shipped from and sold by
                                                                                                                                                       diﬀerent sellers.
                              This item: Butterﬂy Car Rearview       SINGARO Car Cup Coaster, 4PCS        Car Pass Pink Embroidery                     Show details

                              Mirror Accessories, Butterﬂy 2D        Universal Non-Slip Cup Holders       Butterﬂy Steering Wheel Cover,
                              Flat Pendant for Rear View Mirr…       Embedded in Ornaments Coast…         Universal 15 Inch Car Wheel…
                              $
                                  559                                $
                                                                         599 ($1.50/Count)                $
                                                                                                              1698

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Can this accessory block driver's view?


Is this accessory easy to install?


Does this accessory swing when
car moves?
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                                         Bling Butterﬂy Diamond          Crystal Butterﬂy Car                 Butterﬂy Car Rearview             Amabro Crystal Glass               Ziciner Angel Wings Car          Car Rear View Mirror
                                         Car Hanging Accessories,        Mirror Decor Hanging,                Mirror Accessories, Cute          Butterﬂy Car Mirror Decor          Rearview Mirror Pendant,         Pendant, Bling Crystal
                                         Crystal Car Rear View           AFUNTA Car Charms Rear               Acrylic Hanging Car               Hanging, Automotive                Gypsum Rear View Mirror          Hanging Ornament,
                                         Mirror Charms Car…              View Mirror Hanging                  Rearview Mirror Charm,            Rear View Mirror Hanging           Lucky Hanging                    Fashion Car Accessories,
                                                         189             Accessories Colored Fis…             Butterﬂy Car Ornament…            Prisms for women…                  Ornament, Cute Car…              Auto Rear View Mirror…
                                         Amazon's Choice                                  23                                2                                 6                                  3                                61

                                         $7.79                           $8.99                                $4.29                             $6.99                              $6.89                            $5.99

                                                   FREE One-Day Get it              FREE One-Day Get it               FREE One-Day Get it               FREE One-Day Get it                FREE One-Day Get it              FREE One-Day Get it

                                         Tomorrow, Aug 27                Tomorrow, Aug 27                     Tomorrow, Aug 27                  Tomorrow, Aug 27                   Tomorrow, Aug 27                 Tomorrow, Aug 27


                             Products related to this item
                             Sponsored




                                         Butterﬂy Car Mirror             Customized personalized          GLEAVI Butterﬂy Car               Common Jezebel                    wonuu Swinging Skull           Personalized Car                Car pendant star feather      Sun Catcher Car
                                         Hanging Accessories,            photo printing car               Accessories: Bling                butterﬂy Ornament Car             Car Rear View Mirror           Hanging Ornament with           car pendant car rearview      Accessories Hanging
                                         Cute Car Accessories for        caravan SUV interior             Butterﬂy Car Interior             Rear View Mirror                  Hanging Ornament, Cool         Photo Song, Custom Car          mirror pendant car            Glass Lily of The Valle
                                         Women, Butterﬂi...              hanging decorations...           Pendant Car Rear Vie...           Accessories Christmas…            Swinging Skeleton ...          Ornament for Rear Vie...        interior decor...             Rear View Mirror Acce
                                         $
                                             999                         $
                                                                             1998                         $
                                                                                                              699                           $
                                                                                                                                                1499                                       8                 $
                                                                                                                                                                                                                 699                         $
                                                                                                                                                                                                                                                  1168                                    3
                                                                                                                                                                              $   999                            Save 30% with coupon
                                                                                                                                                                                                                                                                           $   999



                             Product Description

                                     Make the rearview mirror looks awesome and inspirational with our custom shape car hanging ornament.

                                     Oﬀers multiple design aspects appealing to retro and modern tastes

                                     Ensures no added weight to the rearview mirror and easy mounting, Can be eﬀortlessly attached to the rearview mirror for immediate enhancement of your car's interior decor.



                             Product information

                             Technical Details                                                                                                                            Additional Information
Can this accessory block driver's view?

                                     Manufacturer                                                 CmeRto                                                                          ASIN                                                            B0CYCD2L5K
Is this accessory easy to install?
                                     Brand                                                        CmeRto                                                                          Best Sellers Rank                                               #736,419 in Automotive (See Top 100 in
                                                                                                                                                                                                                                                  Automotive)
Does this accessory swing when
                               Item Weight                                                        1.06 ounces                                                                                                                                     #2,202 in Automotive Interior Mirrors
car moves?
                                     Package Dimensions                                           9.17 x 3.35 x 0.91 inches                                                       Date First Available                                            March 18, 2024
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                                     Manufacturer Part Number                           CRT6                                                         Warranty & Support

                                     Position                                           Front                                                         Amazon.com Return Policy: Amazon.com Voluntary 30-Day Return Guarantee: You can return many items
                                                                                                                                                      you have purchased within 30 days following delivery of the item to you. Our Voluntary 30-Day Return
                                     Mirror Lens Type                                   Flat                                                          Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out more about the
                                                                                                                                                      exceptions and conditions here.


                                                                                                                                                      Product Warranty: For warranty information about this product, please click here

                                                                                                                                                     Feedback

                                                                                                                                                      Would you like to tell us about a lower price?

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                                         Motaney Butterﬂy Car      Customized personalized      Personalized Car           BOGDAN Mother's Day        SkyVcian Custom            Bling Heart Diamond Car    Glittering Assorted          GLEAVI Butterﬂy Car
                                         Mirror Hanging            photo printing car           Hanging Ornament with      Ornaments Butterﬂy         Diamonds Photo Frame       Accessories for Women      Colors Crystal Ball          Accessories: Bling
                                         Accessories, Cute Car     caravan SUV interior         Photo Song, Custom Car     Pendant with Pink          Car Rear View Mirror       Men,- Crystal Car          Pendant For Car              Butterﬂy Car Interior
                                         Accessories for…          hanging decorations...       Ornament for Rear Vie...   Rhinestones Christmas…     Hanging Ornaments –…       Rearview Mirror Dec...     Rearview Mirror…             Pendant Car Rear Vie
                                         $   999                   $   1998                     $   699                    $   1299                                8             $   999                    $   999                      $   699
                                                                                                Save 30% with coupon
                                                                                                                                                      $   968



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                                                        Clip On Panoramic Rearview Mirror, Anti…                       Rearview Mirror Interior Anti-glare…                           11.81 Inch Panoramic Convex Rearview…                        Lucky Piggy
                                                                       19,281                                                         708                                                          10,346
Can this accessory block driver's view?                 $9.79 List: $13.99                                             $15.99                                                         $9.99 List: $11.99                                           $9.99



Is this accessory easy to install?

                                     Looking for speciﬁc info?
Does this accessory swing when
car moves?
                         Case: 1:24-cv-11674 Document #: 6-5 Filed: 11/19/24 Page 670 of 685 PageID #:723




                             Customer reviews                                         No customer reviews

                             5 star                                0%

                             4 star                                0%

                             3 star                                0%

                             2 star                                0%

                             1 star                                0%

                                How customer reviews and ratings work




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                                                                 About Amazon                                                                               Policies
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                                                                 Accessibility             Brand                                                            Amazon Prime
                                                                                                                                Shop with Points
                                                                 Sustainability            Become an Aﬃliate                                                Returns &
                                                                                                                                Credit Card Marketplace     Replacements
                                                                 Press Center              Become a Delivery Driver
                                                                                                                                Reload Your Balance
Can this accessory block driver's view?                                                                                                                     Manage Your
                                                                 Investor Relations        Start a Package Delivery
                                                                                                                                Gift Cards                  Content and Devices
                                                                                           Business
                                                                 Amazon Devices                                                                             Recalls and Product
Is this accessory easy to install?                                                         Advertise Your Products              Amazon Currency Converter
                                                                 Amazon Science                                                                             Safety Alerts
                                                                                           Self-Publish with Us                                             Registry & Gift List
Does this accessory swing when                                                             Become an Amazon Hub
car moves?                                                                                                                                                  Help
                                                                                           Partner
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                                                            they                                                                                                                          Management
                                                            spend their
                                                            time

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                                                            Grocery Store

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                                                            Crime                 right to your door                                           products
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Is this accessory easy to install?


Does this accessory swing when
car moves?
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       Change to pickup                                                                                                                  Estimated tax to be collected:         $0.57

                                                                                                                                         Order total:                        $6.16


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                              Accessories, Butterﬂy 2D Flat Pendant                   Tomorrow
                              for Rear View Mirror Car Christmas                      $2.99 Delivery
                              Tree Ornament Decoration Hanging                             Tomorrow               Tomorrow
                              Charm Interior Rearview Pendant                            7 AM - 11 AM            10 AM - 3 PM
                              Decor Gift(Pink)
                              $
                                  559                                                 Tomorrow, Aug 27
                                        & FREE Returns                                FREE One Day Delivery
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                              Sold by Hly-At
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         Add gift options




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                                                                         Novel And Cute Purple Butterfly Pattern Car Interior Decor, D Acrylic Couple
                                                                         Pendant, Popular Key Pendant, Backpack Pendant                                                            AliExpress commitment

                                                                         by   Happy Family          Stor… (    . |   ,   + sold )                                         Free shipping
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Speciﬁcations

 Main Material       Plastic Fiber                                              Origin                          Mainland China
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 Material         Acrylic                Item ID     EG




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                                                                     by   Good Lucky Store (          . |   ,    + sold )                                                     .    coupon code if delayed
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     Speciﬁcations

       Main Material       Acrylic                                          Origin                          Mainland China


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